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11   JOHN
     JOHN KEVIN     CROWLEY (SBN:
            KEVIN CROWLEY         (SBN: 88189)
                                        88189)
     ATTORNEY
     ATTORNEY AT   AT LAW
                        LAW
2
2    125
     125 S.
         S. Market
             Market Street,  Suite 1200
                     Street, Suite 1200
     San
     San Jose,   California 95113-2288
         Jose, California   95113-2288
33   Telephone:   (408) 288-8100
     Telephone: (408)    288-8100
     Facsimile:   (408)288-9409
     Facsimile: (408)    288-9409
4
4    E-mail: jkclaw@pacbell.net
     E-mail: ikclawbacbell.net

55   Attorney for
     Attorney for Plaintiffs
                  Plaintiffs
     JESSICA
     JESSICA DOMINGUEZ
                DOMINGUEZ INDIVIDUALLY
                                INDIVIDUALLY
6
6    AND
     AND JESSICA
           JESSICA DOMINGUEZ
                      DOMINGUEZ AS    AS GUARDIAN
                                          GUARDIAN
     AD
     AD LITEM    FOR JAD
         LITEM FOR     JAD (1),
                             (1), JAD
                                  JAD (2)
                                      (2)
77   AND
     AND JAD    (3)
           JAD (3)
88
     NORA
     NORA FRIMANN,       City Attorney
             FRIMANN, City     Attorney (93249)
                                         (93249)
99   ARDELL JOHNSON,
     ARDELL     JOHNSON, Chief
                             Chief Deputy
                                   Deputy City
                                            City Attorney
                                                 Attorney (95340)
                                                           (95340)
     MAREN
     MAREN J.  J. CLOUSE,    Chief Deputy
                  CLOUSE, Chief    Deputy City
                                            City Attorney
                                                 Attorney (228726)
                                                           (228726)
10
10   Office
     Office of the City
            of the City Attorney
                        Attorney
     200
     200 East   Santa Clara
          East Santa   Clara Street,
                              Street, 16th
                                      16th Floor
                                           Floor
11
11
     San
     San Jose,   California 95113-1905
          Jose, California  95113-1905
12
12   Telephone    Number: (408)
     Telephone Number:      (408) 535-1900
                                  535-1900
     Facsimile   Number: (408)
     Facsimile Number:    (408) 998-3131
                                 998-3131
13
13   E-Mail
     E-Mail Address:   cao.main@sanjoseca.gov
            Address: cao.mainsanioseca.dov

14
14   Attorneys
     Attorneys for
               for CITY
                   CITY OF
                        OF SAN JOSE
                           SAN JOSE
     and
     and OFFICER   MICHAEL PINA
         OFFICER MICHAEL    PINA
15
15

16
16
                                UNITED
                                UNITED STATES
                                       STATES DISTRICT
                                              DISTRICT COURT
                                                       COURT
17
17
                               NORTHERN
                               NORTHERN DISTRICT OF CALIFORNIA
                                        DISTRICT OF CALIFORNIA
18
18
                                         SAN
                                         SAN JOSE DIVISION
                                             JOSE DIVISION
19
19

20
20 JESSICA DOMINGUEZ INDIVIDUALLY
   JESSICA DOMINGUEZ INDIVIDUALLY                     Case
                                                      Case No.: 5:18-cv-04826 BLF
                                                           No.: 5:18-cv-04826 BLF
21 AND
21      JESSICA DOMINGUEZ
   AND JESSICA   DOMINGUEZ ASAS
   GUARDIAN
   GUARDIAN ADAD LITEM
                  LITEM FOR
                        FOR JAD
                            JAD (1),
                                (1), JAD
                                     JAD              JOINT
                                                      JOINT PRETRIAL
                                                            PRETRIAL CONFERENCE
                                                                     CONFERENCE
22 (2)
22 (2) AND JAD (3),
       AND JAD (3),                                   STATEMENT  AND ORDER
                                                      STATEMENT AND  ORDER

23
23               Plaintiffs,
                 Plaintiffs,
                                                      DATE:
                                                      DATE:   July 28, 2022
                                                              July 28,  2022
24
24                                                    TIME:   1:30
                                                              1:30 p.m.
           vs.
           VS.                                        TIME:         p.m.
                                                      DEPT.:
                                                      DEPT.:  3,
                                                              3, Fifth
                                                                 Fifth Floor
                                                                       Floor
25
25
   CITY OF SAN
   CITY OF SAN JOSE,
                JOSE, SAN
                        SAN JOSE
                             JOSE POLICE
                                   POLICE             JUDGE:  Hon.Beth
                                                      JUDGE: Hon.    BethLabson
                                                                          LabsonFreeman
                                                                                Freeman
26 DEPARTMENT,
26 DEPARTMENT, MICHAEL     PINA, AND
                 MICHAEL PINA,   AND DOE
                                     DOE
   POLICE
   POLICE OFFICERS
          OFFICERS 22 through
                      through 5,
                              5,                      Trial
                                                      Trial Date: August 22,
                                                            Date: August 22, 2022
                                                                             2022
27
27
            Defendants.
            Defendants.
28
28

                                                  11
                                JOINT
                                JOINT PRETRIAL STATEMENT AND
                                      PRETRIAL STATEMENT   AND ORDER
                                                               ORDER
                                          5:18-CV-04826 BLM
                                          5:18-CV-04826 BLM
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11
             Pursuant
             Pursuant to
                      to the United States
                         the United States District
                                           District Court,
                                                    Court, Northern
                                                           Northern District
                                                                    Districtof
                                                                             ofCalifornia,
                                                                               California,
2
2
     Standing Order re
     Standing Order re Civil
                       Civil Jury
                             Jury Trials,
                                  Trials, Section
                                          Section II,
                                                   II, the
                                                        the parties
                                                            partiesto
                                                                    tothis
                                                                       thisaction
                                                                            actionjointly
                                                                                   jointlysubmit
                                                                                           submitthe
                                                                                                  the
33
     following as and
     following as and for
                      for their
                          their Joint
                                Joint Pretrial
                                      Pretrial Statement
                                               Statementand
                                                         andOrder.
                                                            Order.
4
4
     A.
     A.      The Action:
             The Action:
55
             1.
             1. The
                The Parties:
                    Parties:      Plaintiff,
                                  Plaintiff, JESSICA DOMINGUEZ, is
                                             JESSICA DOMINGUEZ, is the
                                                                   the wife
                                                                       wife of
                                                                            of JACOB
                                                                               JACOB
6
6
     ARTURO DOMINGUEZ
     ARTURO DOMINGUEZ and
                      and the
                          the mother
                              mother of
                                     of Jacob's
                                        Jacob’s minor
                                                minor children,
                                                      children, and
                                                                and is
                                                                     is the
                                                                         the legal
                                                                              legal
77

88   guardian for them,
     guardian for them, and
                        and brings
                            brings this
                                    this action
                                         action both
                                                both on
                                                     onher
                                                        herown
                                                            ownbehalf
                                                                behalfand
                                                                       andas
                                                                           asguardian
                                                                              guardianon
                                                                                       on

99   behalf
     behalf of
            of JAD
               JAD (1),
                   (1), JAD
                        JAD (2)
                            (2) and
                                and JAD
                                    JAD (3).   JESSICADOMINGUEZ
                                         (3). JESSICA  DOMINGUEZINDIVIDUALLY
                                                                 INDIVIDUALLYAND
                                                                             AND

10
10   JESSICA
     JESSICA DOMINGUEZ
             DOMINGUEZ AS
                       AS GUARDIAN
                          GUARDIAN AD
                                   AD LITEM
                                      LITEM FOR
                                            FOR JAD
                                                JAD (1),
                                                    (1), JAD
                                                         JAD (2)
                                                             (2) and
                                                                 and JAD
                                                                     JAD (3)
                                                                         (3)
11
11   are
     are the
         the surviving
             surviving heirs
                       heirs of
                             of JACOB
                                JACOB ARTURO
                                      ARTURO DOMINGUEZ.
                                             DOMINGUEZ. Defendants dispute that
                                                        Defendants disputed that
12
12
     Jacob Dominguez’s children
     Jacob Dominguez's children are
                                are proper
                                    proper parties.
                                           parties.
13
13
             Defendant,
             Defendant, CITY OF SAN
                        CITY OF SAN JOSE
                                    JOSE ("City"),
                                         (“City”), is
                                                   is aa municipal
                                                         municipal corporation
                                                                   corporationlocated
                                                                               locatedininthe
                                                                                           the
14
14
     County
     County of Santa Clara,
            of Santa Clara, State
                            State of
                                  of California.
                                     California. The
                                                 The City
                                                     City maintains
                                                          maintainsaapolice
                                                                      policedepartment,
                                                                             department,which
                                                                                         which
15
15

16
16   acts
     acts as its agent
          as its agent in
                       in the
                          the area
                              area of
                                   of law
                                       law enforcement.
                                           enforcement. Defendant,
                                                        Defendant,MICHAEL
                                                                   MICHAELPINA,
                                                                           PINA,isisan
                                                                                     an

17
17   individual
     individual and is employed
                and is employed as
                                as aa police
                                      police officer
                                             officer by
                                                     by the
                                                         the City,
                                                             City,and
                                                                   andat
                                                                       atall
                                                                          alltimes
                                                                              timesrelevant
                                                                                    relevanttotothe
                                                                                                 the

18
18   incident
     incident was
              was acting
                  acting in
                         in the
                            the course
                                course and
                                       and scope
                                           scope of
                                                 of that employment and
                                                    that employment and was
                                                                        was acting
                                                                            acting under
                                                                                   under
19
19
     color of law.
     color of law.
20
20
             2.
             2. Substance of the
                Substance of  the Action:
                                  Action:        The
                                                 The operative pleadings are
                                                     operative pleadings are the
                                                                             the Amended
                                                                                 Amended
21
21
     Complaint for Damages
     Complaint for Damages and
                           and Request
                               Request for
                                        for Jury
                                            Jury Trial
                                                 Trial (Docket
                                                        (Docket37),
                                                                37),and
                                                                     andDefendants'
                                                                        Defendants'
22
22
     Answers to
     Answers to the
                the Amended
                    Amended Complaint
                            Complaint for
                                       for Damages
                                           Damages(Docket
                                                   (Docket38
                                                           38&&39).
                                                                39).
23
23

24
24                   a.
                     a. Plaintiffs Statement: This
                        Plaintiffs Statement: This case concerns the
                                                   case concerns the shooting
                                                                     shooting death
                                                                              death of
                                                                                    of JACOB
                                                                                       JACOB

25
25   ARTURO DOMINGUEZ
     ARTURO DOMINGUEZ (hereinafter
                      (hereinafter "Dominguez"),
                                    “Dominguez”),aa33-year-old
                                                   33-year-oldMexican-American
                                                               Mexican-Americanman
                                                                                man
26
26   who was shot
     who was shot one
                  one time
                      time and
                           and killed
                               killed by
                                      by San
                                         San Jose
                                             JosePolice
                                                  PoliceOfficer,
                                                        Officer,Michael
                                                                 MichaelPina.
                                                                         Pina.
27
27
     Dominguez’s wife and
     Dominguez's wife and their
                          their three
                                three children
                                      children bring
                                               bring claims
                                                     claimsfor
                                                            forviolations
                                                                violationsofofDominguez's
                                                                              Dominguez’scivil
                                                                                          civil
28
28

                                                      2
                                                      2
                                 JOINT
                                 JOINT PRETRIAL STATEMENT AND
                                       PRETRIAL STATEMENT   AND ORDER
                                                                ORDER
                                           5:18-CV-04826 BLM
                                           5:18-CV-04826 BLM
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11   rights
     rights and
            and his wrongful death
                his wrongful death pursuant
                                   pursuant to
                                             to 42
                                                42 U.S.C.
                                                   U.S.C. section
                                                          section1983
                                                                  1983and
                                                                       andCalifornia
                                                                          CaliforniaCivil
                                                                                     Civil

2
2    Code
     Code sections 51.7 and
          sections 51.7 and 52.1.
                            52.1.
33
             In
             In light
                light of
                      of the
                         the Court's recent Order
                             Court's recent Order Denying
                                                  Denying Plaintiffs'
                                                          Plaintiffs’ Motion
                                                                      Motionfor
                                                                             forSummary
                                                                                Summary
4
4
     Judgment
     Judgment and
              and Granting in Part
                  Granting in Part and
                                   and Denying
                                       Denying in
                                               in Part
                                                  Part Defendants'
                                                       Defendants' Motion
                                                                   Motion for
                                                                          for Summary
                                                                              Summary
55
     Judgment (Docket 70),
     Judgment (Docket 70), the
                           the remaining
                               remaining issues
                                          issues for
                                                  fortrial
                                                      trialare:
                                                           are:
6
6

77   Claim
     Claim                                   Incident
                                             Incident     Claimant
                                                          Claimant                Defendant(s)
                                                                                  Defendant(s)
                                             Date
                                             Date
88
     Excessive
     Excessive Force  (§1983) -- First
               Force (§1983)     First       9/15/17
                                             9/15/17
99   Cause
     Cause of  Action)
            of Action)                                    Plaintiffs
                                                          Plaintiffs              Michael
                                                                                  Michael
                                                                                  Pina
                                                                                  Pina
10
10
                                             9/15/17
                                             9/15/17
11   Bane
     Bane Act
          Act (Civil Code §52.1)
              (Civil Code   §52.1) --                     Plaintiffs
                                                          Plaintiffs              Michael
                                                                                  Michael
11
     Second
     Second Cause
            Cause of of Action)
                        Action)                                                   Pina
                                                                                  Pina
12
12
                                             9/15/17
                                             9/15/17      Plaintiffs
                                                          Plaintiffs              City
                                                                                  City of
                                                                                       of San Jose
                                                                                          San Jose
     Bane
     Bane Act
          Act (Civil Code §52.1)
              (Civil Code   §52.1) --                                             Police  Dept.
13
13   Second
     Second Cause
            Cause of of Action
                        Action
                                                                                  Police Dept.

14
14

15
15                 b.
                   b. Defendants Statement:
                      Defendants Statement:

16
16           On
             On September 15, 2017,
                September 15, 2017, at
                                    at approximately
                                       approximately 7:00pm,
                                                     7:00pm, San
                                                             SanJose
                                                                 Josepolice
                                                                      policeofficers
                                                                             officerswere
                                                                                      were
17
17
     in
     in the
        the area
            area of Penitencia Creek
                 of Penitencia Creek and
                                     and North
                                         North White
                                               White Roads
                                                     Roadsattempting
                                                           attemptingto
                                                                      toconduct
                                                                         conductaavehicle
                                                                                   vehicle
18
18
     stop
     stop on
          on Jacob
             Jacob Dominguez,
                   Dominguez, a
                              a known gang member
                                known gang member who
                                                  who was
                                                      was the
                                                          the subject
                                                              subject of
                                                                      of aa felony
                                                                            felony
19
19
     warrant
     warrant for
             for his involvement in
                 his involvement in an
                                    an armed
                                       armed robbery
                                             robbery committed
                                                     committed earlier
                                                               earlier that
                                                                       that week.
                                                                            week. Dominguez
                                                                                  Dominguez
20
20

21
21   was
     was known to be
         known to be armed
                     armed and
                           and was
                               was aware
                                   aware police
                                         police were
                                                were looking
                                                     looking for
                                                             for him.
                                                                 him. Dominguez's
                                                                      Dominguez’s

22
22   criminal
     criminal record and involvement
              record and involvement in
                                      in gang
                                         gang activity,
                                              activity, including
                                                         includinginvolvement
                                                                   involvementwith
                                                                               withweapons
                                                                                    weaponsand
                                                                                            and

23
23   drug
     drug crimes,
          crimes, was
                  was known to officers.
                      known to officers. Dominguez
                                         Dominguez had
                                                   had eluded
                                                       eluded officers
                                                              officers earlier
                                                                       earlier in
                                                                               in the
                                                                                  the day
                                                                                      day by
                                                                                          by
24
24
     driving erratically and
     driving erratically and dangerously
                             dangerously on
                                         on city
                                            city streets
                                                 streetsand
                                                         andthe
                                                             thehighway.
                                                                 highway.Officers
                                                                         Officersfrom
                                                                                  fromthe
                                                                                       theSan
                                                                                           San
25
25
     Jose
     Jose Police Department’s Covert
          Police Department's Covert Response
                                     ResponseUnit
                                              Unitconducted
                                                   conductedaahigh-risk
                                                               high-riskvehicle
                                                                         vehiclestop
                                                                                 stopon
                                                                                      on
26
26
     Dominguez.
     Dominguez. At
                At first, Dominguez complied
                   first, Dominguez complied with
                                             with officers'
                                                  officers’commands,
                                                            commands,but
                                                                      butthen
                                                                          thenhe
                                                                               heabruptly
                                                                                  abruptly
27
27
     leaned
     leaned forward while lowering
            forward while lowering his
                                   his hands,
                                       hands, reaching
                                               reaching toward
                                                         towardthe
                                                                thecar's
                                                                    car’sfloor.
                                                                          floor.Officers
                                                                                 Officers
28
28

                                                   33
                                 JOINT
                                 JOINT PRETRIAL STATEMENT AND
                                       PRETRIAL STATEMENT   AND ORDER
                                                                ORDER
                                           5:18-CV-04826 BLM
                                           5:18-CV-04826 BLM
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11   believed
     believed he
              he was reaching for
                 was reaching for aa weapon.
                                     weapon. As
                                             As Dominguez
                                                Dominguezsat
                                                          satback
                                                             backup,
                                                                  up,Officer
                                                                     OfficerPina
                                                                             Pinafired
                                                                                   fired

2
2    twice at Dominguez,
     twice at Dominguez, who
                         who was
                             was struck
                                 struck by
                                        by one
                                           one bullet
                                               bulletand
                                                      anddied
                                                          diedatatthe
                                                                   thescene.
                                                                       scene.
33
            Remaining
            Remaining defenses are as
                      defenses are as follows:
                                      follows:
4
4
     1.
     1. Whether Officer Pina
        Whether Officer Pina is
                             is entitled
                                entitled to
                                          to qualified
                                             qualified immunity
                                                        immunityfor
                                                                 forhis
                                                                     hisuse
                                                                         useofofforce.
                                                                                 force.
55
            Whether
            Whether it
                    it would
                       would have
                             have been clear to
                                  been clear to a
                                                a reasonable
                                                  reasonable officer
                                                             officer that
                                                                     that the
                                                                          the use
                                                                              use of
                                                                                  of deadly
                                                                                     deadly
6
6
            force
            force was unlawful in
                  was unlawful in the
                                  the situation
                                      situation Officer
                                                Officer Pina
                                                        Pina confronted.
                                                             confronted. See,
                                                                         See, e.g.,
                                                                              e.g., City
                                                                                    City of
                                                                                         of
77

88          Tahlequah,
            Tahlequah, Oklahoma    Bond, 142
                                v. Bond,
                       Oklahoma v.       142 S.
                                             S. Ct.
                                                Ct. 9,
                                                    9, 10 (2021) (per
                                                       10 (2021) (per curiam).
                                                                      curiam).

99   2.
     2. Whether Officer Pina
        Whether Officer Pina acted
                             acted in
                                    in defense
                                       defense of
                                               of himself
                                                  himselfor
                                                          orothers.
                                                            others.
10
10          Whether Dominguez posed
            Whether Dominguez posed an
                                    an immediate
                                        immediate threat
                                                   threat of
                                                          ofdeath
                                                             deathor
                                                                   orserious
                                                                      seriousbodily
                                                                              bodilyinjury
                                                                                     injurytoto
11
11
            the officers.
            the officers.
12
12
     3.
     3. Whether Dominguez’s actions
        Whether Dominguez's actions were
                                    were the
                                          the proximate
                                              proximatecause
                                                        causeofofhis
                                                                  hisinjuries.
                                                                      injuries. See
                                                                                See Ninth
                                                                                    Ninth
13
13
     Cir.
     Cir. Manual of Model
          Manual of Model Civil
                          Civil Jury
                                Jury Instructions,
                                     Instructions, Comment
                                                   Commentre
                                                           re9.2
                                                             9.2Causation;
                                                                 Causation; Harper
                                                                            Harper v.
                                                                                   v. City
                                                                                      City of
                                                                                           of
14
14

15
15   Los Angeles, 533
     Los Angeles, 533 F.3d
                      F.3d 1010,
                           1010, 1026
                                 1026 (9th
                                      (9th Cir.
                                           Cir. 2008) (“In a
                                                2008) ("In a§§ 1983
                                                               1983 action, … the
                                                                    action, ... the plaintiff
                                                                                    plaintiff

16
16   must
     must establish both causation-in-fact
          establish both causation-in-fact and
                                           and proximate
                                               proximate causation.");
                                                         causation.”);

17
17          Whether Dominguez’s actions
            Whether Dominguez's actions were
                                        were aa factor
                                                 factorthat
                                                        thataareasonable
                                                               reasonableperson
                                                                          personwould
                                                                                 would
18
18          consider to have
            consider to have contributed
                             contributed to
                                         to the
                                            the harm.
                                                harm. His
                                                      His actions
                                                          actionsmust
                                                                  mustbe
                                                                       bemore
                                                                         morethan
                                                                              thanaaremote
                                                                                     remote
19
19
            or
            or trivial
               trivial factor but do
                       factor but do not
                                     not have
                                         have to
                                              to be
                                                 be the
                                                     the only
                                                         only cause
                                                              cause of
                                                                    ofthe
                                                                       theharm.
                                                                           harm. Ileto
                                                                                 Ileto v. Glock Inc.,
                                                                                       v. Glock Inc.,
20
20
            349
            349 F.3d 1191, 1206
                F.3d 1191, 1206 (9th
                                (9th Cir.
                                     Cir. 2003)
                                          2003) ("California
                                                 (“California courts
                                                              courts apply
                                                                     applyaa'substantial
                                                                             ‘substantialfactor'
                                                                                          factor’
21
21
            test to determine
            test to determine proximate
                              proximate cause.");
                                        cause.”); Judicial
                                                  Judicial Council
                                                           Councilof
                                                                   ofCalif.
                                                                     Calif.Civil
                                                                            CivilJury
                                                                                  JuryInstruction
                                                                                       Instruction
22
22

23
23          430.
            430.

24
24          3.  ReliefRequested:
            3. Relief Requested: Plaintiffs
                                 Plaintiffs request
                                            request compensatory
                                                    compensatory and
                                                                 and punitive
                                                                     punitive damages,
                                                                              damages,

25
25   as
     as well
        well as
             as attorneys' fees and
                attorneys' fees and costs.
                                    costs.
26
26
            4.
            4.   Federal
                 Federal Jurisdiction and Venue:
                         Jurisdiction and Venue: This
                                                 This Court
                                                      Court has
                                                            has jurisdiction
                                                                 jurisdiction over
                                                                              over this
                                                                                    this
27
27
     action
     action pursuant
            pursuant to
                     to 28
                        28 U.S.C.
                           U.S.C. §§ 1331 and
                                  §§ 1331 and 1343,
                                              1343, because
                                                    because the
                                                            the action
                                                                action arises
                                                                       arises under
                                                                              under 42
                                                                                    42
28
28

                                                     4
                                                     4
                                JOINT
                                JOINT PRETRIAL STATEMENT AND
                                      PRETRIAL STATEMENT   AND ORDER
                                                               ORDER
                                          5:18-CV-04826 BLM
                                          5:18-CV-04826 BLM
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11   U.S.C.
     U.S.C. §1983.  Venueisisproper
            §1983. Venue      properininthis
                                         thisjudicial
                                              judicialdistrict
                                                       districtbecause
                                                                becausethe
                                                                        theevents
                                                                            eventsgiving
                                                                                   givingrise
                                                                                          rise

2
2    to
     to the claims occurred
        the claims occurred within
                            within the
                                    the district.
                                        district.
33
     B.
     B.      Factual
             Factual Basis of the
                     Basis of the Action:
                                  Action:
4
4
             1.  UndisputedFacts:
             1. Undisputed Facts: The
                                  The parties
                                      parties do
                                              do not
                                                 not dispute
                                                     dispute the
                                                             the following
                                                                 following facts,
                                                                           facts, which
                                                                                  which are
                                                                                        are
55
     appropriate
     appropriatedfor
                  forstipulation.
                      stipulation.The
                                   Theparties
                                       partiesexpect
                                               expectthat
                                                      thatthere
                                                           there will
                                                                 will be
                                                                      be other
                                                                         other facts
                                                                                facts
6
6
     established
     established at
                 at trial
                    trial by
                          by undisputed evidence but
                             undisputed evidence but do
                                                     do not
                                                        not believe
                                                            believe that
                                                                    that stipulation
                                                                         stipulation as
                                                                                     as to
                                                                                         to
77

88   those facts is
     those facts is appropriate
                    appropriate at
                                at this
                                    this time.
                                          time.

99                    a. Defendant
                      a. Defendant Michael
                                   Michael Pina
                                           Pina acted
                                                acted under
                                                      under color
                                                            color of
                                                                  of state law at
                                                                     state law at all
                                                                                  all relevant
                                                                                      relevant
10
10           times,
             times, and/or
                    and/or was
                           was acting within the
                               acting within the course
                                                 course and
                                                        and scope
                                                            scope of
                                                                  of his
                                                                     his employment
                                                                         employment with
                                                                                    with
11
11
             the
             the City
                 City of
                      of San
                         San Jose at the
                             Jose at the time
                                         time of
                                              of the
                                                 the incident
                                                     incident involving
                                                              involving Jacob
                                                                        Jacob Dominguez.
                                                                              Dominguez.
12
12
                      b.
                      b. At
                         At the
                            the time of the
                                time of the incident
                                            incident Officer
                                                     Officer Pina
                                                             Pina and
                                                                  and other
                                                                      other San
                                                                            San Jose
                                                                                Jose Police
                                                                                     Police
13
13
             Officers
             Officers were
                      were attempting
                           attempting to
                                      to apprehend Jacob Dominguez
                                         apprehend Jacob Dominguez pursuant
                                                                   pursuant to
                                                                            to aa
14
14

15
15           warrant for his
             warrant for his arrest
                             arrest for
                                    for suspicion
                                        suspicion of
                                                  of participating
                                                     participatingininan
                                                                       anarmed
                                                                          armedrobbery.
                                                                                robbery.

16
16                    c.
                      c. That
                         That Officer Pina intentionally
                              Officer Pina intentionally discharged
                                                         discharged his
                                                                    hisfirearm.
                                                                        firearm.

17
17                    d.
                      d. The
                         The death
                             death of
                                   of Jacob
                                      Jacob Dominguez was caused
                                            Dominguez was caused by
                                                                 by a
                                                                    a single
                                                                      single bullet
                                                                             bullet
18
18           discharged
             discharged from
                        from Michael Pina’s departmental
                             Michael Pina's departmental issued
                                                         issued AR-15
                                                                AR-15 semi-automatic
                                                                      semi-automatic
19
19
             rifle.
             rifle.
20
20
                      e.
                      e. At
                         At the time of
                            the time of death,
                                        death, Jacob
                                               Jacob Dominguez
                                                     Dominguez was
                                                               wassurvived
                                                                   survivedby
                                                                            byhis
                                                                               hiswife,
                                                                                  wife,
21
21
             Plaintiff
             Plaintiff Jessica
                       Jessica Dominguez and their
                               Dominguez and their three
                                                   three (3)
                                                          (3) minor
                                                              minor children.
                                                                    children.
22
22

23
23           2.  DisputedFactual
             2. Disputed  FactualIssues:
                                  Issues:

24
24                    a.  PlaintiffsFacts
                      a. Plaintiffs  FactsininDispute:
                                               Dispute: Dominguez
                                                        Dominguez gave no physical
                                                                  gave no physical or
                                                                                   or verbal
                                                                                      verbal

25
25   signs
     signs he had a
           he had a gun
                    gun or
                        or threatened
                           threatened to
                                       to use
                                          use force
                                               force or
                                                     or violence.
                                                        violence.Dominguez
                                                                  Dominguezcomplied
                                                                            compliedwith
                                                                                     withthe
                                                                                          the
26
26
     officer’s command to
     officer's command to put
                          put his
                              his hands
                                  hands up.
                                        up. From
                                            From the
                                                  thetime
                                                      timeOfficer
                                                          OfficerPina
                                                                  Pinaexited
                                                                       exitedhis
                                                                              hisvehicle
                                                                                  vehicleuntil
                                                                                          until
27
27
     he
     he pulled
        pulled the trigger, 25
               the trigger, 25 seconds
                               seconds elapsed.
                                       elapsed. Officer
                                                Officer Pina
                                                        Pina fired
                                                              firedtwo
                                                                    twoshots
                                                                        shotsatatMr.
                                                                                 Mr.Dominguez
                                                                                     Dominquez
28
28

                                                    55
                                  JOINT
                                  JOINT PRETRIAL STATEMENT AND
                                        PRETRIAL STATEMENT   AND ORDER
                                                                 ORDER
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11   because
     because he believed he
             he believed he was
                            was reaching
                                reaching for
                                          for aa firearm.
                                                  firearm. No
                                                           Nofirearm
                                                              firearmwas
                                                                     waslocated
                                                                         locatedininthe
                                                                                     thevehicle
                                                                                         vehicle

2
2    or
     or on
        on Mr. Dominquez. No
           Mr. Dominguez. No firearm
                             firearm allegedly
                                     allegedly related
                                                related to
                                                         toDominguez
                                                           Dominguezwas
                                                                     wasever
                                                                         everfound.
                                                                              found.
33
            According to Officer
            According to Officer Pina,
                                 Pina, when
                                       when Dominguez
                                            Dominguez had
                                                      had his
                                                          his hands
                                                              hands up,
                                                                    up, he
                                                                        he could
                                                                           could see
                                                                                 see that
                                                                                     that
4
4
     there was nothing
     there was nothing in
                       in his
                          his hands,
                              hands, no
                                     no weapons
                                        weapons and
                                                and when
                                                    when he
                                                         he fired
                                                            fired his
                                                                  his weapon,
                                                                      weapon, he
                                                                              he could
                                                                                 could not
                                                                                       not
55
     see
     see what Dominguez's hands
         what Dominguez's hands were
                                were doing,
                                     doing, he
                                            he could
                                               could not
                                                     notsee
                                                         seeDominguez's
                                                            Dominguez'shands
                                                                        handsatatall
                                                                                  alland
                                                                                      and
6
6
     Dominguez
     Dominguez made no verbal
               made no verbal threats
                              threats whatsoever.
                                      whatsoever.
77

88          Dominguez
            Dominguez had his hands
                      had his hands raised
                                    raised above
                                           above the
                                                  the steering
                                                      steering wheel
                                                               wheeland
                                                                     andhis
                                                                        hisleft
                                                                            leftupper
                                                                                 upperarm
                                                                                       arm

99   was
     was above the windowsill
         above the windowsill of
                              of the
                                 the driver's
                                     driver’s side
                                              side door
                                                   door when
                                                        when Officer
                                                             Officer Pina
                                                                     Pina put
                                                                          put one
                                                                              one .225
                                                                                  .225 caliber
                                                                                       caliber
10
10   bullet
     bullet through the driver's
            through the driver’s side
                                 side window
                                      window into
                                              into the
                                                    the left
                                                         leftside
                                                              sidejaw
                                                                   jawarea
                                                                       areaof
                                                                            ofDominguez,
                                                                              Dominguez,lodging
                                                                                         lodginginin
11
11
     his
     his cervical
         cervical spine resulting in
                  spine resulting in his
                                     his death.
                                         death.
12
12
            The
            The fatal wound to
                fatal wound to Mr.
                               Mr. Dominguez
                                   Dominquez (one
                                              (one bullet
                                                   bullet wound)
                                                          wound)struck
                                                                 struckthe
                                                                        thepartially
                                                                            partiallylowered
                                                                                      lowered
13
13
     driver’s side window
     driver's side window prior
                          prior to
                                 to striking
                                    striking the
                                              the victim
                                                  victimin
                                                         inthe
                                                            thelower
                                                                lowerleft
                                                                      leftmouth
                                                                          moutharea
                                                                                areawith
                                                                                     withno
                                                                                          noexit
                                                                                             exit
14
14

15
15   wounds associated with
     wounds associated with this
                            this fatal
                                  fatal bullet
                                        bullet strike.
                                               strike.

16
16          The
            The bullet hole in
                bullet hole in the
                               the "B"
                                   “B” pillar
                                       pillar of
                                              of the
                                                 the passenger
                                                     passenger side
                                                               side of
                                                                    of the
                                                                        thevehicle
                                                                            vehiclewas
                                                                                   wasthe
                                                                                       theresult
                                                                                           result

17
17   of
     of an independent bullet
        an independent bullet strike.
                              strike.      Any examination of
                                           Any examination of the
                                                              the subject
                                                                  subject vehicle
                                                                          vehicle by
                                                                                  byPlaintiffs'
                                                                                     Plaintiffs’
18
18   ballistic
     ballistic expert
               expert David
                      David Balash,
                            Balash, was
                                    was made
                                        made impossible because the
                                             impossible because the Defendants
                                                                    Defendants disposed
                                                                               disposed of
                                                                                        of
19
19
     the vehicle without
     the vehicle without giving
                         giving notice
                                notice to
                                        to Plaintiffs'
                                           Plaintiffs’counsel
                                                       counselofofthe
                                                                   theintent
                                                                       intenttotodispose
                                                                                  disposeofofsaid
                                                                                              said
20
20
     vehicle.
     vehicle.
21
21
            Mr.
            Mr. Dominquez’s left arm
                Dominguez's left arm and
                                     and hand
                                         hand were
                                              were above
                                                   above the
                                                          thelevel
                                                              levelof
                                                                    ofthe
                                                                       thedriver's
                                                                           driver’sside
                                                                                    sidedoor
                                                                                         door
22
22

23
23   window opening in
     window opening in his
                       his vehicle
                           vehicle when
                                   when the
                                         the bullet
                                             bulletpenetrated
                                                    penetratedhis
                                                               hissweatshirt.
                                                                   sweatshirt.

24
24          That
            That lethal force is
                 lethal force is the
                                 the highest
                                     highest level
                                              level of
                                                    of force
                                                        force aa police
                                                                 policeofficer
                                                                        officercan
                                                                                canuse.
                                                                                    use.Only
                                                                                        Onlyininan
                                                                                                 an

25
25   immediate,
     immediate, Defense of Life
                Defense of Life situation
                                situation should
                                          should lethal
                                                  lethal force
                                                          force be
                                                                beused.
                                                                   used.
26
26
            Lethal
            Lethal force
                   force is
                         is a tool of
                            a tool of last
                                      last resort.
                                           resort. ItIt must
                                                        must be
                                                             be the
                                                                 the direst
                                                                     direst of
                                                                            of circumstances
                                                                               circumstancesto
                                                                                             tojustify
                                                                                                justify
27
27
     the use of
     the use of lethal
                lethal force.
                       force. Deadly
                              Deadly force
                                      force is
                                             is likely
                                                 likely to
                                                         tocause
                                                            causegreat
                                                                  greatbodily
                                                                        bodilyinjury
                                                                               injuryorordeath.
                                                                                          death.InIn
28
28

                                                        6
                                                        6
                                  JOINT
                                  JOINT PRETRIAL STATEMENT AND
                                        PRETRIAL STATEMENT   AND ORDER
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11   general, officers must
     general, officers must show
                            show aa reverence
                                    reverence for
                                               for human
                                                   humanlife.
                                                         life.

2
2           All other reasonable
            All other reasonable measures
                                 measures must
                                          must be
                                               be exhausted
                                                  exhausted before
                                                            before resorting
                                                                   resorting to
                                                                             to the
                                                                                the use
                                                                                    use of
                                                                                        of
33
     lethal force.
     lethal force.
4
4
            An officer’s subjective
            An officer's subjective fear
                                     fear is
                                           is insufficient
                                               insufficientjustification
                                                            justificationtotoemploy
                                                                              employlethal
                                                                                     lethalforce.
                                                                                            force.
55
     Further,
     Further, an
              an officer’s over-reaction is
                 officer's over-reaction  is excessive
                                             excessive force.
                                                        force. No
                                                               Nogovernmental
                                                                  governmentalinterest
                                                                               interestsupports
                                                                                        supports
6
6
     the use of
     the use of unnecessary
                unnecessary force.
                            force.
77

88          Both
            Both expert
                 expert witnesses agree Dominguez
                        witnesses agree Dominguez was
                                                  was shot
                                                      shot with
                                                           with his
                                                                hisarm(s)
                                                                    arm(s)ininaaraised
                                                                                 raised

99   position.
     position.

10
10          All officers performing
            All officers performing the
                                    the vehicle
                                        vehicle containment
                                                containment technique
                                                            technique agree
                                                                      agree that
                                                                            that the
                                                                                 the conduct
                                                                                     conduct of
                                                                                             of
11
11
     Officer
     Officer Pina was consistent
             Pina was consistent with
                                 with their
                                      their training,
                                             training, education
                                                       educationand
                                                                 andpolicies
                                                                     policiesput
                                                                              putforth
                                                                                  forthby
                                                                                        bythe
                                                                                           theSan
                                                                                               San
12
12
     Jose Police Department.
     Jose Police Department.
13
13
            The
            The San
                San Jose
                    Jose Police Department is
                         Police Department is liable
                                              liable for
                                                     for the
                                                         the acts
                                                             acts of
                                                                  of their
                                                                     their employees
                                                                           employees under
                                                                                     under the
                                                                                           the
14
14

15
15   doctrine
     doctrine of
              of respondeat superior.
                 respondeat superior.

16
16          The
            The victims
                victims of
                        of a
                           a constitutional violation are
                             constitutional violation are entitled
                                                          entitled to
                                                                   to compensation
                                                                      compensation for
                                                                                   for economic
                                                                                       economic

17
17   harm,
     harm, pain
           pain and suffering, and
                and suffering, and mental
                                   mental and
                                          and emotional
                                              emotional distress
                                                        distressthat
                                                                 thatresults
                                                                      resultsfrom
                                                                              fromthe
                                                                                   the
18
18   violations, including attorney
     violations, including attorney fees
                                    fees and
                                         and costs.
                                             costs.
19
19
            Whether
            Whether Officer
                    Officer Pina after exiting
                            Pina after exiting his
                                               his vehicle
                                                   vehicle and
                                                           and taking
                                                               taking aa position
                                                                         position near
                                                                                  near the
                                                                                       the left
                                                                                           left
20
20
     front
     front wheel of Officer
           wheel of Officer Ferguson's
                            Ferguson’s vehicle
                                       vehicle with
                                               withhis
                                                    hisAR-15
                                                       AR-15rifle
                                                             riflepointed
                                                                   pointedatatthe
                                                                               thesuspect
                                                                                   suspectininthe
                                                                                               the
21
21
     driver’s seat of
     driver's seat of the
                      the Kia,
                          Kia, in
                                in open
                                   open air,
                                        air, issuing
                                              issuing commands
                                                      commandsat
                                                               atthe
                                                                  thesuspect
                                                                      suspectsuch
                                                                              suchas
                                                                                   as"hands
                                                                                      “handsup,
                                                                                             up,
22
22

23
23   show
     show me your hands
          me your hands and
                        and ifif you
                                 you move,
                                     move, II will
                                              will shoot
                                                   shoot you"
                                                         you” and
                                                              andother
                                                                  othercommands,
                                                                        commands,"Don't
                                                                                  “Don’t

24
24   move
     move or
          or you’re going to
             you're going to get
                             get shot,"
                                 shot,” was
                                        was proper
                                            proper police
                                                   police conduct
                                                          conductunder
                                                                  underthe
                                                                        thecircumstances.
                                                                            circumstances.

25
25          Whether the use
            Whether the use of
                            of deadly
                               deadly force
                                      force was
                                            was the
                                                 the only
                                                     only option
                                                          optionfor
                                                                 forOfficer
                                                                    OfficerPina
                                                                            Pinaatatthe
                                                                                     thetime
                                                                                          time
26
26
     Dominguez allegedly put
     Dominguez allegedly put his
                             his hands
                                 hands down and leaned
                                       down and leaned forward.
                                                       forward.
27
27
            The
            The Defendants’ ballistic expert,
                Defendants' ballistic expert, Rocky
                                              Rocky Edwards,
                                                    Edwards, testified
                                                             testified that
                                                                       that at
                                                                            at the
                                                                               the time
                                                                                   time
28
28

                                                       77
                                  JOINT
                                  JOINT PRETRIAL STATEMENT AND
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11   Dominguez
     Dominguez was
               was shot,
                   shot, Dominguez's
                         Dominguez's left
                                     left arm
                                          arm was
                                              was in
                                                  in alignment with the
                                                     alignment with the trajectory
                                                                        trajectory of
                                                                                   of

2
2    the
     the bullet
         bullet path
                path as the bullet
                     as the bullet went
                                   went through
                                        through his
                                                his sweatshirt
                                                    sweatshirt and
                                                               and impacted
                                                                   impacted in
                                                                             in his
                                                                                his face,
                                                                                    face, so
                                                                                          so
33
     that
     that his
          his arm
              arm was
                  was raised above the
                      raised above the driver's
                                       driver’s side
                                                side windowsill
                                                     windowsill and
                                                                and in
                                                                     in alignment
                                                                        alignment with
                                                                                  with the
                                                                                        the
4
4
     trajectory of the
     trajectory of the bullet
                       bullet that
                              that entered
                                   entered the
                                            the left
                                                 left side
                                                      sideof
                                                           ofhis
                                                              hisface.
                                                                  face.
55
            Whether the second
            Whether the second bullet
                               bullet discharged
                                      discharged less
                                                  less than
                                                        than ½   a second
                                                             1/2 a second later,
                                                                          later, went
                                                                                 went through
                                                                                       through
6
6
     and
     and through the upper
         through the upper left
                           left arm
                                arm sweatshirt
                                    sweatshirt sleeve
                                               sleeve of
                                                      ofDominguez's
                                                         Dominguez’sraised
                                                                     raisedleft
                                                                            leftarm,
                                                                                 arm,touched
                                                                                      touched
77

88   no
     no human
        human tissue,
              tissue, with
                      with no
                           no blood
                              blood residue
                                    residue on
                                            on the sweatshirt and
                                               the sweatshirt and lodged
                                                                  lodged in
                                                                         in the
                                                                            the "B"
                                                                                “B” pillar
                                                                                    pillar of
                                                                                           of

99   the passenger side
     the passenger side of
                        of the
                           the vehicle.
                               vehicle.
10
10          Whether the bullet
            Whether the bullet strike
                               strike in
                                       in the
                                          the "B"
                                              “B” pillar
                                                  pillar was
                                                         was aa direct
                                                                direct bullet
                                                                       bulletstrike
                                                                              strikeand
                                                                                     andthe
                                                                                         theholes
                                                                                             holesinin
11
11
     the
     the lower
         lower left sleeve of
               left sleeve of the
                              the sweatshirt
                                  sweatshirt were
                                             were caused
                                                  caused by
                                                         by the
                                                            the through
                                                                through and
                                                                        and through
                                                                            through passage
                                                                                    passage
12
12
     of
     of the second fired
        the second fired bullet.
                         bullet.
13
13
            Whether  the outer
            Whether the  outer (entrance)
                                (entrance) bullet
                                           bullet strike
                                                  strike in
                                                          inthe
                                                             the sweatshirt
                                                                  sweatshirtreportedly
                                                                             reportedlyhad
                                                                                        had
14
14

15
15   powdered
     powdered glass imbedded in
              glass imbedded in the
                                the fabric
                                    fabric (County
                                           (County of
                                                   of Santa
                                                      SantaClara
                                                            ClaraCrime
                                                                 CrimeLaboratory)
                                                                       Laboratory)and
                                                                                   and

16
16   whether
     whether that indicates that
             that indicates that the
                                 the second
                                     second bullet
                                            bullet impacted
                                                   impacted glass
                                                            glass prior
                                                                  prior to
                                                                        to striking
                                                                           striking the
                                                                                    the

17
17   sweatshirt, or whether
     sweatshirt, or whether the
                            the shattered
                                shattered glass
                                          glass from
                                                 from the
                                                       the first
                                                            firstbullet
                                                                 bulletpassing
                                                                        passingwould
                                                                                wouldhave
                                                                                      have
18
18   imbedded
     imbedded in
              in the fabric of
                 the fabric of the
                               the sweatshirt.
                                   sweatshirt.
19
19
            Whether
            Whether Mr.
                    Mr. Dominquez had his
                        Dominguez had his arms
                                          arms and
                                               and hands
                                                   hands raised
                                                         raised up
                                                                up above
                                                                   above the
                                                                         the level
                                                                             level of
                                                                                   of the
                                                                                      the
20
20
     driver’s side door
     driver's side door metal
                        metal body
                              body windowsill
                                   windowsill for
                                              for the
                                                  the bullet
                                                      bullet to
                                                             to have
                                                                have impacted
                                                                     impacted the
                                                                              the left
                                                                                   left sweatshirt
                                                                                        sweatshirt
21
21
     sleeve
     sleeve and then lodge
            and then lodge in
                           in the
                              the "B"
                                  “B” pillar
                                      pillar panel.
                                             panel. The
                                                    The sweatshirt
                                                        sweatshirtand
                                                                   andarm
                                                                      armhad
                                                                          hadtotobe
                                                                                  beabove
                                                                                     abovethe
                                                                                           the
22
22

23
23   door
     door frame area of
          frame area of the
                        the window
                            window to
                                    to allow
                                       allow the
                                              the bullet
                                                  bullet to
                                                          topass
                                                            passthrough
                                                                 throughit.it.

24
24          Whether Officer Pina's
            Whether Officer Pina’s video
                                   video statement
                                         statement to
                                                    to SJPD
                                                       SJPDinternal
                                                            internalaffairs
                                                                     affairsinvestigators
                                                                             investigatorsthe
                                                                                           the

25
25   evening
     evening of
             of the
                the shooting, that Dominguez
                    shooting, that Dominquez leaned
                                             leaned forward
                                                    forward as
                                                            as though
                                                               though reaching
                                                                      reaching for
                                                                               for aa gun
                                                                                      gun
26
26
     with both his
     with both his hands
                   hands down
                         down and
                              and out
                                  out of
                                      of sight
                                         sight when
                                               whenhe
                                                    hefired
                                                       firedhis
                                                             hisweapon,
                                                                weapon,isistrue.
                                                                            true.
27
27
            Whether Defendants’ ballistic
            Whether Defendants' ballistic expert,
                                          expert, Rocky
                                                  RockyEdwards'
                                                        Edwards’opinion
                                                                 opinionthat
                                                                         thatthe
                                                                              thefirst
                                                                                   firstbullet
                                                                                         bullet
28
28

                                                      88
                                   JOINT
                                   JOINT PRETRIAL STATEMENT AND
                                         PRETRIAL STATEMENT   AND ORDER
                                                                  ORDER
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11   went
     went through Dominguez’s raised
          through Dominguez's raised sweatshirt
                                     sweatshirt was
                                                was based
                                                    based on
                                                          on textile
                                                             textile material
                                                                     material allegedly
                                                                              allegedly

2
2    found
     found on
           on the
              the bullet
                  bullet casing.  Asdemonstrated
                         casing. As  demonstratedby
                                                  byExhibit
                                                     ExhibitAAtotohis
                                                                   hisdeposition,
                                                                       deposition,Santa
                                                                                   SantaClara
                                                                                        Clara
33
     County Crimes Lab
     County Crimes Lab found
                       found no
                             no textile fibers on
                                textile fibers on either
                                                  either bullet. Mr. Edwards
                                                         bullet. Mr. Edwards could
                                                                             could not
                                                                                   not find
                                                                                        find the
                                                                                              the
4
4
     textile fiber evidentiary
     textile fiber evidentiary justification
                                justification for
                                               for his
                                                   his opinion.
                                                       opinion.
55
            Whether the only
            Whether the only discrepancy
                             discrepancy between
                                         between Plaintiffs'
                                                 Plaintiffs’ballistic
                                                             ballisticexpert,
                                                                       expert,David
                                                                               DavidBalash,
                                                                                     Balash,
6
6
     and
     and the
         the Defendants’ ballistic expert,
             Defendants' ballistic expert, Rocky
                                           Rocky Edwards,
                                                 Edwards,isisthat
                                                              thatMr.
                                                                  Mr.Edwards
                                                                      Edwardsbelieves
                                                                              believesthe
                                                                                       the
77

88   first
     first bullet went through
           bullet went through the
                               the driver's
                                   driver’s door
                                            door window,
                                                 window,the
                                                         theleft
                                                             leftupper
                                                                  uppersleeve
                                                                        sleeveofofthe
                                                                                   thesweatshirt
                                                                                       sweatshirt

99   and
     and into
         into the jaw, killing
              the jaw, killing Dominguez.
                               Dominguez. ItIt was
                                               was the
                                                    the second
                                                        secondshot
                                                               shotthat
                                                                    thatwent
                                                                        wentthrough
                                                                             throughand
                                                                                     andthrough
                                                                                         through
10
10   the left sleeve
     the left sleeve triceps
                     triceps of
                             of the
                                the sweatshirt
                                    sweatshirt and
                                               and lodged
                                                    lodgedininthe
                                                               thepassenger
                                                                   passengerside
                                                                             sideB-pillar
                                                                                  B-pillarofofthe
                                                                                               the
11
11
     vehicle
     vehicle and
             and nothing
                 nothing else. Mr. Balash
                         else. Mr. Balash opines
                                          opines the
                                                 the second
                                                     second bullet
                                                            bullet went
                                                                   went through
                                                                        through and
                                                                                and through
                                                                                    through
12
12
     the
     the raised left sweat
         raised left sweat shirted
                           shirted arm
                                   arm which
                                       which caused
                                             caused tiny
                                                    tiny glass
                                                         glass fragments
                                                               fragments to
                                                                         to be
                                                                            be lodged
                                                                               lodged in
                                                                                       in the
                                                                                          the
13
13
     sweatshirt then ended
     sweatshirt then ended up
                           up in
                              in the
                                 the "B"
                                     “B” pillar
                                         pillar of
                                                of the
                                                    the passenger
                                                        passenger side
                                                                  sideof
                                                                       ofthe
                                                                          thevehicle
                                                                              vehicleafter
                                                                                      afterthe
                                                                                            the
14
14

15
15   first
     first bullet shattered the
           bullet shattered the glass
                                glass window,
                                      window, entered
                                              entered the
                                                       thejaw
                                                           jawand
                                                               andlodged
                                                                   lodgedinto
                                                                          intothe
                                                                               thecervical
                                                                                   cervicalspine
                                                                                            spine

16
16   of
     of Dominguez.
        Dominguez.

17
17          Whether
            Whether at
                    at the
                       the time
                           time Dominguez was shot,
                                Dominguez was shot, he
                                                    he was
                                                       was complying
                                                           complying with
                                                                     with the
                                                                          the command
                                                                              command of
                                                                                      of
18
18   Officer
     Officer Pina for about
             Pina for about ten
                            ten (10)
                                (10) seconds
                                     seconds with
                                             with both
                                                  both his
                                                       hishands
                                                           handsabove
                                                                 abovehis
                                                                       hisshoulders,
                                                                           shoulders,atatabout
                                                                                          about
19
19
     ear level.
     ear level.
20
20
            Whether in this
            Whether in this case,
                            case, there
                                  there were
                                        were other
                                             other reasonable
                                                    reasonablenon-lethal
                                                              non-lethalmeasures
                                                                         measuresavailable
                                                                                  available
21
21
     for
     for Officer Pina to
         Officer Pina to use
                         use during
                             during his
                                    his stop
                                        stop of
                                             of Dominguez.
                                                Dominguez.
22
22

23
23          Whether
            Whether the
                    the only
                        only crimes Dominguez presently
                             crimes Dominguez presently committed
                                                        committed were
                                                                  were Vehicle
                                                                       Vehicle Code-
                                                                               Code-

24
24   related moving violations.
     related moving violations.

25
25          Whether
            Whether Dominguez
                    Dominguez was unarmed at
                              was unarmed at the
                                             the time
                                                 time he
                                                      he was
                                                         was shot
                                                             shot twice
                                                                  twice and
                                                                        and killed
                                                                            killed by
                                                                                   by
26
26
     Defendant
     Defendant Pina evidencing aa clear
               Pina evidencing    clear violation
                                        violation of
                                                  of decedent's
                                                     decedent’sconstitutional
                                                                constitutionalrights
                                                                               rightsas
                                                                                      as
27
27
     guaranteed by the
     guaranteed by the Fourth
                       Fourth Amendment.
                              Amendment.
28
28

                                                         99
                                   JOINT
                                   JOINT PRETRIAL STATEMENT AND
                                         PRETRIAL STATEMENT   AND ORDER
                                                                  ORDER
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11          Whether
            Whether a
                    a reasonable
                      reasonable officer could have
                                 officer could have believed
                                                    believed the
                                                             the facts
                                                                 facts and
                                                                       and circumstances
                                                                           circumstances

2
2    necessitated the use
     necessitated the use of
                          of deadly
                             deadly force.
                                    force.
33
            Whether
            Whether given
                    given the
                          the fact
                              fact that Dominguez did
                                   that Dominguez did not
                                                      not possess
                                                          possess a
                                                                  a weapon
                                                                    weapon of
                                                                           of any
                                                                              any kind,
                                                                                  kind, and
                                                                                        and
4
4
     Defendants
     Defendants had observed no
                had observed no weapon,
                                weapon, and
                                        and Dominguez
                                            Dominguez was
                                                      wasphysically
                                                          physicallycontained
                                                                     containedmaking
                                                                              making
55
     no
     no threat
        threat at the time
               at the time he
                           he was
                              was shot,
                                  shot, this
                                        this supports
                                             supports aa violation
                                                         violationof
                                                                   ofthe
                                                                      theFourth
                                                                          FourthAmendment.
                                                                                 Amendment.
6
6
            Whether
            Whether Dominguez
                    Dominguez was a lethal
                              was a lethal threat,
                                           threat, to
                                                   to the
                                                      the officers
                                                          officers when
                                                                   when he
                                                                        he had
                                                                           had not
                                                                               not
77

88   threatened them, had
     threatened them, had not
                          not harmed
                              harmed them
                                     them or
                                          or anyone,
                                             anyone, he
                                                     he was
                                                        was seated
                                                            seated in
                                                                   in aa vehicle's
                                                                         vehicle’s driver's
                                                                                   driver’s

99   seat,
     seat, physically contained, with
           physically contained, with his
                                      his arms
                                          arms raised
                                                raised when
                                                       whenhe
                                                            hewas
                                                              waskilled.
                                                                  killed.
10
10          Whether the SJPD
            Whether the SJPD Officers,
                             Officers, protected
                                       protected by
                                                 by vehicles
                                                    vehicleswhich
                                                             whichprovided
                                                                   providedcover
                                                                            coverand
                                                                                  and
11
11
     armed
     armed with high-powered, military-style
           with high-powered, military-style assault
                                             assault rifles
                                                      rifleswith
                                                            withDominguez
                                                                 Dominguezphysically
                                                                           physically
12
12
     contained
     contained and
               and not
                   not attempting to escape,
                       attempting to escape, were
                                             were in
                                                  in danger,
                                                     danger, to
                                                             to the
                                                                the degree
                                                                    degree that
                                                                           that they
                                                                                they
13
13
     possessed
     possessed an “imminent” objective
               an "imminent" objective fear
                                       fear for
                                            for their
                                                their lives.
                                                       lives.
14
14

15
15          Whether the mere
            Whether the mere statement
                             statement by
                                       by an
                                          an officer
                                             officer that
                                                      that he
                                                           he feared
                                                               fearedfor
                                                                      forhis
                                                                          hisown
                                                                              ownsafety
                                                                                  safetyororthat
                                                                                             that

16
16   of
     of others is enough
        others is enough to
                         to evidence
                            evidence objective
                                     objective factors
                                                factors to
                                                         tojustify
                                                            justifythe
                                                                    theuse
                                                                        useofofdeadly
                                                                                deadlyforce.
                                                                                       force.

17
17          Whether the other
            Whether the other officers
                              officers are
                                       are mistaken
                                           mistaken that
                                                     that Mr.
                                                          Mr. Dominguez's
                                                              Dominguez’shands
                                                                          handswent
                                                                                wentdown
                                                                                     down
18
18   not
     not before
         before he was shot
                he was shot but
                            but after
                                after he
                                      he was
                                         was shot
                                             shot as
                                                  as they
                                                      they mistakenly
                                                           mistakenlyunderstood
                                                                      understoodthe
                                                                                 the"flash-
                                                                                     “flash-
19
19
     bang”
     bang" grenade to be
           grenade to be the
                         the gun
                             gun shot.
                                 shot.
20
20
                   b.
                   b. Defendants
                      Defendants identify the following
                                 identify the following facts
                                                        facts in
                                                               in dispute:
                                                                  dispute:
21
21
                   1.
                   1. Whether
                      Whether Dominguez
                              Dominguez dropped his hands
                                        dropped his hands and
                                                          and leaned
                                                              leaned forward,
                                                                     forward, as
                                                                              as ifif
22
22

23
23   reaching for aa weapon.
     reaching for    weapon.

24
24                 2.
                   2. The
                      The position of Dominguez's
                          position of Dominguez’s arms
                                                  arms and
                                                       and hands
                                                           handswhen
                                                                 whenOfficer
                                                                     OfficerPina
                                                                             Pinafired.
                                                                                  fired.

25
25                 3.
                   3. Whether, under the
                      Whether, under the circumstances,
                                         circumstances, Officer
                                                        Officer Pina
                                                                Pina could
                                                                     couldreasonably
                                                                           reasonablyhave
                                                                                      have
26
26
     perceived
     perceived the position of
               the position of Dominguez's
                               Dominguez’s arms
                                           arms and
                                                and hands
                                                    handsat
                                                          atthe
                                                             thetime
                                                                 timehe
                                                                      hefired.
                                                                         fired.
27
27

28
28

                                                   10
                                                   10
                                 JOINT
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11   C.
     C.    Disputed Legal Issues:
           Disputed Legal Issues:

2
2          Plaintiffs’ Statement of
           Plaintiffs' Statement of Disputed
                                    Disputed Legal
                                             Legal Issues
                                                    Issues
33
           1.
           1.     Whether
                  Whether Officer Pina’s use
                          Officer Pina's use of
                                             of deadly
                                                deadly force
                                                       force was
                                                             was reasonable
                                                                 reasonable under
                                                                            under the
                                                                                  the
4
4
     circumstances, pursuant to
     circumstances, pursuant to Graham    Connor, 490
                                       v. Connor,
                                Graham v.         490 U.S.
                                                      U.S. 386, 395 (1989);
                                                           386, 395 (1989); i.e.,
                                                                            i.e.,
                                                                             á    was itit
                                                                                  was
55
     reasonable
     reasonable for
                for the
                    the Defendant
                        Defendant Officer
                                  Officer to
                                          to use deadly force
                                             use deadly force when,
                                                              when, the
                                                                    the suspect
                                                                        suspect was
                                                                                was
6
6
     contained,
     contained, complied
                complied with
                         with the officer’s commands
                              the officer's commands by
                                                     by putting
                                                        putting his
                                                                his hands
                                                                    hands up
                                                                          up and
                                                                             and then
                                                                                  then
77

88   allegedly
     allegedly dropped
               dropped his
                       his hands and leaned
                           hands and leaned forward
                                            forward as
                                                    as though
                                                       though reaching
                                                              reaching for
                                                                       for aa gun
                                                                              gun when
                                                                                  when

99   the
     the ballistics evidence contradicts
         ballistics evidence contradicts Officer
                                         Officer Pina's
                                                 Pina’sversion
                                                        versionofofthe
                                                                    thefacts.
                                                                        facts.
10
10         2.
           2.     When
                  When Defendant Officer Pina
                       Defendant Officer Pina discharged
                                              discharged his
                                                         his AR-15
                                                             AR-15 assault
                                                                   assault rifle
                                                                           rifle two
                                                                                 two
11
11
     times,
     times, was
            was the
                the Decedent complying with
                    Decedent complying with the
                                            the officer's
                                                officer’s commands
                                                          commands with
                                                                   with his
                                                                        his hands
                                                                            hands up;
                                                                                  up; is
                                                                                       is
12
12
     that a reasonable
     that a reasonable use    force pursuant
                           of force
                       use of                to Graham
                                    pursuant to           Connor, 490
                                                       v. Connor,
                                                Graham v.             U.S. 386,
                                                                  490 U.S. 386, 395
                                                                                395
13
13
     (1989)?
     (1989)?
14
14

15
15         3.
           3.     Whether
                  Whether Defendant Officer Pina
                          Defendant Officer Pina deliberately
                                                 deliberately fabricated
                                                              fabricated evidence
                                                                         evidence to
                                                                                  to

16
16   cover
     cover up
           up his
              his unreasonable use of
                  unreasonable use of deadly
                                      deadly force
                                             force in
                                                   in the
                                                      the killing
                                                          killing of
                                                                  of Jacob
                                                                     Jacob Dominguez.
                                                                           Dominguez.

17
17         4.
           4.      Did
                   Did Defendant
                       Defendant Officer Pina deprive
                                 Officer Pina deprive the
                                                      the Decedent
                                                          Decedent of
                                                                   of aa clearly
                                                                         clearly
18
18   established
     established right
                 right to
                       to be free from
                          be free from excessive
                                       excessive force
                                                 force by
                                                       by police
                                                          police officers,
                                                                 officers, as
                                                                           as guaranteed
                                                                              guaranteed by
                                                                                         by
19
19
     the
     the Fourth
         Fourth Amendment to the
                Amendment to the United
                                 United States
                                        States Constitution
                                               Constitution and
                                                            and did
                                                                did employ
                                                                    employ
20
20
     unreasonable and excessive
     unreasonable and excessive force
                                force in
                                       in the
                                           the encounter,
                                               encounter, assessment,
                                                          assessment,investigation,
                                                                      investigation,
21
21
     apprehension,
     apprehension, assault,
                   assault, shooting and death
                            shooting and death of
                                               of the
                                                  the Decedent
                                                      Decedent in
                                                               in violation
                                                                  violation of
                                                                            of California
                                                                               California
22
22

23
23   Civil
     Civil Code
           Code §52.1?
                §52.1?

24
24         5.
           5.     Whether Officer Pina
                  Whether Officer Pina acted
                                       acted with
                                             with intent
                                                   intent to
                                                           to violate
                                                              violateDecedent's
                                                                      Decedent's

25
25   constitutional
     constitutional rights
                    rights under California law
                           under California law in
                                                in violation
                                                   violation of
                                                             of the
                                                                the Bane
                                                                    Bane Act,
                                                                         Act, Cal.
                                                                              Cal. Civ.
                                                                                   Civ. Code
                                                                                        Code §§
26
26
     52.1,
     52.1, by
           by using
              using force
                    force that
                          that he
                               he intended to be
                                  intended to be more
                                                 more than
                                                      than necessary
                                                           necessary under
                                                                     under the
                                                                           the
27
27
     circumstances. See Reese
     circumstances. See Reese v.
                              v. City    Sacramento, 888
                                      of Sacramento,
                                 City of             888 F.3d
                                                         F.3d 1030, 1043 (9th
                                                              1030, 1043 (9th Cir.
                                                                              Cir.
28
28

                                                  11
                                                  11
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11   2018. Bane Act
     2018. Bane Act violation
                    violation"does
                              “doesnot
                                    notrequire
                                        requireproof
                                                proofofofdiscriminatory
                                                          discriminatoryintent"
                                                                         intent”and
                                                                                and"that
                                                                                    “that aa

2
2    successful
     successful claim
                claim for
                      for excessive
                          excessive force under the
                                    force under the Fourth
                                                    Fourth Amendment
                                                           Amendment provides
                                                                     provides the
                                                                              the basis
                                                                                  basis for
                                                                                        for
33
     aa successful claim under
        successful claim under §§ 52.1."
                                  52.1.” Chaudhry
                                         Chaudhry v.
                                                  v. City
                                                     City of
                                                          of Los Angeles, 751
                                                             Los Angeles,     F.3d 10961
                                                                          751 F.3d 10961
4
4
     at
     at 751
        751 F.3d
            F.3d at
                 at 1105.  Thejury
                    1105. The  jurymust
                                    mustfind
                                          findthat
                                               thatthe
                                                    thedefendants
                                                        defendants"intended
                                                                   “intendednot
                                                                             notonly
                                                                                 onlythe
                                                                                      theforce,
                                                                                          force,
55
     but
     but its
         its unreasonableness, its character
             unreasonableness, its character as
                                             as 'more
                                                 ‘more than
                                                        thannecessary
                                                             necessaryunder
                                                                       underthe
                                                                             the
6
6
     circumstances.’ ” Itisisnot
     circumstances.' "It     notnecessary
                                 necessaryfor
                                           forthe
                                               thedefendants
                                                   defendantsto
                                                              tohave
                                                                 havebeen
                                                                      been"thinking
                                                                           “thinkinginin
77

88   constitutional
     constitutional or
                    or legal
                       legal terms
                             terms at
                                   at the time of
                                      the time of the
                                                  the incidents,
                                                      incidents, because
                                                                 because a
                                                                         a reckless
                                                                           reckless disregard
                                                                                    disregard for
                                                                                              for

99   aa person's
        person's constitutional
                 constitutional rights is evidence
                                rights is evidence of
                                                   of a
                                                      a specific
                                                        specific intent
                                                                 intent to
                                                                        to deprive
                                                                           deprive that
                                                                                   that person
                                                                                        person of
                                                                                               of
10
10   those rights.” Cornell
     those rights." Cornell (supra)
                            (supra) 225
                                    225 Cal.Rptr.
                                        Cal.Rptr. at
                                                  at 386–87.
                                                     386-87.
11
11
            6.
            6.     Is
                   Is the
                      the City
                          City of
                               of San
                                  San Jose
                                      Jose Police
                                           Police Department
                                                  Department liable for the
                                                             liable for the conduct
                                                                            conduct of
                                                                                    of
12
12
     Defendant
     Defendant Officer
               Officer Pina
                       Pina under
                            under the
                                  the doctrine
                                      doctrine of
                                               of respondeat superior?
                                                  respondeat superior'?
13
13
            7.
            7.     Are
                   Are Defendant Officer Pina
                       Defendant Officer Pina and
                                              and Defendant
                                                  Defendant City
                                                            City of
                                                                 of San
                                                                    San Jose
                                                                        Jose Police
                                                                             Police
14
14

15
15   Department
     Department liable for wrongful
                liable for wrongful death,
                                    death, statutory
                                           statutory and
                                                     and compensatory
                                                         compensatorydamages?
                                                                      damages?

16
16          8.
            8.     Whether
                   Whether Officer
                           Officer Pina’s conduct was
                                   Pina's conduct was malicious,
                                                      malicious, oppressive
                                                                 oppressive or
                                                                            or in
                                                                                in reckless
                                                                                   reckless

17
17   disregard
     disregard for
               for the
                   the constitutional rights of
                       constitutional rights of the
                                                the Decedent,
                                                    Decedent, such
                                                              such that
                                                                   that he
                                                                        he may
                                                                           may be
                                                                               be
18
18   responsible
     responsible for
                 for punitive damages?
                     punitive damages?
19
19
            9.
            9.     Are
                   Are the Defendants liable
                       the Defendants liable for
                                             for Plaintiffs'
                                                 Plaintiffs’ attorney
                                                             attorney fees
                                                                      fees and
                                                                           and costs?
                                                                               costs?
20
20
            10.
            10.    What
                   What damages
                        damages are to be
                                are to be awarded
                                          awarded to
                                                  to Jessica
                                                     Jessica Dominguez?
                                                             Dominguez?
21
21
            11.
            11.    What
                   What damages
                        damages are to be
                                are to be awarded
                                          awarded to
                                                  to the
                                                     the three
                                                         three minor
                                                               minor children?
                                                                     children?
22
22

23
23          Defendants’ Statement of
            Defendants' Statement of Disputed
                                     Disputed Legal
                                              Legal Issues
                                                     Issues

24
24          1.
            1.     Whether
                   Whether Officer Pina’s use
                           Officer Pina's use of
                                              of deadly
                                                 deadly force
                                                        force was
                                                              was reasonable
                                                                  reasonable under
                                                                             under the
                                                                                    the

25
25   circumstances, pursuant to
     circumstances, pursuant to Graham
                                Graham v. Connor, 490
                                       v. Connor, 490 U.S. 386, 395
                                                      U.S. 386, 395 (1989).
                                                                    (1989).
26
26
            2.
            2.     Whether
                   Whether Officer Pina is
                           Officer Pina is entitled
                                           entitled to
                                                    to qualified
                                                       qualified immunity
                                                                 immunity because
                                                                          because itit was
                                                                                       was not
                                                                                           not
27
27
     clearly
     clearly established that the
             established that the use
                                  use of
                                      of deadly
                                         deadly force
                                                 force was
                                                       wasunreasonable
                                                           unreasonableininthe_
                                                                            the
28
28

                                                    12
                                                    12
                                JOINT
                                JOINT PRETRIAL STATEMENT AND
                                      PRETRIAL STATEMENT   AND ORDER
                                                               ORDER
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11   circumstances facing him.
     circumstances facing him.

2
2           3.
            3.     Whether
                   Whether Officer Pina acted
                           Officer Pina acted with
                                              with the
                                                   the specific
                                                       specific intent
                                                                intent to
                                                                       to violate
                                                                          violate Decedent's
                                                                                  Decedent's
33
     constitutional
     constitutional rights
                    rights in
                           in violation of the
                              violation of the Bane
                                               Bane Act,
                                                    Act, Cal.
                                                         Cal. Civ.
                                                              Civ. Code
                                                                   Code §§ 52.1,
                                                                           52.1, by
                                                                                 by using
                                                                                    using force
                                                                                          force
4
4
     that
     that he
          he intended to be
             intended to be more
                            more than
                                 than necessary
                                      necessary under
                                                under the
                                                      the circumstances.
                                                          circumstances. See Reese v.
                                                                         See Reese v.
55
     Cty.
     Ctv. of Sacramento, 888
          of Sacramento, 888 F.3d 1030, 1043
                             F.3d 1030, 1043 (9th
                                             (9th Cir.
                                                  Cir. 2018).
                                                       2018).
6
6
            4.
            4.     Whether
                   Whether Officer Pina’s conduct
                           Officer Pina's conduct was
                                                  was malicious,
                                                      malicious, oppressive,
                                                                 oppressive, or
                                                                             or in
                                                                                 in
77

88   reckless
     reckless disregard of Dominguez's
              disregard of Dominguez’s constitutional
                                       constitutionalrights,
                                                      rights,such
                                                              suchthat
                                                                   thathe
                                                                        hemay
                                                                          maybe
                                                                              beliable
                                                                                  liable

99   for
     for punitive damages.
         punitive damages.

10
10          5.
            5.     What damages are
                   What damages are available
                                    available to
                                               to Plaintiffs.
                                                  Plaintiffs.
11
11
            6.
            6.      Whether Mr. Dominguez's
                    Whether Mr. Dominguez’s minor
                                            minor children
                                                  children are
                                                           areproper
                                                               properplaintiffs.
                                                                      plaintiffs.
12
12
     D.
     D.     Estimate ofTrial
            Estimate of Trial Time:
                              Time: It
                                     It is
                                        is estimated
                                           estimated this
                                                     this jury trial will
                                                          jury trial will take
                                                                          take more
                                                                               more than
                                                                                    than two
                                                                                          two (2)
                                                                                               (2)
13
13
     weeks based on
     weeks based on aa four-day
                       four-day trial
                                 trial week
                                       week but
                                            but should
                                                shouldnot
                                                       notexceed
                                                           exceedthree
                                                                  three(3)
                                                                        (3)full
                                                                            fullweeks.
                                                                                 weeks.
14
14

15
15   E.
     E.     Trial
            Trial Alternatives
                  Alternatives and Options: The
                               and Options:  Theparties
                                                 partiesconducted
                                                         conductedaasettlement
                                                                     settlementconference
                                                                                conference

16
16   with Magistrate Judge
     with Magistrate Judge Cousins
                           Cousins on
                                   on June
                                      June 23,
                                           23,2022,
                                               2022,which
                                                    whichdid
                                                          didnot
                                                              notresult
                                                                  resultininaasettlement.
                                                                               settlement.

17
17   The
     The parties do not
         parties do not believe
                        believe that
                                that further
                                      further settlement
                                              settlementdiscussions
                                                         discussionsare
                                                                     arelikely
                                                                          likelytotobe
                                                                                     beproductive.
                                                                                        productive.
18
18   F.
     F.     Stipulations:
            Stipulations:
19
19
            1.
            1.     The
                   The parties
                       parties stipulate
                               stipulate that the Defendant
                                         that the Defendant Officers
                                                            Officers acted
                                                                     acted under
                                                                           under color
                                                                                 color of
                                                                                       of
20
20
     state
     state law
           law at
               at all
                  all relevant times, and/or
                      relevant times, and/or were
                                             were acting
                                                  acting within
                                                         within the
                                                                the course
                                                                    course and
                                                                           and scope
                                                                               scope of
                                                                                     of
21
21
     their
     their employment with the
           employment with the City
                               City of
                                    of San
                                       San Jose.
                                           Jose.
22
22

23
23          2.
            2.     The
                   The parties
                       parties do
                               do not
                                  not propose any amendments
                                      propose any amendments to
                                                             to the
                                                                the pleadings
                                                                    pleadings or
                                                                              or

24
24   dismissals
     dismissals of
                of further
                   further parties, claims, or
                           parties, claims, or defenses
                                               defenses beyond
                                                        beyond the
                                                               the result
                                                                   result of
                                                                          of the
                                                                             the Court's
                                                                                 Court’s

25
25   Order
     Order on
           on the parties’ Motions
              the parties' Motions for
                                    for Summary
                                        Summary Judgment.
                                                Judgment.
26
26
            3.
            3.     Defendants
                   Defendants request
                              request that
                                      that the
                                           the Court
                                               Court bifurcate
                                                     bifurcate 1)
                                                               1) the issue of
                                                                  the issue of
27
27
     compensatory
     compensatory damages and 2)
                  damages and 2) the
                                 the amount
                                     amount of
                                            of punitive
                                               punitive damages,
                                                        damages, reserving
                                                                 reserving those
                                                                           those
28
28

                                                    13
                                                    13
                                JOINT
                                JOINT PRETRIAL STATEMENT AND
                                      PRETRIAL STATEMENT   AND ORDER
                                                               ORDER
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11   determinations
     determinations for
                    for a
                        a second phase of
                          second phase of trial
                                          trial ifif necessary.
                                                     necessary. The
                                                                The first
                                                                    first phase
                                                                          phase of
                                                                                of the
                                                                                   the trial
                                                                                       trial

2
2    would
     would therefore comprise evidence
           therefore comprise evidence as
                                       as to
                                          to whether
                                             whether Defendants
                                                     Defendants are
                                                                are liable
                                                                     liable for
                                                                             for aa
33
     violation
     violation of
               of §
                  § 1983 and/or the
                    1983 and/or the Bane
                                    Bane Act
                                         Act and
                                             and whether
                                                 whether Officer
                                                         Officer Pina's
                                                                 Pina’s conduct
                                                                        conduct was
                                                                                was
4
4
     malicious,
     malicious, oppressive,
                oppressive, or
                            or in
                               in reckless
                                  reckless disregard of Dominguez's
                                           disregard of Dominguez’s constitutional
                                                                    constitutional rights.
                                                                                   rights. IfIf
55
     the
     the jury
         jury determines that Defendants
              determines that Defendants are
                                         are liable,
                                             liable, then
                                                     then aa second
                                                             second phase
                                                                    phase would
                                                                          would involve
                                                                                 involve
6
6
     presentation
     presentation of
                  of evidence
                     evidence as
                              as to
                                 to Plaintiffs’ damages and,
                                    Plaintiffs' damages and, ifif necessary,
                                                                  necessary, the
                                                                             the amount
                                                                                 amount of
                                                                                        of
77

88   punitive
     punitive damages
              damages warranted.
                      warranted. Plaintiffs
                                 Plaintiffs will
                                            will oppose any request
                                                 oppose any request by
                                                                    by the
                                                                       the Defendants
                                                                           Defendants to
                                                                                      to

99   bifurcate
     bifurcate police liability from
               police liability from damages
                                     damages in
                                              in this
                                                  this wrongful
                                                       wrongfuldeath
                                                                deathcivil
                                                                      civilrights
                                                                            rightsclaim.
                                                                                   claim.
10
10   G.
     G.     Witnesses to be
            Witnesses to be Called:
                            Called:
11
11
            1.
            1.     See
                   See Appendix “A” -- Plaintiffs'
                       Appendix "A"    Plaintiffs’ Witnesses
                                                   Witnesses
12
12

13
13          2.
            2.     See
                   See Appendix “B” -- Defendants'
                       Appendix "B"    Defendants’ Witnesses
                                                   Witnesses

14
14   H.
     H.     Exhibits:
            Exhibits:

15
15          1.
            1.     See Appendix "C"
                   See Appendix  “C”—
                                    – Plaintiffs’ Exhibits
                                      Plaintiffs' Exhibits
16
16
            2.
            2.     See Appendix "D"
                   See Appendix “D” —
                                    – Defendants’
                                      Defendants' Exhibits
                                                  Exhibits
17
17
     J
     J..    Miscellaneous:
            Miscellaneous:
18
18

19
19          There
            There are
                  are no
                      no other
                         other issues to report
                               issues to report at
                                                at this
                                                   this time.
                                                        time. Plaintiffs
                                                              Plaintiffs reserve
                                                                         reserve the
                                                                                  the right
                                                                                      right to
                                                                                             to

20
20   ask
     ask for a jury
         for a jury instruction
                    instruction on
                                on spoliation
                                   spoliation regarding
                                              regarding the
                                                        the destruction
                                                            destruction of
                                                                        of the
                                                                            the vehicle
                                                                                vehicle
21
21   seized by Defendants.
     seized by Defendants.
22
22
            The
            The foregoing
                foregoing admissions having been
                          admissions having been made
                                                 made by
                                                      by the
                                                         the parties,
                                                             parties, and
                                                                      and the
                                                                          the parties
                                                                              parties
23
23
     having
     having specified
            specified the
                      the foregoing issues of
                          foregoing issues of fact
                                              fact and
                                                   and law
                                                        law remaining
                                                             remaining to
                                                                        tobe
                                                                          belitigated,
                                                                             litigated,this
                                                                                        this
24
24
     order
     order shall supplement the
           shall supplement the pleadings
                                pleadings and
                                          and govern
                                              govern the
                                                      thecourse
                                                          courseof
                                                                 oftrial
                                                                    trialofofthis
                                                                              thiscase,
                                                                                   case,
25
25

26
26   unless
     unless modified
            modified by
                     by the
                        the Court to prevent
                            Court to prevent manifest
                                             manifest injustice.
                                                       injustice.

27
27

28
28   Dated:  July14,
     Dated: July  14,2022
                     2022

                                                   14
                                                   14
                                JOINT
                                JOINT PRETRIAL STATEMENT AND
                                      PRETRIAL STATEMENT   AND ORDER
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                                                                   i2
 1                                             By:    ?E’1If1LJ. 6”sa          -




                                                      JOH KEVIN CROWLEY
2                                                     A   ney for Plaintiffs,
                                                        SSICA DOMINGUEZ INDI IDUALLY
                                                      AND JESSICA DOMINGUE2 AS
4                                                     GUARDIAN AD LITEM FOR JAD (1),
                                                      JAD (2) and JAD (3)
5
6
     Dated: July 14   ,   2022                   NORA FRIMANN, City Attorney



:
10
                                                BY:44CEiZZEEE

                                                      Chief Deputy City Attorney
                                                      Attorneys for Defendants
11                                                    CITY 01: SAN JOSE
                                                      and OFFICER MICHAEL PINA
12
13
           IT IS SO ORDERED.
14
15    Dated:

16                                             HON. BETH LABSON FREEMAN
                                               United States District Judge
17
18
19
20
21
22
23
24
25
26
27
28

                                                 15
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11                              APPENDIX “A” -- Plaintiffs'
                                APPENDIX "A"    Plaintiffs’ Witnesses
                                                            Witnesses

2
2    Witness
     Witness                     Substance of Testimony
                                 Substance of Testimony                   Time Estimate
                                                                          Time Estimate
                                 Facts
                                 Facts and
                                       and circumstances     of 9/15/17
                                                                9/15/17   Direct:
                                                                          Direct: 6
                                                                                  6
33   Michael Pina
                                             circumstances of
                                                                     shot Defendants’ Direct: 33 hrs.
                                                                                                 hrs.
     Michael Pina                                                         Defendants' Direct:
                                 incident;
                                 incident; use
                                           use of  excessive force,
                                                of excessive  force, shot
4
4                                man
                                 man with   his hands
                                      with his  hands up
                                                       up complying
                                                          complying
                                 with commands.
                                 with commands.
55
                                 Facts
                                 Facts and
                                        and circumstances
                                             circumstances ofof 9/15/17
                                                                9/15/17      Direct: 4
                                                                             Direct: 4
6
6                                incident, including stop,
                                 incident, including stop, search,
                                                           search,           Defendants’ Direct: 1.25
                                                                             Defendants' Direct: 1.25 hrs.
                                                                                                      hrs.
     Kristoffer
     Kristoffer Ferguson
                Ferguson         arrest
                                 arrest and  conversations, and
                                        and conversations,   and non-
                                                                  non-
77                               retained
                                 retained expert  opinions
                                           expert opinions
88                               Facts
                                 Facts and
                                         and circumstances
                                              circumstances ofof      Direct: 3
                                                                      Direct: 3
                                 9/15/17
                                 9/15/17 incident,   including stop,
                                           incident, including  stop, Defendants’ Direct: 1.25
                                                                      Defendants' Direct: 1.25 hrs.
                                                                                               hrs.
99
     Alvaro Lopez
     Alvaro Lopez                search,
                                 search, arrest    and conversations;
                                           arrest and  conversations;
10
10                               all
                                 all officers
                                     officers followed
                                              followed SJPD
                                                        SJPD proper
                                                               proper
                                 policy,
                                 policy, standards    and procedures
                                          standards and   procedures
11
11
                                 History
                                 History of of relationship    with
                                               relationship with             Direct: 5
                                                                             Direct: 5
12                               decedent,
                                 decedent, harmsharms andand losses
                                                              losses         Cross:
                                                                             Cross: .5  hrs
                                                                                     .5 hrs
12   Jessica
     Jessica Dominguez
             Dominguez
                                 suffered
                                 suffered by by his
                                                 his loss
                                                      loss to
                                                            to all
                                                               all
13
13                               Plaintiffs.
                                 Plaintiffs.
                                 Ballistics
                                 Ballistics expert,   facts and
                                             expert, facts  and              Direct: 3
                                                                             Direct: 3
14
14
                                 circumstances
                                 circumstances of   of 9/15/17
                                                       9/15/17 shooting,
                                                                shooting,    Cross:
                                                                             Cross: 11 hr
                                                                                       hr
15
15   David Balash
     David Balash                bullets
                                 bullets trajectory,
                                          trajectory, effect  on physical
                                                       effect on  physical
                                 evidence
                                 evidence and      opinions based
                                             and opinions    based on
                                                                    on
16
16                               physics
                                 physics ofof ballistics.
                                              ballistics.
                                 Police
                                 Police standards    expert, express
                                        standards expert,    express         Direct:
                                                                             Direct: 44
17
17
                                 opinions
                                 opinions on
                                          on conduct
                                              conduct below     the
                                                         below the           Cross:
                                                                             Cross: 1.5   hrs
                                                                                      1.5 hrs
18
18                               standard  of care
                                 standard of  care for
                                                    for proper
                                                        proper police
                                                                police
     Scott Defoe
     Scott Defoe                 conduct  and conduct
                                 conduct and   conduct consistent
                                                          consistent with
                                                                     with    Defendants object: FRE
                                                                             Defendants object: FRE 402,
19
19                               proper
                                 proper police
                                        police conduct
                                                conduct andand how
                                                               how           402, TMO
                                 Defendants   violated the
                                 Defendants violated    the proper
                                                             proper
20
20                               standard  of care.
                                 standard of  care.
21
21                               Toxicology  Expert
                                 Toxicology Expert                          Direct:
                                                                            Direct: 22
     Alan Barbour
     Alan Barbour                                                           Cross:
                                                                            Cross: .5.5 hrs
                                                                                         hrs
22
22                               Economic     losses suffered
                                 Economic losses      suffered byby         Direct:
                                                                            Direct: 22
     Phil
     Phil Allman, CPA
          Allman, CPA            Plaintiffs
                                 Plaintiffs as
                                            as a  result of
                                                a result of the
                                                            the facts
                                                                 facts and
                                                                       and Cross:
                                                                            Cross:
23
23
                                 circumstances
                                 circumstances of  of 9/15/17.
                                                      9/15/17.              Defendants
                                                                            Defendants object:      FRE 402
                                                                                            object: FRE  402
24
24                               Children
                                 Children ofof Jacob
                                               Jacob and    Jessica: Loss
                                                       and Jessica:    Loss Direct:
                                                                            Direct: 2  2
     Video “day in
     Video "day in the
                   the life"
                        life”    of
                                 of love,
                                    love, care,  affection, etc.,
                                           care, affection,  etc., wrongful
                                                                   wrongful Defendants
                                                                            Defendants object:      FRE 402,
                                                                                            object: FRE  402, 403,
                                                                                                              403,
25
25                               death
                                 death damages
                                        damages                             no
                                                                            no opportunity
                                                                               opportunity to  to cross-exam
                                                                                                  cross-examine
                                                                                                              ne
26
26                               Jacob’s    mother. Challenges
                                 Jacob's mother.      Challenges            Direct:
                                                                            Direct: 22
                                 growing
                                 growing up up —
                                               – no
                                                  no father,  gang
                                                     father, gang           Cross:
                                                                            Cross: .5.5
27
27   Cindy
     Cindy Chavez
           Chavez                community,     drugs, etc.,
                                 community, drugs,      etc., his
                                                              his
                                 challenges    with addiction.
                                 challenges with    addiction.              Defendants       object: FRE
                                                                            Defendants object:       FRE 402,
                                                                                                          402, 403
                                                                                                               403
28
28

                                                      ._
                                                      16
                                 JOINT
                                 JOINT PRETRIAL STATEMENT AND
                                       PRETRIAL STATEMENT   AND ORDER
                                                                ORDER
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11                        Jacob’s uncle who
                          Jacob's uncle who lives
                                             lives in
                                                    in Ohio,
                                                       Ohio,    Direct:
                                                                Direct: 22
                          character witness
                          character witness                     Cross:   .25
                                                                Cross: .25
2    Albert Chavez
     Albert Chavez
2                                                               Defendants
                                                                Defendants object:   FRE 402,
                                                                             object: FRE 402,
                                                                undisclosed
                                                                undisclosed
33
                          Runs
                          Runs the
                                the Home
                                     Home for
                                           for Men   where
                                               Men where        Direct:
                                                                Direct: 22
4
4                         Jacob  was staying;
                          Jacob was   staying; can
                                               can tell
                                                    tell the
                                                         the    Cross:   .25
                                                                Cross: .25
     John Beltron
     John Beltron         history
                          history of
                                  of Jacob and his
                                     Jacob and  his personal
                                                    personal
55                        challenges
                          challenges                            Defendants
                                                                Defendants object:  FRE 402,
                                                                            object: FRE 402,
                                                                undisclosed
                                                                undisclosed
6
6
                          Friend – knows
                          Friend —   knows about
                                           about Jacob’s
                                                 Jacob's        Direct: 1.5
                                                                Direct: 1.5
77                        challenges
                          challenges and
                                       and knew  him from
                                           knew him  from the
                                                          the   Cross:  .25
                                                                Cross: .25
     Raymond
     Raymond Acender
             Acender      Home   for Men.
                          Home for   Men.
88                                                              Defendants
                                                                Defendants object:   FRE 402,
                                                                             object: FRE 402,
                                                                undisclosed
                                                                undisclosed
99                        Jacob’s aunt, character
                          Jacob's aunt, character witness
                                                  witness       Direct:
                                                                Direct: 11
                                                                Cross:   .25
                                                                Cross: .25
10
10
     Mrs.
     Mrs. Albert Chavez
          Albert Chavez
11
11                                                              Defendants
                                                                Defendants object:   FRE 402,
                                                                             object: FRE 402,
                                                                undisclosed
                                                                undisclosed
12
12                        Jessica's mother, history
                          Jessica's mother,  history of
                                                     of Jacob
                                                        Jacob   Direct:
                                                                Direct: 22
                          and
                          and Jessica,
                              Jessica,                          Cross:   .25
                                                                Cross: .25
13
13   Phyllis
     Phyllis Rodriguez
             Rodriguez    character of Jacob
                          character of Jacob
14
14                                                              Defendants
                                                                Defendants object:   FRE 402,
                                                                             object: FRE 402,
                                                                undisclosed
                                                                undisclosed
15
15                        Jacob’s Grandfather, character
                          Jacob's Grandfather, character        Direct:
                                                                Direct: 11
                          witness
                          witness                               Cross:   .25
                                                                Cross: .25
16
16   Albert Chavez
     Albert Chavez
     (Grandfather)
     (Grandfather)
                                                                Defendants
                                                                Defendants object:   FRE 402,
                                                                             object: FRE 402,
17
17
                                                                undisclosed
                                                                undisclosed
18
18                        Producer
                          Producer of
                                   of gang video with
                                      gang video with Jacob
                                                      Jacob     Direct:
                                                                Direct: 22
                          Dominguez
                          Dominguez                             Cross:   .25
                                                                Cross: .25
19
19   Adam Ybarra
     Adam Ybarra
                                                                Defendants
                                                                Defendants object:   FRE 402,
                                                                             object: FRE 402,
20
20                                                              undisclosed
                                                                undisclosed
21
21                        Character Witness
                          Character Witness                     Direct:
                                                                Direct: 11
                                                                Cross:   .25
                                                                Cross: .25
22
22   Albert Chavez, Jr.
     Albert Chavez, Jr.
                                                                Defendants
                                                                Defendants object:   FRE 402,
                                                                             object: FRE 402,
23
23                                                              undisclosed
                                                                undisclosed
                          Character Witness
                          Character Witness                     Direct:
                                                                Direct: 22
24
24
                                                                Cross:   .25
                                                                Cross: .25
25
25   Benjamin Regaldo
     Benjamin Regaldo
                                                                Defendants
                                                                Defendants object:   FRE 402,
                                                                             object: FRE 402,
26
26                                                              undisclosed
                                                                undisclosed
                          Character Witness
                          Character Witness                     Direct:
                                                                Direct: 22
27
27   Cisco
     Cisco Regaldo
           Regaldo                                              Cross:   .25
                                                                Cross: .25
28
28

                                             ._
                                             17
                          JOINT
                          JOINT PRETRIAL STATEMENT AND
                                PRETRIAL STATEMENT   AND ORDER
                                                         ORDER
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11                                                          Defendants
                                                            Defendants object:   FRE 402,
                                                                         object: FRE 402,
                                                            undisclosed
                                                            undisclosed
2
2                                                           Direct:
                                                            Direct: 22
33                        Character Witness
                          Character Witness                 Cross:   .25
                                                            Cross: .25
     Rosalinda Chavez
     Rosalinda Chavez
4
4                                                           Defendants
                                                            Defendants object:   FRE 402,
                                                                         object: FRE 402,
                                                            undisclosed
                                                            undisclosed
55                        Character Witness—
                          Character Witness – co
                                              co worker
                                                 worker     Direct:
                                                            Direct: 11
                                                            Cross:   .25
                                                            Cross: .25
6
6
     Ruben
     Ruben Rivera
           Rivera
77                                                          Defendants
                                                            Defendants object:   FRE 402,
                                                                         object: FRE 402,
                                                            undisclosed
                                                            undisclosed
88                        Character Witness
                          Character Witness                 Direct:
                                                            Direct: 11
                                                            Cross:   .25
                                                            Cross: .25
99   Juan Haro
     Juan Haro
                                                            Defendants
                                                            Defendants object:  FRE 402,
                                                                        object: FRE 402,
10
10
                                                            undisclosed
                                                            undisclosed
11
11                        Character Witness
                          Character Witness                 Direct:1
                                                            Direct:1
                                                            Cross:  .25
                                                            Cross: .25
12
12   Fred
     Fred Romero
          Romero
                                                            Defendants
                                                            Defendants object:   FRE 402,
                                                                         object: FRE 402,
13
13                                                          undisclosed
                                                            undisclosed
14
14                        Character Witness
                          Character Witness                 Direct:
                                                            Direct: 11
                                                            Cross:   .25
                                                            Cross: .25
15
15   Randy
     Randy DelGato
           DelGato
                                                            Defendants
                                                            Defendants object:   FRE 402,
                                                                         object: FRE 402,
16
16                                                          undisclosed
                                                            undisclosed
                          Character Witness
                          Character Witness                 Direct:
                                                            Direct: 11
17
17
                                                            Cross:   .25
                                                            Cross: .25
18
18   John
     John DeRose
          DeRose
                                                            Defendants
                                                            Defendants object:   FRE 402,
                                                                         object: FRE 402,
19
19                                                          undisclosed
                                                            undisclosed
                          Character Witness
                          Character Witness                 Direct:
                                                            Direct: 22
20
20                                                          Cross:   .25
                                                            Cross: .25
21
21   Sunny Lara
     Sunny Lara
                                                            Defendants
                                                            Defendants object:  FRE 402,
                                                                        object: FRE 402,
22
22                                                          undisclosed
                                                            undisclosed

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                          JOINT
                          JOINT PRETRIAL STATEMENT AND
                                PRETRIAL STATEMENT   AND ORDER
                                                         ORDER
                                    5:18-CV-04826 BLM
                                    5:18-CV-04826 BLM
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11                           APPENDIX
                             APPENDIX“B”
                                      "B"- -Defense
                                             Defense Witnesses
                                                     Witnesses

2
2
           Witness
           Witness                     Substance of Testimony
                                       Substance of Testimony                        Time Estimate
                                                                                     Time Estimate
33
     Defendant
     Defendant Officer
                Officer     Officer
                            Officer Pina
                                    Pina will  testify about
                                          will testify about his
                                                              his training
                                                                  training and
                                                                           and       Direct
                                                                                     Direct 3
                                                                                            3 hrs
                                                                                              hrs
4
4    Michael Pina
     Michael Pina           experience,   the information
                            experience, the    information hehe had
                                                                had about
                                                                      about
                            decedent   Jacob Dominguez,
                            decedent Jacob      Dominguez, surveillance
                                                              surveillance of
                                                                            of       Cross 1.5
                                                                                     Cross 1.5
55
                            decedent,
                            decedent, attempted
                                        attempted apprehension
                                                     apprehension of  of
6
6                           decedent,   and the
                            decedent, and    the use
                                                  use of
                                                       of force
                                                          force

77   Officer
     Officer Kristopher
             Kristopher     Officer
                            Officer Ferguson   will testify
                                    Ferguson will   testify about
                                                            about his
                                                                   his               Direct
                                                                                     Direct 1.25
                                                                                            1.25 hrs
                                                                                                 hrs
     Ferguson
     Ferguson               training and experience,
                            training and experience, thethe information
                                                             information he
                                                                         he
88                          had
                            had about  decedent Jacob
                                 about decedent    Jacob Dominguez,
                                                            Dominguez,               Cross .45
                                                                                     Cross .45

99                          surveillance
                            surveillance of decedent, and
                                         of decedent,     and attempted
                                                               attempted
                            apprehension
                            apprehension ofof decedent
                                              decedent
10
10
     Officer
     Officer Alvaro Lopez
             Alvaro Lopez   Officer
                            Officer Lopez will testify
                                    Lopez will testify about
                                                       about his
                                                             his training
                                                                  training           Direct
                                                                                     Direct 1.25
                                                                                            1.25 hrs
                                                                                                 hrs
11
11                          and
                            and experience,   the information
                                 experience, the  information hehe had
                                                                    had
                            about
                            about decedent   Jacob Dominguez,
                                   decedent Jacob    Dominguez,                      Cross .45
                                                                                     Cross .45
12
12                          surveillance
                            surveillance of decedent, and
                                         of decedent,   and attempted
                                                             attempted
13
13                          apprehension
                            apprehension ofof decedent
                                              decedent

14
14   Officer
     Officer Peter
             Peter          Officer
                            Officer Szemeredi  will testify
                                    Szemeredi will  testify about
                                                            about                    Direct
                                                                                     Direct 1.25
                                                                                            1.25 hrs
                                                                                                 hrs
     Szemeredi
     Szemeredi              information
                            information known  about Jacob
                                        known about    Jacob Dominguez
                                                               Dominguez
15
15                          and
                            and provided
                                 provided to members of
                                          to members    of the
                                                            the Covert
                                                                Covert               Cross  1.0
                                                                                     Cross 1.0
                            Response
                            Response Unit
                                       Unit and
                                            and surveillance
                                                surveillance of of decedent
                                                                   decedent          object: FRE 402,
                                                                                     object: FRE   402,
16
16                                                                                   403
                                                                                     403
     Sgt.
     Sgt. Mauricio
          Mauricio          Sgt.
                            Sgt. Jimenez
                                 Jimenez willwill testify
                                                  testify about
                                                           about Covert
                                                                   Covert            Direct
                                                                                     Direct .75
                                                                                              .75 hrs
                                                                                                  hrs
17
17
     Jimenez
     Jimenez                Response
                            Response Unit
                                        Unit training     and procedures
                                               training and     procedures andand
18
18                          surveillance
                            surveillance of   decedent and
                                           of decedent      and may
                                                                  may offer
                                                                       offer         Cross .5
                                                                                     Cross .5
                            expert
                            expert opinion    testimony on
                                    opinion testimony       on how
                                                                how the
                                                                      the
19
19                          surveillance,
                            surveillance, tactics,    and force
                                            tactics, and     force used
                                                                   used byby         Object:
                                                                                     Object: not
                                                                                             not
                            SJPD
                            SJPD officers
                                   officers in   the apprehension
                                                     apprehension of    of Jacob
                                                                           Jacob     disclosed  as
                                                                                     disclosed as
20
20                                           in the
                                                                                     expert
                                                                                     expert
                            Dominguez conformed to the policies and
                            Dominguez     conformed       to  the policies  and
                                                                                     FRE
                                                                                     FRE 401,   402,
                                                                                           401, 402,
21
21                          practices
                            practices of
                                       of the
                                          the San    Jose Police
                                                San Jose      Police
                                                                                     403, 802
                                                                                     403, 802
                            Department
                            Department andand thethe Critical
                                                     Critical Response
                                                                Response Unit.
                                                                             Unit.
22
22
     Sgt.
     Sgt. Gustavo Perez
          Gustavo Perez     Sgt.
                            Sgt. Perez
                                 Perez will testify about
                                       will testify about Covert
                                                          Covert                     Direct
                                                                                     Direct .75
                                                                                              .75 hrs
                                                                                                  hrs
23
23                                                                                   Cross
                                                                                     Cross .5
                            Response
                            Response Unit
                                       Unit training  and procedures
                                             training and procedures and
                                                                     and                      .5
24
24                          procedures
                            procedures following    the use
                                        following the   use of
                                                            of force
                                                               force                 object: FRE 402,
                                                                                     object: FRE   402,
                                                                                     403
                                                                                     403
25
25   Sgt.
     Sgt. Alan Lee
          Alan Lee          Sgt.
                            Sgt. Lee
                                 Lee will
                                     will testify about crime
                                          testify about crime scene
                                                              scene                  Direct
                                                                                     Direct .5.5 hrs
                                                                                                 hrs
                            evidence gathered
                            evidence gathered                                        Cross  .5
                                                                                     Cross .5
26
26                                                                                   object: FRE 402,
                                                                                     object: FRE   402,
                                                                                     403
                                                                                     403
27
27
     Officer
     Officer Veronica
             Veronica       Officer
                            Officer Martinez  will testify
                                     Martinez will testify about
                                                           about crime
                                                                 crime               Direct
                                                                                     Direct .5.5 hrs
                                                                                                 hrs
28
28   Martinez
     Martinez               scene
                            scene evidence    gathered
                                    evidence gathered                                Cross  .5
                                                                                     Cross .5


                                                     19
                                                     19
                              JOINT
                              JOINT PRETRIAL STATEMENT AND
                                    PRETRIAL STATEMENT   AND ORDER
                                                             ORDER
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11                                                                               object: FRE 402,
                                                                                 object: FRE   402,
                                                                                 403
                                                                                 403
2
2    John Black
     John Black          Mr.
                         Mr. Black
                             Black will
                                    will testify  as an
                                         testify as  an expert
                                                         expert about
                                                                 about           Direct
                                                                                 Direct 2 2 hrs
                                                                                            his
                         standards
                         standards for   officer training,
                                    for officer   training, police
                                                            police               Cross
                                                                                 Cross 3  3 hrs
                                                                                            his
33
                         practices,
                         practices, and   perception, reaction,
                                    and perception,      reaction, and
                                                                   and
4
4                        attention
                         attention during   critical events;
                                   during critical   events; aa copy
                                                                copy of
                                                                     of his
                                                                        his
                         report
                         report and
                                and CV    are attached
                                     CV are    attached
55
     Rocky
     Rocky Edwards
           Edwards       Mr.
                          Mr. Edwards
                              Edwards will     testify as
                                          will testify as an
                                                          an expert
                                                             expert about
                                                                    about        Direct
                                                                                 Direct 1.5
                                                                                        1.5 hrs
                                                                                            his
6
6
                         the
                         the ballistics  evidence and
                              ballistics evidence     and scene
                                                          scene mapping;
                                                                 mapping;
77                       aa copy
                            copy of
                                  of his  report and
                                      his report  and CVCV are
                                                           are attached
                                                               attached          Cross
                                                                                 Cross    33 hrs
                                                                                             his

88   Daniel
     Daniel Sudakin
            Sudakin      Dr.
                         Dr. Sudakin
                              Sudakin will
                                        will testify  as to
                                              testify as  to evidence
                                                             evidence            Direct
                                                                                 Direct .5.5 hrs
                                                                                             hrs
                         decedent   Jacob Dominguez
                         decedent Jacob        Dominguez was was under
                                                                    under the
                                                                           the   Cross
                                                                                 Cross 3   3 hrs
                                                                                             his
99                       influence
                         influence of
                                    of illicit drugs at
                                       illicit drugs   at the
                                                          the time
                                                               time of
                                                                     of the
                                                                        the      object: FRE 402,
                                                                                 object: FRE   402,
                         incident
                         incident and
                                  and the      effect of
                                        the effect    of such
                                                         such drug
                                                                 drug use;
                                                                      use; aa    403 MIL
                                                                                 403 MIL
10
10
                         copy
                         copy of
                               of his report and
                                  his report    and CVCV are
                                                           are attached
                                                                attached
11
11
     Custodians
     Custodians of
                of       IfIf needed,
                              needed, custodians
                                       custodians ofof record
                                                       record may
                                                               may be
                                                                   be
12
12   record
     record              called
                         called toto testify as to
                                     testify as to authenticity
                                                   authenticity of
                                                                of
                         documents
                         documents of   of the
                                           the Santa
                                                Santa Clara
                                                       Clara County
                                                             County Crime
                                                                     Crime
13
13                       Lab,
                         Lab, Coroner,
                                 Coroner, oror San  Jose Police
                                               San Jose   Police
14
14                       Department
                         Department

     Plaintiff Jessica
     Plaintiff Jessica   Mrs.
                         Mrs. Dominguez
                               Dominguez willwill testify
                                                  testify about
                                                          about her
                                                                 her             Direct
                                                                                 Direct
15
15
     Dominguez
     Dominguez           impression
                         impression that   decedent Jacob
                                      that decedent     Jacob Dominguez
                                                               Dominguez
16
16                       was  on drugs
                         was on   drugs in
                                         in the
                                            the weeks
                                                 weeks andand days
                                                              days before
                                                                     before      Cross
                                                                                 Cross (in  Defs’
                                                                                        (in Defs'
                         the
                         the incident
                             incident and   the reasons
                                       and the   reasons for
                                                           for that
                                                               that belief
                                                                    belief       case) .5 hrs
                                                                                 case) .5  hrs
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                           JOINT
                           JOINT PRETRIAL STATEMENT AND
                                 PRETRIAL STATEMENT   AND ORDER
                                                          ORDER
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11                               APPENDIX “C” —
                                 APPENDIX "C" – Plaintiffs’ Exhibits
                                                Plaintiffs' Exhibits

2
2
     Number
     Number   Exhibit
              Exhibit                             Evidentiary Purpose
                                                  Evidentiary Purpose   Objection
                                                                        Objection
33    11      Government
              Government Claim Claim (CA
                                       (CA
                                                                        402
                                                                        402
              Gov.
              Gov. Code      §910)
                    Code §910)
4
4      2
       2
              DA
              DA Report
                   Report on on Fatal
                                 Fatal
                                                                        802
                                                                        802
              Shooting
              Shooting of  of Dominguez
                              Dominguez
55            Amended       Complaint,
              Amended Complaint,
       33     Docket
              Docket #37#37                                             402
                                                                        402
              City
              City of
                   of San
                       San Jose’s     Answer
6
6
       4
       4      to
              to Amended
                              Jose's Answer
                               Complaint,
                 Amended Complaint,                                     402
                                                                        402
              Docket
              Docket #38#38
77            Pina’s
              Pina's Answer
                      Answer to  to Amended
                                    Amended
       55     Complaint,     Docket #39
              Complaint, Docket       #39                               402
                                                                        402
88            Stipulated    Protective
              Stipulated Protective
       6
       6      Order,  Docket #41
              Order, Docket      #41                                    402
                                                                        402
99            Plaintiff’s  Response to
              Plaintiff's Response      to
       7
       7      Interrogatories
              Interrogatories                                           Compound
                                                                        Compound
10
10     8
       8
              Pl.
              Pl. GAL’s    Response to
                  GAL's Response         to
                                                                        Compound
                                                                        Compound
              Request
              Request for for Documents
                               Documents
11
11     9
       9
              Plaintiff’s  Response to
              Plaintiff's Response      to                              Compound
                                                                        Compound
              Request
              Request for for Documents
                               Documents

12
12     10
       10
              Plaintiff’s  Amended
              Plaintiff's Amended                                       Compound
                                                                        Compound
              Response
              Response to       ROGS
                            to ROGS

13
13     11
       11
              Pl’s
              Pl's Amended       Response to
                   Amended Response          to                         Compound
                                                                        Compound
              Request
              Request for for Documents
                               Documents

14
14
              Pl.
              Pl. GAL’s    Amended Res-
                  GAL's Amended         Res-                            Compound
                                                                        Compound
       12
       12     ponse
              ponse toto Request
                          Request forfor
              Documents
              Documents
15
15
       13
       13
              GAL’s   Document
              GAL's Document                                            Compound
                                                                        Compound
              Production,
              Production, Bates     1-197
                              Bates 1-197
16
16
       14
       '14
              Plaintiff’s  Document
              Plaintiff's Document                                      Compound
                                                                        Compound
              Production,
              Production, Bates     1-376
                              Bates 1-376
17
17
       15
       15
              City
              City of
                   of SJ’s   Response to
                      SJ's Response     to                              Compound
                                                                        Compound
              Special
              Special Interrogatories
                        Interrogatories
18
18            City
              City of
                   of SJ’s   Response to
                      SJ's Response     to                              Compound
                                                                        Compound
       16
       16     Request
              Request for for Documents
                              Documents
19
19            (PO)
              (PO)

       17
              City
              City of
                    of SJ’s
                       SJ's Production
                            Production ofof                             Compound
                                                                        Compound
20
20     17     Documents
              Documents

       18
       18
              City
              City of
                   of SJ’s  Supplemental
                       SJ's Supplemental                                Compound
                                                                        Compound
21
21            Response
              Response to     Special Rogs
                           to Special Rogs
              City
              City of
                   of SJ’s  Amended
                       SJ's Amended                                     Compound
                                                                        Compound
22
22     19
       19     Response
              Response to  to Request
                              Request for
                                       for
              Documents
              Documents

23
23
              City
              City of
                   of SJ’s  Response to
                       SJ's Response    to                              Compound
                                                                        Compound
       20
       20     Request
              Request for    Documents,
                        for Documents,
              Set
              Set #2
                   #2
24
24            City
              City of
                   of SJ’s Supplemental
                      SJ's Supplemental                                 Compound
                                                                        Compound
       21
       21     Response
              Response to to Request
                             Request for
                                      for
25
25            Documents,
              Documents, SetSet 22
              City
              City of
                   of SJ’s Document
                      SJ's Document                                     Compound
                                                                        Compound
26
26     22
       22     Production,
              Production, Bates    SJ0001-
                           Bates SJ0001-
              1966
              1966
27
27            Pina’s
              Pina's Response
                      Response to to                                    Compound
                                                                        Compound
       23
       23     Special
              Special Interrogatories
                       Interrogatories
              (PO)
              (PO)
28
28

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                                                         21
                                 JOINT
                                 JOINT PRETRIAL STATEMENT AND
                                       PRETRIAL STATEMENT   AND ORDER
                                                                ORDER
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11     24
       24
              Pina’s
              Pina's Response
                      Response to to                                         Compound
                                                                             Compound
              Request
              Request for
                        for Documents
                            Documents

2
2     25
      25      Pina’s
              Pina's Production
                      Production ofof                                        Compound
                                                                             Compound
              Documents
              Documents

33     26
       26
              Pina’s
              Pina's Amended     Response
                      Amended Response                                       Compound
                                                                             Compound
              to
              to Special  Interrogatories
                 Special Interrogatories

4
4      27
       27
              Pina’s
              Pina's Amended     Response
                      Amended Response                                       Compound
                                                                             Compound
              to
              to Request
                 Request for   Documents
                           for Documents
              Deposition
              Deposition Transcript
                           Transcript of
                                      of
55     28
       28     Jessica
              Jessica Dominguez
                       Dominguez                                             Compound
                                                                             Compound
              Deposition
              Deposition Transcript
                           Transcript of
                                      of
6
6      29
       29     Officer
              Officer Alvaro  Lopez
                      Alvaro Lopez                                           Compound, 802
                                                                             Compound, 802
              Deposition
              Deposition Transcript
                           Transcript of
                                      of
77     30
       30     Officer
              Officer Michael   Pina
                      Michael Pina                                           Compound
                                                                             Compound

       31
       31
              Deposition
              Deposition Transcript
                           Transcript of
                                      of                                     Compound, 802
                                                                             Compound, 802
88            Officer
              Officer Kristoffer Ferguson
                      Kristoffer Ferguson

       32
       32
              Deposition
              Deposition Transcript
                           Transcript of
                                      of                                     Compound, 802
                                                                             Compound, 802
              Daniel
              Daniel Sudakin,    M.D.
99                    Sudakin, M.D.

       33
       33
              Deposition
              Deposition Transcript
                           Transcript of
                                      of                                     Compound, 802
                                                                             Compound, 802
              John
              John R.
                    R. Black
10
                       Black
10
       34
       34
              Deposition
              Deposition Transcript
                           Transcript of
                                      of
                                            Plaintiffs’
                                            Plaintiffs' expert, CPA
                                                        expert, CPA          Compound, 802
                                                                             Compound, 802
              Phil
              Phil Allman
                   Allman
11
11
       35
       35
              Deposition
              Deposition Transcript
                           Transcript of
                                      of
                                            Plaintiffs’
                                            Plaintiffs' toxicology expert
                                                        toxicology expert    Compound, 802
                                                                             Compound, 802
              Alan
              Alan Barbour
                    Barbour
12
12
                                                                         expert Compound, 802
              Deposition
              Deposition Transcript
                           Transcript of
                                      of                                        Compound, 802
       36
       36     Scott
              Scott DeFoe
                    DeFoe                   Plaintiff’s
                                            Plaintiff's police standards expert
                                                        police standards
13
13            Deposition
              Deposition Transcript
                           Transcript of
                                      of                                     Compound, 802
                                                                             Compound, 802
       37
       37     Rocky
              Rocky Edwards
                      Edwards               Defendant’s expert
                                            Defendant's expert
14
14            Deposition
              Deposition Transcript
                           Transcript of
                                      of                                     Compound, 802
                                                                             Compound, 802
       38
       38     David
              David Balash
                     Balash                 Plaintiffs’
                                            Plaintiffs' ballistics expert
                                                        ballistics expert
15
15     39
       39
              AXON_Body_2_Video_201
              AXON Body_2_Video_201
                                            Body
                                            Body worn
                                                 worn camera
                                                      camera of
                                                             of _____        Stip.
                                                                             Stip.
              7-09-15_1847
              7-09-15_1847
16            AXON_Body_2_Video_201
              AXON Body_2_Video_201
16     40
       40     7-09-15_1902
              7-09-15_1902                  Body
                                            Body worn
                                                 worn camera
                                                      camera of
                                                             of _____        Stip.
                                                                             Stip.
              AXON_Body_2_Video_201
17
17     41
       41
              AXON Body_2_Video_201
              7-09-15_1903
              7-09-15_1903                  Body
                                            Body worn
                                                 worn camera of Pina
                                                      camera of Pina         Stip.
                                                                             Stip.
              AXON_Body_2_Video_201
18
              AXON Body_2_Video_201
18     42
       42     7-09-15_1904
              7-09-15_1904                  Body
                                            Body worn
                                                 worn camera
                                                      camera of
                                                             of _____        Stip.
                                                                             Stip.
              Item
              Item SJ182278-27/#28-1
                    SJ182278-27/#28-1       Decedent’s  black sweatshirt
                                            Decedent's black  sweatshirt with
                                                                         with
19
19     43
       43     black
              black hooded    sweatshirt
                     hooded sweatshirt                                        403
                                                                              403
                                            bullet
                                            bullet hole
                                                   hole
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20

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                              JOINT
                              JOINT PRETRIAL STATEMENT AND
                                    PRETRIAL STATEMENT   AND ORDER
                                                             ORDER
                                        5:18-CV-04826 BLM
                                        5:18-CV-04826 BLM
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11            Defendants’
              Defendants' Production
                                Production 03-03-
              08-21-all
              08-21-all items
                           items inin folders:
                                      folders:
              6+7
              6+7 Video2       + reports
                                 reports
2
2
                    Video2 +
              110718-035028PM;
               110718-035028PM;
              bloodstains110818-
              bloodstains110818-
33            054349PM;
              054349PM; Car    Car
              interior+exterior110818-
              interior+exterior110818-
4
4             055505PM;
              055505PM; comm   comm log log 0;
                                             0;
              comm
              comm log       1; Dominguez
                        log 1;  Dominguez
              POS
              POS dated       03-09-21;
55                    dated 03-09-21;
              DOMINGUEZ031518-
              DOMINGUEZ031518-
              0383941
              0383941 ;; evidence
                             evidence return
                                          return
6
6             receipt
              receipt 0; 0; evidence     return
                            evidence return
              receipt
              receipt 1; 1; exam    request 0;
                            exam request       0;
77            exam
              exam request
                       request 1a;     Item 5
                                  la; Item   5
       44
       44     video
              video 1110718-
                       1110718-                                          Compound
                                                                         Compound
              11O931AM;         LCV
88             110931AM; LCV
              Mapping110718-
              Mapping110718-
              035612PM;
              035612PM; notes  notes 0;0; notes
                                           notes
99            1;
               1; officer
                  officer photos1106818-
                           photos1106818-
              044919PM;
              044919PM; position
                               position + +
10
10            bullet
              bullet + + sweatshirt     110818-
                          sweatshirt 110818-
              085338PM;
              085338PM; report report 0;0; report
                                           report
              1;
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                  scene photos       2+ +
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11                         photos 2
              110618-053908PM;
               110618-053908PM; scene     scene
              photos     1110618-
              photos 111061       8-
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12            052524PM;
              052524PM;
              sweatshirt110718-
              sweatshirt110718-
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13            052032PM
              052032PM

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14            Defendants’   Supplemental
              Defendants' Supplemental
              Document
              Document Production       circa
                          Production circa
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15            9/30/19-all items in
              9/30/19-all items  in files:
                                    files:
              BWC
              BWC AEO;     BWC
                    AEO; BWC
              Confidential;
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16            Confidential;
              AXON_Body_2_video_201
              AXON_Body_2_video_201
              7-09-15_1942(1);
              7-09-15_1942(1); FORFOR
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17            PRODUCTION
              PRODUCTION Number Number 22
              Channel
              Channel Ch.
                       Ch. 4 4 Room
                               Room
18
18            Homicide
              Homicide Room
                        Room 2   2 02-14-
                                   02-14-
       45
       45     35
              35 SD; Number 01
                 SD; Number     01                                       Compound
                                                                         Compound
              Channel
              Channel Ch3     Room
19
19            Homicide
                       Ch3 Room
              Homicide Room
                        Room 2   2 23-33-
                                   23-33-
              40
              40 SD; Number 02
                 SD; Number     02
20
20            Channel
              Channel CH4     Room
                       CH4 Room
              Homicide
              Homicide Room
                        Room 2   2 01-15-
                                   01-15-
21
21            23
              23 SD; Number 02
                 SD; Number     02
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              Channel Ch
                       Ch 4 4 Room
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              Homicide
              Homicide Room      2 23-33-
                                   23-33-
22
22
              40
              40 SD;
                        Room 2
                     photosBS2HDR1
                 SD; photosBS2HDR1

23
23            Defendants’
              Defendants'
              Communication
              Communication
24
24     46
       46     Recordings  #1551623-
              Recordings #1551623-                                       Compound
                                                                         Compound
              1551626
              1551626
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25     47
       47
              Jail
              Jail call
                   call DelaTorre
                        DelaTorre
                                                                         Stip.
                                                                         Stip.
26            Plaintiffs’ family photos
              Plaintiffs' family photos
26     48
       48                                                                Obj.
                                                                         Obj. 402, 403
                                                                              402, 403

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                                        PRETRIAL STATEMENT   AND ORDER
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11                               APPENDIX
                                 APPENDIX “D”
                                          "D"–—Defendants’
                                                Defendants' Exhibits
                                                            Exhibits

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                                        DEFENDANTS’ EXHIBITS
                                        DEFENDANTS' EXHIBITS
33
     Trial
     Trial Ex.
           Ex.      Description
                    Description        Bates or Depo.
                                       Bates or Depo.     Purpose &
                                                          Purpose &             Objection
                                                                                Objection   Response
                                                                                            Response
4
4       No.
        No.                             Ex.
                                        Ex. Number
                                            Number Sponsoring    Witness
                                                      Sponsoring Witness

55    500.
      500        Ramey
                 Ramey warrant
                       warrant         SJ1885-1888
                                       SJ1885-1888        Basis   for arrest,
                                                           Basis for  arrest,
                                                          officer witnesses
                                                          officer witnesses
6
6
      501.
      501.       CRU Ops Plan
                 CRU Ops Plan 11       SJ1944-1953
                                       SJ1944-1953         Info
                                                            Info known
                                                                 known to to
77                                                         officers, officer
                                                           officers, officer
88                                                            witnesses
                                                              witnesses

99    502.
      502.       CRU
                 CRU Ops Plan 22
                     Ops Plan          SJ1954-1959
                                       SJ1954-1959         Info
                                                            Info known
                                                                 known to to
                                                           officers, officer
                                                           officers, officer
10
10                                                            witnesses
                                                              witnesses

11
11    503.
      503        CRU
                 CRU Ops    Plan
                       Ops Plan        SJ1960-1966
                                       SJ1960-1966         Info
                                                            Info known  to
                                                                 known to
                 with notes
                 with notes                               officers, M. Pina
                                                          officers, M. Pina
12
12
      504.
      504        SJPD
                 SJPD Report  17-
                       Report 17-      SJ1795-1943
                                       SJ1795-1943          Info
                                                            Info known
                                                                  known toto
13
13               255-0757
                 255-0757                                     officers, P.
                                                              officers, P.
                                                              Szemeredi
                                                              Szemeredi
14
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      505.
      505        SJPD
                 SJPD report  17-
                       report 17-      SJ0001-0164
                                       SJ0001-0164        Account of
                                                          Account   of event,
                                                                       event,
15
15
                 258-0283
                 258-0283                                       refresh
                                                                refresh
16
16                                                           recollection,
                                                             recollection,
                                                          officer witnesses
                                                          officer witnesses
17
17
      506.
      506        Event
                 Event Details
                       Details         SJ0164-0186
                                       SJ0164-0186        Account of
                                                          Account   of event,
                                                                       event,
18
18               Report
                 Report                                         refresh
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                                                             recollection,
                                                             recollection,
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19                                                        officer witnesses
                                                          officer witnesses
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20    507.
      507.       Bodyworn
                 Bodyworn              SJ1642/
                                       SJ1642/            Depict
                                                          Depict event and
                                                                 event and
                 camera video—
                 camera video –        SJ1764
                                       SJ1764               subsequent
                                                            subsequent
21
21
                 Pina
                 Pina                                     actions, M. Pina
                                                          actions, M. Pina
22
22    508.
      508        Bodyworn
                 Bodyworn              SJ1640/
                                       SJ1640/            Depict
                                                          Depict event  and
                                                                 event and
23
23               camera video—
                 camera video –        SJ1766
                                       SJ1766               subsequent
                                                            subsequent
                 Ferguson
                 Ferguson                                    actions, K.
                                                             actions, K.
24
24                                                           Ferguson
                                                              Ferguson

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25    509.
      509        Bodyworn
                 Bodyworn              SJ1657/
                                       SJ1657/              Depict
                                                            Depict actions
                                                                   actions
                 camera video—
                 camera video –        SJ1749
                                       SJ1749              following event,
                                                           following event,
26
26               Lopez
                 Lopez                                         A. Lopez
                                                               A. Lopez
27
27    510.
      510.       Bodyworn
                 Bodyworn              SJ1655/
                                       SJ1655/              Depict
                                                            Depict actions
                                                                   actions
                 camera video—
                 camera video –        SJ1751
                                       SJ1751              following event,
                                                           following event,
28
28
                 Lopez
                 Lopez

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11   Trial
     Trial Ex.
           Ex.      Description
                    Description       Bates or Depo.
                                      Bates or Depo.     Purpose &
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        No.
        No.                            Ex.
                                       Ex. Number
                                           Number Sponsoring    Witness
                                                     Sponsoring Witness
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                                                             A. Lopez
                                                             A. Lopez
33
      511.
      511        Bodyworn
                 Bodyworn             SJ1643/
                                      SJ1643/              Depict
                                                           Depict actions
                                                                  actions
4
4                camera video—
                 camera video –       SJ1763
                                      SJ1763              following event,
                                                          following event,
                 Lopez
                 Lopez                                        A. Lopez
                                                              A. Lopez
55
      512.
      512        Bodyworn
                 Bodyworn             SJ1644/
                                      SJ1644/              Depict
                                                           Depict actions
                                                                  actions
6
6                camera video—
                 camera video –       SJ1762
                                      SJ1762              following event,
                                                          following event,
77               Szemeredi
                 Szemeredi                                 P.
                                                           P. Szemeredi
                                                               Szemeredi

88    513.
      513        Bodyworn
                 Bodyworn             SJ1641/
                                      SJ1641/              Depict actions
                                                           Depict actions
                 camera video—
                 camera video –       SJ1765
                                      SJ1765              following event,
                                                          following event,
99               Jimenez
                 Jimenez                                    M.
                                                             M. Jimenez
                                                                Jimenez

10
10    514.
      514.       Bodyworn
                 Bodyworn             SJ1651/
                                      SJ1651/              Depict
                                                           Depict actions
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                 camera video—
                 camera video –       SJ1755
                                      SJ1755              following event,
                                                          following event,
11
11               Jimenez
                 Jimenez                                    M.
                                                             M. Jimenez
                                                                Jimenez
12
12    515.
      515        Bodyworn
                 Bodyworn             SJ1659/
                                      SJ1659/              Depict
                                                           Depict actions
                                                                  actions
                 camera video—
                 camera video –       SJ1747
                                      SJ1747              following event,
                                                          following event,
13
13               Perez
                 Perez                                        G.
                                                              G. Perez
                                                                 Perez
14
14    516.
      516.       Bodyworn
                 Bodyworn             SJ1648/
                                      SJ1648/              Depict
                                                           Depict actions
                                                                  actions
15
15               camera video—
                 camera video –       SJ1759
                                      SJ1759              following event,
                                                          following event,
                 Perez
                 Perez                                        G.
                                                              G. Perez
                                                                 Perez
16
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      517.
      517.       Scene
                 Scene photos
                       photos         SJ0253-
                                      SJ0253-             Depict  scene,
                                                           Depict scene,
17
17                                    0254, 0259-
                                      0254, 0259-        officer witnesses
                                                         officer witnesses
                                      0262,
                                      0262, 0267-
                                            0267-
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18                                    0273, 0305,
                                      0273, 0305,
                                      0317, 0344,
                                      0317, 0344,
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                                      0366-367,
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20                                    0423-0424,
                                      0423-0424,
                                      0473, 0509
                                      0473, 0509
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      518.
      518        Medical
                 Medical examiner
                          examiner SJ1690-1694
                                   SJ1690-1694           Basis
                                                         Basis of opinions,
                                                               of opinions,
22
22               investigation
                 investigation                             D.
                                                            D. Sudakin
                                                               Sudakin

23
23    519.
      519.       Autopsy report
                 Autopsy report       SJ1695-1703
                                      SJ1695-1703        Basis
                                                         Basis of opinions,
                                                               of opinions,
                                                           D.
                                                            D. Sudakin
                                                               Sudakin
24
24
      520.
      520.       Crime lab reports
                 Crime lab reports    SJ1704-1772
                                      SJ1704-1772        Basis
                                                         Basis of opinions,
                                                               of opinions,
25
25                                                         R.
                                                           R. Edwards
                                                               Edwards
26
26    521.
      521        Photos
                 Photos of
                        of            SJ0644-
                                      5J0644-            Basis
                                                         Basis of opinions,
                                                               of opinions,
                 sweatshirt
                 sweatshirt           0652,
                                      0652, 0683-
                                            0683-          R.
                                                           R. Edwards
                                                               Edwards
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11   Trial
     Trial Ex.
           Ex.      Description
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                                      Bates or Depo.     Purpose &
                                                         Purpose &            Objection
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        No.
        No.                            Ex.
                                       Ex. Number
                                           Number Sponsoring    Witness
                                                     Sponsoring Witness
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      522.
      522        Photos
                 Photos of
                        of car
                           car        SJ0688-0745
                                      5J0688-0745         Depict  scene,
                                                           Depict scene,
33                                                       officer witnesses
                                                         officer witnesses
4
4                                                        Basis
                                                         Basis of opinions,
                                                               of opinions,
                                                           R.
                                                           R. Edwards
                                                               Edwards
55
      523.
      523.       Rock
                 Rock Forensics
                      Forensics                          Demonstrative, R.
                                                         Demonstrative, R.
6
6                Graphic
                 Graphic 55                                 Edwards
                                                            Edwards
77    524.
      524        Rock
                 Rock Forensics
                      Forensics                          Demonstrative, R.
                                                         Demonstrative, R.
88               Graphic
                 Graphic 77                                 Edwards
                                                            Edwards

99
      525.
      525.       3D
                 3D rendering of
                    rendering of                         Demonstrative, R.
                                                         Demonstrative, R.
                 scene
                 scene                                      Edwards
                                                            Edwards
10
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      526.
      526        Photographs
                 Photographs of
                             of                          Basis
                                                         Basis of opinions,
                                                               of opinions,
11
11               Evidence
                 Evidence &&                               R.
                                                           R. Edwards
                                                               Edwards
                 Scene
                 Scene by  Rock
                       by Rock
12
12               Forensics
                 Forensics
13
13    527.
      527.       DA
                 DA Report
                    Report            SJ1776-1794
                                      SJ1776-1794             Refresh
                                                              Refresh
                                                            recollection
                                                            recollection
14
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      528.
      528        SJPD Duty
                 SJPD Duty            SJ0767-1604
                                      5J0767-1604         SJPD   policies,
                                                          SJPD policies,
15
15               Manual
                 Manual                                  officer witnesses
                                                         officer witnesses
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               EXHIBIT 1
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1
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    ATTORNEY AT LAW
    125 S. Market Street, Suite 1200
    San Jose, California 95113-2288
    Tel: (408) 288-8100
    Fax: (408) 288-9409
    Email: jkclaw@pacbell.net
    Attorney for Plaintiffs
    JESSICA DOMINGUEZ INDIVIDUALLY
    AND JESSICA DOMINGUEZ AS GUARDIAN
    AD LITEM FOR JAD (1), JAD (2)
    AND JAD (3)


                                UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
                                         SAN JOSE DIVISION


    JESSICA DOMINGUEZ INDIVIDUALLY
    AND JESSICA DOMINGUEZ AS                                CASE NO: 5:18-cv-04826-BLF
    GUARDIAN AD LITEM FOR JAD (1),
    JAD (2) AND JAD (3),                                    PLAINTIFFS EXPERT WITNESS
                                                            DISCLOSURE
                 PLAINTIFFS,

           VS.

    CITY OF SAN JOSE, SAN JOSE
    POLICE DEPARTMENT, MICHAEL
    PINA, AND DOE POLICE OFFICERS 2
    THROUGH 5,

                 DEFENDANTS.

            TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD:

            Pursuant to FRE § 702, et seq., and FRCP § 26, et seq., Plaintiffs hereby intend

     to offer expert witness opinion testimony at the trial of this above-captioned action as

     follows:

            Retained Experts:

            1. Scott DeFoe, P.O. Box 4456, Huntington Beach, CA 92605-4456; 714-655-


                                    Plaintiff's Expert Witness Disclosure
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4280, email: sdefoe313@msn.com. Mr. Defoe's Rule 26(a)(2)(B) report is attached

hereto as Exhibit A which includes his Curriculum Vitae and his record of being deposed

and testifying in various courts including Federal Courts.

       2. Phil Allman, Ph.D.: ALLMAN & PETERSEN ECONOMICS, LLC, Phillip H.

Allman, Ph.D.; Jeffrey S. Petersen, Ph.D.; Max Allman, M.A., C.F.A.; 7677 Oakport

Street, Suite 610, Oakland, CA 94621; Phone: (510) 382-1550; Fax: (510) 382-1472.

Mr. Allman's Rule 26(a)(2)(B) report is attached hereto as Exhibit B.


       Non-Retained Experts:

       1.      Police Officer Kristoffer Ferguson is hereby disclosed as a non-retained

expert witness in this present action. As to this witness,       I   am informed and believe the

following is true:

               (a)   Officer Ferguson is a police officer with the City of San Jose and

is trained, educated, certified and experienced in the covert surveillance, detection and

arrest of suspects. He is trained in the use of force including deadly or lethal force in the

containment and apprehension of such suspects. He is certified with the P.O.S.T. (Peace

Officer Standards and Training), basic and numerous P.O.S.T. advanced certificates. He

has been employed with the San Jose Police Department since 2007, and has worked

the patrol division for approximately six (6) years, he worked with the "METRO UNIT" and

street crimes for about three and one-half years (3.5). In 2017 he was transferred to the

Covert Response Unit ("CRU") and is currently in that unit. He is trained in gangs,

narcotics and street crimes. He has received numerous letters of accommodation and

has been qualified as an expert and rendered expert opinions in courts in the State of

California as an expert witness in his field of law enforcement over forty (40) times.



                                                2
                              Plaintiff's Expert Witness Disclosure
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                (b)    I am informed and believe that Officer Ferguson will testify that

based on his training, knowledge, education and experience, the use of deadly force or

lethal forces is the highest level of force a Police Officer can use; that the use of such

force must be an immediate defense of life situation; it must be a last resort; it must be

used only in the direst of circumstances. He will affirm that deadly force is likely to cause

great bodily injury or death. He will testify that Police Officers are trusted with the use of

force and must show reverence for human life when using any force especially deadly

force. He will testify that if there are other reasonable measures available, the police

officer must utilize those measures before resorting to the use of deadly force. Before the

use of deadly force, he will testify that all other reasonable measures must be exhausted.

He will testify that each officer is responsible for every shot discharged from his weapon.

He will affirm that the subjective fear of a police officer is not sufficient cause to use deadly

force, that there must be objective articulable facts that would lead a reasonable police

officer to believe there is an imminent threat of grave bodily harm or death to another. He

will testify that the overreaction of the officer is excessive force. Officer Ferguson will

agree that the use of deadly force is the most serious decision a peace officer will ever

have to make. He agrees that such a decision should be guided by the reverence for

human life and used only when other means of control are unreasonable or have been

exhausted. He will testify that the reverence for life is the foundation on which deadly

force rests and that deadly force is always the last resort. He will affirm that the authority

to use deadly force is a heavy responsibility bestowed on a police officers by the people

of the state and that the citizenry expects all police officers to exercise that authority

judiciously and only when the use of deadly force meets an objectively reasonable

standard. That the citizenry puts their trust in each police officer to use any type of force


                                                    3
                                  Plaintiff's Expert Witness Disclosure
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including deadly or lethal force reasonably. He would testify if the force used is excessive,

it is a breach of the trust bestowed by the people on the police officer.

       Additionally, Officer Ferguson will testify, in the present case before this court,

when shots were fired by Officer Pena from his Carbine Rifle, the suspect sat back in his

seat. After the shots, the officers retreated from the contained vehicle and did not further

engage the suspect. He will testify, although the officers "retreated", the same imminent

threat of grave bodily harm or death existed after the shots were fired as existed before

the shots were fired. The shots were fired to "deter the threat." As far as the officers knew

at the time, the threat was not deterred. The suspect may be "playing possum" or lying-in

wait. The officers believed they were still subjected to the same perceived lethal threat.

Officer Ferguson did not shoot the suspect at that time, even though there still remained

an "imminent threat of grave bodily harm or even death" to the officers. Instead, all three

officers immediately retreated from the contained vehicle as their training demanded. No

other shots were fired.

       (c)     Officer Ferguson is sufficiently familiar with the pending action and has

submitted to a meaningful oral deposition concerning any opinion and i                sis.


Dated: May 21, 2021



                                                                KEVIN CROWL , Esq.
                                                           orney for Plaintiffs




                                                  4
                                Plaintiff's Expert Witness Disclosure
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                EXHIBIT A
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On-Scene Consulting
May 21, 2021

Mr. John Kevin Crowley, Esq.
Law Offices of John Kevin Crowley
125 S. Market Street, Suite 1200
San Jose, California 95113



                Federal Rules of Civil Procedure 26 (a) (2) (B) Report

  JESSICA DOMINGUEZ, INDIVIDUALLY AND JESSICA DOMINGUEZ AS
    GUARDIAN AD LITEM FOR JAD (D, JAD (2), AND JAD (3), Plaintiffs,
                                  vs.
  CITY OF SAN JOSE, SAN JOSE POLICE DEPARTMENT, MICHAEL PINA,
          AND DOE POLICE OFFICERS 2 through 5, Defendants.
                       Case No. 5:18-CV-04826.

Dear Mr. Crowley,

Thank you for retaining me to analyze and render opinions regarding the September 15,
2017, shooting death of Mr. Jacob Arturo Dominguez at Penitencia Creek Road at White
Road, San Jose, California 95127, by San Jose Police Department Police Officer Michael
Pina. Pursuant to the requirements of Rule 26, I have studied reports, Santa Jose Police
Department documents, Body Worn Camera videos, Transcriptions of Depositions, and
other material (as listed under Materials Reviewed)provided to me thus far regarding this
case. Please be advised that if additional documents related to this matter are provided, it
may be necessary to write a supplemental report to refine or express additional opinions.

Scott A. DeFoe
Principal
On-Scene Consulting, LLC




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On-Scene Consulting
Materials Reviewed:

1. Proposed Stipulated Protective Order, Case No. 5:18-cv-04826-BLF.

2. Defendants' Interrogatories to Plaintiff Jessica Dominguez, Individually and as
Guardian Ad Litem for Jacob Dominguez, Jordan Dominguez and Jaliyah Dominguez,
Case No. 5:18-cv-04826-BLF.

3. Defendants' Request for Production of Documents to Plaintiff Jessica Dominguez,
Individually, Case No. 5:18-cv-04826-BLF.

4. Defendants' Request for Production of Documents to Plaintiff Jessica Dominguez, as
Guardian Ad Litem for Jacob Dominguez, Jordan Dominguez, and Jaliyah Dominguez,
Case No. 5:18-cv-04826-BLF.

5. Report on the Fatal Shooting of Jacob Dominguez on 9/15/17, The County of Santa
Clara, Jeffrey F. Rosen, District Attorney.

6. Amended Complaint, Case No. 5:18-cv-04826-BLF.

7. Commission on Peace Officer Standards and Training, Pina, Michael Efren, Post ID
No. B96-P92, (SJ 1605-1608).

8. San Jose Police Department, GO# SJ 2017-172550757, 211 PC Armed Robbery, (SJ
1795-1943).

9. County of Santa Clara, Office of the Medical Examiner, Report of Autopsy,
Dominguez, Jacob, Arturo, Case No. 17-03014.

10. Defendant City of San Jose's First Supplemental Response to Plaintiff's Request for
Production of Documents, Set Two (2), Case No. 5:18-cv-04826-BLF.

11. Defendant City of San Jose's Response to Plaintiff's Request for Production of
Documents, Set Two (2), Case No. 5:18-cv-04826-BLF.

12. Plaintiff's Request for Production of Documents, Set One, Case No. 5:18-cv-04826-
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On-Scene Consulting

13. Plaintiffs Request for Production of Documents, Set Two, Case No. 5:18-cv-04826-
BLF.

14. Defendant City of San Jose's Response to Plaintiffs Request for Production of
Documents, Set One, Case No. 5:18-cv-04826-BLF.

15. Defendant City of San Jose's Amended Response to Plaintiffs Request for
Production of Documents, Set One (1), Case No. 5:18-cv-04826-BLF.

16. Defendant City of San Jose's Response to Plaintiffs Request for Specially Drafted
Interrogatories, Set One (1), Case No. 5:18-cv-04826-BLF.

17. City of San Jose's Supplemental Response to Plaintiffs Request for Specially
Drafted Interrogatories, Set One (1), Case No. 5:18-cv-04826-BLF.

18. Plaintiff Request for Specially Drafted Interrogatories, Set One (1), Case No. 5:18-
cv-04826-BLF.

19. San Jose Police Department, Covert Response Unit, Operational Plan, Case No. 17-
255-0757, (SJ 1944-1953).

20. San Jose Police Department, Covert Response Unit, Operational Plan No. 2, Case
No. 17-255-0757, (SJ 1954-1959).

21. Dispatch Audio Recording, No. 1551628, (15:11:33).

22. 911 Dispatch Audio Recording, No. 1551623, (5:07).

23. 911 Dispatch Audio Recording, No. 1551624, (3:18).

24. 911 Dispatch Audio Recording, No. 1551625, (0:36).

25. CAD Event Chronology, P172580283, Code-5.

26. Dispatch Audio Recording, No. 1551627, (0:35).

27. Photographs, (SJ 0189-763).


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28. San Jose Police Department, Policies, Rules, Procedures.

29. Axon Body 2, X81032660, (17:00), (SJ 1640).

30. Axon Body 2, X81050171, (14:23), (SJ 1641).

31. Axon Body 2, X81077398, (12:29), (SJ 1642).

32. Axon Body 2, X81033659, (13:33), (SJ 1643).

33. Axon Body 2, X81078201, (13:33), (SJ 1644).

34. Axon Body 2, X81078225, (11:49), (SJ 1645).

35. Axon Body 2, X81079156, (5:58), (SJ 1646).

36. Axon Body 2, X81076983, (42:42), (SJ 1647).

37. Deposition Transcript of Officer Alvaro Lopez taken on 3/1/2021.

38. Deposition Transcript of Officer Kristoffer Ferguson taken on 3/4/2021.

39. Axon Body 2, X81077576, (12:42), (SJ 1610).

40. Axon Body 2, X81031694, (13:34), (SJ 1611).

41. Axon Body 2, X81093633, (2:23), (SJ 1612).

42. Axon Body 2, X81051024, (5:42), (SJ 1613).

43. Axon Body 2, X81049085, (6:15), (SJ 1614).

44. Axon Body 2, X81077576, (3:37), (SJ 1615).

45. Axon Body 2, X81050544, (8:24), (SJ 1616).

46. Axon Body 2, X81093633, (8:13), (SJ 1617).


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47. Axon Body 2, X81049210, (6:49), (SJ 1618).

48. Axon Body 2, X81031794, (0:47), (SJ 1619).

49. Axon Body 2, X81167004, (0:49), (SJ 1620).

50. Axon Body 2, X81076539, (0:51), (SJ 1621).

51. Axon Body 2, X81051024, (0:27), (SJ 1622).

52. Axon Body 2, X81049085, (0:33), (SJ 1623).

53. Axon Body 2, X81051024, (8:27), (SJ 1624).

54. Axon Body 2, X81049085, (9:31), (SJ 1625).

55. Axon Body 2, X81050355, (54:37), (SJ 1626).

56. Axon Body 2, X81063743, (5:20), (SJ 1627).

57. Axon Body 2, X81055934, (13:06), (Si 1628).

58. Axon Body 2, X81049085, (1:13), (SJ 1629).

59. Axon Body 2, X81049085, (1:29), (SJ 1630).

60. Axon Body 2, X81051392, (3:13), (Si 1631).

61. Axon Body 2, X81053106, (0:27), (Si 1632).

62. Axon Body 2, X81093635, (3:58), (SJ 1633).

63. Axon Body 2, X81076539, (0:09), (SJ 1634).

64. Axon Body 2, X81050544, (3:31), (SJ 1635).

65. Axon Body 2, X81050544, (1:30), (SJ 1636).


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66. Axon Body 2, X81055934, (0:16), (SJ 1637).

67. Axon Body 2, X81055934, (2:06), (SJ 1638).

68. Axon Body 2, X81055934, (0:22), (Si 1639).

69. NVR, Sherlock, CH03, 3158 Penitencia, (4:59), (SJ 1664).

70. NVR, Sherlock, C1-103, 3158 Penitencia, (5:00), (SJ 1664).

71. NVR, Sherlock, CH03, 3158 Penitencia, (5:00), (SJ 1664).

72. NVR, 3164 Penitencia Creek Road, (0:21), (Si 1665).

73. NVR, 3164 Penitencia Creek Road, (2:26), (Si 1665).

74. NVR, 3164 Penitencia Creek Road, (3:09), (SJ 1665).

75. NVR, 3164 Penitencia Creek Road, (0:39), (Si 1665).

76. NVR, 3164 Penitencia Creek Road, (0:23), (SJ 1665).

77. NVR, 3164 Penitencia Creek Road, (1:13), (Si 1665).

78. NVR, 3164 Penitencia Creek Road, (0:48), (SJ 1665).

79. NVR, 3164 Penitencia Creek Road, (0:02), (Si 1665).

80. NVR, 3164 Penitencia Creek Road, (0:15), (SJ 1665).

81. NVR, 3164 Penitencia Creek Road, (1:39), (SJ 1665).

82. NVR, 3164 Penitencia Creek Road, (0:52), (Si 1665).

83. NVR, 3164 Penitencia Creek Road, (1:45), (SJ 1665).

84. NVR, 3164 Penitencia Creek Road, (1:18), (SJ 1665).


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85. NVR, 3164 Penitencia Creek Road, (0:59), (SJ 1665).

86. NVR, 3164 Penitencia Creek Road, (1:26), (Si 1665).

87. NVR, 3164 Penitencia Creek Road, (0:17), (SJ 1665).

88. NVR, 3164 Penitencia Creek Road, (0:48), (Si 1665).

89. DA/Homicide Video-Audio Interview of Officer Michael Pina, 9-16-17, (1:07:19).

90. DA/Homicide Video-Audio Interview of Officer Alvaro Lopez, 9-16-17, (1:11:58).

91. DAJHomicide Video-Audio Interview of Officer Kristoffer Ferguson, 9-16-17,
(45:07).

92. Telephonic Audio-Recorded Interview of Rhiannon Bonmda, (23:59), (SJ 1666).

93. Telephonic Audio-Recorded Interview of Leslie Bradley, (15:14), (SJ 1667).

94. Telephonic Audio-Recorded Interview of Carlos Lovato, (27:26), (Si 1668).

95. Supplemental Case File, Documents & Medical Reports, (Si 1672-1794).

96. San Jose Police Department, Covert Response Unit, Operational Plan, Case No. 17-
255-0757, (SJ 1960-1966).

97. Defendant City of San Jose's Response to Plaintiff's Request for Production of
Documents, Set Two (2), Case No. 5:18-cv-04826-BLF.

98. Supplemental Photographs of Blood Stains, Interior/Exterior of Car, and Scene.

99. Miscellaneous Email Correspondence.

100. Communication Log.

101. Answer to Amended Complaint, Demand for Jury Trial, Case No. 5:18-cv-04826-
BLF.


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102. Defendant City of San Jose's Answer to Second Amended Complaint; Demand for
Jury Trial, Case No. 5:18-cv-04826-BLF.

103. Defendant Michael Pina's Answer to Second Amended Complaint, Demand for
Jury Trial, Case No. 5:18-cv-04826-BLF.

104. Deposition Transcript of Sergeant Michael Pina taken on March 3, 2021.

California POST Basic Learning Domains as Follows:
   1. #1: "Leadership, Professionalism and Ethics."
   2. #2: "Criminal Justice System."
   3. #3: "Policing in the Community."
   4. #19: "Vehicle Operations."
   5. #20: "Use of Force."
   6. #21: "Patrol Techniques."
   7. #22: "Vehicle Pullovers."
   8. #23: "Crimes in Progress."
   9. #33: "Arrest and Control."
   10. #35: "Firearms/Chemical Agents."

Summary

The following statement summaries represent documents/statements that were used in
part during my review but are in no way meant to be exhaustive. The documents listed in
the Materials Reviewed Section of this report represent the full library of documents
reviewed thus far and used as a basis for my opinions.

The below information is derived from "Report on the Fatal Shooting of Jacob
Dominguez on 9/15/17, The County of Santa Clara, Jeffrey F. Rosen, District
Attorney:"

 "When Dominguez reached North White Road, he came to a complete stop at the red
light on eastbound Penitencia Creek as CRU approached from behind. The front driver's
door window was rolled partially down. Officer Pina announced that three cars were
going to initiate the VCT maneuver to apprehend Dominguez. Officer Pina's SUV passed
Dominguez on the left side, then cut in front of the stopped car, making Officer Pina's car
perpendicular to Dominguez and his Kia. Officer Ferguson stopped his sedan to the left


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of the Kia, and Officer Lopez pulled his SUV in behind it. The Kia started to back up,
and Officer Lopez pulled forward, contacting Dominguez 's car."

"After stopping, Officer Pina immediately exited his vehicle and took cover behind the
hood of Officer Ferguson 's vehicle, (See Opinions 1-3). Officer Ferguson exited his
vehicle and took cover behind the driver's seat, aiming his rifle at Dominguez over the
roof of his car. Officer Lopez exited his vehicle and took cover behind the driver's door
of his car."

 "When the VCT occurred, it was cleared this was a law enforcement operation. All three
officers were pointing AR-15 rifles at Dominguez and wearing tactical vests with SJPD
patches. The red/blue emergency lights on Officer Lopez 's car, immediately behind the
Kia, were flashing throughout the encounter and were visible in Officer Ferguson 's body
camera, as well as to civilian witness Carlos Lovato, who was stopped six cars back from
the intersection. Sirens can be heard clearly on the bodycam video when the officers
exited their vehicles, as well as five seconds before shots were fired."

 "As Dominguez remained seated in the Kia, and Officers Ferguson and Pina pointed
their rifles at the Kia, Officer Ferguson commanded, "Let me see your hands,
motherfticker." During the next 15 seconds, the officers gave Dominguez repeated
warnings that if he didn't put his hands up, "Your gonna get shot." Then, Dominguez
suddenly lowered his hands and leaned fonvard. Two of the officers began frantically
yelling, "Hands up!" with distinctly more urgency for an additional three seconds, after
which time Officer Pina fired two shots at Dominguez, striking him once and killing him.
In total, police ordered Dominguez to keep his hands up for a total of 18 seconds before
the two shots were fired." (See Opinions 4-7).

 "Immediately after shots were fired, Officers Ferguson and Pina continued to aim their
rifle at Dominguez in the Kia, and CRU Sergeant Mauricio Jimenez arrived on the scene
in his vehicle. Officer Lopez deployed a ftashbang 12 seconds after the shooting, (if
activated, releasing smoke one second after that, or 13 seconds after the shooting).
Sergeant Jimenez then observed Officers Pina and Ferguson away from the shooting
scene once he was able to establish cover for them, aiming his rifle at Dominguez from
between Officer Ferguson and Officer Lopez 's cars. Officer Pina, Officer Ferguson and
Officer Lopez were separated immediately thereafter pending interviews at the San Jose
Police Department."



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 "Because Dominguez was still in the vehicle and not responsive to police instructions
after the shooting, a police canine unit was commanded to enter the vehicle to determine
if he was alive or dead. Once it was determined that Dominguez was deceased, the scene
was left untouched until the Medical Examiner and Crime Scene Unit arrived and
processed the scene and critical evidence. During processing of the scene, no firearm
was located in the vehicle or on Dominguez 'S person. On the passenger seat of the Kia
was a folding-style knife."

Opinions:

Note: None of my opinions are intended to usurp the province of the jury and are not
stated as ultimate issues. Rather, my opinions involve the consistency of the officers'
actions with standard police practices.
                                    Opinion Number 1

It is my opinion a reasonable law enforcement officer acting consistent with standard
police practices would have immediately moved to a position of cover after he exited his
vehicle following the initiation of the Vehicle Control Tactic, (VCT).

It is my opinion, San Jose Police Department Police Officer Michael Pina, made a poor
tactical decision when he moved to the front driver's side quarter panel that did not
provide him any form of cover from the waist up after he exited his vehicle following the
initiation of the Vehicle Control Tactic.

In addition, it is my opinion based on my review of the facts and Body Worn Camera
(BWC) videos, Police Officer Michael Pina should have moved to a position of cover to
the rear of Officer Alvaro Lopez's vehicle to create distance from Mr. Jacob Dominguez
whose vehicle was properly contained due to the successful Vehicle Control Tactic that
was executed by Police Officer Michael Pina, Police Officer Kristoffer Ferguson and
Police Officer Alvaro Lopez. In addition, based on my review of the facts in this matter,
there were approximately 7-9 additional San Jose Police Department Covert Response
Units that were responding and San Jose Police Department Uniformed Police Officers
that could have responded to assist in establishing a perimeter in the event that Mr. Jacob
Dominguez fled on foot from the vehicle. In addition, San Jose Police Department Air
Support (Fixed Wing Airplane) was providing overwatch of the incident and they could
have requested a Police Helicopter in the event Mr. Jacob Dominguez fled from the
vehicle and the Officers on the ground would need assistance with the establishment of a
perimeter.


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In addition, by safely moving back to a position of cover it would have allowed Police
Officer Michael Pina, Police Officer Kristoffer Ferguson and Police Officer Alvaro
Lopez to establish a Contact and Cover Officers. The Contact Officer could have been
the only Officer to issue commands to Mr. Jacob Dominguez while the Cover Officers
provided Lethal and Less Lethal Cover. By having a designated Cover Officer negates
any issue of multiple Police Officers issuing possible conflicting verbal commands
simultaneously.

I base my opinion on California Police Officer Standards and Training (POST), Learning
Domain No. 23-Crimes in Progress. Chapter 3: Responding to Specific Crimes in
Progress, 3-5:

Establish a Contact Officer and Cover Officers:

Contact Officer:
The roles and responsibilities of each officer involved in a high-risk vehicle pullover
must be clear. The Contact Officer:
   • Conducts the business of the pullover,
   • Directs the driver and occupants(s) of the target vehicle,
   • Takes necessary actions related to the investigation (e.g., obtaining identification,
      searching suspects, etc.).

Cover Officers:
It is general responsibility of any cover officers called to assist the primary officer at the
scene of a high-risk vehicle pullover to:
     • Protect the primary officer who is conducting the business of the pullover,
     • Take and maintain proper positions of cover and concealment,
     • Maintain their firearms at the ready, and
     • Maintain visual contact with the vehicle occupant(s) at all times,
     • Avoid a crossfire situation.

Communications Between Officers:
In order to ensure officer safety and help ensure an appropriate outcome, the primary
officers and cover officers must effectively communicate with one another. Appropriate
communication involves:
    • Advising the primary officer of any critical occurrences or safety issues,
    • Avoid inappropriate interruptions and,
    • Avoid giving directions which conflict with those given by the primary officer.
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In addition, I base my opinion on California Police Officer Standards and Training
(POST), Learning Domain No. 23-Crimes in Progress. Chapter 2: Basic Tactical
Considerations, Tactical Approach: Peace officers should always be aware of
surrounding objects or areas that may be utilized for cover or concealment.

Cover:
  • Anything that may stop or deflect an opponent's bullets.
  • Should be used when involved in an armed encounter if possible.
  • The type of cover will depend on the type of firearm received, (firearm, shotgun,
       rifle).


In addition, by moving to a position of cover, it would have allowed Police Officer
Michael Pina, Police Officer Kristoffer Ferguson and Police Officer Alvaro Lopez to
slow down and de-escalate the situation by utilizing effective verbal strategies and de-
escalation techniques.

Defusing is a process of reducing the potential for violence and bringing emotional level
to a manageable level to restore order. The primary objective is to calm the person so that
a conversation can take place and the use of force can be avoided.

In addition, I base my opinion on my twenty eight years of law enforcement experience
where I have been involved in vehicle pursuits and vehicle pullovers as Primary Officer,
Secondary Officer, and a Supervisor. In addition, I have received and provided training
on Pursuit Policy, Pursuit Tactics, Post-Pursuit Tactics and Containment. In addition, I
have conducted over (50) Vehicle Pursuit Investigations during my last 14 years as a
Supervisor with the Los Angeles Police Department. In addition, as a Los Angeles Police
Department Sergeant IFF 1 at Metropolitan Division K9 Platoon, I responded to hundreds
of Vehicle Pursuits throughout all geographical patrol divisions to assist with
containment, perimeter tactics and ultimately K9 searches.


In addition, I base my opinion on my twenty-eight years of law enforcement experience
where I responded to thousands of calls for service and have effectively utilized defusing
techniques, de-escalation techniques, verbal strategies, and active listening skills to
reduce the potential for violence and bring the emotional level of the incident to a
manageable level.




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In addition, I base my opinion on San Jose Police Department, Policies, Rules,
Procedures., L 2602.5 Tactical Conduct, 8/15/16, (SJ 1046-1047): Department members
are expected to use tactics that are consistent with San Jose Police Department and
California P.O.S.T. Commission training standards. Department members shall consider
the following relevant tactical considerations in any situation where an officer reasonably
believes the use of physical force may become necessary:

COVER, CONCEALMENT, DISTANCE, AND TIME: Department members shall
consider tactically advantageous objects and/or positions at their disposal prior to and
during a force encounter. The proper use of cover, concealment, distance, and the simple
passage of time through negotiation and de-escalation are all tactics that may help a
Department member avoid and/or minimize the use of physical force. Officers shall
consider tactically repositioning themselves if doing so can be accomplished safely and
may assist in de-escalating the situation.

In addition, I base my opinion on the following facts and testimony in this matter:

   •   According to Police Officer Alvaro Lopez, they felt that the vehicle was blocked
       in, (Deposition Transcript of Alvaro Lopez, Page 35).
   •   At 1:00, Axon Body 2, (SJ 1641), Police Officer Michael Pina can be observed
       standing at the front quarter panel of Officer Kristoffer Ferguson's vehicle in an
       "open air environment" that does not provide him any cover from the waist up.
   •   According to Sergeant Michael Pina, he positioned himself by the front tire and
       wheel, (Deposition Transcript of Michael Pina, Page 75).


Lastly, I base my opinion on my twenty eight year law enforcement career where, as a
Supervisor, I have investigated over 100 Use of Force Incidents as well as being
personally involved in the use of lethal and less than lethal force incidents.

                                   Opinion Number 2

It is my opinion that Defendants including San Jose Police Department Police Officer
Michael Pina failed to formulate a tactical plan from a position of cover immediately
following the successful Vehicle Control Tactic that was executed by Police Officer
Michael Pina, Police Officer Kristoffer Ferguson and Police Officer Alvaro Lopez.
Law Enforcement Officers are trained to work together and function as a team. In order
to ensure officer safety and to ensure an appropriate outcome, the primary officers and
cover officers must effectively communicate with one another. Appropriate


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communication involves advising the primary officer of any critical occurrences or safety
issues as well as the following:

Plan of Action:
   • Officers should discuss safety factors as well as possible plans for taking actions.
   • Plans may include coordination of who will transmit radio traffic.
   • Appropriate use of escalation of force.

Poor or No Plannin2:
  • Rushing into the situation without any plan of action.
  • Failure to establish plan of action prior to engaging the suspect.
  • Not considering alternative actions.

Inappropriate Attitude:
   • Careless or complacent.
   • Overconfident.
   • Too aggressive.

Officers must approach every contact with officer safety in mind. Complacency,
overconfidence, poor planning, or inappropriate positioning can leave officers vulnerable
to attack.

The tactical plan should have outlined verbal skills (defusing and de-escalation
techniques) and Less Lethal Force options such as: empty hands, physical strength and
compliance techniques, soft or hard hand techniques, the X-26 Electronic Control Device
(ECD) Taser with an effective range of 7-15 feet and maximum range of 21-25 feet,
Ballistic Shield, K9, Pepper Ball Launcher with a maximum effective range of 60 feet,
Sage 37/40mm with a maximum effective range of approximately 100 feet, ASP/ baton,
Oleoresin Capsicum "OC" spray with an effective range of 2-15 feet, Noise Flash Device
(NFD), baton or the deployment of the 870 Remington 12-Gauge Shotgun with a Drag
Stabilized 12-Gauge Bean Bag Round. The Drag Stabilized 12-Gauge Round is a
translucent 12 Gauge shell loaded with a 40-Gram tear shaped bag made from a cotton
and ballistic material blend and filled with #9 shot. The design utilizes four stabilizing
tails and smokeless powder as the propellant. The round has a velocity of 270 feet per
second (FPS) with a maximum effective range of 75 feet.

The Taser is an Electronic Controlled Device (ECD) as defined by the manufacturer,
Axon. It is a handheld, battery operated tool which uses controlled electrical current
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designed to disrupt a person's sensory and motor nervous system by means of deploying
electrical energy sufficient to cause temporary uncontrolled muscle contractions, or
Neuro Muscular Incapacitation, ("NMI"). As a result, the electrical energy can override
the person's voluntary motor responses for a brief duration. The use of Taser ECD
deployment resulting in NMI may provide a brief opportunity during which physical
restraint procedures can be initiated whenever practical.

In addition, in the event that Mr. Jacob Dominguez fled on foot from the vehicle, the
involved San Jose Police Department Police Officer Michael Pina, Police Officer
Kristoffer Ferguson and Police Officer Alvaro Lopez, could establish a perimeter with
the assistance of the approximately 7-9 additional San Jose Police Department Covert
Response Units to include a K9 Officer that were responding and San Jose Police
Department Uniformed Police Officers that could have responded to assist. In addition,
San Jose Police Department Air Support, (Fixed Wing Airplane) was providing
overwatch of the incident and they could have requested a Police Helicopter in the event
Mr. Jacob Dominguez fled from the vehicle and the Officers on the ground would need
assistance with the establishment of a perimeter.

One helicopter in the air can cover as much territory (more quickly) as 12 officers in
patrol cars on the ground. The primary function continues to be that of support for
ground units.

In addition, I base my opinion on California POST Learning Domain No. 22-Chapter 3:
High-Risk Vehicle Pullovers, 3-3:

Officer Reactions:

Because of the elevated level of potential danger along with the unpredictable responses
of vehicles occupants associated with high-risk vehicle pullovers, patrol officers can
encounter a multitude of different personal emotions or reactions.

In order to prepare for such responses and prevent them from compromising officer
safety, officers can:

   •   Discuss hypothetical situations with their partners, ahead of time.
   •   Have a plan of action prior to initiating the vehicle pullover.
   •   Obtain appropriate ongoing training in advance to maintain skill levels.
   •   Work as a team.
   •   Maintain communication with dispatch and other involved officers.


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   •   Rely on known tactics and procedures while also remaining flexible enough to
       adapt or improvise if necessary.
   •   Exercise emotional restraint and self-control.

In addition, I base my opinion on California Police Officer Standards and Training
(POST), Learning Domain No. 23, Chapter 2: Basic Tactical Considerations Approach,
Establishing a Perimeter, (2-9): It is the responsibility of the primary officer to initiate the
coordination of security and containment of the crime scene. This can be done by
establishing a perimeter completely surrounding the area involved.

The establishment of a secure perimeter may be essential to safely resolve the crime in
progress or to contain a suspect. Establishing a perimeter:

   •   Contains and isolates the crime scene.
   •   Prevents the suspect from escaping the area.
   •   Prevents unauthorized entry onto the area.
   •   Can aid in apprehending the suspect.

There are two types of perimeters at a crime scene: inner perimeter and outer
perimeter:

Inner Perimeter:

   •   Immediate area around the incident (e.g., private residence, commercial
       establishment, vehicle, etc.).

Outer Perimeter:

   •   Area surrounding the inner perimeter.
   •   Established to further contain and isolate the crime scene.

The outer perimeter may aid in apprehension if the suspect manages to breach the inner
perimeter, providing protection and cover for inner perimeter officers, providing traffic
control, assisting in public safety.

In addition, I base my opinion on California Police Officer Standards and Training
(POST), Learning Domain No. 21-Chapter 2: Patrol Methodologies and Tactics, 2-45:

Plan of Action:
   • Officers should discuss safety factors as well as possible plans for taking actions
      in situations involving fleeing subjects.
   • Plans may include coordination of who will transmit radio traffic.
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   •   Appropriate use of escalation of force.

Working with Partner:
  • If partner officers stay together during a foot pursuit, there is a greater likelihood
     that a safe and successful outcome will occur.
  • If officers become separated, officers should reevaluate the level of risk before
     continuing the pursuit.

In addition, I base my opinion on California Police Officer Standards and Training
(POST), Learning Domain No. 21-Chapter 1: Basic Concepts of Law Enforcement
Patrol, 1- 21:

Inappropriate Attitude:
   • Careless or complacent.
   • Overconfident.
   • Too aggressive.
Poor or No Planning:
   • Rushing into the situation without any plan of action.
   • Failure to establish plan of action prior to engaging the suspect.
   • Not considering alternative actions.

As set forth in POST Learning Domain 22, "Officers are trained to work together and
function as a team. In order to ensure officer safety and to ensure an appropriate
outcome, the primary officers and cover officers must effectively communicate with one
another. Appropriate communication involves advising the primary officer of any critical
occurrences or safety issues."


In addition, I base my opinion on California Commission on Peace Officers Standards
and Training, Student Materials, Learning Domain, No. 21-Chapter 1: Basic Concepts of
Law Enforcement Patro1,1-22: The element of officer safety refers to the practical
application of tactically sound procedures to perform law enforcement activities in a safe
and effective manner to include the utilization of available resources. Some of the
available resources in this situation can include calling for backup officers, waiting for
and deploying backup officers; remaining in a position of advantage, cover, and
concealment; calling for K-9 and Police Helicopter, issuing commands and verbalization
from a position of cover; using less-than-lethal and other tactics that officers are trained
to use in these situations.

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In addition, I base my opinion on my twenty eight years of law enforcement experience
as a Los Angeles Police Department Sergeant II+1 at Metropolitan Division K9 Platoon,
I responded to hundreds of perimeters throughout all geographical patrol divisions to
assist with containment, perimeter tactics and ultimately K9 searches. In addition, most
of the K9 searches involved the assistance of an Air Unit(s).

In addition, I base my opinion on the following facts and testimony:

   •   At 1:00, Axon Body 2, (SJ 1641), Police Officer Michael Pina can be observed
       standing at the front quarter panel of Officer Kristoffer Ferguson's vehicle in an
       "open air environment" that does not provide him any cover from the waist up.
   •   According to Police Officer Alvaro Lopez, he believes that there were (10)
       surveillance Officers there, (Deposition Transcript of Alvaro Lopez, Page 98).
   •   According to Police Officer Kristoffer Ferguson, if an occupant of a vehicle does
       not agree to exit a vehicle, they will bring K9 up, (Deposition Transcript of
       Kristoffer Ferguson, Page 48).
   •   According to Police Officer Kristoffer Ferguson, in the past they have used rubber
       bullets, (Deposition Transcript of Kristoffer Ferguson, Pages 50-51).
   •   According to Police Officer Kristoffer Ferguson, rubber bullets can compel
       compliance from non-compliant subjects, (Deposition Transcript of Kristoffer
       Ferguson, Page 52).
   •   According to Police Officer Kristoffer Ferguson, he was going to deploy the Flash
       Bang based on the way that Mr. Jacob Dominguez was behaving in the vehicle,
       (Deposition Transcript of Kristoffer Ferguson, Page 80).
   •   According to Police Officer Kristoffer Ferguson, he was going to deploy the Flash
       Bang because people do not like it and it scares them and after that, they say,
       - okay it's pretty serious" and put their hands up, (Deposition Transcript of
       Kristoffer Ferguson, Page 81).
   •   According to Sergeant Michael Pina, he believes that there were at least (10)
       Officers on the surveillance of Mr. Jacob Dominguez, (Deposition Transcript of
       Michael Pina, Page 33).
   •   According to Sergeant Michael Pina, if someone will not come out, you can
       attempt to de-escalate the situation. Start slowly introducing force options,
       whether it is breaking out a window to introduce gas to get them to come out of
       the vehicle. You could use an NFD. K9 is the last option, (Deposition Transcript
       of Michael Pina, Pages 46-48).
   •   According to Sergeant Michael Pina, he believes that a barking dog could be used
       to get a person out of a car, (Deposition Transcript of Michael Pina, Page 49).
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   •   According to Sergeant Michael Pina, during the surveillance of Mr. Jacob
       Dominguez they called in Air Support, (Deposition Transcript of Michael Pina,
       Page 58).
   •   According to Sergeant Michael Pina, he recalls someone in his Unit call for a
       Flash Bang, (Deposition Transcript of Michael Pina, Page 93).

Lastly, In addition, I base my opinion on my twenty eight year law enforcement career
whereas a Supervisor, I have investigated over 100 Use of Force Incidents as well as
being personally involved in the use of lethal and less than lethal force incidents.

                                   Opinion Number 3

It is my opinion that if Police Officer Michael Pina, Police Officer Kristoffer Ferguson
and Police Officer Alvaro Lopez used reasonable and proper police tactics as outlined in
Opinions 1-2 of this report and if Mr. Jacob Dominguez failed to respond to proper de-
escalation and defusing techniques and remained in his vehicle and refused to submit to
arrest, he should have been treated as a possibly armed barricaded subject and a request
should have been made to the San Jose Police Department Special Weapons and Tactics
Team (SWAT)/Crisis Negotiation Team to respond. SWAT are a highly trained and
competent tactical team that specifically trains for armed subjects who barricade
themselves and possibly pose extreme danger to the community. The actions of first
responders can mean the difference of whether a barricaded subject is taken into custody,
without escalation of an already difficult situation. Handling barricaded subjects requires
special tools and expertise, which comes from specialized training. The Special Weapons
and Tactics (SWAT) team is equipped and trained to resolve these barricaded subject
situations. A barricaded subject is defined within the following limited criteria:
A. The subject is possibly armed; and

B. The subject is believed to have been involved in a criminal act; or is a potential threat
to the lives of citizens and/or police; and

C. The subject is in a position of advantage, affording him cover and/or concealment.
The subject is contained in an open area and the presence or approach of police officers
could precipitate an adverse reaction; and

D. The subject refuses to submit to arrest.

Initial response by officers on scene is extremely important. That response can be broken
down into four areas referred to as the "Tactical Four C's."

A. Containment

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B. Control

C. Communicate

D. Call SWAT.

The Crisis Negotiation Team Structure will typically consist of the following:

A. Primary Negotiator

B. Secondary Negotiator

C. Coach or Supervisor

D. Intelligence Coordinator

E. Mental Health Professional

The Primary Negotiator shall typically report to the Incident Commander and receive an
appropriate briefing as to what transpired prior to his or her arrival. The Primary
Negotiator shall be responsible for the initial contact and ensuing negotiations unless the
role is changed during the negotiation process. The Primary Negotiator should attempt to
do the following once he or she has established dialogue:

A. Attempt to put the subject at ease.

B. Keep communications open.

C. Elicit useful information.

D. Achieve a safe surrender of the subject with dignity.

The Primary Negotiator should be aware of the following important principles:

A. Listen actively to effectively understand what is being said and the various underlying
meanings and messages.

B. Give the subject feedback so as to assure them that you understand their messages.

C. Be empathetic.

D. Understand what is being said and what message is really being given.

E. Find hopes, hooks-expand options.

F. Speak slowly and clearly.

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G. Ask about suicide.

H. Consider basic human needs.

I. Beware of suicide by cop.


The Secondary Negotiator is responsible for monitoring the negotiations so as to give
feedback to the Primary Negotiator regarding the following:

A. Tempo.

B. Inflection.

C. Trigger words.

D. Interpretation of messages given by the subject.

E. Any additional useful information.

The Coach or CNT Supervisor will monitor the ongoing negotiations and will offer any
advice or information that he or she deems important and useful. The Coach or CNT
Supervisor is separate from the tactical supervisor or Incident Commander.

The Coach or CNT Supervisor will perform the following functions:

A. Meeting with Negotiators.

B. Give advice to the Primary Negotiator.

C. Keep track of chronological events to include maintaining a white board, track
"trigger" words, and maintain timeline such as identifiers, information, etc.

The Intelligence Coordinator, who is a trained negotiator, is responsible for assigning
persons to gather information about the subject to include: description, criminal
background, mental health history, medical history, family, financial issues, and other
relationships.


In addition, I base my opinion on the following facts and testimony:


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   •   According to Sergeant Michael Pina, he agrees that if there is a vehicle barricade
       and the subject will not come out, there is an option to call SWAT and Crisis
       Negotiators, (Deposition Transcript of Michael Pina, Page 46).
   •   According to Sergeant Michael Pina, if it is a vehicle barricade, where the person
       will not come out. It is going to be a long-drawn-out event. It is going to be hours
       until there is a plan to take him into custody. Lots of announcements, a lot of talk
       with the Tactical Negotiators, (Deposition Transcript of Michael Pina, Pages 49-
       50).

Lastly, I base my opinion on my twenty eight year law enforcement career and
specifically during my assignment as a Sergeant 11+1at Los Angeles Police Department
Special Weapons and Tactics (SWAT) where I supervised hundreds of SWAT incidents
that involved the use of the SWAT's Crisis Negotiation Team.

                                   Opinion Number 4


It is my opinion that a reasonable law enforcement officer acting consistent with standard
police practices and outlined in the California Commission on Peace Officers Standards and
Training, Student Materials, Learning Domain, No. 20, Use of Force, Version 3.3, Pages 3-
4, would have given a verbal warning to Mr. Jacob Dominguez if he were going to fire their
service weapon. The Supreme Court applied the reasonableness test set forth in the Fourth
Amendment (Tennessee v. Garner), "some warning be given prior to the use of deadly force
where feasible..."

It is my opinion Santa Jose Police Department Police Officer Michael Pina should have
given Mr. Jacob Dominguez a warning that he was going to use deadly force and give Mr.
Jacob Dominguez a reasonable opportunity to comply.

Lastly, I base my opinion on my twenty eight year law enforcement career whereas a
Supervisor, I have investigated over 100 Use of Force Incidents as well as being
personally involved in the use of lethal and less than lethal force incidents.

                                   Opinion Number 5

It is my opinion that a reasonable officer acting consistent with standard police practices
would not have used lethal force in this situation. The basis in determining whether force
is "unreasonable" shall be consistent with the Supreme Court decision of Graham v.
Connor, 490 U.S. 386 (1989). Officers are trained at the POST Basic academy that the
use of force must meet an "Objectively Reasonable" standard. The following quote from
POST typifies the training (emphasis added): "A reasonable officer is defined as an
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officer with similar training, experience, and background in a similar set of
circumstances, who will react in a similar manner," (Learning Domain #20; "Introduction
to the Use of Force," Pages 1-4). When an officer uses deadly force in self-defense,
standard police practices and most agencies polices dictate that the officer must be facing
what is reasonably believed to be an imminent or immediate threat of death or serious
bodily injury. It is my expert opinion that a similarly trained San Jose Police
Department Police Officer would not have considered Mr. Jacob Dominguez to be a
lethal threat in this set of facts.

Lastly, I base my opinion on my twenty eight year law enforcement career whereas a
Supervisor, I have investigated over 100 Use of Force Incidents as well as being
personally involved in the use of lethal and less than lethal force incidents.

                                   Opinion Number 6

It is my opinion San Jose Police Department Police Officer Michael Pina's use of lethal
force was inappropriate and unreasonable on September 15, 2017, when he fired two
rounds from his AR-15, .223, semi-automatic rifle ultimately killing Mr. Jacob
Dominguez.

In addition, I base my opinion on the following facts and testimony:

   •   According to Police Officer Alvaro Lopez, he did not have any information that
       led him to believe that Mr. Jacob Dominguez had possessed the gun at the time of
       the robbery of the Arco Gas Station, (Deposition Transcript of Alvaro Lopez, Page
       35).
   •   According to Police Officer Alvaro Lopez, he did not see Mr. Jacob Dominguez
       with anything in his hands, (Deposition Transcript of Alvaro Lopez, Page 35).
   •   According to Police Officer Alvaro Lopez, he did not see Mr. Jacob Dominguez
       display any type of weapon before the shot was fired, (Deposition Transcript of
       Alvaro Lopez, Page 35).
   •   According to Police Officer Kristoffer Ferguson, he could see from Mr.
       Dominguez's mid-arm/shoulder up, (Deposition Transcript of Kristoffer Ferguson,
       Page 68).
   •   According to Police Officer Kristoffer Ferguson, he could not see anything in Mr.
       Jacob Dominguez's hands and if there was something in his hands, he would be
       able to see it, (Deposition Transcript of Kristoffer Ferguson, Pages 71-72).
   •   According to Police Officer Kristoffer Ferguson, he did not hear Mr. Jacob
       Dominguez say anything, (Deposition Transcript of Kristoffer Ferguson, Page 74).


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   •   According to Police Officer Kristoffer Ferguson, he could not see any weapons in
       the vehicle, (Deposition Transcript of Kristoffer Ferguson, Page 74).
   •   According to Police Offieer Kristoffer Ferguson, he was 100% focused as to what
       was going on in the car, (Deposition Transcript of Kristoffer Ferguson, Page 77).
   •   According to Police Officer Kristoffer Ferguson, he never heard Mr. Jacob
       Dominguez say, "I got a gun and I'm going to shoot you," (Deposition Transcript
       of Kristoffer Ferguson, Page 83).
   •   According to Sergeant Michael Pina, when Mr. Jacob Dominguez had his hands
       up, he could see that there was nothing in his hands, no weapon, (Deposition
       Transcript of Michael Pina, Page 89).
   •   According to Sergeant Michael Pina, when he fired, he could not see what Mr.
       Jacob Dominguez' hands were doing, (Deposition Transcript of Michael Pina,
       Page 97).
   •   According to Sergeant Michael Pina, he could not see Mr. Jacob Dominguez'
       hands at all, (Deposition Transcript of Michael Pina, Page 98).
   •   According to Sergeant Michael Pina, Mr. Jacob Dominguez did not verbally
       threaten him, (Deposition Transcript of Michael Pina, Page 102).
   •   According to Sergeant Michael Pina, he encountered people who did not initially
       have their hands up or put them down and then back up, (Deposition Transcript of
       Michael Pina, Pages 106-107).


Lastly, I base my opinion on my twenty eight year law enforcement career whereas a
Supervisor, I have investigated over 100 Use of Force Incidents as well as being
personally involved in the use of lethal and less than lethal force incidents.

                                    Opinion Number 7

It is my opinion San Jose Police Department Police Officer Michael Pina's use of lethal
force violated his training and caused the death of Mr. Jacob Dominguez, including but
not limited to the following reasons:

   •   Highest level of force a Police Officer can use.
   •   This was not an immediate Defense of Life situation.
   •   Must be a last resort before using lethal force.
   •   Must be the direst of circumstances.
   •   Deadly force is likely to cause great bodily injury or death.
   •   Must show a reverence for human life.
   •   There were other reasonable measures available.
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   • All other reasonable measures were not exhausted.
   • Warnings when feasible that deadly force will be used.
   • Officers are responsible for every shot.
   • Subjective Fear is insufficient.
   • Over reaction is excessive force.

Lastly, I base my opinion on my twenty eight year law enforcement career whereas a
Supervisor, I have investigated over 100 Use of Force Incidents as well as being
personally involved in the use of lethal and less than lethal force incidents.

                                  Opinion Number 8

It is my opinion San Jose Police Department Police Officer Michael Pina's tactical
conduct and decisions preceding the use of deadly force in this matter was inappropriate
based on the totality of the circumstances. It is my opinion that there was a departure
from POST Standards by Police Officer Michael Pina in this incident. In addition, I base
my opinion on the California Supreme Court opinion in Hayes v. County of San Diego,
2013 Cal LEXIS 6652. In Hayes, the California Supreme Court found that, under
California negligence law, an officer's pre- shooting conduct leading up to a deadly use
of force may affect whether a use of force is ultimately reasonable and therefore may be
considered in the analysis of any use of deadly force. It is my opinion that there was a
gross lack of situational awareness and fundamental tactical errors by San Jose Police
Department Police Officer Michael Pina in this incident.

Lastly, I base my opinion on my twenty eight year law enforcement career whereas a
Supervisor, I have investigated over 100 Use of Force Incidents as well as being
personally involved in the use of lethal and less than lethal force incidents.

My Qualifications for Reviewing this Case:

My opinions are based on my education, training, and experience. Upon my graduation
in June 1988 from Northeastern University in Boston with a Bachelor's Degree in
Criminal Justice, I was hired as Criminal Investigator/Special Agent GS-1811. Upon
completion of Criminal Investigator/Basic Agent School at the Federal Law Enforcement
Training Center (FLETC)-6-month academy, I was employed by the United States
Customs Service and assigned to the Organized Crime Drug Task Force where I
functioned as an agent and undercover operative. The investigations focused on targeting
criminal organizations that were involved in large scale narcotic smuggling and money
laundering operations.

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I was assigned to the United States Customs Service Office of the Special Agent In-
Charge, in San Francisco from August 1988 until I joined the Los Angeles Police
Department in November of 1989. While in the Los Angeles Police Department
Academy, I was selected by the staff to be my Recruit Class Leader. Upon my
graduation from the LAPD Academy, I was assigned to 77th Division. In addition to
being assigned to 77th Division, I was assigned to Northeast Division (Patrol), Northeast
Division (Special Projects Unit-SPU), and Northeast Division C.R.A.S.H (Gang Detail).
I was selected to Operations Central Bureau C.R.A.S.H., where I worked a plain clothes
detail targeting specific gangs throughout Operations Central Bureau which included
Rampart Division, Hollenbeck Division, Central Division, and Northeast Division.

I applied and was selected to be a Police Officer III at Wilshire Area Vice where I
functioned as an undercover operative targeting prostitution, gambling, bookmaking, and
other Vice related offenses. While working Wilshire Vice, I was ambushed and received
two gunshot wounds. I received the Purple Heart in 2010 for the injures associated with
being ambushed. Upon return from my injuries, I attended mandated Field Training
Officer (FTO) School and was assigned as a Field Training Officer at Wilshire Division.
I trained recruits upon their graduation from the Los Angeles Police Academy in tactics,
use of force, report writing, vehicle stops, calls for service, court testimony, emergency
procedures, pursuit policy, accident investigations, perimeters, Department policies and
procedures, and effective communication skills. While assigned as a Field Training
Officer, I was involved in an In-Policy Lethal Use of Force incident, while working with
a Probationary Police Officer who had recently graduated from the Los Angeles Police
Academy.

I was promoted to the rank of Detective and attended Basic Detective School. Upon
completion of Basic Detective School, I was assigned to Wilshire Area Narcotics, Field
Enforcement Section (FES), where I functioned as an investigator in an undercover
capacity. As a Detective I wrote and served search and arrest warrants to include large-
scale multiple search warrant services. I addition, I managed and utilized Confidential
Reliable Informants (CRI's) during hundreds of street-level narcotic transactions and
search warrant services.

I was promoted to the rank of Sergeant I and assigned to Hollenbeck Division. Prior to
my assignment, I attended mandated Basic Supervisor School. In conjunction with
Supervisor School, I was selected to attend the West Point Leadership Academy
Supervisor Training. The training focused on team building, leadership, and decision
making. While assigned to Hollenbeck Division, I conducted roll call training daily on

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numerous subject matters to include: Use of Force Options (Non-Lethal and Lethal),
Tactics, Calls for Service, Calls for Service involving the Mentally Ill, Vehicle Pursuit
Policy, LAPD Policies and Procedures, Use of Force Policy, Updated Legal Bulletins,
Training Directives, and other Standardized Roll Call Training. I directly supervised a
Watch of Officers and provided supervisory oversight during calls for service, tactical
situations, perimeter tactics, containment and control issues and use of force incidents. I
conducted audits, personnel investigations, Standard Based Assessments (Ratings), Use
of Force Investigations, administrative projects, and prepared commendations for
officer's field performance. While assigned to Hollenbeck Division, I was selected as the
Officer-In-Charge of Hollenbeck Division's Special Enforcement Group. I directly
supervised (14) Police Officers and Detectives assigned to the Unit. Our unit worked in
conjunction with Hollenbeck Detectives and specifically targeted career criminals in the
Division. In addition, I provided and supervised uniformed assistance with Operations
Central Bureau Narcotics during street level narcotic transactions as well as during
narcotic related search warrants. I provided ongoing mandated Department Training as
well tactical, firearms, less than lethal and search warrant tactics training to the Officers
and Detectives. As a Unit, we prepared and served numerous search warrants. I
provided search warrant tactical briefing and de-briefing of each warrant at the
conclusion of the of the service. I completed audits, administrative projects, Use of Force
Investigations, personnel complaints, and other administrative duties as deemed
necessary by the Area Commanding Officer.

During this time, I was selected to be loaned to Internal Affairs, Headquarters Section. I
investigated personnel complaints that were too large in scope for a geographical
Division. At the conclusion of my loan, I was selected to Management Services
Division, Special Projects, and Office of the Chief of Police. I completed numerous in-
depth staff projects for review by the Chief of Police. In addition, I was assigned with
conducting research and editing the 2000 LAPD Department Manual.

Also, during this time, I earned my Master's Degree in Public Administration from
California State University, Long Beach.

I applied and was selected as a Sergeant II at 77th Division Vice. I directly supervised
ten undercover officers and four uniformed officers. I provided all facets of training to
the officers assigned to Vice at that time to include: Use of Force Policy, Legal Updates,
Department Directives, Training Bulletins, Standardized Roll Call Training, Tactics
Training, Undercover Operations training, Surveillance training, and any other training


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deemed necessary by my Area Commanding Officer. I conducted audits, personnel
investigations, administrative projects, Use of Force Investigations, and special projects.

During this time, I was selected by the Chief of Police to be loaned to the Rampart
Corruption Task Force. I conducted Use of Force audits on Specialized Units in Central
and South Bureaus. I reported directly to the Office of the Chief of Police. I assisted with
the completion of final document presented to the Board of Inquiry overseeing the
Rampart Corruption Task Force.

In 2000, I applied and was selected to Metropolitan Division K9 Platoon as a Sergeant
II+1. I directly supervised (18) K9 Handlers. Metro K9 conducted K9 Operations for the
entire Department covering all Patrol Divisions and Specialized Units. I provided all
facets of training to the K9 Officers to include: K9 Operations, tactics, search warrant
services, Mobile Field Force Options, Less than Lethal Force Options, Lethal Force
Options, Department Directives, Training Bulletins, and other training dictated by the
Officer-in-Charge and Commanding Officer. In addition, I taught K9 Operations at in-
service training, Watch Commander School, Field Training Officer (FTO) School, and
Basic Detective School. While at K9, I investigated and completed K9 contacts (bite
investigations), personnel complaints, Use of Force Investigations. In addition, I directed
and was directly involved in Use of Force incidents. I received the LAPD Medal of
Valor and LAPD Police Star for two lethal use of force incidents while assigned to K9.

In 2005, I was selected as a Sergeant II+1 in Special Weapons and Tactics (SWAT). I
directly supervised sixty SWAT Officers with (6) other SWAT Sergeants and (2)
Lieutenants. I conducted and facilitated all facets of SWAT training to include: Weapons
Training (.45 caliber, MP-5, M-4, Benelli Shotgun, Remington 870 Bean Bag Shotgun,
.40mm, SAGE, MX-26 Taser) on a monthly basis. In addition, I facilitated and
conducted training in the following training Cadres: Breacher (Explosive), Crisis
Negotiation-Mental Health, MEU, SMART, Suicide Prevention, Counter-Terrorism
Cadre, Climbing, Hostage Rescue, Sniper Training, Air Support Training (Fast rope,
Aerial Platform Shooting). I directly supervised SWAT missions and High-Risk Search
Warrant Services to include all facets (preparation, briefing, deployment, de-briefing). I
was the Supervisor-in-Charge of the Crisis Negotiation Team. I provided on-going crisis
negotiation training, mental health training, de-briefs, 40-hour POST Certified Crisis
Negotiation Team (CNT) School, and suicide prevention training. I worked in
conjunctional with the mental health community to provide and facilitate training with
LAPD SMART, LAPD Mental Evaluation Unit (MEU), Behavioral Science Services
Section (BSS), and the Didi Hirsch Suicide Prevention Center. In addition, I assisted the

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West Point Military Academy with the development of their crisis negotiation
curriculum.

During this time, I was selected as the sole LAPD SWAT representative to respond to
Mumbai India with Counterterrorism following the terrorist attack in November 2008. I
taught use of force, tactics, and SWAT deployment to 250 Mumbai Special Tactical
Police Officers. Upon my return, I assisted with the development of multiple
venue/multiple attacker tactics.

In June 2010, I retired from the Los Angeles Police Department with 20 years in service
to pursue an opportunity in the private sector. I held supervisory positions for the last 14
years of my career. During my tenure with the LAPD, I received over 100
Commendations to include: The Medal of Valor, Purple Heart, and the Police Star.

From June 2010 through April 2013, I was the Vice President of Security Operations at
Caruso Affiliated in Los Angeles, CA. My responsibilities included: Identified and
conducted Risk and Vulnerability Assessments for all Caruso Affiliated Developments,
projected developments/investments, and residences. Utilized strategic-level analysis
from the intelligence community, law enforcement and the private sector. Ensured a
coordinated ability to identify and monitor potential or actual incidents among critical
infrastructure domains and all personal and professional interests of Caruso Affiliated.
Mitigated expected threats. Utilized preplanned, coordinated actions in response to
infrastructure warnings or incidents. Responded to hostilities. Identified and eliminated
the cause, or source, of an infrastructure event by the utilization of emergency response
measures to include on-site security personnel, local law enforcement, medical and fire
rescue, and relevant investigative agencies. Conducted all facets of security training for
the company and employees. Formulated Business Continuity and CEO Succession Plans
for the company and all affiliated business interests. Conducted ongoing audits and
internal investigations.


From June 2013 to June 2014, I was hired as a Deputy Sheriff at the Riverside Sheriff's
Department where I conducted all facets of patrol service to include calls for service, self-
initiated field activity, arrests, citations, and court testimony. In addition, during my tenure
with the Riverside County Sheriff's Department, I was assigned to Robert Presley Detention
Center (RPDC). Processed and monitored inmate population from initial intake, housing,
court, transportation, and release. Conducted searches of inmate population as well as the
facility on an ongoing basis. Utilized experience as a gang officer, Detective and Sergeant
with LAPD to conduct interviews and interrogations of prisoners regarding a myriad of
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investigations. Provided information to gang detail. Functioned as a mentor to newly
appointed Deputy Sheriffs as well as Supervisors. Attended and certified in RSO
Supplemental Jail Operations Core Course prior to deployment at RPDC. Attended on-
going training to include: Use of Force (Lethal and Non-Lethal), Crisis Negotiation
Training, Active Listening Skills Training, Report Writing, Response and Deployment to
Critical Incidents, and Proper Protocols and Procedures when responding to a medical
incident or suicide.


From June 2014 to March 2016, I was the Director of Security at Universal Protection
Service where I supervised 84 Security Professionals at the City National Plaza.
Conducted and or facilitated all Bureau of Security and Investigative Services (BSIS)
training to Security Professionals. Ensured all Security Professionals were compliant with
BSIS security training and licensing. Conducted the following training to Security
Professionals and Tenants on an ongoing basis: Fire Life Safety, Evacuation Drills, Active
Shooter, Workplace Violence, Security Procedures and Protocols, Responding to Incidents
Involving the Mentally Ill, Hazardous Materials and Internal Theft. Conducted ongoing
Risk and Vulnerability Assessments of the City National Plaza to include security staffing
and deployment, Closed Circuit Television (CCTV), Crime Prevention through
Environmental Design (CPTED), and protocols to respond and mitigate threats.
Developed Security and Fire Life Safety Manuals for Security Professionals and Tenants.
Coordinated all security efforts to ensure safety at Special Events. Conducted internal
investigations and worked in conjunction with the Los Angeles Police Department
(LAPD) and the Los Angeles Fire Department (LAFD) on an ongoing basis.


From March 2016 to September 5, 2017, I was the Director of Security at L&R Group of
Companies. Identified and conducted Risk and Vulnerability Assessments for all L&R
Group of Companies developments and projected developments throughout the United
States. Conducted and/or facilitated all Bureau of Security and Investigative Services
(BSIS) training to Security Professionals. Ensured all Security Professionals were
compliant with BSIS security training and licensing. Conducted the following training to
Security Professionals and Tenants on an ongoing basis: Fire Life Safety, Evacuation
Drills, Active Shooter, Workplace Violence, Security Procedures and Protocols,
Responding to Incidents Involving the Mentally Ill, Hazardous Materials and Internal
Theft. Conducted ongoing Risk and Vulnerability Assessments to include security
staffing and deployment, Closed Circuit Television (CCTV), Crime Prevention through
Environmental Design (CPTED), and protocols to respond and mitigate threats.
Developed Security and Fire Life Safety Manuals for Security Professionals and Tenants.
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Coordinated all security efforts to ensure safety at Special Events. Conducted internal
investigations and worked in conjunction with the Los Angeles Police Department
(LAPD) and the Los Angeles Fire Department (LAFD) on an ongoing basis as well as
respective law enforcement agencies throughout the United States on security matters.


        Attached are my curriculum vitae, listing of testimony and fee schedule.




                                  Scott A. DeFoe




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    CZ Executive Profile
mila
          Expert Witness / Consultant Specialties Include:

                  Police Procedures / Tactics             Use of Force (Lethal and Less Lethal)
    5             SWAT
                  Narcotics
                                                          K9
                                                          Jail Operations
    O             Informants                              Police Corruption / Internal Investigation
                  Vehicle Pursuits                        Vice
    O             Surveillance                            Evidence Analysis & Preservation
•
    U             Security                                Premise Liability / Forseeability

          Awards and Commendations
    O
U         Purple Heart (LAPD),
          Medal of Valor (LAPD)
          Police Star (LAPD) and over 100 Los Angeles Police Department and citizen commendations.

          Professional Experience

          Consultant / Expert Witness
          April 2013 to Present
          On-Scene Consulting Group, LLC. -     Los Angeles, CA
                    Provide comprehensive service which includes in-depth analysis and investigations with detailed
                     reporting of all findings. Testified as an Expert Witness in pre-trial depositions and in various courts
                     throughout the United States.

          Director of Security
          March 2016 to September 2017
          L&R Group of Companies -    Los Angeles, CA
                     Identified and conducted Risk and Vulnerability Assessments for all L&R Group of Companies
                     developments, and projected developments throughout the United States. Conducted all facets of
                     security training to ensure compliance with the Bureau of Security and Investigative Services
                     (BSIS). Ensured compliance with appropriate safety and sustainability regulations for all of the
                     developments in coordination with Human Resources, Legal, and law enforcement to ensure the
                     safety and security of protection of our staff, executives, tenants, and guests.
                     •     Utilized strategic-level analysis from the intelligence community, law enforcement and the
                           private sector. Ensured a coordinated ability to identify and monitor potential or actual incidents
                           among critical infrastructure domains.
                     •     Mitigated expected threats. Utilized preplanned coordinated actions in response to infrastructure
                           warnings or incidents.
                     •     Conducted internal investigations and audits.
                     •     Directed the day-to-day management of site security operations for major sites through
                           subordinates to ensure timely delivery of required services and appropriate response to
                           incidents.
                     •     Designed and implemented appropriate security, measures for existing and projected developments.
                     •     Coordinated all security efforts with current practices and procedures.
                     •     Researched and deployed appropriate technology solutions, innovative security management
                           techniques, and other procedures to ensure physical safety of employees, tenants and guests.
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Scott A. DeFoe                                                                                                      Page 2
Director of Security
June 2014 to March 2016
Universal Protection Service -     Los Angeles, CA
           Directed supervision of 84 Security Professionals at the City National Plaza. Conducted and or
           facilitated all Bureau of Security Investigative Services (BSIS) training to Security Professionals.
           Ensured all Security Professionals were compliant with BSIS security training and licensing.
           Conducted the following training to Security Professionals and Tenants on an ongoing basis.
           •    Trained others on Fire Life Safety, Evacuation Drills, Active Shooter, Workplace Violence,
                Security Procedures and Protocols, Responding to Incidents Involving the Mentally III,
                Hazardous Materials and Internal Theft.
           •    Conducted ongoing risk and vulnerability assessments of the City National Plaza to include
                security staffing and deployment, closed circuit television (CCTV), Crime Prevention through
                Environmental Design (CPTED), and protocols to respond and mitigate threats.
           •    Developed Security and Fire Life Safety Manuals for Security Professionals and Tenants.
           •    Coordinated all security efforts to ensure safety at special events. Conducted internal
                investigations and worked in conjunction with the Los Angeles Police Department (LAPD), Los
                Angeles Fire Department (LAFD) on an ongoing basis.

Riverside County Sheriff's Department - Deputy Sheriff (Lateral) -                  June 2013 to June 2014
April 2014 to June 2014
           Assigned to Jurupa Valley Station Field Deputy Training Program. Conducted all facets of patrol
           service to include: calls for service, self-initiated field activity, arrests, citations, booking of evidence,
           and court testimony.

June 2013 to April 2014
         Assigned to Robert Presley Detention Center (RPDC). Processed and monitored inmate population
           from initial intake, housing, court, transportation and release. Conducted searches of inmate
           population as well as the facility on an ongoing basis. Utilized experience as a Gang Officer,
           Detective and Sergeant with LAPD to conduct interviews and interrogations of prisoners regarding a
           myriad of investigations.
           •    Provided information to gang detail.
           •    Functioned as a mentor to newly appointed Deputy Sheriffs as well as Supervisors.
           •    Attended and certified in RSO Supplemental Jail Operations Core Course and Title XV training
                prior to deployment at RPDC. Received on-going training to include: Use of Force (Lethal and
                Non-Lethal), Crisis Negotiation Training, Active Listening Skills Training, Report Writing,
                Response and Deployment to Critical Incidents, and Proper Protocols and Procedures when
                responding to a medical incident or suicide.

Vice President of Security Operations
June 2010 to April 2013
Caruso Affiliated - Los Angeles, CA
          Identified and conducted risk and vulnerability assessments for all Caruso Affiliated Developments,
           projected developments/investments, and residences. Utilized strategic-level analysis from the
           intelligence community, law enforcement and the private sector. Ensured a coordinated ability to
           identify and monitor potential or actual incidents among critical infrastructure domains and all
           personal and professional interests of Caruso Affiliated. Mitigated expected threats. Utilized
           preplanned, coordinated actions in response to infrastructure warnings or incidents.
           •    Responded to hostilities and identified and eliminated the cause, or source, of an infrastructure
                event by the utilization of emergency response measures to include: on-site security personnel,
                local law enforcement, medical and fire rescue and relevant investigative agencies.
           •    Conducted all facets of security training for the company and employees.
           •    Formulated Business Continuity and CEO Succession Plans for the company and all affiliated
                business interests. Conducted ongoing audits and internal investigations.
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Level 1 Reserve Police Officer
June 2010 to March 2016
Los Angeles Police Department -        Los Angeles, California
          Initially assigned to Counter Terrorism from June 2010 through April 2012. Completed staff projects
          for the Deputy Chief.

          Assigned to the Wilshire Division from April 2012 through March 2016. Assisted with tactical and
          shooting training days as an Adjunct Instructor. Assigned to patrol functions including: responding
          to calls for service, conducting follow-up investigations, conducting self-initiated law enforcement
          activities including arrests, booking of arrestees, completing reports and booking of evidence.

          •    Worked in conjunction with citizens and local businesses in developing crime fighting strategies.
          •    Provided active shooter training to local businesses.
          •    Worked in conjunction with Wilshire Detectives and Wilshire Crime Analysis Detail (CAD) to
               reduce crime.


Sergeant 11+1 Special Weapons and Tactics (SWAT) Supervisor
August 2005 to June 2010
Los Angeles Police Department -        Los Angeles, California
          Supervised the response and tactical intervention during barricaded subject incidents. Supervised
          the coordination and facilitation of high risk warrant services. Supervised the Crisis Negotiation
          Team (CNT) during barricaded and suicidal subject incidents. Developed SWAT's Counter-
          Terrorism and Training Cadre to include the preparation and submission of federal and state grants
          for the acquisition of equipment.

          •    Performed and facilitated all aspects of tactical and crisis negotiation training to federal, state
               and local law enforcement agencies.
          •    Responded and trained Mumbai local and state police officers following the 2008 terrorist attack
               in Mumbai, India.
          •    Assisted with the development of multi-assault counter-terrorism action capabilities training.
          •    Completed audits, employee performance reviews, investigative reports and internal
               investigations.
          •    Conducted use of force investigations on SWAT incidents and submitted reports to the Officer-
               in-Charge for his review and approval.
          •    Testified in court and at administrative hearings.


Sergeant 11+1 Metropolitan Division K9 Platoon
April 2000 to September 2005
Los Angeles Police Department -        Los Angeles, California
          Supervised and facilitated all facets of K9 training. Ensured that all K9 deployments conformed to
          the K9 deployment criteria, through training of personnel and supervision of K9 searches.
          Functioned as a member on a K9 Search Team when necessary. Provided on-scene command
          during critical incidents at Command Posts.

          •    Completed use of force investigations and K9 contacts. Submitted all reports to Officer-in-
               Charge for his review and approval.
          •    Completed all requisite administrative reports to include audits.
          •    Testified in court, and at administrative hearings. Wrote 2002 LAPD Metropolitan Division K9
               Platoon Manual.
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Sergeant II-77th Division Vice, Officer-in-Charge
February 1999 to March 2000
Los Angeles Police Department -        Los Angeles, California
           Supervised investigations involving pimping, pandering, prostitution, bookmaking, gaming, gambling
           and other vice related activities. Conducted audits and administrative reports. Prepared and
           served search warrants for the above-mentioned crimes. Supervised twelve undercover officers and
           six uniformed officers on a daily basis. Worked in conjunction with other Department entities on
           sensitive investigations.
           •   Completed rating reports for subordinates assigned to the Unit.
           •   Conducted use of force investigations, audits, personnel complaints and other administrative
               tasks.
           •   Submitted all reports to the Officer-in-Charge for his review and approval.
           •   Testified in court and at administrative hearings.

Management Services Division Supervisor-Sergeant
November 1997 to March 1999
Los Angeles Police Department -      Los Angeles, California
           Conducted research projects, directives and correspondence at the direction of the Chief of Police.
           Reviewed staff work by subordinates. Conducted follow-up investigations as required to ensure that
           policies and procedures were adhered to by all organizational units within the Department.
           Conducted large scale audits and investigations.
           •   Served a six-month loan on the Rampart Corruption Task Force investigating and auditing use
               of force reports.
           •   Served a six-month loan at Internal Affairs Division, Headquarters Section. Investigated
               personnel complaints beyond the scope of geographical patrol divisions.
           •   Staff writer for the 2000 Los Angeles Police Department Manual.

Hollenbeck Division Special Enforcement Group Officer-in-Charge
November 1996 to November 1997
Los Angeles Police Department -      Los Angeles, California
           Provided supervisory oversight of eighteen police officers and detectives during gang investigations,
           crime suppression and the service of search warrants. Provided all aspects of tactical training to the
           group. Completed audits, employee ratings and administrative duties.
           •   Monitored and reviewed gang and narcotic investigations to ensure compliance with
               Department policy. Conducted use of force investigations.
           •   Submitted all investigative and administrative reports to the Commanding Officer for his review
               and approval. Testified in court and at administrative hearings.

Detective, Wilshire Division
March 1995 to November 1996
Los Angeles Police Department -       Los Angeles, California
           Assigned to various areas including: Robbery, Burglary, Auto Theft, Major Assault Crimes (Assaults
           with Domestic Violence), Homicide and the West Bureau Narcotics Group Field Enforcement
           Section. Conducted preliminary investigations and follow-up investigations. Interviewed victims
           and witnesses of crimes and interrogated individuals suspected of committing crimes. Conducted
           surveillances.
           •   Filed criminal investigations with the Los Angeles City Attorney's Office and the Los Angeles
               District Attorney's Office.
           •   Worked in conjunction with other law enforcement agencies and entities within the Los Angeles
               Police Department.
           •   Wrote and served search warrants. Booked evidence related to investigations.
           •   Trained local businesses and community groups in the areas of safety and security.
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Police Officer
November 1989 to March 1995
Los Angeles Police Department -    Los Angeles, California
           Functioned in numerous roles as a Police Officer I, II, and III to include: Patrol, Field Training Officer
           (FTO), Detective Trainee, Vice, Special Enforcement Group, Divisional CRASH (gangs) and
           Operation Central Bureau CRASH (gangs).
           •     Selected to Specialized Units based on high performance and ability to work well in small
                 cohesive units throughout the Department.
           •     Testified in court on a multitude of matters. Certified in court as a narcotic, gang, and vice expert.

Special Agent-Organized Crime Drug Task Force (OCDETF)
June 1988 to October 1989
           Department of Treasury, United States Customs Service -               San Francisco, California. Special
           Agent assigned to a multi-agency narcotics task force. Investigated major suppliers of narcotics and
           dangerous drugs who were engaged in illegal activities on an organized and commercial basis in an
           undercover capacity.
           •     Prepared and served search warrants. Worked in conjunction with the Assistant United States
                 Attorney in San Francisco. Testified in Federal Court and at Asset Forfeiture Hearings.

United States Army Reserve
June 1983 to June 1989
Honorable Discharge as E-4. Military Occupational Skill (MOS)-72E-Combat Infantry Communications

Training (Received and Provided Training):
Weapons Training/Qualification on Monthly Basis-M-4, MP-5, Benelli Shotgun, Kimber/.45/1911, Remington
870 Shotgun, Glock, Force Option Simulator (Quarterly). Quarterly mandatory weapons certification from
November 1989 to June 2010.

Additional Training/Certification(s):      (11/1989-06/2010)

Supervisor Training:
Incident Command System 100-800
Sexual Harassment Training for Supervisors
Career Development for Supervisors
Standards Based Assessments for Supervisors
Supervisors Consent Decree Training
Vehicle Pursuit Policy Supervisor Training
Watch Commander School Retaliation Training
RMIS TEAMS II (Non-Categorical Use of Force Supervisor Training)
Ethics in Law Enforcement
Career Survival Workshops
Problem Oriented Policing and the SARA Model
Cultural Diversity Tools for Tolerance
Instructor Development Course (IDC)
Officer Involved Shootings Administrative Investigations Training
Prop 115-Hearsay Evidence Training
Managing Workplace Conflict CLETS-NCIC
Racial Profiling
West Point Leadership School for Supervisors
Basic Supervisor School

HAZMAT Training:
Advanced Chemical and Biological Integrated Response, LAFD Hazardous Materials Technical Specialist (A-
D)-Certified HAZMAT Technician, Technical Emergency Response Training, Law Enforcement Protective
Measures.
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Crisis Negotiations/Mental Health Training:
Hostage Negotiations - Advanced, Behavioral Sciences Services Section
Officer-Involved Shooting/Barricaded Subject Services Debriefs
Crisis Negotiation Training and Curriculum Development for West Point Military Academy
Didi Hirsch Suicide Prevention Training (Volunteered and Supervised on an ongoing basis)
Mood Disorders/Post Traumatic Stress Disorder Training, Communicating with People with Disabilities
Mental Health Introduction MEU-SMART Orientation
Mental Illness Update
Drug Recognition Expert Training and Certification
Under the Influence-11550 Health and Safety Code Training
Institute for the Prevention of In-Custody Deaths Training on Recognizing Agonal & Other Breathing Problems
(2015). Attended and facilitated LAPD CNT 40-Hour Course
Attended FBI Basic Crisis Negotiation Course

Tactical Training:
Crowd Management Control, Search and Arrest Warrant Tactics
Less than Lethal Use of Force Training and Certification TASER MX-26, X-26 Train the Trainer
(Trainer/Instructor Certification)
Excited Delirium & Agitated Chaotic Events, Train the Trainer.
End of Pursuit Tactics Overview
Communication-Keeping Your Edge
Crowd Management and Control
Immediate Action Rapid Deployment
Arrest and Control Trainer Certification
Los Angeles County Sheriffs Department Explosive Breaching Course
Mobile Field Force Supervisor Train the Trainer
Officer Survival-Shooting
Personal Protective Equipment (PPE)
Pursuit Intervention Techniques for Supervisors
Baton/Impact Weapon
Advanced Canine Supervisor Course
Basic Metro School
Collapsible Baton
Officer Safety Field Tactics
Mobile Field Force Training
Narcotics/Tactical Entry Update
Field Training Officer Update
Standard Emergency Management System (SEMS)
CPR-First Aid Recertification
Basic Arrest and Control Techniques
Driver Awareness Training
Range Safety Officer and Supervisor Training
Interrogation Techniques
VICE School
37mm Baton Round Training
Civil Unrest Response Training
Hobble Training
Advanced Field Officer Course, Oleoresin Capsicum (OC) Gas Training
Search Warrant Counter Measures
Riverside Sheriffs Department Jail Operations Course to include Title XV
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Detective Training:
Basic Detective School
Juvenile Procedures School
Association of Threat Assessments Professionals (ATAP) Training
Workplace Investigative Training
LAPD Narcotics School
POST Investigative and Interrogation Course
POST Cognitive & Statement Analysis Training Course
Special Investigative Section Surveillance Training

California Peace Officer Standards and Training (P.O.S.T.) Commission: Basic, Intermediate,
Advanced and Supervisory Certificates.

Outside Training:
Dale Carnegie 12-week Public Speaking School
Americans for Effective Law Enforcement (AELE) Certified Litigation Expert Courses
Use of Force By The Numbers: 4, 8, 14 (Institute for the Prevention of In-Custody Deaths-IPICD)
California Specialized Training Unit Hazardous Materials First Responder Operations Weapons of Mass
Destruction Law Enforcement Field Support Course
Louisiana State University Screening of Persons by Observational Techniques (SPOT)
Subconscious Communication for Detecting Danger by International Academy for Linguistics and Kinesics
Department of Homeland Security WMD Radiological/Nuclear Course of Hazardous Materials Technicians
UNLV WMD Radiological/Nuclear Awareness Train The Trainer Course, FEMA Advanced Chemical and
Biological Integrated Response Course Mobile Training Event
FEMA WMD Law Enforcement Threat
Hazard Recognition, and Emergency Actions Training
CSTI Technician/Specialist 1A-D, DHS WMD Tactical Commander Management and Planning
Licensed California Private Investigator (License No. 29151)
Certified California Criminal Defense Investigator.

Associations

California Association of Licensed Investigators
Peace Officers Association of Los Angeles County (POALAC)
Americans for Effective Law Enforcement (AELE)
California Crime Prevention Officers Association
International Association in Crime Prevention Partners
California Peace Officers Association

Education

Master of Legal Studies,    2020
Pepperdine Law School -      Malibu, California, United States

Master of Arts: Public Administration,  1998
California State University -  Long Beach, California, United States

Bachelor of Science: Criminal Justice,    1988
Northeastern University -     Boston, Massachusetts, United States
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                Huntington Beach, California 92605-4456
                         (714) 655-4280 (Cell)
                      Email: sdefoe313@msn.com

       RECORD OF TRIAL TESTIMONY & DEPOSITIONS

1. Deposition:April 15, 2010, Dorman, et al. vs. State of California (CHP) Cause
No. INCO58224, Superior Court of California, County of San Bernadino.

2. Deposition:August 28, 2014, L.H. (Henning) vs. County of Los Angeles, et al.,
Cause No. CV13-1156-GW (JCGx), Superior Court of California, County of Los
Angeles.

3. Deposition:September 15, 2014, A.D., et al. vs. City of Los Angeles, et al.,
Cause No. CV13-6510-JFW (Asx), United States District Court for the Central
District of California.

4. Deposition:October 28, 2014, Goodlow vs. City of El Cajon, Cause No. 3:13-
cv-01542, United States District Court for the Southern District of California.

5. Deposition:February 3, 2015, Castro vs. County of Los Angeles, et al., Cause
No. 2:13-cv-06631, United States District Court for the Central District of
California.

6. Deposition:April 10, 2015, James Gallegos vs. Havana House, Gilardo Lopez,
Donald Bernard, Joseph Escandon and DOES 1-100, Cause No. BC508561,
Superior Court of California, County of Los Angeles.

7. Trial Federal Court:
                     April 29, 2015, Goodlow vs. City of El Cajon, Cause No.
3:13-cv-01542, United States District Court for the Southern District of California.

8. Deposition:May 14, 2015, Eloy Jacobo vs. City of Palm Springs, a Government
Agency, DOES 1 through 50, inclusive, Cause No. INC 1302171, Superior Court of
California, County of Riverside.
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9. Deposition:August 14, 2015, Valine Gonzalez (Santibanez Matter) vs. City of
Visalia; Tim Haener; and DOES 2-10, inclusive, Cause No 1 :13-cv-01697, United
States District Court for the Eastern District of California.

10. Trial State Court:August 18, 2015, James Gallegos, Plaintiff vs. Havana
House; Gilardo Lopez; Donald Bernard; Jose Escandon and DOES 1-100, inclusive,
Defendants. Cause No. BC 508561, Superior Court of California, County of Los
Angeles.

11. Deposition:September 1, 2015 (Part 1) and September 4, 2015 (Part 2),
Frederick Ronald Thomas; JR., individually and as successor-in-interest of Kelly
James Thomas, deceased, Plaintiff, vs. City of Fullerton, et al. Cause No. 30-2012-
00581299, Superior Court of California, Court of Orange.

12. Deposition:September 15, 2015, Anthony Del Real, individually and as
successor-in-interest to John Del Real, Jr; Brittany Del Real Davis, individually and
as successor-in-interest to John Del Real Jr.; and Shirley Lowery, Plaintiff vs. City
of Long Beach; et al., Defendants, Cause No. CV-14-02831-PLA, United States
District Court for the Central District of California.

13. Deposition:September 23, 2015, R.A., a minor, by and Through his guardian
ad Litem Adrianne Penrose, Individually and as successor in interest of John Armes,
deceased, and Adrianne Penrose, individually, Plaintiffs vs. County of Riverside, Et
al., Defendants, Cause No. ED CV 14-00077, United States District Court for the
Central District of California.

14. Deposition:October 19, 2015. Tara Garlick, individually; M.L.S., C.J.S.,
C.R.S., and E.Z.S., minors, by and through their guardian ad litem, Judy Silva, in
each cause individually and as successors in interest to David Silva, deceased; J.S.,
individually and as successor in interest to David Silva, by and through her guardian
ad litem Adriane Dominguez; Merri Silva, individually; and Salvador Silva,
individually, vs. County of Kern, Et al., Defendants, Lead Cause No. 1:13-CV-
01051, United States District Court for the Eastern District of California.

15. Deposition:November 20, 2015, Gonzalo Martinez, Plaintiff vs. County of
Los Angeles; Cuauhtemoc Gonzalez and Does 1 through 10, inclusive. Defendants,
Cause No. 2:2014-cv-05456, United States District Court for the Central District of
California.
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16. Deposition:December 1, 2015, Mindy Losee, individually and as successor in
interest to Brearme Shame, deceased, Plaintiff vs. City of Chico, Scott Zuschin,
Damon Selland, Nick Vega, Jared Cumber, David Quigley; and DOES 1-10,
inclusive. Defendants, Cause No. 2:14-CV-02199, United States District Court for
the Eastern District of California.

17. Deposition:December 17, 2015, Stanley Jordan, an individual, Plaintiff vs.
City of Hawthorne, Officer Matthew Manley, and DOES 1-10, inclusive, Cause no.
2:2014-CV-07554; United States District Court for the Central District of California.

18. Deposition:February 10, 2016, Bridget Wiseman, individually and as
successor-in-interest of Dean Gochenour, deceased, Plaintiff vs. City of Fullerton,
Vincent Mater, Carlos Medina and DOES 1 to 50, inclusive; Cause No. 8:2013-CV-
01278, United States District Court for the Central District of California.

19. Deposition:April 1, 2016, N.W., a minor by through his guardian ad litem
Tkeyah Boyd, individually and as successor-in-interest to Tyler Damon Woods,
Plaintiffs vs. City of Long Beach, Officer John B. Fagan; Officer Daniel A.
Martinez, and DOES 1-10, inclusive, Defendants. Cause No. 5:14-CV-01569,
United States District Court for the Central District of California.

20. Deposition:April 7, 2016, R.D.C., a Minor, by and through his Guardian ad
Litem, Maria Teresa Penaloza, Plaintiffs vs. County of Los Angeles, a public entity;
Jerry Powers, Booker Waugh, Les Smith, and DOES 1 through 10, individually and
in their official capacity as Probation Officers for the County of Los Angeles,
Defendants, Cause No. 2:14-CV-06014, United States District Court for the Central
District of California.

21. Trial State Court:
                    April 20, 2016, Eloy Jacobo vs. City of Palm Springs, A
Government Agency and DOES 1-50, inclusive, Cause No. INC 1302171, Superior
Court of California, County of Riverside.

22. Deposition:April 28, 2016, Ledesma vs. Kern County, Cause No. 1:14-CV-
01634, United States District Court for the Central District of California.

23. Deposition:May 16, 2016, Dennis Dean Sr., Susannah Hardesty, and Amy
Dean, Plaintiff's vs. Sacramento County, Salvador Robles; Daryl Meadows; Randy
Moya and DOES 4-25, Cause No. 2:13-cv-00730, United States District Court for
the Eastern District of California.
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24. Trial Federal Court:
                      June 16, 2016, N.W., a minor by through his guardian
ad litem Tkeyah Boyd, individually and as successor-in-interest to Tyler Damon
Woods, Plaintiffs vs. City of Long Beach, Officer John B. Fagan; Officer Daniel A.
Martinez, and DOES 1-10, inclusive, Defendants. Cause No. 5:14-CV-01569,
United States District Court for the Central District of California.

25. Deposition:June 22, 2016, May 11, 2017, Marian Amaya, individually and as
successor -in-interest of Emiliano Amaya, deceased; G.A., a Minor by and through
his Guardian ad Litem Belinda Krawiec, individually and as successor-in-interest of
Emiliano Amaya, deceased; Gloria Amaya, individually, Plaintiffs, vs. County of
Los Angeles; Sheriff Lee Baca, and Does 1 to 50, Inclusive, Defendants. Cause
No. VC062384, Superior Court of California, County of Norwalk.

26. Deposition:June 27, 2016, Robert J. Zambrano JR., Kathleen Zambrano, and
Jillian Zambrano, a Minor and through her Guardian ad Litem, Robert J. Zambrano
JR., Plaintiffs vs. Andrew Drobot, Redondo Beach Police Department, City of
Redondo Beach, and DOES 1 to 50, Inclusive, Defendants. Cause No. BC566142,
Superior Court of California, County of Los Angeles.

27. Deposition:July 5, 2016, NONA OPSITNICK AND LINDA STERETT,
Plaintiffs vs. CITY OF LONG BEACH; ERIC BARICH, SALVADOR
ALATORRE, ABRAM YAP, and DOES 4-10, inclusive Defendants. Cause No.
2:14-CV-09370, United States District Court for the Central District of California.

28. Deposition:July 7, 2016, Leslie Laray Crawford, individually and as
Successor in Interest to Michael Laray Dozer, deceased, Plaintiff, vs. City of
Bakersfield, a municipal entity, Officer Aaron Stringer, an individual, Michael
Eugene Dozer (as a nominal defendant) and DOES 1 through 10, inclusive,
Defendants, Cause No. 1:14-CV-01735, United States District Court for the Eastern
District of California.

29. Trial Federal Court:
                      August 19, 2016, Anthony Del Real, individually and as
successor-in-interest to John Del Real, Jr; Brittany Del Real Davis, individually and
as successor-in-interest to John Del Real Jr.; and Shirley Lowery, Plaintiff vs. City
of Long Beach; et al., Defendants. Cause No. 2:14-CV-02831, United States District
Court for the Central District of California.
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30. Deposition:September 19, 2016, D.G., a minor, by and through his guardian
ad litem, Denise Bonilla, individually and as successor-in-interest to David Garcia,
deceased; D.E.G., a minor, by and through her guardian ad litem, Denise Bonilla,
individually and as successor-interest to David Garcia, deceased; G.D., a minor, by
and through her guardian ad litem, Denise Bonilla, individually and as successor-in-
interest to David Garcia, deceased; RAMONA RAMIREZ NUNEZ, individually;
Plaintiffs, vs. COUNTY OF KERN; ROBERT REED; DOES 2 THROUGH 10;
Defendants. Cause No. 1:15-CV-00760, United States District Court for the Eastern
District of California.

31. Deposition:October 4, 2016, J.M., a minor by and through his guardian ad
litem Celine Lopez, individually and as successor-in-interest to Hans Kevin
Arellano, Plaintiff vs. CITY OF SANTA ANA, OFFICER JESSICA GUIDRY;
OFFICER STEPHEN CHAVEZ; and Does 1-10, inclusive, Defendants. Cause No.
8:15-cv-00432, United States District Court for the Central District of California.

32. Trial Federal Court:
                      October 20, 2016, Leslie Laray Crawford, individually
and as Successor in Interest to Michael Laray Dozer, deceased, Plaintiff, vs. City of
Bakersfield, a municipal entity, Officer Aaron Stringer, an individual, Michael
Eugene Dozer (as a nominal defendant) and DOES 1 through 10, inclusive,
Defendants, Cause No. 1:14-CV-01735, United States District Court for the Eastern
District of California.

33. Deposition:November 30, 2016, Brian Bunnak, Plaintiff, vs. KION JAMES
MOSBAT, an individual, and DOES 1 through 10, inclusive, Defendants. Cause No.
BC571975, Superior Court of California, County of Los Angeles.

34. Deposition:February 13, 2017, Abraham Valentin, Alejandro Francisco
Peralta, Michael Dominguez, Frank Margarito Escobedo, Plaintiffs vs. ROBERT
JACKSON, and DOES 1-50, Inclusive, Defendants. Cause No. 2:15-CV-09011,
United States District Court for the Central District of California.

35. Deposition:March 3, 2017, ARTURO GONZALEZ, Plaintiff, vs. CITY OF
BAKERSFIELD, GARY CARRUESCO, DOUG BARRIER, KASEY KNOTT,
JUAN OROZCO, and DOES 5-10, Defendants. Cause No. 1:16-CV-00107, United
States District Court for the Eastern District of California.
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36. Trial Federal Court: March 9, 2017, LUIS ARIAS, an individual, Plaintiff,
vs. COUNTY OF LOS ANGELES, a municipal entity; DEPUTY KENNETH
FITCH, an individual and DOES 1 through 10, inclusive, Defendants. Cause No.
2:15-CV-02170, United States District Court for the Central District of California.

37. Deposition:March 10, 2017, FREDRICK THOMAS and ANNALESA
THOMAS, as Co-Administrators of the Estate Leonard Thomas, and its statutory
beneficiaries, Plaintiffs, vs. BRIAN MARKERT; MICHAEL WILEY; NATHAN
VANCE; MICHAEL ZARO; SCOTT GREEN; JEFF RACKLEY; CITY OF FIFE;
CITY OF LAKEWOOD; PIERCE COUNTY METRO SWAT TEAM; and JOHN
DOES 1 through 10, Defendants. Cause No. 3:16-cv-05392, United States District
Court for the Western District of Washington.

38. Deposition:March 16, 2017, DENNIS BLOCH, an individual and JENNIFER
BLOCH, an individual, Plaintiff vs. STANFORD HOTELS CORPORATION,
HARBOR VIEW HOLDINGS, Inc., A CALIFORNIA CORPORATION,
MARRIOT INTERNATIONAL INC; A DELAWARE CORPORATION, SAN
DIEGO HOTEL COMPANY, LLC; PORTER GREER, and DOES 1 through 25,
Defendants. Cause No. 37-2015-000028814-CV-PO-CTL, Superior Court of
California, County of San Diego.

39. Deposition:March 22, 2017, CINDY MICHELLE HAHN; AND
BRANDON HAHN, Plaintiffs vs. CITY OF CARLSBAD; OFFICER J. KNISLEY;
OFFICER KENYATTE VALENTINE; OFFICER KARCHES; CORPORAL
GALANOS; OFFICER SEAPKER; AND DOES 1 THROUGH 50, Defendants.
Cause No. 3:15-cv-02007, United States District Court for the Southern District of
California.

40. Deposition:April 26, 2017, DEMETRICE SIGHTLER, Plaintiff, vs. CITY
OF SAN DIEGO, SAN DIEGO POLICE DEPARTMENT ASSISTANT CHIEF
DAVID NISLEIT AND DOES 1-30, Defendants, Cause No. 3:15-CV-02235,
United States District Court for the Southern District of California.

41. Trial State Court:May 11, 2017, Marian Amaya, individually and as
successor -in-interest of Emiliano Amaya, deceased; G.A., a Minor by and through
his Guardian ad Litem Belinda Krawiec, individually and as successor-in-interest of
Emiliano Amaya, deceased; Gloria Amaya, individually, Plaintiffs, vs. County of
Los Angeles; Sheriff Lee Baca, and Does 1 to 50, Inclusive, Defendants Cause No.
VC062384, Superior Court of California, County of Norwalk.
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42. Deposition:June 6, 2017, HECTOR MEJIA, an individual, NORA
SANTILLAN, an individual, Plaintiffs, vs. ADIEB TIESSAN, an individual,
LEWIS ANTHONY GEORGE, an individual; and LEWIS JOBY ANTHONY, an
individual; FAHMY MUSHMEL, an individual; SALAM MUSHMEL, an
individual; THE FAHMY MUSHMEL AND SALAM MUSHMEL LIVING
TRUST; and DOES 1 through 20, Inclusive, Defendants. Cause No. BC594095,
Superior Court of California, County of Los Angeles.

43. Deposition:June 8, 2017, Nathaniel Smith vs. City of Stockton, et al.
Cause No. 5:15-CV-01603-JGB-(DTBx), Superior Court of California, County of
Sacramento.

44. Trial Federal Court:
                      June 21, 2017, Abraham Valentin, Alejandro Francisco
Peralta, Michael Dominguez, Frank Margarito Escobedo, Plaintiffs vs. ROBERT
JACKSON, and DOES 1-50, Inclusive, Defendants. Cause No. CV 2:15-CV-09011,
United States District Court for the Central District of California.

45.   Trial Federal Court:June 26-27, 2017, FREDRICK THOMAS and
ANNALESA THOMAS, as Co-Administrators of the Estate Leonard Thomas, and
its statutory beneficiaries, Plaintiffs, vs. BRIAN MARKERT; MICHAEL WILEY;
NATHAN VANCE; MICHAEL ZARO; SCOTT GREEN; JEFF RACKLEY; CITY
OF FIFE; CITY OF LAKEWOOD; PIERCE COUNTY METRO SWAT TEAM;
and JOHN DOES 1 through 10, Defendants. Cause No. 3:16-cv-05392, United
States District Court for the Western District of Washington.

46. Deposition:June 30, 2017, K.J.P., a minor, and K.P.P., a minor, individually,
by and through their mother, LOAN THI MINH NGUYEN, who also sues
individually and as successor in interest to her now deceased husband, Lucky
Phounsy, and KIMBERLY NANG CHANTHAPHANH, individually, Plaintiffs vs.
COUNTY OF SAN DIEGO; et al., Defendants. Cause No. 15-cv-02692, United
States District Court for the Southern District of California.

47. Deposition:July 10, 2017, REBECKA JACKSON-MOESER, Plaintiffs, vs.
DAVILA and DOES 1 through 10, inclusive, individually and in their official
capacity as CALIFORNIA HIGHWAY PATROL OFFICERS, Defendants. Cause
No. 2:16-CV-08733, United States District Court for the Central District of
California.
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48. Deposition:July 12, 2017, A.E.R., a Minor, by and through his Guardian ad
Litem, STEPHANIE YANEZ, both Individually and as Successor in Interest on
behalf of Plaintiffs Decedent EDUARDO EDWIN RODRIGUEZ, ESTELA
RODRIGUEZ, and ABEL RODRIGUEZ, for themselves as parents of the Decedent,
Plaintiffs, vs. COUNTY OF LOS ANGELES, a Public Entity, ANDREW
ALATORRE, SANDY GALDAMEZ, and DOES 1 through 10, inclusive,
individually and in their official capacity as Los Angeles County Sheriffs
Department Deputies, Defendants. Cause No. 2:16-CV-04895, United States
District Court for the Central District of California.

49. Deposition:July 14, 2017, JONATHAN A. GARCIA, an individual, Plaintiff,
vs. UNITED STATES OF AMERICA, DRUG ENFORCEMENT
ADMINISTRATION SPECIAL AGENT CHARLES VALENTINE, AND DOES
1-10, inclusive, Defendants. Cause No. 2:16-CV-01664, United States District Court
for the Central District of California.

50. Trial Federal Court:
                      August 2, 2017, CINDY MICHELLE HAHN; AND
BRANDON HAHN, Plaintiffs vs. CITY OF CARLSBAD; OFFICER J. KNISLEY;
OFFICER KENYATTE VALENTINE; OFFICER KARCHES; CORPORAL
GALANOS; OFFICER SEAPKER; AND DOES 1 THROUGH 50, Defendants.
Cause No. 3:15-cv-02007, United States District Court for the Southern District of
California.

51. Deposition:August 4, 2017, Arnulfo Hernandez vs. United States of
America, Cause No. 5:16-CV-00727, United States District Court for the Central
District of California.

52. Deposition:August 9, 2017, PAMELA MOTLEY, ESTATE OF CINDY
RAYGOZA, through its legal representative and administrator, YVETTE
CALDERA; VALERIE CALDERA; DANNY RICE, Plaintiffs, vs. JOSEPH
SMITH; BRIAN LITTLE; DERRICK JOHNSON; MICHAEL COUTO;
BERNARD FINLEY; BYRON URTON; RYAN ENGUM; UNKNOWN POLICE
OFFICERS; THE CITY OF FRESNO CALIFORNIA, Defendants. Cause No. 1:15-
CV-00905, United States District Court for the Eastern District of California.
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53.           August 14, 2017, Desiree Martinez, Plaintiff vs. KYLE
    Deposition:,
PENNINGTON; KIM PENNINGTON; CONNIE PENNINGTON; KRISTINA
HERSHBERGER; JESUS SANTILLAN; CHANNON HIGH; THE CITY OF
CLOVIS; ANGELA YAMBUPAH; RALPH SALAZAR; FRED SANDERS; THE
CITY OF SANGER; DOES 1-20, Defendants. Cause No. 1:15-cv-00683, United
States District Court for the Eastern District of California.

54. Trial Federal Court:
                      August 23, 2017, TREVOR WYMAN, Plaintiff vs.
COUNTY OF ORANGE, ZACHARY VARELA and DOES 1 through 10, inclusive
Defendants. Cause No. 8:15-CV-01523, United States District Court for the Central
District of California.

55. Deposition:September 6, 2017, JUSTIN KAUFMAN, ESQ., as Personal
Representative of the Estate of HANNAH E. BRUCH, Plaintiff, vs. EXPO NEW
MEXICO, et al. Defendants. Cause No. D-101-CV-2015-01792, First Judicial
District of the County of Santa Fe, State of New Mexico.

56. Deposition:September 8, 2017, KHANLY SAYCON, JR., and ANNA LUZ
SAYCON, individually and as surviving heirs and successors in interest of
MHARLOUN SAYCON (deceased), Plaintiffs vs. CITY OF LONG BEACH,
ROBERT LUNA, VUONG NGUYEN, and DOES 1-20, Inclusive, Defendants.
Cause No. 2:16-CV-05614, United States District Court for the Central District of
California.

57. Deposition:October 17, 2017, JOSE PATIN°, an individual, Plaintiff, vs.
LIVE NATION ENTERTAINMENT INC., a Delaware Corporation; 4FINI, Inc., a
California Corporation; ROCKSTAR BEVERAGE CORPORATION, a Nevada
Corporation; and DOES 1 through 100, inclusive Defendants., Cause No.
CIVDS1515083, Superior Court of California, County of San Bernardino.

58. Deposition:October 24, 2017, NICHOLAS MONTGOMERY, Plaintiff, vs.
The WHISKEY BARREL, Hesperia, LLC, and DOES 1 through 20, inclusive,
Defendants. Cause No. CIVDS1518148, Superior Court of California, County of
San Bernardino.

59. Deposition:October 30, 2017, ESTATE OF FERAS MORAD, AMAL
ALKABRA, and AMR MORAD Plaintiffs vs. CITY OF LONG BEACH,
MATTHEW HERNANDEZ, ROBERT LUNA, Defendants, Cause No. 2:16-CV-
06785, United States District Court for the Central District of California.
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60. Deposition:November 3, 2017, ARMANDO AYALA, Plaintiff, vs. STATER
BROS. MARKETS, and DOES 1 TO 50, INCLUSIVE, Defendants, Cause No.
BC546436, Superior Court of California, County of Los Angeles.

61. Deposition:November 7, 2017, PRESTON vs. BOYER, et al., Cause No.
2:16-CV-01106, United States District Court for the Western District of
Washington.

62. Deposition:November 8, 2017, TRINA KOISTRA; and LARRY FORD,
Plaintiffs, vs. COUNTY OF SAN DIEGO; PLUTARCO VAIL; and DOES 1
through 50, inclusive, Defendants, Cause No. 3:16-CV-02539, United States District
Court for the Southern District of California.

63. Deposition:December 5, 2017, JAMES GOOD, an individual, Plaintiff, vs.
COUNTY OF LOS ANGELES; LEROY DAVID "LEE" BACA, as Former Sheriff
in his individual and official capacity; JIM MCDONNELL, as Sheriff in his
individual and official capacity; DEPUTY PETER NICHOLAS; DEPUTY JASON
WILL, Defendants. Cause No. 2:15-CV-04290, United States District Court for the
Central District of California.

64. Deposition:January 8, 2018, BRYAN JOSEPH FISHER, Plaintiff, vs.
COUNTY OF ORANGE; TODD CARPENTER; ROXANA ENRIQUEZ, JAVIER
MARQUEZ, et al., Defendants. Cause No. 8:16-CV-01866, United States District
Court for the Central District of California.

65. Deposition:January 10, 2018, MICHAEL GEGENY, Plaintiff, vs. CITY OF
LONG BEACH, CHIEF JIM MCDONNELL, OFFICER JOSE MANUEL
RODRIGUEZ, #10153; OFFICER JUSTIN S. KRUEGER, #6152 and DOES 1 to
50, Inclusive, Defendants, Cause No. BC 553047, Superior Court of California,
County of Los Angeles.

66. Trial Federal Court:January 23, 2018, JONATHAN A. GARCIA, an
individual, Plaintiff, vs. UNITED STATES OF AMERICA, DRUG
ENFORCEMENT ADMINISTRATION SPECIAL AGENT CHARLES
VALENTINE, AND DOES 1-10, inclusive, Defendants. Cause No. 2:16-cv-01664,
United States District Court for the Central District of California.
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67. Deposition:February 8, 2018, DOMINIC ARCHIBALD, and NATHANAEL
PICKETT I, AS SUCCESSORS IN INTEREST TO NATHANAEL PICKETT II,
DECEASED, Plaintiff, vs. COUNTY OF SAN BERNARDINO, KYLE WOODS,
WILLIAM KELSEY and DOES 2-10, INCLUSIVE, Defendants, Cause No. 5:16-
cv-01128, United States District Court for the Central District of California.

68. Deposition:February 13, 2018, THE ESTATE OF JOHNNY MARTINEZ;
PLAINTIFF, VS. COUNTY OF LOS ANGELES, LOS ANGELES COUNTY
SHERIFF'S DEPARTMENT, SHERIFF JIM MCDONNELL, AND DOES 1
THROUGH 50, DEFENDANTS. CAUSE NO. BC 579140, Superior Court of
California, County of Los Angeles.

69. Deposition:February 21, 2018, TIMOTHY McKIBBEN, an individual,
Plaintiff, vs. OFFICER WILLIAM KNUTH, an individual; RAYMOND COTA, in
his official capacity, CITY OF SEDONA, an Arizona municipal corporation; JOHN
and JANE DOES I-X, Defendants, Cause No. 3:17-CV-08009, United States District
Court for the District of Arizona.

70. Deposition:February 23, 2018, TIFFANIE HUPP and RILEY HUPP, a minor,
by and through his next friend, Tiffanie Hupp, and CLIFFORD MYERS, Plaintiffs,
vs. STATE TROOPER SETH COOK and COLONEL C.R. "JAY" SMITHERS,
Defendants, Cause No. 2:17-CV-00926, United States District Court for the
Southern District of West Virginia.

71. Trial Federal Court:March 7-8, 2018, DOMINIC ARCHIBALD, and
NATHANAEL PICKETT I, AS SUCCESSORS IN INTEREST TO NATHANAEL
PICKETT II, DECEASED, Plaintiff, vs. COUNTY OF SAN BERNARDINO,
KYLE WOODS, WILLIAM KELSEY and DOES 2-10, INCLUSIVE, Defendants,
Cause No. 5:16-cv-01128, United States District Court for the Central District of
California.

72. Deposition:April 9, 2018, ROBERT PALMER, Plaintiff, vs. CALIFORNIA
HIGHWAY PATROL OFFICER IOSEFA, et al., Defendants. Cause No. 1:16-CV-
00787, United States District Court for the Eastern District of California.

73. Deposition:April 13, 2018, JEFFREY SIHTO, Plaintiff, vs. HYATT
CORPORATION; JOSE CEBALLOS; and DOES 1 through 50, Inclusive,
DEFENDANTS. Cause No. BC 594206, Superior Court of California, County of
Ventura.
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74. Deposition:,April 18, 2018, ROSWITHA M. SAENZ, Individually and on
behalf of THE ESTATE OF DANIEL SAENZ, Deceased, Plaintiff, vs. G4S
SECURE SOLUTIONS (USA) INC., OFFICER JOSE FLORES AND
ALEJANDRO ROMERO, Defendants. Cause No. 3:14-CV-00244, United States
District Court for the Western District of Texas.

75. Deposition:April 19, 2018, MILDRED MAE MENDOZA as successor-in-
interest of FRANK MENDOZA, SR., et al, Plaintiffs, vs. COUNTY OF LOS
ANGELES, et al, Defendants. Cause No. BC 594206, Superior Court of California,
Los Angeles County.

76. Trial Federal Court:April 25, 2018, LOUIS SANCHEZ, an individual,
Plaintiff, vs. DEPUTY JOSHUA RICARD, an individual, and DOES 1 through 10,
inclusive, Defendants. Cause No. 5:17-CV-00339, United States District Court for
the Central District of California.

77. Deposition:May 1, 2018, DOUGLAS KEVIN VEALE, individually, and as
the Personal Representative for the Estate of KATHRYN JEANETTE NEW,
deceased, and on behalf of the beneficiaries of the Estate including AARON JAMES
NEW, KENT ROBERT MCMAHON, HEATHER JANDICE BRIGETTE NEW,
PATRICK JORDAN WILLIAM NEW, and DUSTY CODY SCOGGINS,
Plaintiffs, vs. WASHINGTON FUGITIVE INVESTIGATIONS, a foreign limited
liability company; TWO JINN, INC., d/b/a ALADDIN BAIL BONDS, a for-profit
corporation, and MARIO D. CAREY, a Washington resident, Defendants. Cause
No. 17-2-08870-1, Pierce County (Washington) Superior Court.

78. Deposition:May 7, 2018, ESTATE OF JAVIER GARCIA GAONA, JR., et
al., Plaintiffs, vs. CITY OF SANTA MARIA, et al., Defendants, Cause No. 2:17-
CV-01983, United States District Court for the Central District of California.

79. Trial State Court:
                    June 4, 2018, NICHOLAS MONTGOMERY, Plaintiff, vs.
The WHISKEY BARREL, Hesperia, LLC, and DOES 1 through 20, inclusive,
Defendants. Cause No. CIVDS1518148, Superior Court of California, County of
San Bernardino.
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80. Deposition:June 14, 2018, C. V.; R. V., a minor, by and through his Guardian
Ad Litem MIGUEL VILLEGAS; D. V., a minor, by and through his Guardian Ad
Litem MIGUEL VILLEGAS; JOCELYN CASTILLO VILLEGAS and ESTATE
OF BERNIE CERVANTES VILLEGAS, Plaintiffs. VS. CITY OF ANAHEIM, a
California municipal entity; JOHN WELTER; NICHOLAS BENNALLACK;
BRETT HEITMANN; KEVIN VOORHIS; MATTHEW ELLIS; and Does 1-10,
inclusive. Cause No: 30-2017-00897184-CU-PO-CJC, Superior Court of California,
County of Orange.

81. Trial Federal Court:
                      July 6. 2018, ESTATE OF FERAS MORAD, AMAL
ALKABRA, and AMR MORAD Plaintiffs vs. CITY OF LONG BEACH,
MATTHEW HERNANDEZ, ROBERT LUNA, Defendants, Cause No. 2:16-CV-
06785, United States District Court for the Central District of California.

82. Deposition:July 16, 2018, SHAWN EDWARD RUMENAPP, an individual;
and ERICA RUMENAPP, an individual, Plaintiffs, vs. PANERA BREAD
COMPANY, a Delaware corporation; PANERA, LLC, a Delaware limited liability
company; SARA JAMAL ZEITOUN, an individual; JAMAL ZEITOUN, an
individual; and DOES 1 through 50, inclusive, Defendants, Cause No: CIVDS
1700576, Superior Court of California, County of San Bernardino.

83. Deposition:July 17, 2018, Fralisa McFall, on behalf of the ESTATE OF
JESSICA ANN MARIE ORTEGA, a deceased person, and her statutory
beneficiaries I.S. and D.S., two minor children, Plaintiff, vs. PIERCE COUNTY, a
subdivision of the State of Washington, Defendant, Cause No. 17-2-11836-8, Pierce
County (Washington) Superior Court.

84. Trial State Court:July 20, 2018, ARMANDO AYALA, Plaintiff, vs.
STATER BROS. MARKETS, and DOES 1 TO 50, INCLUSIVE, Defendants,
Cause No. BC546436, Superior Court of California, County of Los Angeles.

85. Deposition:July 31, 2018, TOMMIE HARRIS, Individually; DERRICK
EUGENE COKER, Individually; SHYVVINA DIANE COLE, Individually;
STEPHANIE LORRAINE WILLIAMS, Individually; JEMICA SHANDRA
SPEARS, Individually, Plaintiffs, vs. GNL, CORP. d/b/a GOLD DIGGERS, a
Domestic Corporation; Individually; DOE EMPLOYEES; DOES I through X; and
ROE CORPORATIONS I through X, inclusive, Defendants. Cause No. A-16-
741693-C, District Court, Clark County, Nevada.
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86. Deposition:August 14, 2018, DAVID JESSEN and GRETCHEN JESSEN,
Plaintiffs. vs. COUNTY OF FRESNO, CITY OF CLOVIS, and DOES 1 to 100,
inclusive, Defendants, Cause No. 1:17-CV-00524, United States District Court for
the Eastern District of California.

87.    Deposition:August 15, 2018, ARMANDO VILLANUEVA and
HORTENCIA SAINZ, INDIVIDUALLY and as successor in interest to Pedro
Villanueva, deceased, and FRANCISCO OROZCO, individually, Plaintiffs vs.
STATE OF CALIFORNIA; JOHN CLEVELAND; RICH HENDERSON; and
DOES 1-10, inclusive, Defendants. Cause No. 8:17-CV-01302, United States
District Court for the Central District of California.

88. Deposition:August 17, 2018, BRIAN O'NEAL PICKETT III, A MINOR,
AND MICAH OMARI PICKETT, A MINOR, BY AND THROUGH THEIR
GUARDIAN AD LITEM TAMIA GILBERT, Plaintiffs, vs. COUNTY OF LOS
ANGELES, LOS ANGELES COUNTY SHERIFF'S DEPARTMENT, AND DOES
1 THROUGH 50, INCLUSIVE, Defendants. CAUSE NO. TCO28173 (Consolidated
with TCO28210), Superior Court of California, County of Los Angeles.

89. Deposition:August 21, 2018, ESTATE OF TASHI S. FARMER a/k/a
TASHII BROWN, by and through its Special Administrator, Elia Del Carmen
Solano-Patricio; TAMARA BAYLEE KUUMEALI' FARMER DUARTE, a minor,
individually and as Successor-in-Interest, by and through her legal guardian,
Stevandra Lk Kuanoni; ELIAS BAY KAIMIPONO DUARTE, a minor, individually
and as Successor-in-Interest, by and through his legal guardian, Stevandra Kuanoni,
Plaintiffs, vs. LAS VEGAS METROPOLITAN POLICE DEPARTMENT, a
political subdivision of the State of Nevada; OFFICER KENNETH LOPERA,
INDIVIDUALLY and in his Official Capacity; and Does 1 through 50, inclusive,
Defendants, Cause No. 2:17-CV-01946, United States District Court for the District
of Nevada.

90. Deposition:August 24, 2018, TEAIRA SMALLWOOD, et al, Plaintiffs, vs.
OFFICER JOSEPH KAMBERGER, JR., et al, Defendants, Civil Cause No. 24-C-
16-005543, Circuit Court for Batimore City, Maryland.

91. Deposition:August 27, 2018, DANIEL MANRIQUEZ, Plaintiff, vs. J.
VANGILDER, et al., Cause No. 16-cv-01320, United States District Court for the
Northern District of California.
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92. Deposition:September 14, 2018, ERIKA SEPULVEDA, FOR HERSELF
AND ON BEHALF OF HER MINOR CHILDREN MELODY PATRICIO AND
ERNESTO PATRICIO, AND MARIA CARMEN SARATE ANGELES, Plaintiffs
vs. CITY OF WHITTIER, OFFICER HAUSE, OFFICER CABRAL, OFFICER
MEDINA, MONETARY MANAGEMENT OF CALIFORNIA, INC. dba MONEY
MART, DOLLAR FINANCIAL GROUP, INC., DFC GLOBAL CORP. fdba
DOLLAR FINANCIAL U.S. INC., JOSE LOPEZ, DON MORTON, and DOES 2 -
10, inclusive, Defendants, Cause No. 2:17-CV-04457, United States District Court
for the Central District of California.

93. Deposition: September 20, 2018, DAPHNE SMITH, an individual, Plaintiff,
vs. GOP, INC., a California Corporation Dba EASTRIDGE; EASTRIDGE, a
business organization, form unknown; GENERAL GROWTH PROPERTIES, INC,
a Delaware Corporation dba EASTRIDGE; and DOES 1-50, inclusive, Defendants.
Cause No. 2015-1-CV-283003. ABM ONSITE SERVICES-WEST, INC., Cross-
Complainants, vs. ALLIED BARTON SECURITY SERVICES, LP; AND DOES
1-20, Cross-Defendants, Superior Court of California, County of Santa Clara.

94. Deposition: September 24, 2018, TIMOTHY GRISMORE, an individual;
XAVIER HINES, an individual, Plaintiffs, vs. CITY OF BAKERSFIELD, a
municipality; OFFICER MELENDEZ, an individual; OFFICER LUEVANO, an
individual; OFFICER POTEETE, an individual; OFFICER CLARK, an individual;
OFFICER McINTYRE, an individual; OFFICER VASQUEZ, an individual;
OFFICER BARAJAS, an individual; SERGEANT McAFEE, an individual; and
DOES 1-10, inclusive, Defendants. Cause No. 1:17-CV-00413, United States
District Court for the Eastern District of California.

95. Deposition: September 25, 2018, CAROLYN GIUMMO and ANTHONY S.
HILL, SR., Individually and as Surviving Parents and as Personal Representatives
of the Estate of ANTHONY H. HILL, Plaintiffs, vs. ROBERT OLSEN, individually
and in his official capacity as a law enforcement officer for DeKalb County Police
Department; and the COUNTY OF DEKALB, GEORGIA, a municipal corporation,
Defendants. Cause No. 1:15-CV-03928, United States District Court for the
Northern District of Georgia.
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96. Deposition:September 26, 2018, MARIA ADAME, in her individual
capacity; CLARISA ABARCA, as a parent of minor child; C.A., in her individual
capacity, and the ESTATE OF DEREK ADAME, as statutory beneficiaries of the
claim for wrongful death of Derek Adame, deceased, Plaintiffs, vs. CITY OF
SURPRISE, SURPRISE POLICE DEPARTMENT, OFFICER JOSEPH GRUVER
and OFFICER SHAUN MCGONIGLE, Defendants. Cause No. 2:17-CV-03200,
United States District Court for the District of Arizona.

97. Deposition:October 17, 2018, BRIAN A. RAMIREZ, Plaintiff, vs. COUNTY
OF SACRAMENTO, SACRAMENTO COUNTY SHERIFF'S DEPARTMENT,
OFFICER RYAN N. VICE, and DOES 1 through 10, Inclusive, Defendants. Cause
No. 2:17-CV-01868, United States District Court for the Eastern District of
California.

98. Deposition:October 18, 2018, RONEY COFFMAN, Plaintiff, vs. LOS
ANGELES COUNTY SHERIFF'S DEPARTMENT; COUNTY OF LOS
ANGELES; FRAY MARTIN LUPIAN, DOES 1 TO 20, Defendants, Cause No.
BC653479, Superior Court of California, County of Los Angeles.

99. Deposition:October 23, 2018, ROBERT PROVOST, INDIVIDUALLY AND
AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ERIC PROVOST,
PLAINTIFF, vs. CITY OF ORLANDO, A FLORIDA MUNICIPAL
CORPORATION, POLICE OFFICER SONJA SAUNDERS AND POLICE
OFFICER TINO CRUZ IN THEIR OFFICIAL AND INDIVIDUAL CAPACITIES,
DEFENDANTS. Cause No. 6:17-CV-02133, United States District Court for the
Middle District of Florida.

100. Deposition:October 24, 2018, ANGELA AINLEY, individually and as
successor-in-interest for KRIS JACKSON, deceased; PATRICK JACKSON,
individually and as successor-in-interest for KRIS JACKSON, Deceased, Plaintiff,
vs. CITY OF SOUTH LAKE TAHOE, a public entity; JOSHUA KLINGE,
individually and as a police officer for the City of South Lake Tahoe; City of South
Lake Tahoe Chief of Police BRIAN UHLER, individually; and DOES 2 through 10,
Jointly and Severally, Defendants. Cause No. 2:16-CV-00049, United States District
Court for the Eastern District of California.

101. Trial Federal Court:
                       October 29, 2018, ROBERT PALMER, Plaintiff, vs.
CALIFORNIA HIGHWAY PATROL OFFICER IOSEFA, et al., Defendants. Cause
No. 1:16-CV-00787, United States District Court for the Eastern District of
California.
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102. Deposition:,
               November 9, 2018, KIMBERLY J. ZION, individually and as
successor in interest to CONNOR ZION, Plaintiff, vs. COUNTY OF ORANGE,
MICHAEL HIGGINS and DOES 1 through 10, inclusive, Defendants. Cause No.
8:14-cv-01134, United States District Court for the Central District of California.

103. Deposition:November 11, 2018, DONNA HUFF, Plaintiff, vs. THE LOS
ANGELES COUNTY SHERIFF'S DEPARTMENT; THE COUNTY OF LOS
ANGELES; DEPUTY GREG WHALEN (EMPLOYEE NO. 476475), OFFICER
MICHAEL REYNOLDS (EMPLOYEE NO. 519952) and DOES 1 through 10, Inclusive,
Defendants. Cause No. 2:16-CV-01733, United States District Court for the Central
District of California.

104.Deposition:November 15, 2018, MERLIN OFFSHORE INTERNATIONAL,
a California Corporation, et al., Plaintiffs, vs. ADVANCED RESERVATIONS
SYSTEMS, INC., a California corporation, et al., Defendants. Cause No.
SC 12580, Superior Court of California, County of Los Angeles.

105. Trial State Court:
                     December 5, 2018, C. V.; R. V., a minor, by and through
his Guardian Ad Litem MIGUEL VILLEGAS; D. V., a minor, by and through his
Guardian Ad Litem MIGUEL VILLEGAS; JOCELYN CASTILLO VILLEGAS
and; ESTATE OF BERNIE CERVANTES VILLEGAS, Plaintiffs. VS. CITY OF
ANAHEIM, a California municipal entity; JOHN WELTER; NICHOLAS
BENNALLACK; BRETT HEITMANN; KEVIN VOORHIS; MATTHEW ELLIS;
and Does 1-10, inclusive. CAUSE No: 30-2017-00897184-CU-PO-CJC, Superior
Court of California, County of Orange.

106. Deposition:December 19, 2018, VICTOR GARCIA, Plaintiff vs. REAL
HOSPITALITY, INC., dba MARTINI'S FEEL GOOD LOUNGE; DYLAN
OXFORD, and DOES 1-100, Inclusive, Defendants. Cause No. BCV-16-102039,
Superior Court of California, County of Kern.

107. Trial Federal Court:    January 15, 2019, KIMBERLY J. ZION, individually
and as successor in interest to CONNOR ZION, Plaintiff, vs. COUNTY OF
ORANGE, MICHAEL HIGGINS and DOES 1 through 10, inclusive, Defendants.
Cause No. 8:14-cv-01134, United States District Court for the Central District of
California.
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108. Deposition:January 18, 2019, DYLAN KINNEY, individually and on
behalf of the ESTATE OF REGINA ANNAS, a deceased person; RACHEL
HOLLAND, individually, Plaintiffs, vs. PIERCE COUNTY, a subdivision of the
State of Washington, Defendant, Cause No. 18-2-07321-4, Pierce County
(Washington) Superior Court.

109. Deposition:,
               January 22, 2019, GWENDOLYN WOODS, individually and
as Successor in Interest to Decedent MARIO WOODS, PLAINTIFF, vs. CITY AND
COUNTY OF SAN FRANCISCO; a municipal corporation, et al, DEFENDANTS.
Cause No. 3:15-CV-05666, United States District Court for the Northern District of
California.

110. Deposition:January 24, 2019, JANICE SLY, individually and as Successor
in Interest to ISAAC JERMAINE KELLY, deceased, and CHARLES ROY,
individually and as Successor in Interest to ISAAC JERMAINE KELLY, deceased,
Plaintiffs, vs. LMV II AFFORDABLE, L.P., a California Limited Partnership doing
business as MEADOWVIEW II APARTMENTS; FWC REALTY SERVICES
CORPORATION, a Delaware Corporation; CBR PROPERTY MANAGEMENT
LLC, a California Corporation; STEVEN RAY DILLICK JR., an individual; and
DOES 1 through 50, inclusive, Defendants. Cause No. RIC1601732, Superior Court
of California, County of Riverside.

111. Trial Federal Court:
                       January 29, 2019, TRINA KOISTRA; and LARRY
FORD, Plaintiffs, vs. COUNTY OF SAN DIEGO; PLUTARCO VAIL; and DOES
1 through 50, inclusive, Defendants, Cause No. 3:16-CV-02539, United States
District Court for the Southern District of California.

112. Deposition:February 7, 2019, ANTHONY ECONOMUS, Plaintiff, vs.
CITY AND COUNTY OF SAN FRANCISCO; a municipal corporation, et al, City
of San Francisco Police Officer; DOES 1-50 INCLUSIVE, Defendants, Cause No.
4:18-CV-01071, United States District Court for the Northern District of California.

113. Deposition:February 11, 2019, GABRIEL LAKATOSH, on behalf of
himself and all others similarly situated, Plaintiff, vs. TECHTRONIC INDUSTRIES
COMPANY, LTD; MILWAUKEE ELECTRIC TOOL CORPORATION; THE
HOME DEPOT, INC.; and DOES 1-10, inclusive, Defendants, Cause No.
BC712875, Superior Court of California, County of Los Angeles.
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114. Deposition:February 13, 2019. JOSE VILLEGAS, an individual; MARIA
VILLEGAS, an individual; ALDO VILLEGAS, a minor, by and through his
guardian ad litem, Plaintiffs, vs. COUNTY OF SAN BERNARDINO, a
governmental entity; SAN BERNARDINO COUNTY SHERIFF'S
DEPARTMENT, a governmental entity; RYAN CONNER, an individual; PAUL
KOWALSKI, an individual; and DOES 1-100, inclusive, Defendants. Cause No.
CIVDS1606504, Superior Court of California, County of San Bernardino.

115. Deposition:February 14, 2019, S.A.0 A MINOR, BY AND THROUGH
HER GUARDIAN AD LITEM, KAREN NUNEZ VELASQUEZ,
INDIVIDUALLY AND AS SUCCESSOR INTEREST TO JONATHON
CORONEL, AND MARIA B. CORONEL, AN INDIVIDUAL, PLAINTIFFS, vs.
COUNTY OF SAN DIEGO, AN ENTITY; CHRISTOPHER VILLANUEVA AN
INDIVIDUAL; AND DOES 1 THROUGH 10, INCLUSIVE, DEFENDANTS.
Cause No. 17CV1459-WQH-AGS, United States District Court for the Southern
District of California.

116. Deposition:February 28, 2018, FERMIN VINCENT VALENZUELA,
Plaintiff, vs. CITY OF ANAHEIM, et al., Defendants, Cause No. 8:17-CV-00278,
United States District Court for the Central District of California.

117. Deposition:March 7, 2019, K.C., a minor, by and through her guardian ad
litem Carolina Navarro; A.S., a minor, by and through her guardian ad litem Araceli
Saenz; K.C., by and through her guardian ad litem Amber Neubert; JACQUELINE
LAWRENCE; KEITH CHILDRESS, SR., in each cause individually and as
successor in interest to Keith Childress, Jr., deceased; and JACQUELINE
LAWRENCE as administrator of the ESTATE OF KEITH CHILDRESS, JR.,
Plaintiffs, vs. LAS VEGAS METROPOLITAN POLICE DEPARTMENT,
UNITED STATES OF AMERICA DEPARTMENT OF JUSTICE; ROBERT
BOHANON; BLAKE WALFORD; JAMES LEDOGAR; BRIAN MONTANA; and
DOES 2-10, inclusive, Defendants. Cause No. 2:16-CV-03039, United States
District Court for the District of Nevada.
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118. Deposition:March 13, 2019, BAO XUYEN LE, INDIVIDUALLY, and as
the Court appointed PERSONAL REPRESENTATIVE OF THE ESTATE OF
TOMMY LE, HOAI "SUNNY" LE, Tommy Le's Father, DIEU HO, Tommy Le's
Mother, UYEN LE and BAO XUYEN, Tommy Le's Aunts, KIM TUYET LE,
Tommy Le's Grandmother, and QUOC NGUYEN, TAM NGUYEN, DUNG
NGUYEN, JULIA NGUYEN AND JEFFERSON NGUYEN, Tommy Le's
Siblings, Plaintiffs, vs. MARTIN LUTHER KING JR. COUNTY as sub-division of
the STATE OF WASHINGTON, and KING COUNTY DEPUTY SHERIFF
CESAR MOLINA. Defendants. Cause No. 2:18-CV-00055, United States District
Court for the Western District of Washington.

119. Deposition:March 19, 2019, MICHAEL WILLIAM FONG, M.D., an
individual, Plaintiffs, vs. COUNTY OF LOS ANGELES COUNTY SHERIFF'S
DEPARTMENT; VIRIDIANA PEREZ; AND DOES 1 THROUGH 20, Inclusive,
Defendants. Cause No. BC630745, Superior Court of California, County of Los
Angeles.

120. Deposition:March 27, 2019, KATHY CRAIG and GARY WITT,
individually and as successor-in-interest to BRANDON LEE WITT, deceased,
Plaintiffs, vs. COUNTY OF ORANGE, and NICHOLAS PETROPULOS, an
individual, and DOES 1-10, inclusive, Defendants. Cause No. 8: 17-CV-00491,
United States District Court for the Central District of California.

121. Deposition:April 4, 2019, PATRICK J. CAVANAUGH, Plaintiff, vs.
DONNY YOUNGBLOOD, Kern County Sheriff; BRIAN HULL,
Classifications/Gang Unit Sergeant; JOSH JENNINGS, Lerdo Pre-Trial Facility
Classification/Gang Unit Deputy; OSCAR FUENTEZ, Lerdo Pre-Trial Facility
Classification/Gang Unit Deputy; DAVID K. FENNELL, M.D., Medical Director,
Atascadero State Hospital; DAVID LANDRUM, Chief, Office of protective
Services, Atascadero State Hospital; CHRISTOPHER GUZMAN;
Classification/Gang Unit Officer, Atascadero State Hospital; DILLON MORGAN,
Classification/Gang Unit Officer, Atascadero State Hospital, Defendants. Cause No.
1:17-CV-00832, United States District Court for the Eastern District of California.

122. Deposition:April 12, 2019, TATYANA HARGROVE, Plaintiff, vs. CITY
OF BAKERSFIELD, BAKERSFIELD POLICE DEPARTMENT OFFICER
CHRISTOPHER MOORE, BAKERSFIELD POLICE DEPARTMENT SENIOR
OFFICER GEORGE VASQUEZ, and DOES 1-10, inclusive, Defendants. Cause
No. 1:17-CV-01743, United States District Court for the Eastern District of
California.
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123. Trial Federal Court:April 25, 2019, KATHY CRAIG and GARY WITT,
individually and as successor-in-interest to BRANDON LEE WITT, deceased,
Plaintiffs, vs. COUNTY OF ORANGE, and NICHOLAS PETROPULOS, an
individual, and DOES 1-10, inclusive, Defendants. Cause No. 8:17-CV-00491,
United States District Court for the Central District of California.

124. Deposition:May 21, 2019, DEMETRIC FAVORS, Plaintiff, vs. CITY OF
ATLANTA, a municipal corporation of the State of Georgia, Defendant. Cause No.
1:17-CV-03996, United States District Court for the Northern District of Georgia.

125.   Deposition:May 28, 2019, JESSE MONTELONGO, an individual;
VICTORIA MONTELONGO, an individual; THERESA LOZANO an individual;
J.M., a minor, by and through his Guardian Ad Litem, RUBY MORALES; E.M., a
Minor, by and through his Guardian Ad Litem RUBY MORALES; ALE. M., a
minor by and through her Guardian Ad Litem, ADOLFO GONZALEZ; ALI. M., a
minor by and through her Guardian Ad Litem, ADOLFO GONZALEZ; ALA. M., a
minor by and through her Guardian Ad Litem, ADOLFO GONZALEZ, Plaintiffs,
vs. THE CITY OF MODESTO, a municipal corporation; DAVE WALLACE,
individually and in his capacity as an officer for the CITY OF MODESTO Police
Department; and DOES 1-25, DEFENDANTS. Cause No. 1:15-CV-01605, United
States District Court for the Eastern District of California.

126. Deposition:May 30, 2019, STAN SEVERI and MYRANDA SEVER!,
Plaintiffs, vs. COUNTY OF KERN; KERN COUNTY SHERIFF DONNY
YOUNGBLOOD, in his individual capacity; DEPUTY GABRIEL ROMO, in his
individual capacity; AND DOES 1 to 10, inclusive, in their individual capacities,
Defendants. Cause No. 1:17-CV-00931, United States District Court for the Eastern
District of California.

127. Deposition:June 12, 2019, ANDRE THOMPSON, a single man; and
BRYSON CHAPLIN, a single man, Plaintiffs, vs. CITY OF OLYMPIA, a municipal
corporation and local government entity; and RYAN DONALD AND "JANE DOE"
DONALD, individually and the marital community comprised thereof, Defendants.
Cause No. 3:18-cv-05267, United States District Court for the Western District of
Washington.

128. Deposition:June 14, 2019, PRESTON vs. BOYER, et al., Cause No. 2:16-
CV-01106, United States District Court for the Western District of Washington.
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129. Trial Federal Court:
                       June 20, 2019, DANIEL MANRIQUEZ, Plaintiff, vs.
J. VANGILDER, et al., Cause No. 16-cv-01320 HSG (PR), United States District
Court for the Northern District of California.

130. Deposition:June 25, 2019, LISA G. FINCH, Individually, as Co-
Administrator of the Estate of Andrew Thomas Finch, deceased, and as Next Friend
of her minor granddaughter, AF; DOMINICA C. FINCH, as Co-Administrator of
the Estate of Andrew Thomas Finch, deceased; and ALI ABDELHADI, Plaintiffs,
vs. CITY OF WICHITA, KANSAS; JOHN DOE POLICE OFFICERS 1-10,
Defendants. Cause No. 18-CV-01018, United States District Court for the District
of Kansas.

131. Deposition:,June 28, 2019, PAMELA ANDERSON, Individually and as
Independent Administrator of the Estate of JAMES ANDERSON, deceased,
Plaintiff, vs. CITY OF CHICAGO, a Municipal Corporation, and OFFICER
CHRISTOPHER RAMEY, individually and as agent, servant and employee of the
CITY OF CHICAGO, Defendants, (Cause No. 16 L 003346), Circuit Court of Cook
County, Illinois.

132. Deposition:July 2, 2019, BRIDGET BRYDEN, Plaintiff, vs. CITY OF
SANTA BARBARA; and DOES 1 to 50, Cause No. 17CV01529, Superior Court of
California, County of Santa Barbara.

133. Trial State Court:July 3, 2019, JANICE SLY, individually and as
Successor in Interest to ISAAC JERMAINE KELLY, deceased, and CHARLES
ROY, individually and as Successor in Interest to ISAAC JERMAINE KELLY,
deceased, Plaintiffs, vs. LMV II AFFORDABLE, L.P., a California Limited
Partnership doing business as MEADOWVIEW II APARTMENTS; FWC
REALTY SERVICES CORPORATION, a Delaware Corporation; CBR
PROPERTY MANAGEMENT LLC, a California Corporation; STEVEN RAY
DILLICK JR., an individual; and DOES 1 through 50, inclusive, Defendants. Cause
No. RIC1601732, Superior Court of California, County of Riverside.

134. Deposition:July 8, 2019, WENDY LAGUNA, individually and as The
Successor in Interest of the ROBERT CAMACHO Estate, Deceased, Plaintiff, vs.
COMMUNITY PROTECTIVE SERVICES, Aa California Corporation; AUSTIN
HOUSIGN PATROL, a California Business entity of unknown form; WHEELER
STEFFEN PROPERTY MANAGEMENT, a California business entity of unknown
form; and DOES 1 through 100, inclusive, Defendants.             Cause No.
CIVDS1516654, Superior Court of California, County of San Bernadino.
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135. Deposition:July 17, 2019, DAVID STEININGER, an individual, Plaintiff,
vs. MARIPOSA GRILL AND CANTINA, INC., an FTB Suspended California
Corporation; and DOES 1-50, Defendants. Cause No. BC 689374, Superior Court
of California, County of Los Angeles.

136. Trial State Court:
                     July 29, 2019, WENDY LAGUNA, individually and as
The Successor in Interest of the ROBERT CAMACHO Estate, Deceased, Plaintiff,
vs. COMMUNITY PROTECTIVE SERVICES, Aa California Corporation;
AUSTIN HOUSIGN PATROL, a California Business entity of unknown form;
WHEELER STEFFEN PROPERTY MANAGEMENT, a California business entity
of unknown form; and DOES 1 through 100, inclusive, Defendants. Cause No.
CIVDS1516654, Superior Court of California, County of San Bernadino.

137. Deposition:August 13, 2019, LISA G. FINCH, Individually, as Co-
Administrator of the Estate of Andrew Thomas Finch, deceased, and as Next Friend
of her minor granddaughter, AF; DOMINICA C. FINCH, as Co-Administrator of
the Estate of Andrew Thomas Finch, deceased; and AL! ABDELHADI, Plaintiffs,
vs. CITY OF WICHITA, KANSAS; JOHN DOE POLICE OFFICERS 1-10,
Defendants. Cause No. 18-CV-01018, United States District Court for the District
of Kansas.

138.   Trial State Court:September 6, 2019, PAMELA ANDERSON,
Individually and as Independent Administrator of the Estate of JAMES
ANDERSON, deceased, Plaintiff, vs. CITY OF CHICAGO, a Municipal
Corporation, and OFFICER CHRISTOPHER RAMEY, individually and as agent,
servant and employee of the CITY OF CHICAGO, Defendants, Cause No. 16 L
003346, Circuit Court of Cook County, Illinois.

139. Trial Federal Court:
                      September 25, 2019, ANDRE THOMPSON, a single
man; and BRYSON CHAPLIN, a single man, Plaintiffs, vs. CITY OF OLYMPIA,
a municipal corporation and local government entity; and RYAN DONALD AND
"JANE DOE" DONALD, individually and the marital community comprised
thereof, Defendants. Cause No. 3:18-cv-05267, United States District Court for the
Western District of Washington.

140. Deposition:October 1, 2019, RUSSELL MANNING, Plaintiff, vs. CITY
OF PALM SPRINGS, PALM SPRINGS POLICE DEPARTMENT, COUNTY OF
RIVERSIDE, OFFICER MATT OLSON, DOES 1 to 100, inclusive, Defendants.
Cause No. PSC 1704634, Superior Court of California, County of Riverside.
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141. Deposition:October 10, 2019, ESTATE OF TYLER S. RUSHING, et al.,
Plaintiffs, vs.AG PRIVATE PROTECTION, INC., et al., Defendants. Cause No.
2:18-CV-01692, United States District Court for the Eastern District of California.

142. Trial Federal Court:
                       October 17, 2019, TATYANA HARGROVE, Plaintiff,
vs. CITY OF BAKERSFIELD, BAKERSFIELD POLICE DEPARTMENT
OFFICER CHRISTOPHER MOORE, BAKERSFIELD POLICE DEPARTMENT
SENIOR OFFICER GEORGE VASQUEZ, and DOES 1-10, inclusive, Defendants.
Cause No. 1:17-CV-01743, United States District Court for the Eastern District of
California.

143. Trial State Court:
                     October 22, 2019, RUSSELL MANNING, Plaintiff, vs.
CITY OF PALM SPRINGS, PALM SPRINGS POLICE DEPARTMENT,
COUNTY OF RIVERSIDE, OFFICER MATT OLSON, DOES 1 to 100, inclusive,
Defendants. Cause No. PSC 1704634. Superior Court of California, County of
Riverside.

144. Trial State Court:October 29, 2019, BRIDGET BRYDEN, Plaintiff, vs.
CITY OF SANTA BARBARA; and DOES 1 to 50, Cause No. 17CV01529, Superior
Court of California, County of Santa Barbara.

145.   Deposition:November 1, 2019, ROGER KIRSCHENBAUM, as
Administrator of the Estate of GUADALUPE OSORNIO HURTADO, deceased,
and ROGER KIRSCHENBAUM, as Next Friend and Conservator for
ALEXANDER OSORNIO RESENDEZ, a minor, Plaintiffs, vs. COBB COUNTY,
a political Subdivision of the State of Georgia, Defendant. CIVIL ACTION FILE
NO.: 18-A-963, State Court of Cobb County, Georgia.

146.    Trial Federal Court: November 13, 2019, FERMIN VINCENT
VALENZUELA, Plaintiff, vs. CITY OF ANAHEIM, et al., Defendants, Cause No.
8:17-CV-00278, United States District Court for the Central District of California.

147. Deposition:November 14, 2019, ABRAM AND COURTNEY CLAY,
Plaintiffs, vs. SUNFLOWER DEVELOPMENT, LLC, ET AL., Defendants. Cause
No. 1716-CV-22823, Circuit Court of Jackson County, Missouri.
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148. Deposition:December 5, 2019, FRANK GALLARDO, PLAINTIFF, vs.
BEVERLY HOSPITAL, MICHAEL JOSEPH GAXIOLA; and DOES 1 through 20,
inclusive, Defendants., Cause No. BC678192, Superior Court of California, County
of Los Angeles.

149. Deposition:December 18, 2019, GEORGE FAULKNER, APRIL
FAULKNER, Plaintiffs, vs. BRIAN LINDERMAN, STEVEN JOYCE, JEREMY
MYERS, DOES 1 TO 20, Defendants, Cause No. 37-2019-00000497-CU-PO-CTL,
Superior Court of California, County of San Diego.

150. Deposition:January 6, 2020, DAVID COLEMAN, an individual, Plaintiff,
vs. ESTATE OF JEROME TENHUNDFELD, DECEASED; AND DOES 1 TO 10,
Defendants. Cause No. MCC 1800683, Superior Court of California, County of
Riverside.

151. Trial State Court:January 16, 2020, GEORGE FAULKNER, APRIL
FAULKNER, Plaintiffs, vs. BRIAN LINDERMAN, STEVEN JOYCE, JEREMY
MYERS, DOES 1 TO 20, Defendants, Cause No. 37-2019-00000497-CU-PO-CTL,
Superior Court of California, County of San Diego.

152. Deposition:February 13, 2020, MITCHELL LOWREY; GREGORY
PERRY; NICHOLE PERRY; CYNTHIA RILEY; and LORENA RASCON,
Plaintiffs, vs. NATIVIDAD MEDICAL CENTER; GARLAND GILL, R.N.,
MICHAEL MOELLER, M.D.; EUGENE RODRIGUEZ as a nominal defendant;
DAVID WILLIAMS as a nominal defendant; COUNTY OF MONTEREY; STATE
OF CALIFORNIA; FIRST ALARM SECURITY AND PATROL INC., and DOES
1-50, Inclusive, Defendants. Cause No. M129305, Superior Court of California,
County of Monterey.

153. Deposition:February 19, 2020, RUDY GONZALEZ, Plaintiff, vs. STATE
OF CALIFORNIA, CALIFORNIA HIGHWAY PATROL, RAYMOND CHAVEZ,
BRADLEY KEMP, Does 1 to 20, Defendant(s). Cause No. RIC1804244, Superior
Court of California, County of Riverside.

154. Deposition:February 24, 2020, BRIAN O'NEAL PICKETT III, A
MINOR, AND MICAH OMARI PICKETT, A MINOR, BY AND THROUGH
THEIR GUARDIAN AD LITEM TAMIA GILBERT, Plaintiffs, vs. COUNTY OF
LOS ANGELES, LOS ANGELES COUNTY SHERIFF'S DEPARTMENT, AND
DOES 1 THROUGH 50, INCLUSIVE, Defendants. CAUSE NO. TCO28173,
Consolidated with TCO28210, Superior Court of California, County of Los Angeles.
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155. Deposition:February 28, 2020, ODILA PENALOZA, INDIVIDUALLY
AND AS SUCESSOR IN INTEREST TO ERICK AGUIRRE; AND SAMANTHA
GOODE, AN INDIVIDUAL, PLAINTIFFS, vs. CITY OF RIALTO; JARROD
ZIRKLE; MATTHEW LOPEZ AND DOES 1-10, INCLUSIVE, DEFENDANTS.
Cause No. 5:19-CV-01642, United States District Court for the Central District of
California.

156.  Trial Federal Court: March 5, 2020, ODILA PENALOZA,
INDIVIDUALLY AND AS SUCESSOR IN INTEREST TO ERICK AGUIRRE;
AND SAMANTHA GOODE, AN INDIVIDUAL, PLAINTIFFS, vs. CITY OF
RIALTO; JARROD ZIRKLE; MATTHEW LOPEZ AND DOES 1-10,
INCLUSIVE, DEFENDANTS. Cause No. 5:19-CV-01642, United States District
Court for the Central District of California.

157.   Deposition:March 12, 2020, MARLON JOHNSON, an individual,
Plaintiff, vs. COUNTY OF SAN BERNARDINO; SAN BERNARDINO
SHERIFF'S DEPARTMENT; SHERIFF JOHN MCMAHON; DEPUTY
ALEJANDRO RAMOS; DEPUTY MATTHEW BALTIERRA; DEPUTIES Does 1
through 5; and DOES 6 through 10, Inclusive, Defendants. Cause No. 5:18-CV-
02523, United States District Court for the Central District of California.

158. Deposition:April 27, 2020, EDWARD BRIAN BOOKER, Plaintiff, vs.
POLICE OFFICER ANTHONY WONG SHUE, POLICE OFFICER LUIS MATEO
and POLICE SERGEANT WILLIAM C., in their individual capacities, Defendants.
Cause No. 6:19-CV-00773, United States District Court for the Middle District of
Florida.

159. Deposition:May 1, 2020, RACHEL FEAR; SARAH FEAR; STEVEN
FEAR; BETTY LONG; AND LORI CHEVOYA, DEFENDANTS, vs. ALEX
GEIGER; CITY OF EXETER POLICE DEPARTMENT, CITY OF GROVER
BEACH; CITY OF GROVER BEACH POLICE DEPARTMENT; CHRISTOPHER
BELAVIC; MONICA BELAVIC; AND DOES 1 THROUGH 100, INCLUSIVE,
DEFENDANTS. Cause No. 17CV-0529, Superior Court of California, County of
San Luis Obispo.

160. Deposition:May 21, JOHN BOWLES, individually, Plaintiff, vs. CITY OF
SAN JOSE; TODD AH YO; WILLIAM WOLFE; ERICK ENDERLE, and DOES
1-10, inclusive, Defendants. Cause No. 5:19-CV-01027, United States District Court
for the Northern District of California.
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161. Deposition:July 6, 2020, JEAN HENDERSON, as next friend and guardian
of and for CHRISTOPHER DEVONTE HENDERSON, Plaintiff, vs. HARRIS
COUNTY, TEXAS; and ARTHUR SIMON GARDUNO, Defendants. Cause No.
4:18-CV-02052, United States District Court for the Southern District of Texas.

162. Deposition:July 10, 2020, ANGEL JOSE VELASCO, Plaintiff, vs. CITY OF
EL MONTE, CITY OF BALDWIN PARK; CORPORAL DANNY TATE;
OFFICER ERNEST BARRIOS; and DOES 1 to 10, Inclusive, Defendants. Cause
No. 2:19-CV-07956, United States District Court for the Central District of
California.

163. Deposition:
               August 25, 2020, RHONDA HAGOOD, Plaintiff, vs. KERN
COUNTY, a California municipal entity; NICK EVANS, an individual; TODD
NEWELL, an individual; and DOES 1 THROUGH 10, Inclusive, Defendants. Cause
No. 1:18-CV-01092, United States District Court for the Eastern District of
California.

164. Deposition:August 31, 2020, S.S.L., A MINOR, by and through his Guardian
Ad Litem MARISSA J. LOPEZ AVILA as an individual and heir-at-law; S.S.L., A
Minor, by and through his Guardian Ad Litem MARISSA J. LOPEZ AVILA as
Successor in Interest to SERGIO SILVA-CARVAJAL, aka SERGIO SILVA,
Plaintiffs, vs. COUNTY OF LOS ANGELES; JOHN APOSOTOL, an individual;
and DOES 1 through 10, Inclusive, Defendants. Case No. 2-17-CV-05544-TJH-
AGR, United States District Court for the Central District of California.

165. Deposition:October 09, 2020, M.H. C., a minor, by and through his guardian
ad litem, ANNA CANO, Plaintiffs, vs. COUNTY OF LOS ANGELES; LOS
ANGELES COUNTY PROBATION CHIEF TERRI MCDONALD, in her
individual and official capacity; and DOES 1 through 20, inclusive, Defendants.
Case No. 2:18-cv-08305-MWF-AFM, United States District Court for the Central
District of California.

166. Deposition:
               October 20, 2020, ANTHONY THOMAS, Plaintiff, vs. CITY OF
CONCORD; OFFICER DAVID SAVAGE (Badge No. 360); OFFICER DANIEL
WALKER; CORPORAL CHRISTOPHER BLAKELY (Badge No. 491); SERGEANT
TODD STROUD; and DOES 1-50,     Defendants. Case No. 3:18-cv-07484-EDL, United
States District Court for the Northern District of California.
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167. Deposition:October 23, 2020, Mussalina Muhaymin, as Personal
Representative of the Estate of Muhammad Abdul Muhaymin Jr., Plaintiff. vs. City
of Phoenix, an Arizona Municipal Corporation; Antonio Tarango; Officer Oswald
Grenier; Officer Kevin McGowan; Officer Jason Hobel; Officer Ronaldo Canilao;
Officer David Head; Officer Susan Heimbigner; Officer James Clark; Officer
Dennis Leroux; Officer Ryan Nielsen; Officer Steven Wong; and Does Supervisors
1-5, Defendants, Case No. 17-cv-04565-PHX-SMB, United States District Court for
the District of Arizona.

168. Deposition:November 18, 2020, JOSEPH FOSHEE, Plaintiff, vs.
CITY OF GILROY; ROBERT ZUNIGA; and DOES 1-10, inclusive, Defendants.
Case No. 5:20-cv-00132, United States District Court for the Northern District of
California.

169. Deposition:November 30, 2020, DEBRA BRAVO and FRED BRAVO,
Plaintiffs, vs. DEFENSE LOGISTICS SPECIALIST CORPORATION, a California
corporation, NICK CARTER, an individual, and Does One through Twenty,
inclusive, Defendants. Case No. CIV MSC 16-00194, Superior Court of California,
Contra Costa County.

170. Deposition:December 16, 2020, LISA VARGAS, Plaintiff, vs. COUNTY
OF LOS ANGELES, NIKOLIS PEREZ, JONATHAN ROJAS, and DOES 1
through 10, inclusive, Defendants. Case No. 2:19-cv-03279-PSG-AS, Unites States
District Court, Central District of California.

171. Deposition:January 6, 2021, ESTATE OF ALEJANDRO SANCHEZ and
BERTHA SANCHEZ, Plaintiffs. vs. COUNTY OF STANISLAUS, STANISLAUS
COUNTY SHERIFF'S DEPARTMENT, ADAM CHRISTENSEN, SHANE
ROHN, BRETT BABBITT, EUGENE DAY, JUSTIN CAMARA, JOSEPH
KNITTEL, ZEBEDEE POUST, HECTOR LONGORIA, and DOES 8 to 50,
Defendants, (Case No. 1:18-cv-00977-DAD-BAM), United States District Court for
the Eastern District of California.

172. Deposition:January 8, 2021 KATRINA EISINGER, an individual;
GREGORY J. EISINGER, an individual, Plaintiffs, vs. CITY OF ANAHEIM,
Police Chief JORGE CISNEROS, in his Individual and OFFICIAL capacity, DOES
1-100, Inclusive, Defendants, (Case No. 30-02018-01035259-CU-PA-CJC),
superior Court of California, Orange County.
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173. Deposition:January 13, 2021, ANGELA JANELL BURROWS, individually
and as independent administrator of, and on behalf of, the ESTATE OF
STEPHANIE GONZALES and STEPHANIE GONZALES' heirs-at-law, Plaintiff,
vs. MIDLAND COUNTY, TEXAS; GEORGE DARRELL RHEA; MATTHEW
FRANCIS GROESSEL; MONICA MARIE ALLEN; CITY OF MIDLAND,
TEXAS; and BLAKE ALLEN BLANSCETT, Defendants. CIVIL ACTION NO.
7:20-CV-00062-DC, United States District Court for the Western District of Texas.

174. Deposition: January 18, 2021, REYNA ANGELITA AMEZCUA, an
individual, Plaintiff, vs. MCDONALD'S CORPORATION; MCDONALD'S
STORE #640; MCRU INCORPORATED; TOP WATCH SECURITY; HASHEM
MOHAMMAD; and DOES 1 through 30, inclusive, Defendants. Case Number
BC724108, Superior Court of the State of California for the County of Los Angeles-
Long Beach.

175. Deposition:February 3, 2021, ISMAEL RAMIREZ, an individual, Plaintiff,
vs. NELSON RESTAURANT GROUP, INC., A California corporation; JULIAN
NELSON, an individual; and DOES 1 through 20, Defendants.
Case No. MCC 18800814, Superior Court of the State of California, for the County
of Riverside-Southwest District.

176. Deposition:February 11, 2021, ESTATE OF EDWARD LOWELL HILLS;
JOSHUA HILLS, individually and as the Personal Representative of the ESTATE
OF EDWARD LOWELL HILLS, Plaintiff, vs. MICHAEL J. GENTRY, et al.,
Defendants, Case No. 3:19-cv-05634-RBL, Western District of Washington at
Tacoma.

177. Deposition:February 22, 2021, OMAR GOMEZ, individually, Plaintiff, vs.
CITY OF SANTA CLARA; JORDAN FACHKO; and DOES 1-10, inclusive,
                                     Northern District of California.
Defendants, Case No. 5:19-cv-05266-LHK,

178. Deposition:February 25, 2021, Noel Hall and Christina Hall, Plaintiffs,
vs. City of Atlanta, a municipal corporation of the State of Georgia; GEORGE N.
TURNER, in his individual capacity as former Chief of Police of the City of
Atlanta Police Department and MATHIEU CADEAU, in his individual capacity as
former Police Officer of the City of Atlanta Police Department, Defendants.
Civil Action File No. 1:18-cv-4710, Northern District of Georgia, Atlanta
Division.
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179. Deposition:March 5, 2021, STEVEN RICHARD ALLGOEWER,
Plaintiff, vs. CITY OR TRACY; TRACY POLICE DEPARTMENT; TRACY
POLICE CHIEF DAVID KRAUSS; TRACY POLICE DEPARTMENT OFFICER
N. MEJIA, ID NO. 1233; TRACY POLICE DEPARTMENT OFFICER T.
FREITAS, ID NO. 1250; and DOES 1 THROUGH 20, INCLUSIVE, Defendants.
Case No. STK-CV-UCE-2008-0011184, Superior Court of California, County of
San Joaquin.

180. Deposition:March 9, 2021, AMANDA SOMMERS; and RICHARD
SOMMERS, Plaintiffs, vs. CITY OF SANTA CLARA; COLIN STEWART; and
DOES 1-25, Defendants, Case No. 5:17-cv-04469 BLF, United States District
Court, Northern District of California.

181. Deposition:March 12, 2021, KYRA BERNHARDT, in her individual
capacity as a Personal Representative of THE ESTATE OF GENE BERNHARDT
aka MERVYN GENE BERNHARDT, Plaintiff, vs. COUNTY OF HAWAI,
STANLEY KAINA, in his individual capacity and as a Police Officer of the
Hawaii Police Department, JOHN DOES 1-10, JANE DOES 1-10, DOE
CORPORATIONS 1-10, DOE PARTNERSHIPS 1-10, DOE
UNINCORPORATED ORGANIZATIONS 1-10. Case No. CV19-00209 DKW-
KJM, Unites States District Court, District of Hawaii.

182. Deposition:March 17, 2021, CINDY M. ALEJANDRE; and DAVID
GONZALEZ II as Co-Successors-in-Interest to Decedent David Gonzalez III,
Plaintiffs, vs. COUNTY OF SAN JOAQUIN, a municipal corporation, et. al.,
Defendants. Case Number: 2:19-cv-00233-WBS-KJN, United States District
Court, Eastern District of California.

183. Deposition:March 26, 2021, TYLER GRIFFIN, Plaintiff, vs. CITY OF
ATLANTA, DONALD VICKERS, MATTHEW ABAD, and JOHN DOE's #1-5,
Defendants. Civil Action File No. 1:20-cv-02514-TWT, Northern District of
Georgia, Atlanta Division.
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184. Deposition:March 29, 2021, CLIFTON PLEASANT, JR., an individual
and successor-in-interest of CLIFTON PLEASANT, SR., deceased, Plaintiff, vs.
HUMBERTO MIRANDA, an individual; TARRON BROADWAY, an individual;
UNIDENTIFIED DEPUTIES, individuals; CITY OF VICTORVILLE, a public
entity; COUNTY OF SAN BERNARDINO, a public entity; MILES KOWALSKI,
an individual, Defendants, Case No. 5:20-cv-00675-JGB-SHK, United States
District Court, Central District of California.

185. Trial State Court:
                     April 6-7, 2021, KATRINA EISINGER, an individual;
GREGORY J. EISINGER, an individual, Plaintiffs, vs.
CITY OF ANAHEIM, Police Chief JORGE CISNEROS, in his Individual and
OFFICIAL capacity, DOES 1-100, Inclusive, Defendants.
(Case No. 30-2018-0101-35259-CU-PA-CJC), Superior Court of California,
County of Orange.

186. Deposition:April 22, 2021, Darrell Allen, Sr. and Mary V. Jennings,
Plaintiffs, vs. County of San Bernardino, San Bernardino County Sheriff-Coroner
John McMahon, Kyle Schuler, Jared Rodgers, inclusive, Defendants.
Case Number: 5:20-cv-00283-JFW (SHKx), United States District Court, Central
District of California.

187. Deposition:May 10, 2021, FRANCES EARLINE SIMS, INDIVIDUALLY
AND AS DEPENDENT ADMINISTRATOR OF THE ESTATE OF STEVEN
MITCHELL QUALLS; Plaintiff, vs. CITY OF JASPER TEXAS, TODERICK D.
GRIFFIN, STERLING RAMON LINEBAUGH, HEATHER RENEE O'DELL,
JOSHUA HADNOT, DEFENDANTS, CIVIL ACTION NO. 1:20-CV-00124,
United States District Court for the Eastern District of Texas.

188. Deposition:May 11, 2021, MICHAEL DAVIS, Plaintiff, vs. CITY OF
RICHMOND; POLICE CHIEF BISA FRENCH; SERGEANT KRISTOPHER TONG;
OFFICER SAVANNAH STEWART; and DOES 1-50; Defendants.
Case No. 4:20-cv-02774-SBA. United States District Court, Northern District of
California.

189. Deposition:May 18, 2021, MELANIE GILLILAND, an individual,
Plaintiff, vs. CITY OF PLEASANTON, a governmental entity; ELIJAH
NATHANIEL HENRY, an individual; and DOES 1-50, inclusive, Defendants.
Case No. RG18924833. Superior Court of the State of California, County of
Alameda.
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Trial Testimony:35
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                        On-Scene Consulting Group, LLC
                                  Scott A. DeFoe
                                2021 Fee Schedule


Retainer Fee:                                                          $4000.00
Consulting time, including but not limited to, case reviews, report reviews,
deposition reviews, analysis of criminal investigations, research, interviews,
consultation time, meetings, site inspections, deposition preparation, deposition
support, interpretation of police documents, interpretation of investigative files,
report preparation, preparation for negotiation or any miscellaneous tasks as
                                                                      $375.00 per
assigned by the client attorney or opposing attorney (client approved).
hour.


Consulting time for the following professional services: deposition testimony, trial
testimony and any other legal testimony.$475.00 per hour.


Fees for all depositions shall be paid prior to the start of the deposition based upon
the anticipated length of the deposition with a 3-hour minimum fee $1425.00
                                                                        of
All out of state travel time:                                   $100.00 per hour.
Fees for consulting time remain the same as in-state assignments. Travel and
actual expenses reasonably and necessarily incurred (meals, lodging, ground
transportation, rental car, etc.) will be billed to the client at cost and copies of
expenses will be provided when available. On-Scene Consulting Group LLC, may
request a travel retainer of $1000.00 specific to this travel prior to the travel date.
Actual out of pocket expenses will be charged against the travel retainer until such
time as it is exhausted. Any balance remaining will be applied to professional
services outstanding balances.
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                EXHIBIT B
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                                 Allman & Petersen Economics, LLC
7677 Oakport Street, Suite 610                                                Phillip H. Allman, Ph.D.
Oakland, CA 94621                                                            Jeffrey S. Petersen, Ph.D.
(510) 382-1550                                                              Max D. Allman, M.A., CFA
(510) 382-1472 (FAX)                                                        www.allmaneconomies.com



                                         Federal Rule 26(a)(2)(B)
                                      Dominguez v. City of San Jose
                                   Report of Plaintiff's Economic Expert
                                               April 6, 2021

1. My name is Phillip H. Allman.

2. My resume is attached to this report. I received a Ph.D. in economics from Michigan State
University in 1982. My primary fields of expertise are econometrics, financial economics, and
labor economics. I have published articles in economics on topics such as forecasting interest
rates, wage growth, valuing pensions and conducting surveys in class action wage and hour
cases. I have testified in over 700 trials involving the valuation of economic damages. My fee
schedule for report preparation and testimony is attached. The list of trials and depositions in
which I have testified over the last four years is attached.

3. I have been retained by plaintiff's counsel to conduct an analysis of the economic loss
sustained by the Dominguez family as a result of the death of Jacob Dominguez on September
15, 2017. The present discounted value the Dominguez family's economic loss is $1,242,623.

4. To perform the economic loss analysis I have:

    •   reviewed Mr. Dominguez's W-2's with Windows Installation Specialists for 2014 to
        2016
    •   reviewed Mrs. Dominguez's discovery responses
    •   reviewed data on work life expectancy and retirement ages
    •   projected the average value household services performed by males based on data from
        the Dollar Value of a Day and the California Employment Development Department
    •   projected future inflation and wage growth utilizing data from the U.S. Bureau of Labor
        Statistics and the Federal Reserve Bank
    •   projected future interest rates utilizing data from the Federal Reserve Bank, the U.S.
        Treasury Department, and the U.S. Bureau of Labor Statistics.

5. Mr. Dominguez died on September 15, 2017 at the age 33.9 years. He was married to Jessica
Dominguez and had three children — Jacob (11), Jordan (age 8) and Jaliyah (age 7). As a result
of Mr. Dominguez's death, the Dominguez family has sustained, and will continue to sustain in
the future, a loss of his wages and household services.
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6. Mr. Dominguez was last employed with Window Installation Specialist from March 10, 2014
to June 10, 2016 . His annualized income during that period was $35,159 in 2017 dollars. 2
                      1




7. The Dominguez family's loss of income is measured from Mr. Dominguez's date of death
until his projected retirement age. Based on his age and level of education at the date of death,
Mr. Dominguez's work life expectancy was 21.7 years; his statistical years to retirement was
27.9 years — a retirement age of 61.8.3 Furthermore, his employment ratio (worklife years

divided by years to retirement) was 0.78.

8. The annual loss of Mr. Dominguez's income to the Dominguez family is projected at $27,424
(2017 Vs)•4 Table 1 shows the past loss (loss through the date of this report) of Mr.
Dominguez's wages. This amount is $87,481.

9. No income growth was projected from 2021 thru one year past the report date. Future wage
growth from one year past the report date is projected at 2.60 percent per year. This projection is
based on the rate of growth for all workers in the United States. According to the Employment
Cost Index, wages have grown 0.60 percent faster than the rate of inflation since 1982. 5Inflation
is projected to grow at 2.0 percent per year. This projection is based on the Federal Reserve
Board of Governors target inflation rate.

10. Future values for one year from the report date are discounted to present value using the
one-year Treasury bill rate of 0.04 percent. All values from one year past the report date forward
are discounted to present value using an interest rate of 3.5 percent. This rate is based on the
historic yield of a balanced portfolio of three-month and ten-year Treasury securities. Since
1955, the average yield on this portfolio of Treasury securities has been 1.5 percent higher than
the rate of inflation. The rate of inflation is projected at the Federal Reserve Bank's targeted rate
of 2.0 percent.

11. The present discounted value of the loss of Mr. Dominguez's future wages is $534,050.6

12. The Dominguez family's projected loss of household services is based on the average
amount of services performed by a person with employment characteristics and family
demographics resembling Mr. Dominguez's family. 7 For example, the average male with the
youngest child in the household between age 2 and 5 years performs 21.2 hours of household
services per week.8 The hourly value of each household service is based on data from the
California Employment Development Department and totals to $16.03 per hour in 2020 dollars.
Thus, the annual value of Mr. Dominguez's household services at the time of his death was


I Source: letter dated July 12, 2019 from Julie Lukas (Controller of Window Installation Specialists).
2 See Table A.
3 Source for worklife expectancy and statistical years to retirement: Richards, Hugh and Michael Donaldson, 2009,

Life and Worklife Expectancies,(Lawyers and Judges Publishing Company, Inc.: Tucson, AZ).
4 $35,159 (annualized income with last employer) x 0.78 (employment ratio).

5 Source: Bureau of Labor Statistics.

6 See Table 3.

7 Source: Expectancy Data,       The Dollar Value of Day: 2019 Dollar Valuation.         Shawnee Mission, Kansas, 2020.
8 See Table C.




                                                               2
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$17,649 (2020 $'s). 9 The bundle of household services performed is projected to change as the
employment situation and the demographics of the household (age of children) change.

13. The Dominguez family's loss of household services is measured from Mr. Dominguez's date
of death until his normal life expectancy. Mr. Dominguez's life expectancy at his date of death
was 44.3 (78.2 years of age).19The past loss of household services is $52,767." The present
discounted value of the future loss of Mr. Dominguez's household services is $569,324.
                                                                                     12



14. As shown in the Economic Loss Summary Table, the past loss sustained by the Dominguez
family is $140,248; the present discounted value of the projected future loss for the Dominguez
family is $1,102,374. The total economic loss is the sum of the past and future losses --
$1,242,623.

15. I am prepared to testify to these projections in deposition or at trial if called upon to do so.

16. The projections are based on the cited references and sources. Thus, these figures are
subject to change if the parameters on which they were based change.


    pogiszeCro.41.....
Phillip H. Allman, Ph.D.




9$16.03 per hour x 21.2 hours per week x 52 weeks per year.
I° Source for life expectancy: National Vital Statistics Reports Volume 69, Number 12 November 17, 2020 United
States Life Tables, 2018 (published November 17, 2020).
I I See Table 2.
12 See Table 4.


                                                    3
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          ECONOMIC LOSS SUMMARY FOR THE DOMINGUEZ FAMILY
      (LOSS OF MR. DOMINGUEZ'S WAGES AND HOUSEHOLD SERVICES)

                                                       Full Value              Present
                                                                            Discounted
                                                                                 Value

ST LOSS
 Wages                                           $       87,481     1   $      87,481    1



 Household Services                              $       52,767     2   $      52,767    2



TAL PAST LOSS                                    $      140,248         $     140,248


TURE LOSS
 Wages                                           $      784,698     3   $     534,050    3

 Household Services                              $    1,305,018     4   $     568,324    4



TAL FUTURE LOSS                                  $    2,089,716         $   1,102,374


TAL ECONOMIC LOSS                                $    2,229,965         $   1,242,623

numbered footnotes refer to table numbers.




                             Allman Petersen Economics, LLC
                                  7677 Oakport Street, Suite 610
                                       Oakland, CA 94621
                                         (510) 382-1550
                                   www.allmaneconomics.com
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                                                                                              Table 1

                PAST INCOME LOSS FOR THE DOMINGUEZ FAMILY
                    (LOSS OF JACOB DOMINGUEZ'S WAGES)

eriod               Percent of    Mr. Dominguez's            Mr. Dominguez's          Period Loss
                         Year      Annual Wages              Annual Personal
                                                                 Consumption

7-   12/31/17         29.59%               $27,424   1A                 $4,295   2         $6,844    3

8-   12/31/18        100.00%               $28,260   1 B                $4,426            $23,834
9-   12/31/19        100.00%               $29,122                      $4,560            $24,561
0-   12/31/20        100.00%               $30,010                      $4,700            $25,310
1-   04/07/21         26.58%               $30,925   1C                 $4,843              $6,931

                                                                                          $87,481

59 (2017 $'s, see Table A) x 0.78 (employment ratio: 21.7 years (worklife expectancy)! 27.9 years
years to retirement)).
20 projected annual increases: 3.05% (source: U.S. Bureau of Labor Statistics, Employmnent Cost

projected increase: 2.60% (2.0% projected inflation (Federal Reserve Board of Governors current
 target) + 0.60% projected real wage growth (average for 1982-2020)).
of Wages (2 adults & 3 children; see Table B).
 of Year x (Annual Wages - Annual Personal Consumption).
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                                                                                                     Table 2

     PAST LOSS OF HOUSEHOLD SERVICES FOR THE DOMINGUEZ FAMILY
                (LOSS OF JACOB DOMINGUEZ'S SERVICES)

d               Percent of                 Projected                       Mr.         Period Loss
                     Year             Annual Value of             Dominguez's
                                                    Mr.        Annual Personal
                                         Dominguez's              Consumption
                                            Services

    12/31/17       29.59%                     $15,773     1A           $1,483               $4,228   3

    12/31/18      100.00%                     $16,312                  $1,533              $14,779
    12/31/19      100.00%                     $16,962                  $1,594              $15,368
    12/31/20      100.00%                     $15,915     1B           $1,464              $14,451
    04/07/21       26.58%                     $16,329     1C           $1,502               $3,940

                                                                                           $52,767

year (2020 $'s, youngest child age 2 to 5; see Table C) indexed to corresponding year with Employment Cost
Occupations (source: U.S. Bureau of Labor Statistics).
year (2020 $'s, youngest child age 6 to 13; see Table C) indexed to corresponding year with Employment Cost
Occupations (source: U.S. Bureau of Labor Statistics).
d increase: 2.60% (2.0% projected inflation (Federal Reserve Board of Governors current inflationary target)
  real wage growth (average for 1982-2020)).
 al Household Services. Source: Expectancy Data, Dollar Value of a Day.
 al Household Services. Source: Expectancy Data, Dollar Value of a Day.
 x (Projected Annual Value of Mr. Dominguez's Services - Mr. Dominguez's Annual Personal Consumption).
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                                                                                                                                                          Table 3

            PRESENT DISCOUNTED VALUE OF FUTURE INCOME LOSS FOR THE DOMINGUEZ FAMILY
                               (LOSS OF JACOB DOMINGUEZ'S WAGES)

              Years to Years to             Projected            Projected                    Mr.        Projected Loss        Discount                 Present
            Beginning        End of            Percent Annual Value               Dominguez's             for the Period           Rate             Discounted
             of Period       Period          Increase              of Mr.              Annual                                                             Value
                                                             Doming uez's            Personal
                                                                   Wages          Consumption

4/07/22           0.00         1.00                               $30,925    1           $4,843     2A          $26,082    3     0.04%    4A           $26,077
4/07/23           1.00         2.00             2.60%    5        $31,729                $4,969                 $26,760          3 .50%   48           $26,294
4/07/24           2.00         3.00             2.60%             $32,554                $5,098                 $27,456          3.50%                 $26,065
4/07/25           3.00         4.00             2.60%             $33,401                $5,231                 $28,170          3.50%                 $25,838
/07/26            4.00         5.00             2.60%             $34,269                $5,367                 $28,903          3.50%                 $25,614
4/07/27           5.00         6.00             2.60%             $35,160                $5,506                 $29,654          3.50%                 $25,391
4/07/28           6.00         7.00             2.60%             $36,074                $5,649                 $30,425          3.50%                 $25,170
4/07/29           7.00         8.00             2.60%             $37,012                $6,855     28          $30,157          3.50%                 $24,105
4/07/30           8.00         9.00             2.60%             $37,974                $7,033                 $30,942          3.50%                 $23,895
4/07/31           9.00        10.00             2.60%             $38,962                $8,478     2C          $30,484          3.50%                 $22,746
4/07/32          10.00        11.00             2.60%             $39,975               $10,921     2D          $29,054          3.50%                 $20,946
/07/33           11.00        12.00             2.60%             $41,014               $11,205                 $29,809          3.50%                 $20,764
/07/34           12.00        13.00             2.60%             $42,080               $11,496                 $30,584          3.50%                 $20,583
4/07/35          13.00        14.00             2.60%             $43,175               $11,795                 $31,379          3.50%                 $20,404
4/07/36          14.00        15.00             2.60%             $44,297               $12,102                 $32,195          3.50%                 $20,227
4/07/37          15.00        16.00             2.60%             $45,449               $12,417                 $33,032          3.50%                 $20,051
4/07/38          16.00        17.00             2.60%             $46,631               $12,739                 $33,891          3.50%                 $19,876
4/07/39          17.00        18.00             2.60%             $47,843               $13,071                 $34,772          3.50%                 $19,703
4/07/40          18.00        19.00             2.60%             $49,087               $13,411                 $35,676          3.50%                 $19,532
4/07/41          19.00        20.00             2.60%             $50,363               $13,759                 $36,604          3.50%                 $19,362
/07/42           20.00        21.00             2.60%             $51,673               $14,117                 $37,556          3.50%                 $19,194
4/07/43          21.00        22.00             2.60%             $53,016               $14,484                 $38,532          3.50%                 $19,027
4/07/44          22.00        23.00             2.60%             $54,394               $14,861                 $39,534          3.50%                 $18,862
4/07/45          23.00        24.00             2.60%             $55,809               $15,247                 $40,562          3.50%                 $18,698
7/27/45          24.00        24.30   6         2.60%             $57,260               $15,643                 $12,485          3.50%                  $5,628

                                                                                                               $784,698                               $534,050


s (2 adults, 3 children; see Table B).
ns 18. 18.5% of Wages (2 adults, 2 children; see Table B).
ns 18. 21.8% of Wages (2 adults, 1 child; see Table B).
turns 18. 27.3% of Wages (2 adults; see Table B).
Personal Consumption) x (Years to End of Period - Years to Beginning of Period).
h Treasury bill rate.
xpected inflation) + 1.5% (real interest rate); for the period 1955-2020 the average real rate of interest on a balanced portfolio of three-month
ties and ten-year U.S. Treasury securities was 1.5%.
  rate of increase (2.0% projected inflation (Federal Reserve Board of Governors current inflationary target) + 0.60% projected real wage
1982-2020)).
 to retirement: Richards, Hugh and Michael Donaldson,             Life and Worklife Expectancies,     2nd Edition, (Lawyers and Judges Publishing
 on, AZ, 2009).
                                                  Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 112 of 274




                                                                                                                                                                                                    Table 4

                            PRESENT DISCOUNTED VALUE OF FUTURE LOSS OF HOUSEHOLD SERVICES FOR THE DOMINGUEZ FAMILY
                                                      (LOSS OF JACOB DOMINGUEZ'S SERVICES)

           Period                  Years to         Years to           Projected             Projected Annual                         Annual                 Projected          Discount          Present
                                  Beginning          End of              Percent                  Value of Mr.                      Personal               Loss for the             Rate       Discounted
                                   of Period          Period            Increase         Dominguez's Services                    Consumption                     Period                             Value


  04/08121 - 04/08/22                    0.00             1.00                                              $16,329 ,A,                   $1,502    2"          $14.827     3    0.04%     "     $14,824
  04/09/22 - 04108123                    1.00             2.00             2.60%     5                      $16,754                       $1,541                $15,212           3.50% . 8      $14,947
  04/09/23 - 04/08/24                    2.00             3.00             2.60%                            $17,189                       $1,581                $15,608           3.50%          514.817
  04/09/24 - 134/08/25                   3.00             4.00             2.60%                            $17,636                       $1,623                $16,014           3.50%          $14.688
  04/09/25 - 04/08/26                    4.00             5.00             2.60%                            $16,940 re                    $1,609    213         $15,331           3.50%          $13,586
  04109/26 - 04/08/27                    5.00             6.00             2.60%                            $17,381                       $1,651                $15,730           3.50%          $13,468
  04/09/27 - 04/08/28                    6.00             7.00             2.60%                            517,833                       $1,694                $16,139           3.50%          $13,351
  04/09/28 - 04/08/29                    7.00             8.00             2.60%                            $18,296                       $1,738                $16,558           3.50%          5.13,235
  04/09/29 - 04/08/30                    8.00             9.00             2.60%                            $18,772                       $1,783                $16,989           3.50%          $13,120
  04/09/30 - 04/08/31                    9.00           10.00              2.60%                            $16,725 , c                   $2,024 2C             $14,701           3.50%          510,970
  04/09/31    04/08/32                  10.00           11.00              2.60%                            517,160                       $2,076                515.084           3.50%          $10,874
  04/09/32    04/08133                  11.00           12.00              2.60%                            $17,606                       $2,130                $15,476           3.50%          5.10,780
  04/09/33     04/08/34                 12.00           13.00              2.60%                            $18,064                       $2,186                $15,878           3.50%          $10,686
  04/09/34     04/08/35                 13.00           14.00              2.60%                            $18,534                       $2.243                $16,291           3.50%          $10,593
  04/09/35     04/08/36                 14.00           15.00              2.60%                            $19,015                       $2,301                $16.715           3.50%          $10,501
  04/09/36     04/08/37                 15.00           16.00              2.60%                            $19,510                       $2,361                $17,149           3.50%          $10,410
  04/09/37     04108/38                 16.00           17.00              2.60%                            $20,017                       $2,422                $17,595           3.50%          $10,319
  04/09/38     04/08/39                 17.00           18.00              2.60%                            $20,538                       $2,485                $18,053           3.50%          $10,229
  04/09/39 - 04/08/40                   18.00           19.00              2.60%                            $21,072                       $2,550                $18,522           3.50%          $10,140
  04/09/40 - 04/08/41                   19.00           20.00              2.60%                            $21,619                       $2,616                519,003           3.50%          $10,052
  04/09/41 - 04/08/42                   20.00           21.00              2.60%                            $22,182                       $2,684                $19,498           3.50%           $9,965
  04/09/42 - 04/08/43                   21.00           22.00              2.60%                            522,758                       $2,754                $20,004           3.50%           $9,878
  04/09/43 - 04/08/44                   22.00           23.00              2.60%                            $23,350                       $2,825                $20,525           3.50%           $9,792
  04/09/44 - 04/08/45                   23.00           24.00              2.60%                            $23,957                       $2,899                $21,058           3.50%           $9,707
  04/09/45 - 04/08/46                   24.00           25.00              2.60%                            140,335 + 0                   $4,155 2D             $36.181           3.50%          $16,114
  04/09/46 - 04/08/47                   25.00           26.00              2.60%                            $41,384                       $4,263                $37,122           3.50%          $15,974
  04/09/47 - 04/08/48                   26.00           27.00              2.60%                            542,460                       $4,373                $38,087           3.50%          $15.835
  04/09/48 - 04/08/49                   27.00           28.00              2.60%                            $43,564                       $4,487                $39,077           3.50%          $15,697
  04/09/49 - 04/08/50                   28.00           29.00              2.60%                            $44,697                       $4,604                $40,093           3.50%          $15,561
  04/09/50 - 04/08/51                   29.00           30.00              2.60%                            $45,859                       $4,723                $41,135           3.50%          $15,426
  04/09/51 - 04/08/52                   30.00           31.00              2.60%                            $47,051                       $4,846                $42,205           3.50%          $15,291
  04/09/52 - 04/08/53                   31.00           32.00              2.60%                            548,275                       $4,972                $43,302           3.50%          $15,159
  04/09/53 - 04/08/54                   32.00           33.00              2.60%                            549,530                       $5,102                $44,428           3.50%          $15,027
   04/09/54- 04/08/55                   33.00           34.00              2.60%                            $50,817                       $5,234                $45.583           3.50%          $14,896
   04/09/55 - 04/08/56                  34.00           35.00              2.60%                            $52,139                       $5,370                $46.768           3.50%          $14,766
   04/09/56 - 04/08/57                  35.00           36.00              2.60%                            $53,494                       $5,510                $47,984           3.50%          $14,638
   04/09/57 - 134/08/58                 36.00           37.00              2.60%                            $54,885                       $5,653                 $49232           3.50%          $14,511
   04/09/58 - 04/08/59                  37.00           38.00              2.60%                            $56,312                       $5,800                 $50.512          3.50%           5.14.385
   04/09/59 - 04/08/60                  38.00           39.00              2.60%                            549,136 re                    $5,405 2e              $43,731          3.50%           $12 032
   04/09/60 - 04/08/61                  39.00           40.00              2.60%                            $50,414                       $5,546                 $44,868          3.50%           $11,928
   04/09/61 - 04/08/62                  40.00           41.00              2.60%                            $51,724                       $5,690                 546,035          3.50%           $11,824
   04/09/62 - 04/08/63                  41.00           42.00              2.60%                            $53,069                       $5,838                 547,232          3.50%           511,721
   04/09/63 - 04/08/64                  42.00           43.00              2.60%                            $54,449                       $5,989                 $48,460          3.50%           $11,619
   04/09/64 - 04/08/65                  43.00           44.00              2.60%                            $55,865                       $6,145                 $49,720          3.50%           511,518
   04/09/65 - 07/25/65                  44.00           44.30     6        2.60%                            $57,317                       $6,305                 $15,304          3.50%            $3,467

                                                                                                                                                             $1,305,018                          $568,324

1A. See Table 2.
18. Annual value decreases to            $14.900 (2020S's, youngest child 13 to 17;                see Table C) from $15,915 (2020 5's).
1C. Annual value decreases to $12,939 (2020 $'s, no children; see Table C) from 514.900 (2020 Vs).
1D. Annual value increases to 521.233 (2020 5's, retired 62 to 74; see Table C) from 512.939 (2020 $'s).
1E. Annual value decreases to $18,057 (2020 S's. retired 75.; see Table C) from $21,233 (2020 5's).
2A. 9.2% of Household Services, Source: Expectancy Data, Dollar Value of a Day.
28. 9.5% of Household Services. Source: Expectancy Data, Dollar Value of a Day.
2C. 12.1% of Household Services. Source: Expectancy Data. Dollar Value of a Day.
20. 10.3% of Household Services. Source: Expectancy Data. Dollar Value of a Day.
2E. 11.0% of Household Services. Source: Expectancy Data, Dollar Value of a Day.
3. (Annual Value of Services - Personal Consumption) x (Years to End of Period - Years to Beginning of Period)
4k Current 6-month Treasury bill rate.
48. 3.5% = 2.0% (expected inflation). 1.5% (real interest rate); for the period 1955-2020 the average real rate of interest on a balanced portfolio of three-month U S
Treasury securities and ten-year U.S. Treasury securities was 1.5%.
5. 2.60% projected rate of increase (2.0% projected inflabon (Federal Reserve Board of Governors current inflationary target) + 0.60% projected real wage growth (average
for 1982-2020)).
6. Source for life expectancy Department of Health and Human Services. National Vital Statistics Reports: Vol. 68, No. 7, United States Life Tables. 2017 (published June
24, 2019).
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                                                                           Table A

          ANALYSIS OF JACOB DOMINGUEZ'S HISTORICAL WAGES

  Year                     Wages   1               Wage    2            Wages     3

                                                   Index             (2017 $'s)

  2014                    $25,014 (Mar-Dec)        119.3              $26,901
  2015                    $32,922                  122.6              $34,453
  2016                    $17,653 (Jan-Mar)        125.1              $18,105


                                   Average (2017 $'s; 2.26 Years):    $35,159

1. Source: W-2's.
2. Employment Cost Index; source: Bureau of Labor Statistics.
3. Indexed to 2017 Wage Index (128.3).
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                                                                                                        Table B

                       ESTIMATED DECEDENT CONSUMPTION

                              2 Adults           2 Adults 3           2 Adults        2 Adults
                            4 Children             Children         2 Children         1 Child       2 Adults


                               18.0%                20.0%              22.0%           26.0%          30.0%
istics                         12.1%                13.8%              18.0%           26.8%          40.0%
                                 N.A.               15.2%              20.1%           16.6%          20.6%
                                 N.A.               13.2%              12.5%           17.3%          25.7%
                               17.7%                18.9%              20.7%           23.7%          29.8%
                               13.7%                16.5%              17.6%           21.8%          23.4%
                                 N.A.               13.9%              16.2%           20.0%          27.7%

                               15.4%                15.9%              18.2%           21.7%          28.2%
 & Low)   2                    15.6%                15.7%              18.5%           21.8%          27.3%

ewis, Chris. "The Rationale and Quantitative Evidence for the Personal Consumption Offset in Wrongful Death
 gal Economics, July 1992 (Vol. 2, no. 2), p. 1-17.
 rage high and low values.
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                                                                                                                                                 Table C

                                      VALUE OF HOUSEHOLD SERVICES
                                    (MARRIED MEN EMPLOYED FULL TIME)
                                            (VALUES IN 2020 $'S)

                                                                                    Hours Per Week
        Market Value    1    Youngest     2   Youngest     2   Youngest    2   Youngest 2 No Children   2     Retired,   2     Retired,   2   Retired,   2

            per Hour        Child Ages        Child Age        Child Age       Child Age                    Under Age        Age 62-74        Age 75+
          (2020 $'s)                0-1              2-5            6-12           13-17                           62

               $14.94               1.8             1.7              1.7            1.5           1.4              2.8              1.8            1.7
               $13.64               2.5             2.3              2.4            2.2           2.0              3.0              2.8            2.9
 &
               $19.39               3.1             3.6              4.1            5.2           5.4             10.5             10.3            8.0
               $23.24               0.9             0.8              0.8            1.0           1.0              1.9              1.8            2.0
               $16.21               2.1             2.2              2.0            2.0           2.0              3.4              2.9            2.3
               $16.21               0.1             0.1              0.1                0.1       0.1              0.5              0.3            0.4
y              $17.90               1.9             1.9              2.0                2.1       2.1              2.9              2.5            2.0
               $13.83              10.2             7.5              4.3                1.6       0.0              0.0              0.0            0.0
ers            $17.90               0.9              1.1             1.1                0.9       0.2              0.2              0.2            0.2

                                   23.4            21.2             18.5            16.6         14.1             25.0            22.7            19.4


                               $367.51         $339.41          $306.07         $286.54       $248.82         $445.37          $408.32        $347.26
                                $15.69          $16.03           $16.51          $17.26        $17.71          $17.83           $18.00         $17.93
                               $19,110         $17,649          $15,915         $14,900       $12,939         $23,159          $21,233        $18,057


Benefiting from
                                 10.4%             9.4%            9.2%            9.5%        12.1%            10.8%            10.3%          11.0%

oyment Statistics (OES) survey, California Employment Development Department website.
Value of a Day, 2019 Valuation.
Hours Per Week.

ar.
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                                                     RELEVANT DATA


          NAME OF DECEDENT                                                                      Jacob Dominguez
          DATE OF BIRTH                                                                                  10/30/83
          PRESENT VALUE (PV) START DATE                                                                 04/07/21
          AGE AT PV START DATE                                                                               37.4
          DATE OF DEATH                                                                                 09/15/17
          AGE ON DATE OF DEATH                                                                               33.9
          LEVEL OF EDUCATION                                                                           11th grade
          WORKLIFE EXPECTANCY FROM DATE OF DEATH                                                             21.7      1


          STATISTICAL YEARS TO RETIREMENT FROM DATE OF DEATH                                                 27.9 '
          STATISTICAL YEARS TO RETIREMENT FROM PV START DATE                                                 24.3
          EMPLOYMENT RATIO                                                                                   0.78 2
          LIFE EXPECTANCY FROM DATE OF DEATH                                                                 44.3 3
          LIFE EXPECTANCY FROM PV START DATE                                                                 40.7

          NAME                                                                                 Jessica Dominguez
          RELATION                                                                                           Wife
          DATE OF BIRTH                                                                                  05/15/85
          AGE AT PV START DATE                                                                               35.9

          NAME                                                                                             Jacob Jr
          RELATION                                                                                             Son
          DATE OF BIRTH                                                                                    01/19/10
          AGE AT PV START DATE                                                                                  11.2
          YEARS TO AGE 18 FROM PV START DATE                                                                     6.8
          YEARS TO AGE 22 FROM PV START DATE                                                                    10.8

          NAME                                                                                              Jordan
          RELATION                                                                                             Son
          DATE OF BIRTH                                                                                    09/07/12
          AGE AT PV START DATE                                                                                  8.6
          YEARS TO AGE 18 FROM PV START DATE                                                                    9.4
          YEARS TO AGE 22 FROM PV START DATE                                                                    13.4

           NAME                                                                                            Jaliyah
           RELATION                                                                                       Daughter
           DATE OF BIRTH                                                                                  08/07/13
          AGE AT PV START DATE                                                                                  7.7
          YEARS TO AGE 18 FROM PV START DATE                                                                    10.3
          YEARS TO AGE 22 FROM PV START DATE                                                                    14.3


Richards, Hugh and Michael Donaldson,         Life and Worklife Expectancies, 2nd Edition. (Lawyers and Judges Publishing
mpany, Inc.: Tucson, AZ, 2009).
Worklife Expectancy / Statistical Years to Retirement.
Source for life expectancy: National Vital Statistics Reports Volume 69, Number 12 November 17, 2020 United States Life
 les, 2018 (published November 17, 2020).
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                                       PHILLIP H. ALLMAN HI
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7677 Oakport Street, Suite 610                                                               FAX: (510) 382-1472
Oakland, CA 94621                                                               E-mail: phil@allmaneconomics.com


EDUCATION

Doctor of Philosophy. Economics - December, 1982
Michigan State University, East Lansing, MI
Specialization in Microeconomic Theory, Macroeconomic Theory, Monetary Theory, Public Finance, Statistics, and
Demography.

Master of Science. Economics - June, 1974
Arizona State University, Tempe, AZ
Specialization in Labor Economics, Econometrics, and Public Finance.

Bachelor of Arts. Economics - June, 1968
Lake Forest College, Lake Forest, IL

Omicron Delta Epsilon - Michigan State University
International Economics Honor Society (upper 20% of graduate class.)

Beta Gamma Sigma - Arizona State University
Business Honor Society (upper 10% of graduate class.)

Athletic and Scholastic Honors - Lake Forest College


EMPLOYMENT HISTORY

Owner/Principal - 1984 to Present
Allman & Petersen Economics, LLC, San Francisco, CA
* Prepared economic reports and testified as an expert witness in trials involving economic valuations.
* Provided securities analysis for Westerly Partners of Newport Beach, Silver Assets, Inc. of Sonoma, and Coastal Capital
Partners of Sonoma.
* Conducted economic analysis for the San Joaquin County Land Utilization Trust.
* Provided economic analysis to the Stockton East Water District.
* Provided economic expertise to Financial Risk Management of Modesto.
* Evaluated business loss claims for State Farm Insurance Co.
* Edited economics texts for Harper - Row Publishing Co.

Adjunct Lecturer in Economics - January, 1995 to 1998
Golden Gate University, San Francisco, CA
Classes taught include Macroeconomic Analysis and Financial Markets and Institutions in the Master's Degree Pro-gram &
Introductory Microeconomic Analysis.

Economics Professor -1979 to 1986
University of the Pacific, Stockton, CA
Courses taught were Introductory Micro- and Macro-economics, Intermediate Macroeconomics, Money and Bank-ing,
Public Finance, and Managerial Economics.

Economics Instructor - 1978 to 1979
Michigan State University, East Lansing, MI
Taught Intermediate Macroeconomics.
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EMPLOYMENT HISTORY (Continued)

Economics Analyst - 1977
State of Michigan Health Maintenance Department, Constructed the Medicaid cost index for the State of Michigan.

Graduate Assistant - 1974 to 1978
Michigan State University, East Lansing, MI
Tutelage of economics students.

Economic Research Associate - 1973 to 1974
Arizona State Department of Business and Economic Research
Conducted statistical study of the Hotel-Motel industry.

Community Development Assistant - 1972 to 1973
Department of Economic Planning and Development, State of Arizona
Researched and wrote an economic analysis for three rural communities in Arizona.

Athletic Director - 1971 to 1972
Arizona Boys Ranch, Boys Ranch, AZ

Public School Teacher - 1968 to 1971
Kaneohe, HI, and Deerfield, IL


PUBLICATIONS

* "The Margin of Error on Damages Calculations Based on Sample Survey Data in Class Action Wage and Hour Cases,"
Journal of Legal Economics, Volume 25, No.1-2, September 2019, (co-authored with Jeffrey Petersen).
* "The Effect of the Intent to Retire at Age 70 or Older on Worklife Expectancy," Journal of Legal Economics, Volume 23,
No. 2, April 2017, (co-authored with Jeffrey Petersen).
* "Surveys in Class Action Wage and Hour Cases and the Use of Anonymous Respondents," Journal of Legal Economics,
Volume 22, No. 1, October 2015 (coauthored with Jeffrey Petersen and William Lee).
* "An Econometric Model of the Fiscal Impact of Urbanization on Stockton and San Joaquin County," Land Utiliza-tion
Trust of San Joaquin County, Stockton, CA, July, 1994.
* "Choosing a Discount Rate in a Pension Valuation," Family Advocate, American Bar Association, Summer, 1994, Vol.
17, No. 1, p. 11.
* "Four Economic Issues in Pension Valuations," Journal of Legal Economics, July, 1993, Volume 3, No. 2.
* "Agriculture Provides a Stable Economic Base for San Joaquin County," Central Valley Harvester, Stockton, CA, Fall
1993, p. 7.
* "Three Economic Issues in Pension Valuation," Family Advocate, American Bar Association, Summer, 1993, Vol. 16,
No. 1, p. 12.
* "Gross Value of Farmland is Critical to County Welfare," Central Valley Harvester, Stockton, CA, Summer 1993, p. 6.
                                                                                                       p. 2.
* "The Value of Agriculture to San Joaquin County," Central Valley Harvester, Stockton, CA, Spring 1993,
* "Wage Growth and Interest Rates Again: A Regression Model," Journal of Forensic Economics, Volume 6, No. 2
Spring/Summer, 1993, p. 175.
* "The Economic Structure of San Joaquin County and the Impact of Agricultural Land Displacement on County Income,"
Land Utilization Trust of San Joaquin County, Stockton, CA, February, 1993.
* A Neoclassical Model of the Tax-Exempt Bond Market, Doctoral Dissertation, Michigan State University, East Lansing,
MI, 1982.


PRESENTATIONS:

* "Using Surveys to Assess Damages in Class Action Wage and Hour Cases," 30th Annual Meeting of the American
Academy of Economic and Financial Experts, Las Vegas, NV, April 2018.
* "Computing the Present Value of a Life Care Plan," San Francisco Trial Lawyers Association, June 2015.
* "The Subprime Lending Crisis and the U.S. Economy," CNBC Asia, July, 2007.



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PRESENTATIONS (Continued)

* "The Outlook for the U.S. Economy," CNBC Asia, September, 2004.
* "Fiscal Impact of Urbanization in San Joaquin County," San Joaquin County Board of Supervisors, August, 1994.
* "Direct and Cross-Examination of an Economic Expert," Economic Damages Seminar - Maintaining Recovery under
Proposition 51, Alameda/Contra Costa Trial Lawyers Association, April, 1995
* "Economics, Not a Dismal Science," The 50th Annual Belli Seminar, July 31, 1993.
* "Impact of Farmland Displacement in San Joaquin County," San Joaquin County Board of Supervisors, March, 1993.
* "Dissecting Pension Valuations in Marital Dissolutions"
Course taught for the State Bar of California toward credit for Minimum Continuing Legal Education (MCLE), January,
1993 - 1996.
* "Capitalizing on the Deposition of the Opposing Economist"
Course taught for the State Bar of California toward credit for Minimum Continuing Legal Education (MCLE), January,
1993- 1996.
* "Evaluation of Federal Reserve Monetary Policy Objectives"
Delivered to Center for Integrated Studies, UOP, 1983.
* "The Economy: Influence on Investment Decisions"
Keynote address of San Joaquin County 1982 Financial Fair.
* "Reaganomics: Its Pitfalls"
Delivered to UOP Economics Department, 1982.

REFEREE: Journal of Macroeconomics, Journal of Forensic Economics

CONFERENCES:

Western Economic Association Meeting - 1996
* Chair to Session, "Macroeconomic Analysis."
* Chair to Session, "Asset Pricing."
* Discussant to Paper, "Institutional Investors and Developing Country Stock Pricing."
* Discussant to Paper, "Impact of Macroeconomic Variables on Stock Prices."
* Discussant to Paper, "Aggregate Shocks, Real Activity, Inflation, and Stock Returns."

Western Economic Association Meeting - 1995
* Chair to Session, "Taxes, Benefits, and Retirement."
* Discussant to Paper, "A Couple's Decision to Elect Survivor's Benefits."
* Discussant to Paper, "Tax Rates, Employee Benefits, and Health Care Costs."

Western Economic Association Meeting - 1993
* Chair to Session, "Issues in the Economics of Publicly-Provided Goods."
* Presented the Paper, "Three Economic Issues in Pension Valuations."
* Presented the Paper, "Valuation of Displaced Agricultural Land to Residential Use."
* Discussant to Paper, "Who Should Go To College and What Should They Pay."
* Discussant to Paper, "Discount Rate for Public Sector Investments."

Western Economic Association Meeting - 1992
* Discussant to Session "Macroeconomic Policy I."
* Presented the Paper "Wage Growth and Interest Rates Again: A Regression Model."

American Economic Association Meeting - 1982
* Discussant to Paper "The Effect of the Reserve Clause on Parity in Professional Baseball."

MEMBER ORGANIZATIONS

American Economic Association
National Association of Forensic Economics
American Academy of Economic and Financial Experts




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                      ALLMAN& PETERSEN ECONOMICS, LLC
                                          Phillip H. Allman, Ph.D.
                                          Jeffrey S. Petersen, Ph.D.
                                           Max Allman, MA, CFA

                            7677 Oakport Street, Suite 610 • Oakland, CA 94621
                                  TEL (510) 382-1550 FAX (510) 382-1472




                                        FEE SCHEDULE (1/25/19)


(1) Economic research and analysis, report preparation, document review, office and client
consultations, deposition preparation and trial preparation.'


        -- Ph.D. Economist                                                               $550 / hour

        -- Senior Economist                                                              $375 / hour

        -- Economist or CPA                                                              $250 / hour

        -- Survey Administration                                                         $125 / hour



(2) Deposition testimony2                                                                $650 / hour


(3) Arbitration and trial testimony
                                 3                                                       $650 / hour



(4) Travel time                                                                          $250 / hour




I Bills will be submitted periodically and are due upon presentation, not at the conclusion of the case.
2
  Payment for deposition testimony shall be paid in accordance with C.C.P. '2034 (i) (3)
--i.e. payment of an expert's fees for the anticipated length of a deposition shall be paid at the commencement of
his/her deposition, and any outstanding balance shall be paid within five days of receiving an itemized statement of
the expert's services.
3 All invoices to date must be paid prior to trial testimony. In addition, an additional retainer must be paid prior to
the trial testimony based upon the estimated invoice for the testimony.
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                            Trial & Arbitration Testimony of Phillip H. Allman, PhD
Case                                                            Jurisdiction         Case Number                          Date
Lenox Ave                                                                                                               30-Nov
Black & Meggs     v.   Sally Beauty                                                  01-18-0000-7738                11/17/2020
Hough                                                           San Francisco        CGC-17-563125                  10/26/2020
Green             v.   CCHA                                     Contra Costa         MSC 19-00890                    10/2/2020
lzuel             V.   USC                                      ADR Arbitration      19-4738-MMJ                     9/16/2020
Lemley            v.   San Francisco Municipal Transportation   San Francisco        CGC-19-574619                   9/28/2020
Ogu               V.   Rizzo                                                                                          8/4/2020
Hadley            v.   Robert Half International                JAMS                                                 6/11/2020
Samson            v.   Wells Fargo                              Western District of CA 2:16-cv-04839GW(AGRx)         3/11/2020
Perry             V.   Chang                                    Siskiyou               SC CV CV PM 18-739            2/28/2020
Viera             V.   Zalec                                    San Diego              3:18-CV-05431VC               2/26/2020
Philips           V.   Kaiser                                   JAMS - John Flaherty Kaiser Arbitration               2/7/2020
Renkvist          v.   Singh                                    Sacramento             34-2017-00221966              12/2/2019
Yeghiazarian      v.   Kaiser                                   Contra Costa           15353                        11/19/2019
Pandolf           V.   American Automobile                      San Francisco          JAMS 1100090828               11/5/2019
Diaz              v.   Gau                                      Santa Clara            17CV312555                    11/4/2019
Tindall           v.   Williams                                 Mann                   CIV1700452                   10/28/2019
Avery                                                           Santa Clara            17CV309914                    9/16/2019
Hodge             V.   Fox                                      Mann                   CIV1801644                    8/29/2019
Wyeth             v.   Hosier                                   Eastern District of CA 1:18-cv-00007(DAD)(JLT)       8/28/2019
Cook                                                            Contra Costa           VIM ARB                       6/17/2019
Awadalla          v.   Farmers                                  Contra Costa           N/A                           5/21/2019
Angulo            V.   O'Heam                                   Santa Clara            17CV307133                    5/10/2019
Ziskovsky                                                       Mann                   CV 1502898                     5/2/2019
Vines             v.   O'Reilly                                 Los Angeles            PCO58046                      4/26/2019
Barrett           v.   Keigwens                                 San Francisco          CGC-16-551980                 4/25/2019
Zuniga                                                                                 16-CV-299448                  4/22/2019
Kozel(?)          v.   Airline Coach Services                   San Francisco          CGC-14-542253                  4/9/2019
Tran                                                            San Francisco          CGC-18-569356                 3/21/2019
Vanderheyden      v.   Jayram                                   Alameda                RG16841708                    3/20/2019
Mendes                                                          Fresno                 17CECG01590                   2/25/2019
Mendes                                                          Fresno                 17CECG01590                   2/21/2019
Doe                                                             JAMS                   1100089941                    1/30/2019
Phillips          v.   CalTrans                                 Madera                 MCV 075805                    1/29/2019
Stevens                                                         San Francisco          CGC-17-557767                 1/28/2019
Tamanha           V.   Savage Services                          Los Angeles            BC605062                      12/7/2018
Carter            v.   Alameda County                           Alameda                RG17867234                   11/27/2018
Guzman            V.   Costco                                   Sonoma                 SCV261675                     11/9/2018
Frausto                                                         San Francisco          3:16-CV-00311-RS              11/1/2018
Gudino                                                          Alameda                RG-16-828260                 10/25/2018
Zuniga                                                                                 16-CV-299448                 10/16/2018
Anthony           v.   Li                                       San Francisco          CGC-16-551957                 10/2/2018
Keating                                                         SF Superior            CGC-14-539336                 8/22/2018
White                                                           San Francisco          CGC-14-541404                 7/19/2018
Wise              v.   Louis Voss Trust                         Contra Costa           CIVMSC15-00788                 7/2/2018
Asher             v.   El                                       Los Angeles            17-7266-MRR                   6/12/2018
Mann                                                            San Joaquin            STR-CV-UPI-2016-10265         5/23/2018
Cheweaux                                                        Los Angeles            BC654679                       5/1/2018
Hudson            v.   Beverly Fabrics Inc.                     Santa Cruz             CV182035                      2/20/2018
Wang                                                            Santa Clara            1-09-CV-152551                2/14/2018
Aghmane                                                         Northern District, CA C 13-03698 DMR                  2/8/2018
Ortiz             v.   Mercy High School                        San Francisco          CGC-16-549915                 12/5/2017
Selck                                                           Santa Clara            113CV246033                  11/17/2017
Loberg            v.   County of Lake                           Lake                   CV-415513                        Oct-17
Glassman          v.   Hint Peripherais                         San Francisco          CGC-14-539801                    Oct-17
Brown             v.   AMC Entertainment                        Santa Clara            113CV250228                      Sep-17
Torres            V.   Safeway                                  Alameda                RG14737777                       Sep-17
Fisher            v.   Hartford                                 Santa Clara            2014-1-CV-258924                 Sep-17
Alonzo            v.   Mid Pen Housing                          ADR Arbitration        16-6941                          Aug-17
Owens             v.   Ryder Truck                              Monterey               M126276                           Jul-17
Kapila            v.   Dr. Bhandaui                             Alameda                HG15772896                       Apr-17
Frausto           v.   CHP                                      Northern District, CA 16-CV-00311-RS                    Mar-17
Hoeper            v.   CCSF                                     San Francisco          CGC-15-543553                    Mar-17
Burleson          v.   Bakersfield Memorial Hospital            Kern county            BCV-15-100420 LHB                Feb-17
Church            v.   Sarkis                                   Contra Costa           C15-01238                        Jan-17
Ellis             v.   Ramsey                                   San Joaquin            39-2013-00298043-CU-PA-STK       Dec-16
Bracy             v.   City of LA                               Central District, CA   CV 13-09350                      Nov-16
Gambino           v.   Cypress Point                            Santa Cruz             CV180979                         Oct-16
Williams          v.   Wyndham                                  San Francisco          CGC-12-526187                    Nov-16
Carpio            v.   Aubin                                    Santa Clara            114 CV 267 867                   Oct-16
Giorvas           v.   Grow                                     Santa Clara            115CV285323                      Sep-16
Corcoran          v.   Caltrans                                 Santa Barbara          1470102                          Sep-16
Chen              v.   Xie                                      San Francisco          CGC-15-545989                    Sep-16




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King             v.   De Guzman                  Alameda                 RG15785207                   Sep-16
Payton           v.   Hollywood Café             San Joaquin             39-2014-00308576-CU-PO-STK   Sep-16
Gupta            v.   SF State University        San Francisco           CGC-15-544050                Sep-16
Hansen                                           Alameda                 RG15765238                   Aug-16
Mahendran        v.   Nguyen                     San Francisco                                         Jul-16
Affonso          v.   MR Enterprise              Solano                  FCSO40957                     Jul-16
Duong            v.   ITT Educational Services   Alameda                 RG14724442                   Jun-16
Schreiber        v.   Lee                                                                             Jun-16
Phillips         v.   Godaddy                    San Francisco           1110018102                   Jun-16
Davila                                           Alameda                 HG13708711                   Jun-16
Portillo         v.   Gossman                    San Francisco           CGC-10-123456                May-16
Brown            v.   Monument Security          Alameda                 G14737974                    Apr-16
Wilson           v.   Bolter                     San Francisco           CGC 14-543248                Apr-16
Burkowski        v.   Cal Trans                  San Mateo               CIV481154                    Apr-16
People           v.   Hunt                       Santa Clara             C1489978                     Feb-16
Grewal           v.   Melo                       StanIslaus              684320                       Jan-16
Mackey           v.   Helinet Aviation           Los Angeles             BC528671                     Jan-16
Nakamura         V.   Kaiser                     Alameda                 12976                        Jan-16
Xian             v.   eBay Inc.                  San Francisco           01-14-0002-2936              Dec-15
Carlson          v.   Mason                      Plumas                  GN-CV15-00033                Dec-15
Stepp            v.   Fidelity Law               Los Angeles             BC517311                     Nov-15
Rivera           v.   Manheim Investments        Alameda                                              Nov-15
Kwei             v.   Liberty Mutual             Santa Clara             114CV270447                  Nov-15
Leierer          v.   Salinas                    Alameda                 HG13679708                   Oct-15
Rodriguez        v.   Parada                     San Francisco           CGC-14-537543                Oct-15
Gardner          v.   Federal Express            Northern District, CA   3:14-CV-01082-THE            Oct-15
Mallen           v.   McAndrews                  San Francisco           CGC-13-534704                Sep-15
Huynh            v.   State of California        Alameda                 RG 10510409                  Aug-15
De La Rosa       v.   Currie                     Butte                   159883                        Jul-15
Fua              v.   Yellow Cab                 San Francisco           CGC-11-515542                Jun-15
Copher           v.   Ross Stores. Inc.          Alameda                 R8 14712065                  Jun-15
Rempell                                          Mann                    CIV 1302527                  May-15
Staedler         v.   Galu                       San Francisco           CGC13529064                  May-15
Steshenko        v.   Cabrillo College           Northern District. CA   C-09-05543-RS                Mar-15
Kossick          v.   Kaiser and Rhyder          Placer                  8CV0033354                   Feb-15
Anderson         v.   Felahy                     Long Beach              72 516 E 00028 13            Feb-15
Smith            v.   Sun Valley Rice Co.        San Francisco           74 160 00667-13 JOG3         Jan-15
Mantanguihan     v.   Kaiser                     Contra Costa            12607                        Jan-15
Azzolino         v.   Fazio                      San Francisco           01-14-0000-0990              Jan-15




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Vincent                                             San Francisco              CGC-19-580200                Dec-20
Bamrah V. James River Insurance                      UIM                                                    Nov-20
Salas v. C Overaa                                                                                           Nov-20
Clima v. Yu                                          San Francisco             CGC-19-576863                Nov-20
Volken V. Trader Joes                                                                                       Oct-20
Sargsyan v. Moody                                    San Francisco             CGC-18-572197                Oct-20
Coleman & Bou v. Transbay                           AAA                        01-18-0003-9221              Oct-20
Black & Meggs v.                                    AAA                        01-18-0000-7738              Oct-20
Green v. CCHA                                        Contra Costa              MSC 19-00890                 Oct-20
120 Haight St.                                                                                              Sep-20
lzvel v. USC                                         ADR Arbitration           19-4738-MMJ                  Sep-20
Castro v. Kaiser                                     JAMS Arbitration          15769                        Sep-20
Lemley V. SF Municipal Transportation                San Francisco             CGC-19-574619                Sep-20
Glenn Oaks v. Loo                                    Los Angeles               BC721862                     Aug-20
Hams                                                 Butte                     18CV03209                    Aug-20
Pruitt v. Lopez                                      San Francisco             CGC-18-564740                Aug-20
O'Connor v. Ogren                                    Contra Costa              C18-00365                    Aug-20
Cook                                                 San Joaquin               STK-CV-4AT-2017-0005369       Jul-20
Cory                                                 San Francisco             CGC-17-558377                Jun-20
Sephora Class Action                                 San Francisco             4911                         Jun-20
White v. Cox                                         Mann                      CV1504178                    Jun-20
Hadley v. Robert Half International                  JAMS                                                   Jun-20
Zent v. Hartford                                     Los Angeles               BC690959                  5/17/2020
Smith v. Hiromi                                      Los Angeles               BC623004                   4/9/2020
Cory                                                 San Francisco             CGC-17-558377                 8-Apr
Verlin v. UOP                                        San Joaquin               01-18-0001-0700           3/19/2020
Copeland v. DeSoto Cab                               San Francisco             CGC-16-550659                Mar-20
Griego v. Whiting                                                                                           Feb-20
Schindler v. Pythian                                 Northern District of CA   3:19-cv-01641-WHA            Feb-20
Haywood v. Henkel                                    Contra Costa              C17-01641                    Feb-20
Rodman v. Otsoka Pharma                              Northern District of CA   3:18-cv-03732-WHO            Feb-20
Hoang V. Joomak                                      SF Superior               CGC-18-569173                Jan-20
Philips v. Kaiser                                    JAMS - John Flaherty      Kaiser Arbitration           Jan-20
Costco                                                                                                      Jan-20
Thompson v. Pamow                                    Mann                      CIV 1703487                  Dec-19
Zavala V. Pyramid Painting                           Santa Clara               16CV292155                   Dec-19
Cabrera v. El Camino Hospital                        Santa Clara               16CV301411                   Dec-19
Samson v. Wells Fargo                                Western District of CA    2:16-cv-04839GW(AGRx)        Dec-19
Schaller v. Wells Fargo Bank                         San Francisco             CGC-19-572560                Dec-19
Santiago v. Living Green Design                      San Francisco             CGC-18-565136                Nov-19
Kennedy v. lyengar                                   San Joaquin               STK-CV-UMM-2016-8692         Nov-19
Yeghiazarian v. Kaiser                               Contra Costa              15353                        Nov-19
Renkvist v. Singh                                    Sacramento                34-2017-00221966             Nov-19
McIntosh v. Dieteren                                 Nevada                                                 Nov-19
Rams                                                 Alameda                   RG18914548                   Oct-19
Pandolf v. American Automobile                       San Francisco             JAMS 1100090828              Oct-19
Viera v. Zalec                                       Northern District of CA   3:18 - CV - 05431 VC         Oct-19
Wellen                                               Contra Costa              C18-00080                    Oct-19
Tindall v. Williams                                  Mann                      CIV1700452                   Oct-19
Dueker v. CRST Expedited                             Eastern District of CA    2:18-cv-00381-JAM-CKO        Sep-19
Diaz                                                 Santa Cruz                17CV312555                   Sep-19
Segelke v. Deharo Construction                       Alameda                   RG17857077                   Aug-19
Avery                                                Santa Clara               17CV309914                   Aug-19
Hodge v. Fox                                         Mann                      CIV1801644                   Aug-19
Pacheco v. Fresh Express                             Monterey                  17CV004120                   Aug-19
Lo v. City of Santa Clara                            Northern District of CA   5:18-cv-03153                Aug-19
Maxwell                                              Santa Clara               17CV306747                   Aug-19
Rowswell v. Romero                                   Alameda                   RG17883470                    Jul-19
Stone v. Liberty Bell Alarm Co.                      Sacramento                34-2017-00213802              Jul-19
Jackson                                              Mann                      CIV 1604626                   Jul-19
Minish                                               Santa Cruz                CV 158348                     Jul-19
Linley v. Bartlett                                   San Francisco             563011                       Jun-19
Mckay v. Coons & Velo                                Contra Costa              N/A                          Jun-19
Awadalla v. Farmers                                  Alameda                   RG15773122                   Jun-19
Ekpenyong v. Union Pacific                           Contra Costa              VIM ARB                      Jun-19
Cook                                                 San Francisco             CGC-18-563565                Jun-19
Cruz v. Loo                                          San Francisco             CGC-18-566120                Jun-19
Taylor v. Patterson                                  Santa Clara               17CV311118                   May-19
Oomrigar v. Tibco Software                           Washington at Seattle     2:18-cv-00748-JLR            May-19
Clayton                                              Alameda                   RG14738301                   May-19
Comeau                                               Alameda                   RG17880688                   May-19
Duran v. USS Potomac                                 Alameda                   RG17872162                   May-19
Wyeth V. Hosier                                      Eastern District of CA    1:18-cv-00007(DAD)(JLT)      May-19
Gordon v. Next Star                                  San Francisco             CGC-16-555785                Apr-19
Bailey v. Chinatown Community Development            Mann                      CV 1502898                   Apr-19
Ziskovsky                                            San Francisco             CGC-16-551980                Apr-19
Barrett v. Keigwens                                  San Joaquin               STK-CV-UDE-2017-5982         Mar-19




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Raymond v. CA Department of Corrections   San Francisco             CGC-16-551980               Mar-19
Barrett v. Keigwens                       San Joaquin               STK-CV-UMM-2016-11133       Mar-19
Tran(Ho)                                  Alameda                   RG16841708                  Mar-19
Vanderheyden v. Jayram                    San Francisco             CGC-14-542253               Mar-19
Kozel v. Airline Coach Services           Alameda                                               Feb-19
Jones                                                                                           Feb-19
Bauman v. Santa Rosa Memorial Hospital    Fresno                    17CECG01590                 Feb-19
Mendes                                                                                          Feb-19
Fernandez                                 San Francisco             CGC-16-553563               Feb-19
Vargas v. Dignity Health                  Mann                      CIV1701186                  Feb-19
Navarette v. Ghilotti Bro's               Contra Costa              MSC16-00609                 Feb-19
Hunter                                    San Francisco             CGC-17-556576               Feb-19
Butts v. Oksenandler                      Contra Costa              MSC16-00609                 Jan-19
Hunter                                    Los Angeles               BC671285                    Jan-19
Acosta                                    San Francisco             CGC-16-553-614              Jan-19
Esborg v. Comcast                         Santa Clara               17CV307133                  Jan-19
Angulo V. O'Heam                          Santa Clara               17CV311118                  Dec-18
Oomrigar v. Tibco Software                Monterey                  16CV002573                  Dec-18
Russak v. Trader Joes                     Contra Costa              C16-01548                   Nov-18
Burke v. Mattos                           San Francisco             CGC-17-557360               Nov-18
Austin-Robinson                           Madera                    MCV 075805                  Nov-18
Phillips v. Cal Trans                     JAMS                      1100089941                  Nov-18
Doe                                       Alameda                   RG17851986                  Nov-18
Chan v. Omni                              Los Angeles               BC604952                    Nov-18
Castro v. Edwards                         San Mateo                 17CIV03804                  Nov-18
Santoya v. Zega                           Los Angeles               PCO58046                    Nov-18
Vines v. O'Reilly Auto Enterprises LLC    San Francisco             CGC-17-557767               Nov-18
Stevens v. Brown                                                                                Nov-18
Corbelli                                  Santa Clara               2015-6-FL-015555            Nov-18
Zommer v. Mohajer                         San Francisco             CGC-17-559931               Oct-18
Donohue v. Pfleger                        Los Angeles               BC605062                    Oct-18
Tamanha v. Savage Services                Sonoma                    SCV 261355                  Oct-18
Williams                                  Sonoma                    SCV 256686                  Oct-18
Hufford v. Toyota                         San Mateo                 16-CIV-01513                Oct-18
McGue v. Ritz-Carlton Hotel               Alameda                   RG17867234                  Oct-18
Carter                                                              16-CV-299448                Oct-18
Zuniga                                    Sonoma                    SCV261675                   Oct-18
Guzman                                    Alameda                   RG-16-828260                Sep-18
Gudino                                    San Francisco             CGC-16-551957               Sep-18
Anthony v. Li                             Alameda                   RG 16-842544                Sep-18
Pifari                                    San Francisco             CGC-17-561049               Aug-18
Young                                                               RG17858807                  Aug-18
Badong                                    Minnesota                 15-CV-03285-JRT              Jul-18
Kellerman                                 Alameda                   RG17853814                   Jul-18
Haugland                                  Minnesota                 15-2642                      Jul-18
Morris & Kellerman (FQ)                   Northern District, CA     3:14-cv-52545C              Jun-18
Higley (FO)                               San Francisco             CGC-14-541404               Jun-18
White                                     Los Angeles               17-7266-MRR                 Jun-18
Asher v. E!                               Stanislaus                2026560
Herrera                                   Alameda                   R617844466                  May-18
Pichon v. Hertz Corp.                     Eastern District of CA    2:16-cv-01892-JAM-CMK       May-18
Rhodehouse                                Alameda - Oakland         RG16841594                  May-18
Korman                                    Santa Clara               115CV281402                 Apr-18
Marta v. Applebee's                       San Joaquin               STK-CV-Uoe-2013-0000786     Apr-18
Bailey v. French Camp                     Contra Costa              MSC15-00678                 Apr-18
Wise v. Voss Trust                        Los Angeles               BC654679                    Apr-18
Chevreaux                                 Central District, CA      8:17-CU-00279-JUS           Apr-18
O'Rourke v. Farmers Insurance             Monterey                  16CV001789                  Apr-18
Strand                                    San Francisco             CGC-15-548786               Mar-18
Kim v. Munchery                           Santa Cruz                17CV01710                   Mar-18
Madesko v. Villaruel                      Santa Clara               16Cv292629                  Mar-18
Roa V. Nesbitt                            San Joaquin               STK-CV-UAT-2016-7813         Feb-18
Zankiewicz                                Sutter                    CVCS16-1675                  Feb-18
Alvarez v. Harris                         Alameda                   RG15792210                   Feb-18
Prator                                    Mann                      CIV1601297                   Jan-18
Hroch v. The Dutra Group                  Monterey                  M133246                      Jan-18
Thomas v. Mueller                         San Francisco             CGC-15-549645                Jan-18
Crawford                                  Sonoma                    SCU 259909                   Dec-17
Day v. Windmill Circle                    San Francisco             C 14-MD-02532-MMC            Nov-17
Harrison                                  Contra Costa              c16-00016                    Nov-17
Baker                                     Eastern District of CA    2:15-cv-01951-MCE-DB         Nov-17
Evans v.                                  San Mateo                 CIV 535902                   Nov-17
Manantan v. Wells Fargo Bank              San Francisco             CGC-16-555788                Nov-17
McKinny v. Big Day                        Sonoma                    SCU-259238                11/7/2017
Selzer v. Donovan                         Santa Clara               1-09-CV-152551               Oct-17
Wang v. TDS                               Northern District, CA     4:16-cv-00659-SBA (JCS)      Oct-17
Ferry v. Delonghi Spa                     Santa Clara               1-15-CV-286442               Oct-17
Viramontes v. San Jose Evergreen          Santa Clara               115 CV287208                 Oct-17
Sampson                                   Lake                      CV 415937                    Oct-17
Marchi v. Cocco & Copas                   Santa Clara               2014-1-CV-258924             Oct-17
Fisher v. Hartford                        Alameda                   RG14734357                   Oct-17




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Rha V. Asians Airlines                      Contra Costa              c15-01312                    Sep-17
Brill V. Tsai                               Lake                      CV-415513                    Sep-17
Loberg v. County of Lake                    San Mateo                 CIV 538881                   Sep-17
Sullivan v. Savemart                        San Francisco             CGC-16-553608                Sep-17
Ramos V. Lacastro                           San Francisco             CGC15543720                  Aug-17
Guastucci v. Beebe                          ADR Arbitration           16-6941                      Aug-17
Alonzo v. Mid Pen Housing                   Santa Clara               115CV287068                  Aug-17
Rodriguez v. Hensei                         Oakland                   RG15771272                    Jul-17
Hollander v. Oritz                          Monterey                  M126276                       Jul-17
Owens v. Ryder Truck                        Montgomery                                              Jul-17
Bueno v. Lou                                Sacramento                34-2015-00178614              Jul-17
Cochran v. Omni Healthcare                  Alameda                   RG15795347                    Jul-17
Zuniga v. Lo                                Northern District, CA     15-CV-D4D60                   Jul-17
Mace v. USA, Dept. of Justice               San Mateo                 CIV527086                    Jun-17
Rouchanian v. Madrigal                      Central District, CA      BC 618618                    Jun-17
Horwath v. Horwath                          Alameda                   RG15791175                   Jun-17
Rodriguez                                   Alameda                   RG14737777                   Apr-17
Torres V. Safeway                           San Joaquin               STK-CV-UPN-2014-5972         Apr-17
Espana                                      San Francisco             CGC-16-549915                Apr-17
Ortiz                                       Alameda                   RG13694477                   Apr-17
Amezcua                                     Mahn                                                   Apr-17
Armel                                       Northern District, CA     16-CV-00311-RS               Mar-17
Frausto V. CHP                              Southern District of IL   2100                         Mar-17
Galinis v. Bayer Corp.                      Northern District, CA     15-cv-02307-WHO              Feb-17
Greer v. City of Hayward                    Los Angeles               BC600048                     Feb-17
Sessions v. TOPA                            Contra Costa              MSC14-01391                  Feb-17
Rattary & Morris V. State of California     Riverside                 PSC1502073                   Feb-17
Donnelly                                    Alameda                   RG15781124                   Jan-17
Jendayi                                     Stanislaus                2105633                      Jan-17
Quaresma v. Aqua Lung America               Alameda                   RG15759540                   Jan-17
Diemandez v. Hilton Garden                  Santa Clara               114CV267329                  Jan-17
Barrelleza v. Cornerstone Realty            Alameda                   RG16820986                   Dec-16
Chamagne v. Allied Packing & Supply, Inc.   Sonoma                    13013                        Dec-16
Hyde v. Kaiser                              San Francisco             13463                        Dec-16
Lefler v. Kaiser                            Alameda                   HG14750141                   Dec-16
Freeman v. Mamo Logistics, Inc.             Northern District, CA     14-03532 MMC                 Nov-16
Robinson v. USA                             San Francisco             CGC15-548830                 Nov-16
Su v. Lam                                   Santa Cruz                CV 180979                    Nov-16
Gambino v. Cypress Point                    San Francisco             CGC-14-524559                Oct-16
Elman v. Bay Club                           Mahn                      CIV1503595                   Oct-16
Sheehan v. Schaub                           Santa Clara               114CV258520                  Oct-16
Butler v. TASI                              Los Angeles               BC570257                     Oct-16
McWilliams v. West Hills Hospital           Kern County               BCV-15-100420 LHB            Oct-16
Burleson v. Bakersfield Memorial Hospital   Alameda                   HG15781661                   Oct-16
Gomez V. Huang                              San Francisco             CGC-12-523350                Oct-16
Chan                                        Sonoma                    SCV-256908                   Sep-16
Herrera v. City of Santa Rosa               San Francisco             CGC-12-526187                Sep-16
Williams v. Wyndham                         Napa                      26-66329                     Sep-16
Holder v. Greenhaus                         Alameda                   RG15785207                   Sep-16
King v. De Guzman                           Contra Costa              CIVMSC14-00959               Sep-16
Nguyen v. Roth                              Santa Clara               115CV285323                  Sep-16
Giorvas v. Grow                             San Francisco             CGC-15-545989                Sep-16
Chen V. Xie                                 Alameda                   RG15785207                   Sep-16
King v. Lat                                 Santa Clara               115CV282052                  Sep-16
Sugimoto v. Alexander's Steakhouse          Santa Clara               114CV269964                  Aug-16
Crump v. Rich Voss Trucking                 San Joaquin               39-2014-00308576-CU-PO-STK   Aug-16
Payton v. Hollywood Café                    San Joaquin               39-2014-00308576-CU-PO-STK   Aug-16
Rico v. Cabrall                             Alameda                   RG15771894                   Aug-16
Assad v. WinoId                             Santa Clara               114 CV 267867                Aug-16
Carpio v. Aubin                             Contra Costa              C15-01238                     Jul-16
Church v. Sarkis                            Northern District, CA     15-CV-01556-WHA               Jul-16
Hauschild v. City of Richmond               Fresno                    13CECG03137                   Jul-16
Peredia                                     Kern                      S-1500-CV-280994 DRL          Jul-16
McDermott v. System Capital                 San Francisco                                           Jul-16
Mahendran v. Nguyen                         San Francisco             CGC-15-543553                Jun-16
Hoeper V. CCSF                              San Francisco             1110018102                   Jun-16
Phillips v. Godaddy                         San Francisco             CGC-15-544050                Jun-16
Gupta v. SF State University                Alameda                   HG 15761938                  May-16
Alvarez                                     Santa Clara               113CV 250990                 May-16
Banitaba V. Nyquist                         Mahn                      CV 1501139                   May-16
Kenton v. Jacobson                          Alameda                   RG14724442                   May-16
Duong V. ITT Educational Services           Fresno                    12CECG03213 MWS              May-16
Torres v. AAU                               Alameda                   RG15765238                   May-16
Hansen v. East Bay Floorcovering            Alameda                   HG13708711                   May-16
Davila                                      Northern District, CA     5:14-cv-2650-BLF             Apr-16
Dean Markley USA V. Cenveo                  Solano                    FCSO40957                    Apr-16
Affonso                                     Northern District, CA     15-1232 JSC                  Apr-16
Svendsen v. United States                   San Francisco             CGC-15-545193                Apr-16
Pong v. Chen                                Santa Clara               114CV267832                  Apr-16
Jones v. Fickett                            San Mateo                 CIV529263                    Apr-16




                                                            Page 5                                           Depositions 1/12/2021
                Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 126 of 274




Paez v. Equity One                         Sonoma                   SCV256642                    Apr-16
Pleinnikul v. Llorence                     Alameda                  G14737974                    Mar-16
Brown v. Monument Security                 San Mateo                CIV481154                    Mar-16
Burkowski v. Cal Trans                     San Francisco            CGC-14-542909                Mar-16
Barnes v. Ngmoco                           Stanislaus               2004391                      Mar-16
Linhares v. Rocha                          Santa Clara              113CV246033                  Mar-16
Selck                                      San Mateo                CIV521687                    Mar-16
Holeman V. UPS                             Eastern District of CA   1:14-CV-01603-TLN-MJS        Mar-16
Harper v. County of Kern                   San Francisco            CGC-15-276452                Feb-16
Heath v. Asbestos                          Northern District, CA    3:15-cv-00340                Feb-16
Crowe v. Bountiful Oceans                  Santa Barbara            1470102                      Feb-16
Corcoran V. CalTrans                       Santa Clara              1-13-CV-257903               Feb-16
Martinez v. Kim                            Tulare                   VCU256679                    Jan-16
Westmoreland v. County of Tulare           Alameda                  12976                        Jan-16
Nakamura V. Kaiser                         Alameda                  RG14718031                   Jan-16
Skinner v. Country Builders Construction   Sacramento               34-2011-00097867             Dec-15
Smith v. Borrow Dale                       San Francisco            01-14-0002-2936              Nov-15
Xian v. eBay, Inc.                         San Francisco            CGC-14-537745                Nov-15
Spillane v. Capaccio                       San Francisco            CGC 14-541308                Nov-15
Smith v. Kitaura                           San Francisco                                         Nov-15
Bruemer v. AAA Business Supplies           San Bernardino           CIVDS 1405180                Nov-15
Mason v. Victor Valley Global              Siskiyou, California     SC CV 11-1022                Nov-15
Drew v, Largo                              Plumas                   GN-CV15-00033                Nov-15
Carlson v. Mason                           Solano                   FCSO40759                    Nov-15
Baker v. Regents                           Sonoma                   SCV255613                    Oct-15
Manolakos- Fraley                          Alameda                  HG14736049                   Oct-15
Li v. Hayward Area Recreation              Kern                     S-1500-CV281158 LHB          Oct-15
Truvillion v. Dignity Health               Santa Clara              114CV270447                  Oct-15
Kwei v. Liberty Mutual                     Alameda                  HG 13679708                  Oct-15
Leierer V. Salinas                         San Francisco            CGC-14-539560                Oct-15
Ramirez v. SF Giants                       Santa Cruz               CV 177679                    Oct-15
Marcus v. Blue Lagoon                      Santa Clara              114CV271939                  Sep-15
Timple V. Talledo                          San Francisco                                         Sep-15
Moran v. Yellow Cab                        San Francisco            CGC-14-537297                Sep-15
Page v. Dawson                             San Francisco            CGC-14-540727                Sep-15
Tan v. Yee                                 Northern District, CA    5:14-cv-2650-BLF             Sep-15
Dean Markley USA v. Cenveo                 Contra Costa             CIVMSC13-01172               Sep-15
Duffy v. Peck                              Alameda                  HG12616909                   Sep-15
Lockerbie V. Kousa                         Northern District, CA    C14-01082-THE                Sep-15
Gardner v. Federal Express                 Northern District, CA    14-cv-01619-WHO              Sep-15
English v. Apple                           Santa Clara              113CV245874                  Aug-15
Sinsheimer-Savage v. Home Depot            San Joaquin              39-2012-00288461-CU-BC-STK   Aug-15
Ferreira v. Jensen                         Northern District, CA    14-cv-00852-PJH              Aug-15
Robinson v. Open Top Sightseeing           San Francisco            1100077735                   Aug-15
Chi v. Ubiquiti                            Central District, CA     CV 13-09350                  Aug-15
Bracy v. City of LA                        San Francisco            CGC-13-534109                Aug-15
Delrue-McGuire v. Dressel                                                                         Jul-15
Rodriguez v. Parada                        San Francisco            CGC-14-538007                Jun-15
Payandehjoo v. National Library            Santa Clara              113CV245972                  Jun-15
Trujillo V. Aircraft Covers Inc.           Alameda                  RG 10510409                  Jun-15
Huynh v. State of CA                       San Francisco            CGC-13-534704                May-15
Mallen v. McAndrews                        San Joaquin              39-2013-00305497-CU-PO-STK   May-15
Llamas v. McDonalds                        Northern District, CA    3:13-CV-05966WH0             May-15
Hunt v. Continental Casualty               Contra Costa             CIVMSC11-02782               May-15
Rood v. Gurmeet Mohem                      San Francisco            CGC13529064                  May-15
Staedler V. Galu                           Los Angeles              BC517311                     Apr-15
Stepp v. Fidelity Law                      Los Angeles              BC528671                     Apr-15
MacKey v. Helinet Aviation                 San Francisco            CGC-12-523268                Apr-15
Chin v. SF Unified                         Yolo county              P010-1331                    Apr-15
Navarro v. Pacific Basin Milling           Mann                     CIV1302527                   Apr-15
Rempell                                    Northern District, CA    C13-05498 EMC                Apr-15
Nazif v. Computer Sciences                 Sonoma                   SCV-254487                   Mar-15
Watson v. Pudil                            San Francisco            CGC-13-532478                Mar-15
Stoll v. County of San Francisco           San Francisco            CGC-11-515542                Mar-15
Fua v. Yellow Cab                          Contra Costa             CIVMSC13-01216               Mar-15
Fain v. Baeseman                           Placer                   8CV0033354                   Feb-15
Kossick v. Kaiser and Rhyder               Contra Costa             XX-XXXXXXX                   Feb-15
Brown v. Progressive Choice Insurance      San Mateo                CIV519951                    Feb-15
Blair v. Monterey Clement, et al.          Santa Clara              CCSC-C12-02356               Jan-15
Livingstone v. Bridges Golf Course         Alameda                  RG13670123                   Jan-15
Halverson v. Pet Food Express              Santa Clara              113CV255290                  Jan-15
Shyam v. NuWare Technologies               Los Angeles              72-516-E-00028-13            Jan-15
Anderson v. Felahy                         Contra Costa             12607                        Jan-15




                                                           Page 6                                          Depositions 1/12/2021
 Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 127 of 274


United States District Court
Northern District of California
San Jose Division
Case Name: Dominguez v. City of San Jose, etal.
Case No.: 5:18-cv-04826 BLF


                                CERTIFICATE OF SERVICE

       I, the undersigned, under penalty of perjury, certify and declare:

       That I am a citizen of the United States, over 18 years of age, a resident of or
employed in the County where the herein described mailing took place, and not a party
to the within action.

       That my business address is 125 S. Market Street, Suite 1200, San Jose,
California 95113-2288.

       That on behalf of John Kevin Crowley, I served the foregoing document(s)
described as:

   Plaintiffs Expert Witness Disclosure

on the following person(s) in this action, via electronic e-mail transmission, as set forth
below:

       Mann J. Clouse, Sr. Deputy City Attorney                  marin.clouse@sanjoseca.qov
       City of San Jose
       Office of the City Attorney
       200 E. Santa Clara Street, 16th Floor
       San Jose, CA 95113-1905

        I declare that the above service was made at the direction of a member of the bar
of this Court.

       Executed on May 21, 2021, at San Jose, California.

                                                                            c




                                                   5
                               Plaintiffs Expert Witness Disclosure
Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 128 of 274




                EXHIBIT 2
      Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 129 of 274


 1   JOHN KEVIN CROWLEY (sBN 88189)
     ATTORNEY AT LAW
 2   125 S. Market Street, Suite 1200
     San Jose, California 95113-2288
 3
     Tel: (408) 288-8100
     Fax: (408) 288-9409
 4
     Email: lIcclawpacbell.net
 5
     Attorney for Plaintiffs
     JESSICA DOMINGUEZ INDIVIDUALLY
 6
     AND JESSICA DOMINGUEZ AS GUARDIAN
     AD LITEM FOR JAD (1), JAD (2) AND JAD (3)
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                            SAN JOSE DIVISION
11


12
     JESSICA DOMINGUEZ INDIVIDUALLY                              CASE NO: 5:18-cv-04826-BLF
13   AND JESSICA DOMINGUEZ AS
     GUARDIAN AD LITEM FOR JAD (1),                             PLAINTIFFS' REBUTTAL EXPERT
14   JAD (2) AND JAD (3),                                       WITNESS DISCLOSURE

15
                   Plaintiffs,
16
             VS.
17
     CITY OF SAN JOSE, SAN JOSE
18   POLICE DEPARTMENT, MICHAEL
     PINA, AND DOE POLICE OFFICERS 2
19
     THROUGH 5,                                                 Trial: August 22, 2022

20
                   Defendants.
21
     TO DEFENDANTS AND DEFENDANTS' ATTORNEY OF RECORD:
22
              Pursuant to FRE § 702, et seq., and FRCP §26, et seq., Plaintiffs hereby intend to
23

24    offer expert witness opinion testimony at the trial of this above-captioned action as

25    follows:

26           Retained Rebuttal Experts:
27            1. Alan D Barbour, PhD., CLB, P.O. Box 14084, Fresno, CA 93650; (559) 435-
28
                                                          1


                                  Plaintiff's Rebuttal Expert Witness Disclosure
     Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 130 of 274


 1
     8259; abarbourlightspeed.net            .   Dr. Barbour's Rule 26(a)(2)(B) report is attached
 2
     hereto Exhibit A which includes his Curriculum Vitae and his record of being deposed
 3
     and testifying in various courts including Federal Courts.
 4
            2. The parties have agreed to extend the time to disclose the rebuttal ballistics
 5

     expert witness until after the physical evidence can be examined by the expert consultant
 6

 7   and a report prepared intended to be no later than June 30, 2021.

 8
     Dated: June 19, 2021
 9

10

11
                                                                         KEVIN CROWLEY
                                                                     orney for Plaintiffs
12

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                                                            2
                                    Plaintiff's Rebuttal Expert Witness Disclosure
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                 EXHIBIT A
      Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 132 of 274


                        ALAN D BARBOUR, PhD, CLB (Ret.)
                                   Fellow of The Chartered Society
                                         of Forensic Sciences
                                Consulting Forensic Toxicologist
                          Forensic Toxicology • Blood Alcohols • Mass
                                          Spectrometry
              Inspection and evaluation of clinical and toxicology laboratory records
             Testimony, specializing in drug and alcohol tests and their interpretation
                               Analysis of hypothetical drinking histories

                                                June 1, 2021
                                                 Page 1 of 2


John Kevin Crowley, Esq.
125 South Market Street, Suite 1200
San Jose, California 95113-2288
BY e-MAIL TO: jkclaw@pacbell.net

IN RE: Jessica Dominguez etal., vs. City of San Jose etal.
        United States District Court, Northern District of California         No. 5:18-cv-04826-BLF


Dear Mr. Crowley:

I have reviewed the documents related to the above cited case which you forwarded to me,
to wit:
        1. [Proposed] Stipulated Protective Order, 15 pp;
        2. Opinion of Daniel L. Sudakin dated 05/05/2021, 6 pp;
        3. Curriculum vitae of Daniel L. Sudakin, 20 pp;
        4. Search warrant and related records, 18 pp;
        5. Santa Clara County Medical Examiner records, 14 pp, including investigation report 5 pp,
               and Autopsy report 9 pp;
        6. Santa Clara County Crime Lab Records, 69 pp including ballistics, clothing and inventory;
        7. Santa Clara County District Attorney's Office press release, 3 pp; and
        8. Santa Clara County District Attorney Report on the Fatal Shooting of Jacob Dominguez on
               September 15 h, 2017, 19 pp.
                               1




I hereby declare that the following is my considered professional opinion with respect to the
questions I have been asked to date in the above-cited matter, based on my education, training,
experience and the documents cited above. If called upon to do so I will unhesitatingly so testify
under oath and subject to the penalties of perjury, reserving, however, the right to reconsider
my opinion in the light of further information should such be forthcoming.

                                       Blood Drug Testing Results

In Item 2 [Opinion of DLS] at pp. 3-4, alleged concentrations of drugs detected in the blood of
Mr. Dominguez are given, with no source document identified. In Item 5, autopsy report, at
Bates SJ1702, the same alleged concentrations of drugs are reported, with no source document
identified. In Item 8, at Bates SJ1789, qualitative alleged results of decedent's drug testing are
given, referring to autopsy report. Nowhere in the discovery I received was there a copy of the
drug testing report that would customarily be included.

                                                                       Please continue to concluding page

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                                 P.O. Box 14084 • Fresno, CA 93650
      Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 133 of 274


                       ALAN D BARBOUR, PhD, CLB (Ret.)
                    Fellow of The Chartered Society of Forensic Sciences
                                                      IN RE: Dominguez vs. San Jose,       Page 2 of 2

                                              Discussion

Absent a copy of the drug testing report, there is no way to verify the alleged drug test results
are an accurate reflection of same, and no way to question the analyst[s], if any. The discovery
I received does not even identify where the alleged drug testing was performed. Unless and
until a verifiable true copy of the alleged drug testing report is produced and plaintiff's attorney is
allowed an opportunity to question at least a competent representative of the laboratory, the
alleged test results are in my opinion clearly inadmissible hearsay.

Hoping that this is of some assistance, I remain very

                                                                Sincerely yours,



                                                              CLL
                                                                DZ1/4vIrmA,
Attachments:
       Curriculum vitae Alan D Barbour
       List of appearances




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                                P.O. Box 14084 • Fresno, CA 93650
        Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 134 of 274
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                        ALAN D BAR BOUR, PhD, CLB (Ret.)                                                                 7
                                 Fellow of The Chartered Society                           <      / ,,: •gia         )
                                       of Forensic Sciences                                 2„
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                                Consulting Forensic Toxicologist
                   Forensic Toxicology • Blood Alcohols • Mass Spectrometry

                                        APPEARANCES

No.      Date                    Venue*                           Judge                     Subject
 1      —1978      Mendocino Co. Superior Court                                       Alcohol
2     12/10/1986   Fresno Municipal Court             Thomas A. Harris                Alcohol
3     01/28/1987   Kings County Superior Court        Tim S. Buckley                  Cocaine
4     02/03/1987   Fresno Municipal Court             John J. Gallagher               Methamphetamine
5     04/20/1987   Kings County Superior Court        Peter M. Schultz                Cocaine
6     04/22/1987   Fresno Municipal Court             Edward Sarkisian Jr.            Alcohol & Cocaine
7     06/10/1987   Fresno Municipal Court             Lawrence Jones                  Alcohol
      06/23/1987   Fresno County Superior Court       Robert Z. Mardikian             Alcohol
9     08/20/1987   Fresno County Superior Court       James L. Quashnick              Amphetamines
10    08/31/1987   Fresno County Superior Court       Gene M. Gomes                   Alcohol
11    09/22/1987   Fresno County Superior Court       Ralph Nunez                     Alcohol
12    09/25/1987   Madera County Superior Court                                       Alcohol
13    10/05/1987   Fresno County Superior Court       Gene M. Gomes                   Alcohol
                   CA Board of Vocational Nurses &    Muriel Evens, AUJ
14    11/04/1987                                                                      Cocaine
                   Psychiatric Technician Examiners   (Tulare County)**
15    11/23/1987   Kings County Superior Court        Tim S. Buckley                 Opiates
16    05/04/1988   Hanford Municipal Court            John G. O'Rourke               Alcohol
17    05/16/1988   Fresno County Juvenile Court       Dennis Caeton                  PCP
18    06/09/1988   Fresno Municipal Court             Armando 0. Rodriguez           Alcohol
19    06/15/1988   Los Angeles Co. Superior Court     John H. Reid                   Alcohol
20    08/12/1988   Fresno County Juvenile Court       J. Montgomery Carter           Cocaine
21    08/18/1988   Kings County Superior Court        Peter M. Schultz               Alcohol
22    08/31/1988   Deposition No. 1                                                  Alcohol
23    10/28/1988   Fresno Municipal Court             W. Kent Levis Jr.              PCP
24    11/03/1988   Fresno Municipal Court             W. Kent Levis Jr.              Alcohol
25    11/04/1988   Fresno Municipal Court             W. Kent Levis Jr.              Alcohol
26    11/29/1988   Fresno Municipal Court             Herbert I. Levy                Alcohol
27    01/05/1989   Deposition No. 2                                                  Alcohol
28    01/23/1989   Fresno Municipal Court             Armando 0. Rodriguez           Alcohol
29    01/25/1989   Fresno County Superior Court       Gary Austin                    Alcohol & Cocaine
30    01/28/1989   Tulare County Superior Court**     Edward Kim                     PCP
31    3/16-17/89   Fresno Municipal Court             Armando 0. Rodriguez           Alcohol
32    03/17/1989   Fresno County Superior Court       Ralph Nunez                    Alcohol & Cocaine
33    03/21/1989   Fresno County Superior Court       Stephen R. Henry               Alcohol
34    03/29/1989   Deposition No. 3                                                  Alcohol
35    06/01/1989   Madera County Superior Court       Edward Moffatt                 Chain of possession



                                                  *California, except as noted **Visalia, except as noted

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                                      abarbour@lightspeed.net
        Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 135 of 274




No.      Date                     Venue*                         Judge                 Subject
36    06/05/1989    Fresno County Superior Court         Gene Gomes            Alcohol
37    08/21/1989    Fresno County Superior Court         John Fitch            Contraband cocaine
38    08/30/1989    Fresno Municipal Court               Herbert J. Levy       Alcohol
39    09/20/1989    Fresno County Superior Court         Thomas A. Harris      Alcohol & PCP
40    11/07/1989    Fresno County Superior Court         James L. Quashnick    Alcohol & PCP
41    11/20/1989    Deposition No. 4                                           Alcohol
42    12/14/1989    Deposition No. 5                                           Alcohol
43    01/30/1990    Deposition No. 6                                           Alcohol & Cocaine
44    02/15/1990    Fresno County Superior Court         Stephen R. Henry      Alcohol
45    03/27/1990    Parlier Justice Court                Anthony W. Ishii      Alcohol
46    04/05/1990    Fresno County Superior Court         Stephen R. Henry      Alcohol
47    04/05/1990    Fresno County Superior Court         Stephen R. Henry      Alcohol
48    05/01/1990    Fresno County Superior Court         Frank J. Creede Jr.   Alcohol, cocaine & PCP
49    05/1-2/1990   Fresno County Superior Court         Stephen R. Henry      Alcohol, cocaine & THC
50    09/10/1990    Fresno County Superior Court         Stephen R. Henry      Cocaine
51    02/07/1991    Tulare Co. Municipal Ct. (Dinuba)    Steven Drew           Alcohol
52    02/07/1991    Fowler Municipal Court               Carlos A. Cabrera     Alcohol
53    02/13/1991    Fresno County Superior Court         Dennis Caeton         Alcohol & drugs
54    02/26/1991    Deposition No. 7                                           Alcohol
55    03/19/1991    Fresno Municipal Court               Annette LaRue         Alcohol
56    11/18/1991    Fresno County Superior Court         James L. Quashnick    Alcohol
57    3/11-15/93    Fresno County Superior Court         William Silveira      Alcohol
58    09/24/1993    Tulare Co. Superior Court**          William Silveira      Alcohol, cocaine, urine ID
59    10/25/1993    Fresno County Superior Court         John Fitch            Alcohol
60    03/16/1994    U.S. District Court No. 2 (Fresno)   Oliver W. Wanger      Alcohol
                                                                               Methamphetamine,
61    08/05/1994 Tulare County Superior Court            Howard Broad man
                                                                                 opiates & cocaine
62    10/03/1994 Arbitration [Sacramento]                Charles Askin         Marijuana, NIDA
63    12/29/1994 Tulare County Superior Court            Kenneth Conn          Alcohol
64    11/05/1995 San Luis Obispo Co. Superior Ct.        Barry Hammer          Methampheamine
                                                                               Methamphetamine GCMS
65    03/18/1996 Tulare County Municipal Court           Melinda M. Reed
                                                                                 Kelly-Frye hearing
                                                                               Methamphetamine GCMS
66    05/17/1996 Tulare County Municipal Court           Darryl B. Ferguson
                                                                                 Kelly-Frye hearing
67    05/31/1996    Fresno County Superior Court         Lawrence Jones        Heroin
68    03/13/1997    Deposition No. 8                                           Alcohol
69    07/07/1997    Administrative hearing [Merced]      Haven P. Courtney     Marijuana
70    10/12/1998    Deposition No. 9                                           Alcohol
            Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 136 of 274
                                                                                                      VA•OF.

                            ALAN D BARBOUR, PhD, CLB (Ret.)                                           1




                                     Fellow of The Chartered Society
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                                           of Forensic Sciences                                  ,
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                                    Consulting Forensic Toxicologist                                       •
                       Forensic Toxicology • Blood Alcohols • Mass Spectrometry

                                             APPEARANCES

No.          Date                   Venue*                             Judge                   Subject
71        10/19/1998   Tulare Co. Sup. Ct. Juvenile Div.    Elisabeth B. Krant           Alcohol
72        12/02/1998   Dona Ana Co. (NM) Distr. Ct. No. 3   Jerald A. Valentine          Alcohol
73        05/24/1999   Fresno County Superior Court         Phillip Silva                THC
74        08/24/2000   Deposition No. 10                                                 Alcohol
75        09/29/2000   Fresno County Superior Court         Alan M. Simpson              Alcohol
76        06/21/2001   Kings Count Superior Court           Louis F. Bissig              Alcohol
77        10/25/2001   Tulare Co. Sup. Ct. (Porterville)    Valario Sauceda              Alcohol
78        01/14/2002   Fresno County Juvenile Court         Gregory T. Fain              Alcohol
                                                                                         Alcohol &
79        02/14/2002 Tulare County Superior Court**         Joseph Kalashian                Methamphetamine
80        02/20/2002 Fresno County Superior Court           Gary Austin                  Alcohol
81        03/12/2002 Deposition No. 11                                                   Alcohol
82        03/20/2002 Fresno County Superior Court           Ralph Nunez                  Alcohol
                                                                                          Methamphetamine &
83        04/02/2002 California Board of Nursing
                                                                                            chain of possession
84        04/29/2002   Fresno County Superior Court         William Stone                Alcohol
85        05/13/2002   Tulare Co. Sup. Ct. Juvenile Div.    Martin Staven                Rat poison
86    ,   08/20/2002   Shasta County Superior Court         James Ruggiero               Alcohol
87        08/27/2002   Deposition No. 12                                                 Methamphetamine
88        09/12/2002   Tulare Co. Sup. Court (Tulare)       Walter L. Gorelick           Alcohol, solvents
                                                                                         Alcohol &
89        09/16/2002 Tulare County Superior Court           William Silveira
                                                                                            Methamphetamine
90        09/24/2002   Deposition No. 13                                                 Alcohol
91        10/01/2002   Fresno County Superior Court         Donald S. Black              Alcohol
92        10/04/2002   Fresno County Superior Court         R. L. Putnam                 Alcohol
93        10/22/2002   Monterey County Juvenile Court       Richard M. Curtis            Marijuana screening
94        11/08/2002   Fresno County Superior Court         W. Kent Levis Jr.            Alcohol
95        12/04/2002   Kings County Superior Court          Ronald J. Maciel             Alcohol
96        12/05/2002   Fresno County Superior Court         Edward Sarkisian Jr.         Alcohol
97        01/22/2003   Fresno Co. Sup. Court (Kingsburg)    Gary R. Orozco               Alcohol
98        01/28/2003   Fresno Co. Sup. Court (Kingsburg)    Gary R.Orozco                Alcohol
99        01/29/2003   Fresno County Superior Court         Gary D. Hoff                 Alcohol
100       02/04/2003   Fresno County Superior Court         Gary D. Hoff                 Alcohol
101       02/20/2003   Tulare Co. Superior Court (Tulare)   Walter L. Gorelick           Alcohol
102       03/03/2003   Fresno County Superior Court         Franklin Jones               Alcohol
103       03/10/2003   Fresno County Superior Court         Gary Austin                  Alcohol
104       03/24/2003   Deposition No. 14                                                 Alcohol
105       05/13/2003   Kings County Superior Court          Lynn C. Atkinson             Alcohol



                                                       *California, except as noted **Visalia, except as noted

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        Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 137 of 274




No.    Date                   Venue*                            Judge                Subject
106 05/14/2003 Fresno County Superior Court           Gary R.Orozco           Alcohol
107 06/27/2003 Fresno County Superior Court           William Stone           Alcohol
108 7/15-16/03 Fresno County Juvenile Court           Timothy Kams            Alcohol
109 07/30/2003 Tulare County Superior Court**         Paul Vortmann           Alcohol
110 08/18/2003 Madera County Superior Court           Edward P. Moffatt       Methamphetamine
111 09/30/2003 Deposition No. 15                                              Alcohol
112 12/17/2003 Deposition No. 16                                              Alcohol
113 12/18/2003 Tulare Co. Sup. Court (Dinuba)         Stephen V. Drew         Alcohol
114 12/30/2003 Fresno County Superior Court           John F. Vogt            Alcohol
115 01/08/2004 Fresno County Superior Court           R. L. Putnam            Alcohol
116 01/12/2004 Tulare County Superior Court           Paul Vortmann           Methamphetamine
117 01/28/2004 Fresno County Superior Court           Franklin Jones          Alcohol
118 03/01/2004 Kern County Superior Court             Gary R. Witt            Alcohol
119 03/15/2004 Fresno County Superior Court           R. L. Putnam            Alcohol
120 03/22/2004 2ndDist. Court (Washoe Co., NV)        Janet Berry             Marijuana
121 04/15/2004 Fresno County Superior Court           James Opplinger         Alcohol & Cocaine
122 05/12/2004 U.S. District Court (Yosemite)         William M. Wunderlich   Alcohol
123 05/12/2004 U.S. District Court (Yosemite)         William M. Wunderlich   Alcohol
124 06/22/2004 Fresno County Superior Court           Edward Sarkisian Jr.    Alcohol
125 07/09/2004 Fresno County Superior Court           John F. Vogt            Alcohol
126 07/15/2004 Fresno County Superior Court           James Opplinger         Alcohol
127 08/12/2004 Deposition No. 17                                              Marijuana
128 08/13/2004 Tulare County Superior Court           Lloyd Hicks             Alcohol & ABO type
129 09/02/2004 Deposition No. 18                                              Alcohol
130 10/22/2004 San Joaquin Co. Superior Court         Terrence Van Oss        Alcohol
131 11/15/2004 Kodiak (AK) Superior Court             Joel H. Bolger          Alcohol
132 11/17/2004 Tulare County Superior Court           Gerald F. Sevier        Alcohol & Meth
133 11/22/2004 Deposition No. 19                                              MAOlvs SSRI drugs
134 12/16/2004 Tulare County Sup. Ct. (Porterville)   Lloyd Hicks             Alcohol
135 12/21/2004 San Luis Obispo Co. Superior Ct.       Roger Piquet            Alcohol
136 01/06/2005 San Luis Obispo Co. Superior Ct.       Douglas Hilton          R. drug interactions
137 01/13/2005 Sonoma County Superior Court           Elaine Rushing          Alcohol
138 1/31-2/1/05 King County (WA) Superior Court       Helen Ha!pert           Multiple drugs
139 02/15/2005 Deposition No. 20                                              Postmortem drugs, Et0H
140 03/01/2005 Fresno Co. Sup. Ct. Juvenile Div.      Adolfo Corona           Methamphetamine
       Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 138 of 274
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                        ALAN D BARBOUR, PhD, CLB (Ret.)
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                             Consulting Forensic Toxicologist
                Forensic Toxicology • Blood Alcohols • Mass Spectrometry

                                         APPEARANCES

No.      Date                     Venue*                       Judge                       Subject
141 03/24/2005     Tulare County Superior Court**     Paul Vortman                   Alcohol & ABO type
142   04/01/2005   Deposition No. 21                                                 Alcohol, drug screen
143   05/17/2005   Fresno County Superior Court       Jon N. Kapetan                 Alcohol
144   05/17/2005   Fresno County Superior Court       Jon N. Kapetan                 Alcohol & opiates
145   05/18/2005   Tulare County Superior Court       Lloyd Hicks                    Alcohol
146   07/14/2005   Fresno County Superior Court       Arlan L. Harrell               Alcohol
147   09/16/2005   U.S. District Court (Fresno)       Anthony W. Ishii               Meth lab yield
148   09/26/2005   Fresno County Superior Court       Wayne R. Ellison               Alcohol, chloroform
149   10/05/2005   Fresno County Superior Court       Wayne R. Ellison               Alcohol & cocaine
150   11/10/2005   Tulare Co. Superior Ct. (Tulare)   Walter L. Gorelick             Methamphetamine
151   11/21/2005   Fresno County Superior Court       Wayne R. Ellison               Alcohol
152   12/07/2005   Alc. Bev. Control (Santa Rosa)     Arne Greenberg                 Alcohol
153   01/20/2006   Fresno County Superior Court       Jeffrey Hamilton Jr.           Alcohol
154   01/31/2006   San Joaquin Co. Superior Court     Lesley D. Holland              Alcohol
155   02/10/2006   Alameda Co. Sup. Ct. (Oakland)     Morris Beatus                  Alcohol
156   02/15/2006   Amador County Superior Court       David S. Richmond              ABO, Et0H, NaF
157   02/16/2006   Tulare Co. Superior Ct. (Tulare)   Walter L. Gorelick             Hydrocodone
158   02/22/2006   San Joaquin Co. Superior Court     Elizabeth Humphreys            Alcohol
159   03/23/2006   Deposition No. 22                                                 Alcohol
160   03/30/2006   Alameda Co. Sup. Ct. (Oakland)   Jacqueline Taber                 Alcohol
161   04/14/2006   Fresno County Superior Court     Gregory T. Fain                  Alcohol
162   04/28/2006   Fresno County Superior Court     Kent Hamlin                      Alcohol
163   05/08/2006   Fresno County Superior Court     Carlos Cabrera                   Alcohol
164   05/12/2006   Fresno County Superior Court     Houry A. Sanderson               Alcohol
165   06/09/2006   Tulare County Sup. Ct. (Tulare) Walter L. Gorelick                Methamphetamine
166   06/14/2006   Fresno County Superior Court     Gary D. Hoff                     Et0H, meth, coc
167   06/26/2006   Fresno County Superior Court     David A. Gottlieb                Alcohol & MDMA
168   06/30/2006   Ferndale (WA) Municipal Court    Terrance Lewis                   Ethyl glucuronide
169   07/20/2006   Fresno County Superior Court     Gregory T. Fain                  Alcohol
170   07/27/2006   Tulare Co. Sup. Ct. (Dinuba)     Steven Drew                      Meth, R„ drugs
171   08/10/2006   Tulare County Sup. Ct. (Visalia) Gary Paden                       Methamphetamine
172   08/16/2006   Fresno County Superior Court     Gregory T. Fain                  Alcohol
173   08/18/2006   Fresno County Superior Court     Jonathan B. Conklin              Alcohol
174   08/28/2006   San Luis Obispo Co. Superior Ct. Barry Hammer                     Alcohol
175   09/21/2006   Deposition No. 23                                                 Alcohol




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No.      Date                    Venue*                         Judge                  Subject
176   09/22/2006   Fresno County Superior Court         Donald R. Franson Jr.    Alcohol
177   09/28/2006   Mohave Co. (AZ) Superior Court       James Chavez             Methadone
178   10/10/2006   Deposition No. 24                                             Alcohol
179   10/18/2006   Fresno County Superior Court         Gary S. Austin           Alcohol
180   11/07/2006   Fresno County Superior Court         Gregory T. Fain          Alcohol
181   11/15/2006   Camp Pendleton                       Lt. Colonel T. A. Daly   Cocaine
182   12/11/2006   Tulare Co. Superior Court (Tulare)   Walter L. Gorelick       Zolpidem
183   12/12/2006   Alc. Bev. Control (Santa Rosa)       John P. McCarthy         Alcohol
184   12/15/2006   Fresno County Superior Court         Jeff Bird                Alcohol
185   01/12/2007   Fresno County Superior Court         Jonathan B. Conklin      Alcohol
186   01/25/2007   Fresno County Superior Court         Rosendo Pena             Alcohol
187   01/30/2007   Deposition No. 25                                             Alcohol
188   02/08/2007   Sonoma County Superior Court         Rene Chouteau            Alcohol & THC
189   02/15/2007   Deposition No. 26                                             Alcohol & meth
190   03/14/2007   Fresno County Superior Court         John F. Vogt             Alcohol
191   04/20/2007   Deposition No. 27                                             Alcohol & meth
192   04/26/2007   Deposition No. 28                                             Methamphetamine
193   05/01/2007   Deposition No. 29                                             Alcohol, abused drugs
194   05/21/2007   Fresno County Superior Court         Houry A. Sanderson       Cocaine &methadone
195   05/21/2007   Deposition No. 30                                             Alcohol
196   05/24/2007   CA State Personnel Board--Fresno     Mary Horst, AUJ          Alcohol
197   06/01/2007   Tulare County Superior Court**       Lloyd L. Hicks           Alcohol
198   06/04/2007   Fresno County Superior Court         Edward Sarkisian Jr.     THC & Dilantin
199   07/20/2007   Fresno County Superior Court         James Opplinger          Alcohol
200   07/27/2007   Fresno Co. Superior Court (Clovis)   Carlos A. Cabrera        Alcohol
201   08/27/2007   Fresno County Superior Court         Donald S. Black          Alcohol
202   08/29/2007   Lake County Superior Court           Arthur H. Mann           Alcohol
203   09/12/2007   Auburn (WA) Municipal Court          Patrick Burns            Ethyl glucuronide
204   09/19/2007   Fresno County Superior Court         Carlos A. Cabrera        Alcohol
205   10/15/2007   Tulare County Superior Court         Patrick J. O'Hara        Rat poison
206   10/11/2007   Madera County Superior Court         Edward Moffatt           Methamphetamine
207   11/02/2007   Fresno County Superior Court         Kristi C. Kapetan        Alcohol
208   11/21/2007   Alameda Co. Sup. Ct. (Hayward)       Robert K. Kurtz          Multi R. & cocaine
209   11/29/2007   Santa Cruz County Superior Court     Denine J. Guy            R. drugs
210   12/03/2007   Kings County Superior Court          Peter M. Schultz         Codeine
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                                        APPEARANCES



No.      Date                     Venue*                         Judge                    Subject
211   12/18/2007   Sonoma County Superior Court        Rene A. Chouteau            Alcohol & THC
212   01/04/2008   Fresno County Superior Court        James Opplinger             Alcohol
213   02/06/2008   Tulare County Superior Court**      Gerald R. Sevier            Blood typing
214   02/06/2008   Santa Cruz County Superior Court    Steven S. Siegel            Alcohol
215   02/14/2008   Merced County Superior Court        Hugh Flanagan               Methamphetamine
216   02/27/2008   Alameda Co. Sup. Ct. (Oakland)      C. Don Clay                 Alcohol
217   02/29/2008   Fresno County Superior Court        Kristi C. Kapetan           Alcohol
218   03/18/2008   Fresno County Superior Court        Wayne R. Ellison            Alcohol
219   03/21/2008   Deposition No. 31                                               Methamphetamine
220   03/25/2008   Fresno County Superior Court        Edward Sarkisian Jr.        Alcohol
221   04/18/2008   Tulare Co. Sup. Ct. (Porterville)   Juliet Boccone              Alcohol & FST's
222   04/22/2008   Alameda Co. Sup. Ct. (Oakland)      Vernon Nakahara             Alcohol
223   05/16/2008   Contra Costa Co. Superior Court     Bruce C. Mills              Alcohol & zolpidem
224   05/27/2008   San Diego County Superior Court     John M. Thompson            Oxycodone & THC
225   05/30/2008   Fresno County Superior Court        Brian M. Arax               Alcohol
226   06/03/2008   U.S. District Court (Honolulu)      David Alan Ezra             Opioids, multi drugs
227   06/27/2008   Tulare Co. Superior Ct. (Tulare)    Gary M. Johnson             Alcohol
228   07/03/2008   Alameda Co. Sup. Ct. (Fremont)      Keith H. Fudenna            Alcohol
229   08/08/2008   Deposition No. 32                                               Alcohol, THC, driving
230   08/18/2008   U.S. District Court (Fresno)        Lawrence J. O'Neill         Alcohol
231   08/20/2008   San Luis Obispo Co. Superior Ct.    Jac Crawford                Alcohol
232   08/22/2008   Fresno County Superior Court        Edward Sarkisian Jr.        Alcohol
233   09/05/2008   San Luis Obispo Co. Superior Ct.    Jac Crawford                Alcohol
234   09/12/2008   Deposition No. 33                                               Alcohol
235   09/16/2008   Fresno County Superior Court        Mark W. Snauffer            Alcohol
236   09/18/2008   Tulare Co. Superior Ct. (Tulare)    Gary M. Johnson             THC & driving
237   09/22/2008   Alameda Co. Sup. Ct. (Hayward)      Julia Spain                 Alcohol
238   10/08/2008   San Diego Co. Sup. Ct. (El Cajon)   Lantz Lewis                 R. drugs & driving
239   10/14/2008   Alameda Co. Sup. Ct. (Hayward)      Winton McKibben             Alcohol
240   10/14/2008   Alameda Co. Sup. Ct. (Hayward)      Robert K. Durtz             Alcohol
241   10/20/2008   San Luis Obispo Co. Superior Ct.    Jac Crawford                Alcohol
242   10/27/2008   Tulare County Superior Court        Darryl B. Ferguson          Alcohol
243   11/07/2008   Fresno County Superior Court        Edward Sarkisian Jr.        Alcohol & cocaine
244   11/25/2008   Alameda Co. Sup. Ct. (Fremont)      Kathleen M. Banke           Alcohol
245   12/01/2008   Alameda Co. Sup. Ct. (Hayward)      Julia Spain                 Methamphetamine



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No.      Date                    Venue*                         Judge                  Subject
246   12/02/2008    Fresno County Superior Court       Carlos A. Cabrera        Alcohol & Cocaine
247   12/16/2008    Deposition No. 34                                           Alcohol
248   01/15/2009    Tulare County Superior Court**     James Hol!man            Contraband weight
249   01/23/2009    Alameda Co. Sup. Ct. (Hayward)     Julia Spain              Alcohol
250   02/11/2009    Alameda Co. Sup. Ct. (Hayward)     Henry Ramsey Jr.         Alcohol
251   02/23/2009    LA Co. Superior Ct. (Pasadena)     C. Edward Simpson        Alcohol
252   02/25/2009    Fresno County Superior Court       Hilary A. Chittick       Alcohol
253   03/13/2009    Tulare Co. Superior Ct. (Tulare)   Walter L. Gorelick       Benzodiazepines
254   03/30/2009    Alameda Co. Sup. Ct. (Oakland)     Stuart Wing              Alcohol
255   04/06/2009    Alameda Co. Sup. Ct. (Hayward)     Kenneth R. Kingsbury     Alcohol
256   05/08/2009    Fresno County Superior Court       Carlos A. Cabrera        Alcohol
257   05/20/2009    Kern County Superior Court         William D. Palmer        Alcohol
258   06/04/2009    Deposition No. 35                                           Alcohol
259   06/11/2009    Deposition No. 36                                           Clinical lab practice
260   07/20/2009    Fresno County Superior Court       James Opplinger          Alcohol
261   07/27/2009    Fresno County Superior Court       Denise L. Whitehead      Alcohol
262   07/30/2009    San Luis Obispo Co. Superior Ct.   Michael L. Duffy         Morphine, THC
263   08/10/2009    Fresno County Superior Court       Wayne Ellison            Methamphetamine
264   09/14/2009    Alameda Co. Sup. Ct. (Hayward)     Michael Gaffey           Alcohol
265   09/24/2009    Alameda Co. Sup. Ct. (Oakland)     Rhonda Burgess           Alcohol
266   09/29/2009    Fresno County Superior Court       Gary R. Orozco           Alcohol
267   10/06/2009    Alameda Co. Sup. Ct. (Hayward)     Roy Hashimoto            Alcohol
268   10/07/2009    Fresno County Superior Court       John F.Vogt              Alcohol
269   10/07/2009    Fresno County Superior Court       Robert H. Oliver         Alcohol
270   11/02/2009    Alameda Co. Sup. Ct. (Oakland)     Carrie Panetta           Alcohol
271   11/20/2009    Deposition No. 37                                           Alcohol
272   12/01/2009    Fresno County Superior Court       Mark W. Snauffer         Alcohol
272   12/21/2009    Alameda Co. Sup. Ct. (Hayward)     Julia Spain              Methamphetamine
274   1/12-13/'10   Tulare County Superior Court       Joseph F. Kalashian      Alcohol & THC
275   01/26/2010    Alameda Co. Sup. Ct. (Hayward)     Carlos G. Ynostrosa      Alcohol
276   02/14/2010    Alameda Co. Sup. Ct. (Hayward)     Dan Grimmer              Alcohol
277   02/08/2010    Deposition No. 38                                           Alcohol
278   02/23/2010    Fresno County Superior Court       Robert H. Oliver         Alcohol
279   02/24/2010    Contra Costa Co. Superior Ct.      Bruce C. Mills           Alcohol
280   02/25/2010    Alameda Co. Sup. Ct. (Oakland)     Yvonne Gonzalez-Rogers   Alcohol
           Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 142 of 274


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                                             APPEARANCES

No.          Date                     Venue*                             Judge                       Subject
281       03/01/2010   Kings County Grand Jury                                               Alcohol, OTC Drugs
282       03/22/2010   Fresno County Superior Court           Wayne R. Ellison               Alcohol
283       03/30/2010   U.S. District Court (Anchorage)        Ralph R. Beistline             Medical lab practice
284       04/07/2010   Alameda Co. Sup. Ct. (Hayward)         Michael Gaffey                 Alcohol, Rx drugs
285       04/16/2010   Arbitration (Oakland)                  Charles Askin, Arb.            THC
286       05/20/2010   Merced County Superior Court           Carol Ash                      Methamphetamine
287 6/4&7/10           Fresno County Superior Court           Robert H. Oliver               Alcohol
288 06/10/2010         Alameda Co. Sup. Ct. (Hayward)         Carlos G. Ynostrosa            Alcohol
289 06/15/2010         U.S. District Court (Fresno)           Oliver W. Wanger               THC
290 06/25/2010         Fresno County Superior Court           James Opplinger                Alcohol
291 07/14/2010         Deposition No. 39                                                     UDS lab practice
292 07/15/2010         Alameda Co. Sup. Ct. (Hayward)         Dan Grimmer                    Alcohol
293 07/30/2010         Sonoma County Superior Court           Gary A. Medvigy                Alcohol & Benedryl
294 08/02/2010         Madera County Superior Court           Roger Wayne                    Rxdrugs DUI
295 08/04/2010         Fresno County Superior Court           Arlan L. Harrell               Alcohol
296 08/04/2010         Monterey Co. Sup. Ct. (Salinas)        Larry E. Hayes                 Drug Screen
297 08/27/2010         Tulare Co. Superior Ct. (Tulare)       Bret D. Hillman                DUI Valium
298 09/15/2010         Kings County Superior Court            James LaPorte                  THC
299 10/01/2010         Fresno County Superior Court           Jon N. Kapetan                 Alcohol
300 10/04/2010         Fresno County Superior Court           W. Kent Hamlin                 Alcohol
301 11/02/2010         Fresno County Superior Court           Edward Sarkisian, Jr.          MDMA
302 12/13/2010         Merced County Superior Court           Carol Ash                      Rx drugs DUI
303 01/24/2011
      ,                Fresno County Superior Court           Don D. Penner                  Alcohol
304 02/09/2011         Alameda Co. Sup. Ct. (Hayward)         Dan Grimmer                    Alcohol
305 02/14/2011         Fresno County Superior Court           Edward Sarkisian, Jr.          Alcohol, MDMA
306 02/14/2011         Fresno County Superior Court           James M. Petrucelli            Alcohol
307 02/16/2011         Alameda Co. Sup. Ct. (Hayward)         Dan Grimmer                    Alcohol
308 02/22/2011         Tulare Co. Superior Ct. (Tulare)       Walter L. Gorelick             Alcohol
309 02/24/2011         Fresno County Superior Court           Jonathan B. Conklin            Alcohol & THC
310 03/10/2011         Deposition No. 40                                                     Alcohol
311 03/11/2011 Tulare Co. Superior Ct. (Visalia) Joseph A. Kalashian                         Alcohol
312 03/29/2011 Stanislaus Co. Sup. Ct. (Modesto) Roger M. Beauchsne                          Alcohol
313 05/02/2011 Alameda Co. Sup. Ct. (Hayward) Roy Hashimoto                                  Alcohol
314 05/17/2011 Sacramento Co. Superior Ct.                    Greta Curtis Fall              Zolpidem DUI
315 06/02/2011 Fresno County Superior Court                   Rosendo Pena                   Alcohol, MDMA




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          Date             Venue*                             Judge              Subject
316 06/06/2011 Tulare County Superior Court**        Joseph A. Kalashian    THC DUI
317   06/07/2011     Deposition No. 41                                      Alcohol & THC
318   06/15/2011     Alameda Co. Sup. Ct.(Pleasanton)Christine Moruza       Alcohol THC HC DUI
319   06/21/2011     Fresno County Superior Court     Gary R. Orozco        Alcohol
320   06/23/2011     Tulare County Superior Court     Joseph A. Kalashian   THC DUI
321   6/27-8/11      Alameda Co. Sup. Ct. (Oakland) Paul Delucchi           Alcohol
322   07/15/2011     Tulare Co. Superior Ct. (Tulare) Gary Johnson          Alcohol
323   07/26/2011     Deposition No. 42                                      Alcohol
324   08/04/2011     Tulare County Superior Court     Joseph A. Kalashian   THC DUI
325   8/25-26/'11    Tulare County Superior Court     Joseph A. Kalashian   THC DUI
326   09/16/2011     Alameda Co. Sup. Ct. (Hayward) Julia Spain             Alcohol
327   09/23/2011     Fresno County Superior Court     Timothy Karns         Alcohol
328   10/14/2011     Fresno County Superior Court     Hilary A. Chittick    Alcohol & Benzos
329   10/21/2011     Tulare Co. Superior Ct. (Tulare) Walter L. Gorelick    ABO Typing
330   10/27/2011     Alameda Co. Sup. Ct. (Hayward) Kevin Murphy            Alcohol
331   11/02/2011     Alameda Co. Sup. Ct. (Hayward) Michael Gaffey          Alcohol
332   11/07/2011     Alameda Co. Sup. Ct. (Oakland) Philip V. Sarkisian     Alcohol
333   11/21/2011     Kings County Superior Court      Thomas DeSantos       Alcohol & Meth
334   11/28/2011     Kern County Superior Court      David R. Lampe         Methamphetamine
335   11-30/12 - 1
                 Fresno County Superior Court        James M. Petrucelli    Alcohol
336   12/05/2011 Fresno County Superior Court        Don D. Penner          Alcohol & Meth
337   12/07/2011 Alameda Co. Sup. Ct. (Oakland)      Carl W. Morris         Alcohol
338   12/09/2011 Kings County Superior Court         Steven Barnes          Alcohol
339 12/14/2011 Deposition No. 43                                            Alcohol
340 12/22/2011 Fresno County Superior Court          Houry A. Sanderson     Alcohol & Cocaine
341 01/09/2012       Alameda Co. Sup. Ct. (Oakland) Gordon S. Baranco       Alcohol
342   01/18/2012     Fresno County Superior Court    Jane A. Cardoza        Alcohol
343   01/27/2012     Fresno County Superior Court    Jon N. Kapetan         Alcohol
344   01/31/2012     Alameda Co. Sup. Ct. (Hayward) Julia A. Spain          Alcohol
345   01/31/2012     Alameda Co. Sup. Ct. (Hayward) Dan Grimmer             Alcohol
346   02/08/2012     San Benito Co. Superior Court   Robert A. O'Farrell    Alcohol
347   03/02/2012     Tulare County Superior Court    Gary L. Paden          Alcohol
348   03/16/2012     Merced County Superior   Court John D. Kirihara        DUI R. Drugs
349   04/16/2012     Alameda Co. Sup. Ct. (Oakland) Carl W. Morris          Alcohol
350   05/16/2012     Alameda Co. Sup. Ct.(Pleasanton)Jacob Blea III         Alcohol
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                     ALAN D BARBOUR, PhD, CLB (Ret.)                                    L•
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                              Consulting Forensic Toxicologist                                 fy
               Forensic Toxicology • Blood Alcohols • Mass Spectrometry
                                      APPEARANCES

No.     Date                   Venue                         Judge                       Subject
351 05/18/2012 Fresno County Superior Court          W. Kent Hamlin                 Alcohol
352 06/19/2012 Alameda Co. Sup. Ct. (Hayward)        Roy Hashimoto                  Alcohol
353 06/29/2012 Fresno County Superior Court          M. Bruce Smith                 Alcohol
354 07/09/2012 Alameda Co. Sup. Ct. (Oakland)  Armando G. Cuellar Jr.               Alcohol & THC DUI
355 07/12/2012 Alameda Co. Sup. Ct. (Oakland)  Armando G. Cuellar Jr.               Alcohol
356 08/01/2012 Fresno County Superior Court Donald S. Black                         Alcohol & THC DUI
357 08/06/2012 Alameda Co. Sup. Ct. (Oakland) Carl W. Morris                        Alcohol
358 08/08/2012 AlamedaCo. Sup. Ct. (Oakland) Charles A. Smiley                      Alcohol
359 08/14/2012 Alameda Co. Sup. Ct. (Hayward)Julia A. Spain                         Alcohol
360 08/16/2012 Fresno County Superior Court Gary R. Orozco                          Alcohol
361 08/30/2012 Madera County Superior Court Ernest Licalsi                          Methamphetamine
362 08/30/2012 U.S. District Court (Fresno)    Anthony W. Ishii                     Alcohol
363 09/05/2012 Fresno County Superior Court Jeffrey Y. Hamilton Jr.                 Alcohol
364 09/07/2012 Tulare County Superior Court Gary L. Paden                           Alcohol
365 09/13/2012 Fresno County Superior Court Edward Sarkisian Jr.                    Et0H, Rx & PTSD
366 09/26/2012 Fresno County Superior Court Denise L. Whitehead                     Et0H, R x & DUI
367 09/27/2012 Fresno County Superior Court Jeffrey Y. Hamilton Jr.                 Alcohol
368 10/10/2012 Fresno County Superior Court Wayne R. Ellison                        Alcohol
369 10/17/2012 Fresno County Superior Court Gary R. Orozco                          Alcohol
370 10/23/2012 Alameda Co. Sup. Ct.(Oakland) Andria K. Tichey                       Alcohol
371 10/25/2012 Fresno County Superior Court Denise L. Whitehead                     Methamphetamine
372 10/25/2012 Tulare County Superior Court Gary L. Paden                           THC DUI
373 11/01/2012 Fresno County Superior Court Valeriano Saucedo                       Methamphetamine
374 11/02/2012 Fresno County Superior Court David C. Kalemkarian                    THC DUI
375 11/06/2012 Madera County Superior Court Ernest Licalsi                          Alcohol
376 12/14/2012 San Joaquin Co. Superior Ct.    Bernard J. Garber                    Alcohol & drug screen
377 01/09/2013 San Diego Co. Superior Court Francis M. Devaney                      THC DUI
378 1/23-24/13 U.S. District Court (Fresno)    Anthony W. Ishii                     Alcohol & drug screen
379 01/30/2013 Alameda Co. Sup. Ct.(Hayward) Julia A. Spain                         Alcohol
380 2/5-6/2013 Alameda Co. Sup. Ct. (Hayward) Julia A. Spain                        Alcohol
381 02/21/2013 Alameda Co. Sup.Ct.(Pleasanton) Jacob Blea III                       Alcohol
382 02/21/2013 Alameda Co. Sup. Ct. (Oakland)  Kimberly M. Briggs                   Alcohol
383 02/28/2013 Fresno County Superior Court Glenda Allen-Hill                       Methamphetamine
384 03/01/2013 Deposition No. 44                                                   Alcohol & drugs
385 03/07/2013 Solano Co. Sup. Ct. (Vallejo)   Ramona J. Garrett                   Alcohol
                                               *California, except as noted **Visalia, except as noted

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      Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 145 of 274




No.      Date                  Venue*                   Judge                Subject
386   03/18/2013 Fresno County Superior Court Hilary A. Chittick        Alcohol, PCP, THC
387   03/19/2013 San Mateo County Grand Jury                            Alcohol & Drugs
388   03/21/2013 Fresno County Superior Court Jeffrey J. Hamilton Jr.   Alcohol
389   04/10/2013 Fresno County Superior Court Donald S. Black           Alcohol
390   04/11/2013 Madera County Superior Court Nancy C. Staggs           THC DUI
391   05/02/2013 Fresno County Superior Court Hilary A. Chittick        Alcohol
392   05/22/2013 Fresno County Superior Court M. Bruce Smith            THC DUI
393   06/05/2013 Fresno County Superior Court Don D. Penner             Alcohol
394   06/04/2013 Fresno County Superior Court John F. Vogt              Alcohol
395   07/05/2013 San Joaquin Co. Superior Ct. Richard Mallett           Et0H & Benadryl
396   07/25/2013 Alameda Co. Sup. Ct. (Hayward)Roy Hashimoto            Alcohol
397   08/06/2013 Fresno County Superior Court Jonathan B. Conklin       Alcohol
398   08/22/2013 Alameda Co. Sup. Ct. (Oakland) Thomas M. Reardon       Alcohol & cocaine
399   08/29/2013 San Diego Co. Superior Court Edward P. Allard III      THC DUI
400   09/05/2013 Deposition No. 45
401   10/23/2013 Fresno County Superior Court Jane A. Cardoza           Alcohol
402   10/31/2013 Fresno County Superior Court M. Bruce Smith            Alcohol
403    11/4-5/13 Alameda Co. Sup. Ct. (Oakland) Scott Patton            Alcohol
404   11/14/2013 Fresno County Superior Court Dennis A. Peterson        Alcohol
405   11/15/2013 Tulare County Superior Court Walter L.Gorelick         FixDUI
406   12/10/2013 U.S. District Court (Fresno)   Barbara A. McAuliffe    Alcohol & THC
407   01/08/2014 U.S. District Court (Fresno)   Michael J. Sent         Meth DUI
408   01/09/2014 U.S. District Court (Fresno)   Stanley A. Boone        THC
409   01/10/2014 Madera County Superior Court Nancy C. Staggs           THC & Alcohol DUI
410   02/13/2014 Tulare County Superior Court Darryl B. Ferguson        Benzodiazepines
411   02/18/2014 U.S. District Court (Fresno)   Anthony W. Ishii        THC
412   02/20/2014 Fresno County Superior Court Brian Alvarez             Alcohol
413   03/19/2014 Alameda Co. Sup. Ct. (Oakland) Jon R. Rolefson         Alcohol
414   03/25/2014 Fresno County Superior Court Mark Snauffer             Alcohol
415   03/27/2014 San Joaquin Co. Grand Jury                             Drug screen/Et0H
416   3/28 & 4/1 Alameda Co. Sup. Ct. (Oakland) Tara Desaultels         Alcohol
417   04/01/2014 Alameda Co. Sup. Ct. (Oakland) Ursula Jones Dickson    Alcohol
418   04/04/2014 Fresno County Superior Court Jeffrey Y. Hamilton Jr.   THC & Et0H DUI
419   04/16/2014 Santa Cruz Co. Superior Court Paul M. Marigondi        THC DUI
420   4/17&4/23-4Alameda Co. Sup. Ct. (Oakland) Kimberly Briggs         Alcohol
      Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 146 of 274
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                       ALAN D BARBOUR, PhD, CLB (Ret.)                                                            7
                               Fellow of The Chartered Society                                                    rn
                                     of Forensic Sciences
                           Consulting Forensic Toxicologist
              Forensic Toxicology • Blood Alcohols • Mass Spectrometry

                                       APPEARANCES

No.      Date                   Venue*                           Judge                      Subject
421   05/01/2014 Fresno County Superior Court           Jane A. Cardoza               Alcohol
422   05/07/2014 Fresno County Superior Court           Mark Snauffer                 Alcohol
423   05/20/2014 Fresno County Superior Court           Wayne Ellison                 Alcohol
424   5/28-9/2014Kings County Superior Court            Michael J. Reinhart           Alcohol
425   06/16/2014 Kings County Superior Court            Steven D. Barnes              Pruno
426   06/17/2014 U.S. District Court (Fresno)       Barbara A. McAuliffe              THC
427 06/20/2014      Fresno County Superior Court    Hilary A. Chittick                Alcohol
428 06/25/2014 San Diego Co. Superior Ct. (Vista) Richard R. Monroy                   THC DUI
429 07/10/2014 San Diego Co. Sup. Ct. (Chula Vista) Edward P. Allard III              THC DUI
430 07/14/2014 Kings County Superior Court          Robert Shane Burns                Pruno
431 07/17/2014 Siskiyou County Superior Court Karen L. Dixon                          Alcohol & drugscreen
432 07/18/2014 Deposition No. 46                                                      Alcohol & Meth
433 07/21/2014 Fresno County Superior Court         James M. Petrucelli               Alcohol
434 08/12/2014 Stanislaus Co. Sup. Ct. (Modesto)Linda A. McFadden                     Opiates
435 08/28/2014 San Diego Co. Sup. Ct. (El Cajon) Larrie R. Brainard                  THC DUI
436 09/03/2014 Alameda Co. Sup. Ct. (Oakland) Ursula Jones Dickson                   THC/Alcohol DUI
437 09/16/2014 Alameda Co. Sup. Ct. (Oakland) C. Don Clay                            Alcohol
438 09/17/2014 Fresno County Superior Court         Alan M. Simpson                  Alcohol
439 10/02/2014 Madera County Superior Court         Joseph A. Soldani                THC DUI
440 11/12 & 13 Alameda Co. Sup. Ct. (Fremont) Keith H. Fudenna                       Alcohol
441 12/19/2014 San Luis Obispo Co. Sup. Court       Jacquelyn H. Duffy               Alcohol
442   01/22/2015    Deposition No. 47                                                Rx DUI
443   01/23/2015    Fresno County Superior Court        Edward Sarkisian, Jr.        Alcohol
444   04/13/2015    U.S. District Court (Fresno)        Anthony W. Ishii             THC
445   04/20/2015    Fresno County Superior Court        Jonathan Skiles              Alcohol
446   05/07/2015    San Diego County Superior Court     David M.Gill                 Rx DUI vs.medical
447   05/21/2015    San Mateo County Superior Court     Susan Irene Etezadi          Meth, PCP & Alcohol
448   06/02/2015    Napa County Superior Court          Diane M. Price                Postmortem drugs,Et0H
449   06/08/2015    CA Board of Reg. Nursing (Sacto)    Erin Koch-Goodman            Alcohol
450   07/24/2015    Stanislaus Co. Sup. Ct. (Modesto)   Roger M. Beauchesne          Alcohol
451   07/30/2015    San Diego County Sup. Ct. (Vista)   K. Michael Kirkman           R. DUI
452   08/03/2015    Alameda Co. Sup. Ct. (Oakland)      Kimberly Briggs              Alcohol
453   08/19/2015    Fresno County Superior Court        Arlan L. Harrell             Alcohol
454   09/21/2015    Alameda Co. Sup. Ct. (Hayward)      Jo-Lynne Lee                 Alcohol
455   10/01/2015    San Diego County Sup. Ct. (Vista)   Brad A. Weinreb              Ambien DUI




                                                 *California, except as noted **Visalia, except as noted

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      Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 147 of 274




No.       Date                   Venue*                          Judge                 Subject
456   10/21/2015   Alameda Co. Sup. Ct. (Fremont)      Richard 0. Keller        Alcohol
457   10/27/2015   Fresno County Superior Court        Timothy Kams             Alcohol
458   11/23/2015   Alameda Co. Sup. Ct. (Oakland)      Mark A. McCannon         Alcohol
459   11/24/2015   Fresno County Superior Court        Timothy Kams             Alcohol
460   12/03/2015   San Diego Co. Sup. Ct. (El Cajon)   Larrie R. Brainerd       THC
461   12/11/2015   Tulare County Superior Court**      Walter L. Gorelick       Alcohol
462   12/14/2015   Stanislaus Co. Sup. Ct. (Modesto)   Linda A. McFadden        Alcohol
463   01/12/2016   San Francisco Superior Court        Anne-Christine Massulo   Meth
464   02/04/2016   Alameda Co. Sup. Ct. (Oakland)      Paul D. Herbert          Alcohol
465   02/11/2016   Alameda Co. Sup. Ct. (Hayward)      Jo-Lynne Lee             Alcohol & THC
466    2/22/2016   Alameda Co. Sup. Ct. (Oakland)      Paul D. Herbert          Alcohol
467   02/24/2016   Deposition No. 48
468   02/25/2016   Alameda Co. Sup. Ct. (Hayward)      Jo-Lynne Lee             Alcohol & drugs
469   03/10/2016   San Diego Sup. Ct. (El Cajon)       Evan P. Kirvin           Drugs & hypokalemia
470   03/23/2016   Alameda Co. Sup. Ct. (Fremont)      Gerald Nadler            Alcohol
471   4/12-13/16   Alameda Co. Sup. Ct. (Oakland)      Allison M. Tucher        Alcohol
472 4/13&15/16     Alameda Co. Sup. Ct. (Oakland)      Thomas E. Stevens        Alcohol
473 04/14/2016     San Diego Co. Superior Court        Jefferey F. Fraser       THC
474 04/19/2016     Alameda Co. Sup. Ct. (Oakland)      Allison M. Tucher        Alcohol
475 04/20/2016     San Diego Sup. Ct. (Chula Vista)    Francis M. Devaney       Drug DUI
476 04/29/2016     Alameda Co. Sup. Ct. (Fremont)      Richard Keller           Alcohol & cocaine
477 05/19/2016     Kings Co. Superior Court            Donna Tarter             Meth & heroin
478 05/31/2016     San Mateo Sup. Ct. (Rdwd. City)     Leland Davis Ill         Rx & Alcohol
479 06/07/2016     Fresno Co. Superior Court           Jonathan B. Conklin      Alcohol & THC
480 06/08/2016     Lake County Superior Court          Andrew S. Blum           Alcohol & drugs
481 06/16/2016     San Diego Co. Superior Court        Laura W. Halgren         Alcohol & THC
482 07/07/2016     Alameda Co. Sup. Ct. (Oakland)      Thomas E. Stevens        Alcohol
483 07/14/2016     Humboldt County Superior Court      Marilyn B. Miles         Alcohol & Meth
484 07/26/2016     Deposition No. 49                                            THC
485 08/01/2016     Alameda Co. Sup. Ct. (Oakland)      C. Don Clay              Drug screen
486 8/10-12/16     Alameda Co. Sup. Ct. (Oakland)      Mark A. McCannon         Alcohol
487 08/19/2016     Alameda Co. Sup. Ct. (Fremont)      Thomas J. Nixon          Alcohol & THC
488 08/24/2016     Fresno County Superior Court        Dennis A. Peterson       Alcohol
489 08/25/2016     San Joaquin Co. Superior Court      Xaipura B. Villapudua    Alcohol
490 09/22/2016     Santa Barbara Co. Superior Court    Thomas P. Anderle        Alcohol & drugs
491 10/18/2016     Kings County Grand Jury                                      Pruno
492 10/27-28/16    Alameda Co. Sup. Ct. (Fremont)      Scott Patton             Alcohol
493 11N-8/2016     Fresno County Superior Court        Houry A. Sanderson       Alcohol & Meth
494 11/08/2016     Fresno County Superior Court        Jonathan B. Conklin      Alcohol
              Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 148 of 274
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                               ALAN D BARBOUR, PhD, CLB (Ret.)
                                        Fellow of The Chartered Society
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                                    Consulting Forensic Toxicologist                                        •
                      Forensic Toxicology • Blood Alcohols • Mass Spectrometry

                                                APPEARANCES

    495       11/18/2016    Fresno County Superior Court         James M. Petrucelli     Alcohol
    496       01/20/2017    Tulare County Superior Court**       Jennifer Shirk          THC & driving
    497       02/01/2017    San Diego County Sup. Ct. (Vista)    Harry M. Elias          Alcohol
    498       02/06/2017    Fresno County Superior Court         Brian Alvarez           Alcohol
    499       02/23/2017    San Diego County Sup. Ct. (Vista)    Blaine K. Bowman        Alcohol
    500       05/09/2017    Fresno County Superior Court         Jonathan B. Conklin     Alcohol & Opiates
    501       05/15/2017    Fresno County Superior Court         John F. Vogt            Alcohol
    502       05/24/2017    Alameda Co. Sup. Ct. (Fremont)       Joseph Hurley           Alcohol
    503       5/25-26/17    Fresno County Superior Court         Edward Sarkisian Jr.    Alcohol
    504       05/31/2016    Alameda Co. Sup. Ct. (Oakland)       Allison M. Tucher       Alcohol
    505       06/01/2017    Alameda Co. Sup. Ct. (Oakland)       Mark A. McCannon        Alcohol
    506       07/20/2017    Tehama Co. Sup. Ct. (Red Bluff)      Matthew C. McGlynn      Alcohol & Meth
    507       08/11/2017    Fresno County Superior Court         Edward Sarkisian Jr.    Alcohol
    508       10/3-4/2017   Fresno County Superior Court         Timothy Kams            Alcohol & THC
    509       10/25/2017    Fresno County Superior Court         Timothy Kams            Alcohol
    510       11/30/2017    Alameda Co. Sup. Ct. (Fremont)       Margaret J. Fujioka     Alcohol
    511       12/07/2017    Fresno County Superior Court         John F. Vogt            Alcohol
    512       12/15/2017    Alameda Co. Sup. Ct. (Fremont)       Margaret J. Fujioka     Alcohol
    513       12/20/2017    Fresno County Superior Court         James M. Petrucelli     Alcohol
    514       01/25/2018    Humboldt County Superior Court       Christopher G. Wilson   Alcohol & Meth
    515       01/31/2018    Fresno County Superior Court         John F. Vogt            Alcohol & THC
    516       02/06/2018    Madera County Superior Court         Joseph A. Soldani       Alcohol
    517       02/14/2018    Madera County Superior Court         Joseph A. Soldani       Alcohol
    518       02/15/2018    San Joaquin Co. Superior Court       Richard Mallett         Alcohol & Cocaine
    519       03/12/2018    Alameda Co. Sup. Ct. (Dublin)        Roy Hashimoto           Alcohol
    520       07/10/2018    U.S. District Court (Fresno)         Stanley A. Boone        Cocaine
    521       09/26/2018    Kern County Superior Court           Kenneth C.Twisselman II THC DUI
    522       10/16/2018    Madera County Superior Court         Mitchell C. Rigby       THC DUI
    523       04/25/2019    Deposition No. 50                                                  DUI Drugs & Alcohol
    524       06/03/2019    Los Angeles Co. Superior Court       Robert S. Draper              DUI Drugs & Alcohol
    525       08/20/2019    Multnomah Co. OR Circuit Court       Jerry Hodson                  Ethyl Sulfate
,   526       03/04/2021    Santa Barbara Sup. Ct. (Santa Maria) James F. lwasko               Alcohol DUI
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                                                           *California, except as noted **Visalia, except as noted

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           Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 149 of 274


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                                        Fellow of The Chartered Society
                                              of Forensic Sciences                                   "
                                     Consulting Forensic Toxicologist
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                      Forensic Toxicology" Blood Alcohols " Mass Spectrometry                                   Alf

                    Inspection and evaluation of clinical and toxicology laboratory records
                   Testimony, specializing in drug and alcohol tests and their interpretation
                                     Analysis of hypothetical drinking histories

More than forty years' experience in forensic toxicology and clinical laboratory science. Fully qualified to direct
clinical laboratories, forensic toxicology laboratories, and SAMHSA certified employment drug screening
laboratories. Recognized as an expert in more than five hundred Justice, Municipal, Superior and U.S. District
Court cases to date. Wide-ranging experience in developing new tests, writing procedure manuals, trouble-
shooting existing procedures, demographic studies, quality assurance and record keeping in both clinical and
forensic laboratories. International consulting practice.

                                           PROFESSIONAL CREDENTIALS
        B.S. With Distinction and honors in chemistry, San Jose State College
        Ph.D. in physical organic chemistry, University of California at Santa Cruz
        Clinical Laboratory Director (U.S. Department of Health, Education & Welfare)
        Clinical Chemist (National Registry in Clinical Chemistry)
        Forensic Alcohol Supervisor (State of California)
        Clinical Laboratory Bioanalyst (State of California, CLIA Laboratory Director)
        Breath Alcohol Technician, Instructor (U.S. Department of Transportation)
        Diplomate, American Board of Forensic Examiners
        Fellow, American College of Forensic Examiners
        Fellow, The Chartered Society of Forensic Sciences

                                                     PUBLICATIONS
        "Another Case of Postmortem Electrolytic Synthesis of Methamphetamine." Bulletin of the International
                 Association of Forensic Toxicologists XXXVII      (3), 47 (2007).
        "Industrial Accident: In Morte Electrolytic Synthesis of Methamphetamine." Bulletin of the International
                 Association of Forensic Toxicologists XXXII!     (2), 28 (2003).
        "Simplified Estimation of Widmark "r" Values by the Method of Forrest." Science & Justice 41(1): 53-54
                 (2001).
        "Death After Extraordinary Methamphetamine Overdose Following Apparent Cocaine Binge." Bulletin
                 of the International Association of Forensic Toxicologists XXXI   (1), 8-9 (2001).
        "Phencyclidine, Alcohol, and Driving Under the Influence." Bulletin of the International Association of
                 Forensic Toxicologists XXX (1), 15-17 (2000).
        "Simultaneous Extraction of Cocaine and its Metabolites With Diatomaceous Earth Columns and
                 Derivatisation with DMF Dialkyl Acetals." Bulletin of the International Association of Forensic
                 Toxicologists XXX (1), 13-15 (2000).
        "Suicidal Overdose of Doxylamine." Bulletin of the International Association of Forensic Toxicologists
                 XXIX (3), 5 (1999).
        "Toxicology and Drug Screening." Laboratay Procedures for Medical Office PersonnelC.A. Stepp
                 and M.A. Woods, eds., W.B. Saunders, (1998).
        "GC/MS Analysis of Propylated Barbiturates." Journal of Analytical Toxicology 15 (4), 214-215 (1991).
        "California Association of Toxicologists Home Page." http://www.Cal-Tox.org , 1997-2004
        "WWW Virtual Library: Forensic Toxicology." http://www.abarbour.net/vlibft.html
        "Alan Barbour's Forensic Toxicology Page." http://www.abarbour.net

                                          PROFESSIONAL ASSOCIATIONS
                                     The Chartered Society of Forensic Sciences
                                      National Association of Medical Examiners

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          Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 150 of 274


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                  Inspection and evaluation of clinical and toxicology laboratory records
                Testimony, specializing in drug and alcohol tests and their interpretation
                                          Analysis of hypothetical drinking histories




                                           STANDARD FEES

Preliminary Consultations                                                                    gratis

Hourly Rate (portal to portal, eight hours per day maximum charge)                           $200

Retainer (applied to final bill)                                                             $400

Telephone, fax, copies                                                                       gratis

Auto mileage (round trip)                                                                    IRS rate

Other expenses (airfare and lodging paid in advance)                                         actual cost,
                                                                                             GSA rate




For clearly defined cases flat rates can be negotiated, and for clients of limited means
adjustments will be made. Should the attorney be handling the case on a pro bono basis
I will similarly remit my fees, but not my costs, should I accept the case.




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CAGE Code: 400TØ




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Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 151 of 274



United States District Court
Northern District of California
San Jose Division
Case Name: Dominguez v. City of San Jose, et al.
Case No.: 5:18-cv-04826 BLF


                                 CERTIFICATE OF SERVICE

         I, the undersigned, under penalty of perjury, certify and declare:

        That I am a citizen of the United States, over 18 years of age, a resident of or
employed in the County where the herein described mailing took place, and not a party
to the within action.

         That my business address is 125 S. Market Street, Suite 1200, San Jose,
California 95113-2288.

         That on behalf of John Kevin Crowley, I served the foregoing document(s)
described as:

         PLAINTIFFS' REBUTTAL EXPERT WITNESS DISCLOSURE

on the following person(s) in this action, via U.S. Mail & e-mail transmission, as set forth
below:

         Mann J. Clouse, Sr. Deputy City Attorney                marin.clouse@sanjoseca.gov
         City of San Jose
         Office of the City Attorney
         200 E. Santa Clara Street, 16th Floor
         San Jose, CA 95113-1905

        I declare that the above service was made at the direction of a member of the bar
of this Court.

         Executed on June 18, 2021, at San Jose, California.




                                                        Sally M.(1A/ gner




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                            Plaintiff's Rebuttal Expert Witness Disclosure
Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 152 of 274




                EXHIBIT 3
        Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 153 of 274




DAVID E. BALASH
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                                  Michigan 48188
                                           48188
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Phone (734) 981-6788* FaxFax (734)
                             (734) 981-6459
                                   981-6459

                                                                                         September 27, 2021
                                                                                         September 27, 2021
Mr.
Mr. John  Kevin Crowley
    John Kevin   Crowley
Attorney  at Law
Attorney at  Law
125
125 South
    South Market   Street
           Market Street
San
San Jose, California 95113-2288
    Jose, California 95113-2288

        RE:     Dominquez
        RE: Dominguez     v. v.
                             SanSan JosePolice
                                  Jose   PoliceDepartment,
                                                 Department,etetalal
        Federal Court -- Northern
        Federal Court    Northern District
                                   District of
                                            of California
                                               California
        Case
        Case No.: 5:18-cv-04826
             No.: 5:18-cv-04826

The
The following   list of
    following list   of police
                         police reports,
                                reports, evidence
                                           evidence examinations,
                                                       examinations, photographs,
                                                                           photographs,depositions,
                                                                                         depositions,autopsy
                                                                                                        autopsy
protocol, scene visit
protocol, scene  visit and
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                                  conclusions reached
                                                  reached in in this
                                                                 this report.
                                                                       report.
       •• 5/21/21
            5/21/21       Proposed    Stipulated Protective
                          Proposed Stipulated       Protective Order,
                                                                   Order, Case
                                                                            Case No.
                                                                                  No. 5:18-cy-04826-BLF
                                                                                      5:18-cy-04826-BLF
       •• 6/8/21
            6/8/21        188
                          188 pages
                               pages ofof police   reports on
                                          police reports     on this
                                                                  this case
                                                                        case
       •• 6/8/21
            6/8/21        109
                          109 pages
                               pages ofof police   reports on
                                          police reports     on this
                                                                  this case
                                                                        case
       •• 6/11/21
            6/11/21       Flash  drive containing;
                          Flash drive   containing;
                            Depositions
                            Depositions of  of officers
                                               officers Pena
                                                          Pena andand Lopez
                                                                        Lopez
                            Scene   photographs
                            Scene photographs
                            Sweatshirt    photographs
                            Sweatshirt photographs
                            Trajectory   photographs
                            Trajectory photographs
                            Officer  photographs
                            Officer photographs
                            3164
                            3164 Penitencia      Creek home
                                   Penitencia Creek      home videovideo surveillance
                                                                          surveillance
                            3158
                            3158 Penitencia      Creek home
                                   Penitencia Creek      home videovideo surveillance
                                                                          surveillance
                            Car
                            Car exterior    photographs
                                 exterior photographs
                            Photographs     taken at
                            Photographs taken       at the
                                                       the Medical
                                                            MedicalExaminer's
                                                                         Examiner’sOffice
                                                                                      Office—– None
                                                                                                None during
                                                                                                       during the
                                                                                                               the
                            Autopsy.
                            Autopsy.
                            Autopsy    Protocol
                            Autopsy Protocol
       •• 9/3/21
            9/3/21        Dropbox    link containing;
                          Dropbox link     containing;
                            575
                            575 Photographs
                                 Photographs takentaken onon this
                                                              this case.
                                                                    case.
       •• 9/3/21
            9/3/21        San
                          San Jose’s   productionofofdocuments
                               Jose's production          documents—– 77 pagespages
       •• 9/7/21
            9/7/21        Dropbox    link containing;
                          Dropbox link     containing;
                            Officer
                            Officer Pena’s     video statement
                                     Pena's video      statement
                            Scene
                            Scene photographs
                                    photographs
                            Body   camera footage
                            Body camera      footage from
                                                        from two
                                                               twoofficers
                                                                     officersatatthe
                                                                                  theshooting.
                                                                                      shooting.
       •• 9/9/21
            9/9/21        Fly to San
                          Fly to San Jose
                                       Jose —– examine
                                                 examine evidence
                                                            evidence (sweatshirt      of Mr.
                                                                         (sweatshirt of  Mr. Dominguez,
                                                                                              Dominquez,
                          bullet fragments     from   the  autopsy,     bullet fragments
                          bullet fragments from the autopsy, bullet fragments from the    from   theDominguez
                                                                                                     Dominquez
                          vehicle  and view
                          vehicle and   view thethe scene.
                                                     scene. Return
                                                             Return to  to Michigan
                                                                           Michigan onon 9/10/21.
                                                                                         9/10/21.
       •• 9/9/21
            9/9/21        Request
                          Request toto examine
                                       examine the the involved
                                                        involved Kia,Kia, however
                                                                           however itit was
                                                                                        was not
                                                                                             not maintained
                                                                                                 maintainedasas
                          evidence
                          evidence byby the
                                         the San
                                              San Jose
                                                    Jose Police
                                                          Police Department.
                                                                    Department.

                                                                                                                     11
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     ••        9/10/21
               9/10/21   Defendant’s   Expert reports
                         Defendant's Expert   reports and
                                                       and disclosures
                                                            disclosures
     ••        9/24/21   Report
               9/24/21 Report onon
                                 thethe Fatal
                                      Fatal   ShootingofofJacob
                                            Shooting        JacobDominguez
                                                                   Dominquezon  on9/15/2017,
                                                                                   9/15/2017,the
                                                                                              the
                         County
                         County of  Santa Clara,
                                of Santa   Clara, Jeffery
                                                  Jeffery F.
                                                           F. Rosen
                                                              Rosen District
                                                                     District Attorney
                                                                              Attorney

QUALIFICATIONS FOR OPINION
QUALIFICATIONS FOR OPINION

   The
   The opinions  and conclusions
        opinions and conclusions reached
                                 reached on
                                         on the
                                            the above-mentioned
                                                above-mentioned shooting
                                                                 shootingare
                                                                          arebased
                                                                              basedon
                                                                                    onthe
                                                                                       the
   following:
   following:

          ••     My
                 My review
                        review of of all
                                      all the
                                          the above
                                                above listed
                                                        listed material
                                                                material andand evidence.
                                                                                  evidence.
          ••     My
                 My experience
                        experience as  as aa Michigan
                                              Michigan State
                                                           State Police
                                                                    Police Officer
                                                                             Officer forfor over
                                                                                             over 25 25 years
                                                                                                         yearsrising
                                                                                                                 risingtotothe
                                                                                                                             the
                 rank
                 rank of    D/Lt. in
                         of D/Lt.    in charge
                                        charge of  of the
                                                       the Firearms,
                                                           Firearms, Tool-Mark
                                                                         Tool-Mark and    and Bombs
                                                                                                Bombsand   andExplosive
                                                                                                                 ExplosiveUnit Unit
                 of
                  of the
                      the MSP      Northville Forensic
                           MSP Northville         Forensic Science
                                                              Science Laboratory
                                                                         Laboratory
          ••     My
                 My experience
                        experience for for over
                                            over 20 20 years
                                                        years asas aa member
                                                                      member of   of the
                                                                                      the Michigan
                                                                                           Michigan State StatePolice
                                                                                                                  Police
                 Forensic    Science Laboratory
                 Forensic Science          Laboratory in  in the
                                                             the Firearms
                                                                   Firearms Identification,
                                                                                Identification, Tool  ToolMark,
                                                                                                             Mark,Bombs
                                                                                                                      Bombsand  and
                 Explosive
                 Explosive Unit.Unit.
          ••     The
                  The examination
                         examination of   of hundreds
                                              hundreds of  of firearms
                                                               firearms forfor safety
                                                                                safety andand function
                                                                                                function testing
                                                                                                             testingprior
                                                                                                                       priortoto
                 firing
                  firing as
                          as well
                             well as as determining
                                         determining the  the causes
                                                               causes ofof reported
                                                                             reported firearm
                                                                                          firearm failures.
                                                                                                     failures.
          ••     My
                 My experience
                        experience withwith thethe Michigan
                                                    Michigan StateState Police
                                                                         Police as as aa Crime
                                                                                         Crime SceneSceneAnalyst
                                                                                                             Analyst
                 participating
                 participating in   in and
                                        and supervising
                                              supervising hundreds
                                                              hundreds of  of crime
                                                                                crime scene
                                                                                         scene investigations
                                                                                                  investigationsduringduringmy my
                 years    with the
                 years with      the department.
                                      department.
          ••     My
                 My experience
                        experience at  at photographing
                                           photographing and    and collecting
                                                                      collecting evidence
                                                                                    evidence at   at crime
                                                                                                      crimescenes
                                                                                                              sceneswhile
                                                                                                                        whilewith
                                                                                                                                with
                 the   Michigan State
                 the Michigan        State Police.
                                             Police.
          ••     My
                 My experience
                        experience at  at photographing,
                                           photographing, participating
                                                                 participating in  in and
                                                                                       and collecting
                                                                                             collectingevidence
                                                                                                            evidenceatat
                 autopsies
                  autopsies forfor over
                                    over 20 20 years.
                                                 years.
          ••     Training
                  Training sessions
                              sessions on  on crime
                                                crime scene
                                                        scene reconstruction
                                                                reconstruction both  both as as aa member
                                                                                                   member of   ofthe
                                                                                                                   the Michigan
                                                                                                                        Michigan
                 State    Police   and   as  a  civilian
                  State Police and as a civilian examiner.examiner.
          ••     My
                 My experience
                        experience in  in investigating
                                           investigating shooting
                                                             shooting crime
                                                                          crime scenes
                                                                                   scenes for for over
                                                                                                   over 2020years
                                                                                                              yearsas asaa
                 member
                 member of   of the
                                  the Michigan
                                       Michigan State State Police
                                                            Police andand then
                                                                            then continuing
                                                                                   continuing to    toutilize
                                                                                                       utilizethat
                                                                                                                 thatexperience
                                                                                                                      experience
                 as
                  as aa self-employed        examiner in
                        self-employed examiner            in assessing
                                                             assessing shooting
                                                                           shooting crimecrime scenes
                                                                                                  scenes forfor the
                                                                                                                 thepast
                                                                                                                      past28+
                                                                                                                            28+
                 years.
                 years.
          ••     My
                 My experience
                        experience at  at having
                                           having examined
                                                      examined hundreds
                                                                   hundreds of   of shooting
                                                                                    shooting victims
                                                                                                  victimsatatcrime
                                                                                                                 crimescenes,
                                                                                                                         scenes,
                 autopsies,     hospitals and
                  autopsies, hospitals        and funeral
                                                    funeral homes.
                                                             homes.
          ••     My
                 My experience
                        experience at  at taking
                                           taking andand interpreting
                                                          interpreting X-rays
                                                                          X-rays in  in bomb
                                                                                         bomb squadsquadwork
                                                                                                           workand  andtraining
                                                                                                                         training
                 as
                  as well
                      well as
                            as at  using and
                                at using    and interpreting
                                                  interpreting X-rays
                                                                   X-rays at at crime
                                                                                crime scenes,
                                                                                         scenes, autopsies
                                                                                                     autopsiesand  andhospitals
                                                                                                                        hospitals
                 for
                  for the  past 48+
                       the past   48+ years.
                                         years.
          ••     II continue
                    continue to     follow new
                                to follow     new developments
                                                     developments in    in the
                                                                            the field
                                                                                 field ofof forensic
                                                                                             forensic testing
                                                                                                         testingthrough
                                                                                                                    through
                 caseload    and review
                  caseload and      review of  of journals
                                                   journals ininthe
                                                                  thesubject
                                                                       subjectarea.
                                                                                  area.
          ••     Training
                  Training and      review of
                              and review       of new
                                                   new materials/techniques
                                                         materials/techniques through  through the the internet.
                                                                                                        internet.
          ••     See
                  See aa copy
                          copy of of my
                                      my C.V.     for more
                                           C.V. for     more specific
                                                               specific information
                                                                          information




                                                                                                                                  22
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INFORMATION
INFORMATION

    The
    The following is aa brief
        following is    brief summary
                              summary of of the
                                            the events
                                                events leading
                                                        leading up
                                                                 up to
                                                                     to the
                                                                         theshooting
                                                                             shootingdeath
                                                                                      deathof
                                                                                            ofJacob
                                                                                               Jacob
    Dominquez  by San
    Dominguez by   San Jose
                         Jose Police
                               Police Officer
                                      Officer Michael
                                               Michael Pina
                                                         Pina on
                                                              on September
                                                                  September15, 15,2017
                                                                                   2017asas
    understood by the
    understood by the undersigned
                       undersigned from
                                      from reviewing
                                            reviewing the
                                                       the above
                                                            above listed
                                                                   listed material.
                                                                            material.

    Mr.
    Mr. Dominquez
         Dominguez was was wanted
                            wanted onon aa felony
                                           felony warrant
                                                   warrant by by the
                                                                  the San
                                                                       San Jose
                                                                            JosePolice
                                                                                  PoliceDepartment
                                                                                         Departmentand and
    was
    was actively    being pursued/surveilled
         actively being   pursued/surveilled forfor at
                                                    at least
                                                        least the
                                                               the past
                                                                   past two
                                                                         two days
                                                                              daysbybymembers
                                                                                        membersof ofthe
                                                                                                     the
    San
    San Jose
         Jose Police   Department VCT
              Police Department     VCT squad.
                                            squad. Information
                                                   Information was  was obtained
                                                                          obtained on
                                                                                    on the
                                                                                        thewhereabouts
                                                                                            whereaboutsof of
    Mr.
    Mr. Dominquez
         Dominguez and and aa surveillance
                              surveillance team
                                             team of
                                                   of approximately
                                                       approximately12    12officers
                                                                              officersin
                                                                                       inindividual
                                                                                          individual
    vehicles  were assigned.
    vehicles were    assigned. The
                                The officers
                                    officers were
                                               were advised
                                                     advised that
                                                                that the
                                                                      the suspect
                                                                           suspectmay
                                                                                   maybe bearmed
                                                                                            armedwith
                                                                                                   withaa
    silver
    silver revolver
           revolver due   to .357
                      due to .357 magnum
                                  magnum caliber
                                              caliber ammunition
                                                       ammunition that  that was
                                                                             was discovered
                                                                                  discoveredduring
                                                                                              duringthe
                                                                                                      the
    serving  of aa search
    serving of     search warrant.
                          warrant.

    Officers
    Officers were   aware that
              were aware     that Mr.
                                   Mr. Dominguez
                                        Dominquez frequently
                                                         frequently violated
                                                                       violated traffic
                                                                                  trafficlaws
                                                                                          lawsbybyspeeding,
                                                                                                    speeding,
    running  stop signs
    running stop   signs and
                           and red
                                red lights,
                                     lights, weaving
                                             weaving in   in and
                                                             and out
                                                                  out ofof traffic
                                                                            trafficand
                                                                                    andmaking
                                                                                         makingsudden
                                                                                                   sudden"U"
                                                                                                          “U”
    turns in an
    turns in an apparent
                 apparent effort
                             effort to
                                    to detect
                                        detect ifif he
                                                    he was
                                                        was being
                                                             being followed
                                                                     followedby   bylaw
                                                                                     lawenforcement.
                                                                                           enforcement.This
                                                                                                         This
    erratic
    erratic pattern  of driving
            pattern of   driving required
                                  required the
                                             the pursuit
                                                    pursuit teams
                                                             teams toto remain
                                                                         remain well
                                                                                   well out
                                                                                         outof
                                                                                             ofsight
                                                                                                sightso
                                                                                                      sonormal
                                                                                                         normal
    tailing was not
    tailing was   not possible,
                      possible, therefore
                                  therefore aa fixed
                                                  fixed wing
                                                         wing aircraft
                                                                aircraft was
                                                                          was employed
                                                                                employedto   toallow
                                                                                                allowthe
                                                                                                      thetailing
                                                                                                          tailing
    vehicles  to remain
    vehicles to  remain well
                          well back
                                 back ofof the
                                           the subject
                                               subject vehicle.
                                                           vehicle. The
                                                                     The fixed
                                                                            fixed wing
                                                                                   wingaircraft
                                                                                          aircraftadvised
                                                                                                   advisedthe
                                                                                                           the
    VCT   team that
    VCT team     that the
                      the Dominguez
                           Dominquez vehicle
                                          vehicle had had settled
                                                           settled down
                                                                   down and  and was
                                                                                  wastraveling
                                                                                       travelingnormally.
                                                                                                   normally.AA
    short
    short time
          time later
                later the   aircraft advised
                       the aircraft  advised that
                                               that thethe Dominguez
                                                           Dominquez vehicle,
                                                                           vehicle, aa black
                                                                                        black KIA
                                                                                               KIASportage,
                                                                                                     Sportage,
    was
    was stopped
         stopped atat the
                      the light
                           light on
                                 on Penitencia
                                     Penitencia CreekCreek Road
                                                            Road at at the
                                                                        the intersection
                                                                             intersectionof ofN.
                                                                                               N.White
                                                                                                  WhiteRoad.
                                                                                                         Road.

    At
    At this   point Officer
        this point   Officer Pena
                                Pena waswas the
                                             the first
                                                  first car
                                                        car behind
                                                             behind the
                                                                      the suspect,
                                                                            suspect,Officer
                                                                                      OfficerFerguson
                                                                                                Fergusonwas wasthethe
    second
    second carcar with    Officer Lopez
                   with Officer     Lopez in in the
                                                 the third
                                                     third car.
                                                             car. Officer
                                                                  Officer Pena
                                                                             Pena then
                                                                                   then pulled
                                                                                         pulled his
                                                                                                 hisundercover
                                                                                                      undercover
    vehicle
    vehicle directly
               directly in
                         in front
                            front ofof the
                                        the suspect’s    vehicle with
                                             suspect's vehicle     with Officer
                                                                           Officer Pena's
                                                                                    Pena’sfront
                                                                                             frontpassenger
                                                                                                    passengerdoordoor
    either
    either touching
             touching or or very
                            very close
                                   close toto the
                                              the front
                                                   front of
                                                          of Mr.
                                                              Mr. Dominquez's
                                                                   Dominquez’sfront  frontbumper
                                                                                            bumperroughly
                                                                                                      roughly
    making
    making the the letter
                   letter "T"
                           “T” with
                                 with the
                                        the two
                                             two vehicles.
                                                   vehicles. Officer
                                                               OfficerPena
                                                                         Penaimmediately
                                                                                immediatelyexitsexitshis
                                                                                                       hisvehicle
                                                                                                           vehicle
    and
    and takes
          takes aa position    near the
                   position near      the left
                                          left front
                                                front wheel
                                                       wheel ofof Officer
                                                                   Officer Ferguson's
                                                                              Ferguson’svehicle
                                                                                           vehiclewith
                                                                                                     withhishisM-4
                                                                                                                M-4
    rifle
    rifle pointed
           pointed atat the
                        the suspect
                             suspect in in the
                                           the driver's
                                                driver’sseat
                                                           seatofofthe
                                                                    theKia.
                                                                          Kia.Officer
                                                                                OfficerPena
                                                                                         Penareportedly
                                                                                                reportedlyyells
                                                                                                             yells
    “hands
    "hands up-show
              up-show me  me your
                               your hands
                                       hands and
                                               and if
                                                    if you
                                                       you move,
                                                             move, II will
                                                                       will shoot    you” to
                                                                              shoot you"   to Mr.
                                                                                               Mr. Dominguez
                                                                                                    Dominquez in    in
    the
    the Kia    vehicle. At
         Kia vehicle.     At this
                              this time
                                   time Officer
                                          Officer Pena
                                                     Pena reports
                                                            reports that
                                                                     that Mr.
                                                                            Mr. Dominguez
                                                                                 Dominquezdoes  doesnot
                                                                                                      notraise
                                                                                                           raisehis
                                                                                                                  his
    hands
    hands forfor several
                 several seconds
                           seconds and and then
                                            then does
                                                   does raise
                                                          raise his
                                                                his hands
                                                                     hands allall while
                                                                                  whileinteracting
                                                                                         interactingwith
                                                                                                       withOfficer
                                                                                                             Officer
    Pena
    Pena through
            through aa partially
                         partially opened
                                    opened driver's
                                               driver’sdoor
                                                          doorwindow.
                                                                 window.Then  Thenaccording
                                                                                    accordingtotoOfficer
                                                                                                    OfficerPena,
                                                                                                              Pena,
    Mr.
    Mr. Dominquez         quickly lowers
          Dominguez quickly          lowers both
                                               both of
                                                     of his
                                                         his hands
                                                              hands toward
                                                                     toward his hisright
                                                                                    rightlap
                                                                                          laparea
                                                                                               areaand
                                                                                                     andleans
                                                                                                          leanshis
                                                                                                                 his
    body    forward (interview
    body forward      (interview demonstration)
                                      demonstration) at   at which
                                                              which time
                                                                     time Officer
                                                                             OfficerPena
                                                                                      Penafires
                                                                                             firestwo
                                                                                                   twoshots
                                                                                                         shotsatatMr.
                                                                                                                   Mr.
    Dominquez       because he
    Dominguez because          he believes
                                   believes he he is
                                                   is reaching
                                                      reaching forfor aa firearm.
                                                                          firearm. No
                                                                                    Nofirearm
                                                                                        firearmwaswaslocated
                                                                                                        locatedinin
    the
    the vehicle
         vehicle oror on
                      on Mr.
                           Mr. Dominguez.
                                Dominquez.

    When
    When Officer  Pena places
          Officer Pena places his
                              his vehicle
                                  vehicle in
                                           in aa "T"
                                                 “T” position
                                                      positiontotothe
                                                                   theDominguez
                                                                       Dominquezvehicle,
                                                                                     vehicle,Officer
                                                                                              Officer
    Ferguson quickly positioned
    Ferguson quickly positioned the
                                 the right
                                     right front
                                           front tire
                                                  tire of
                                                       of his
                                                          his vehicle
                                                              vehiclevery
                                                                       veryclose
                                                                            closetotothe
                                                                                      thedriver's
                                                                                          driver’s
    door
    door of
         of Mr.
            Mr. Dominquez’s   vehicle and
                Dominquez's vehicle    and immediately
                                            immediately exits
                                                            exits his
                                                                  his vehicle
                                                                      vehicle with
                                                                              with his
                                                                                    his M-4
                                                                                        M-4 rifle
                                                                                             rifle

                                                                                                                    33
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    standing
    standing in   his open
               in his open door
                            door and
                                  and then
                                       then standing
                                             standing on
                                                       on the
                                                           the floor
                                                                floorboard
                                                                      boardof
                                                                            ofhis
                                                                               hisvehicle
                                                                                    vehiclepointing
                                                                                             pointinghis
                                                                                                       his
    rifle
    rifle over  the roof
          over the  roof of
                         of his
                            his vehicle.
                                 vehicle. Officer
                                           Officer Ferguson
                                                    Fergusonhashasessentially
                                                                    essentiallythe
                                                                                thesame
                                                                                     sameview
                                                                                           viewofofMr.
                                                                                                    Mr.
    Dominquez
    Dominguez as   as does
                      does Officer
                           Officer Pena
                                    Pena and
                                           and they
                                                they are
                                                     are standing
                                                          standingonly
                                                                     only4-6
                                                                          4-6feet
                                                                              feetapart
                                                                                    apartalong
                                                                                          alongthe
                                                                                                theside
                                                                                                     side
    of
    of his
        his vehicle.  Officer Lopez
            vehicle. Officer  Lopez quickly
                                      quickly arrives
                                                arrives positioning
                                                        positioninghishisvehicle
                                                                          vehicleimmediately
                                                                                   immediatelytotothe
                                                                                                    the
    rear
    rear of  and actually
          of and  actually strikes
                           strikes the
                                   the rear
                                        rear bumper
                                              bumper of
                                                      of the
                                                          theDominguez
                                                              Dominquezvehicle
                                                                            vehicleand
                                                                                     andimmediately
                                                                                          immediately
    exits
    exits his  vehicle with
           his vehicle  with his
                             his M-4
                                  M-4 rifle
                                       rifle at
                                             at which
                                                which time
                                                       time two
                                                             twoshots
                                                                   shotsare
                                                                         areheard
                                                                             heardononthe
                                                                                       thebody
                                                                                            bodycamera.
                                                                                                  camera.

    A
    A flash  bang is
       flash bang  is heard
                      heard being
                            being deployed
                                  deployed several
                                              several seconds
                                                       secondslater
                                                               laterand
                                                                     andthen
                                                                         thenall
                                                                              allthe
                                                                                  theofficers
                                                                                      officersretreat
                                                                                               retreat
    to
    to cover  positions for
       cover positions  for approximately
                            approximately 15 15 to
                                                 to 30
                                                    30 minutes
                                                       minutesbefore
                                                               beforehaving
                                                                       havingaacanine
                                                                                 caninereleased
                                                                                         released
    into
    into the
          the Kia to determine
              Kia to determine the
                                the status
                                    status of
                                           of Mr.
                                               Mr. Dominguez.
                                                    Dominquez.

COMMENTS
COMMENTS AND
         AND OBSERVATIONS
             OBSERVATIONS

    The
    The fatal
          fatal wound
                wound to to Mr.
                            Mr. Dominquez’s
                                  Dominquez's left left lower
                                                         lower jawjaw area
                                                                       area was
                                                                            was caused
                                                                                  caused by  by aa damaged
                                                                                                   damaged fired fired
    rifle
    rifle bullet
          bullet in
                 in this   examiner’s opinion.
                     this examiner's    opinion. TheThe damage
                                                           damage would
                                                                      would have
                                                                             have been
                                                                                     been the
                                                                                            theresult
                                                                                                 resultofofthe
                                                                                                             the
    bullet  impacting the
    bullet impacting     the door
                              door window
                                    window glass
                                               glass prior
                                                       prior to
                                                              tostriking
                                                                  strikingMr.
                                                                           Mr.Dominguez
                                                                                 Dominquezcausing causingthe thelarge
                                                                                                                   large
    irregular
     irregular bullet  wound of
               bullet wound     of entry.
                                   entry. The
                                           The fact
                                                  fact that
                                                        that there
                                                              there was
                                                                     wasnonoexit
                                                                              exitfrom
                                                                                    fromaa.223.223caliber
                                                                                                     caliberrifle
                                                                                                               rifle
    bullet  attests to
    bullet attests  to the
                       the severe
                            severe damage
                                    damage donedone to to this
                                                           thisbullet
                                                                 bulletprior
                                                                        priortotostriking
                                                                                  strikingMr.Mr.Dominguez.
                                                                                                   Dominquez.
    The
    The bullet   jacket recovered
          bullet jacket   recovered atat autopsy
                                         autopsy waswas nearly
                                                           nearly complete,
                                                                    complete,however
                                                                                 howeverthe  themajority
                                                                                                  majorityofofthe  the
    bullet  core material
    bullet core   material (lead)
                             (lead) was
                                    was missing.
                                          missing. This
                                                      This isisnot
                                                                 notunusual
                                                                      unusualgiven
                                                                                giventhethefact
                                                                                             factthat
                                                                                                   thatthe
                                                                                                        thebullet
                                                                                                              bullet
    was
    was badly
          badly damaged
                 damaged by      the glass
                             by the  glass inin this
                                                this examiner's
                                                      examiner’s opinion.
                                                                      opinion. The
                                                                                The weight
                                                                                      weight of  ofthe
                                                                                                    thebullet
                                                                                                         bullet
    jacket and
    jacket  and core
                 core material
                       materialrecovered
                                  recoveredatatautopsy
                                                   autopsyapproximates
                                                               approximates1/2  ½ of
                                                                                   of an
                                                                                       an intact
                                                                                           intact bullet
                                                                                                    bulletininthis
                                                                                                                this
    caliber,
    caliber, with   the missing
              with the  missing core
                                   core material
                                         material possibly
                                                     possibly accounted
                                                                  accountedforforininthe
                                                                                      theinjuries
                                                                                           injuriestotothetheleft
                                                                                                               left
    neck
    neck area   of Mr.
           area of  Mr. Dominguez
                         Dominquez or   or the
                                            the remaining
                                                 remaining core corematerial
                                                                      materialwaswasnot
                                                                                      notrecoverable.
                                                                                            recoverable.

    A
    A bullet
        bullet strike
               strike is   noted in
                       is noted   in the
                                      the interior
                                          interior of of the
                                                          the Kia
                                                               Kia inin the
                                                                         the "B"
                                                                             “B” pillar
                                                                                  pillar on
                                                                                          on the
                                                                                             the passenger's
                                                                                                  passenger’ssideside
    of
     of the
        the vehicle.   This hole
            vehicle. This     hole is
                                    is essentially
                                       essentially aa first
                                                         first strike
                                                                strike bullet
                                                                         bullethole
                                                                                holeofofentry
                                                                                         entryandandwas
                                                                                                     wascaused
                                                                                                            causedby by
    an
     an undamaged/slightly        damaged fired
         undamaged/slightly damaged            fired rifle
                                                       rifle bullet
                                                              bullet (note
                                                                       (notethe
                                                                              theperfectly
                                                                                  perfectlyround
                                                                                              roundentry
                                                                                                     entryhole)
                                                                                                             hole)inin
    this
    this examiner’s      opinion. Evidence
          examiner's opinion.       Evidence technicians
                                                 technicians removed
                                                                   removed one one portion
                                                                                    portion ofofcore
                                                                                                 corematerial
                                                                                                       materialwith
                                                                                                                  with
    some
     some apparent      jacket material
            apparent jacket     material from
                                           from thethe area
                                                         area ofof the
                                                                    the "B"
                                                                         “B”pillar
                                                                              pillarduring
                                                                                     duringthethevehicle
                                                                                                   vehicle
    inspection
     inspection atat the
                     the police
                           police facility.
                                   facility. The
                                              The material
                                                    material recovered         would represent
                                                                 recovered would       represent only
                                                                                                   only aa portion
                                                                                                            portion ofof
    aa whole
       whole fired    rifle bullet,
               fired rifle  bullet, however
                                     however the the area
                                                       area inin which
                                                                 whichthe  thebullet
                                                                               bulletstruck
                                                                                      struckcould
                                                                                               couldeasily
                                                                                                      easilyaccount
                                                                                                               account
    for
     for the
         the missing     jacket (inside
             missing jacket     (inside the
                                          the steel
                                               steel structure
                                                       structure of  of the
                                                                         the"B"
                                                                             “B”pillar
                                                                                  pillarorormuch
                                                                                            muchofofthe thebullet
                                                                                                             bullet
    could
     could have    escaped the
            have escaped      the vehicle
                                  vehicle after
                                             after striking
                                                     striking the
                                                                the interior
                                                                      interiorofofthe
                                                                                   thepassenger
                                                                                       passengerrearreardoor)
                                                                                                           door)atatthe
                                                                                                                     the
    scene.
     scene. The   recovered core
             The recovered      core material
                                       materialwaswasalsoalsoapproximately
                                                                approximately1/2   ½ the   weight of
                                                                                      the weight    of aa single
                                                                                                          single fired
                                                                                                                  fired
    rifle
    rifle bullet  in the
          bullet in   the .223
                           .223 caliber
                                 caliber class
                                          class ofof bullets,
                                                      bullets, however
                                                                  howeverin   innoting
                                                                                 notingthe
                                                                                         theuniform
                                                                                              uniformbullet
                                                                                                         bullethole
                                                                                                                 hole
    of
     of entry
        entry pictured     below with
               pictured below      with the
                                         the damaged
                                              damaged exit   exit hole
                                                                   holein inthe
                                                                             the"B"
                                                                                 “B”pillar,
                                                                                      pillar,this
                                                                                               thiscould
                                                                                                    couldnotnothave
                                                                                                                have
    been
    been the
           the missing     portion of
                missing portion      of the
                                        the fatal
                                             fatal bullet
                                                    bullet in in this
                                                                 this examiner's
                                                                        examiner’s opinion.
                                                                                     opinion. This
                                                                                                 Thisbullet
                                                                                                      bullethole
                                                                                                               hole
    was
    was caused
          caused byby anan undamaged
                            undamaged intact
                                           intact fired
                                                    fired rifle
                                                            rifle bullet
                                                                  bulletin inthe
                                                                              the.223
                                                                                  .223class
                                                                                        classcaliber.
                                                                                                caliber.




                                                                                                                      44
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Photo
Photo ## 12363200
         12363200




Photo
Photo ## 12363185
         12363185

The
The report
     report issued
            issued by by the
                         the Santa
                             Santa Clara
                                     Clara County
                                           County District
                                                   District Attorney
                                                             Attorney Jeffery
                                                                       JefferyF.  F.Rosen
                                                                                    Rosenstates
                                                                                              statesthat
                                                                                                     that
the
the Santa  Clara County
    Santa Clara    County Criminalists
                            Criminalists concluded
                                           concluded the
                                                      the following:
                                                           following:
        1.
        1. Officer
            Officer Pena
                      Pena fired   two successive
                            fired two   successive shots
                                                   shots approximately
                                                         approximately ½        second apart;
                                                                            1/2 second   apart;
        2.
        2. The
           The projectile    that killed
                 projectile that  killed Dominguez
                                         Dominquez waswas aa fragment
                                                              fragment of
                                                                        of aa copper
                                                                                copper (jacketing)
                                                                                        (jacketing)
           recovered     from his
            recovered from     his body.
                                    body. The
                                          The combined
                                               combined weight
                                                           weight of
                                                                  of the
                                                                      the (jacketing)
                                                                           (jacketing) andandthe
                                                                                               the
           lead
            lead core
                   core recovered    from the
                        recovered from    the doorframe
                                              doorframe amounted
                                                          amounted to to the
                                                                          the approximate
                                                                               approximate weight
                                                                                               weight
           of
            of aa single  .223 bullet;
                  single .223  bullet;
        3.
        3. Only
           Only aa single   bullet entered
                     single bullet  entered the
                                            the vehicle,
                                                vehicle, meaning
                                                         meaning that
                                                                   that the
                                                                         the other
                                                                               other shot
                                                                                      shot fired
                                                                                            firedby
                                                                                                  by
           Officer   Pena was
           Officer Pena     was aa miss;
                                   miss;

                                                                                                        55
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          4.
          4. There
             There was
                     was nono way
                               way to to tell
                                          tell definitively
                                                definitively ifif the
                                                                   the miss
                                                                        miss waswasthe
                                                                                     thefirst
                                                                                         firstororsecond
                                                                                                   secondshot,
                                                                                                             shot,
              but
               but according
                   according to to firearms
                                    firearms experts,
                                                 experts, when
                                                            when two two shots
                                                                           shotsare
                                                                                  arefired
                                                                                       firedininrapid
                                                                                                  rapidsuccession,
                                                                                                         succession,
              aa miss
                 miss is  more likely
                      is more    likely to to occur
                                               occur onon the
                                                           the second
                                                                second shotshot due
                                                                                 duetotorecoil.
                                                                                         recoil.
          5.
          5. The
             The bullet    that entered
                   bullet that  entered the  the vehicle
                                                 vehicle struck
                                                            struck thethe driver's
                                                                           driver’swindow,
                                                                                      window,shattering
                                                                                                  shatteringit;it;
          6.
          6. Upon    impact with
             Upon impact      with thethe glass,
                                            glass, the
                                                    the bullet
                                                         bullet broke
                                                                 broke up  up with
                                                                               withthe
                                                                                     thelead
                                                                                          leadcore
                                                                                                coregoing
                                                                                                       going
             through    the forearm      of  Dominquez’s        hooded     sweatshirt
             through the forearm of Dominguez's hooded sweatshirt and ultimately lodging and   ultimately   lodging
             in
             in the
                 the rear  passenger door
                     rear passenger       door frame;
                                                 frame;
          7.
          7. The
             The (jacketing)     fragment that
                   (jacketing) fragment         that broke
                                                      broke away
                                                              away uponupon impact
                                                                              impactwithwiththe
                                                                                              theglass
                                                                                                   glasstraveled
                                                                                                          traveled
             in
             in aa path
                   path that  penetrated Dominguez's
                         that penetrated       Dominquez’shead,  head,neckneckandandspine
                                                                                       spinecausing
                                                                                              causinghis hisdeath;
                                                                                                             death;
          8.
          8. Dominquez
             Dominguez was   was leaning
                                   leaning backback inin his
                                                          his seat
                                                              seat immediately
                                                                     immediatelyafter afterthe
                                                                                             theshooting;
                                                                                                  shooting;
          9.
          9. There
             There were     two holes
                     were two     holes in  in the
                                               the left
                                                    left forearm
                                                         forearm of  of the
                                                                         the hooded
                                                                             hoodedsweatshirt
                                                                                        sweatshirt(the(thehole
                                                                                                           holeon  on
              the
               the frontside  of the
                   frontside of   the left
                                        left sleeve
                                              sleeve was
                                                       was approximately
                                                             approximately12      12inches
                                                                                      inchesup upfrom
                                                                                                   fromthethe
              edge
               edge of
                     of the  cuff and
                        the cuff   and thethe hole
                                               hole located
                                                      located onon the
                                                                     the backside
                                                                          backside of ofthe
                                                                                         theleft
                                                                                              leftsleeve
                                                                                                    sleevewas
                                                                                                            was
              approximately
               approximately 11.511.5 inches
                                         inches up up from
                                                       from the
                                                              the edge
                                                                    edge ofof the
                                                                               the cuff)
                                                                                   cuff)that
                                                                                           thatwere
                                                                                                werecaused
                                                                                                       causedby  byaa
              single  bullet  passing      through    (entrance
               single bullet passing through (entrance and exit).   and   exit).

After
After reviewing
      reviewing the the above
                         above reasons
                                   reasons given
                                               given by  by the
                                                              the District
                                                                  DistrictAttorney,
                                                                              Attorney,this   thisexaminer
                                                                                                    examinerisis
troubled by the
troubled by   the sheer
                   sheer number
                           number of    of miss-representations
                                            miss-representationscontained  containedininthose  those99points
                                                                                                          pointswhich
                                                                                                                    which
will be addressed
will be addressed below:
                      below:
        1.
        1. The
           The Santa     Clara Criminalists
                 Santa Clara      Criminalists did     did NOT
                                                             NOT state
                                                                    state that
                                                                            that this
                                                                                   thiswas
                                                                                         wasfromfromone onebullet
                                                                                                              bulletdueduetoto
           the
           the combined
                combined weightweight of  of the
                                              the two
                                                    two fragments.
                                                           fragments. What Whatthey theydid didsaysayinintheir
                                                                                                           theirreport
                                                                                                                  report
           was
           was that    “It is
                 that "It   is not
                               not possible
                                     possible to   to determine
                                                       determine ififItems
                                                                         ItemsSJ182278-28
                                                                                   SJ182278-28and      andSJ182278-28
                                                                                                             SJ182278-28
           are
           are from    one or
                from one      or more
                                 more projectiles.
                                           projectiles.
        2.
        2. The
           The criminalists
                 criminalists did  did not
                                         not say
                                               say that
                                                     that one
                                                            one shot
                                                                 shot missed.
                                                                        missed.
        3.
        3. Apparently
           Apparently the  the District
                                 District Attorney
                                             Attorney believes
                                                            believes that
                                                                        that aafired
                                                                                  firedrifle
                                                                                         riflebullet
                                                                                                 bulletcancanbreak
                                                                                                               breakup   up
           causing    the   bullet   jacket    and    core   to separate     and    only
           causing the bullet jacket and core to separate and only the bullet jacket will bethe  bullet   jacket    will  be
           severely
           severely deformed
                       deformed and   and that
                                             that the
                                                    the core,
                                                         core, apparently
                                                                 apparently undamaged
                                                                                  undamagedby       bythe
                                                                                                        theviolent
                                                                                                              violent
           interaction
           interaction with       the window
                           with the     window glass  glass now
                                                              now travels
                                                                    travels as as anan undamaged
                                                                                        undamagedprojectile
                                                                                                          projectiletoto
           strike
           strike the
                    the “B”    pillar leaving
                        "B" pillar      leaving aa perfectly
                                                       perfectly round
                                                                    round.223 .223caliber
                                                                                      caliberhole.
                                                                                                 hole.ItIt
           should
           should be be noted     that if
                         noted that      if the
                                            the hole
                                                  hole inin the
                                                              the "B"
                                                                  “B”pillar
                                                                        pillarwerewerecaused
                                                                                          causedonly onlyby  byaa.223
                                                                                                                    .223
           caliber bullet
           caliber             core, the
                     bullet core,            hole would
                                        the hole     would onlyonly bebe approximately
                                                                          approximately .180      .180 inches
                                                                                                         inches in in
           diameter
           diameter due       the missing
                        due the     missing jacket.
                                                 jacket. DidDid anyone
                                                                 anyone take takethisthisinto
                                                                                           intoaccount?
                                                                                                  account?Bullet
                                                                                                               Bullet
           manufacturers
           manufacturers design design jacketed
                                           jacketed bullets
                                                         bullets toto not
                                                                      not have
                                                                            havethe  thecore
                                                                                          corematerial
                                                                                                  materialand andthe the
           jacket separate
           jacket   separate whenwhen impacting
                                          impactingaatarget. target.
        4.
        4. The
           The recoil
                 recoil ofof .223
                              .223 Remington
                                     Remington caliber  caliber cartridge
                                                                  cartridge in  inaaM-4M-4riflerifle(or
                                                                                                     (orininother
                                                                                                              othersemi-
                                                                                                                       semi-
            auto
            auto rifles)
                   rifles) is  designed to
                            is designed       to not
                                                  not cause
                                                        cause muzzle
                                                                muzzle jump.
                                                                           jump. This Thisisisoneoneof ofthe
                                                                                                           thereasons
                                                                                                                reasons
            this
            this caliber    rifle is
                  caliber rifle    is so
                                       so popular,
                                           popular, itit is is powerful
                                                               powerful and  andyet yeteasy
                                                                                         easyto  tofire
                                                                                                    fireand
                                                                                                          andhashasvery
                                                                                                                      very
            little
            little recoil.
                   recoil. For     anyone to
                             For anyone        to suggest
                                                   suggest thatthat the
                                                                     the recoil
                                                                          recoil of of aa .223
                                                                                           .223caliber
                                                                                                   calibersemi-auto
                                                                                                             semi-auto
            rifle
            rifle as  the reason
                   as the  reason for for aa missed
                                              missed shot shot from
                                                                from less
                                                                        less than
                                                                               thanten tenfeet
                                                                                             feetinto
                                                                                                   intoaalarge
                                                                                                            largevehicle
                                                                                                                    vehicle
            from
            from aa well-trained         officer is
                      well-trained officer          is ludicrous.
                                                       ludicrous.
        5.
        5. The
           The turning
                 turning of of the
                                the bullet
                                      bullet core
                                                core approximately
                                                       approximately at      at aa 45
                                                                                    45 degree
                                                                                        degreeor   orgreater
                                                                                                      greaterangle
                                                                                                                 angleand and
            then
            then have
                   have itit penetrate
                             penetrate the  the sweatshirt
                                                  sweatshirt and and the
                                                                       the "B"
                                                                             “B”pillar
                                                                                    pillarneeds
                                                                                             needsexplanation?
                                                                                                      explanation?
        6.
        6. On
           On page
                page 1818 ofof that
                                that report
                                      report the the District     Attorney agrees
                                                       District Attorney        agrees thatthat Mr.
                                                                                                  Mr. Dominguez's
                                                                                                        Dominquez’s
            hands    were probably
            hands were       probably up   up when
                                                when Officer
                                                         Officer Pena
                                                                    Pena fired
                                                                            firedhis hisweapon.
                                                                                         weapon.

                                                                                                                            66
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The
The undersigned     also examiner
     undersigned also     examiner the the black
                                            black sweatshirt
                                                    sweatshirt worn
                                                                 worn byby Mr.
                                                                            Mr. Dominguez
                                                                                 Dominquezwhenwhenhe he
was
was shot.  The reports
     shot. The  reports issued
                          issued by
                                  by the
                                       the Santa
                                            Santa Clara
                                                    Clara Crime
                                                           Crime laboratory
                                                                    laboratorydocuments
                                                                                 documentsthethethorough
                                                                                                 thorough
examination
examination ofof the
                 the sweatshirt
                       sweatshirt and
                                    and the
                                          the undersigned
                                               undersigned agrees
                                                               agrees with
                                                                        with the
                                                                              theconclusions
                                                                                  conclusionsdrawn
                                                                                               drawnby by
the
the crime  laboratory that
    crime laboratory    that the
                              the holes
                                  holes in in the
                                              the left
                                                   left sleeve
                                                        sleeve of
                                                                of the
                                                                    the black
                                                                        blacksweatshirt
                                                                                sweatshirtwere
                                                                                           were
consistent  with the
consistent with  the passage
                       passage ofof aa high-speed
                                        high-speed projectile.
                                                       projectile. The
                                                                    The below
                                                                         belowshown
                                                                                 shownphotographs
                                                                                         photographs
depict
depict the
       the holes  in the
            holes in  the outside
                           outside lower
                                     lower left
                                             left sleeve
                                                   sleeve (DSC-3555)
                                                           (DSC-3555) and  and the
                                                                                theinside
                                                                                    insidelower
                                                                                           lowerleft
                                                                                                  left
sleeve (DSC-3550)      of  the sweatshirt.     This  clearly  indicates   the passage
sleeve (DSC-3550) of the sweatshirt. This clearly indicates the passage of a bullet    of a bullet
through  the lower
through the  lower sleeve
                     sleeve ofof the
                                 the sweatshirt
                                       sweatshirt from
                                                     from the
                                                           the outside
                                                                outside totothe
                                                                             theinside
                                                                                 insideapproximately
                                                                                        approximately
11-12
11-12 inches
       inches up
               up from
                   from the
                          the cuff,
                               cuff, however
                                      however the the bullet
                                                       bullet does
                                                              does not
                                                                     not strike
                                                                         strike Mr.
                                                                                 Mr. Dominguez.
                                                                                     Dominquez.




DSC-3555
DSC-3555




                                                       11

                                   Tr7".7.17717:17-r
•



zlp   7.1zZatTrAartazlz7z,. 1 .„


DSC-3550
DSC-3550

                                                                                                       77
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Investigators   examining the
Investigators examining       the black
                                  black Kia
                                         Kia being
                                              being driven
                                                      drivenbybyMr.
                                                                  Mr.Dominguez
                                                                       Dominquezconducted
                                                                                     conducted
trajectory  testing on
trajectory testing  on the
                         the bullet
                             bullet hole
                                     hole located
                                           located in
                                                    in the
                                                        the"B"
                                                            “B”pillar
                                                                 pillaron
                                                                        onthe
                                                                           thepassenger
                                                                               passengerside
                                                                                           sideofofthe
                                                                                                    the
vehicle.
vehicle. The
          The examinations      consisted of
               examinations consisted       of placing
                                               placing aa wooden
                                                           wooden dowel
                                                                     dowel into
                                                                             into the
                                                                                  the bullet
                                                                                      bullet strike
                                                                                             strike in
                                                                                                     in
the
the “B”   pillar with
    "B" pillar   with aa colored
                         colored string
                                   stringattached
                                          attachednear
                                                     nearthe
                                                           thefront
                                                               frontofofthe
                                                                         thedowel
                                                                             dowelandandthen
                                                                                         thendrawing
                                                                                               drawing
that
that string
     string out  through the
             out through   the driver's
                                driver’s side
                                         side window.
                                               window. The The below
                                                                below shown
                                                                        shown photograph
                                                                                photographshows
                                                                                             showsthisthis
testing  by the  Santa  Clara   Crime   Laboratory
testing by the Santa Clara Crime Laboratory personnel.personnel.




Photo
Photo ## 12363278
         12363278

Laboratory    photographs #12363212e+line
Laboratory photographs          #12363212e+line through through12363278ce
                                                                    12363278cedepict
                                                                                   depictvarious
                                                                                           varioustrajectories
                                                                                                     trajectories
from
from the   single bullet
      the single     bullet strike
                            strike inin the
                                        the "B"
                                              “B”pillar
                                                   pillarwith
                                                           withmost
                                                                  mostofofthe
                                                                            thestring
                                                                                stringtrajectory
                                                                                        trajectorylines
                                                                                                    lines
coming
coming out
         out of
              of the
                   the driver’s   side window
                        driver's side    window nearnear the
                                                           the door
                                                                 door handle,
                                                                      handle, however
                                                                                however in in one
                                                                                               one of
                                                                                                    of the
                                                                                                        the
photographs
photographs the the orange-colored
                      orange-colored trajectory
                                          trajectory line
                                                        line appears
                                                              appearsto tothis
                                                                           thisexaminer
                                                                                examinertotobe  becoming
                                                                                                   comingout  out
further
further forward      towards the
        forward towards        the windshield
                                     windshield areaarea ofof the
                                                               the vehicle.
                                                                   vehicle.The
                                                                             Thereason
                                                                                   reasonthese
                                                                                            thesetrajectory
                                                                                                  trajectory
projections   are important
projections are     important is is that
                                    that itit appears
                                              appears the
                                                        the investigators
                                                             investigatorsare aretrying
                                                                                  tryingtotocorrelate
                                                                                              correlatethethe
bullet strike in
bullet strike  in the
                    the "B"
                        “B” pillar
                              pillar with
                                      withaaportion
                                                portionof ofthe
                                                             thebullet
                                                                  bulletfrom
                                                                         fromthethefatal
                                                                                     fatalinjury
                                                                                           injurytotoMr.
                                                                                                      Mr.
Dominquez.
Dominguez. The  The undersigned
                       undersigned was was unable
                                               unable to
                                                       to reproduce
                                                           reproducethe theabove
                                                                             abovelisted
                                                                                     listedphotos
                                                                                             photosininthis
                                                                                                         this
report due to
report due   to the
                 the formatting
                      formatting in  in which
                                        which thethe photographs
                                                     photographswere   werereceived
                                                                              receivedby bythe
                                                                                             theundersigned.
                                                                                                 undersigned.

The
The importance
     importance of  of the
                       the above
                            above material
                                     material is
                                               is that
                                                   that itit appears
                                                             appearsinvestigators
                                                                        investigatorsthought
                                                                                        thoughtthat
                                                                                                 thatthe
                                                                                                       the
bullet
bullet strike
        strike in the "B"
               in the  “B” pillar
                             pillar was
                                     was aa portion
                                            portion ofof thethe fatal
                                                                 fatal bullet
                                                                       bullet strike
                                                                               strike to
                                                                                      to Mr.
                                                                                          Mr. Dominguez
                                                                                              Dominquez and  and
then  it appears
then it  appears that
                  that aa second
                           second version
                                     version of
                                             of the
                                                 the trajectory
                                                      trajectorytest testwas
                                                                           wasthat
                                                                                thatthe
                                                                                     the"B"
                                                                                          “B”pillar
                                                                                               pillarstrike
                                                                                                      strike
was
was an    independent fired
     an independent      fired bullet.
                                bullet. Investigators
                                         Investigators couldcouldhave
                                                                    havefacilitated
                                                                           facilitatedthe
                                                                                        theexaminations
                                                                                            examinationshad  had
they  not used
they not   used string
                 string taped
                         taped toto aa wooden
                                        wooden dowel
                                                 dowel (as  (asshown
                                                                shownininthe theabove
                                                                                 abovephoto)
                                                                                         photo)and
                                                                                                 andsimply
                                                                                                       simply
pulled   the trajectory
pulled the   trajectory string
                          string all
                                  all the
                                       the way
                                           way through
                                                through the   thehole
                                                                  holein inthe
                                                                            the"B"
                                                                                “B”pillar,
                                                                                     pillar,centered
                                                                                             centeredthat
                                                                                                        that



                                                                                                               88
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     string
     string in
             in the middle of
                the middle  of the
                                the exit
                                    exit hole
                                         hole while
                                               while centering
                                                      centering the
                                                                  thestring
                                                                      stringin
                                                                             inthe
                                                                                thecenter
                                                                                    centerofofthe
                                                                                               theentrance
                                                                                                   entrance
     hole
     hole and
           and then
                then projecting   the string
                      projecting the  string outside
                                              outside the
                                                       the driver's
                                                            driver’s door
                                                                     door window.
                                                                            window. This
                                                                                     Thiswould
                                                                                          wouldhavehave
     given
     given them
             them aa much
                     much more
                            more accurate
                                   accurate flight
                                             flight path
                                                     path of
                                                          of the
                                                              thebullet
                                                                  bulletcausing
                                                                         causingthe
                                                                                  thehole
                                                                                      holeininthe
                                                                                               the"B"
                                                                                                   “B”
     pillar. Investigators could
     pillar. Investigators  could have/should
                                    have/should have
                                                   have utilized
                                                         utilizedaalaser
                                                                    lasertotomore
                                                                             moreaccurately
                                                                                    accuratelydetermine
                                                                                                determine
     the
     the angle
         angle ofof the
                    the bullet
                        bullet in the "B"
                               in the “B” pillar.
                                            pillar. Refer
                                                    Refer to
                                                           to photographs
                                                               photographs #'s
                                                                             #’s12363299
                                                                                 12363299and and12363185
                                                                                                  12363185
     included   in this report on  page
     included in this report on page 5.  5.

OPINIONS
OPINIONS AND CONCLUSIONS
         AND CONCLUSIONS

     Officer
     Officer Pena’s     vehicle is
                Pena's vehicle    is the
                                     the first
                                          first to
                                                to block
                                                   block in in the
                                                                the Dominguez
                                                                     Dominquez vehicle vehicle andand Officer
                                                                                                       Officer Pena
                                                                                                               Pena
     immediately
     immediately exitsexits his
                            his vehicle
                                vehicle andand takes
                                                 takes aa position
                                                          position nearnear the
                                                                              theleft
                                                                                   leftfront
                                                                                          frontwheel
                                                                                                 wheel/engine
                                                                                                         /enginearea
                                                                                                                  areaofof
     Officer
     Officer Ferguson’s       vehicle which
               Ferguson's vehicle       which hashas blocked
                                                      blocked the the driver's
                                                                       driver’sdoordoorofofthe theDominguez
                                                                                                    Dominquez
     vehicle.
     vehicle. Officer
                Officer Pena
                         Pena reportedly       begins yelling
                                reportedly begins       yelling "show
                                                                   “show your
                                                                            your hands"
                                                                                      hands” andand "don't
                                                                                                     “don’tmove
                                                                                                             moveororII
     will  shoot you"
     will shoot    you” commands
                         commands to    to the
                                            the driver
                                                 driver of
                                                         ofthe
                                                             thestopped
                                                                  stoppedvehicle.
                                                                              vehicle.Officer
                                                                                           OfficerPena
                                                                                                     Penastates
                                                                                                           statesatatfirst
                                                                                                                      first
     Mr.  Dominquez       does  not   comply     with  the  hands    up  order,    however
     Mr. Dominguez does not comply with the hands up order, however after a few seconds          after a few seconds
     he
     he raised   his hands.
         raised his   hands. Within
                               Within seconds
                                         seconds Officer
                                                    Officer Pena
                                                              Penastates
                                                                      statesthat
                                                                               thatMr.Mr.Dominguez
                                                                                            Dominquezthen  thenquickly
                                                                                                                quickly
     lowers
     lowers hishis hands
                   hands toto his
                              his lap
                                   lap area
                                        area and
                                              and leans
                                                   leans forward
                                                           forward and and ititisisatatthis
                                                                                        thistime
                                                                                             timethat
                                                                                                    thatOfficer
                                                                                                         OfficerPena
                                                                                                                  Pena
     fires
     fires 22 rounds
              rounds atat Mr.
                          Mr. Dominguez
                               Dominquez statingstating that
                                                         that hehe (Pena)
                                                                    (Pena)thought
                                                                              thoughtthat  thatDominguez
                                                                                                 Dominquezwas  was
     reaching
     reaching forfor firearm.
                     firearm. NoNo firearm
                                     firearm was
                                               was recovered
                                                     recovered from fromthe
                                                                          thevehicle
                                                                                  vehicleor  orMr.
                                                                                                Mr.Dominguez.
                                                                                                      Dominquez.

     The
     The evidence       clearly shows
           evidence clearly       shows that
                                           that the
                                                 the fatal
                                                      fatal wound
                                                             wound to  toMr.
                                                                          Mr.Dominguez
                                                                                Dominquez(only (onlyoneonebullet
                                                                                                             bullet
     wound)
     wound) struck
                struck the
                         the partially    lowered driver's
                               partially lowered      driver’s side
                                                                  side window
                                                                        window prior
                                                                                   prior to
                                                                                          tostriking
                                                                                             strikingthethevictim
                                                                                                             victimin  in
     the
     the lower     left mouth
          lower left    mouth area
                                 area with
                                       with no no exit
                                                   exit wounds
                                                         wounds associated
                                                                    associatedwithwiththis
                                                                                        thisfatal
                                                                                              fatalbullet
                                                                                                    bulletstrike,
                                                                                                             strike,
     therefore
     therefore thethe bullet
                       bullet hole
                                hole in
                                      in the
                                         the "B"
                                               “B”pillar
                                                     pillarhad
                                                            hadtotobe bethe
                                                                         theresult
                                                                              resultofofaafragment
                                                                                            fragmentofofthe thefatal
                                                                                                                 fatal
     bullet   core or
     bullet core    or an
                        an independent
                            independent bullet
                                             bullet strike.
                                                      strike. The
                                                               The independent
                                                                     independentbullet
                                                                                     bulletversion
                                                                                             versionaccounts
                                                                                                        accountsfor  for
     both   the  holes   in  the sweatshirt     as  well  as the   round   bullet  entrance    hole
     both the holes in the sweatshirt as well as the round bullet entrance hole in the "B" pillar.   in  the  “B”   pillar.
     The
     The fragment
           fragment of  of bullet
                            bullet core
                                    core from
                                           from the
                                                  the fatal
                                                       fatal shot
                                                              shot version
                                                                     versionfails
                                                                               failsto
                                                                                     toexplain
                                                                                        explaineither
                                                                                                   eitherthe
                                                                                                           theround
                                                                                                                round
     .223
     .223 caliber
            caliber size    bullet hole
                      size bullet   hole inin the
                                               the "B"
                                                    “B” pillar
                                                         pillar and
                                                                  anddoes
                                                                       doesnot
                                                                             notexplain
                                                                                   explainhowhowthetheholes
                                                                                                        holesininthe
                                                                                                                   the
     sweatshirt
     sweatshirt were       created. Officer
                    were created.     Officer Pena
                                                 Pena fired
                                                        fired two
                                                                two rounds
                                                                     roundsatatMr.Mr.Dominguez
                                                                                       Dominquezwith    withonly
                                                                                                               onlyoneone
     bullet   striking him.
     bullet striking     him. For
                                For the
                                     the bullet
                                          bullet strike
                                                   strike in
                                                           in the
                                                               the"B"
                                                                    “B”pillar
                                                                         pillartotohave
                                                                                    havebeen
                                                                                           beenaafragment
                                                                                                    fragmentofofthe  the
     fatal
     fatal bullet    strike, the
            bullet strike,    the second
                                  second shotshot fired
                                                   fired by
                                                          by Officer
                                                               Officer Pena
                                                                         Penawould
                                                                                wouldhave
                                                                                        havehad hadtotocompletely
                                                                                                         completely
     miss   the vehicle
     miss the    vehicle (a (a distance
                               distance of of less
                                               less than
                                                     than 10
                                                           10 feet
                                                                feet with
                                                                     withaaperson
                                                                             personusing
                                                                                       usingaascoped
                                                                                                 scopedrifle)
                                                                                                           rifle)asas
     there
     there are
             are no
                  no other
                      other bullet    holes in
                              bullet holes    in the
                                                 the Kia
                                                       Kia or
                                                            or any
                                                                any reported
                                                                      reported bullet
                                                                                 bullet strikes
                                                                                         strikes in
                                                                                                  in the
                                                                                                      the vicinity
                                                                                                           vicinity ofof
     the
     the shooting.      Officer Pena
          shooting. Officer      Pena missing
                                         missing withwith the
                                                           the second
                                                                 secondshot
                                                                          shotisisnot
                                                                                    notaacredible
                                                                                           crediblepossibility
                                                                                                      possibilityinin
     this
     this examiner’s      opinion.
           examiner's opinion.

     Having
     Having dismissed      the possibility
               dismissed the   possibility of
                                            of aa missed
                                                  missed second
                                                             second shot,
                                                                      shot, then
                                                                             then the
                                                                                   the bullet
                                                                                       bullet strike
                                                                                               strike in
                                                                                                      in the
                                                                                                         the "B"
                                                                                                               “B”
     pillar was aa direct
     pillar was     direct bullet
                           bullet strike
                                  strike and
                                          and the
                                               the holes
                                                    holes inin the
                                                                thelower
                                                                    lowerleft
                                                                            leftsleeve
                                                                                 sleeveofofthe
                                                                                            thesweatshirt
                                                                                                 sweatshirthadhad
     to
     to have   been caused
        have been    caused by
                             by the
                                 the passage
                                      passage ofof this
                                                    this fired
                                                          fired bullet.
                                                                 bullet.The
                                                                         Theouter
                                                                               outer(entrance)
                                                                                     (entrance)bullet
                                                                                                   bulletstrike
                                                                                                           strike
     in
     in the
        the sweatshirt   reportedly had
             sweatshirt reportedly    had powdered
                                           powdered glassglass imbedded
                                                                 imbeddedin   inthe
                                                                                 thefabric
                                                                                     fabric(County
                                                                                             (CountyofofSanta
                                                                                                            Santa
     Clara
     Clara Crime     Laboratory) which
            Crime Laboratory)      which indicate
                                           indicate that
                                                      that the
                                                             the second
                                                                  secondshot
                                                                           shotimpacted
                                                                                 impactedglass
                                                                                            glassprior
                                                                                                   priortoto
     striking
     striking the   sweatshirt, however
                the sweatshirt, however thethe glass
                                                 glass would
                                                        would havehave already
                                                                        alreadybeen
                                                                                  beenshattered
                                                                                        shatteredfrom
                                                                                                    fromthethe
     first
     first shot  and would
           shot and   would not
                             not have
                                  have offered
                                        offered any
                                                  any substantial
                                                        substantialresistance
                                                                      resistancetotoaabullet
                                                                                        bulletpassing
                                                                                                passingasas
     would
     would intact/non-damaged
              intact/non-damaged glassglass in
                                            in this
                                                this examiner's
                                                     examiner’s opinion.
                                                                     opinion.

                                                                                                                          99
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After
After carefully   reviewing the
      carefully reviewing       the available
                                     available information
                                                 information and  and evidence
                                                                       evidenceon   onthis
                                                                                        thiscase
                                                                                              caseititisisthe
                                                                                                           the
opinion
opinion of  the undersigned
         of the  undersigned examiner
                                   examiner that
                                             that Mr.Mr. Dominguez
                                                            Dominquez had  had to
                                                                                to have
                                                                                   havehad hadhishisarms/hands
                                                                                                     arms/hands
up
up above
    above the  level of
           the level of the
                        the driver's
                               driver’sdoor
                                         doormetal
                                                metalbody bodyforforthe
                                                                     thebullet
                                                                          bullettotohave
                                                                                      haveimpacted
                                                                                             impactedthe   theleft
                                                                                                               left
sweatshirt
sweatshirt sleeve   and then
            sleeve and   then struck
                                  struck the
                                         the "B"
                                             “B” panel,
                                                    panel, therefore
                                                              thereforethethestatement
                                                                              statementof    ofOfficer
                                                                                                 OfficerPenaPena
that
that both of Mr.
     both of  Mr. Dominguez's
                   Dominquez’shands   handswere
                                             weredown downand andoutoutofofsight
                                                                            sightwhen
                                                                                   whenhe   hefired
                                                                                               firedhis
                                                                                                      his
weapon
weapon isis not
            not correct.
                 correct. Mr.
                          Mr. Dominguez's
                                  Dominquez’sleft  leftarm/hand
                                                          arm/handwas wasabove
                                                                            abovethe thelevel
                                                                                          levelofofthe
                                                                                                    thewindow
                                                                                                           window
opening
opening in   his vehicle
         in his  vehicle when
                          when the  the bullet
                                        bullet penetrated
                                                penetrated the  the sweatshirt.
                                                                    sweatshirt. With
                                                                                   Withthe thetwo
                                                                                                twofired
                                                                                                     fired
rounds  only separated
rounds only   separated byby approximately
                                approximately ½        second and
                                                   1/2 second    and the
                                                                      the shot
                                                                           shot to
                                                                                 to the
                                                                                    the sweatshirt
                                                                                          sweatshirt (likely
                                                                                                         (likely
the
the second   round fired),
    second round    fired), itit is
                                 is apparent
                                    apparent that
                                               that atat least
                                                          least Mr.
                                                                Mr. Dominguez's
                                                                     Dominquez’sleft    lefthand/arm
                                                                                             hand/armwas    wasupup
and
and above
     above the   driver’s side
            the driver's  side window
                                   windowledge
                                            ledgewhenwhenboth bothrounds
                                                                    roundswerewerefired.
                                                                                     fired.

The
The undersigned  reserves the
     undersigned reserves  the right
                               right to
                                     to change
                                         change or
                                                 or modify
                                                     modify any
                                                            any of
                                                                 of the
                                                                     the opinions
                                                                         opinionsand
                                                                                  and
conclusions expressed in
conclusions expressed  in this
                          this report
                               report if
                                       if additional
                                          additional information
                                                      information or
                                                                  or evidence
                                                                      evidencebecomes
                                                                                becomes
available.
available.


                                                                              Respectfully submitted,
                                                                              Respectfully submitted,



                                                                              David E. Balash
                                                                              David E. Balash




  ••   A
       A copy of my
         copy of my C.V.
                    C.V. is
                          is attached
                             attached
  ••   A
       A copy of my
         copy of my testimony
                    testimony document
                                document is
                                         is attached
                                            attached




                                                                                                                10
                                                                                                                10
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DAVID E. BALASH
DAVID E. BALASH
41906
41906 Echo  Forest Ct.
      Echo Forest  Ct.
Canton,  Michigan 48188
Canton, Michigan  48188
Phone
Phone ## 734-981-6788  Fax 734-981-6459
         734-981-6788 Fax  734-981-6459


                                 CURRICULUM VITAE
                                 CURRICULUM VITAE

PERSONAL:
PERSONAL:             Born: Detroit, Michigan
                      Born: Detroit, Michigan 1-19-45
                                              1-19-45
                      Raised:
                      Raised: Bay City, Michigan
                              Bay City, Michigan
                      Married for over
                      Married for over 49
                                       49 years
                                          years with
                                                with 22 children
                                                        children

CURRENT
CURRENT               3-1-92
                       3-1-92 —– Present.
                                  Present. II have
                                              have been
                                                    been working as an
                                                         working as an Independent
                                                                       Independent Firearms
                                                                                      Firearms
                      Examiner/Forensic      Science Consultant.
                       Examiner/Forensic Science      Consultant. This
                                                                  This work
                                                                        work entails
                                                                             entails examination
                                                                                     examinationofof
                      evidence,   case evaluations
                       evidence, case   evaluations and
                                                     and crime
                                                         crime scene
                                                               scene re-construction
                                                                      re-construction consistent
                                                                                       consistentwith
                                                                                                 withwork
                                                                                                      work
                      II performed  at aa crime
                         performed at     crime laboratory.
                                                 laboratory.

POSITION:
POSITION:              03/2000 – May
                       03/2000 —   May2001
                                         2001Supervision
                                               Supervisionof ofthe
                                                                the Oakland
                                                                    Oakland County
                                                                               County Sheriff’s     Department
                                                                                          Sheriff's Department
                      Crime
                      Crime Laboratory    Firearms Identification
                             Laboratory Firearms    Identification Unit
                                                                     Unit in
                                                                           in Pontiac,
                                                                              Pontiac, Michigan
                                                                                          Michiganincluding
                                                                                                     including
                      responsibility for the
                      responsibility for the training
                                             training of
                                                      of aa deputy
                                                            deputy sheriff
                                                                    sheriff as
                                                                             as aa firearms
                                                                                    firearmsexaminer.
                                                                                             examiner.

EMPLOYMENT
EMPLOYMENT            Michigan    Department of
                      Michigan Department      of State
                                                   State Police
                                                         Police -- Enlisted
                                                                    Enlisted 9-18-66.
                                                                             9-18-66. Graduated
                                                                                        Graduatedfrom
                                                                                                    from
HISTORY:
HISTORY:              recruit school 12-2-66
                      recruit school   12-2-66 and
                                               and assigned
                                                     assigned to
                                                               to the
                                                                   the Niles
                                                                       Niles Post.
                                                                              Post. Transferred
                                                                                     Transferredtotothe
                                                                                                     the
                      Sandusky
                      Sandusky PostPost from 5/69 until
                                        from 5/69  until 12/71.
                                                         12/71. Assigned
                                                                 Assigned to to the
                                                                                 the Forensic
                                                                                     Forensic Science
                                                                                               Science Division
                                                                                                        Division
                      on  1-2-72 —
                      on 1-2-72    – Promoted
                                      Promoted to
                                                to D/Sgt.
                                                   D/Sgt. on  12/73 —
                                                          on 12/73    – Promoted
                                                                         Promoted to to D/Lt.
                                                                                        D/Lt. on 3/15/81 and
                                                                                              on 3/15/81 and
                      retired as aa D/Lt.
                      retired as    D/Lt. on
                                          on 2-29-92.
                                             2-29-92.

POSITION:
POSITION:             D/Lt.
                      D/Lt. -- Laboratory
                               Laboratory Specialist:   Firearms/ToolMarks/Bomb
                                            Specialist: Firearms/Tool   Marks/BombSquadSquadUnitUnit
                      Supervisor
                      Supervisor and
                                   and the  Crime Scene
                                        the Crime  Scene Assignment
                                                           Assignment // Processing
                                                                         Processing Supervisor
                                                                                     Supervisor forforthe
                                                                                                        the
                      Michigan    State Police
                      Michigan State    Police Northville
                                               Northville Forensic
                                                           Forensic Laboratory.
                                                                     Laboratory. This
                                                                                   This laboratory
                                                                                         laboratoryprovided
                                                                                                     provided
                      services
                      services free  of charge
                                free of charge for
                                               for over
                                                    over 120
                                                         120 police
                                                              police agencies
                                                                     agencies in
                                                                               in Southeast
                                                                                  Southeast Michigan.
                                                                                              Michigan.The The
                      Michigan    State Police
                      Michigan State    Police Northville
                                               Northville Forensic
                                                           Forensic Laboratory
                                                                     Laboratory was
                                                                                  was one
                                                                                      oneof ofthe
                                                                                               thefirst
                                                                                                   first
                      A.S.C.L.A.D.    Accredited laboratories
                      A.S.C.L.A.D. Accredited      laboratories in
                                                                in Michigan.
                                                                   Michigan.

DUTIES:
DUTIES:               ** Duties
                         Duties and
                                  and responsibilities
                                      responsibilities of of an
                                                              an enlisted
                                                                 enlisted Michigan
                                                                           Michigan State
                                                                                        State Police
                                                                                               Police Officer.
                                                                                                       Officer.
                      ** Supervisor
                         Supervisor of    the trained
                                       of the trained firearms
                                                        firearms staff
                                                                   staff and
                                                                         and the
                                                                              the responsibility
                                                                                   responsibility for
                                                                                                    for training
                                                                                                         trainingnewnew
                         examiners
                         examiners andand assisting
                                           assisting current
                                                       current examiners;
                                                                examiners;
                      ** Research
                         Research new
                                    new methods
                                           methods of of analysis
                                                         analysis both
                                                                    both in
                                                                          in the
                                                                             the laboratory
                                                                                  laboratory and
                                                                                               and at
                                                                                                    at crime
                                                                                                       crimescenes;
                                                                                                               scenes;
                         laboratory   analysis of
                         laboratory analysis     of all
                                                    all submitted
                                                        submitted firearms,
                                                                     firearms, fired
                                                                                 fired bullets,
                                                                                       bullets, fired
                                                                                                 fired cartridge
                                                                                                        cartridge
                         cases  and ammunition;
                         cases and   ammunition;
                      ** Analysis
                         Analysis ofof gunpowder      patterns and
                                        gunpowder patterns       and gunshot
                                                                      gunshot residue
                                                                                residue cases;
                                                                                         cases;
                      ** Determination
                         Determination of     bullet entrance
                                           of bullet  entrance andand exit
                                                                       exit holes,
                                                                            holes, bullet
                                                                                    bullet trajectories
                                                                                            trajectories and
                                                                                                           and flight
                                                                                                                flight
                         paths;
                         paths;
                      ** Examination
                         Examination of     weapons for
                                         of weapons     for operability,
                                                             operability, safety,
                                                                           safety, functioning
                                                                                    functioning andand alterations
                                                                                                         alterationsofof
                         mechanisms;
                         mechanisms;
                      ** Examination
                         Examination of  of air
                                            air rifles
                                                rifles for
                                                        for function
                                                             functionand
                                                                       andpower;
                                                                            power;
                      ** Blood
                         Blood spatter    interpretation;
                                 spatter interpretation;




                                                                                                                           11
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DUTIES CONT:
DUTIES CONT:      ** Tool
                     Tool mark
                           mark and    physical match
                                  and physical     match examinations;
                                                           examinations;
                  ** Develop
                     Develop and     administer in-house
                                and administer     in-house proficiency
                                                              proficiency testing
                                                                              testing for
                                                                                       for the
                                                                                            the firearms
                                                                                                 firearmsunit
                                                                                                           unitand
                                                                                                                and
                     the  bomb squad;
                     the bomb    squad;
                  ** Serial
                     Serial number    restorations;
                            number restorations;
                  ** Formulating
                     Formulating crime      scene processing
                                    crime scene     processing plans
                                                                  plans and
                                                                          and directing
                                                                               directing crime
                                                                                           crime scene
                                                                                                    scene crews
                                                                                                          crews
                     comprised
                     comprised of of both   enlisted and
                                     both enlisted     and civilian
                                                            civilian employees;
                                                                      employees;
                  ** Crime
                     Crime scene    investigation and
                             scene investigation      and reconstruction;
                                                           reconstruction;
                  ** Crime
                     Crime scene
                             scene photography
                                    photography and  and the
                                                          the instructing
                                                               instructing of of laboratory
                                                                                  laboratory personnel
                                                                                               personnelin incrime
                                                                                                              crime
                     scene  photography;
                     scene photography;
                  ** Evidence
                     Evidence collection      and preservation
                                 collection and    preservation in in the
                                                                       the laboratory,
                                                                            laboratory, at
                                                                                         at crime
                                                                                              crime scenes
                                                                                                     scenesand
                                                                                                             and
                     at
                     at autopsy;
                        autopsy;
                  ** Advise
                     Advise medical     personnel and
                              medical personnel       and assist
                                                           assist them
                                                                  them atat autopsies;
                                                                             autopsies;
                  ** Responsible
                     Responsible for    all bomb
                                    for all  bomb calls
                                                     calls and
                                                           and explosive
                                                                explosive destruction
                                                                              destruction complaints
                                                                                             complaintsreceived
                                                                                                          received
                     by  the laboratory
                     by the  laboratory from
                                         from over
                                                 over 120
                                                        120 police
                                                             police agencies
                                                                      agencies in in SE
                                                                                     SE Michigan;
                                                                                         Michigan;
                  ** Provide   expert court
                     Provide expert    court testimony
                                               testimony when
                                                            whenrequested;
                                                                   requested;
                  ** Administrative
                     Administrative duties
                                       duties inin the
                                                   the absence
                                                        absence of of the
                                                                      the laboratory
                                                                           laboratory director.
                                                                                        director.

COURT
COURT
TESTIMONY:
TESTIMONY:        Expert  testimony has
                  Expert testimony    has been
                                           been accepted
                                                  accepted inin Michigan
                                                                Michigan Circuit
                                                                           Circuit Courts
                                                                                    Courtsforforthe
                                                                                                 the
                  Counties
                  Counties of   Wayne, Washtenaw,
                             of Wayne,   Washtenaw, Oakland,
                                                         Oakland, Monroe,
                                                                    Monroe, Livingston,
                                                                               Livingston, Lenawee,
                                                                                             Lenawee,
                  Macomb,     Allegan, Roscommon,
                  Macomb, Allegan,      Roscommon, Leelanau,
                                                         Leelanau, Grand
                                                                     Grand Traverse,
                                                                             Traverse,Calhoun,
                                                                                        Calhoun,
                  Shiawassee,
                  Shiawassee, Chippewa,
                                 Chippewa, St.St. Clair
                                                  Clair and
                                                        and Kent
                                                              Kent Counties.
                                                                    Counties. Expert
                                                                                Expert testimony
                                                                                        testimony hashasalso
                                                                                                         also
                  been  given in
                  been given   in the
                                  the District
                                      District Courts
                                                Courts for
                                                        for Wayne,
                                                             Wayne, Oakland,
                                                                       Oakland, Washtenaw,
                                                                                  Washtenaw,Lenawee
                                                                                                 Lenaweeand and
                  Livingston   Counties and
                  Livingston Counties     and the
                                               the Probate
                                                    Probate Courts
                                                              Courts in
                                                                      in Wayne,
                                                                         Wayne, Oakland,
                                                                                   Oakland,Washtenaw
                                                                                              Washtenawand  and
                  Monroe    Counties. II have
                  Monroe Counties.       have also
                                               also testified
                                                     testified in
                                                                in United
                                                                   United States
                                                                          States District
                                                                                   DistrictCourts
                                                                                            Courtsof of
                  Michigan,   Oklahoma, Indiana,
                  Michigan, Oklahoma,       Indiana, Pennsylvania,
                                                      Pennsylvania, California,
                                                                        California, Alabama,
                                                                                    Alabama,Maryland.
                                                                                                 Maryland.
                  Florida  and Ohio
                  Florida and   Ohio as
                                      as well
                                         well as
                                               as the
                                                   the State
                                                       State Circuit
                                                              Circuit Courts
                                                                       Courts for
                                                                               for Wisconsin,
                                                                                   Wisconsin,Illinois,
                                                                                                 Illinois,
                  Mississippi,   Oklahoma, New
                  Mississippi, Oklahoma,      New York,
                                                     York, Delaware,
                                                            Delaware, Maryland
                                                                         Maryland and
                                                                                    and California.
                                                                                         California.These
                                                                                                       These
                  testimonies   exceed 400
                  testimonies exceed    400 occasions.
                                             occasions.

DEPOSITION
DEPOSITION
TESTIMONY:
TESTIMONY:        II have offered expert
                     have offered expert testimony
                                         testimony at
                                                   at depositions
                                                      depositions on
                                                                  on over
                                                                     over 75
                                                                          75 occasions.
                                                                             occasions.


EDUCATION:
EDUCATION:

1972
1972 -- 1974
        1974      BA
                  BA -- Madonna   College, Livonia,
                        Madonna College,   Livonia, Michigan
                                                    Michigan
                  Major: Social Science
                  Major: Social Science       Minor: Criminal Justice
                                              Minor: Criminal Justice

1965
1965 -- 1966
        1966      Michigan  State University,
                  Michigan State  University, E.
                                              E. Lansing,
                                                 Lansing, Michigan
                                                          Michigan
                  General Studies
                  General Studies

1963
1963 -- 1965
        1965      Delta College, Bay
                  Delta College, Bay City,
                                     City, Michigan
                                           Michigan
                  General Studies
                  General Studies




                                                                                                                      22
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PROFESSIONAL
PROFESSIONAL     ** Association
                    Association ofof Firearm
                                     Firearm and
                                              and Tool
                                                   Tool Mark
                                                        Mark Examiners
                                                              Examiners -- Life
                                                                            Life Member
                                                                                 Member
ASSOCIATIONS:
ASSOCIATIONS:    ** International   Associationof
                    International Association   ofBomb
                                                    BombTechnicians
                                                          TechniciansandandInvestigators
                                                                             Investigators
                                                                                         —–
                    Life Member
                    Life Member
                 *International
                  *International Wound     Ballistics Association
                                  Wound Ballistics    Association through
                                                                   through 2010
                                                                            2010
                 ** International
                    International Association   of Bloodstain
                                    Association of  Bloodstain Pattern
                                                               Pattern Analysts
                                                                        Analysts through
                                                                                  through 2010
                                                                                           2010
                 ** Disaster
                    Disaster Assistance   and Recovery
                              Assistance and   Recovery Team
                                                          Team -- Retired
                                                                  Retired 2-29-92
                                                                          2-29-92
                 ** FBI
                    FBI Bomb    Data Program
                         Bomb Data     Program -- Retired
                                                  Retired 2-29-92
                                                          2-29-92
                 ** Michigan
                    Michigan State    Police Command
                               State Police  Command Officers
                                                         Officers Association
                                                                  Association
                 ** Treasurer  of the
                    Treasurer of   theEcho
                                       EchoForest
                                             ForestHome
                                                    HomeOwners
                                                           OwnersAssociation
                                                                    Association—–2014
                                                                                    2014—– Currently
                                                                                            Currently


PROFESSIONAL TRAINING AND
PROFESSIONAL TRAINING AND EXPERIENCE:
                          EXPERIENCE:


3-1-92 to
3-1-92 to        Independent  Firearms Examiner/
                 Independent Firearms  Examiner/
Present
Present          Forensic Science Consultant
                 Forensic Science  Consultant

9-18-66
9-18-66          Enlisted
                 Enlisted -- Michigan
                             Michigan State
                                      State Police
                                            Police                         Trooper
                                                                           Trooper

1-2-72 to
1-2-72 to        Michigan   State Police
                 Michigan State   Police                                   Firearms, Tool Marks,
                                                                           Firearms, Tool Marks,
2-29-92
2-29-92          Northville Forensic
                 Northville Forensic Laboratory
                                      Laboratory                           Bombs  and Explosives
                                                                           Bombs and  Explosives

2-27-78 to
2-27-78 to       Smith
                 Smith and
                       and Wesson   Firearms
                            Wesson Firearms                                Armorer School
                                                                           Armorer School
3-9-78
3-9-78           Springfield, Massachusetts
                 Springfield, Massachusetts

2-89
2-89             Sig/Sauer Firearms
                 Sig/Sauer Firearms                                        Armorer School
                                                                           Armorer School

2-90
2-90             American Academy of
                 American Academy of Forensic
                                     Forensic Science
                                              Science --                   11 Week
                                                                              Week seminar/training
                                                                                   seminar/training
                                                                           in
                                                                           in Cincinnati, Ohio
                                                                              Cincinnati, Ohio

6-89
6-89             Glock Firearms
                 Glock Firearms                                            Armorer School
                                                                           Armorer School

8/89
8/89             Michigan State Police
                 Michigan State Police—– Conversion
                                         Conversion training
                                                    training               40
                                                                           40 hours training
                                                                              hours training
                 on
                 on 9mm  Sig/Sauer Model
                    9mm Sig/Sauer   Model 226
                                          226 semi-auto
                                              semi-auto pistol
                                                         pistol

9-89
9-89             Blood Spatter Interpretation
                 Blood Spatter Interpretation                              33 Day
                                                                              Day Workshop
                                                                                  Workshop

10-97
10-97            International Wound Ballistics
                 International Wound Ballistics Association
                                                Association                22 Day
                                                                              Day Conference
                                                                                  Conference

1-87
1-87             Federal Bureau of
                 Federal Bureau of Investigation
                                   Investigation                           11 Week
                                                                              Week School
                                                                                    School
                 Training Academy -- Quantico,
                 Training Academy    Quantico, Virginia
                                                Virginia                   Bombs
                                                                           Bombs and
                                                                                   and Equipment
                                                                                       Equipment

3-74
3-74             Tours of various
                 Tours of various firearms,
                                  firearms,                                Two
                                                                           Two Week Program
                                                                               Week Program
                 ammunition   and explosive
                 ammunition and   explosive plants
                                            plants

8-73
8-73             Hazardous   Explosive Devices
                 Hazardous Explosive    Devices                            Three Weeks Improvised
                                                                           Three Weeks Improvised
                 Course
                 Course at
                         at the U.S. Army
                            the U.S. Army Redstone
                                           Redstone                        Explosive Devices
                                                                           Explosive Devices
                 Arsenal
                 Arsenal -- Huntsville,
                            Huntsville, Alabama
                                        Alabama                            School
                                                                           School




                                                                                                        33
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PROFESSIONAL
PROFESSIONAL TRAINING AND EXPERIENCE
             TRAINING AND EXPERIENCE CONT:
                                     CONT:

Late 1980’s
Late 1980's                  Advanced explosives program
                             Advanced explosives program given
                                                         given by
                                                               by the
                                                                   the                      Two-Week School
                                                                                            Two-Week School
                             BATF
                             BATF in Glenco, Georgia
                                  in Glenco, Georgia

1980’s
1980's                       33 A.F.T.E. training seminars
                                A.F.T.E. training seminars


1972 – 1992
1972 — 1992                 Many   classes in
                            Many classes   in photography.
                                              photography. These
                                                           These classes
                                                                  classes                   Several one-week schools
                                                                                            Several one-week schools
                            were
                            were instructed   by Kodak
                                  instructed by  Kodak representatives
                                                       representatives as
                                                                       as
                            well
                            well as
                                 as local photography experts.
                                    local photography  experts.

3-91, 11-88
3-91, 11-88                 Hazardous   Explosive Devices
                            Hazardous Explosive    Devices                                  66 -- One
                                                                                                  One Week
                                                                                                      Week
5-85, 1-82
5-85, 1-82                  Course
                            Course at
                                    at the
                                       the U.S. Army Redstone
                                           U.S. Army  Redstone                              Refresher  Schools
                                                                                             Refresher Schools
10-77,
10-77, 1-76
       1-76                 Arsenal
                            Arsenal -- Huntsville,
                                       Huntsville, Alabama
                                                   Alabama

2-72 thru 2-92
2-72 thru 2-92              Michigan  State Police
                            Michigan State  Police Bomb
                                                   Bomb Squad
                                                          Squad training
                                                                training                    Higgins  Lake and
                                                                                            Higgins Lake   and
&
& 1995
   1995                     and explosive refresher
                            and explosive refresher courses.
                                                    courses.                                other training sites
                                                                                            other training sites

1973
1973 thru 1992
     thru 1992              Basic
                            Basic X-Ray    training and
                                  X-Ray training    and interpretation
                                                         interpretation at at the
                                                                               the Hazardous
                                                                                   HazardousDevices
                                                                                                 DevicesSchool
                                                                                                            Schoolinin
                            Huntsville  Alabama in
                            Huntsville Alabama     in 1973
                                                      1973 and
                                                             and at
                                                                 at all
                                                                    all the
                                                                         the subsequent
                                                                              subsequent refresher
                                                                                             refresherschools
                                                                                                         schoolsasaswell,
                                                                                                                      well,
                            including  setting up
                            including setting  up the
                                                  the portable
                                                       portable X-Ray's,
                                                                 X-Ray’s,intensifying
                                                                               intensifyingscreens
                                                                                               screensandandfilm,
                                                                                                             film,taking
                                                                                                                    taking
                            the X-Ray and
                            the X-Ray   and reading
                                             reading the
                                                      the film
                                                          film to
                                                               to determine
                                                                   determine aa course
                                                                                   course ofof action.
                                                                                                action.X-Ray
                                                                                                          X-Raytraining,
                                                                                                                 training,
                            including  fluoroscopy, continued
                            including fluoroscopy,    continued throughout
                                                                  throughout my   my remaining
                                                                                      remaining 19   19 years
                                                                                                        yearsininthe
                                                                                                                  the
                            department,   these skills
                            department, these   skills being
                                                       being used
                                                              used at
                                                                    at crime
                                                                        crime scenes,
                                                                                 scenes, in
                                                                                          in the
                                                                                              the laboratory
                                                                                                   laboratoryand
                                                                                                               andatat
                            autopsies.
                            autopsies.

2-72 thru Present
2-72 thru Present           Many   classes and
                            Many classes   and seminars
                                               seminars offered
                                                          offered mostly
                                                                  mostly through
                                                                          through the
                                                                                   the Michigan
                                                                                         MichiganState
                                                                                                    StatePolice
                                                                                                          Police
                            covering  firearms training,
                            covering firearms  training, crime
                                                         crime scene
                                                                scene processing,
                                                                       processing, blood
                                                                                   blood spatter
                                                                                            spatter analysis
                                                                                                    analysisand
                                                                                                             and
                            investigative techniques which
                            investigative techniques  which have
                                                              have not
                                                                   not been
                                                                        been noted
                                                                             noted in
                                                                                    in this
                                                                                        this C.V.
                                                                                             C.V.

1995 – 2004
1995 — 2004                 Attended  6 – S.H.O.T.
                            Attended 6—              Shows (Shooting,
                                          S.H.O.T. Shows      (Shooting, Hunting,
                                                                          Hunting, Outdoors
                                                                                   Outdoorsand
                                                                                            andTechnology)
                                                                                                Technology)
                            to
                            to remain current in
                               remain current in the
                                                 the field
                                                     field of
                                                           of firearms,
                                                               firearms, ammunition
                                                                         ammunition and
                                                                                     andtechnology.
                                                                                         technology.


Quality
Quality training
         training does
                    does not
                         not always
                             always take    place in
                                     take place   in an
                                                      an academic
                                                           academic setting.
                                                                      setting. Some
                                                                                Someof ofthe
                                                                                          themost
                                                                                               mostvaluable
                                                                                                     valuable
training
training II have  received, unfortunately,
            have received,  unfortunately, hashas come
                                                  come at  at the
                                                              the expense
                                                                  expense ofof the
                                                                               the lives
                                                                                   lives of
                                                                                         of others.
                                                                                             others. IIhave
                                                                                                        haveworked
                                                                                                             worked
on
on thousands
   thousands of of cases
                   cases that
                         that were
                              were submitted
                                    submitted to to the
                                                     thelaboratory
                                                          laboratoryforforanalysis,
                                                                           analysis,asaswell
                                                                                         wellasasparticipating
                                                                                                  participatinginin
hundreds
hundreds of of crime
               crime scene
                      scene investigations.
                            investigations. Each
                                              Each case
                                                     casethat
                                                            thatan
                                                                 anexaminer
                                                                    examinerworks
                                                                                workson onteaches
                                                                                            teachesthat
                                                                                                     thatexaminer.
                                                                                                          examiner.
During  the course
During the   course of
                     of my
                        my career
                            career the
                                    the following
                                         followinglisted
                                                     listedcases
                                                             casesstand
                                                                   standout
                                                                          outasassignificant
                                                                                  significantinvestigations:
                                                                                               investigations:

                            ** Inkster
                               Inkster Police
                                        Police Shooting
                                               Shooting -- July,
                                                           July, 1987. Three police
                                                                 1987. Three  police officers
                                                                                      officers were
                                                                                                were murdered
                                                                                                     murdered
                                at
                                at the
                                   the Bungalow   Motel in
                                       Bungalow Motel    in Inkster,
                                                            Inkster, Michigan.
                                                                     Michigan. II headed
                                                                                  headed the
                                                                                           the crime
                                                                                               crime scene
                                                                                                      scene
                                investigation and subsequent
                                investigation and subsequent examination
                                                                examination of
                                                                             of over
                                                                                over 400
                                                                                      400 items
                                                                                           items of
                                                                                                  of
                                evidence.
                                evidence. My   Circuit Court
                                           My Circuit  Court testimony
                                                              testimony lasted
                                                                        lasted five
                                                                                five days.
                                                                                     days.




                                                                                                                              44
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PROFESSIONAL TRAINING AND
PROFESSIONAL TRAINING AND EXPERIENCE
                          EXPERIENCE CONT:
                                     CONT:

                 ** Crash  of Northwest
                    Crash of  Northwest Flight
                                            Flight255
                                                   255—– August
                                                         August 1987
                                                                  1987— – resulting
                                                                           resulting inin the death of
                                                                                          the death    of
                  156
                   156 people.   As assistant
                        people. As   assistant coordinator
                                                coordinatorofofthe
                                                                thecrash
                                                                    crashsite,
                                                                          site,my
                                                                                myresponsibilities
                                                                                      responsibilities
                   were
                   were to  assemble recovery
                         to assemble    recovery teams
                                                  teams for
                                                         for body
                                                             body and
                                                                   and property
                                                                        property removal,
                                                                                    removal,gridgridthe
                                                                                                      the
                  site
                  site and  facilitate the
                       and facilitate  the recovery/identification
                                           recovery/identificationeffort.
                                                                     effort.This
                                                                             Thiscrash
                                                                                   crashledledtotothe
                                                                                                   the
                  formation
                  formation ofof the
                                  the Disaster
                                      Disaster Assistance
                                                Assistance Recovery
                                                            Recovery Team
                                                                        Team (D.A.R.T.)
                                                                               (D.A.R.T.)of   of
                  which
                  which II was
                           was the
                                 the Vice-Chairman.
                                     Vice-Chairman. II have
                                                         have also
                                                               also assisted
                                                                    assisted in
                                                                              in the
                                                                                  theinvestigation
                                                                                       investigation
                   of
                   of two  other major
                      two other   major airplane
                                          airplane accidents.
                                                   accidents.

                 ** Ecorse  Police Officer
                    Ecorse Police  Officer Eddie
                                             EddieAtkins
                                                     Atkins—  – Prosecution
                                                                 Prosecution for for Homicide
                                                                                       Homicidein     in1974.
                                                                                                          1974.
                 ** Shooting
                    Shooting death   of Detroit
                               death of  Detroit Police
                                                   Police Officer
                                                          Officer Freddie
                                                                     Freddie Jackson.
                                                                                Jackson.
                 ** Bombing
                    Bombing death     of Michael
                               death of  Michael Vincenza.
                                                    Vincenza.
                 ** Shooting
                    Shooting death   of Ypsilanti
                               death of  Ypsilanti Police
                                                     Police Officer
                                                             Officer Douglas
                                                                        Douglas Downing.
                                                                                    Downing.
                 ** Shooting
                    Shooting death   of Leonard
                               death of  Leonard Bontekoe
                                                    Bontekoe by by aa Ypsilanti
                                                                       Ypsilanti Police
                                                                                     Police Officer.
                                                                                               Officer.
                 ** Beating  death of
                    Beating death   of Dorothy
                                       DorothyTyburski
                                                   Tyburski—  – her
                                                                 her body    was in
                                                                      body was      in aa freezer
                                                                                          freezerfor for22years.
                                                                                                            years.
                 ** Billy
                    Billy Hardesty   Case.
                          Hardesty Case.
                 ** Shooting
                    Shooting of   Davern Riley
                               of Davern   Riley byby Detroit
                                                       Detroit PD
                                                                PD
                 ** Shooting
                    Shooting death   of Michael
                               death of  Michael Hill
                                                    Hill by
                                                         by Detroit
                                                             Detroit PDPD
                 ** Shooting   death of
                    Shooting death   of Sharon
                                         SharonSolomon
                                                   SolomonnearnearFlint
                                                                     FlintMichigan
                                                                           Michigan—– Homicide/Suicide?
                                                                                             Homicide/Suicide?
                 ** Shooting
                    Shooting death
                               death of
                                     of Mr.   Timmerman in
                                         Mr Timmerman         in Allegan,
                                                                 Allegan, Michigan
                                                                             Michigan
                 ** Shooting   death of
                    Shooting death   of 44 people
                                           peopleatataafurniture
                                                         furniturestore
                                                                     storeininMississippi
                                                                                Mississippi—– IIwas   wasretained
                                                                                                            retainedby
                                                                                                                     bythe
                                                                                                                         the
                    defense
                     defense and  subpoenaed by
                              and subpoenaed      by the
                                                     the Prosecution
                                                          Prosecution for for at
                                                                              at least
                                                                                  least 55 trials
                                                                                             trials on
                                                                                                     on the
                                                                                                         thesame
                                                                                                             sameevidence
                                                                                                                   evidence
                    against  the same
                     against the same defendant.
                                        defendant.
                 ** The
                    The 2008
                         2008 discovery
                               discovery of of firearms
                                               firearms errors
                                                         errors atat the
                                                                     the Detroit
                                                                          Detroit Police
                                                                                     Police Laboratory
                                                                                               Laboratory
                 ** The
                    The shooting
                         shooting death
                                   death of   banker David
                                           of banker   David Widlak
                                                               Widlak
                 ** There  are multiple
                    There are   multiple shooting
                                          shooting cases
                                                      cases both
                                                             both asas an
                                                                       an enlisted
                                                                           enlisted police
                                                                                        policeofficer
                                                                                                 officeras aswell
                                                                                                              wellas
                                                                                                                   asaacivilian
                                                                                                                        civilian
                     examiner   which also
                      examiner which    also could
                                              could have
                                                     have been
                                                            been included
                                                                   included in in the
                                                                                   the above
                                                                                         above list
                                                                                                  list of
                                                                                                       ofnoteworthy
                                                                                                           noteworthycases.
                                                                                                                        cases.

TEACHING
TEACHING EXPERIENCE:
         EXPERIENCE:

6/91, 2/92, 10/92
6/91, 2/92, 10/92           Schoolcraft College
                            Schoolcraft College                                                13
                                                                                               13 -- two
                                                                                                     two week
                                                                                                         week evidence
                                                                                                              evidence
11/93,
11/93, 1/95, 11/95
       1/95, 11/95                                                                             collection and
                                                                                               collection and
9/96, 3/97, 11/97
9/96, 3/97, 11/97                                                                              preservation classes
                                                                                               preservation classes
10/98,
10/98, 10/99
       10/99
10/00
10/00 &  3/02
       & 3/02


1982
1982 -- 1984
        1984                Detroit Edison Nuclear
                            Detroit Edison Nuclear                                             77 -- two-day classes
                                                                                                     two-day classes
                            Security Personnel
                            Security Personnel                                                 Firearms/Explosives
                                                                                               Firearms/Explosives


1972
1972 -- 1992
        1992                Michigan State Police
                            Michigan State Police                                              Many  classes on
                                                                                               Many classes  on
                                                                                               Firearms Identification
                                                                                               Firearms Identification
                                                                                               Bombs  and Explosives
                                                                                               Bombs and   Explosives
                                                                                               Evidence  Collection
                                                                                               Evidence Collection

1997
1997                        Michigan State Police
                            Michigan State Police                                             22 Basic Crime Scene
                                                                                                 Basic Crime Scene
                                                                                              Photography  Classes
                                                                                              Photography Classes




                                                                                                                               55
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Many    Classes
Many Classes      Local Police Agencies
                  Local Police Agencies                                   Firearms Identification
                                                                          Firearms Identification
1972
1972 -- 1997
        1997                                                              Bombs  and Explosives
                                                                          Bombs and  Explosives
                                                                          Evidence  Collection
                                                                          Evidence Collection

1972
1972 -- 1999
        1999      University of Michigan
                  University of Michigan                                  Guest
                                                                          Guest lectures on
                                                                                lectures on
                  University of Detroit
                  University of Detroit                                   Firearms Identification,
                                                                          Firearms Identification,
                  Wayne  State University
                  Wayne State   University                                Tool Marks, Bombs
                                                                          Tool Marks,  Bombs and
                                                                                               and
                  Madonna   University
                  Madonna University                                      Explosives. Crime
                                                                          Explosives. Crime
                  Henry Ford Community
                  Henry Ford  Community College
                                           College                        Scene
                                                                          Scene Analysis
                                                                                Analysis
                  Schoolcraft
                  Schoolcraft Community    College
                              Community College
                  Washtenaw
                  Washtenaw Community      College
                              Community College
                  Mercy College
                  Mercy College

1998
1998 &
     & 1999
       1999       Michigan
                  Michigan Defense
                           Defense Attorney’s Assosication
                                   Attorney's Assosication                Three   presentations on
                                                                          Three presentations     on
                                                                          utilizing
                                                                          utilizing aa firearms/crime
                                                                                       firearms/crime
                                                                          scene  expert.
                                                                          scene expert.
2011
2011              Presentation to the
                  Presentation to     36 th6' District
                                  the 36               Court Judges
                                              District Court Judges       Firearms    Identification //
                                                                          Firearms Identification
                                                                          Crime
                                                                          Crime Scene     Expert
                                                                                  Scene Expert

2017
2017              I.A.B.T.I. training session
                  I.A.B.T.I. training session at
                                               at the
                                                  the Capital
                                                      Capital City
                                                               City Airport
                                                                    Airport in
                                                                             in Lansing,
                                                                                Lansing,Michigan
                                                                                         Michigan
                  which included robot
                  which included   robot training
                                         training and
                                                    and case
                                                        case reviews.
                                                             reviews.

2017
2017              Old
                  Old case
                      case review  with MSP
                           review with  MSP Northville
                                             Northville Explosive
                                                        Explosive Unit
                                                                  Unit covering
                                                                       covering several
                                                                                 severalold
                                                                                        old
                  laboratory
                  laboratory cases involving death
                             cases involving death by
                                                   by explosives.
                                                      explosives.

PUBLICATIONS:
PUBLICATIONS:


1973
1973 AFTE
     AFTE         A
                  A unique .25 auto
                    unique .25 auto caliber
                                     caliber jacketed
                                             jacketed hollow
                                                       hollow point
                                                              point bullet
                                                                    bullet made
                                                                           made by
                                                                                byWinchester-
                                                                                   Winchester-
                  Western
                  Western for the J.J.
                          for the J.J. Jovino
                                       Jovino Co.
                                               Co. of
                                                   of New
                                                      New York.
                                                            York.

1998
1998 AFTE
     AFTE         FRANGIBLE BULLETS:AAFIREARMS
                  FRANGIBLE BULLETS:   FIREARMSEXA1VIINERS
                                                EXAMINERS NIGHTMARE.
                                                           NIGHTMARE.




                                                                                    5/30/2017
                                                                                    5/30/2017




                                                                                                          66
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                EXHIBIT 4
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11   NORA FRIMANN, City Attorney (93249)(93249)
                JOHNSON, Assistant
     ARDELL JOHNSON,         Assistant City
                                       City Attorney  (95340)
                                            Attorney(95340)
2    MAREN J. CLOUSE, Senior Deputy  Deputy City
                                             City Attorney
                                                  Attorney (228726)
                                                            (228726)
     Office of the City Attorney
3    200 East Santa
                Santa Clara
                       Clara Street, 16th Floor
                              Street,16th
     San José,
          Jose, California   95113-1905
                 California 95113-1905
4    Telephone Number: (408)(408) 535-1900
                                  535-1900
     Facsimile Number: (408)
                           (408) 998-3131
                                  998-3131
5    E-Mail
     E-Mail Address:    cao.main@sanjoseca.gov
             Address: cao.main@sanjoseca.gov
6                  Defendants
     Attorneys for Defendants
7
8                                UNITED
                                 UNITED STATES DISTRICT COURT
                                                        COURT
9                              NORTHERN DISTRICT OF CALIFORNIA
                                                    CALIFORNIA
10
10                                       SAN JOSE DIVISION
                                                  DIVISION

11
11    JESSICA DOMINGUEZ INDIVIDUALLY
                           INDIVIDUALLY                  Case Number: 5:18-cv-04826-BLF
                                                                      5:18-cv-04826-BLF
      AND JESSICA DOMINGUEZ
                    DOMINGUEZ ASAS
12
12    GUARDIAN AD LITEM FOR JADJAD (1),
                                   (1),                  DEFENDANTS’
                                                         DEFENDANTS' DISCLOSURE
                                                                     DISCLOSURE OF
                                                                                OF
      JAD (2) AND JAD
                  JAD (3),
                      (3),                               EXPERT WITNESSES
                                                                WITNESSES
13
13
                           Plaintiffs,
                           Plaintiffs,
14
14
                    v.
                    V.
15
15
      CITY OF SAN JOSE, SAN JOSE
                            JOSE POLICE
                                 POLICE
16
16    DEPARTMENT
      DEPARTMENT AND DOE POLICE
                            POLICE
      OFFICERS 1, 2 AND
                    AND 3,
                        3,
17
17
                           Defendants.
                           Defendants.
18
18

19
19          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
20          Pursuant to Federal Rule Civil Procedure
                                           Procedure Rule
                                                     Rule 26,
                                                          26, Defendants
                                                              DefendantsCITY
                                                                         CITYOF
                                                                             OFSAN
                                                                                SANJOSE,
                                                                                    JOSE,
21
21   et al. disclose the following
                         following retained
                                   retained witnesses
                                            witnesses who
                                                      whowill
                                                          willprovide
                                                               provideexpert
                                                                       experttestimony:
                                                                              testimony:
22          1.
            1. John R. Black,
                       Black, D.B.A.
                              D.B.A.
23          2. Rocky Edwards
24          3. Daniel Sudakin, M.D.
                               M.D.
25          In accordance with Federal Rule of
                                            of Civil
                                               Civil Procedure
                                                     Procedure Rule
                                                               Rule 26,
                                                                    26,this
                                                                        thisdisclosure
                                                                             disclosureisis
26   accompanied by the written reports
                                reports of
                                        of Dr.
                                           Dr. Black,
                                               Black, Mr.
                                                      Mr.Edwards,
                                                          Edwards,and
                                                                   andDr.
                                                                      Dr.Sudakin,
                                                                          Sudakin,along
                                                                                   alongwith
                                                                                         with
27   their curriculum vitae,
                      vitae, fee
                             fee schedules
                                 schedules and
                                           and lists
                                                listsof
                                                     ofsworn
                                                        sworntestimony.
                                                              testimony.
28
29                                          1
     DEFENDANTS' DISCLOSURE OF
     DEFENDANTS’            OF EXPERT
                               EXPERT WITNESSES
                                      WITNESSES                                      5:18-cv-04826-BLF
                                                                                     5:18-cv-04826-BLF
30                                                                                            18233578
                                                                                              18233578
31
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11          Pursuant to Federal Rule Civil Procedure
                                           Procedure Rule
                                                     Rule 26,
                                                          26, Defendants
                                                              Defendantsalso
                                                                         alsodisclose
                                                                              disclosethe
                                                                                       the

2    following non-retained witnesses
                            witnesses who
                                      who will
                                          will provide
                                               provide expert
                                                       experttestimony:
                                                              testimony:

3           1.
            1.      Sgt. Mauricio Jimenez, San Jose Police Department. He
                                                                       Heisispresently
                                                                              presentlyassigned
                                                                                        assigned

4    as a Sergeant for the Critical Response Unit. The
                                                   Thefactual
                                                       factualbasis
                                                               basisfor
                                                                     forhis
                                                                         histestimony
                                                                             testimonyincludes
                                                                                       includes

5    applicable SJPD policies and
                              and training
                                  training relating
                                           relating to
                                                     to use
                                                        use of
                                                            of force,
                                                                force,officer-involved
                                                                       officer-involvedshootings,
                                                                                        shootings,

6    surveillance, apprehensions and apprehension tactics, and the Critical Response Unit, as
                                                                                           as

7    well as the facts underlying the incident on September 15, 2017 as presented
                                                                        presented in
                                                                                   in his
                                                                                      his

8    testimony and the testimony of other percipient witnesses. He
                                                                 Hewill
                                                                    willoffer
                                                                         offerexpert
                                                                               expertopinion
                                                                                      opinion

9    testimony on how the surveillance, tactics, and force used by SJPD
                                                                   SJPD officers
                                                                        officers in
                                                                                  in the
                                                                                     the

10
10   apprehension of Jacob Dominguez
                           Dominguez conformed
                                     conformed to
                                                to the
                                                    thepolicies
                                                       policiesand
                                                                andpractices
                                                                    practicesofofthe
                                                                                  theSan
                                                                                      SanJose
                                                                                          Jose

11
11   Police Department and the Critical Response Unit. Sgt.
                                                       Sgt.Jimenez
                                                            Jimenezisisaanon-retained
                                                                          non-retainedexpert
                                                                                       expert

12
12   whose duties as an employee of the City of San Jose do not regularly involve
                                                                          involve giving
                                                                                  giving expert
                                                                                         expert

13
13   testimony in civil litigation
                        litigation on
                                   on the
                                       the above
                                           above matters.
                                                 matters.

14
14          Defendants reserve the right to identify
                                            identify in
                                                      in rebuttal
                                                         rebuttal one
                                                                  one or
                                                                      or more
                                                                         moreexpert
                                                                              expertwitnesses
                                                                                    witnesseswho
                                                                                              who

15
15   will provide testimony on any subjects to be addressed by any expert designated
                                                                          designated by
                                                                                     by

16
16   Plaintiffs. Defendants
                 Defendants also
                            also reserve
                                  reservethe
                                          theright
                                              rightto
                                                    toelicit
                                                      elicitexpert
                                                             experttestimony
                                                                    testimonyat
                                                                              attrial
                                                                                 trialfrom
                                                                                       fromany
                                                                                            anywitness
                                                                                               witness

17
17   disclosed as an expert by
                            by any
                               any party
                                   party in
                                          in this
                                              this litigation.
                                                    litigation.

18
18

19
19   Dated: May
            May 21,
                21, 2021
                    2021                                 NORA
                                                         NORA FRIMANN, City Attorney
20
                                                         By:
                                                         By: /s/ Maren J. Clouse
21
21                                                               MAREN J. CLOUSE
                                                                 Chief Deputy City Attorney
                                                                                   Attorney
22
                                                         Attorneys for Defendants
                                                                       Defendants
23
24
25
26
27
28
29                                          2
     DEFENDANTS' DISCLOSURE OF
     DEFENDANTS’            OF EXPERT
                               EXPERT WITNESSES
                                      WITNESSES                                         5:18-cv-04826-BLF
                                                                                        5:18-cv-04826-BLF
30                                                                                              18233578
                                                                                                18233578
31
               Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 172 of 274



                                         UNITED STATES DISTRICT
                                         UNITED STATES DISTRICT COURT
                                                                COURT

                                        NORTHERN DISTRICT
                                        NORTHERN DISTRICT OF
                                                          OF CALIFORNIA
                                                             CALIFORNIA



        Case No. 5:18-cv-04826-BLF
        Case No. 5:18-cv-04826-BLF

         JESSICA DOMINGUEZ INDIVIDUALLY
         JESSICA DOMINGUEZ INDIVIDUALLY AND
                                        AND JESSICA
                                            JESSICADOMINGUEZ
                                                    DOMINGUEZAS
                                                             ASGUARDIAN
                                                                GUARDIAN AD LITEM
                                                                         AD LITEM
         FOR
         FOR JAD (1), JAD
             JAD (1), JAD (2)
                          (2) AND
                              AND JAD
                                  JAD (3),
                                      (3), Plaintiffs,
                                           Plaintiffs,
         vs.
         vs.
         CITY
         CITY OF
              OF SAN JOSE, SAN
                 SAN JOSE, SAN JOSE
                               JOSE POLICE
                                    POLICE DEPARTMENT,
                                           DEPARTMENT, MICHAEL
                                                       MICHAELPINA,
                                                               PINA,AND
                                                                    ANDDOE
                                                                        DOEPOLICE
                                                                            POLICE
         OFFICERS
         OFFICERS 22 through
                     through 5,
                             5, Defendants
                                Defendants



                                    EXPERT WITNESS REPORT;
                                    EXPERT WITNESS REPORT; Dated
                                                           Dated 20-MAY-2021
                                                                 20-MAY-2021


    1.
    1. II am John R.
          am John R. Black,
                     Black, and
                            and II am
                                   am providing
                                      providing this
                                                 this report
                                                       report at
                                                              at the
                                                                  therequest
                                                                      requestof
                                                                              ofthe
                                                                                 theoffice
                                                                                     officeof
                                                                                            ofthe
                                                                                               theCity
                                                                                                   CityAttorney,
                                                                                                       Attorney,City
                                                                                                                 Cityofof
        San
        San Jose,
            Jose, California, working with
                  California, working with Chief
                                           Chief Deputy
                                                 Deputy City
                                                        City Attorney
                                                             AttorneyMaren
                                                                      MarenJ.J.Clouse
                                                                               Clouseas
                                                                                      ascounsel
                                                                                         counselfor
                                                                                                 forthe
                                                                                                     the
        Defendants. In doing
        Defendants. In       so, II state
                       doing so,    state the
                                          the following:
                                              following:
    2.
    2. II have been asked
          have been asked to
                          to review
                             review and
                                    and give
                                        give expert
                                             expert opinion
                                                    opinion in
                                                             in the
                                                                 thematter
                                                                    matterof
                                                                           ofUnited
                                                                             UnitedStates
                                                                                    StatesDistrict
                                                                                          DistrictCourt,
                                                                                                   Court,
        Northern District
        Northern District of
                          of California;
                             California; Case
                                         Case No.
                                              No. 5:18-cv-04826-BLF.
                                                  5:18-cv-04826-BLF.
    3.
    3. II am over the
          am over the age
                      age of
                          of eighteen
                             eighteenand
                                      andcompetent
                                          competenttototestify
                                                        testifyand
                                                                andrender
                                                                    renderananexpert
                                                                               expertopinion
                                                                                      opinionininthe
                                                                                                   thematter
                                                                                                       matter herein.
                                                                                                             herein.
    4.
    4. II am receiving compensation
          am receiving compensation for
                                    for my
                                        my examination,
                                           examination, review,
                                                         review,and
                                                                 andtestimony
                                                                     testimony (when required) related
                                                                               (when required)         to this
                                                                                               related to this
        matter at the
        matter at the rate
                      rate of
                           of three
                               three hundred
                                     hundredand
                                             andtwenty
                                                 twentydollars
                                                        dollarsper
                                                                perhour.
                                                                    hour.
    5.
    5. II professionally consult in
          professionally consult in the
                                    the areas
                                        areas of
                                              of police
                                                 police use
                                                        use of
                                                            of force,
                                                                force,police
                                                                      policepolicy,
                                                                             policy,police
                                                                                     policesystems
                                                                                            systemsdynamics,
                                                                                                    dynamics,
        business strategy, socio-cultural
        business strategy, socio-cultural dynamics,
                                          dynamics, and
                                                    and the
                                                         the linking
                                                              linkingof
                                                                     ofintelligence-sensemakingto
                                                                        intelligence-sensemaking tooperations-
                                                                                                    operations-
        decision-making for Department
        decision-making for Department of
                                       of Defense
                                          Defense (DoD)
                                                  (DoD) projects
                                                        projects involving
                                                                  involvingcomplexity,
                                                                            complexity,wicked
                                                                                       wickedproblem
                                                                                              problem
        challenges, and similar.
        challenges, and similar.
    6.
    6. II was employed for
          was employed for approximately
                           approximately 23
                                         23 years
                                            years (retired 2017) as
                                                  (retired 2017) as aa Washington
                                                                       Washington County
                                                                                  County Sheriff’s Deputy in
                                                                                         Sheriff's Deputy in
        Hillsboro,
        Hillsboro, Oregon.
                   Oregon. II am police/patrol certified
                              am police/patrol certified and
                                                         and have
                                                             haveheld
                                                                  heldthe
                                                                       thepositions
                                                                           positionsofofPatrol
                                                                                         PatrolDeputy,
                                                                                                Deputy,Patrol
                                                                                                        Patrol
        Corporal, Patrol Sergeant,
        Corporal, Patrol Sergeant, Training
                                   Training Sergeant,
                                            Sergeant,Professional
                                                      ProfessionalStandards
                                                                   StandardsSergeant,
                                                                             Sergeant,Internal
                                                                                       InternalAffairs
                                                                                                AffairsSergeant,
                                                                                                        Sergeant,
        Services
        Services Division
                 Division Lieutenant,
                          Lieutenant, Jail
                                      Jail Operations Lieutenant, Patrol
                                           Operations Lieutenant, Patrol Operations
                                                                         Operations Lieutenant
                                                                                    Lieutenant (East
                                                                                               (East and
                                                                                                     and West
                                                                                                         West
        Precinct), Investigations Lieutenant,
        Precinct), Investigations Lieutenant, and
                                              and head
                                                  head of
                                                       of Professional
                                                          ProfessionalStandards
                                                                       Standards-Internal
                                                                                 -InternalAffairs.
                                                                                          Affairs.IIalso
                                                                                                     alsoacted
                                                                                                          actedasas
        the representative
        the representative to
                           to the
                              the Washington County Human
                                  Washington County Human Rights
                                                          Rights Council.
                                                                 Council.




Page
Page I|11(EXPERT
          (EXPERTWITNESS
                 WITNESSREPORT
                         REPORT-J. BLACK)
                                J. BLACK)
                                    -
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    7.
    7. II routinely advised the
          routinely advised the Washington
                                Washington County
                                           County Sheriff's
                                                  Sheriff’sOffice
                                                            Officeininmatters
                                                                      mattersrelated
                                                                              relatedtototraining,
                                                                                          training,police
                                                                                                    policepractices,
                                                                                                           practices,
        internal affairs investigations,
        internal affairs investigations, personnel
                                         personnel matters,
                                                   matters, and
                                                            and police
                                                                police use
                                                                       useof
                                                                           offorce.
                                                                              force.IIserved
                                                                                       servedas
                                                                                              asthe
                                                                                                 thefinal
                                                                                                     finalsubject
                                                                                                           subject
        matter review of
        matter review of the
                         the Washington
                             Washington County
                                        County deputy's
                                               deputy’suse
                                                        useof
                                                            offorce.
                                                               force.Additionally,
                                                                     Additionally,I Iroutinely
                                                                                      routinelyreviewed
                                                                                                reviewedand
                                                                                                         and
        advised executive and
        advised executive and command
                              commandlevels
                                      levelson
                                             onuse
                                                useofofforce
                                                        forcerelated
                                                              relatedpolicy
                                                                      policymatters
                                                                             mattersfor
                                                                                      forthe
                                                                                           theWCSO.
                                                                                               WCSO.
    8.
    8. II have held the
          have held the positions
                        positions of
                                  of defensive
                                     defensive tactics
                                                tacticsinstructor,
                                                        instructor,firearms
                                                                    firearmsinstructor,
                                                                             instructor,senior
                                                                                         seniordefensive
                                                                                                defensivetactics
                                                                                                          tactics
        instructor, and lead
        instructor, and lead defensive
                             defensive tactics
                                       tactics instructor
                                               instructor for
                                                          for the
                                                               the Washington
                                                                   WashingtonCounty
                                                                              CountySheriff's
                                                                                     Sheriff’sOffice
                                                                                               Office(WCSO),
                                                                                                      (WCSO),
        Mobile
        Mobile Response
               Response Team
                        Team (MRT)
                             (MRT) commander, Mental Health
                                   commander, Mental Health Response
                                                            Response Team
                                                                     Team (MHRT)
                                                                           (MHRT) commander,
                                                                                  commander,and
                                                                                             and
        acted
        acted as
              as aa senior
                    senior advisor
                           advisor to
                                   to the
                                      the use
                                          use of
                                              of force
                                                 force and
                                                       and survival skills program
                                                           survival skills program for
                                                                                   for all
                                                                                       all training
                                                                                           training to
                                                                                                     to Washington
                                                                                                        Washington
        County
        County deputies.
               deputies. Additionally,
                         Additionally, II was
                                          was also the Washington
                                              also the Washington County
                                                                  County Interagency
                                                                         Interagency Crisis
                                                                                     Crisis Negotiations
                                                                                            NegotiationsUnit
                                                                                                         Unit
        (CNU)
        (CNU) commander and assisted
              commander and assisted with
                                     with the
                                          the Washington
                                              Washington County
                                                         County Interagency
                                                                 InteragencyMajor
                                                                            MajorCrimes
                                                                                  CrimesTeam
                                                                                         Team(MCT)
                                                                                              (MCT)
        oversight.
        oversight. II also
                      also acted
                           acted as
                                 as intelligence
                                    intelligence lead
                                                 lead and
                                                      and oversight
                                                          oversight for
                                                                     for the
                                                                          the Special
                                                                              SpecialInvestigations
                                                                                      InvestigationsUnit
                                                                                                    Unit(SIU).
                                                                                                         (SIU).
    9.
    9. II hold Oregon Department
          hold Oregon Department of
                                 of Public
                                    Public Safety
                                           Safety Standards
                                                  Standards &
                                                            & Training
                                                              Trainingpolice
                                                                       policecertifications
                                                                              certificationsatatbasic,
                                                                                                basic,
        intermediate, advanced, supervisory,
        intermediate, advanced, supervisory, and
                                             and management
                                                 management levels.
                                                             levels. Additionally,
                                                                     Additionally,IIam
                                                                                     amaagraduate
                                                                                          graduateof
                                                                                                   ofthe
                                                                                                      the
        National Institute
        National Institute of
                           of Corrections Executive Leadership
                              Corrections Executive Leadership Course
                                                               Course and
                                                                      and the
                                                                           the Oregon
                                                                               OregonState
                                                                                      StateSherriff
                                                                                           Sherriff’s
                                                                                                    s
        Association Command
        Association Command College.
                            College.
    10.
    10. II have been employed
           have been employed by
                              by the
                                 the Oregon
                                     Oregon Department
                                            Department of
                                                       of Public
                                                          PublicSafety
                                                                 SafetyStandards
                                                                       Standards&&Training
                                                                                   Trainingasasaadefensive
                                                                                                  defensive
        tactics, and
        tactics, and senior
                     senior defensive
                            defensive tactics
                                      tactics instructor
                                               instructor (use
                                                           (use of
                                                                offorce,
                                                                   force,arrest
                                                                          arrest&
                                                                                &control
                                                                                  controltechniques,
                                                                                          techniques,high-risk
                                                                                                      high-risk
        handcuffing, impact weapons,
        handcuffing, impact weapons, OC
                                     OC spray,
                                        spray, and
                                               and similar
                                                   similar subjects)
                                                            subjects)vehicle
                                                                     vehiclestops
                                                                             stopsinstructor
                                                                                   instructorand
                                                                                              andconfrontational
                                                                                                  confrontational
        simulation instructor.
        simulation instructor.
    11.
    11. II served as aa Sergeant
           served as    Sergeant Major
                                 Major in
                                       in the
                                          the United
                                              United States
                                                     States Army,
                                                            Army, Active
                                                                  Activeand
                                                                         andReserve
                                                                            Reserveforces,
                                                                                    forces,for
                                                                                            forover
                                                                                                overthirty
                                                                                                     thirtyyears
                                                                                                            years
        and
        and routinely advised in
            routinely advised in matters
                                 matters of
                                         of Rules
                                            Rules of
                                                  of Engagement
                                                     Engagement and
                                                                and proper
                                                                    properUse
                                                                           Useof
                                                                               ofForce
                                                                                 Forcetotoinclude
                                                                                           includeproper
                                                                                                   proper
        police use of
        police use of force
                      force in
                            in Afghanistan and Bosnia.
                               Afghanistan and Bosnia. II am
                                                          am aa graduate
                                                                graduate of
                                                                         of the
                                                                            the United
                                                                                United States
                                                                                       States Army
                                                                                              ArmySergeant's
                                                                                                   Sergeant’s
        Major
        Major Academy.
              Academy. My
                       My military
                          military occupation specialties also
                                   occupation specialties also included
                                                               included psychological
                                                                        psychological operations,
                                                                                      operations,civil
                                                                                                  civilaffairs,
                                                                                                        affairs,
        communications, operations &
        communications, operations & intelligence,
                                     intelligence, training
                                                    training certifications,
                                                             certifications,and
                                                                             andsecurity
                                                                                 securityoperations.
                                                                                          operations.
    12.
    12. II received my doctorate
           received my doctorate from
                                 from Capella
                                      Capella University
                                              University in
                                                          in the
                                                              the school
                                                                   schoolof
                                                                         ofBusiness,
                                                                            Business,studying
                                                                                      studyinghow
                                                                                               howbusiness
                                                                                                   business
        intelligence (the way
        intelligence (the way people
                              people interpret
                                     interpret and
                                               and process
                                                   process information)
                                                            information) and
                                                                         andtheir
                                                                             theiruse
                                                                                   useof
                                                                                       ofvisualization
                                                                                          visualizationtotogain
                                                                                                            gain
        insight
        insight during the decision
                during the decision process
                                    process when dealing with
                                            when dealing with complexity
                                                              complexity and
                                                                         and sensemaking.
                                                                             sensemaking. Additionally,
                                                                                          Additionally,IIwas
                                                                                                         was
        previously enrolled in
        previously enrolled in doctoral
                               doctoral studies at Walden
                                        studies at Walden University
                                                          University in
                                                                     in the
                                                                        the School
                                                                            School of
                                                                                   of Public
                                                                                      Public Policy
                                                                                             Policyand
                                                                                                    and
        Administration with
        Administration with an
                            an emphasis
                               emphasis on
                                        on terrorism,
                                           terrorism, mediation,
                                                      mediation, and
                                                                 and peace.
                                                                     peace. Specifically,
                                                                            Specifically, human
                                                                                          humandecision
                                                                                                decisionfactors,
                                                                                                         factors,
        complexity theory/wicked problem
        complexity theory/wicked         theory, and
                                 problem theory, and processes
                                                     processes related
                                                               related to
                                                                        to decisions
                                                                           decisions in
                                                                                      in critical
                                                                                         criticalenvironments
                                                                                                  environments
        where
        where II completed
                 completed all
                           all course
                               course work.
                                      work.




Page
Page I|22(EXPERT
          (EXPERTWITNESS
                 WITNESSREPORT-J.
                         REPORT-J.BLACK)
                                   BLACK)
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    13.
    13. II remain
           remain current
                  current in
                          in the
                             the field
                                 field of
                                       of decision
                                          decision research,
                                                    research,police
                                                             policeuse
                                                                    useof
                                                                        offorce
                                                                           forceresearch,
                                                                                 research,systems
                                                                                           systemsthinking-
                                                                                                   thinking-
        approach, and related
        approach, and related fields.
                              fields. II most
                                         most recently
                                              recently presented
                                                       presented at
                                                                 at the
                                                                     the two
                                                                          twobelow
                                                                             belowlisted
                                                                                   listednational/international
                                                                                          national/international
        conferences.
        conferences. (Complete
                     (Complete listing
                               listing of presentations or
                                       of presentations or publications
                                                           publications are
                                                                        are included
                                                                             included within
                                                                                      within my
                                                                                             my curriculum
                                                                                                curriculum
        (CV)
        (CV) as
             as an attachment to
                an attachment to this
                                 this opinion).
                                      opinion).
            a.
            a. 2021 Annual Society
               2021 Annual Society for
                                   for Decision
                                       Decision Professionals
                                                Professionals Conference
                                                              Conference(SDP-DAAG
                                                                         (SDP-DAAG2021);
                                                                                   2021);
                 Black, J. R.
                 Black, J. R. (2021,
                              (2021, April
                                     April 14,
                                           14, 2021).
                                               2021). Evolving Decision-making in
                                                      Evolving Decision-making  inLaw
                                                                                  LawEnforcement;
                                                                                      Enforcement;
                 Looking at
                 Looking at all
                            all sides
                                sides of
                                      of the Coin. SDP-DAAG
                                          theCoin.          2021, Virtual.
                                                   SDP-DAAG 2021, Virtual.
            b.
            b. 2021 Annual Society
               2021 Annual Society for
                                   for the
                                       the Advancement
                                           Advancement of
                                                       of Management
                                                          Management(SAM)
                                                                     (SAM)Conference;
                                                                          Conference;
                 Black, J. R.,
                 Black, J. R., Taylor,
                               Taylor, P.
                                       P. L.,
                                          L., Lewinski,
                                              Lewinski, W.,
                                                        W., &
                                                            & Wallentine,
                                                              Wallentine, K.
                                                                          K.(2021,
                                                                             (2021,March
                                                                                   March2021).
                                                                                         2021). An
                                                                                                An
                 Exploration of Sensemaking,
                 Exploration of Sensemaking, Decision-making,
                                             Decision-making, and
                                                              and Management
                                                                  Managementin
                                                                             inPolicing;
                                                                               Policing;The
                                                                                         TheValue
                                                                                             Valueofof
                 Management Research(ers) in
                 Management Research(ers) in Law Enforcement. SAM
                                             Law Enforcement. SAM 2021
                                                                  2021 International Business Annual
                                                                       International Business Annual
                 Conference, Virtual.
                 Conference, Virtual.
    14.
    14. II routinely present and
           routinely present and act
                                 act as
                                     as aa panel
                                           panel member
                                                 member for
                                                         for topics
                                                              topicsranging
                                                                     rangingfrom
                                                                             fromfirearms
                                                                                  firearmstraining,
                                                                                           training,the
                                                                                                     the
        application of use
        application of use of
                           of force
                              force principles
                                    principles and
                                               and their
                                                   their investigation,
                                                          investigation, police
                                                                         policereform,
                                                                                reform,and
                                                                                        andhow
                                                                                            howone
                                                                                                onemight
                                                                                                   might
        incorporate systems thinking
        incorporate systems thinking and
                                     and sensemaking-decision-making
                                         sensemaking-decision-makingframeworks
                                                                     frameworksinto
                                                                                intopolicing.
                                                                                     policing.InIn
        addition,
        addition, II have
                     have acted
                          acted as
                                as presenter
                                   presenter for
                                             for matters
                                                 matters related
                                                          related to
                                                                   to use
                                                                      useof
                                                                          offorce
                                                                             forceatatcounty
                                                                                       countyand
                                                                                              andstate
                                                                                                  statelevels
                                                                                                        levelstoto
        include
        include county
                county commissioners
                       commissioners and
                                     and the
                                         the Oregon State Sheriff
                                             Oregon State Sheriff’s Association.
                                                                  s Association.
    15.
    15. II have
           have trained
                trained thousands
                        thousands of
                                  of police
                                     police officers,
                                            officers, deputies,
                                                      deputies,soldiers
                                                                soldiersin
                                                                         inuse
                                                                            useof
                                                                                offorce,
                                                                                   force,survival
                                                                                          survivalskills,
                                                                                                   skills,andthe
                                                                                                           and the
        potential use of
        potential use of deadly
                         deadly and
                                and non-deadly
                                    non-deadly physical
                                               physical force
                                                         force for
                                                                for over
                                                                    overtwenty-two
                                                                         twenty-twoyears
                                                                                    yearsininmultiple
                                                                                             multiplestates
                                                                                                      states
        and
        and countries.
            countries. II continue
                          continue my
                                   my education
                                      education in
                                                in this
                                                   this field
                                                        field and
                                                              and remain
                                                                   remain current
                                                                          currentvia
                                                                                  viaattending
                                                                                      attendingand
                                                                                                and
        conducting
        conducting training.
                   training. My
                             My most
                                most recent
                                     recent certifications include the
                                            certifications include the Force
                                                                       Force Science
                                                                             Science Institute
                                                                                     Institute Advanced
                                                                                               Advanced
        specialist certification, Right
        specialist certification, Right Question
                                        Question Institute
                                                 Institute training
                                                            training from
                                                                      from the
                                                                            theHarvard
                                                                               HarvardKennedy
                                                                                       Kennedyschool,
                                                                                               school,and
                                                                                                       and
        ongoing training and
        ongoing training and use
                             use of
                                 of the
                                    the Cynefin
                                        Cynefin framework
                                                framework from
                                                           from Cognitive
                                                                CognitiveEdge.
                                                                          Edge.IIhave
                                                                                  havealso
                                                                                       alsoattended
                                                                                            attendedthe
                                                                                                     the
        National Emergency
        National Emergency Management
                           Management Institute
                                      Institute as
                                                as aa train-the-trainer
                                                       train-the-trainer for
                                                                          for type
                                                                               typeIII
                                                                                    IIIincident
                                                                                        incidentcommand.
                                                                                                 command.
    16. Additionally, II am
    16. Additionally,    am trained
                            trained in
                                    in the
                                       the cognitive
                                           cognitive interviewing
                                                      interviewingof
                                                                  of witnesses
                                                                     witnesses and
                                                                               and those
                                                                                    thoseinvolved
                                                                                          involvedin
                                                                                                   inofficer-involved
                                                                                                      officer-involved
        shootings and events
        shootings and events that
                             that often
                                  often elicit
                                        elicit high
                                               high stress
                                                    stress or
                                                           or arousal
                                                              arousal conditions
                                                                      conditionsthat
                                                                                 thatcan
                                                                                      canaffect
                                                                                          affectattention,
                                                                                                 attention,perception,
                                                                                                            perception,
        reaction, decision-making, and
        reaction, decision-making, and memory.
                                       memory.
    17.
    17. II have
           have consulted,
                consulted, been
                           been retained,
                                retained, rendered
                                          rendered expert
                                                   expert consult,
                                                          consult,deposition,
                                                                   deposition,advice,
                                                                               advice,or
                                                                                       ortestimony
                                                                                          testimonyininover
                                                                                                        overfifty
                                                                                                             fifty
        matters since 1999
        matters since 1999 (Complete
                           (Complete listing is included
                                     listing is included within
                                                         within my
                                                                mycurriculum
                                                                   curriculumby
                                                                              bytoday
                                                                                 today(CV)
                                                                                       (CV)asasan
                                                                                                anattachment
                                                                                                   attachmenttoto
        this opinion). II am
        this opinion).    am currently involved in
                             currently involved in the
                                                   the below
                                                       below active
                                                             active cases
                                                                    cases or
                                                                          or matters;
                                                                             matters;
        a.  UseofofForce
        a. Use      ForceExpert,
                          Expert,advising
                                  advisingininthe
                                                thematter
                                                    matterofofthe
                                                               thepolice
                                                                   policeshooting
                                                                          shootingofofC.
                                                                                       C.Walker
                                                                                         Walkerby
                                                                                                byNorthern
                                                                                                  NorthernTerritory
                                                                                                           Territory
            Constable
            Constable Z.
                      Z. Rolfe.
                         Rolfe. (Criminal charge of
                                (Criminal charge of murder
                                                    murder stemming
                                                           stemming from
                                                                    from police
                                                                         police use
                                                                                useof
                                                                                    offorce).
                                                                                       force).Retained
                                                                                              Retainedby
                                                                                                       bythe
                                                                                                          the
            defense as of
            defense as of April
                          April 2021.
                                2021. The
                                      The case
                                          case is
                                               is ongoing.
                                                  ongoing.




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                 WITNESSREPORT-J.
                         REPORT-J.BLACK)
                                   BLACK)
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        b.
        b. Use of Force
           Use of Force Expert
                        Expert advising
                               advising in
                                        in appeal
                                           appeal of
                                                  of Chicago
                                                     Chicago Police
                                                             PoliceDepartment
                                                                    DepartmentOfficer
                                                                              Officer(Luigi
                                                                                      (LuigiSarli).
                                                                                             Sarli).COPA
                                                                                                     COPA
               Board Appeal Process;
               Board Appeal Process; case
                                     case ## 21
                                             21 PB
                                                PB 2986.
                                                   2986. Retained
                                                         Retained by
                                                                  by the
                                                                      thedefense
                                                                         defenseas
                                                                                 asof
                                                                                    ofApril
                                                                                      April2021.
                                                                                            2021.The
                                                                                                  Thecase/appeal
                                                                                                      case/appeal
               is
               is ongoing.
                  ongoing.
        c.
        c. Use of Force
           Use of Force consulting
                        consulting for
                                   for Jackson
                                       Jackson County,
                                               County, OR//
                                                       OR// JUAN
                                                            JUAN ANTHONY
                                                                 ANTHONYSANCHO,
                                                                         SANCHO,an
                                                                                 anindividual,
                                                                                    individual,
               plaintiff, vs.
               plaintiff, vs. JACKSON
                              JACKSON COUNTY,
                                      COUNTY, OREGON,
                                              OREGON, UNITED
                                                      UNITED STATES
                                                             STATES DISTRICT
                                                                    DISTRICT COURT
                                                                             COURT DISTRICT
                                                                                   DISTRICT
               OF
               OF OREGON MEDFORD DIVISION.
                  OREGON MEDFORD DIVISION. Case
                                           Case ## :20-cv-01232-CL.
                                                    :20-cv-01232-CL.January
                                                                     January2021-Retained
                                                                             2021-Retainedfor
                                                                                           forthe
                                                                                               the
               defense; ongoing.
               defense; ongoing.
        d.
        d. HOWARD McCay, an
           HOWARD McCay, an individual,
                            individual, Plaintiff,
                                        Plaintiff, V.
                                                   V. SEATTLE
                                                      SEATTLE POLICE
                                                              POLICEOFFICERS
                                                                     OFFICERSJEREMY
                                                                              JEREMY
               BOHANNON,
               BOHANNON, JOSHUA
                         JOSHUA BRILLA,
                                BRILLA, WALKER
                                        WALKER DICKSON,
                                               DICKSON, DORIAN
                                                        DORIAN KORIEO,
                                                               KORIEO, AIMEE
                                                                       AIMEE
               LACLAIRE,
               LACLAIRE, SCOTT
                         SCOTT LAPIERRE,
                               LAPIERRE, GERARDO
                                         GERARDO MORENO,
                                                 MORENO, BRENDAN
                                                         BRENDAN SULLIVAN,
                                                                 SULLIVAN, and
                                                                           and
               ROXANNE
               ROXANNE ZECH,
                       ZECH, Defendants.
                             Defendants. In
                                         In the
                                            the UNITED
                                                UNITED STATES
                                                       STATES DISTRICT
                                                              DISTRICT COURT
                                                                       COURT WESTERN
                                                                             WESTERN
               DISTRICT OF WASHINGTON
               DISTRICT OF WASHINGTON AT
                                      AT SEATTLE;
                                         SEATTLE; Case
                                                  Case ## 2:20-cv-01212:
                                                          2:20-cv-01212:Retained
                                                                         Retainedby
                                                                                  bythe
                                                                                     theplaintiff.
                                                                                         plaintiff.
               Case
               Case settlement reached in
                    settlement reached in favor
                                          favor of
                                                of the
                                                   the plaintiff
                                                       plaintiff (expected
                                                                 (expected May
                                                                           May2021).
                                                                               2021).
        e.
        e. JESSICA
           JESSICA DOMINGUEZ
                   DOMINGUEZ INDIVIDUALLY
                             INDIVIDUALLY AND
                                          AND JESSICA
                                              JESSICA DOMINGUEZ
                                                      DOMINGUEZ AS
                                                                AS GUARDIAN
                                                                   GUARDIAN AD
                                                                            AD
               LITEM FOR JAD
               LITEM FOR JAD (1),
                             (1), JAD
                                  JAD (2)
                                      (2) AND
                                          AND JAD
                                              JAD (3),
                                                  (3), Plaintiffs,
                                                       Plaintiffs, vs.
                                                                   vs.CITY
                                                                       CITYOF
                                                                           OFSAN
                                                                              SANJOSE,
                                                                                  JOSE,SAN
                                                                                        SANJOSE
                                                                                            JOSE
               POLICE DEPARTMENT, MICHAEL
               POLICE DEPARTMENT, MICHAEL PINA,
                                          PINA, AND
                                                AND DOE
                                                    DOE POLICE
                                                        POLICEOFFICERS
                                                               OFFICERS22through
                                                                          through5,5,
               Defendants. In the
               Defendants. In the UNITED
                                  UNITED STATES
                                         STATES DISTRICT
                                                DISTRICT COURT
                                                         COURT NORTHERN
                                                               NORTHERNDISTRICT
                                                                        DISTRICTOF
                                                                                OF
               CALIFORNIA. Case ## 5:18-cv-04826.
               CALIFORNIA. Case    5:18-cv-04826. Retained
                                                  Retained by
                                                           by the
                                                               the defense
                                                                   defenseas
                                                                           asof
                                                                             ofFebruary
                                                                                February2021,
                                                                                         2021,the
                                                                                               thecase
                                                                                                   caseisis
               ongoing.
               ongoing.
        f.
        f.     AMANDA WEST,
               AMANDA WEST, individually
                            individually and
                                         and as
                                             as Personal
                                                Personal Representative
                                                         Representativeof
                                                                        ofthe
                                                                           theEstate
                                                                              EstateofofPATRICK
                                                                                         PATRICKEASTON
                                                                                                 EASTON
               WEST; PATRICK ERROL
               WEST; PATRICK ERROL WEST;
                                   WEST; and
                                         and BERTHA
                                             BERTHA WEST,
                                                    WEST, Plaintiffs,
                                                          Plaintiffs,v.v.THE
                                                                         THECITY
                                                                             CITYOF
                                                                                 OF
               MONTESANO,
               MONTESANO, WASHINGTON;
                          WASHINGTON; THE
                                      THE CITY
                                          CITY OF
                                               OF ABERDEEN,
                                                  ABERDEEN, WASHINGTON;
                                                            WASHINGTON; THE
                                                                        THE CITY
                                                                            CITY OF
                                                                                 OF
               HOQUIAM,
               HOQUIAM, WASHINGTON;
                        WASHINGTON; BRETT
                                    BRETT VANCE;
                                          VANCE; DALE
                                                 DALE GREEN,
                                                      GREEN, ANDY
                                                             ANDY SNODGRASS;
                                                                  SNODGRASS; and
                                                                             and
               DAVID PETERSON; Defendants.
               DAVID PETERSON; Defendants. In
                                           In the
                                              the UNITED
                                                  UNITED STATES
                                                         STATESDISTRICT
                                                                DISTRICTCOURT
                                                                        COURTWESTERN
                                                                              WESTERN
               DISTRICT OF WASHINGTON
               DISTRICT OF WASHINGTON AT
                                      AT TACOMA.
                                         TACOMA. Case
                                                 Case ## 3:21-cv-05077.
                                                         3:21-cv-05077.Retained
                                                                        Retainedby
                                                                                 bythe
                                                                                    theplaintiff
                                                                                        plaintiffasas
               of
               of February 2021, the
                  February 2021, the case
                                     case is
                                          is ongoing.
                                             ongoing.
        g.
        g. St.
           St. Helens
               Helens Police Department (Ofc.
                      Police Department (Ofc. Adam
                                              Adam Raethke)
                                                   Raethke) against
                                                            against Ms.
                                                                    Ms. Ashley
                                                                        AshleyAndrews.
                                                                               Andrews.Retained
                                                                                       Retainedas
                                                                                                asaa
               consultant for Defense
               consultant for Defense of
                                      of Ofc.
                                         Ofc. Raethke
                                              Raethke (Criminal
                                                      (Criminal and
                                                                and Civil).
                                                                    Civil). October
                                                                            October2020-Present/ongoing.
                                                                                    2020-Present/ongoing.
        h.
        h. Use of Force
           Use of Force by
                        by Washington
                           Washington County
                                      County Deputy
                                             Deputy Rian
                                                    Rian Alden
                                                         Alden against
                                                               againstMr.
                                                                       Mr.Albert
                                                                          AlbertMolina.
                                                                                 Molina.Retained
                                                                                        Retainedasasaa
               consultant and expert
               consultant and expert for
                                     for Defense
                                         Defense of
                                                 of Dep.
                                                    Dep. Alden
                                                         Alden (Criminal
                                                               (Criminal and
                                                                         andCivil).
                                                                             Civil).October
                                                                                    October2020-Present/ongoing.
                                                                                            2020-Present/ongoing.
        i.i.   SABBE,
               SABBE, Remi
                      Remi vv Washington
                              Washington County.
                                         County. Retained
                                                 Retained by
                                                          by the
                                                              the defense
                                                                  defense as
                                                                          as aastrategy
                                                                                strategyconsultant,
                                                                                         consultant,2018-present.
                                                                                                     2018-present.




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    18.
    18. In
        In giving this declaration
           giving this declaration and
                                   and opinion,
                                       opinion, II have
                                                   have reviewed
                                                         reviewed the
                                                                   thefollowing
                                                                       followingevidence
                                                                                 evidenceand
                                                                                          andmaterials
                                                                                             materialson
                                                                                                       onwhich
                                                                                                          whichI I
        base my conclusions
        base my conclusions and
                            and opinion:
                                opinion:
            a.  Complaint(s)and
            a. Complaint(s)  andanswer(s);
                                 answer(s);case
                                            case5:18-cv-04826-BLF
                                                 5:18-cv-04826-BLF
            b.  Relatedpolice
            b. Related  policereports
                               reportstotoinclude
                                           includereports
                                                   reportsand
                                                           andoperational
                                                               operationalplans
                                                                           plans
                    a.
                    a. CRU
                       CRU operational plan dated
                           operational plan dated 9/15/2017
                                                  9/15/2017
                    b.
                    b. 17-258-0283
                       17-258-0283 Lab Reports
                                   Lab Reports
                    c.
                    c. 17-258-0283
                       17-258-0283 Coroner Report
                                   Coroner Report
                    d.
                    d. 17-258-0283
                       17-258-0283 Police Report
                                   Police Report
                    e.
                    e. CAD
                       CAD log for P172580763
                           log for P172580763
                    f.
                    f.   CAD
                         CAD log for P172580283
                             log for P172580283
            c.  Relatedtraining
            c. Related   trainingdocumentation
                                  documentationand
                                                and policy
                                                    policy
                    a.  Traininglog/file,
                    a. Training   log/file,California
                                            CaliforniaPost
                                                       Postsummary
                                                            summaryfor
                                                                    forMichael
                                                                       Michael Pina
                                                                               Pina
                    b.  Covertresponse
                    b. Covert   responseunit
                                         unit(CRU)
                                              (CRU)training
                                                     traininglogs/training
                                                              logs/trainingsummaries;
                                                                            summaries;2016
                                                                                       2016&&2017
                                                                                              2017
                    c.  SanJose
                    c. San   JosePolice
                                  PoliceDepartment;
                                         Department;Policies
                                                     PoliciesRules
                                                              Rulesand
                                                                    andProcedures
                                                                        Procedures"Duty
                                                                                   “DutyManual"
                                                                                        Manual”dated
                                                                                                dated2017
                                                                                                      2017
            d.  Relatedreviews
            d. Related  reviewsororinvestigations
                                    investigations
                    a.  CountyofofSanta
                    a. County      SantaClara
                                         Clara"Report
                                               “Reportononthe
                                                            thefatal
                                                                fatalshooting
                                                                      shootingofofJacob
                                                                                   JacobDominguez
                                                                                         DominguezSeptember
                                                                                                   September15,
                                                                                                             15,
                         2017” dated March
                         2017" dated March 8,
                                           8, 2019
                                              2019
            e.   Interviewsand
            e. Interviews   andTranscripts
                                Transcripts(note:
                                             (note:related
                                                     relatedvideo-audio
                                                              video-audiofiles
                                                                           fileswere
                                                                                 werereviewed
                                                                                       reviewedtotoverify
                                                                                                    verifytranscripts
                                                                                                            transcriptsand
                                                                                                                        and
                consider potential impactors
                consider potential impactors to
                                             to memory
                                                memory or
                                                       or investigative
                                                           investigative process)
                                                                         process)
                    a.
                    a. 1728228
                       1728228 -- Interview
                                  Interview Transcript of Ofr
                                            Transcript of Ofr Kristopher
                                                              Kristopher Ferguson
                                                                         Ferguson
                    b.
                    b. 1728229
                       1728229 -- Interview Transcript of
                                  Interview Transcript of Ofr
                                                          Ofr Alvaro
                                                              AlvaroLopez
                                                                     Lopez
                    c.
                    c. 1728230
                       1728230 -Interview
                               -Interview Transcript of Ofr
                                          Transcript of Ofr Michael
                                                            Michael Pina
                                                                    Pina
                    d. Notes taken
                    d. Notes taken from
                                   from an
                                        an interview
                                           interview of
                                                     of M.
                                                        M. Pina
                                                           Pina by
                                                                by myself
                                                                   myselfdated
                                                                          datedMay
                                                                               May14,
                                                                                   14,2021
                                                                                       2021
            f.  Depositions
            f. Depositions
                    a.
                    a. Deposition of Ms.
                       Deposition of Ms. Jessica
                                         Jessica Dominguez
                                                 Dominguez dated
                                                           dated February
                                                                 February 19,
                                                                          19, 2021
                                                                              2021
                    b.
                    b. Deposition of Sgt.
                       Deposition of Sgt. Michael
                                          Michael Pina
                                                  Pina dated
                                                       dated March
                                                             March 3,
                                                                   3, 2021
                                                                      2021
                    c.
                    c. Deposition of Ofc.
                       Deposition of Ofc. Alvaro
                                          Alvaro Lopez
                                                 Lopez dated
                                                       dated March
                                                             March 1,
                                                                   1, 2021
                                                                      2021
                    d.
                    d. Deposition of Ofc.
                       Deposition of Ofc. Kristoffer
                                          Kristoffer Ferguson
                                                     Ferguson dated
                                                              dated March
                                                                    March 4,
                                                                          4, 2021
                                                                             2021
            g.
            g. Related diagrams, photographs,
               Related diagrams, photographs, or
                                              or graphical
                                                 graphical representations
                                                            representationsand
                                                                            anddemonstratives
                                                                               demonstratives
                    a.
                    a. Graphic
                       Graphic 77 &
                                  & Graphic
                                    Graphic 88
                    b.
                    b. Consolidated file of
                       Consolidated file of investigative
                                            investigative photographs
                                                          photographs denoted
                                                                      denoted as
                                                                              as SJ0189-SJ0763
                                                                                 SJ0189-SJ0763
            h.  Relatedaudio
            h. Related  audiofiles
                               files(No
                                     (Notranscript
                                         transcriptprovided)
                                                    provided)
                    a.
                    a. SJ1666
                       5J1666 -- 10.02.2017
                                 10.02.2017 Rhiannon
                                            Rhiannon Borunda.wma
                                                     Borunda.wma
                    b.
                    b. SJ1667
                       5J1667 -- 11.17.2017
                                 11.17.2017 Leslie
                                            Leslie Bradley.wma
                                                   Bradley.wma
                    c.
                    c. SJ1668
                       5J1668 -- 17-258-0283
                                 17-258-0283 Carlos
                                             Carlos Lavato
                                                    Lavato Phone
                                                           Phone Interview
                                                                  Interview9.28.17.wma
                                                                           9.28.17.wma


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           i.i. Related
                 Related  videodocumentation/recordings
                        video   documentation/recordingstotoinclude:
                                                             include: (Note:
                                                                      (Note: the
                                                                             the video
                                                                                 video does
                                                                                       does not
                                                                                            not appear
                                                                                                appear to
                                                                                                        to have
                                                                                                           have been
                                                                                                                been
               time synced
               time synced and
                           and in
                               in some
                                  some cases
                                       cases differences
                                             differences greater
                                                         greater than
                                                                 than 10
                                                                      10 seconds.
                                                                         seconds. Original
                                                                                  Original times
                                                                                           times are
                                                                                                 are used.)
                                                                                                     used.)
                   a. Police
                   a.  Policebody-worn
                              body-worncamera
                                        camera(BWC)
                                               (BWC)video
                                                     video

                   ••   SJ1751.mp4
                        SJ1751.mp4

                   ••   SJ1753.mp4
                        SJ1753.mp4

                   ••   SJ1759.mp4
                        SJ1759.mp4

                   ••   SJ1760.mp4
                        SJ1760.mp4

                   ••   SJ1761.mp4
                        SJ1761.mp4

                   ••   SJ1762.mp4
                        SJ1762.mp4

                   ••   SJ1763.mp4
                        SJ1763.mp4

                   ••   SJ1764.mp4
                        SJ1764.mp4

                   ••   SJ1765.mp4
                        SJ1765.mp4

                   ••   SJ1766.mp4
                        SJ1766.mp4

                   b.  SJ1664- -3158
                   b. SJ1664     3158Penitencia
                                      PenitenciaCreek
                                                Creek Rd
                                                      Rd video
                                                         video

                   ••   NVR_Sherlock_ch3_main_20170915190000_20170915190500.avi
                        NVR_Sherlock_ch3_main_20170915190000_20170915190500.avi

                   ••   NVR_Sherlock_ch3_main_20170915190500_20170915191000.avi
                        NVR_Sherlock_ch3_main_20170915190500_20170915191000.avi

                   ••   NVR_Sherlock_ch3_main_20170915191000_20170915191500.avi
                        NVR_Sherlock_ch3inain_20170915191000_20170915191500.avi

                   c.  SJ1665- -3164
                   c. SJ1665     3164Penitencia
                                      PenitenciaCreek
                                                CreekRd
                                                      Rd video
                                                         video

                   ••   HCVR_ch6_main_20170915183000_20170915183022.avi
                        HCVR_ch6_main_20170915183000_20170915183022.avi

                   ••   HCVR_ch6_main_20170915183034_20170915183259.avi
                        HCVR_ch6_main_20170915183034_20170915183259.avi

                   ••   HCVR_ch6_main_20170915183317_20170915183624.avi
                        HCVR_ch6_main_20170915183317_20170915183624.avi

                   ••   HCVR_ch6_main_20170915183628_20170915183705.avi
                        HCVR_ch6_main_20170915183628_20170915183705.avi

                   ••   HCVR_ch6_main_20170915183714_20170915183734.avi
                        HCVR_ch6_main_20170915183714_20170915183734.avi

                   ••   HCVR_ch6_main_20170915183756_20170915183926.avi
                        HCVR_ch6_main_20170915183756_20170915183926.avi

                   ••   HCVR_ch6_main_20170915183956_20170915184041.avi
                        HCVR_ch6_main_20170915183956_20170915184041.avi

                   ••   HCVR_ch6_main_20170915184048_20170915184051.avi
                        HCVR_ch6_main_20170915184048_20170915184051.avi

                   ••   HCVR_ch7_main_20170915183000_20170915183016.avi
                        HCVR_ch7_main_20170915183000_20170915183016.avi


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                         ••   HCVR_ch7_main_20170915183038_20170915183214.avi
                              HCVR_ch7_main_20170915183038_20170915183214.avi

                         ••   HCVR_ch7_main_20170915183219_20170915183307.avi
                              HCVR_ch7_main_20170915183219_20170915183307.avi

                         ••   HCVR_ch7_main_20170915183315_20170915183459.avi
                              HCVR_ch7_main_20170915183315_20170915183459.avi

                         ••   HCVR_ch7_main_20170915183503_20170915183618.avi
                              HCVR_ch7_main_20170915183503_20170915183618.avi

                         ••   HCVR_ch7_main_20170915183636_20170915183732.avi
                              HCVR_ch7_main_20170915183636_20170915183732.avi

                         ••   HCVR_ch7_main_20170915183801_20170915183923.avi
                              HCVR_ch7_main_20170915183801_20170915183923.avi

                         ••   HCVR_ch7_main_20170915183934_20170915183948.avi
                              HCVR_ch7_main_20170915183934_20170915183948.avi

                         ••   HCVR_ch7_main_20170915183955_20170915184039.avi
                              HCVR_ch7_main_20170915183955_20170915184039.avi

                j.   Related research, both
                     Related research, both in
                                            in general
                                               general and
                                                       and specific
                                                           specific areas,
                                                                    areas, includes
                                                                            includeshuman
                                                                                    humanperformance
                                                                                          performancefactors,
                                                                                                      factors,
                     memory, attention, perception,
                     memory, attention, perception, sensemaking,
                                                    sensemaking, decision-making,
                                                                 decision-making,investigative
                                                                                  investigativetechniques,
                                                                                                techniques,and
                                                                                                            and
                     similar.
                     similar. Specific research cited
                              Specific research cited or
                                                      or used
                                                         used within
                                                              within this
                                                                      this opinion
                                                                           opinion isis annotated
                                                                                        annotatedby
                                                                                                  byAPA
                                                                                                    APAcitation
                                                                                                        citation
                     standards or footnotes.
                     standards or footnotes. All
                                             All research
                                                 research cited
                                                          cited is
                                                                is either
                                                                   either peer-reviewed,
                                                                          peer-reviewed,awaiting
                                                                                         awaitingpublication,
                                                                                                  publication,or
                                                                                                               or
                     ongoing
                     ongoing research by recognized
                             research by recognized institutions.
                                                    institutions.

 Preamble:
 Preamble:
       1.
       1. The
          The evidence from this
              evidence from this case,
                                 case, upon
                                       upon which
                                            which my
                                                  my opinion
                                                     opinion isis based,
                                                                  based, isisconsistent
                                                                              consistentwith
                                                                                        withthe
                                                                                             theinformation
                                                                                                 informationthat
                                                                                                             that
           other
           other experts in police
                 experts in police use
                                   use of
                                       of force
                                          force and
                                                and II rely
                                                       rely upon
                                                            upon in
                                                                  in analyzing
                                                                     analyzing police
                                                                               policeofficers'
                                                                                      officers'use
                                                                                                useof
                                                                                                    ofphysical
                                                                                                       physicalforce.
                                                                                                                force.
           Subsequently,
           Subsequently, II reserve
                            reserve the
                                    the right
                                        right to
                                              to amend
                                                 amend or
                                                       or modify
                                                          modify my
                                                                 my opinions
                                                                    opinions based
                                                                             basedon
                                                                                   onadditional
                                                                                      additionalevidence,
                                                                                                evidence, new
                                                                                                          new
           research, or information
           research, or information that
                                    that may
                                         may be
                                             be provided.
                                                provided. In
                                                           In instances
                                                               instanceswhere
                                                                        wherediffering
                                                                              differingaccounts
                                                                                        accountsofofevents
                                                                                                     eventsare
                                                                                                            are
           present,
           present, II have
                       have based
                            based my
                                  my analysis
                                     analysis on
                                              on that
                                                  that which
                                                       which isis most
                                                                  mostprobable
                                                                       probablebased
                                                                                basedon
                                                                                      onthe
                                                                                         theevidence
                                                                                             evidenceanalyzed
                                                                                                      analyzedfrom
                                                                                                               from
           the scene and
           the scene and the
                         the witnesses'
                             witnesses’ accounts.
                                        accounts.

       2.
       2. A proper review
          A proper review or
                          or analysis
                             analysis of
                                      of police
                                         police use
                                                use of
                                                    of force
                                                        force demands
                                                              demandsthat
                                                                      thatthe
                                                                           thereviewer
                                                                               reviewerguard
                                                                                        guardagainst
                                                                                              againstinjecting
                                                                                                      injecting
           hindsight into the
           hindsight into the review
                              review process.
                                     process. The
                                              The basis
                                                  basis of
                                                        of this
                                                            this comes
                                                                 comes from
                                                                        fromresearch
                                                                             researchand
                                                                                      andunderstanding
                                                                                          understandingerror
                                                                                                        error
           (Dekker,
           (Dekker, 2014) and recognizing
                    2014) and recognizing that
                                          that since
                                               since the
                                                     the actor
                                                         actor making
                                                               making decisions
                                                                      decisionsisisincapable
                                                                                    incapableof
                                                                                              ofdetermining
                                                                                                 determiningthe
                                                                                                             the
           future,
           future, it
                   it is unfair that
                      is unfair that aa reviewer
                                        reviewer knowing
                                                 knowing the
                                                         the future
                                                             future uses
                                                                    uses that
                                                                          that as
                                                                               asaameasuring
                                                                                   measuringstick
                                                                                             sticktotojudge
                                                                                                       judgethe
                                                                                                             theactor.
                                                                                                                 actor.
           This concept is
           This concept is also
                           also demanded
                                demanded by
                                         by US
                                            US Supreme
                                               Supreme Court
                                                       Court case
                                                             caselaw.
                                                                  law. 1

       3.
       3. Additionally,
          Additionally, itit is
                             is recognized
                                recognized that
                                           that video
                                                video evidence
                                                      evidence isis limited
                                                                     limitedin
                                                                             inthat
                                                                                thatititisisaatwo-dimensional
                                                                                               two-dimensionalrepresentation
                                                                                                               representation
           of
           of aa three-dimensional event. Subsequently,
                 three-dimensional event. Subsequently, while
                                                        while an
                                                              an essential
                                                                 essentialpiece
                                                                           pieceof
                                                                                 ofevidence,
                                                                                    evidence,ititisistaken
                                                                                                      takenasasasingle
                                                                                                                a single
           view and perspective
           view and perspective of
                                of the
                                   the entire
                                       entire event.
                                              event. While
                                                     While of
                                                           of great
                                                              great value
                                                                    valuein
                                                                          indetermining
                                                                             determiningwhat
                                                                                        whatoccurred
                                                                                             occurredininan
                                                                                                          anevent,
                                                                                                             event,aa
           video’s  limitationsmake
           video's limitations makeititmost
                                       mosthelpful
                                            helpfulininshowing
                                                        showingovert
                                                                overtactions
                                                                      actionsversus
                                                                              versusthose
                                                                                     thoseactions
                                                                                           actionsthat
                                                                                                   thatmay
                                                                                                       maybe
                                                                                                           beless
                                                                                                              less

 1
     Graham
     Graham v.
            v. Connor (et al),
               Connor (et al), 490
                               490 U.S.
                                   U.S. 386;
                                        386; 109
                                             109 S.
                                                 S. Ct.
                                                    Ct. 1865,
                                                        1865, 104 L. Ed.
                                                              104 L. Ed. 2d
                                                                         2d 443
                                                                            443 (Supreme
                                                                                (Supreme Court of the
                                                                                         Court of theUnited
                                                                                                      UnitedStates
                                                                                                             States1989)
                                                                                                                    1989)




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         noticeable in aa two-dimensional
         noticeable in    two-dimensionalimage.
                                          image.

     4.
     4. Police officers are
        Police officers are trained
                            trained that
                                     thatthe
                                          thefactors
                                              factorsand
                                                      andframework
                                                          frameworkfrom
                                                                    fromwhich
                                                                         whicha adecision
                                                                                  decisiontotouse
                                                                                               usephysical
                                                                                                   physical  force
                                                                                                           force isis
         made
         made are derived from
              are derived from the
                               the United
                                   United States
                                          States Constitution
                                                 Constitution and
                                                              and its
                                                                   itsamendments
                                                                       amendmentsand
                                                                                  andreflected
                                                                                      reflectedininUS
                                                                                                   USSupreme
                                                                                                      Supreme
         Court case law
         Court case law and
                        and Federal
                            Federal Court
                                    Courtdecisions.
                                          decisions.

     5.
     5. Police Officers are
        Police Officers are trained
                            trained that
                                     thatthe
                                          theuse
                                              useof
                                                  offorce
                                                     forcemust
                                                          mustbe
                                                               beobjectively
                                                                  objectivelyreasonable
                                                                              reasonablebased
                                                                                         basedononthe
                                                                                                    thetotality
                                                                                                         totality
                                                                                                                ofof the
                                                                                                                   the
         circumstances
         circumstances 22.. Officers are trained
                            Officers are trained that
                                                 that force
                                                      force may
                                                            maybe
                                                                beused
                                                                   usedfor
                                                                        forself-defense,
                                                                            self-defense,defense
                                                                                          defenseofofanother,
                                                                                                      another,toto
         overcome active resistance
         overcome active resistance while
                                    whileeffecting
                                          effectingan
                                                    anarrest,
                                                       arrest,totoprevent
                                                                   preventananescape
                                                                               escapefrom
                                                                                       fromlegal
                                                                                             legalcustody,
                                                                                                   custody,totomaintain
                                                                                                                maintain
         the safety
         the safety and
                    and security
                        security of
                                 of aa facility,
                                       facility, such
                                                 such as
                                                      as aa jail
                                                             jail or
                                                                  oraacourthouse,
                                                                       courthouse,or
                                                                                   ortotoprevent
                                                                                          preventthe
                                                                                                  theescalation
                                                                                                      escalationofofan
                                                                                                                     anevent
                                                                                                                        event
         or
         or situation into aa potentially
            situation into    potentially harmful
                                          harmful situation
                                                  situation to
                                                             to citizens
                                                                citizens or
                                                                         or others.
                                                                            others.

     6.
     6. Police officers are
        Police officers are trained
                            trained that
                                    that when
                                         when using
                                              using physical
                                                    physical force,
                                                             force, itit will
                                                                         will often
                                                                              often occur
                                                                                    occur in
                                                                                           in dynamic,
                                                                                              dynamic,rapidly
                                                                                                       rapidlychanging
                                                                                                               changing
         situation(s) and that
         situation(s) and that itit may
                                    may occur
                                        occur in
                                              in rapidly
                                                 rapidly evolving
                                                         evolving situations
                                                                  situations that
                                                                             that are
                                                                                  are often
                                                                                      often tense
                                                                                             tense and
                                                                                                   anduncertain.'
                                                                                                       uncertain. 3As
                                                                                                                    As
         reflected in US
         reflected in US Supreme
                         Supreme Court
                                 Court case
                                       case law,
                                             law, analysis
                                                  analysis of
                                                           of aause
                                                                useof
                                                                    offorce
                                                                       forceevent
                                                                             eventmust
                                                                                  mustconsider
                                                                                       considerthe
                                                                                                thetotality
                                                                                                    totalityofofthe
                                                                                                                 the
         circumstances and the
         circumstances and the context
                               context surrounding
                                       surrounding the
                                                    the application
                                                        application of
                                                                    of force.
                                                                        force. 44

     7. Additionally, each
     7. Additionally, each instance
                           instance of
                                    of force may be
                                       force may be considered
                                                    considered in
                                                               in itself
                                                                  itself aa separate
                                                                            separate act
                                                                                     act and
                                                                                         and therefore
                                                                                              thereforeaadifferent
                                                                                                          different
         decision. Analysis of
         decision. Analysis of use
                               use of
                                   of force decisions at
                                      force decisions at this
                                                         this level
                                                              level can
                                                                    can be
                                                                        be referred
                                                                           referred to
                                                                                     to as
                                                                                        as decision-point
                                                                                           decision-pointanalysis
                                                                                                          analysisor
                                                                                                                   or
         segmentation. Research recognizes
         segmentation. Research recognizes that
                                           that use
                                                use of
                                                    of force
                                                       force decision-making
                                                             decision-makingisisaaprocess
                                                                                   processconsisting
                                                                                           consistingofofmultiple
                                                                                                         multiple
         decision points occurring
         decision points occurring in
                                   in aa dynamic
                                         dynamic environment
                                                 environment (Hine
                                                              (Hine et
                                                                    et al.,
                                                                       al.,2018).
                                                                            2018).While
                                                                                  Whilethe
                                                                                        theuse
                                                                                            useof
                                                                                               of decision
                                                                                                  decisionpoint
                                                                                                           point
         analysis may help
         analysis may help understand
                           understand an
                                      an event,
                                         event, police
                                                police officers
                                                       officers are
                                                                are routinely
                                                                     routinelytrained
                                                                               trainedthat
                                                                                       that their
                                                                                             their use
                                                                                                   use of
                                                                                                       of force
                                                                                                           forcewill
                                                                                                                willbe
                                                                                                                     be
         examined in the
         examined in the context
                         context of
                                 of the
                                    the event's
                                        event’s totality
                                                 totalityand
                                                         andnot
                                                             notby
                                                                bythe
                                                                   theuse
                                                                       useof
                                                                           of20/20
                                                                             20/20hindsight
                                                                                   hindsightor
                                                                                             oreach
                                                                                                eachdecision
                                                                                                     decision
         point separately.
         point separately.

     8.
     8. Police officers are
        Police officers are trained
                            trained that
                                    that use
                                         use of
                                             of force
                                                force events
                                                      events are
                                                             are often
                                                                 oftendynamic
                                                                       dynamicand
                                                                               andfluid
                                                                                   fluidininnature
                                                                                             natureand
                                                                                                    andthat
                                                                                                        thatan
                                                                                                             an
         officers’ response allows
         officers' response allowsfor
                                   forthe
                                       theneed
                                           needtotoincrease
                                                    increaseorordecrease
                                                                 decreasetheir
                                                                          theiruse
                                                                                useofofforce
                                                                                        forceasasrequired.
                                                                                                  required.ItItisisexpected
                                                                                                                    expected
         that aa police
         that    police officer
                        officer would
                                would reasonably
                                      reasonably escalate
                                                 escalate the
                                                           the level
                                                                levelof
                                                                     offorce
                                                                        force dependent
                                                                              dependentupon
                                                                                        upontheir
                                                                                             theirperception
                                                                                                   perceptionof
                                                                                                              ofaa
         subject’s (suspect, threat,
         subject's (suspect,  threat,actor,
                                      actor,and
                                             andsimilar)
                                                 similar)behaviors,
                                                          behaviors,the
                                                                     theperceived
                                                                         perceivedthreat,
                                                                                   threat,ororthe
                                                                                               theresistance
                                                                                                   resistance
         encountered.
         encountered.




 2
 2 Graham v. Connor
   Graham v. Connor (et
                    (et al),
                        al), 490
                             490 U.S.
                                 U.S. 386;
                                      386; 109
                                           109 S.
                                               S. Ct.
                                                  Ct. 1865,
                                                      1865, 104
                                                            104 L.
                                                                L. Ed.
                                                                   Ed. 2d
                                                                       2d 443
                                                                          443 (Supreme
                                                                               (Supreme Court
                                                                                        Court of the United
                                                                                              of the UnitedStates
                                                                                                            States1989)
                                                                                                                   1989)
 3
 3 Graham v. Connor
   Graham v. Connor (et
                    (et al),
                        al), 490
                             490 U.S.
                                 U.S. 386;
                                      386; 109
                                           109 S.
                                               S. Ct.
                                                  Ct. 1865,
                                                      1865, 104
                                                            104 L.
                                                                L. Ed.
                                                                   Ed. 2d
                                                                       2d 443
                                                                          443 (Supreme
                                                                               (Supreme Court
                                                                                        Court of the United
                                                                                              of the UnitedStates
                                                                                                            States1989).
                                                                                                                   1989).
 4 Graham
   Graham v.
          v. Connor (et al), 490 U.S. 386; 109 S. Ct. 1865, 104 L. Ed. 2d 443 (Supreme Court of the United States 1989)
 4
             Connor (et al), 490 U.S. 386; 109 S. Ct. 1865, 104 L. Ed. 2d 443  (Supreme Court of the United States 1989)




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     9.
     9. Equally, it is
        Equally, it is expected
                       expected that
                                that aa police
                                        police officer
                                               officer can
                                                       can de-escalate
                                                           de-escalatetheir
                                                                       theiruse
                                                                             useof
                                                                                 ofphysical
                                                                                    physicalforce
                                                                                             force (again
                                                                                                    (againdependent
                                                                                                          dependent
         upon
         upon aa subject's
                 subject’s behavior,
                           behavior,resistance,
                                     resistance,and
                                                 andthe
                                                     thelevel
                                                         levelofofcontrol
                                                                   controlneeded
                                                                           needed) )when
                                                                                     whenfeasible,
                                                                                          feasible,totoresolve
                                                                                                        resolvea a
         situation safely.
         situation safely.

     10.
     10. The SJPD maintains
         The SJPD maintains aa covert
                               covert response
                                      response unit
                                               unit (CRU)
                                                     (CRU) which
                                                           which isisconsidered
                                                                      consideredaaspecialized
                                                                                   specializedteam
                                                                                               teamwith
                                                                                                    withselection
                                                                                                         selection
         criteria and conducts
         criteria and conducts advanced
                               advanced tactical
                                        tactical training
                                                 training in
                                                           in such
                                                              such areas
                                                                   areas as
                                                                         asapprehension
                                                                            apprehensiontechniques
                                                                                         techniquesofofhigh-risk
                                                                                                        high-risk
         threats, advanced
         threats, advanced weapon
                           weapon skills,
                                  skills, surveillance,
                                          surveillance, and
                                                        andtactical
                                                            tacticaloperational
                                                                     operationalplanning.
                                                                                 planning.InInthe
                                                                                               theyears
                                                                                                   years2016
                                                                                                         2016and
                                                                                                              and
         2017, Sgt. Pina
         2017, Sgt. Pina attended
                         attended multiple
                                  multiple training
                                           training iterations
                                                     iterations (on
                                                                 (on average
                                                                     averagemonthly)
                                                                             monthly)that
                                                                                      thattrain
                                                                                           trainthe
                                                                                                 theaforementioned
                                                                                                     aforementioned
         subjects. 5,6
         subjects.'''  Useof
                      Use  offorce
                              forcedecision-making
                                    decision-makingwas
                                                   wasintegrated
                                                       integratedinto
                                                                  intothe
                                                                       therelated
                                                                           relatedCRU
                                                                                  CRUscenario
                                                                                      scenariotraining.
                                                                                               training.

 General
 General Understandings from Research:
         Understandings from Research:
     1.  Actionvs.
     1. Action  vs.Reaction:
                   Reaction:

             a.
             a. Action versus reaction
                Action versus reaction is
                                       is aa well-researched
                                             well-researched phenomenon
                                                             phenomenon and
                                                                        and aaneeded
                                                                              neededunderstanding
                                                                                     understandingfor
                                                                                                   forthis
                                                                                                       this
                  analysis. In the
                  analysis. In the simplest
                                   simplest terms,
                                            terms, itit is
                                                        is the
                                                           the question
                                                               question or
                                                                        or idea
                                                                            idea of
                                                                                 of what
                                                                                    whatreally
                                                                                         reallyoccurs
                                                                                                occurswhen
                                                                                                      whenaaperson
                                                                                                             person
                  reacts to another
                  reacts to another person's
                                    person’s action.
                                             action. Perception
                                                     Perceptionand
                                                                andreaction
                                                                    reactiontime
                                                                             timewhen
                                                                                 whendriving
                                                                                      drivingisissomething
                                                                                                  somethingthat
                                                                                                            that
                  most people have
                  most people have experienced
                                   experienced and
                                               and is
                                                   is well
                                                      well studied
                                                           studied (Krauss
                                                                    (Krauss&
                                                                           &Olson,
                                                                             Olson,2015).
                                                                                    2015).For
                                                                                           Forexample,
                                                                                               example,ififone
                                                                                                            one
                  was driving and
                  was driving and the
                                  the car
                                      car in
                                          in front
                                             front of
                                                   of them
                                                      them slammed
                                                           slammed on
                                                                   on their
                                                                       theirbrakes,
                                                                            brakes,you,
                                                                                    you,the
                                                                                         thedriver,
                                                                                             driver,react
                                                                                                     reacttotoavoid
                                                                                                               avoidaa
                  collision. You would
                  collision. You would first
                                       first have
                                             have to
                                                  to recognize
                                                     recognize that
                                                                that the
                                                                      the car
                                                                          car ahead
                                                                              aheadof
                                                                                    ofyou
                                                                                      youisisbraking
                                                                                              brakingabruptly.
                                                                                                      abruptly.Next,
                                                                                                               Next,
                  this recognition
                  this recognition (or
                                   (or stimulus)
                                       stimulus) would
                                                 would have
                                                       have to
                                                             to translate
                                                                 translateinto
                                                                           intoaachoice
                                                                                  choice(I(Ineed
                                                                                             needtotobrake
                                                                                                      brakenow,
                                                                                                            now,hard).
                                                                                                                 hard).
                  Finally, this choice
                  Finally, this choice has
                                       has to
                                           to be
                                              be translated
                                                 translated into
                                                             into the
                                                                   the movement
                                                                       movementof
                                                                                ofyour
                                                                                  yourleg/foot
                                                                                       leg/foottotoboth
                                                                                                    bothfind
                                                                                                         findand
                                                                                                              andstep
                                                                                                                  step
                  on
                  on the
                     the brake pedal. Most
                         brake pedal. Most drivers
                                           drivers do
                                                   do this
                                                      this simple
                                                           simple act
                                                                  act (and
                                                                      (and often
                                                                           often are
                                                                                 are not
                                                                                     noteven
                                                                                         evenconscious
                                                                                              consciousof
                                                                                                        ofit)
                                                                                                           it)every
                                                                                                               every
                  day
                  day while driving. What
                      while driving. What is
                                          is interesting
                                             interesting to
                                                         to note
                                                            note is
                                                                 is that
                                                                     that this
                                                                           this routine
                                                                                 routine and
                                                                                         andstraightforward
                                                                                             straightforwardtask
                                                                                                             tasktakes
                                                                                                                  takes
                  time, even for
                  time, even for the
                                 the most
                                     most skilled
                                          skilled drivers.
                                                  drivers. This
                                                           This isis why
                                                                     why we
                                                                         we have
                                                                            haveoften
                                                                                 oftenbeen
                                                                                       beentaught
                                                                                            taughttotofollow
                                                                                                       followmultiple
                                                                                                             multiple
                  car
                  car lengths
                      lengths behind the car
                              behind the car ahead
                                             ahead of
                                                   of us
                                                      us to
                                                         to have
                                                            have time
                                                                 time to
                                                                       to react.
                                                                          react. Looking
                                                                                 Lookingatatthis
                                                                                             thisfrom
                                                                                                  fromanother
                                                                                                       another
                  perspective would be
                  perspective would be that
                                       that if
                                            if you
                                               you follow
                                                   follow too
                                                          too closely,
                                                              closely, there
                                                                        there isis no
                                                                                   noway
                                                                                      waythat
                                                                                          thatyou
                                                                                               youcan
                                                                                                   canreact
                                                                                                       reactand
                                                                                                             andstop
                                                                                                                 stopinin
                  time.
                  time.

             b.
             b. Specific
                Specific peer-reviewed and ongoing
                         peer-reviewed and ongoing research
                                                   research has
                                                            has been
                                                                been done
                                                                     done to
                                                                           to explore
                                                                              explorehow
                                                                                      howquickly
                                                                                         quicklyaaperson
                                                                                                   personcan
                                                                                                          can
                  point
                  point aa firearm
                           firearm at
                                   at another
                                      another person
                                              person and
                                                     and pull
                                                         pull the
                                                              the trigger.
                                                                   trigger. For
                                                                            For example,
                                                                                example,in
                                                                                         inone
                                                                                            onestudy,
                                                                                                study,aanovice
                                                                                                         noviceor
                                                                                                                or
                  untrained person, while
                  untrained person, while seated
                                          seated in
                                                 in the
                                                    the driver
                                                        driver position
                                                               position of
                                                                        of aa car,
                                                                              car, was
                                                                                   wasable
                                                                                       ableto
                                                                                            tograb
                                                                                               grabaapistol
                                                                                                      pistollocated
                                                                                                             located
                  and
                  and hidden near their
                      hidden near their thigh,
                                        thigh, bring
                                               bring itit up,
                                                          up, and
                                                              and fire
                                                                  fire their
                                                                        their first
                                                                               first shot
                                                                                     shot in
                                                                                           inapproximately.25
                                                                                             approximately.25seconds
                                                                                                              secondson
                                                                                                                      on
                  average
                  average (Lewinski, 2000). To
                          (Lewinski, 2000). To place
                                               place this
                                                     this in
                                                          in context,
                                                             context, the
                                                                       the blink
                                                                           blink of
                                                                                 of an
                                                                                    an eye
                                                                                        eyetakes
                                                                                            takesapproximately
                                                                                                  approximately.30
                                                                                                                .30
                  seconds,
                  seconds, only slightly longer.
                           only slightly longer. In
                                                 In another
                                                    another study,
                                                            study, where
                                                                   where the
                                                                          the driver
                                                                              driverhad
                                                                                     hadhidden
                                                                                        hiddenaafirearm
                                                                                                 firearmbelow
                                                                                                         belowthe
                                                                                                               the

 5
  As
   As described
      described in
                 in interview  by M.
                     interview by M. Pina;
                                      Pina; dated
                                            dated May
                                                   May 14,
                                                        14, 2021
                                                            2021
 6
  Covertresponse
 'Covert  response unit
                      unit(CRU)
                           (CRU) training logs/trainingsummaries;
                                 training logs/training summaries; 2016
                                                                   2016 &
                                                                        & 2017
                                                                          2017




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                officer’s line of
                officer's line of sight,
                                  sight, they
                                         they attempted
                                              attempted to
                                                         to locate
                                                             locate and
                                                                    andshoot
                                                                        shootthe
                                                                              theofficer.
                                                                                  officer.ItIttook
                                                                                               tookthe
                                                                                                    theperson/driver
                                                                                                        person/driver
                approximately .57 seconds
                approximately .57 seconds (Dysterheft
                                          (Dysterheft Robb
                                                      Robb et
                                                           et al.,
                                                              al., 2013)
                                                                   2013) to
                                                                          to locate
                                                                              locateand
                                                                                     andlethally
                                                                                         lethallyengage
                                                                                                  engagethe
                                                                                                         the
                approaching officer. In
                approaching officer. In the
                                        the same
                                            same study,
                                                 study, itit took
                                                             took the
                                                                   the average
                                                                       average officer
                                                                               officer.37
                                                                                       .37seconds
                                                                                           secondstotorecognize
                                                                                                       recognizeand
                                                                                                                 and
                react to the
                react to the action
                             action of
                                    of the
                                       the driver.
                                           driver. This
                                                   This would
                                                        would leave
                                                               leave only
                                                                     only .20
                                                                           .20seconds
                                                                               secondsfor
                                                                                       forthe
                                                                                           theaverage
                                                                                               averageofficer
                                                                                                       officertoto
                make
                make aa decision
                        decision and
                                 and perform
                                     perform that
                                                that decision
                                                     decision successfully.
                                                              successfully. Research
                                                                            Researchhas
                                                                                     hasshown
                                                                                          shownthatthatthe
                                                                                                        thegreatest
                                                                                                            greatest
                amount  of time
                amount of  time (almost
                                (almost ¾   of the
                                        3/4 of the time
                                                   time used
                                                         used when
                                                              when reacting
                                                                    reacting (Lewinski
                                                                             (Lewinski et
                                                                                       et al.,
                                                                                           al., 2014))
                                                                                                2014))isisused
                                                                                                           usedin
                                                                                                                in
                recognizing and interpreting
                recognizing and interpreting the
                                             the stimulus,
                                                 stimulus, as
                                                           as compared
                                                              comparedto
                                                                       toexecuting
                                                                          executingthe
                                                                                    themotor
                                                                                       motorskill.
                                                                                             skill.

            c.
            c. In
               In other peer-reviewed research,
                  other peer-reviewed research, the
                                                the comparative
                                                    comparative response
                                                                 response times
                                                                           timesbetween
                                                                                betweenpolice
                                                                                        policeofficers
                                                                                               officersand
                                                                                                        and
                suspects
                suspects were studied (Blair
                         were studied (Blair et
                                             et al.,
                                                al., 2011).
                                                     2011). Specifically
                                                            Specifically studied
                                                                         studied was
                                                                                 waswhether
                                                                                     whetheraapolice
                                                                                               policeofficer
                                                                                                      officercould
                                                                                                              could
                execute
                execute the
                        the action of shooting
                            action of shooting aa pistol
                                                  pistol that
                                                         that they
                                                              they already
                                                                   already had
                                                                           had pointed
                                                                               pointedatatthe
                                                                                           thesuspect
                                                                                               suspectbefore
                                                                                                       beforethe
                                                                                                              the
                suspect
                suspect could bring their
                        could bring their pistol
                                          pistol up
                                                 up (which
                                                    (which was
                                                           was down
                                                               down near
                                                                    near their
                                                                          their side)
                                                                                 side)and
                                                                                       andshoot
                                                                                           shootthe
                                                                                                 thepolice
                                                                                                     policeofficer.
                                                                                                            officer.
                This
                This study specifically recognized
                     study specifically recognized that
                                                   that the
                                                        the officer's
                                                            officer’sact
                                                                      actof
                                                                          ofshooting
                                                                             shootinginvolved
                                                                                      involvedrecognizing
                                                                                               recognizingthe
                                                                                                           the
                suspect’s movements, interpreting
                suspect's movements, interpreting the
                                                   the movements,
                                                       movements,selecting
                                                                  selectingan
                                                                            anappropriate
                                                                               appropriateaction,
                                                                                           action,and
                                                                                                   andultimately
                                                                                                       ultimately
                squeezing
                squeezing the trigger of
                          the trigger of the
                                         the pistol.
                                             pistol. This
                                                     This research
                                                          research showed
                                                                   showed that
                                                                           that the
                                                                                 the time
                                                                                      timefor
                                                                                           foraasuspect
                                                                                                 suspecttotoshoot
                                                                                                             shootan
                                                                                                                   an
                officer
                officer compared to an
                        compared to an officer's
                                       officer’s reaction
                                                 reaction time
                                                           time to
                                                                 torespond
                                                                    respondand
                                                                            andengage
                                                                                engagethe
                                                                                       thesuspect
                                                                                           suspectby
                                                                                                   byshooting
                                                                                                      shootingtoto
                be
                be almost equal (.38
                   almost equal (.38 seconds
                                     seconds for
                                             for aa suspect
                                                    suspect with
                                                            with .39
                                                                  .39 seconds
                                                                      seconds for
                                                                               forthe
                                                                                   thereacting
                                                                                       reactingofficer
                                                                                                officer(Blair
                                                                                                        (Blairetetal.,
                                                                                                                   al.,
                2011)). Similar research
                2011)). Similar research has
                                         has shown
                                             shown that
                                                   that itit takes
                                                              takes the
                                                                     the average
                                                                         average officer
                                                                                 officer.31
                                                                                         .31seconds
                                                                                             secondstotorecognize
                                                                                                         recognizeaa
                stimulus
                stimulus (such as movement)
                         (such as movement) and
                                            and pull
                                                pull the
                                                     the trigger
                                                         trigger of
                                                                 of aa pistol
                                                                       pistol (Lewinski
                                                                               (Lewinskietetal.,
                                                                                             al.,2014).
                                                                                                  2014).

            d.
            d. Interestingly, related studies
               Interestingly, related studies have
                                              have been
                                                   been done
                                                        done in
                                                              in areas
                                                                 areas involving
                                                                        involvinghow
                                                                                  howfast
                                                                                      fastarms
                                                                                           armsand
                                                                                                andhands
                                                                                                    handsmove
                                                                                                         move
                from
                from different positions. These
                     different positions. These research
                                                research studies
                                                         studies are
                                                                 are often
                                                                     often found
                                                                            foundin
                                                                                  insports
                                                                                     sports(Kimm
                                                                                            (Kimm&&Thiel,
                                                                                                   Thiel,2015)
                                                                                                          2015)
                and
                and the
                    the medical community. For
                        medical community. For example,
                                               example, in
                                                        in one
                                                           one particular
                                                               particular medical-related
                                                                          medical-relatedstudy,
                                                                                          study,the
                                                                                                 thesubject
                                                                                                     subject
                started
                started from
                        from aa seated
                                seated position
                                       position with
                                                with their
                                                     their hands
                                                           hands resting
                                                                 resting on
                                                                         on their
                                                                             their thighs
                                                                                    thighs(Degoede
                                                                                           (Degoedeetetal.,
                                                                                                        al.,2001).
                                                                                                             2001).The
                                                                                                                    The
                study
                study examined the different
                      examined the different response
                                             response times
                                                      times itit took
                                                                  took for
                                                                        for the
                                                                             the subjects
                                                                                  subjects(based
                                                                                           (basedon
                                                                                                  ondifferent
                                                                                                     differentstimuli)
                                                                                                               stimuli)toto
                raise their hands
                raise their hands to
                                  to their
                                     their shoulder
                                           shoulder level.
                                                    level. In
                                                           In this
                                                               this study,
                                                                    study, the
                                                                            the motor
                                                                                motortime
                                                                                      timeaveraged
                                                                                           averagedapproximately
                                                                                                    approximately.28
                                                                                                                  .28
                seconds. Adding in
                seconds. Adding in aa commonly
                                      commonly accepted
                                               accepted value
                                                        value of
                                                              of reaction
                                                                  reactiontime
                                                                           time(200ms)
                                                                                (200ms)referenced
                                                                                        referencedininmultiple
                                                                                                      multiple
                studies
                studies (Lewinski et al.,
                        (Lewinski et al., 2015;
                                          2015; Lewinski
                                                Lewinski et
                                                         et al.,
                                                            al., 2014;
                                                                 2014; Welchman
                                                                       Welchmanetetal.,
                                                                                    al.,2010),
                                                                                         2010),the
                                                                                                thetotal
                                                                                                    totaltime
                                                                                                          timefrom
                                                                                                               from
                response to completing
                response to completing the
                                       the movement
                                           movement can
                                                    can be
                                                        be determined.
                                                           determined.To
                                                                       Tomove
                                                                         moveone's
                                                                              one’shands
                                                                                    handsfrom
                                                                                          fromthe
                                                                                               thearea
                                                                                                   areaofof
                one’s thighs (while
                one's thighs (while in
                                    in aa seated
                                          seated position)
                                                 position) to
                                                            to shoulder
                                                                shoulderlevel
                                                                         levelwould
                                                                              wouldmost
                                                                                    mostlikely
                                                                                         likelyoccur
                                                                                                occurininslightly
                                                                                                          slightlyless
                                                                                                                   less
                than half
                than half aa second
                             second if
                                    if one
                                       one was
                                           was responding
                                               responding to
                                                           to aa stimulus
                                                                  stimulusreacting.
                                                                           reacting.In
                                                                                     Incontrast,
                                                                                        contrast,ififone
                                                                                                      onewas
                                                                                                         wasthe
                                                                                                             the
                initiator of the
                initiator of the movement,
                                 movement, they
                                           they could
                                                could do
                                                      do the
                                                          the same
                                                              same movement
                                                                   movementin
                                                                            inless
                                                                               lessthan
                                                                                    than1/3
                                                                                         1/3of
                                                                                             ofthe
                                                                                                thesecond.
                                                                                                    second.

            e.
            e. Additional ongoing, but
               Additional ongoing, but only
                                       only preliminary
                                            preliminary (pilot
                                                        (pilot research),
                                                                research),supports
                                                                           supportsaasimilar
                                                                                      similarunderstanding
                                                                                              understandingwhen
                                                                                                            when
                attempting to perform
                attempting to perform similar
                                      similar actions
                                              actions with
                                                      with aa long
                                                               long gun
                                                                    gun taking,
                                                                         taking,which
                                                                                whichtook
                                                                                      tookpolice
                                                                                           policeofficers
                                                                                                  officers.99
                                                                                                           .99
                seconds on average
                seconds on average to
                                   to aim
                                      aim and
                                          and fire
                                              fire their
                                                   their first
                                                         first shot
                                                               shot when
                                                                    when reacting
                                                                          reactingto
                                                                                   toaasimulated
                                                                                        simulatedthreat
                                                                                                  threat(Lewinski
                                                                                                         (Lewinski
                et
                et al., 2015).
                   al., 2015).


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            f.
            f.   Summarizing some of
                 Summarizing some of the
                                     the concepts
                                         concepts related
                                                  related to
                                                          to reaction
                                                             reaction time,
                                                                       time, movement,
                                                                             movement,stimulus,
                                                                                       stimulus,initiation
                                                                                                 initiationas
                                                                                                            as
                 compared to reacting
                 compared to reacting is
                                      is that
                                         that when
                                              when aa suspect
                                                      suspect initiates
                                                               initiates action,
                                                                         action, the
                                                                                  thepolice
                                                                                     policeofficer
                                                                                            officerisisactively
                                                                                                        activelyseeking
                                                                                                                 seeking
                 information, cues, movement
                 information, cues, movement indicators,
                                             indicators, or
                                                         or similar,
                                                            similar, and
                                                                     and they
                                                                          theywill
                                                                              willbe
                                                                                   beatataadisadvantage.
                                                                                            disadvantage.The
                                                                                                          The
                 reality is that
                 reality is that "police officers are
                                 “police officers are required
                                                      required to
                                                                to react
                                                                    react to
                                                                           toapparent
                                                                             apparentdangers
                                                                                      dangersand
                                                                                              andapparent
                                                                                                  apparentweapons
                                                                                                          weapons
                 because normal conditions
                 because normal conditions and
                                           and lag
                                               lag time
                                                   time do
                                                        do not
                                                           not often
                                                               often allow
                                                                     allowan
                                                                           anofficer
                                                                             officerto
                                                                                     toascertain
                                                                                        ascertainwith
                                                                                                 withcertainty
                                                                                                      certainty
                 whether
                 whether aa weapon
                            weapon is
                                   is present
                                      present (Ross,
                                              (Ross, 2013,
                                                     2013, p.
                                                           p. 91)."
                                                              91).” Therefore,
                                                                    Therefore,police
                                                                               policeofficers
                                                                                      officersare
                                                                                               areroutinely
                                                                                                   routinelytrained
                                                                                                             trained
                 that the initiator
                 that the initiator of
                                    of an
                                       an action
                                          action (often
                                                 (often the
                                                        the suspect)
                                                            suspect) will
                                                                     will have
                                                                          have an
                                                                                anadvantage.
                                                                                   advantage.Subsequently,
                                                                                              Subsequently,ititwill
                                                                                                               willbe
                                                                                                                    be
                 their use
                 their use of
                           of sound
                              sound tactics
                                    tactics and
                                            and their
                                                their focus
                                                      focus on
                                                            on the
                                                                the most
                                                                    mostcritical
                                                                         criticalinformation
                                                                                  informationininaapotentially
                                                                                                    potentiallylethal
                                                                                                                lethal
                 encounter that will
                 encounter that will give
                                     give them
                                          them the
                                               the best
                                                   best chance
                                                        chance of
                                                               of survival.
                                                                  survival. Related
                                                                            Relatedto
                                                                                    tothe
                                                                                       theconcepts
                                                                                           conceptsof
                                                                                                    of
                 action/reaction and advantage/disadvantage
                 action/reaction and advantage/disadvantage is
                                                             is the
                                                                 the knowledge
                                                                     knowledgethat
                                                                               thatonce
                                                                                   onceaction
                                                                                        actionor
                                                                                               orthe
                                                                                                  therecognition
                                                                                                      recognition
                 of
                 of action occurs, situations
                    action occurs, situations can
                                              can move
                                                  move extremely
                                                       extremely fast,
                                                                  fast, almost
                                                                        almost occurring
                                                                               occurringin
                                                                                         inthe
                                                                                            theblink
                                                                                                blinkof
                                                                                                      ofan
                                                                                                         aneye.
                                                                                                            eye.

            g.
            g. Therefore,  research would
               Therefore, research  would indicate
                                           indicate that
                                                    that when
                                                         when the
                                                                the suspect/threat
                                                                    suspect/threatisisthe
                                                                                       theinitiator
                                                                                           initiatorof
                                                                                                     ofthe
                                                                                                        theaction,
                                                                                                            action,the
                                                                                                                     the
               officer will be
               officer will be unable
                               unable to
                                      to react
                                         react quicker
                                               quicker than
                                                       than the
                                                             the suspect.
                                                                 suspect. Subsequently,
                                                                          Subsequently,officers
                                                                                           officersare
                                                                                                     aretrained
                                                                                                         trainedtotouse
                                                                                                                     use
                 such
                 such things as available
                      things as available cover,
                                          cover, concealment,
                                                 concealment, and
                                                              and tactics
                                                                   tactics to
                                                                            to remove
                                                                                remove(or
                                                                                       (oratatleast
                                                                                               leastreduce)
                                                                                                     reduce)the
                                                                                                             the
                 advantage of the
                 advantage of the initiator
                                  initiator if
                                            if possible.
                                               possible. For
                                                         For example,
                                                             example, issuing
                                                                       issuing commands
                                                                               commandsthat
                                                                                        thatrequire
                                                                                             requirean
                                                                                                     anaction
                                                                                                        actionfrom
                                                                                                               from
                 the suspect
                 the suspect makes
                             makes the
                                   the officer
                                       officer the
                                                the initiator
                                                     initiator with
                                                               with the
                                                                     thesuspect
                                                                         suspectreacting,
                                                                                 reacting,potentially
                                                                                           potentiallygiving
                                                                                                       givingthe
                                                                                                              theofficer
                                                                                                                  officer
                 an
                 an advantage. In addition,
                    advantage. In addition, overwhelming
                                            overwhelming aa suspect
                                                            suspect by
                                                                    by sensory
                                                                       sensory stimuli,
                                                                                stimuli,aashow
                                                                                           showof
                                                                                                offorce,
                                                                                                   force,or
                                                                                                          or
                 sensory distraction can
                 sensory distraction can also
                                         also potentially
                                              potentially disrupt
                                                          disrupt the
                                                                   the suspect's
                                                                       suspect’sability
                                                                                 abilityor
                                                                                         orintent
                                                                                            intenttotoinitiate.
                                                                                                       initiate.

            h.
            h. However, research also
               However, research also tells
                                      tells us
                                            us that
                                               that once
                                                    once an
                                                         an officer
                                                            officer isis reacting
                                                                          reactingto
                                                                                   tothe
                                                                                      themovement
                                                                                         movementof
                                                                                                  ofaathreat
                                                                                                       threatoror
                 suspect
                 suspect that they will
                         that they will not
                                        not be
                                            be faster
                                               faster than
                                                      than the
                                                           the threat/suspect.
                                                               threat/suspect. To
                                                                               To stop
                                                                                   stopthe
                                                                                        thethreat,
                                                                                            threat,they
                                                                                                    theywould
                                                                                                        wouldneed
                                                                                                              needtoto
                 rely on shot
                 rely on shot placement,
                              placement, accuracy,
                                         accuracy, and
                                                   and use
                                                       use of
                                                           of cover
                                                              cover (which
                                                                     (whichcan
                                                                            canallow
                                                                                allowthem
                                                                                      themtotoreturn
                                                                                               returnfire
                                                                                                      fireeven
                                                                                                           evenifif
                 the initiator
                 the initiator got
                               got off
                                   off the
                                       the first
                                           first shot).
                                                 shot). As
                                                        As stated
                                                           stated by
                                                                  by Hontz
                                                                     Hontz over
                                                                           overtwenty
                                                                                twentyyears
                                                                                       yearsago
                                                                                             agoisisthe
                                                                                                     therealization
                                                                                                         realization
                 "that an
                 “that an officer could be
                          officer could be covering
                                           covering aa subject
                                                       subject in
                                                               in aa ready
                                                                     ready position,
                                                                           position, watching
                                                                                     watchingthe
                                                                                              thesubject's
                                                                                                  subject’shands,
                                                                                                            hands,and
                                                                                                                   and
                 the subject
                 the subject could
                             could draw
                                   draw his
                                        his weapon
                                            weapon and
                                                   and fire
                                                        fire aa round
                                                                 roundbefore
                                                                      beforethe
                                                                             theofficer
                                                                                 officercould
                                                                                         couldshoot
                                                                                               shoot(1999,
                                                                                                     (1999,p.p.
                 470).”
                 470)."

    2.  DecisionMaking:
    2. Decision  Making:Attention,
                         Attention,Perception,
                                    Perception,Choice,
                                                Choice,&&Implementation:
                                                          Implementation:

            a.  Theact
            a. The  actofofdeciding
                            decidingisissomething
                                         somethingwe
                                                   wedo
                                                      dohundreds
                                                         hundredsofoftimes
                                                                       timesevery
                                                                             everyday,
                                                                                   day,often
                                                                                        oftenwithout
                                                                                             withoutgiving
                                                                                                     givingitit
                 much conscious thought
                 much conscious thought or
                                        or reflection.
                                           reflection. Yet,
                                                       Yet, to
                                                             to decide
                                                                decide or
                                                                       or choose,
                                                                          choose,aaseries
                                                                                    seriesof
                                                                                           ofcomplex
                                                                                              complexprocesses
                                                                                                      processesare
                                                                                                                are
                 occurring. First, to
                 occurring. First, to comprehend
                                      comprehend what
                                                 what we
                                                      we will
                                                         will be
                                                              be deciding
                                                                 deciding about,
                                                                          about,we
                                                                                 wemust
                                                                                   mustfocus
                                                                                        focusour
                                                                                              ourattention
                                                                                                  attentionon
                                                                                                            on
                 the issue
                 the issue or
                           or situation.
                              situation. Then,
                                         Then, from
                                               from where
                                                    where our
                                                          our attention
                                                              attentionisisfocused
                                                                            focusedor
                                                                                    orattending
                                                                                       attendingto,
                                                                                                 to,we
                                                                                                    weconstruct
                                                                                                       constructoror
                 choose
                 choose aa perception.
                           perception. This
                                       This perception
                                            perception (or
                                                       (or in
                                                           in some
                                                              some cases
                                                                   cases multiple
                                                                         multipleperceptions)
                                                                                  perceptions)then
                                                                                               thendetermines
                                                                                                    determinesour
                                                                                                               our
                 choice
                 choice options;
                        options; the
                                 the decision. (Note: even
                                     decision.(Note:       the act
                                                      even the act of
                                                                   of what
                                                                      what we
                                                                           we attend
                                                                              attendto
                                                                                     toisisininofofitself
                                                                                                    itselfaadecision,
                                                                                                             decision,
                 whether conscious or
                 whether conscious or occurring
                                      occurring below
                                                below the
                                                      the level
                                                          level of
                                                                of conscious thought.) Finally,
                                                                   consciousthought.)  Finally, the choice or
                                                                                                the choice or
                 decision is then
                 decision is then acted
                                  acted on
                                        on or
                                           or implemented.
                                              implemented.

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            b. A simple
            b. A simple example
                        example can
                                can again
                                    again be
                                          be taken
                                              taken from
                                                     from driving
                                                          drivingaamotor
                                                                   motorvehicle.
                                                                         vehicle.Imagine
                                                                                  Imaginethe
                                                                                          thesame
                                                                                              samesituation
                                                                                                   situation
                 described earlier of
                 described earlier of the
                                      the following
                                          following aa car
                                                       car too
                                                           too closely
                                                               closely that
                                                                        that slams
                                                                              slamson
                                                                                   onits
                                                                                      itsbrakes.
                                                                                          brakes.IfIfyou
                                                                                                      youhappen
                                                                                                          happentotobe
                                                                                                                     be
                 looking elsewhere, perhaps
                 looking elsewhere, perhaps had
                                            had focused
                                                focused your
                                                        your attention
                                                             attention on
                                                                       on aa cellular
                                                                             cellulartext
                                                                                      textmessage,
                                                                                          message,or
                                                                                                   orsimply
                                                                                                      simplyhad
                                                                                                             had
                 been daydreaming, you
                 been daydreaming, you would
                                       would be
                                             be unable
                                                unable to
                                                        to perceive
                                                           perceive what
                                                                    whatwas
                                                                         washappening
                                                                             happeningquickly.
                                                                                       quickly.This
                                                                                                Thisisisininpart
                                                                                                             part
                 because you had
                 because you had not
                                 not been
                                     been attending
                                          attending to
                                                    to information
                                                        information (brake
                                                                     (brake lights
                                                                             lightsof
                                                                                    ofthe
                                                                                       thecar
                                                                                           carininfront
                                                                                                   frontof
                                                                                                         ofyou,
                                                                                                            you,ororhow
                                                                                                                     how
                 it
                 it was
                    was moving) that was
                        moving) that was significant.
                                         significant. Since
                                                      Since you
                                                            you did
                                                                did not
                                                                    not perceive
                                                                        perceivethat
                                                                                 thatthe
                                                                                      thecar
                                                                                          carwas
                                                                                             wasrapidly
                                                                                                 rapidlycoming
                                                                                                         coming
                 to aa halt,
                 to    halt, the
                             the choice
                                 choice to
                                        to also
                                           also step
                                                step down
                                                     down on
                                                          on your
                                                             your brakes
                                                                  brakeshard
                                                                         hardto
                                                                              toavoid
                                                                                 avoidaacollision
                                                                                         collisionnever
                                                                                                   neverentered
                                                                                                         enteredyour
                                                                                                                 your
                 mind. Attention and
                 mind. Attention and perception
                                     perception are
                                                are perpetually
                                                    perpetually intertwined
                                                                 intertwinedas
                                                                             asthe
                                                                                theprecursor
                                                                                    precursortotodecision-making
                                                                                                  decision-making
                 and choices.
                 and choices.

            c.
            c. Human attention is
               Human attention is aa scarce
                                     scarce and
                                            and limited
                                                limited resource,
                                                        resource, and
                                                                  and decision-makers
                                                                      decision-makersare
                                                                                      areselective
                                                                                          selective(either
                                                                                                    (eitheratataa
                 conscious level or
                 conscious level or below
                                    below the
                                          the level
                                              level of
                                                    of consciousness)
                                                       consciousness) to
                                                                       to the
                                                                           the cues
                                                                               cuesand
                                                                                    andstimuli
                                                                                        stimulithat
                                                                                                thatthey
                                                                                                     theyattend
                                                                                                          attendtotoasas
                 aa way
                    way of conserving this
                        of conserving this resource
                                           resource (Orquin
                                                    (Orquin et
                                                            et al.,
                                                               al., 2018).
                                                                    2018). Stated
                                                                           Statedanother
                                                                                  anotherway,
                                                                                         way,ititwould
                                                                                                 wouldbe
                                                                                                       be
                 expected, especially in
                 expected, especially in high-stress
                                         high-stress situations,
                                                     situations, that
                                                                  that those
                                                                        those involved
                                                                               involvedonly
                                                                                       onlyfocus
                                                                                            focustheir
                                                                                                  theirattention
                                                                                                        attentionon
                                                                                                                  onthe
                                                                                                                     the
                 most critical cues
                 most critical cues linked
                                    linked to
                                           to survival
                                              survival or
                                                       or successfully
                                                          successfully navigating
                                                                       navigatingaadangerous
                                                                                    dangeroussituation
                                                                                              situation(Lewinski,
                                                                                                        (Lewinski,
                 2008; Vickers &
                 2008; Vickers & Lewinski,
                                 Lewinski, 2012).
                                           2012).

            d.
            d. Attention takes time.
               Attention takes time. Research
                                     Research has
                                              has shown
                                                  shown that
                                                         that shifting
                                                              shifting attentional
                                                                       attentionalfocus
                                                                                   focuscompletely
                                                                                         completelyfrom
                                                                                                    fromone
                                                                                                         one
                 object
                 object to another can
                        to another can take
                                       take anywhere
                                            anywhere between
                                                     between .20
                                                              .20 and
                                                                  and .60
                                                                       .60 seconds
                                                                            seconds(Lewinski
                                                                                    (Lewinskietetal.,
                                                                                                  al.,2014).
                                                                                                       2014).As
                                                                                                             As
                 shown prior, aa lethal
                 shown prior,    lethal threat
                                        threat can
                                               can aim
                                                   aim and
                                                       and fire
                                                           fire aa weapon
                                                                   weapon from
                                                                           from aa concealed
                                                                                   concealedposition
                                                                                             positioninin
                 approximately the same
                 approximately the same time.
                                        time. This
                                              This means
                                                   means that
                                                          that an
                                                               an officer
                                                                  officer must
                                                                          mustmaintain
                                                                               maintainaasingular
                                                                                          singularattentional
                                                                                                   attentional
                 focus
                 focus on specific cues
                       on specific cues when
                                        when involved
                                             involved in
                                                      in aa high-stress
                                                            high-stress or
                                                                        or survival-type
                                                                            survival-typesituation.
                                                                                          situation.

            e.
            e. We
               We will often focus
                  will often focus our
                                   our available
                                       available attention
                                                 attention on
                                                           on seeking
                                                              seeking information
                                                                       informationthat
                                                                                   thatallows
                                                                                        allowsus
                                                                                               ustotorecognize
                                                                                                      recognizeaa
                 significant pattern. Multiple
                 significant pattern. Multiple studies
                                               studies suggest
                                                       suggest that
                                                                that time
                                                                      time pressure
                                                                           pressure and
                                                                                    andhigh
                                                                                        highstress
                                                                                             stresswill
                                                                                                   willcause
                                                                                                        causepeople
                                                                                                              people
                 to be
                 to be more
                       more selective
                            selective in
                                      in the
                                         the information
                                             information they
                                                          they seek
                                                                seek and
                                                                     andtheir
                                                                         theirfocus
                                                                               focusof
                                                                                     ofattention
                                                                                        attention(Oh
                                                                                                  (Ohetetal.,
                                                                                                          al.,2016).
                                                                                                               2016).InIn
                 the same
                 the same study,
                          study, itit was
                                      was also
                                          also shown
                                               shown that
                                                      that one
                                                           one becomes
                                                               becomesmore
                                                                       moreselective,
                                                                            selective,but
                                                                                       butthey
                                                                                           theywill
                                                                                               willalso
                                                                                                    alsobegin
                                                                                                         begintoto
                 discount and ignore
                 discount and ignore information
                                     information that
                                                 that has
                                                      has less
                                                          less relevance
                                                               relevance and
                                                                         and less
                                                                              lessimportance
                                                                                   importancein
                                                                                              insolving
                                                                                                 solvingthe
                                                                                                         thetask
                                                                                                             taskatat
                 hand.
                 hand.

            f.
            f.   There are many
                 There are many instances
                                instances (to
                                          (to include
                                              include critical
                                                      critical stress
                                                               stress situations)
                                                                       situations)where
                                                                                  wherethe
                                                                                        thedeliberative
                                                                                            deliberativeprocess
                                                                                                         processisis
                 not the primary
                 not the primary decision
                                 decision process
                                          process (de
                                                  (de Vries
                                                      Vries et
                                                            et al.,
                                                               al., 2010;
                                                                    2010; Kibele,
                                                                          Kibele,2006;
                                                                                  2006;Vickers,
                                                                                       Vickers,2007).
                                                                                                2007).For
                                                                                                       For
                 example, research indicates
                 example, research indicates that
                                             that during
                                                  during high
                                                         high pressure,
                                                              pressure, time-constrained,
                                                                         time-constrained,and
                                                                                           andsurvival
                                                                                               survivaltype
                                                                                                        type
                 scenarios, those making
                 scenarios, those making decisions
                                         decisions (such
                                                   (such as
                                                         as police
                                                            police officers)
                                                                   officers) often
                                                                             oftenrely
                                                                                   relyon
                                                                                        ontheir
                                                                                           theircognitive
                                                                                                 cognitive
                 blueprints or schema
                 blueprints or schema (similarly
                                      (similarly referred
                                                 referred to
                                                           to sometimes
                                                              sometimes as
                                                                        asheuristics
                                                                           heuristicsor
                                                                                      oras
                                                                                         asintuition
                                                                                            intuitionininthe
                                                                                                          thecontext
                                                                                                              context
                 of
                 of naturalistic decision-making).
                    naturalistic decision-making).




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            g.
            g. These blueprints or
               These blueprints or schema
                                   schema are
                                          are constructed
                                              constructed from
                                                          from our
                                                               our prior
                                                                   prior experiences
                                                                         experiencesand
                                                                                     andtraining.
                                                                                         training.This
                                                                                                   This
                   intuitive/heuristic type of
                   intuitive/heuristic type of decision-making
                                               decision-making will
                                                               will often
                                                                    often be
                                                                          be the
                                                                              the default
                                                                                  defaultdecision
                                                                                          decisionprocess
                                                                                                   processwhen
                                                                                                          when
                   encountering high stress
                   encountering high stress or
                                            or time-compressed
                                               time-compressed situations
                                                               situations (Hine
                                                                           (Hine et
                                                                                 etal.,
                                                                                    al.,2018;
                                                                                        2018;Klein,
                                                                                              Klein,2015;
                                                                                                     2015;Klein
                                                                                                          Kleinetet
                   al., 2010).
                   al., 2010).

            h.
            h. Pattern recognition is
               Pattern recognition is aa critical
                                         critical component
                                                  component of
                                                            of decision-making
                                                               decision-making(Kibele,
                                                                               (Kibele,2006).
                                                                                        2006).Police
                                                                                               Policeofficers
                                                                                                      officers
                   seek
                   seek out patterns of
                        out patterns of information
                                        information related
                                                    related to
                                                            to aa blueprint
                                                                  blueprint or
                                                                            or meaningful
                                                                               meaningfulschema
                                                                                          schemaoften
                                                                                                 oftenconstructed
                                                                                                       constructed
                   from
                   from training and experience.
                        training and experience. Experts
                                                 Experts recognize
                                                         recognize patterns
                                                                   patterns or
                                                                            or schema
                                                                                schemafrom
                                                                                       frommemory
                                                                                           memoryand
                                                                                                  andthen
                                                                                                      thenuse
                                                                                                           use
                   quick
                   quick mental simulation or
                         mental simulation or modeling
                                              modeling to
                                                       to select
                                                          select the
                                                                  the first
                                                                      first choice
                                                                            choice they
                                                                                    theyperceive
                                                                                        perceiveas
                                                                                                 asadequate
                                                                                                    adequate(Hine
                                                                                                             (Hineetet
                   al.,
                   al., 2018; Klein et
                        2018; Klein et al.,
                                       al., 1997).
                                            1997). This
                                                   This concept
                                                        concept is
                                                                 is often
                                                                    often referred
                                                                           referred to
                                                                                     toas
                                                                                       assatisficing
                                                                                          satisficingand
                                                                                                      andisiswell
                                                                                                             well
                   documented and researched
                   documented and researched in
                                             in the
                                                the areas
                                                    areas of
                                                          of decision-making
                                                             decision-making (Hine
                                                                              (Hineetetal.,
                                                                                        al.,2018;
                                                                                             2018;Oh
                                                                                                  Ohetetal.,
                                                                                                         al.,2016;
                                                                                                              2016;
                   Simon,
                   Simon, 1956; Stüttgen et
                          1956; Stuttgen et al.,
                                            al., 2012)
                                                 2012) and
                                                       and heuristics
                                                           heuristics (Bendor
                                                                       (Bendor et
                                                                               et al.,
                                                                                   al.,2009;
                                                                                       2009;Gigerenzer
                                                                                             Gigerenzer&&Brighton,
                                                                                                         Brighton,
                   2009; Gigerenzer &
                   2009; Gigerenzer & Gaissmaier,
                                      Gaissmaier, 2011;
                                                  2011; Hafenbradl
                                                        Hafenbrädletetal.,
                                                                       al.,2016;
                                                                            2016;Simon,
                                                                                  Simon,1956).
                                                                                         1956).

            i.i.   Heuristics can be
                   Heuristics can be thought
                                     thought of
                                             of as
                                                as mental
                                                   mental shortcuts
                                                          shortcuts for
                                                                     for decision-making.
                                                                         decision-making.In
                                                                                          Infact,
                                                                                             fact,ininthe
                                                                                                       theresearch
                                                                                                           research
                   literature, heuristics are
                   literature, heuristics are viewed
                                              viewed by
                                                     by some
                                                        some as
                                                             as general
                                                                general rules
                                                                         rules of
                                                                               of thumb
                                                                                   thumb(Hafenbradl
                                                                                         (Hafenbrädletetal.,
                                                                                                         al.,2016).
                                                                                                              2016).
                   They are aa simple
                   They are    simple tool
                                      tool or
                                           or strategy
                                              strategy that
                                                       that can
                                                            can allow
                                                                allow the
                                                                       the decision-maker
                                                                           decision-makerto
                                                                                          tofunction
                                                                                             functionquickly
                                                                                                      quicklyand
                                                                                                              and
                   efficiently without conscious
                   efficiently without conscious deliberation.
                                                 deliberation. Using
                                                               Using the
                                                                      the driving
                                                                          drivingexample
                                                                                  examplethroughout
                                                                                          throughoutthis
                                                                                                     thisanalysis
                                                                                                          analysis
                   (following too closely),
                   (following too closely), aa general
                                               general rule
                                                       rule of
                                                            of thumb-heuristic
                                                               thumb-heuristic often
                                                                               often taught
                                                                                      taughtisisalways
                                                                                                 alwaystotoleave
                                                                                                            leaveyourself
                                                                                                                  yourself
                   enough
                   enough room to stop.
                          room to stop. The
                                        The driver
                                            driver does
                                                   does not
                                                        not constantly
                                                            constantly calculate
                                                                       calculate each
                                                                                 eachstopping
                                                                                      stoppingdistance;
                                                                                               distance;instead,
                                                                                                         instead,
                   through experience,
                   through experience, training,
                                       training, and
                                                 and blueprints
                                                     blueprints (schema),
                                                                 (schema),they
                                                                           theyconstantly
                                                                                constantlyadjust
                                                                                           adjusttheir
                                                                                                  theirfollowing
                                                                                                        following
                   distance (at an
                   distance (at an almost
                                   almost intuitive
                                          intuitive unconscious
                                                    unconscious level)
                                                                 level) to
                                                                         to have
                                                                            have enough
                                                                                 enoughroom
                                                                                        roomto
                                                                                             tostop
                                                                                                stopsafely.
                                                                                                     safely.

            j.     In
                   In lethal force encounters,
                      lethal force encounters, the
                                               the officer
                                                   officer seeks
                                                           seeks critical
                                                                 critical information
                                                                           informationrelated
                                                                                       relatedto
                                                                                               tomovement,
                                                                                                 movement,weapons,
                                                                                                           weapons,
                   indicators of intent,
                   indicators of intent, and
                                         and similar
                                             similar that,
                                                     that, when
                                                           when aggregated,
                                                                aggregated, allows
                                                                            allows them
                                                                                    themto
                                                                                         torecognize
                                                                                            recognizethat
                                                                                                      thatthey
                                                                                                           theyare
                                                                                                                are
                   about
                   about to be shot.
                         to be shot. Once
                                     Once this
                                          this recognition
                                               recognition occurs,
                                                           occurs, the
                                                                    the response
                                                                         response (arguably
                                                                                   (arguablysimilar
                                                                                             similartotoaafast
                                                                                                           fastand
                                                                                                                andfrugal
                                                                                                                    frugal
                   heuristic (Hafenbrädl et
                   heuristic (Hafenbradl et al.,
                                            al., 2016))
                                                 2016)) isis almost
                                                             almost instantaneous.
                                                                     instantaneous.

            k.  Again,ananexample
            k. Again,      exampleofofthis
                                        thisisisdriving
                                                 drivingaavehicle.
                                                           vehicle.Building
                                                                    Buildingupon
                                                                             uponthe
                                                                                  thefollowing
                                                                                      followingtoo
                                                                                                tooclosely
                                                                                                    closelyscenario...
                                                                                                            scenario…
                   You hear your
                   You hear your favorite
                                 favorite song
                                          song and,
                                               and, without
                                                    without thinking,
                                                             thinking, look
                                                                        lookdown
                                                                            down(for
                                                                                 (foronly
                                                                                      onlyaamoment)
                                                                                            moment)totoadjust
                                                                                                        adjustyour
                                                                                                               your
                   phone/radio. Your
                   phone/radio. Your primary
                                     primary vision
                                             vision and
                                                    and attention
                                                        attention have
                                                                  havebriefly
                                                                       brieflyshifted
                                                                               shiftedfocus.
                                                                                       focus.Then
                                                                                              Thenyour
                                                                                                   yourperipheral
                                                                                                        peripheral
                   vision detects the
                   vision detects the change
                                      change in
                                             in movement
                                                movement from
                                                         from the
                                                               the car
                                                                   car in
                                                                        in front
                                                                            frontof
                                                                                 ofyou
                                                                                    youas
                                                                                        asititwas
                                                                                              wascoming
                                                                                                  comingtotoan
                                                                                                             an
                   immediate stop. You
                   immediate stop. You drop
                                       drop the
                                            the phone
                                                phone (it's
                                                      (it’s no
                                                            nolonger
                                                               longerimportant).
                                                                      important).Then,
                                                                                 Then,without
                                                                                       withoutthinking,
                                                                                               thinking,you
                                                                                                         you
                   begin to apply
                   begin to apply the
                                  the brake
                                      brake as
                                            as you
                                               you intently
                                                   intently focus
                                                            focus on
                                                                  on the
                                                                      the information
                                                                           informationcritical
                                                                                       criticaltotothe
                                                                                                    theoutcome,
                                                                                                        outcome,the
                                                                                                                 the
                   distance between the
                   distance between the front
                                        front of
                                              of your
                                                 your vehicle
                                                      vehicle and
                                                              and their
                                                                   their rear
                                                                          rear bumper,
                                                                               bumper,and
                                                                                       andthe
                                                                                           thespeed
                                                                                               speedby
                                                                                                     bywhich
                                                                                                       whichititisis
                   decreasing.
                   decreasing.




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            l.1. InInthis
                       thisexample,
                            example,ititisisdoubtful
                                             doubtfulthere
                                                      therewas
                                                            wasany
                                                                anyconscious
                                                                    consciousdeliberation
                                                                              deliberationabout
                                                                                           aboutwhat
                                                                                                whatyou
                                                                                                     youneeded
                                                                                                        needed to
                                                                                                                to do
                                                                                                                   do
                to navigate your
                to navigate your way
                                 way through
                                     through this;
                                             this; you
                                                   you simply
                                                       simply acted
                                                              acted using
                                                                    usingaaknown
                                                                           knownpattern
                                                                                 patternthat
                                                                                         thatwas
                                                                                             wassuccessful
                                                                                                 successfulinin
                the past (the
                the past (the heuristic
                              heuristic that
                                        that involved
                                             involved braking,
                                                      braking, steering,
                                                               steering, and
                                                                         andfocusing
                                                                             focusingyour
                                                                                      yourattention).
                                                                                           attention).

            m. Muchininthe
            m. Much     thesame
                            sameway,
                                way,police
                                     policeofficers
                                            officersare
                                                     aretrained
                                                         trainedtotonotice
                                                                     noticethe
                                                                            themost
                                                                               mostimportant
                                                                                    importantcues
                                                                                              cuesduring
                                                                                                   duringaa
                potential life-and-death situation,
                potential life-and-death situation, to
                                                    to recognize
                                                       recognize and
                                                                 and seek
                                                                     seek that
                                                                           that information
                                                                                 informationthat
                                                                                             thatisismost
                                                                                                     mostcritical
                                                                                                          criticaltoto
                their survival and
                their survival and successfully
                                   successfully navigating
                                                navigating the
                                                            the situation.
                                                                situation.For
                                                                           Forexample,
                                                                               example,aacommon
                                                                                          commonrule
                                                                                                 ruleofofthumb
                                                                                                          thumboror
                heuristic for police
                heuristic for police officers
                                     officers is
                                              is to
                                                 to control
                                                    control the
                                                            the hands.
                                                                hands. This
                                                                       This can
                                                                            can either
                                                                                eitherbe
                                                                                       bedone
                                                                                          doneby
                                                                                               byseeing
                                                                                                  seeingthat
                                                                                                         thatthe
                                                                                                              the
                hands
                hands contain no objects
                      contain no objects that
                                         that can
                                              can harm
                                                  harm the
                                                       the police
                                                           police officer
                                                                  officer or
                                                                          or physically
                                                                             physicallycontrol
                                                                                        controlthe
                                                                                                thehands
                                                                                                    handsusing
                                                                                                          using
                physical control techniques
                physical control techniques or
                                            or restraints.
                                               restraints. At
                                                           At the
                                                               the most
                                                                   most basic
                                                                        basiclevel,
                                                                              level,this
                                                                                     thisisisbecause
                                                                                              becausehands
                                                                                                      hands(and
                                                                                                            (andthe
                                                                                                                 the
                things they control)
                things they control) can
                                     can kill
                                         kill you.
                                              you. A
                                                   A second
                                                     second common
                                                            common rule
                                                                    rule of
                                                                         ofthumb/heuristic
                                                                            thumb/heuristicisisthat
                                                                                                thatguns,
                                                                                                     guns,knives,
                                                                                                           knives,
                and
                and things that can
                    things that can hurt
                                    hurt you
                                         you are
                                             are often
                                                 often kept
                                                       kept in
                                                            in the
                                                               the waistband
                                                                   waistband and
                                                                             and the
                                                                                  thepockets
                                                                                     pockets(when
                                                                                             (whendealing
                                                                                                   dealingwith
                                                                                                          withaa
                person) or in
                person) or in consoles
                              consoles and
                                       and under
                                           under the
                                                 the seat
                                                     seat (within
                                                          (within arms
                                                                  arms reach
                                                                        reachyet
                                                                             yethidden)
                                                                                 hidden)when
                                                                                        whendealing
                                                                                             dealingwith
                                                                                                    withaa
                person in aa vehicle.
                person in    vehicle. Subsequently,
                                      Subsequently, police
                                                    police officers
                                                           officers are
                                                                    are trained
                                                                         trainedto
                                                                                 tokeep
                                                                                   keepaasuspect's
                                                                                          suspect'shands
                                                                                                    handsaway
                                                                                                          awayfrom
                                                                                                               from
                the waistband, consoles,
                the waistband, consoles, glove
                                         glove boxes
                                               boxes and
                                                     and moving
                                                         moving to
                                                                 to areas
                                                                    areaswhere
                                                                          whereaaweapon
                                                                                 weaponcould
                                                                                        couldbe
                                                                                              behidden
                                                                                                 hiddenininaa
                vehicle (such as
                vehicle (such as under
                                 under the
                                        the seat).
                                             seat).

    3.  InvestigationObservations:
    3. Investigation  Observations:

            a.   Initialinterviews
            a. Initial    interviewsofofthe
                                          theinvolved
                                               involvedofficers
                                                        officerswere
                                                                 weretaken
                                                                      takenapproximately
                                                                            approximately15
                                                                                          15hours
                                                                                             hoursafter
                                                                                                   afterthe
                                                                                                         thebeginning
                                                                                                             beginning
                of
                of their
                   their shift and with
                         shift and with no
                                        no sleep.
                                           sleep. Research
                                                  Research shows
                                                           shows that
                                                                  that sleep
                                                                       sleep cycles
                                                                             cycleshelp
                                                                                    helpconsolidate
                                                                                         consolidatememory
                                                                                                    memory
                (Honig
                (Honig & Lewinski, 2008;
                       & Lewinski, 2008; International
                                         International Association
                                                       Association of
                                                                   of Chiefs
                                                                      Chiefs of
                                                                             ofPolice,
                                                                                Police,2016;
                                                                                       2016;Remsberg,
                                                                                             Remsberg,2014),
                                                                                                       2014),
                as
                as does
                   does recovery time to
                        recovery time to purge
                                         purge the
                                               the residuals
                                                   residuals of
                                                             of high-stress
                                                                high-stress events
                                                                            eventssuch
                                                                                   suchas
                                                                                        asadrenaline
                                                                                           adrenalineand
                                                                                                      andsimilar
                                                                                                          similar
                compounds. Thus, if
                compounds. Thus, if the
                                    the affected
                                        affected officers
                                                 officers were
                                                          were still
                                                               still consolidating
                                                                     consolidatingmemory
                                                                                   memoryduring
                                                                                          duringthe
                                                                                                 thefirst
                                                                                                     first
                interview, several possible
                interview, several possible things
                                            things may
                                                   may have
                                                       have occurred.
                                                            occurred.

                    1)
                    1) First, the initial
                       First, the initial interview
                                          interview would
                                                    would most
                                                          most likely
                                                                likely be
                                                                       be inconsistent
                                                                           inconsistentwith
                                                                                       withsubsequent
                                                                                            subsequentinterviews
                                                                                                       interviews
                        since
                        since memory consolidation continued
                              memory consolidation continued to
                                                             to occur
                                                                occur after
                                                                      after the
                                                                             the first
                                                                                  first interview.
                                                                                         interview.

                    2)
                    2) Second,
                       Second, aspects of the
                               aspects of the first
                                              first interview,
                                                    interview, such
                                                               such as
                                                                    as leading
                                                                       leading questions
                                                                               questions or
                                                                                         or interpretations
                                                                                             interpretationsby
                                                                                                             bythe
                                                                                                                the
                        investigator, video utilized
                        investigator, video utilized as
                                                     as aa recall
                                                           recall mechanism,
                                                                  mechanism, could
                                                                             could have
                                                                                   have modified
                                                                                        modifiedthe
                                                                                                 theinvolved
                                                                                                     involved
                        officers’ memory.
                        officers' memory.

                    3)
                    3) This potential effect
                       This potential effect is
                                             is considered
                                                considered during
                                                           during my
                                                                  my analysis.
                                                                     analysis.

            b.  Thevideo
            b. The  videofiles
                           filesare
                                 arenot
                                     nottime-synched
                                          time-synchedororanchored.
                                                           anchored.When
                                                                    Whenusing
                                                                         usingvideo,
                                                                               video,standard
                                                                                      standardpractice
                                                                                               practiceisisto
                                                                                                            tosync
                                                                                                               sync
                the videos
                the videos from
                           from aa common
                                   common known
                                          known point
                                                point in
                                                       in time.
                                                           time.One
                                                                Onethen
                                                                    thenadjusts
                                                                         adjustsfor
                                                                                 forsuch
                                                                                     suchthings
                                                                                          thingsasasframe
                                                                                                     framerates
                                                                                                           rates
                or
                or storage algorithms. Timestamps
                   storage algorithms. Timestamps on
                                                  on the
                                                     the body-worn
                                                         body-worn camera
                                                                   camera videos
                                                                          videosdiffer
                                                                                 differsignificantly
                                                                                        significantly(in
                                                                                                      (insome
                                                                                                          some
                cases
                cases over 10 seconds),
                      over 10 seconds), as
                                        as do
                                           do the
                                              the timestamps
                                                  timestamps on
                                                             on the
                                                                 the witness
                                                                     witnesssecurity
                                                                             securityfootage.
                                                                                      footage.Because
                                                                                              Becauseofofthis,
                                                                                                          this,II



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                 have
                 have chosen to use
                      chosen to use the
                                    the clearest
                                        clearest video
                                                 video and
                                                       and its
                                                            its subsequent
                                                                subsequent timestamps.
                                                                            timestamps. 77 The
                                                                                           The times
                                                                                               times mentioned
                                                                                                     mentioned are
                                                                                                               are
                 not considered aa true
                 not considered    true representation
                                        representation of
                                                       of the
                                                           the time
                                                                time of
                                                                     of day
                                                                        day or
                                                                            oroccurrence
                                                                               occurrencewithin
                                                                                         withinthe
                                                                                                theevent.
                                                                                                    event.

 Incident
 Incident described:
          described:
     1.
     1. The incident that
        The incident that culminated
                          culminated in
                                     in the
                                        the use
                                            use of
                                                of lethal
                                                    lethal force
                                                            force by
                                                                  bySgt.
                                                                     Sgt.Pina
                                                                         Pinaisisdescribed
                                                                                  describedas
                                                                                            asfollows.
                                                                                               follows.This
                                                                                                        This
         description is an
         description is an aggregate
                           aggregate from
                                     from the
                                          the evidence
                                              evidence provided
                                                       provided and
                                                                and focuses
                                                                     focuseson
                                                                             onsignificant
                                                                                significantinformation
                                                                                            informationused
                                                                                                        usedtoto
         understand and analyze
         understand and analyze Sgt.
                                Sgt. Pina's
                                     Pina’s use
                                            useof
                                                offorce.
                                                   force.

     2.
     2. Lead up to
        Lead up to the
                   the event
                       event 88::

             a.
             a. On
                On September 12, 2017,
                   September 12, 2017, members
                                       members of
                                               of the
                                                  the Regional
                                                      Regional Auto
                                                               Auto Theft
                                                                    Theft Task
                                                                          TaskForce
                                                                               Force(RATTF)
                                                                                     (RATTF)conducted
                                                                                             conducted
                 surveillance on Andrew
                 surveillance on Andrew Anchondo
                                        Anchondo as
                                                 as he
                                                    he was
                                                       was driving
                                                           driving aa stolen
                                                                      stolen Mercedes.
                                                                             Mercedes.The
                                                                                       Theteam
                                                                                           teamobserved
                                                                                                observedthe
                                                                                                         the
                 stolen
                 stolen Mercedes pull into
                        Mercedes pull into the
                                           the Arco
                                               Arco gas
                                                    gas station
                                                        station at
                                                                at 2357
                                                                   2357 Quimby
                                                                        Quimby Road
                                                                               Roadin
                                                                                    inSan
                                                                                      SanJose.
                                                                                          Jose.Andrew
                                                                                               Andrew
                 Anchondo was the
                 Anchondo was the driver,
                                  driver, Patricia
                                          Patricia Ruiz
                                                   Ruiz was
                                                        was the
                                                             the front
                                                                  front passenger,
                                                                        passenger,and
                                                                                   andJacob
                                                                                       JacobDominguez
                                                                                            Dominquezwas
                                                                                                      wasthe
                                                                                                          the
                 rear seat passenger.
                 rear seat passenger.

             b.
             b. Upon
                Upon arriving at the
                     arriving at the Arco,
                                     Arco, Dominguez
                                           Dominguez exited
                                                     exited the
                                                             the vehicle,
                                                                 vehicle, entered
                                                                          enteredthe
                                                                                  thestation's
                                                                                      station’sconvenience
                                                                                                conveniencestore,
                                                                                                            store,
                 paid
                 paid for gas, and
                      for gas, and bought
                                   bought some
                                          some water.
                                               water. Dominguez
                                                      Dominguez then
                                                                 then returned
                                                                       returnedto
                                                                                tothe
                                                                                   theMercedes,
                                                                                      Mercedes,after
                                                                                                afterwhich
                                                                                                     which
                 Anchondo masked himself
                 Anchondo masked himself up
                                         up with
                                            with aa bandana,
                                                    bandana, entered
                                                             enteredthe
                                                                     thestore,
                                                                         store,and
                                                                                androbbed
                                                                                    robbedthree
                                                                                           threeemployees
                                                                                                 employeesatat
                 gunpoint (described as
                 gunpoint (described as aa black
                                           black handgun)
                                                 handgun) of
                                                          of approximately
                                                             approximately $350
                                                                           $350in
                                                                                incash.
                                                                                   cash.

             c.
             c. Once
                Once RATTF learned an
                     RATTF learned an armed
                                      armed robbery
                                            robbery occurred
                                                    occurred inside
                                                              inside the
                                                                      the Arco
                                                                          Arcostation,
                                                                               station,the
                                                                                        theSan
                                                                                            SanJose
                                                                                                JosePolice
                                                                                                     Police
                 Department’s (SJPD) Covert
                 Department's (SJPD) Covert Response
                                            Response Unit
                                                     Unit(CRU)
                                                          (CRU)took
                                                                tookover
                                                                     oversurveillance
                                                                          surveillanceand
                                                                                       andapprehension
                                                                                           apprehensionofof
                 the vehicle’s occupants
                 the vehicle's occupants due
                                         due to
                                              to the
                                                  the nature
                                                      natureof
                                                             ofthe
                                                                thecrime
                                                                    crimeand
                                                                          andAnchondo
                                                                             Anchondobeing
                                                                                      beingaasuspect
                                                                                              suspectininaagang-
                                                                                                            gang-
                 related shooting that
                 related shooting that occurred
                                       occurred the
                                                the week
                                                    week before.
                                                         before. Surveillance
                                                                 Surveillance was
                                                                              wasultimately
                                                                                  ultimatelylost,
                                                                                             lost,and
                                                                                                   andthe
                                                                                                       the
                 operation was terminated
                 operation was terminated for
                                          for the
                                               the day.
                                                   day.

             d.
             d. On
                On Wednesday, September 13,
                   Wednesday, September 13, 2017,
                                            2017, the
                                                  the Santa
                                                      Santa Clara
                                                            Clara County
                                                                  County Probation
                                                                         ProbationDepartment
                                                                                   Departmentnotified
                                                                                              notified
                 SJPD
                 SJPD that
                      that Anchondo, Ruiz, and
                           Anchondo, Ruiz, and Sheila
                                               Sheila Franco,
                                                      Franco, the
                                                              the girlfriend
                                                                  girlfriend of
                                                                             of Jacob
                                                                                Jacob Dominguez,
                                                                                      Dominguez,were
                                                                                                 wereatat17641
                                                                                                          17641
                 CalleMazatlan, Morgan Hill.
                 CalleMazatlan, Morgan Hill. Members
                                             Members of
                                                     of CRU
                                                        CRU set
                                                            set up
                                                                up surveillance
                                                                   surveillanceatatthat
                                                                                    thatlocation
                                                                                         locationatataround
                                                                                                      around
                 noon
                 noon that day. The
                      that day. The three
                                    three people
                                          people were
                                                 were seen
                                                      seen entering
                                                           entering aa Chevy
                                                                       ChevyMalibu,
                                                                             Malibu,which
                                                                                    whichCRU
                                                                                          CRUstopped
                                                                                              stoppedusing
                                                                                                      using
                 the Vehicle Control
                 the Vehicle Control Tactic,
                                     Tactic, or
                                             or "VCT,"
                                                “VCT,” aa method
                                                          method used
                                                                 usedby
                                                                      bylaw
                                                                         lawenforcement
                                                                             enforcementtotoapprehend
                                                                                             apprehendaasuspect
                                                                                                         suspect
                 during
                 during aa vehicle
                           vehicle pursuit.
                                   pursuit.

                      a.
                      a. IfIfexecuted
                              executedcorrectly,
                                       correctly,the
                                                   thesuspect
                                                       suspectvehicle
                                                               vehiclehas
                                                                       hasno
                                                                           noroom
                                                                              roomtotomaneuver
                                                                                       maneuverforward
                                                                                                forwardororbackward,
                                                                                                            backward,


 7
 7SJ1766,
   SJ1766, BWC
           BWCfootage
                footage from Ofc. Ferguson
                        from Ofc. Ferguson
 8
  CountyofofSanta
 'County     SantaClara
                  Clara "Report
                         “Report on
                                 onthe
                                    thefatal
                                        fatalshooting
                                              shootingofofJacob
                                                           JacobDominguez
                                                                DominguezSeptember
                                                                          September 15,
                                                                                    15, 2017"
                                                                                        2017”dated
                                                                                              datedMarch
                                                                                                   March8,8,2019
                                                                                                             2019




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                          making it impossible
                          making it impossible to
                                               to drive
                                                  drive off.
                                                        off.

             e.
             e. CRU
                CRU took
                    took Anchondo and Ruiz
                         Anchondo and Ruiz into
                                           into custody
                                                custody and
                                                        and released
                                                            released Franco
                                                                     Franco after
                                                                            afterbeing
                                                                                  beingdetained.
                                                                                        detained.However,
                                                                                                 However,
                  the firearm used
                  the firearm used in
                                   in the
                                      the Arco
                                          Arco robbery
                                               robbery was
                                                       was not
                                                           not recovered.
                                                                recovered.

             f.
             f.   Late
                  Late Friday morning on
                       Friday morning on September
                                         September 15,
                                                   15, 2017,
                                                       2017, CRU
                                                             CRU Officer
                                                                 Officer Peter
                                                                         PeterSzemeredi
                                                                               Szemerediconducted
                                                                                         conductedaabriefing
                                                                                                     briefing
                  to advise other
                  to advise other CRU
                                  CRU members
                                      members of
                                              of the
                                                 the Operational
                                                     Operational Plan
                                                                 Plan("OP
                                                                      (“OPPlan")
                                                                          Plan”)totoapprehend
                                                                                     apprehendDominguez
                                                                                              Dominguezon
                                                                                                        on
                  an
                  an arrest
                     arrest warrant for the
                            warrant for the Arco
                                            Arco station
                                                 station armed
                                                         armed robbery.
                                                               robbery. Officer
                                                                        Officer Michael
                                                                                MichaelPina
                                                                                        Pinawas
                                                                                            waspresent.
                                                                                                present.

             g.
             g. CRU
                CRU personnel were advised
                    personnel were advised in
                                           in the
                                              the OP
                                                  OP Plan
                                                     Plan of
                                                          of specific
                                                             specific safety
                                                                      safety concerns
                                                                             concernsin
                                                                                      inthat
                                                                                         thatDominguez
                                                                                             Dominguezisisan
                                                                                                           an
                  active
                  active SJG
                         SJG [San Jose Grande]
                             [San Jose Grande] gang
                                               gang member
                                                    member and
                                                           and believed
                                                               believed to
                                                                         to be
                                                                            be armed
                                                                               armedwith
                                                                                     withaarevolver.
                                                                                            revolver.The
                                                                                                      The
                  handgun used in
                  handgun used in the
                                  the Arco
                                      Arco robbery
                                           robbery is
                                                   is currently
                                                      currently outstanding.
                                                                outstanding. Dominguez
                                                                             Dominguezisisaware
                                                                                           awarehe
                                                                                                 heisiswanted,
                                                                                                       wanted,
                  and
                  and it
                      it is
                         is believed that he
                            believed that he is
                                             is aware
                                                aware of
                                                      of surveillance
                                                         surveillance tactics
                                                                       tactics and
                                                                               and may
                                                                                   maybe
                                                                                       befamiliar
                                                                                          familiarwith
                                                                                                  withCRU
                                                                                                       CRU
                  Cars/personnel.
                  Cars/personnel. 910
                                  910

             h.
             h. Dominguez was eventually
                Dominguez was eventually located
                                         located driving
                                                 driving the
                                                          the black
                                                              black Kia
                                                                    Kia near
                                                                        nearBrokaw
                                                                             BrokawRoad
                                                                                   Roadand
                                                                                        andJunction
                                                                                            Junction
                  Avenue, where
                  Avenue, where CRU
                                CRU reinitiated
                                    reinitiated surveillance.
                                                surveillance. During
                                                              Duringthe
                                                                     thesurveillance,
                                                                         surveillance,Dominguez
                                                                                      Dominguezengaged
                                                                                                engagedinin
                  counter-surveillance tactics such
                  counter-surveillance tactics such as
                                                    as driving
                                                       driving on
                                                               on the
                                                                   the shoulder,
                                                                       shoulder, passing
                                                                                 passingvehicles,
                                                                                         vehicles,stopping
                                                                                                   stoppingininthe
                                                                                                                the
                  middle of the
                  middle of the street
                                street and
                                       and making
                                           making illegal
                                                  illegal U-turns.
                                                          U-turns. Consequently,
                                                                   Consequently,CRU
                                                                                 CRUdecided
                                                                                     decidedtotofollow
                                                                                                 followatataa
                  distance and rely
                  distance and rely on
                                    on aerial
                                       aerial surveillance
                                              surveillance to
                                                           to let
                                                               let Dominguez
                                                                   Dominguez "cool down.” 11
                                                                              “cooldown." 11

             i.   Before 7:00 p.m.,
                  Before 7:00 p.m., aerial
                                    aerial surveillance
                                           surveillance announced
                                                        announced that
                                                                   that Dominguez
                                                                        Dominguezstarted
                                                                                  starteddriving
                                                                                          drivingnormally
                                                                                                  normallyand
                                                                                                           and
                  turned eastbound on
                  turned eastbound on Penitencia
                                      Penitencia Creek
                                                 Creek from
                                                       from northbound
                                                            northbound Capitol
                                                                       CapitolExpressway.
                                                                               Expressway.Officer
                                                                                          OfficerFonseca
                                                                                                  Fonseca
                  kept
                  kept driving straight on
                       driving straight on Capitol
                                           Capitol Expressway,
                                                   Expressway, and
                                                               and Officer
                                                                   Officer Pina
                                                                           Pinaturned
                                                                                turnedeastbound
                                                                                       eastboundon
                                                                                                 onPenitencia
                                                                                                    Penitencia
                  Creek,
                  Creek, making him the
                         making him the lead
                                        lead car.
                                             car. Officer
                                                  Officer Pina
                                                          Pina was
                                                               was followed
                                                                   followed closely
                                                                            closelyby
                                                                                    byOfficer
                                                                                      OfficerFerguson
                                                                                              Fergusonand
                                                                                                       and
                  Officer Lopez.
                  Officer Lopez.

      3.  Executionof
      3. Execution  ofVCT:
                      VCT:

             a.  Videoshows
             a. Video  showsthe
                             theexecution
                                 execution of
                                           of VCT
                                              VCT 12
                                                  12; no
                                                      no concerns noted.
                                                         concerns noted.
                                                          ;




 9
  CountyofofSanta
 'County     SantaClara
                  Clara "Report
                        “Report on
                                onthe
                                   thefatal
                                       fatalshooting
                                             shootingofofJacob
                                                          JacobDominguez
                                                               DominguezSeptember
                                                                         September 15,
                                                                                   15, 2017"
                                                                                       2017”dated
                                                                                             datedMarch
                                                                                                  March8,8,2019.
                                                                                                            2019.
 10
    CRU
    CRUoperational
         operational plan
                      plan dated
                           dated 9/15/2017
                                 9/15/2017
 11
    1728230
    1728230 -Interview   Transcript of
             -Interview Transcript  of Ofr
                                       Ofr Michael
                                           Michael Pina
                                                   Pina &
                                                        & As
                                                          As described
                                                             described in
                                                                       in interview by M.
                                                                          interview by M.Pina;
                                                                                          Pina; dated
                                                                                                datedMay
                                                                                                      May14,
                                                                                                         14,2021
                                                                                                             2021
 12
    HCVR_ch6_main_20170915183034_20170915183259.avi
    HCVR_ch 6_main_20170915183034_20170915183259.avi




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                 b.
                 b. Demonstratives 13, diagrams
                    Demonstratives 13           14,, and
                                       diagrams 14
                                          ,          and photos
                                                         photos 15 also show
                                                                15 also show positions
                                                                             positions of
                                                                                       of vehicles
                                                                                          vehicles in
                                                                                                   in the
                                                                                                      the execution
                                                                                                          execution of
                                                                                                                    of
                     the VCT;
                     the VCT; no
                              no concerns
                                 concerns noted.
                                          noted.

                 c.
                 c. Interview(s)
                    Interview(s) 16 indicate that
                                 16 indicate that Ofc.
                                                  Ofc. Pina
                                                       Pina confirmed
                                                            confirmed the
                                                                       the selection
                                                                           selection of
                                                                                     of location
                                                                                         locationfrom
                                                                                                  fromthe
                                                                                                       theair
                                                                                                           airunit
                                                                                                               unitand
                                                                                                                    and
                     ensured
                     ensured that the VCT
                             that the VCT did
                                          did not
                                              not pose
                                                  pose aa significant
                                                          significant risk
                                                                      risk to
                                                                            to the
                                                                                the public.
                                                                                    public.

       4.  Apprehension(VCT
       4. Apprehension  (VCTtotoShooting
                                 ShootingDecision):
                                         Decision):

                 a.  General:
                 a. General:

                          1)
                          1) Sirens
                             Sirens are
                                    are heard in multiple
                                        heard in multiple videos.
                                                          videos. Officers
                                                                  Officers are
                                                                           are plainclothes,
                                                                               plainclothes, using
                                                                                             usingballistic
                                                                                                   ballisticvests
                                                                                                             vestswith
                                                                                                                  with
                                identification showing that
                                identification showing that they
                                                            they are
                                                                 are police
                                                                     police officers.
                                                                            officers. This
                                                                                      This isis confirmed
                                                                                                confirmedvia
                                                                                                          viaphotos.
                                                                                                              photos.

                          2)
                          2) In
                             In addition to their
                                addition to their standard
                                                  standard police
                                                           police equipment
                                                                  equipment and
                                                                            and carry,
                                                                                carry, Officers
                                                                                       OfficersPina
                                                                                                Pinaand
                                                                                                     andFerguson
                                                                                                         Fergusonuse
                                                                                                                  use
                                an
                                an AR
                                   AR 15, .223 caliber
                                      15, .223 caliber tactical
                                                       tactical rifle.
                                                                rifle. The
                                                                       The rifle
                                                                           rifle is
                                                                                  is customarily
                                                                                     customarily attached
                                                                                                 attachedor
                                                                                                          orslung
                                                                                                             slungtototheir
                                                                                                                       their
                                vest by aa two-point
                                vest by    two-point quick
                                                     quick release
                                                           release sling.
                                                                   sling. The
                                                                          The optics
                                                                              optics on
                                                                                     on the
                                                                                         the rifle
                                                                                              rifleare
                                                                                                    arean
                                                                                                        anAimpoint
                                                                                                          Aimpointred
                                                                                                                   reddot
                                                                                                                       dot
                                sight/scope. This configuration
                                sight/scope. This configuration is
                                                                is confirmed
                                                                   confirmed via
                                                                             via photos,
                                                                                 photos, video,
                                                                                         video, and
                                                                                                andinterviews.
                                                                                                    interviews.

                          3)
                          3) Multiple Officers issued
                             Multiple Officers issued verbal
                                                      verbal commands
                                                             commands and
                                                                      and directed
                                                                          directed Mr.
                                                                                   Mr.Dominguez
                                                                                       Domingueztotoraise
                                                                                                     raisehis
                                                                                                           his
                                hands or keep
                                hands or keep his
                                              his hands
                                                  hands up.
                                                        up.

                          4)
                          4) Ferguson Video (Clearest
                             Ferguson Video (Clearest video
                                                      video and
                                                            and times
                                                                times used
                                                                      used for
                                                                            for comparison
                                                                                comparisonand
                                                                                           andcalculation.
                                                                                               calculation.Times
                                                                                                            Times
                                are not synced.)
                                are not synced.) 17
                                                 17

                                         ••       02:03:01Z
                                                  02:03:01Z        He
                                                                   He is          all by
                                                                         “stopped all
                                                                      is "stopped     by himself,"
                                                                                         himself,” an
                                                                                                   an apparent
                                                                                                      apparent reference
                                                                                                                reference to
                                                                                                                           to
                                                  Dominguez.
                                                  Dominguez.

                                         ••       02:03:24Z
                                                  02:03:24Z        police sirens are
                                                                   police sirens are heard,
                                                                                     heard, his
                                                                                            his car
                                                                                                caraccelerates.
                                                                                                    accelerates.

                                         ••       02:03:26Z
                                                  02:03:26Z        Out
                                                                   Out of
                                                                       of Vehicle,      me see
                                                                                   “let me
                                                                          Vehicle, "let    see your
                                                                                               your fucking
                                                                                                    fucking hands."
                                                                                                            hands.”

                                         ••       02:03:28-30Z
                                                  02:03:28-30Z     Pina can be
                                                                   Pina can be heard
                                                                               heard saying
                                                                                     saying "keep your fucking
                                                                                            “keep your fucking hands
                                                                                                               hands up"
                                                                                                                     up”
                                                  and
                                                  and something similar to
                                                      something similar to moving
                                                                           moving you're
                                                                                  you’re going
                                                                                         going to
                                                                                                toget
                                                                                                  getshot.
                                                                                                      shot.Ferguson
                                                                                                           Fergusoncan
                                                                                                                    canbe
                                                                                                                        be
                                                  heard directing the
                                                  heard directing the flash
                                                                      flash bang-up.
                                                                            bang-up. Verbal
                                                                                     Verbal commands
                                                                                            commands continue.
                                                                                                     continue.



 13
 13   Graphic 77 &
      Graphic      Graphic 88
                 & Graphic
 14
 14   17-258-0283 Police
      17-258-0283 Police Report
                         Report
 15
 15   Consolidated file
      Consolidated  file of
                         ofinvestigative
                            investigativephotographs
                                          photographsdenoted
                                                       denotedasas SJ0189-SJ0763
                                                                 SJ0189-SJ0763
 16
 16   1728230
      1728230 -Interview    Transcript of
               -Interview Transcript   ofOfr
                                          OfrMichael
                                              MichaelPina
                                                      Pina &&As
                                                             As described
                                                                described in
                                                                          in interview
                                                                              interviewby
                                                                                        byM.
                                                                                          M.Pina;
                                                                                             Pina;dated
                                                                                                   datedMay
                                                                                                        May14,
                                                                                                            14,2021
                                                                                                                2021
 17
      SJ1766,
      SJ1766,BWC
              BWCfootage
                  footage from Ofc. Ferguson
                          from Ofc. Ferguson




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        17(EXPERT
           (EXPERTWITNESS
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                          REPORT-J.
                                 J. BLACK)
                                    BLACK)    -
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                                  ••   02:03:39Z
                                       02:03:39Z           Ferguson out of
                                                           Ferguson out of the
                                                                           the vehicle
                                                                               vehicle with
                                                                                       with weapon
                                                                                            weapon positioned
                                                                                                   positioned and
                                                                                                              and
                                       issuing verbal commands.
                                       issuing verbal commands. Dominguez
                                                                Dominguez is
                                                                          is assumed
                                                                             assumed to
                                                                                      to have
                                                                                         have hands
                                                                                              handsstill
                                                                                                    stillup
                                                                                                         up
                                       (approximately 13 seconds
                                       (approximately 13 seconds have
                                                                 have passed
                                                                      passed since
                                                                             since the
                                                                                    the first
                                                                                        first command).
                                                                                              command).

                                  ••   02:03:40-43Z
                                       02:03:40-43Z        Situation
                                                           Situation appears to escalate
                                                                     appears to escalate with
                                                                                         with increased
                                                                                              increased commands
                                                                                                        commands
                                       telling Dominguez to
                                       telling Dominguez to keep
                                                            keep his
                                                                 his hands
                                                                     hands up.
                                                                           up. At
                                                                               At 02:03:42Z,
                                                                                  02:03:42Z,Ferguson
                                                                                             Fergusonappears
                                                                                                      appearstoto
                                       duck
                                       duck slightly as Pina
                                            slightly as Pina fires
                                                             fires shots.
                                                                   shots.

                                                ••   Two
                                                     Two shots
                                                         shots are
                                                               are heard
                                                                   heard in
                                                                         in approximately
                                                                            approximately half
                                                                                          half aa second 18
                                                                                                  second ". .

                                  ••   02:03:56Z Flashbang is
                                       02:03:56Z Flashbang is tossed
                                                              tossed by
                                                                     by vehicle
                                                                        vehicle 33 (Lopez)
                                                                                   (Lopez)

                     b.  PinaVideo
                     b. Pina Video 19
                                   19

                                  ••   Shows
                                       Shows Pina
                                             Pina at the front
                                                  at the front of
                                                               of vehicle
                                                                  vehicle 22 (Ferguson);
                                                                             (Ferguson); some
                                                                                         some commands
                                                                                              commands are
                                                                                                       areheard.
                                                                                                           heard.
                                       One
                                       One can
                                           can approximate Pina’s position,
                                               approximate Pina's position, the
                                                                             the firing
                                                                                  firingof
                                                                                        ofrounds,
                                                                                           rounds,and
                                                                                                   andcadence
                                                                                                       cadence
                                       from
                                       from body movement and
                                            body movement and based
                                                              based on
                                                                    on the
                                                                       the position
                                                                           position of
                                                                                    of Ferguson/weapon.
                                                                                       Ferguson/weapon.

                     c.  Crimelab
                     c. Crime  lab reports
                                   reports 20
                                           "

                                  ••   The County of
                                       The County of Santa
                                                     Santa Clara
                                                           Clara Crime
                                                                 Crime Laboratory
                                                                       Laboratory reports
                                                                                   reports state
                                                                                            statethe
                                                                                                  thetime
                                                                                                      timebetween
                                                                                                           between
                                       the two shots
                                       the two shots of
                                                     of Ofc.
                                                        Ofc. Pina
                                                             Pina as
                                                                  as .535
                                                                     .535 seconds.
                                                                          seconds. This
                                                                                   This time
                                                                                         timeisisconsidered
                                                                                                  consideredaccurate
                                                                                                             accurate
                                       and
                                       and used throughout this
                                           used throughout this report.
                                                                report.

                                  ••   Concluded within the
                                       Concluded within the report
                                                            report is
                                                                   is that
                                                                      that Ofc.
                                                                           Ofc. Pina
                                                                                Pina fired
                                                                                     fired two
                                                                                            two shots
                                                                                                shots from
                                                                                                       fromhis
                                                                                                           hisrifle,
                                                                                                               rifle,
                                       of
                                       of which one struck
                                          which one struck Mr.
                                                           Mr. Dominguez.
                                                               Dominguez. Additionally,
                                                                          Additionally, based
                                                                                        based on
                                                                                              on additional
                                                                                                 additional
                                       forensic evidence and
                                       forensic evidence and their
                                                             their analysis,
                                                                   analysis, itit is
                                                                                  is reasonably
                                                                                     reasonably certain
                                                                                                certain that
                                                                                                         that ititwas
                                                                                                                  wasOfc.
                                                                                                                      Ofc.
                                       Pina’s first shot
                                       Pina's first shot struck
                                                         struck Mr.
                                                                Mr. Dominguez.
                                                                    Dominguez.

                                  ••   Additionally observed is
                                       Additionally observed is that
                                                                that the
                                                                     the left
                                                                         left sleeve/forearm
                                                                              sleeve/forearmarea
                                                                                             areaof
                                                                                                 ofthe
                                                                                                    thesweatshirt
                                                                                                        sweatshirt
                                       worn by Mr.
                                       worn by Mr. Dominguez
                                                   Dominguez at
                                                             at the
                                                                the time
                                                                    time of
                                                                         of the
                                                                            the shooting
                                                                                shooting also
                                                                                         also had
                                                                                              hadaabullet
                                                                                                   bullethole
                                                                                                          holeinin
                                       it
                                       it that
                                          that would’ve been caused
                                               would've been caused by
                                                                    by Ofc.
                                                                       Ofc. Pina's
                                                                            Pina’s first-round or shot.
                                                                                   first round or
                                                                                           -      shot.




 18
    SJ1766, BWC
 ' SJ1766,  BWC footage fromOfc.
                footage from Ofc.Ferguson
                                 Ferguson &&17-258-0283
                                             17-258-0283Lab
                                                         LabReports
                                                            Reports
 19
    SJ1764, BWC
 ' SJ1764,  BWC footage fromOfc.
                footage from Ofc.Pina
                                 Pina
 2017-258-0283
 20
    17-258-0283 Lab
                Lab Reports
                    Reports




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              b.  Actionsand
              b. Actions  andbehavior
                              behaviorofofMr.
                                          Mr.Dominguez:
                                              Dominguez:

                        1)
                        1) During
                           During the
                                  the VCT,
                                      VCT, he placed his
                                           he placed his car
                                                         car into
                                                             into reverse
                                                                  reverse and
                                                                          and was
                                                                              was subsequently
                                                                                  subsequently blocked
                                                                                               blocked and
                                                                                                       and
                             contained by Ofc.
                             contained by Ofc. Lopez.
                                               Lopez. 21
                                                      2'

                        2)
                        2) Mr.
                           Mr. Dominguez
                               Dominguez stares at Ofc.
                                         stares at Ofc. Pina
                                                        Pina during
                                                             during initial
                                                                    initial seconds
                                                                            seconds of
                                                                                    of contact
                                                                                       contact when
                                                                                               when Ofc.
                                                                                                    Ofc. Pina
                                                                                                         Pina isis
                             giving
                             giving him
                                    him commands from his
                                        commands from his position
                                                          position near
                                                                   near the
                                                                        the front
                                                                            front of
                                                                                  of vehicle
                                                                                     vehicle two.
                                                                                              two. When
                                                                                                   When Ofc.
                                                                                                        Ofc. Pina
                                                                                                             Pina
                             tells him to
                             tells him to put
                                          put his
                                              his hands
                                                  hands up
                                                        up initially;
                                                           initially; Mr.
                                                                      Mr. Dominguez
                                                                          Dominguez does
                                                                                    does not
                                                                                         not comply
                                                                                             comply and
                                                                                                    and continues
                                                                                                        continuesto
                                                                                                                  to
                             stare
                             stare at
                                   at Ofc.
                                      Ofc. Pina.
                                           Pina. When commanded by
                                                 When commanded by Ofc.
                                                                   Ofc. Pina
                                                                        Pina to
                                                                             to put
                                                                                put his
                                                                                    his hands
                                                                                        hands up
                                                                                              up again
                                                                                                 again and
                                                                                                       and
                             something
                             something to
                                       to the
                                          the effect that he
                                              effect that he will
                                                             will be
                                                                  be shot,
                                                                     shot, he
                                                                           he replies,
                                                                              replies, "fuck you, shoot
                                                                                       “fuck you, shoot me
                                                                                                        me bitch."
                                                                                                           bitch.” 22
                                                                                                                   22
                             However, he does
                             However, he does raise
                                              raise his
                                                    his hands
                                                        hands to
                                                               to aa level
                                                                      levelwhere
                                                                           wherethey
                                                                                 theycan
                                                                                      canbe
                                                                                          beseen
                                                                                             seennear
                                                                                                  nearhis
                                                                                                       hisshoulders.
                                                                                                           shoulders.
                             Ofc.
                             Ofc. Ferguson recalls conversation
                                  Ferguson recalls conversation between
                                                                between Ofc.
                                                                        Ofc. Pina
                                                                             Pina and
                                                                                  and Mr.
                                                                                      Mr. Dominguez,
                                                                                          Dominguez, but
                                                                                                     but not
                                                                                                         not exact
                                                                                                             exact
                             words or statements.
                             words or statements.

                        3)
                        3) Mr.
                           Mr. Dominguez,
                               Dominguez, from the position
                                          from the position where
                                                            where he
                                                                  he had
                                                                     had raised
                                                                         raised his
                                                                                his hands
                                                                                    hands earlier,
                                                                                          earlier, is
                                                                                                    is reported
                                                                                                       reported to
                                                                                                                 to
                             have
                             have quickly
                                  quickly lowered his hands
                                          lowered his hands while
                                                            while leaning
                                                                  leaning his
                                                                          his body
                                                                              body forward.
                                                                                   forward. ItIt is
                                                                                                  is purported
                                                                                                     purported that
                                                                                                                that his
                                                                                                                     his
                             hands
                             hands moved down to
                                   moved down to the
                                                 the area
                                                     area near
                                                          near the
                                                               the bottom
                                                                   bottom of
                                                                          of the
                                                                             the driver
                                                                                 driver seat,
                                                                                        seat, and
                                                                                              and in
                                                                                                   in doing
                                                                                                      doing so,
                                                                                                            so, they
                                                                                                                 they
                             were
                             were no
                                  no longer
                                      longervisible. 23
                                             visible.'

              c.  Perceptions,decisions,
              c. Perceptions,  decisions,and
                                          andactions
                                              actionsof
                                                      ofOfc.
                                                        Ofc.Pina.
                                                             Pina.

                        1)
                        1) Ofc. Pina identified
                           Ofc. Pina identified Mr.
                                                Mr. Dominguez
                                                    Dominguez before
                                                              beforeexecuting
                                                                     executingthe
                                                                               theVCT.
                                                                                  VCT. 24
                                                                                       24

                        2)
                        2) Ofc.
                           Ofc. Pina
                                Pina estimates
                                     estimates he
                                               he was
                                                  was about
                                                      about 10
                                                            10 feet
                                                               feet from
                                                                    from Mr.
                                                                         Mr. Dominguez
                                                                             Dominguez prior
                                                                                       prior to
                                                                                             to the
                                                                                                the shooting.
                                                                                                    shooting.'25




 21 1728228
     1728228 -- Interview  Transcript of
                                       of Ofr
                                          Ofr Kristopher
                                              KristopherFerguson
                                                          Ferguson && 1728229
                                                                      1728229 -- Interview
                                                                                    InterviewTranscript
                                                                                              TranscriptofofOfr
                                                                                                             OfrAlvaro
                                                                                                                 AlvaroLopez
                                                                                                                        Lopez&&1728230
                                                                                                                                1728230--
 21
                Interview Transcript
 Interview   Transcript of
  Interview Transcript  of Ofr
                            Ofr Michael
                                MichaelPina
                                          Pina &
                                               & Deposition
                                                  Depositionof
                                                             ofOfc.
                                                                Ofc.Alvaro
                                                                    AlvaroLopez
                                                                             Lopez dated
                                                                                     dated March
                                                                                            March 1,
                                                                                                   1, 2021
                                                                                                      2021
 22 1728230
     1728230-- Interview
                InterviewTranscript
                           TranscriptofofOfr
                                          OfrMichael
                                              MichaelPina
                                                       Pina&&Deposition
                                                               DepositionofofSgt.
                                                                               Sgt.Michael
                                                                                     MichaelPina
                                                                                             Pinadated
                                                                                                  datedMarch
                                                                                                         March3,3,2021
                                                                                                                   2021&&AsAsdescribed
                                                                                                                              describedinin
 22

 interview
 interview byby M.
                M. Pina;
                    Pina; dated
                          dated May
                                 May 14,
                                       14, 2021
                                           2021
  23 Interview  Transcript of
                            of Ofr
                               Ofr Kristopher
                                   Kristopher Ferguson
                                               Ferguson & & 1728229
                                                            1728229 -- Interview    Transcript of
                                                                                               of Ofr
                                                                                                  Ofr Alvaro
                                                                                                      Alvaro Lopez
                                                                                                             Lopez && 1728230
                                                                                                                       1728230-- Interview
                                                                                                                                 Interview
  23
     Interview Transcript                                              Interview Transcript
  Transcript  of Ofr
  Transcript of  Ofr Michael
                     MichaelPina
                               Pina && Deposition
                                       DepositionofofOfc.
                                                      Ofc.Alvaro
                                                           AlvaroLopez
                                                                  Lopez dated
                                                                         datedMarch
                                                                                  March1,1,2021
                                                                                            2021
 24 1728230
     1728230 -Interview    Transcript of
                                       ofOfr
                                         OfrMichael
                                              MichaelPina
                                                      Pina &&As
                                                              As described
                                                                 described inin interview
                                                                                 interviewby
                                                                                           byM.
                                                                                              M.Pina;
                                                                                                  Pina;dated
                                                                                                        datedMay
                                                                                                               May14,
                                                                                                                    14,2021
                                                                                                                        2021
 24
              -Interview Transcript
 25 1728230
     1728230-- Interview
                InterviewTranscript
                           TranscriptofofOfr
                                          OfrMichael
                                              MichaelPina
                                                       Pina&&Deposition
                                                               DepositionofofSgt.
                                                                               Sgt.Michael
                                                                                     MichaelPina
                                                                                             Pinadated
                                                                                                  datedMarch
                                                                                                         March3,3,2021
                                                                                                                   2021&&AsAsdescribed
                                                                                                                              describedinin
 25

 interview
 interview byby M.
                M. Pina;
                    Pina; dated
                          dated May
                                 May 14,
                                       14, 2021
                                           2021




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                          3)
                          3) Scene
                             Scene reconstruction similarly estimates
                                   reconstruction similarly estimatesthe
                                                                      thedistance
                                                                          distanceatatsomewhere
                                                                                       somewherebetween
                                                                                                 between1010and
                                                                                                             and1212
                                feet.
                                feet. 26
                                      26

                          4)
                          4) Ofc.
                             Ofc. Pina
                                  Pina perceived, based on
                                       perceived, based on the
                                                           the facial
                                                               facial expressions
                                                                      expressions of
                                                                                  of Mr.
                                                                                     Mr. Dominguez
                                                                                         Dominguez and
                                                                                                   and the
                                                                                                        the fact
                                                                                                             fact that
                                                                                                                   that
                                he
                                he had initially raised
                                   had initially raised his
                                                        his hand,
                                                            hand, communicated
                                                                  communicated with
                                                                               with them
                                                                                    them that
                                                                                          that Mr.
                                                                                               Mr. Dominguez
                                                                                                   Dominguez was
                                                                                                             was able
                                                                                                                  able
                                to hear and
                                to hear and understand
                                            understand him.
                                                       him. 27
                                                            27

                          5)
                          5) Ofc.
                             Ofc. Pina
                                  Pina remembers looking over
                                       remembers looking over the
                                                              the top
                                                                  top of
                                                                      of the
                                                                         the Aimpoint
                                                                             Aimpoint site
                                                                                      site while
                                                                                           while his
                                                                                                 his rifle
                                                                                                      rifle was
                                                                                                            was being
                                                                                                                being
                                held
                                held in
                                     in aa low
                                           low ready
                                               ready vision
                                                     vision issuing
                                                            issuing the
                                                                    the initial
                                                                        initial set
                                                                                set of
                                                                                    of commands
                                                                                       commands to
                                                                                                 to Mr.
                                                                                                    Mr. Dominguez.
                                                                                                        Dominguez. 28He
                                                                                                                   28He
                                recalls being only
                                recalls being only able
                                                   able to
                                                        to see
                                                           see through
                                                               through the
                                                                       the driver's
                                                                           driver’s window
                                                                                    window (partially
                                                                                            (partiallyrolled
                                                                                                       rolleddown)
                                                                                                              down)the
                                                                                                                    the
                                head and upper
                                head and upper shoulder
                                               shoulder area
                                                        area and
                                                             and potentially
                                                                 potentially as
                                                                             as far
                                                                                far down
                                                                                    down to
                                                                                          to the
                                                                                              the mid-torso
                                                                                                  mid-torso and
                                                                                                            and elbows
                                                                                                                elbowsof
                                                                                                                       of
                                Mr. Dominguez.
                                Mr. Dominguez.

                          6)
                          6) Ofc.
                             Ofc. Pina
                                  Pina remembers being wholly
                                       remembers being wholly focused
                                                              focused on
                                                                      on the
                                                                         the hands
                                                                             hands of
                                                                                   of Mr.
                                                                                      Mr. Dominguez.
                                                                                          Dominguez. Ofc.
                                                                                                     Ofc. Pina
                                                                                                          Pina
                                does
                                does not
                                     not clearly remember visual
                                         clearly remember visual information
                                                                 information about
                                                                             about Dominguez,
                                                                                   Dominguez, the
                                                                                               the inside
                                                                                                    inside of
                                                                                                           of the
                                                                                                               the
                                vehicle, or other
                                vehicle, or other external
                                                  external information
                                                           information other
                                                                       other than
                                                                             than the
                                                                                  the hands,
                                                                                      hands, facial
                                                                                             facial expressions,
                                                                                                    expressions, and
                                                                                                                 andbody
                                                                                                                     body
                                movement of Mr.
                                movement of Mr. Dominguez.
                                                Dominguez. 29
                                                           29

                                           •• HisHis focus,
                                                  focus,    attention,and
                                                         attention,     andmemory
                                                                            memoryofofvisual
                                                                                       visualinformation
                                                                                              informationwould
                                                                                                         wouldcommonly
                                                                                                               commonly be
                                                                                                                        be
                                               expected
                                               expected and occur in
                                                        and occur in such
                                                                     such an
                                                                          an event.
                                                                             event. The
                                                                                    The aforementioned
                                                                                        aforementioned research
                                                                                                       research in
                                                                                                                 in this
                                                                                                                     this
                                               analysis supports this
                                               analysis supports this conclusion.
                                                                      conclusion.

                          7)
                          7) Ofc.
                             Ofc. Pina
                                  Pina is acutely focused
                                       is acutely focused on
                                                          on the
                                                             the suspect's
                                                                 suspect’s hands
                                                                           hands and
                                                                                 and potential
                                                                                     potentialmovement.
                                                                                               movement.He
                                                                                                        Hedetected
                                                                                                           detected
                                the movement of
                                the movement of Mr.
                                                Mr. Dominguez's
                                                    Dominguez’s hands
                                                                hands (downward
                                                                       (downwardand
                                                                                 andout
                                                                                    outof
                                                                                        ofsight)
                                                                                           sight)and
                                                                                                  andbody
                                                                                                      body(leaning
                                                                                                           (leaning
                                forward and down)
                                forward and down) and
                                                  and interpreted/perceived
                                                      interpreted/perceivedthe
                                                                            themovement
                                                                               movementasasreaching
                                                                                            reachingfor
                                                                                                     fora apotential
                                                                                                            potential
                                firearm.
                                firearm. Ofc. Pina believed
                                         Ofc. Pina believed that
                                                            that if
                                                                 if Mr.
                                                                    Mr. Dominguez's
                                                                        Dominguez’s hands
                                                                                    hands were
                                                                                          were allowed
                                                                                                allowedto
                                                                                                        tocome
                                                                                                           comeback
                                                                                                                back
                                up,
                                up, either he or
                                    either he or Ofc.
                                                 Ofc. Ferguson
                                                      Ferguson would
                                                               would be
                                                                     be shot.
                                                                        shot. 30
                                                                              30


 26
 26   Graphic 77 &
      Graphic      Graphic 88
                 & Graphic
 27
 27 Deposition  of Sgt.
    Deposition of   Sgt. Michael
                          Michael Pina
                                  Pina dated
                                        dated March
                                               March3, 3,2021
                                                         2021
 28
 28 As
    As described
       described inin interview  by M.
                       interview by M. Pina;
                                        Pina; dated
                                               dated May
                                                     May 14,
                                                           14, 2021
                                                               2021
 29 1728230
    1728230 -- Interview    Transcript of
                                        of Ofr
                                           Ofr Michael
                                               MichaelPina
                                                        Pina &&Deposition
                                                                DepositionofofSgt.
                                                                               Sgt. Michael
                                                                                    MichaelPina
                                                                                            Pina dated
                                                                                                 datedMarch
                                                                                                       March3,3,2021
                                                                                                                2021&&As
                                                                                                                       As described
                                                                                                                          described in
                                                                                                                                     in
 29
               Interview Transcript
 interview  by M.
 interview by  M. Pina;
                    Pina; dated
                           dated May
                                 May 14,
                                       14, 2021
                                            2021
 301728230
 30
     1728230- -Interview
                InterviewTranscript
                             Transcript of
                                        of Ofr
                                           Ofr Michael
                                               Michael Pina
                                                        Pina && Deposition of Sgt.
                                                                Deposition of  Sgt. Michael
                                                                                    Michael Pina
                                                                                            Pina dated
                                                                                                 dated March
                                                                                                       March 3,
                                                                                                             3, 2021
                                                                                                                2021 &&As
                                                                                                                       As described
                                                                                                                          described in
                                                                                                                                     in
 interview  by M.
 interview by  M. Pina;
                    Pina; dated
                           dated May
                                 May 14,
                                       14, 2021
                                            2021




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                                     BLACK)
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                       8)
                       8) Also noted is
                          Also noted is that
                                        that prior
                                             prior to
                                                   to moving
                                                      moving his
                                                             his hands
                                                                 hands downward,
                                                                       downward, Mr.
                                                                                 Mr. Dominguez
                                                                                     Dominguez had
                                                                                               hadplaced
                                                                                                   placedhis
                                                                                                         his
                           hands where they
                           hands where they could
                                            could be
                                                  be seen
                                                     seen and
                                                          and held
                                                              held them
                                                                   them up.
                                                                        up. For
                                                                            For Ofc.
                                                                                Ofc. Pina,
                                                                                     Pina, this
                                                                                            this downward
                                                                                                 downward
                           movement of the
                           movement of the hands
                                           hands represented
                                                 representedthe
                                                             theexact
                                                                 exactopposite
                                                                       oppositeofofwhat
                                                                                    whatwas
                                                                                         wasexpected.
                                                                                             expected. 31 Ofc.
                                                                                                       31 Ofc.
                            Pina believed/perceived that
                            Pina believed/perceived that Mr.
                                                         Mr. Dominguez
                                                             Dominguez was
                                                                       was reaching
                                                                           reaching for
                                                                                    for aa weapon.
                                                                                           weapon. The
                                                                                                   The body
                                                                                                       body
                            movement of Mr.
                            movement of Mr. Dominguez
                                            Dominguez reinforced
                                                      reinforced this
                                                                 this perception.
                                                                      perception. The
                                                                                  The aforementioned
                                                                                      aforementioned research
                                                                                                      research in
                                                                                                               in
                            this analysis supports
                            this analysis supports the
                                                   the perception
                                                       perception that
                                                                  that the
                                                                       the movement
                                                                           movement or
                                                                                    or action
                                                                                       action of
                                                                                              of Mr.
                                                                                                 Mr.Dominguez
                                                                                                     Dominguez
                            (which he interpreted
                            (which he interpreted as
                                                  as reaching
                                                     reaching for
                                                               foraaweapon)
                                                                    weapon)would
                                                                            wouldbe
                                                                                  bequicker
                                                                                     quickerthan
                                                                                             thanhehecould
                                                                                                      couldreact.
                                                                                                             react.

                       9)
                       9) When
                          When Mr. Dominguez’s hands
                               Mr. Dominguez's hands went
                                                     went down,
                                                          down, Ofc.
                                                                Ofc. Pina
                                                                     Pina began
                                                                          beganto
                                                                                toraise
                                                                                   raisehis
                                                                                         hisweapon
                                                                                            weaponand
                                                                                                   andgain
                                                                                                       gain
                            aa sight
                               sight picture through his
                                     picture through his Aimpoint
                                                         Aimpoint site
                                                                  site by
                                                                       by attempting
                                                                          attempting to
                                                                                     to place
                                                                                        place the
                                                                                               the red
                                                                                                   red dot
                                                                                                       dot of
                                                                                                           of the
                                                                                                               the optic
                                                                                                                   optic
                            on
                            on any
                               any available target presented
                                   available target presented by
                                                              by Mr.
                                                                 Mr. Dominguez
                                                                     Dominguez 32
                                                                               32.       .




                       10) The only
                       10)The       part of
                               only part of Mr.
                                            Mr. Dominguez
                                                Dominguez that
                                                          that could
                                                               could be
                                                                     be seen
                                                                        seen through
                                                                              through the
                                                                                       the optics
                                                                                           optics was
                                                                                                  was the
                                                                                                       the head
                                                                                                           headand
                                                                                                                and
                            neck /upper shoulder
                            neck /upper shoulder area
                                                 area when
                                                      when he
                                                           hetook
                                                              tookhis
                                                                   hisfirst
                                                                       firstshot.
                                                                             shot. 33
                                                                                   33

                       11)
                       11) Ofc.
                           Ofc. Pina
                                Pina attempted to adjust
                                     attempted to adjust his
                                                         his sight
                                                             sight picture
                                                                   picture for
                                                                           for aa possible
                                                                                  possible second
                                                                                           second shot.
                                                                                                  shot. He
                                                                                                        He remembers
                                                                                                            remembers
                           the body movement
                           the body movement of
                                             of Mr.
                                                Mr. Dominguez
                                                    Dominguez as
                                                              as seen
                                                                 seen through
                                                                      through his
                                                                              his Aimpoint
                                                                                  Aimpoint scope
                                                                                            scopeas
                                                                                                  as
                           continuing to come
                           continuing to come upright
                                              upright into
                                                       into the
                                                             theseat.
                                                                 seat. 34 Ofc. Pina
                                                                       34 Ofc. Pina was
                                                                                    was still
                                                                                        still unable
                                                                                              unable to
                                                                                                     to see
                                                                                                        see the
                                                                                                            the hands
                                                                                                                hands of
                                                                                                                      of
                           Mr. Dominguez when
                           Mr. Dominguez when he
                                              he took
                                                 took his
                                                      his second
                                                          second shot.
                                                                 shot. The
                                                                        Thetwo
                                                                            twoshots
                                                                                shotsoccur
                                                                                      occurininapproximately
                                                                                                approximately
                           half
                           half aa second
                                   second (.535
                                          (.535 seconds)
                                                seconds) 35
                                                         35.. He
                                                              He states that when
                                                                 states that when he
                                                                                  he took
                                                                                     took the
                                                                                           the second
                                                                                               secondshot,
                                                                                                      shot,based
                                                                                                            basedon
                                                                                                                  onthe
                                                                                                                     the
                            continuing
                            continuing movement of Mr.
                                       movement of Mr. Dominguez
                                                       Dominguez and
                                                                 and the
                                                                     the lack
                                                                         lack of
                                                                              of any
                                                                                 any contradictory
                                                                                     contradictory information,
                                                                                                    information,
                            he still perceived
                            he still perceivedMr.
                                               Mr.Dominguez
                                                  Dominguezasasa alethal
                                                                    lethalthreat.
                                                                            threat.
                                                                                  3636

                       12) After the
                       12)After  the second
                                     second shot,
                                            shot, Ofc.
                                                  Ofc. Pina
                                                       Pina recalls
                                                            recalls that
                                                                    that the
                                                                         the movement
                                                                             movement of
                                                                                      of Mr.
                                                                                         Mr. Dominguez's
                                                                                             Dominguez’sbody
                                                                                                         body
                            changed
                            changed in
                                    in that he stopped
                                       that he stopped coming
                                                       coming up
                                                              up and
                                                                 and back,
                                                                     back, shifted
                                                                           shifted slightly
                                                                                   slightly to
                                                                                             to the
                                                                                                 the right,
                                                                                                     right, his
                                                                                                            his head
                                                                                                                head
                            turned away
                            turned away from
                                        from him,
                                             him, and
                                                  and he
                                                      he was
                                                         was no
                                                             no longer
                                                                longer staring
                                                                       staring at
                                                                               at them.
                                                                                   them. 37 Ofc. Pina
                                                                                         370fc.  Pina transitioned
                                                                                                      transitioned
                            from
                            from looking through his
                                 looking through his Aimpoint
                                                     Aimpoint site
                                                              site to
                                                                   to aa low
                                                                         low ready
                                                                             ready and
                                                                                   and did
                                                                                       did not
                                                                                           not take
                                                                                                take aa third
                                                                                                         third shot.
                                                                                                               shot. At
                                                                                                                     At

 31
 31 1728230
    1728230 -- Interview
               Interview Transcript
                          TranscriptofofOfr
                                         Ofr Michael
                                             Michael Pina
                                                     Pina &
                                                          & As
                                                             As described in interview
                                                                described in  interviewby
                                                                                        by M.
                                                                                           M. Pina;
                                                                                              Pina; dated
                                                                                                    datedMay
                                                                                                          May14,
                                                                                                              14,2021
                                                                                                                  2021
 32
 32 As described
    As            in interview
       described in             by M.
                     interview by  M. Pina;
                                      Pina; dated  May 14,
                                             dated May  14, 2021
                                                            2021
 33
    Deposition
    Deposition of
                of Sgt.
                   Sgt. Michael
                        Michael Pina
                                 Pina dated  March 3,
                                       dated March  3, 2021
                                                       2021 && As
                                                               As described  in interview
                                                                  described in            by M.
                                                                                interview by M. Pina;
                                                                                                Pina; dated May 14,
                                                                                                      dated May 14, 2021
                                                                                                                    2021
 34 As
    As described  in interview  by M.
                                   M. Pina;
                                       Pina; dated May 14,
                                                        14, 2021
                                                            2021
 34
       described in  interview by            dated May
 35
    SJ1766,
    SJ1766, BWC
            BWCfootage
                   footage from  Ofc. Ferguson
                            from Ofc. Ferguson & & 17-258-0283
                                                   17-258-0283LabLab Reports
                                                                     Reports
 36 Deposition  of Sgt.
                   Sgt. Michael
                        Michael Pina
                                 Pina dated  March 3,
                                                    3, 2021
                                                       2021& & As
                                                               As described  in interview
                                                                                interview by
                                                                                          by M.
                                                                                             M. Pina;
                                                                                                Pina; dated
                                                                                                      datedMay
                                                                                                            May14,
                                                                                                                14,2021
                                                                                                                    2021
 36
    Deposition of                     dated March                 described in
 37
    As described
 37 As            in interview
       described in             by M.
                     interview by  M. Pina;
                                      Pina; dated  May 14,
                                             dated May  14, 2021
                                                            2021




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                             this point, Ofc.
                             this point, Ofc. Pina
                                              Pina determined
                                                   determined he
                                                              he was
                                                                 was no
                                                                     no longer
                                                                         longer aa lethal
                                                                                    lethalthreat.
                                                                                           threat.Ofc.
                                                                                                  Ofc.Pina
                                                                                                       Pinabegan
                                                                                                            begantotopeel
                                                                                                                      peel
                             back to the
                             back to the rear
                                         rear vehicles.
                                              vehicles. 38
                                                        38

                         13)
                         13) Ofc.
                             Ofc. Pina
                                  Pina recalls that his
                                       recalls that his decision
                                                        decision process
                                                                 process was
                                                                         was neither
                                                                             neither conscious
                                                                                     conscious nor
                                                                                               nor deliberate.
                                                                                                   deliberate.He
                                                                                                               Heacted
                                                                                                                  acted
                             immediately, thinking that
                             immediately, thinking that either
                                                        either he
                                                               he or
                                                                  or his
                                                                     his fellow
                                                                         fellow officers
                                                                                officers were
                                                                                         were about
                                                                                              aboutto
                                                                                                    tobe
                                                                                                      beshot.
                                                                                                         shot.He
                                                                                                              He
                             recalls performing as
                             recalls performing as he
                                                   he had
                                                      had been
                                                          been trained,
                                                               trained, including
                                                                         including training
                                                                                    trainingabout
                                                                                             aboutaction
                                                                                                   actionvs.
                                                                                                          vs.reaction.
                                                                                                              reaction.

                                            It is
                                      •• It is    probable
                                               probable    that
                                                        that    Ofc.
                                                             Ofc.    Pinahad
                                                                  Pina    hadquickly
                                                                              quicklydetermined
                                                                                      determinedthe
                                                                                                 themost
                                                                                                     mostcritical
                                                                                                          criticalthings
                                                                                                                   things
                                           that he needed
                                           that he needed to
                                                          to focus
                                                             focus on
                                                                   on in
                                                                      in this
                                                                         this high-stress
                                                                              high-stress and
                                                                                          and critical/survival
                                                                                              critical/survival
                                           environment. It is
                                           environment. It is also
                                                              also likely
                                                                   likely that
                                                                          that his
                                                                               his decision
                                                                                   decision process
                                                                                            process (influenced
                                                                                                     (influencedby
                                                                                                                bythe
                                                                                                                   the
                                           environment and his
                                           environment and his attentional
                                                               attentional focus)
                                                                           focus) was
                                                                                  was almost
                                                                                      almost automatic
                                                                                             automatic and
                                                                                                       andoccurring
                                                                                                           occurring
                                           below the level
                                           below the level of
                                                           of conscious
                                                              conscious choice
                                                                        choice or
                                                                               or deliberate
                                                                                  deliberate thought.
                                                                                              thought. This
                                                                                                       Thistype
                                                                                                            typeof
                                                                                                                 of
                                           decision-making is not
                                           decision-making is not uncommon
                                                                  uncommon in
                                                                           in such
                                                                              such situations
                                                                                   situations and
                                                                                              and supported
                                                                                                  supportedby
                                                                                                            bythe
                                                                                                               the
                                           aforementioned research in
                                           aforementioned research  in this
                                                                        thisanalysis.
                                                                             analysis.

 Conclusions:
 Conclusions:
       1.
       1. Sgt.
          Sgt. Pina
               Pina and the CRU
                    and the CRU executed
                                executed aa VCT
                                            VCT to
                                                to apprehend
                                                   apprehend Mr.
                                                             Mr. Dominguez.
                                                                 Dominguez.They
                                                                            Theybelieved
                                                                                 believedthat
                                                                                          thatMr.
                                                                                              Mr.
            Dominguez was armed
            Dominguez was armed with
                                with aa firearm
                                        firearm (pistol),
                                                (pistol), was
                                                          was considered
                                                              consideredaadangerous
                                                                           dangerousfelon,
                                                                                     felon,had
                                                                                            hadbeen
                                                                                                beendisplaying
                                                                                                     displaying
            erratic behavior indicating
            erratic behavior indicating that
                                        that he
                                             he knew
                                                knew he
                                                     he was
                                                        was under
                                                            under surveillance.
                                                                  surveillance.ItItwas
                                                                                   wasalso
                                                                                       alsobelieved
                                                                                            believedthat
                                                                                                     thathe
                                                                                                          hewould
                                                                                                             would
            attempt
            attempt to escape to
                    to escape to avoid
                                 avoid arrest.
                                       arrest. Evidence
                                               Evidence presented
                                                        presented and
                                                                  and examined
                                                                      examinedduring
                                                                               duringmy
                                                                                     myanalysis
                                                                                        analysissupports
                                                                                                 supportsthese
                                                                                                          these
            beliefs and conclusions
            beliefs and conclusions of
                                    of the
                                       the CRU
                                           CRU and
                                               and Sgt.
                                                   Sgt. Pina.
                                                        Pina.

       2.
       2. The VCT is
          The VCT is aa commonly
                        commonly accepted
                                 accepted tactic
                                          tactic used
                                                 used by
                                                      by police
                                                         policeto
                                                                toapprehend
                                                                   apprehendpotentially
                                                                             potentiallyviolent
                                                                                         violentsuspects
                                                                                                 suspectsininaa
            vehicle that can
            vehicle that can potentially
                             potentially be
                                         be mobile.
                                            mobile. A
                                                    A properly
                                                      properly executed
                                                               executedVCT
                                                                        VCTcreates
                                                                            createssensory
                                                                                    sensoryoverload
                                                                                            overloadwithin
                                                                                                    withinthe
                                                                                                           the
            suspect while preventing
            suspect while preventing them
                                     them from
                                          from escaping
                                               escaping either
                                                        either in
                                                                in their
                                                                    theirvehicle
                                                                         vehicleor
                                                                                 oron
                                                                                    onfoot.
                                                                                       foot.In
                                                                                             Inaaproperly
                                                                                                  properlyexecuted
                                                                                                           executed
            VCT, all three
            VCT, all three officer
                           officer vehicles
                                   vehicles would
                                            would simultaneously
                                                  simultaneously move
                                                                 moveinto
                                                                      intotheir
                                                                           theirfinal
                                                                                 finalpositions
                                                                                       positions(blocking
                                                                                                 (blockingthe
                                                                                                           the
            suspect vehicle). The
            suspect vehicle). The evidence
                                  evidence presented
                                           presented and
                                                     and examined
                                                         examined during
                                                                  duringmy
                                                                         myanalysis
                                                                            analysisshows
                                                                                     showsthat
                                                                                           thatthe
                                                                                                theVCT
                                                                                                   VCTwas
                                                                                                       was
            performed adequately (vehicles
            performed adequately (vehicles two
                                           two and
                                               and three
                                                    three did
                                                          did have
                                                              have aa slight
                                                                       slightlag
                                                                              lagbefore
                                                                                  beforecoming
                                                                                         comingtotoaacomplete
                                                                                                      completestop).
                                                                                                               stop).
            The VCT accomplished
            The VCT accomplished its
                                 its desired
                                     desired goals
                                             goals safely.
                                                   safely. Similarly,
                                                           Similarly,two
                                                                      twodays
                                                                         daysprior,
                                                                              prior,the
                                                                                     theCRU
                                                                                        CRUhad
                                                                                            hadalso
                                                                                                alsoperformed
                                                                                                     performedaa
            VCT to apprehend
            VCT to apprehend related
                             related suspects
                                     suspects to
                                              to Mr.
                                                 Mr. Dominguez.
                                                     Dominguez.

       3.
       3. Mr. Dominguez eventually
          Mr. Dominguez eventually first
                                   first raised
                                         raised his
                                                his hands
                                                    hands in
                                                           in response
                                                               responseto
                                                                        toSgt.
                                                                          Sgt.Pina's
                                                                               Pina’sinitial
                                                                                      initialset
                                                                                              setofofcommands.
                                                                                                      commands.This
                                                                                                                This
            would indicate that
            would indicate that Mr.
                                Mr. Dominguez
                                    Dominguez was
                                              was able
                                                  able to
                                                        to hear
                                                           hear and
                                                                and comprehend
                                                                    comprehendthe
                                                                               thecommands
                                                                                   commandsgiven
                                                                                            givenby
                                                                                                  bySgt.
                                                                                                     Sgt.Pina.
                                                                                                          Pina.
            With
            With the hands of
                 the hands of Mr.
                              Mr. Dominguez
                                  Dominguez being
                                            being in
                                                  in view,
                                                     view, he
                                                           he was
                                                              was to
                                                                   to some
                                                                       somedegree
                                                                           degreecontrolled
                                                                                  controlledand
                                                                                             andcontained,
                                                                                                 contained,and
                                                                                                            and
            no force (other
            no force (other than
                            than aa heightened
                                    heightened sense
                                               sense of
                                                     of presence
                                                        presence with
                                                                 withfirearms
                                                                      firearmsbeing
                                                                               beingpointed
                                                                                     pointedand
                                                                                             andverbalization
                                                                                                 verbalizationby
                                                                                                               bythe
                                                                                                                  the
            officers) was used.
            officers) was used. There
                                There is
                                      is no
                                         no evidence
                                            evidence presented
                                                     presented that
                                                                that contradicts
                                                                     contradictsthis
                                                                                 thisconclusion.
                                                                                      conclusion.

 38
 38   As described
      As described in
                   in interview by M.
                      interview by M. Pina;
                                      Pina; dated
                                            dated May
                                                  May 14,
                                                      14, 2021
                                                          2021




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    4.  Mr.Dominguez
    4. Mr.  Dominguezwas
                      wascommanded
                          commandedtotokeep
                                        keephis
                                             hishands
                                                 handsup
                                                       upand
                                                          andthat
                                                              thatififhe
                                                                       hewere
                                                                         weretotomove,
                                                                                 move,he
                                                                                       hewould
                                                                                         would be
                                                                                               be shot.
                                                                                                   shot.
        Instead, Mr. Dominguez
        Instead, Mr. Dominguez moved
                               moved his
                                     his hands
                                         hands quickly
                                               quickly in
                                                        in aa downward
                                                              downwardmotion
                                                                       motionand
                                                                              andout
                                                                                  outof
                                                                                      ofsight.
                                                                                         sight.During
                                                                                                Duringthis
                                                                                                       this
        motion of Mr.
        motion of Mr. Dominguez's
                      Dominguez’s hands,
                                  hands, his
                                         his body
                                             bodyisisdescribed
                                                     describedas
                                                               asbending
                                                                  bendingororleaning
                                                                              leaningforward
                                                                                      forwardwhile
                                                                                              whilecontinuing
                                                                                                    continuing
        to look
        to look in
                in the
                   the direction
                       direction of
                                 of the
                                    the officers
                                        officers from
                                                  from approximately
                                                       approximately11'
                                                                     11’away.
                                                                         away.Sgt.
                                                                               Sgt.Pina's
                                                                                    Pina’sinterpretation
                                                                                           interpretationofofthese
                                                                                                               these
        actions
        actions combined with previous
                combined with previous behaviors
                                       behaviors was
                                                 was that
                                                      that Mr.
                                                           Mr. Dominguez
                                                               Dominguezwas
                                                                         wasreaching
                                                                             reachingfor
                                                                                      foraafirearm
                                                                                            firearmwith
                                                                                                   withthe
                                                                                                        the
        intent
        intent to
               to either shoot him
                  either shoot him or
                                   or his
                                      his fellow
                                          fellow officers.
                                                 officers. Sgt.
                                                           Sgt. Pina's
                                                                Pina’sinterpretation
                                                                       interpretationof
                                                                                      ofMr.
                                                                                        Mr.Dominguez's
                                                                                            Dominguez’sactions
                                                                                                        actionsand
                                                                                                                and
        behaviors is that
        behaviors is that of
                          of aa reasonably
                                reasonably trained
                                           trained and
                                                   and experienced
                                                       experienced police
                                                                   policeofficer.
                                                                          officer.

    5.  Sgt.Pina
    5. Sgt.  Pinadecided
                  decidedtotoshoot
                              shoot(first
                                    (firstshot)
                                           shot)based
                                                 basedon
                                                       onhis
                                                          hisperceptions
                                                              perceptionsof
                                                                          ofMr.
                                                                            Mr.Dominguez's
                                                                                Dominguez’sactions
                                                                                            actionsand
                                                                                                    and
        behaviors, which he
        behaviors, which he had
                            had interpreted
                                interpreted as
                                            as aa lethal
                                                   lethal threat
                                                           threat to
                                                                   to himself
                                                                      himselfor
                                                                              orhis
                                                                                 hisfellow
                                                                                     fellowofficers.
                                                                                            officers.Based
                                                                                                      Basedon
                                                                                                            onthe
                                                                                                               the
        research and my
        research and my analysis,
                        analysis, Sgt.
                                  Sgt. Pina
                                       Pina did
                                            did not
                                                not have
                                                    have sufficient
                                                         sufficient time
                                                                     timeto
                                                                          toascertain
                                                                             ascertainwith
                                                                                      withany
                                                                                           anydegree
                                                                                               degreeofofcertainty
                                                                                                          certainty
        if
        if Mr.
           Mr. Dominguez actually had
               Dominguez actually had gained
                                      gained control
                                             control of
                                                     of aa firearm.
                                                           firearm. Sgt.
                                                                    Sgt. Pina's
                                                                         Pina’sdecision
                                                                                decisiontotoshoot
                                                                                             shootwas
                                                                                                   wasbased
                                                                                                       basedon
                                                                                                             onhis
                                                                                                                his
        interpretation/perception of the
        interpretation/perception of the actions
                                         actions and
                                                 and behaviors
                                                     behaviors of
                                                               of Mr.
                                                                  Mr. Dominguez
                                                                      Dominguez(taken
                                                                                (takenin
                                                                                       inthe
                                                                                          thetotality
                                                                                              totalityand
                                                                                                       andcontext
                                                                                                           context
        of
        of all
           all things that led
               things that led up
                               up to
                                   to that
                                       that moment).
                                            moment).

            a.
            a. This
               This conclusion is also
                    conclusion is also supported
                                       supported by
                                                 by aa body
                                                       body of
                                                            of research
                                                               research that
                                                                         that suggests
                                                                               suggeststhat
                                                                                        thatthe
                                                                                             thestrongest
                                                                                                 strongestpredictor
                                                                                                           predictor
                and
                and whether
                    whether aa police
                               police officer
                                      officer will
                                              will use
                                                   use force
                                                       force or
                                                             or not
                                                                not is
                                                                     is the
                                                                         the suspect's
                                                                             suspect’sbehavior
                                                                                       behavior(Cojean
                                                                                                (Cojeanetetal.,
                                                                                                            al.,2020;
                                                                                                                 2020;
                Hine
                Hine et al., 2018).
                     et al., 2018). It
                                    It was
                                       was only
                                           only through
                                                through observation
                                                        observation after
                                                                    after the
                                                                           thefact,
                                                                               fact,aahindsight
                                                                                      hindsightanalysis,
                                                                                                analysis,that
                                                                                                          thatititwas
                                                                                                                  was
                determined that no
                determined that no firearm
                                   firearm was
                                           was present
                                               present or
                                                       or under
                                                          under the
                                                                 the control
                                                                     control of
                                                                             of Mr.
                                                                                Mr.Dominguez.
                                                                                    Dominguez.

            b.
            b. Research also supports
               Research also supports the
                                      the reasoning
                                          reasoning that
                                                    that the
                                                          the initiator
                                                               initiator of
                                                                         of an
                                                                            anaction
                                                                               actionwill
                                                                                     willalways
                                                                                          alwayshave
                                                                                                 havean
                                                                                                      anadvantage
                                                                                                         advantage
                over
                over the
                     the person reacting to
                         person reacting to the
                                            the same
                                                same action.
                                                     action. In
                                                             In this
                                                                 this case,
                                                                      case, Sgt.
                                                                            Sgt. Pina
                                                                                 Pinaisisreacting
                                                                                          reactingto
                                                                                                   tothe
                                                                                                      thedownward
                                                                                                          downward
                movement of Mr.
                movement of Mr. Dominguez's
                                Dominguez’s hands,
                                            hands, perceiving
                                                   perceivingthem
                                                              themto
                                                                   tobe
                                                                      bereaching
                                                                         reachingfor
                                                                                  foraaweapon.
                                                                                        weapon.Regardless
                                                                                                Regardless
                of
                of Mr.
                   Mr. Dominguez’s intent, we
                       Dominguez's intent, we can
                                              can never
                                                  never know
                                                        knowwhy
                                                             whyhe
                                                                hemoved
                                                                   movedhis
                                                                         hishands
                                                                             handsquickly
                                                                                   quicklydownward
                                                                                           downwardfrom
                                                                                                    from
                aa position where they
                   position where they were
                                       were easily
                                            easily seen.
                                                   seen. Sgt.
                                                         Sgt. Pina's
                                                              Pina’sactions,
                                                                     actions,prior
                                                                              priortraining,
                                                                                    training,schema,
                                                                                              schema,attentional
                                                                                                      attentional
                focus,
                focus, and visual focus
                       and visual focus support
                                        support the
                                                the conclusion
                                                    conclusion that
                                                               that he
                                                                    he believed
                                                                       believed that
                                                                                 that he
                                                                                      heknew
                                                                                         knewhe
                                                                                              hewas
                                                                                                wasreacting
                                                                                                    reactingtoto
                the initiating action
                the initiating action of
                                      of Mr.
                                         Mr. Dominguez
                                             Dominguez and
                                                       and at
                                                           at aa potentially
                                                                 potentiallylethal
                                                                             lethaldisadvantage.
                                                                                    disadvantage.

    6.  Sgt.Pina's
    6. Sgt.  Pina’ssecond
                    second shot
                           shot was
                                was similarly
                                    similarly based on the
                                              based on the continuing
                                                           continuing movement
                                                                      movement or
                                                                               or actions
                                                                                  actions of
                                                                                          of Mr.
                                                                                             Mr. Dominguez,
                                                                                                 Dominguez,
        which Sgt. Pina
        which Sgt. Pina interpreted/perceived
                        interpreted/perceived as
                                              as aa continuing
                                                    continuing lethal
                                                                lethal threat.
                                                                        threat.Sgt.
                                                                               Sgt.Pina's
                                                                                    Pina’sinterpretation
                                                                                           interpretationofofMr.
                                                                                                             Mr.
        Dominguez’s actions and
        Dominguez's actions and behaviors
                                behaviors isis that
                                                that of
                                                     ofaareasonably
                                                          reasonablytrained
                                                                     trainedand
                                                                             andexperienced
                                                                                 experiencedpolice
                                                                                             policeofficer.
                                                                                                    officer.

    7.  Noevidence
    7. No  evidenceexamined
                    examinedduring
                             duringmy
                                    myanalysis
                                       analysiscaused
                                                causedme
                                                       metotoreject
                                                               rejectany
                                                                      anyofofthe
                                                                               theaforementioned
                                                                                   aforementionedconclusions.
                                                                                                  conclusions.

            a.  Considerationisisgiven
            a. Consideration      giventotothe
                                             theholes
                                                 holesininthe
                                                           theleft
                                                               leftarm
                                                                    armofofthe
                                                                            thesweatshirt
                                                                                sweatshirtofofMr.
                                                                                              Mr.Dominguez.
                                                                                                  Dominguez.
                Hypothetically, starting from
                Hypothetically, starting from the
                                              the point
                                                  point where
                                                        where Mr.
                                                              Mr. Dominguez's
                                                                  Dominguez’sbody
                                                                              bodywas
                                                                                  wasleaning
                                                                                      leaningforward,
                                                                                              forward,and
                                                                                                       and
                his
                his hands were out
                    hands were out of
                                   of view,
                                      view, we
                                            we can
                                               can impose
                                                   impose the
                                                           the time
                                                                time of
                                                                     of approximately
                                                                        approximately.28
                                                                                      .28seconds
                                                                                          secondsas
                                                                                                  asan
                                                                                                     an
                approximate time for
                approximate time for him
                                     him to
                                         to bring
                                            bring his
                                                  his hands
                                                      hands back
                                                            back into
                                                                  into view
                                                                       view of
                                                                            of Ofc.
                                                                               Ofc.Pina.
                                                                                    Pina.



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                                     BLACK)
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             b.
             b. However, within the
                However, within the same
                                    same time,
                                         time, itit would
                                                    would be
                                                          be likely
                                                              likely that
                                                                      that Ofc.
                                                                           Ofc.Pina
                                                                                Pinahad
                                                                                     hadalready
                                                                                         alreadyshifted
                                                                                                 shiftedhis
                                                                                                         hisview
                                                                                                             viewtoto
                 the Aimpoint
                 the Aimpoint optic
                              optic and
                                    and was
                                        was focused
                                            focused acutely
                                                    acutely on
                                                            on placing
                                                               placingthe
                                                                       thered
                                                                           reddot
                                                                               doton
                                                                                   onthe
                                                                                      theavailable
                                                                                          availabletarget
                                                                                                    target
                 presented. In short,
                 presented. In short, itit would
                                           would not
                                                 not be
                                                     be expected
                                                        expected that
                                                                  that he
                                                                       he would
                                                                          wouldsee
                                                                                seenor
                                                                                    norperceive
                                                                                        perceivethe
                                                                                                 thearm
                                                                                                     armofofMr.
                                                                                                            Mr.
                 Dominguez since itit would
                 Dominguez since      would most
                                            most likely
                                                 likely be
                                                        be outside
                                                           outside of
                                                                   of his
                                                                      his field
                                                                           fieldof
                                                                                ofview.
                                                                                   view.

             c.
             c. Additionally, since Ofc.
                Additionally, since Ofc. Pina
                                         Pina was
                                              was reacting;
                                                  reacting; he
                                                            he would
                                                               would be
                                                                     be anywhere
                                                                        anywherefrom
                                                                                 from ¼   to aa ½
                                                                                      1/4 to    1/2 aa second
                                                                                                       second behind
                                                                                                              behind
                 Mr. Dominguez’s movements.
                 Mr. Dominguez's movements. Therefore
                                            Thereforeititisislikely
                                                              likelythat
                                                                     thatby
                                                                          bythe
                                                                             thetime
                                                                                 timeOfc.
                                                                                     Ofc.Pina
                                                                                          Pinahad
                                                                                               haddetected
                                                                                                   detected
                 critical cues, interpreted
                 critical cues, interpreted the
                                            the information,
                                                information, shifted
                                                             shifted attention,
                                                                     attention, and
                                                                                andexecuted
                                                                                    executedthe
                                                                                             themotor
                                                                                                motoraction
                                                                                                      action(that
                                                                                                             (that
                 resulted in his
                 resulted in his first
                                 first trigger
                                       trigger pull);
                                               pull); the
                                                      the continuing
                                                          continuing movement
                                                                     movementof
                                                                              ofMr.
                                                                                Mr.Dominguez
                                                                                    Domingueztotoan
                                                                                                  anupright
                                                                                                     upright
                 position could result
                 position could result in
                                       in his
                                          his left
                                              left arm
                                                   arm being
                                                       being within
                                                             within the
                                                                     the trajectory
                                                                          trajectoryof
                                                                                    ofthe
                                                                                       thefirst
                                                                                           firstbullet.
                                                                                                 bullet.IfIfthis
                                                                                                             thisoccurred,
                                                                                                                  occurred,
                 it
                 it would
                    would have been compounded
                          have been compounded by
                                               by the
                                                  the fact
                                                      fact that
                                                           that Ofc.
                                                                Ofc. Pina's
                                                                     Pina’svision,
                                                                            vision,attentional
                                                                                    attentionalfocus,
                                                                                                focus,seeking
                                                                                                       seekingofof
                 critical
                 critical information (for the
                          information (for the most
                                               most part)
                                                    part) remained
                                                          remained unchanged
                                                                   unchanged until
                                                                             until after
                                                                                   afterthe
                                                                                         thesecond
                                                                                             secondshot,
                                                                                                    shot,where
                                                                                                         wherethe
                                                                                                               the
                 movement and actions
                 movement and actions of
                                      of Mr.
                                         Mr. Dominguez
                                             Dominguez changed.
                                                       changed. This
                                                                Thisthen
                                                                     thenresulted
                                                                          resultedininOfc.
                                                                                      Ofc.Pina
                                                                                           Pinanot
                                                                                                notshooting
                                                                                                    shootingaa
                 third time
                 third time as
                            as he
                               he changed
                                  changed his
                                          his attentional
                                              attentional focus,
                                                           focus, no
                                                                  nolonger
                                                                     longerlooking
                                                                            lookingthrough
                                                                                    throughthe
                                                                                            theAimpoint
                                                                                               Aimpointoptic.
                                                                                                        optic.

    8.
    8.   My professional review
         My professional review of
                                of this
                                   this case
                                        case concludes
                                             concludes the
                                                        the following:
                                                             following:Ofc
                                                                       Ofc(now
                                                                           (nowSgt.)
                                                                                Sgt.)Pina's
                                                                                      Pina’sactions/response
                                                                                             actions/responsewas
                                                                                                              was
         consistent with accepted
         consistent with accepted practices
                                  practices and
                                            and training
                                                training of
                                                         of aa reasonable
                                                                reasonable officer
                                                                           officerfor
                                                                                   forthe
                                                                                       theappropriate
                                                                                           appropriateuse
                                                                                                       useofofphysical
                                                                                                               physical
         force
         force as dictated by
               as dictated by the
                              the situation
                                  situation and
                                            and in
                                                in response
                                                   response to
                                                             to Mr.
                                                                Mr. Dominguez's
                                                                    Dominguez’sactions.
                                                                                actions.Additionally,
                                                                                         Additionally,my
                                                                                                       myanalysis
                                                                                                          analysis
         also
         also indicates that the
              indicates that the actions
                                 actions that
                                         that led
                                              led to
                                                  to Sgt.
                                                     Sgt. Pina's
                                                          Pina’suse
                                                                 useof
                                                                     oflethal
                                                                        lethalforce
                                                                               forcewas
                                                                                    wasfirst
                                                                                        firstpredicated
                                                                                              predicatedby
                                                                                                         bythe
                                                                                                            theactions
                                                                                                                actions
         and
         and choices of Mr.
             choices of Mr. Dominguez.
                            Dominguez. A
                                       A police
                                         police officer's
                                                officer’schoice
                                                          choiceof
                                                                 ofaareasonable
                                                                      reasonableresponse
                                                                                 responseisisbased
                                                                                              basedon
                                                                                                    ontraining,
                                                                                                       training,
         experience and measured
         experience and measured against
                                 against the
                                         the standard
                                             standard of
                                                      of the
                                                          the reasonable
                                                               reasonableofficer.
                                                                         officer.Additionally
                                                                                  Additionallynoted
                                                                                               notedisisthat
                                                                                                         thatpolice
                                                                                                              police
         officers are trained
         officers are trained to
                              to examine
                                 examine the
                                         the range
                                             range of
                                                   of possible,
                                                      possible, feasible,
                                                                 feasible,and
                                                                          andreasonable
                                                                              reasonablealternatives
                                                                                         alternativesand
                                                                                                      andchoose
                                                                                                          chooseone
                                                                                                                 one
         response from that
         response from that range.
                            range.

    9.
    9. In
       In this case, the
          this case, the force
                         force applied
                               applied stemmed
                                       stemmed from
                                               from aa reasonable
                                                        reasonablechoice
                                                                   choiceand
                                                                          andisisconsistent
                                                                                  consistentwith
                                                                                            withthe
                                                                                                 thetraining
                                                                                                     trainingofofaa
         reasonably trained police
         reasonably trained police officer
                                   officer subject
                                           subject to
                                                    to the
                                                        the same
                                                            same performance
                                                                 performancelimitations
                                                                             limitationsand
                                                                                         andfactors
                                                                                             factorsthat
                                                                                                     thatresearch
                                                                                                          researchhas
                                                                                                                   has
         shown to affect
         shown to affect humans
                         humans involved
                                involved in
                                         in similar
                                            similar situations.
                                                    situations. Cited
                                                                Citedresearch
                                                                      researchisisfound
                                                                                   foundininAttachment
                                                                                            AttachmentAA
         (References Cited).
         (References Cited).
                 The
                 The foregoing facts and
                     foregoing facts and conclusions
                                         conclusions are
                                                     are true
                                                          true based
                                                               based on
                                                                     on my
                                                                        mypersonal
                                                                           personalknowledge
                                                                                    knowledgeand
                                                                                              andexperience,
                                                                                                 experience,
         and
         and II make
                make this
                     this declaration
                          declaration under
                                      underthe
                                            thepenalty
                                                penaltyofofperjury.
                                                            perjury.
                 This 20th day
                 This 20th day of
                               of May
                                  May 2021.
                                      2021.




                                                                                   C             z",
                                                                                  Dr. John R. Black
                                                                                      John R. Black



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Attachment A:
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                                                                                                     andReaction
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                                                                             andsociological
                                                                                 sociologicalfactors
                                                                                              factorsinfluencing
                                                                                                      influencing
        police officers'
        police officers' decisions
                         decisions to
                                   to use
                                      use force:
                                          force: A
                                                 A systematic
                                                   systematicliterature
                                                              literaturereview.
                                                                         review. International
                                                                                 International journal
                                                                                               journal of
                                                                                                       of law
                                                                                                           lawand
                                                                                                              and
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                                                                                UnconsciousThought
                                                                                            ThoughtEffect
                                                                                                    Effectinin
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                                             in Diagnosis.
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                                                                              HowQuickly
                                                                                  QuicklyCan
                                                                                          CanHealthy
                                                                                              HealthyAdults
                                                                                                      Adults
        Move Their Hands
        Move Their Hands to
                         to Intercept
                            Intercept an
                                      an Approaching
                                         Approaching Object?
                                                     Object? Age
                                                             Ageand
                                                                 andGender
                                                                    GenderEffects.
                                                                           Effects. The
                                                                                    The Journals
                                                                                        Journals of
                                                                                                 of
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                                                  andMedical
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                                                                     Theinfluence
                                                                         influenceof
                                                                                   ofofficer
                                                                                      officerpositioning
                                                                                              positioningon
                                                                                                          on
        movement during aa threatening
        movement during    threatening traffic
                                       traffic stop
                                               stop scenario.
                                                    scenario. Law
                                                              Law Enforcement
                                                                  Enforcement Executive
                                                                              ExecutiveForum,  13, 98-109.
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TO:            Maren J. Clouse, Senior Deputy City Attorney
               Office of the City Attorney, City of San Jose
               200 E. Santa Clara St., 16th Floor
               San Jose, CA. 95113

FROM:          Rocky Edwards & Heather Heider
               Rock Forensics, Inc.
               160 W. Foothill Parkway #105-190
               Corona, CA 92882

DATE:          May 19, 2021

SUBJECT:       Dominguez v. City of San Jose, et al.
               Case No. 5:18-cv-04826-BLF

INTRODUCTION

This comprehensive evaluation is being submitted by Rocky Edwards (Edwards) and Heather
Heider (Heider) of Rock Forensics, Inc.

SCOPE OF INVESTIGATION

Rock Forensics, Inc. was requested to evaluate and report findings regarding the September 15,
2017 Officer Involved Shooting (OIS) that occurred at the intersection of Penitencia Creek Road
and North White Road in the City of San Jose, California. Specifically, Rock Forensics, Inc. was
asked to evaluate the physical firearm-related evidence in this matter and determine if the
evidence was consistent with the statements of the involved San Jose Police Officers. This
evaluation was based upon the below listed investigative materials provided and the evidence
reviewed.

INCIDENT SYNOPSIS

Members of the San Jose Police Department’s Covert Response Unit (CRU) conducted a vehicle
control tactic (VCT) on the vehicle Dominguez was driving. After the successful application of the
VCT, an OIS occurred resulting in Dominguez’s death.

INVESTIGATIVE MATERIALS REVIEWED

Body Worn Camera (BWC)
   • SJ1751.mp4
   • SJ1753.mp4
   • SJ1759.mp4


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    • SJ1760.mp4
    • SJ1761.mp4
    • SJ1762.mp4
    • SJ1763.mp4
    • SJ1764 - Pina.mp4
    • SJ1765 - Jimenez.mp4
    • SJ1766 - Ferguson.mp4
    • AXON_Body_2_Video_2017-09-15_1847.mp4
    • AXON_Body_2_Video_2017-09-15_1902.mp4
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Officer Interviews
    • 1728228 - Interview Transcript of Ofr Kristopher Ferguson.pdf
    • 1728229 - Interview Transcript of Ofr Alvaro Lopez.pdf
    • 1728230 -Interview Transcript of Ofr Michael Pina.pdf
    • Number 02 Channel Ch4 Room Homicide Room 2 01-15-23 SD.mp4
    • Number 01 Channel Ch3 Room Homicide Room 2 23-33-40 SD.mp4
    • Number 02 Channel Ch4 Room Homicide Room 2 23-33-40 SD.mp4
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    • Number 02 Channel Ch4 Room Homicide Room 2 23-33-40 SD.mp4
    • FOR PRODUCTION Number 01 Channel Ch3 Room Homicide Room 2 02-14-35 SD-
        final.mp4
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Video
    • NVR_Sherlock_ch3_main_20170915190000_20170915190500.avi
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         o FLcuff-flipped.tif
         o FLmid-flipped.tif
         o FRcuff-flipped.tif
         o topLcuff-flipped.tif
         o _DSC0175.NEF - _DSC0259.NEF
   • Photos of Officer Ferguson
         o 12342425.jpg
         o 12342428.jpg
         o 12342431.jpg
         o 12342434.jpg
         o 12342437.jpg
         o 12342440.jpg
         o 12342443.jpg
   • Photos of Officer Lopez
         o 12342446.jpg
         o 12342449.jpg
         o 12342452.jpg
         o 12342455.jpg
         o 12342458.jpg
         o 12342461.jpg
   • Photos of Officer Pina
         o 12342464.jpg
         o 12342467.jpg
         o 12342470.jpg
         o 12342473.jpg
         o 12342476.jpg
         o 12342479.jpg
         o 12342482.jpg
         o 12342485.jpg
         o 12342488.jpg
   • Canine Photos
         o AXON_Body_2_Video_2017-09-15_1910-file 2-1924ce.tif



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          o AXON_Body_2_Video_2017-09-15_1910-file 2-5539ce.tif
          o AXON_Body_2_Video_2017-09-15_1910-file 2-6262ce.tif
          o AXON_Body_2_Video_2017-09-15_1910-file 2-6285ce.tif
          o AXON_Body_2_Video_2017-09-15_1910-file 2-6286ce.tif
          o AXON_Body_2_Video_2017-09-15_1910-file 2-6289ce.tif
          o AXON_Body_2_Video_2017-09-15_1910-file 2-6401ce.tif
          o AXON_Body_2_Video_2017-09-15_1910-file 2-6454ce.tif
          o AXON_Body_2_Video_2017-09-15_1910-file 2-6498ce.tif
          o AXON_Body_2_Video_2017-09-15_1910-file 2-7789ce.tif
          o AXON_Body_2_Video_2017-09-15_1910-file 2-7801ce.tif
          o AXON_Body_2_Video_2017-09-15_1910-file 2-7849ce.tif
          o AXON_Body_2_Video_2017-09-15_1910-file 2-7939ce.tif
   •   Position
          o 12343340ce.jpg
          o 12343340ce.tif
          o 12343433ce.tif
          o 12343850ce-window.tif
          o 12343850ce.tif
          o 12343952ce.tif
          o 12343979ce.tif
          o 12344000e.tif
          o AXON_Body_2_Video_2017-09-15_1847_28885ce.tif
          o AXON_Body_2_Video_2017-09-15_1847_28886ce.tif
          o AXON_Body_2_Video_2017-09-15_1847_29053ce.tif
          o AXON_Body_2_Video_2017-09-15_1847_29095ce.tif
          o AXON_Body_2_Video_2017-09-15_1847_29101ce.tif
          o AXON_Body_2_Video_2017-09-15_1847-29066ce.tif
          o AXON_Body_2_Video_2017-09-15_1902-4444ce.tif
          o AXON_Body_2_Video_2017-09-15_1902-4609ce.tif
          o AXON_Body_2_Video_2017-09-15_1903-294ce.tif
          o AXON_Body_2_Video_2017-09-15_1903-852ce.tif
          o AXON_Body_2_Video_2017-09-15_1903-853ce.tif
   •   Projectiles and Trajectories
          o 12352505.jpg
          o 12363212e+line.tif
          o 12363227ce+line.tif
          o 12363230ce.tif
          o 12363239+line.tif
          o 12363266ce.tif
          o 12363278ce.tif
          o audio_of_gunshots_from_1847.bmp
          o DSC_1880ce.tif
          o DSC_1881ce.tif
          o DSC_1884ce.tif


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          o DSC_1885ce.tif
          o trace photos.tif
   •   Sweatshirt
          o 12344003e-bw.tif
          o 12344003e.tif
          o 12352442ce.tif
          o 12352445e.tif
          o 12352451ce.tif
          o 12352457e.tif
          o _DSC0483.jpg - _DSC0484.jpg
          o B-DSC_3552.jpg - B-DSC_3554.jpg
          o BLsleeve-DSC_3555.jpg
          o BRsleeve-DSC_3557.jpg
          o F-DSC_3523.jpg
          o F-DSC_3528.jpg
          o FLsleeve-DSC_3550.jpg
          o FRsleeve-DSC_3549.jpg
          o _DSC0483.NEF - _DSC0484.NEF
          o DSC_3523.NEF
          o DSC_3528.NEF
          o DSC_3549.NEF
          o DSC_3550.NEF
          o DSC_3552.NEF
          o DSC_3553.NEF
          o DSC_3554.NEF
          o DSC_3555.NEF
          o DSC_3557.NEF
          o ir Hole B.tif
          o ir Hole A again 2.tif
          o ir Hole A again.tif
          o ir Hole A.tif
          o ir total holes again 2.tif
          o ir total holes again.tif
          o ir total holes with paper.tif
          o ir total holes.tif
          o DSCF1420.jpg - DSCF1452.jpg
          o B-LAB_6714.jpg - B-LAB_6716.jpg
          o BLsleeve-LAB_6721.jpg
          o BLsleeve-LAB_6721c.jpg
          o BLsleeve-LAB_6722.jpg - BLsleeve-LAB_6723.jpg
          o BLsleeve-LAB_6725.jpg - BLsleeve-LAB_6726.jpg
          o BLsleeve-LAB_6729.jpg
          o BLsleeve-LAB_6741.jpg - BLsleeve-LAB_6742.jpg
          o BRsleeve-LAB_6732.jpg - BRsleeve-LAB_6734.jpg


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          o BRsleeve-LAB_6736.jpg - BRsleeve-LAB_6736c.jpg
          o BRsleeve-LAB_6739.jpg
          o F-LAB_6655.jpg - F-LAB_6656.jpg
          o F-LAB_6659.jpg - F-LAB_6661.jpg
          o F-LAB_6678.jpg - F-LAB_6679.jpg
          o F-LAB_6681.jpg - F-LAB_6694.jpg
          o F-LAB_6704.jpg
          o F-LAB_6707.jpg
          o FLsleeve-LAB_6662.jpg - FLsleeve-LAB_6667.jpg
          o FLsleeve-LAB_6674.jpg - FLsleeve-LAB_6677.jpg
          o FLsleeve-LAB_6743.jpg
          o FRsleeve-LAB_6657.jpg - FRsleeve-LAB_6658.jpg
          o FRsleeve-LAB_6695.jpg
          o FRsleeve-LAB_6698.jpg - FRsleeve-LAB_6703.jpg
          o FRsleeve-LAB_6712.jpg
          o FRsleeve-LAB_6712c.jpg
          o FRsleeve-LAB_6740.jpg
          o LAB_6655.NEF - LAB_6679.NEF
          o LAB_6681.NEF - LAB_6695.NEF
          o LAB_6698.NEF - LAB_6704.NEF
          o LAB_6707.NEF
          o LAB_6712.NEF
          o LAB_6714.NEF - LAB_6716.NEF
          o LAB_6721.NEF - LAB_6723.NEF
          o LAB_6725.NEF - LAB_6726.NEF
          o LAB_6729.NEF
          o LAB_6732.NEF - LAB_6734.NEF
          o LAB_6736.NEF
          o LAB_6739.NEF - LAB_6743.NEF
   •   Position, Bullet, Sweatshirt (Video Stills)
          o AXON_Body_2_Video_2017-09-15_1847_28885.png
          o AXON_Body_2_Video_2017-09-15_1847_28886.png
          o AXON_Body_2_Video_2017-09-15_1847_29053.png
          o AXON_Body_2_Video_2017-09-15_1847_29095.png
          o AXON_Body_2_Video_2017-09-15_1847_29101.png
          o AXON_Body_2_Video_2017-09-15_1847-29066.png
          o AXON_Body_2_Video_2017-09-15_1902-4444.png
          o AXON_Body_2_Video_2017-09-15_1902-4609.png
          o AXON_Body_2_Video_2017-09-15_1903-294.png
          o AXON_Body_2_Video_2017-09-15_1903-852.png
          o AXON_Body_2_Video_2017-09-15_1903-853.png
          o AXON_Body_2_Video_2017-09-15_1910-file 2-1924.png
          o AXON_Body_2_Video_2017-09-15_1910-file 2-5539.png
          o AXON_Body_2_Video_2017-09-15_1910-file 2-6262.png


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           o AXON_Body_2_Video_2017-09-15_1910-file 2-6285.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-6286.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-6289.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-6401.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-6454.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-6498.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-7789.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-7801.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-7849.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-7939.png
           o AXON_Body_2_Video_2017-09-15_project.afp
   •   Video Stills
           o AXON_Body_2_Video_2017-09-15_1847_28885.png
           o AXON_Body_2_Video_2017-09-15_1847_28886.png
           o AXON_Body_2_Video_2017-09-15_1847_29053.png
           o AXON_Body_2_Video_2017-09-15_1847_29095.png
           o AXON_Body_2_Video_2017-09-15_1847_29101.png
           o AXON_Body_2_Video_2017-09-15_1847-29066.png
           o AXON_Body_2_Video_2017-09-15_1902-4444.png
           o AXON_Body_2_Video_2017-09-15_1902-4609.png
           o AXON_Body_2_Video_2017-09-15_1903-294.png
           o AXON_Body_2_Video_2017-09-15_1903-852.png
           o AXON_Body_2_Video_2017-09-15_1903-853.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-1924.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-5539.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-6262.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-6285.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-6286.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-6289.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-6401.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-6454.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-6498.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-7789.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-7801.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-7849.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2-7939.png
           o AXON_Body_2_Video_2017-09-15_1910-file 2.mp4
   •   Scene Photos 1 (232 images numbered 12343235.jpg thru 12343928.jpg where the
       labels are n+1 (every third number))
   •   Photos of Pina’s Rifle (16 images numbered 12342491.jpg thru 12342536.jpg where the
       labels are n+1 (every third number))
   •   Photos of Scene (94 images numbered 12343931.jpg thru 12344210.jpg where the
       labels are n+1 (every third number))



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   •   Evidence Photos (93 images numbered 12351387.jpg thru 12363809.jpg where the
       labels are n+1 (every third number))
   •   Autopsy Photos (60 images numbered 12352328.jpg thru 12352505.jpg where the labels
       are every third number)
   •   Bullet in B Pillar (58 images numbered 12363122.jpg thru 12363293.jpg where the
       labels are every third number)
   •   Untitled 2.png
   •   Untitled.png
   •   Image001.jpg
   •   Bloodstain
           o 12363272ce.tif
           o 12363272ce-bw.tif
           o 12344036e.tif
           o 12344006e.tif
           o 12344006e-bw.tif
           o 12344006e (1).tif
           o 12343997e.tif
           o 12343919e.tif
           o 12343907e.tif
           o 12343904ce.tif
           o 12343904ce-bw.tif
           o 12343889e.tif
           o 12343883e.tif
           o 12343883e-bw.tif
           o 12343880e.tif
           o 12343880e-bw.tif
           o 12343877e.tif
           o 12343877e-bw.tif
           o 12343874e.tif
           o 12343874e-bw.tif
           o 12343859e.tif
           o 12343859e-bw.tif
           o 12343856e.tif
           o 12343856e-bw.tif
           o 12343436e.tif
   •   Car Exterior
           o 12343376ce.tif
           o 12343514.tif
           o 12343835ce.tif
           o 12343838ce.tif
           o 12343841ce.tif
           o 12343850e.tif
           o 12343925ce.tif



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           o 12343952e.tif
           o 12343970e.tif
           o 12343973ce.tif
           o 12343976ce.tif
           o 12344165ce.tif
           o 12363122ce.tif
           o 12363215ce.tif
   •   Car Interior
           o 12343853.jpg
           o 12343862e.tif
           o 12343865e.tif
           o 12343868e.tif
           o 12343871e.tif
           o 12343886e.tif
           o 12343892e.tif
           o 12343895e.tif
           o 12343898e.tif
           o 12343922e.tif
           o 12344009e.tif
           o 12344012e.tif
           o 12344021e.tif
           o 12344024e.tif




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INVESTIGATIVE PROCESS

Scene

1. The OIS occurred on Friday, September 15, 2017 at approximately 7:04 p.m. in the evening in
   the east bound lanes of Penitencia Creek Road at the intersection of North White Road in a
   primarily residential neighborhood in San Jose, California. [SJ0049]

        a. Penitencia Creek Road runs east and west with two lanes of traffic with a left-hand
           turn lane in each direction. The street was divided by double yellow lines.

        b. North White Road was a two lane north-south street divided by a cement median.
           There was also a left-hand turn lane in each direction.

        c. Based upon the Santa Clara County Crime Lab’s (SCCCL) diagrams, the eastbound
           lanes of Penitencia Creek Road at the approximately location of the OIS measured
           approximately 34’ across (north to south and inclusive of the E/B left hand turn lane
           and the #1 and #2 E/B lanes). [17-258-0283evidence2.pdf, Notes Martinez.pdf, pp. 12]

2. At the time of the OIS the weather was cool with an approximate ambient temperature of
   between 65° and 68° Fahrenheit and mild winds between 12 and 16 miles per hour.
   [https://www.wunderground.com/history/daily/KSJC/date/2017-9-15]

3. The OIS occurred during dusk with the sun setting at approximately 6:57 p.m. (civil
   twilight/dusk at 7:22 p.m.)
   [https://www.timeanddate.com/sun/@5392181?month=9&year=2017]

        a. Civil twilight/dusk refers to the position of the sun (approximately 6° below the
           horizon), however due to the scattering of the light in Earth’s atmosphere, artificial
           light is not generally required. [https://www.timeanddate.com/astronomy/civil-
           twilight.html]




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Graphic 1 (above) and Graphic 2 (below) represent visual overviews of the location of the OIS.
The graphics utilize Google Earth underlays.




                                                                        sampftic 2

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4. Per the SCCCL crime scene photographs, a black four-door, 2016 Kia Sportage (Texas Plate
   No. GTX1026) was at located in the number two eastbound lane of Penitencia Creek Road
   facing eastbound past the white limit line.

       a. The left, front (driver’s) window was shattered, and numerous pieces of glass were
          noted on the roadway below the window, on the driver’s seat and on the driver’s
          floorboard. All other windows appeared rolled up and intact. [17-258-0283.pdf, pp. 6]

                 i. San Jose Police Department personnel determined at the scene that the
                    driver’s door window mechanism could still be rolled up, which indicated that
                    the window was partially down at the time it was shattered. [17-258-0283.pdf,
                    pp. 6]

       b. The driver’s seat was reclined approximately 60° from the horizontal plane (30°
          backwards from the vertical plane)




                                         12Ba973ceoW


                              Scraphic 2




   Graphic 3 (above) represents a very approximate angle of how the driver’s seat was reclined at the time
   of the OIS. The graphic is meant to merely assist the reader in visualizing Dominguez’s seat position. The
   process included rotating the vehicle base to be in line with a 0° horizontal plane and then measuring
   the seat’s angle of recline through Adobe Photoshop. This method is not exact, however provides the
   reader with an approximation of the recline angle.


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              c. The rear bumper of the vehicle was in contact with the front bumper of San Jose
                 Police Department unmarked unit (gray Toyota 4-Runner CA License No. 7FKX456).

       5. SCCCL recovered the following firearm-related evidence:

Evidence
                                 Location
Item (E/I)   Description                                                    Photograph
                                Recovered
    #
                               Unmarked San
                             Jose unit assigned
                                  to Officer
                               Ferguson (Dark
                .223
                                 Gray Buick
     1       Discharged
                                Lacrosse CA
 (Barcode     Cartridge
                              7TVL357) parked
SJ182278-    Case (DCC)
                              facing southeast
    1)       “SPEER 15
                               north of the Kia
             223 REM”
                             Sportage in the #1
                               and #2 lanes of
                              Penitencia Creek
                               Road. [SJ0029]




                   1 Cont.




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Evidence
                                  Location
Item (E/I)   Description                                                                         Photograph
                                 Recovered
    #
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                                                                                                   ARTICLE TAG
                                                                                   OTHER
                                                                                   YAMMO                      Color
                                                                                   Desc E/I #1 CASING
                                                                                   Case GO SJ2017-172580283         SEIZED/EVIL
                                                                                   Evidence YES    Report Date 09/15/2017
                                                                                   Officer MARTINEZ VERONICA R
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                                                                                  Case GO SJ2017-172580283        SEIZED/EVIL
                                                                                  Evidence YES Report Date 09/15/2017
                   1 Cont.                                                        Officer MARTINEZ VERONICA R




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                              Under unmarked                              ,
     4                        San Jose PD unit
              .223 DCC                                t
 (Barcode                    assigned to Officer
             “SPEER 15
SJ182278-                    Ferguson [SJ0032]
             223 REM”                                                                               ri
    4)                       *Vehicle removed
                               for photograph
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Evidence
                              Location
Item (E/I)   Description                                                                                        Photograph
                             Recovered
    #
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                                                                                         Ev■ deoce YES Report Date 09(15..2017
                                                                                         nicer MARTINEZ, VERONICA P

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                                                                                Desc Ell N4 CASING
                                                                                Case GO SJ2017.172580283     SEIZE[
                                                                                Evidence YES   Report Date 09/1512017
                                                                                Officer MARTINEZ VERONICA R
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Evidence
                                   Location
Item (E/I)   Description                                                                       Photograph
                                  Recovered
    #




                Copper
    20                                                                                                                                 LCAL
               Jacketing
 (Barcode
             from autopsy
SJ182278-
    19)
               “muscle R
                 neck”                                                           r   T     I   11 11'1             iJ   )   III, ,




                                                                 G-T-      N: 17 COR(14
                                                                                DOMINGUEZ, Jacob Arturo
                                                                                                                            9/15/2 1



                                                                                33 Years Hispanic



                                                                                                                                       SJ0665




                   20 Cont.




                                                                                                                                        SJ0667



                                Associated with
    29                          bullet hole “C,”
 (Barcode
SJ182278-
    28)
              Projectile
                              removed from the
                               interior right rear
                                 door of the Kia            II   II II IIII I
                                                                      I         I III
                                                                                         )111!    I I I II I I
                                                                                                                 —77




                              Sportage [SJ0035]



                                                                                                                                        SJ0742

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Evidence
                                Location
Item (E/I)   Description                                                    Photograph
                               Recovered
    #




                  29 Cont.




                  29 Cont.




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             83- 8/ZNITS bi.
             a. Evidence Item #20 (copper jacketing removed from right side of neck during autopsy)
                was later determined by SCCCL to a be a “…copper jacket of a nominal 22 caliber rifle
                bullet (indeterminate nose design) that had been fired through a barrel with six lands
                and grooves of conventional right twist rifling. The jacket weighed 31.5 grains.
                Additionally, a fired copper jacket fragment with indeterminate rifling and weighing
                four grains was also submitted. Multicolored possible fibers were collected from the
                copper jacket for return within the original packaging.” [SJ1706]

                     i. “Powdered glass and possible bone were recovered from the jacketing.”
                        [SJ1709]

             b. Evidence Item #29 (projectile removed from the passenger side of the Kia Sportage)
                was a “…copper and lead bullet fragment weighing 29.1 grains and having no



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           recognizable firearm produced markings. It was possibly the core of a fired bullet. A
           clear possible fiber was collected from the bullet fragment…” [SJ1706]

               i. “Polymetric material was recovered from the projectile.” [SJ1708]

       c. The SCCCL concluded that “It is not possible to determine if Items SJ182278-19
          [Evidence Item 20 – jacket from autopsy] and SJ182278-28 [Evidence Item 29 –
          projectile from passenger side of Kia Sportage] are from one or more projectiles. The
          combined weights of both items is [are] consistent with some bullets loaded in .223
          Remington (nominal .22) caliber cartridges.” [SJ1706]

6. SCCCL documented a single bullet hole within the OIS scene. The bullet hole (labeled “A” by
   SCCCL) was located in the interior of the passenger side “B” pillar approximately 45” up from
   ground level.

       a. Bullet hole “B,” which was associated to bullet hole “A” was located on the “B” pillar’s
          exterior approximately 45 ½” up from ground level.

       b. Bullet hole “C,” which was associated to bullet holes “A” and “B” was located on the
          interior of the right rear passenger door approximately 45” up from ground level.
          [SJ0035]

7. Based upon tempered glass fragments located in the frame of the driver’s side window, the
   SCCCL estimated that a bullet struck the window at approximately 53” above ground level.




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          A




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8. SCCCL personnel completed a timeline of events based upon evaluation of surveillance and
   body worn camera video that captured the OIS. They determined that the time between shots
   fired was approximately 0.535 seconds. [Jacob Dominguez OIS Video Timeline.doc, SJ1769]]

Jacob Arturo Dominguez (“Dominguez”)

1. At the time of the OIS, Dominguez was a 32-year-old (DOB: 10/30/1983) male Hispanic who
   was approximately 5’07” tall and weighed approximately 180lbs. [SJ0042]

2. At the time of the OIS, Dominguez was seated in the left front (driver’s) seat of the black Kia
   Sportage.

3. At the time of the OIS, Dominguez was wearing a black knit cotton-polyester hooded
   sweatshirt labeled “ProBAY” size 2XL (later collected as Evidence Item 28 / Barcode SJ82278-
   27). [SJ0156, SJ1706]

       a. During examination, SCCCL located two defects in the left sleeve of the sweatshirt
          they labeled “A” and “B.” Based upon testing, both defects were consistent with the
          passing of a bullet.



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             i. Hole “A” was approximately 5/16” x 5/16” in size and located on the frontside
                of the left sleeve approximately 12” up from the edge of the cuff.

                   1. The area of the sweatshirt adjacent hole “A” tested positive for lead.

            ii. Hole “B” was approximately ½” x ¾” in size and located on the backside of the
                left sleeve approximately 11 ½” up from the edge of the cuff.

                   1. The area of the sweatshirt adjacent hole “B” tested positive for lead.
                      This area had a more pronounced response than the area surrounding
                      hole “A.”

                   2. The area of the sweatshirt adjacent hole “B” tested positive for
                      nitrates.

                   3. A small copper fragment and a possible glass fragment were
                      embedded in the fibers near hole “B.” Later microscopic and scanning
                      electron microscope (SEM) examinations revealed additional glass
                      fragments and a “…high concentration of powdered glass embedded
                      in the fabric threads.”

            iii. Additional small holes were documented in between the holes “A” and “B.”

            iv. Neither soot nor gunpowder residues were observed around either hole
                utilizing both traditional and Infrared Red (IR) photography.

            v. SEM and microscopy revealed that a high concentration of particulate was not
               observed surrounding the interior and exterior sides of hole “A” on the front
               of the left sleeve of the sweatshirt nor was it located on the interior side of
               hole “B.”

                   1. Based upon these findings, SCCCL concluded that, “Assuming the two
                      holes in the left sleeve were created by the same projectile, that
                      projectile impacted glass prior to entering the back of the left sleeve
                      and exited the front of the left sleeve of the sweatshirt.” [SJ1715]




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4. No other bullet-related defects were located in Dominguez’s clothing worn at the time of the
   OIS.

5. During autopsy, the Deputy Medical Examiner documented a bullet-related injury/gunshot
   wound (GSW) to the left corner of Dominguez’s mouth.

       a. The GSW was located 6 ¼” below the top of his head and 1 ½” to of the left of the
          anterior midline.

       b. The entry GSW was described as a ½” diameter round defect with a 1/16” to 1/8” wide
          red marginal abrasion that was widest at the 2 o’clock position that demonstrated
          multiple 1/8” to 1 ½” long radiating lacerations.

       c. The wound was surrounded by multiple 1/16” x 1/8” irregular red abrasions
          consistent with fragmentation injury.

       d. Soot was not visible on the skin edges or within the hemorrhagic wound track.

       e. No stippling or gunpowder particles were on the skin surrounding the GSW.

       f. The wound track sequentially consisted of perforating the skin and subcutaneous
          tissue of the face, lower lip, mandible, tongue, and the soft tissues of the neck before



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                  penetrating the muscles on the right side of the first and second cervical vertebral
                  bodies.

               g. A 2.4-gram deformed metal jacket fragment was recovered from the cervical bodies
                  from where it was lodged. (Later labeled E/I #20)

               h. The trajectory was from front to back, left to right and downward.

Projectile
Projectile did
           did not continue.
               not continue.
 Copper  Jacket Recovered.
 Copper Jacket  Recovered.



                                                                                   Projectile
                                                                                   Projectile did
                                                                                              did not continue.
                                                                                                  not continue.
                                                                                    Copper   Jacket Recovered
                                                                                    Copper Jacket   Recovered




     Entrance
     Entrance
                               Eva h5c


      Graphic 4a (above) and Graphic 4b (right) are
      visual representations of the trajectory of the
      projectile path as documented by the Deputy
      Medical Examiner during autopsy. The graphics
      are meant merely to assist the reader in better
      visualizing the approximate location of the                  Entrance
                                                                   Entrance. Eva                   (3b
      GSW.

      NOTE: The GSW was not perforating in nature.
      The rod is extended beyond the projectile’s
      termination point to better assist the viewer in
      visualizing the approximate overall trajectory.




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Officer Michael Pina (“Pina”)

   1. At the time of the OIS Pina was dressed in plain clothes consisting of jean pants, a t-shirt,
      a hat, and a tactical raid vest over his shirt. The vest had a San Jose Police Department
      patch on the front and the word “POLICE” on the back. Pina was assigned to the Covert
      Response Unit (CRU). [SJ0079]

   2. At the time of the OIS, Pina’s service/duty firearm that was utilized during the OIS was a
      Colt Defense M4 Carbine 5.56 x 45mm caliber rifle, serial number LE143767. [SJ0079,
      Notes Laundrie (2).pdf, pp. 1, SJ0203, SJ1771]

          a. Note: the firearm was also reported as a department issued Commando AR-15,
             .223 caliber rifle. [SJ0079]

          b. The capacity of the service/duty firearm’s magazine was 30 cartridges. Prior to the
             OIS, Pina had loaded his magazine with 28 or 29 cartridges. [Notes Laundrie.pdf,
             pp. 1]

          c. During the OIS, Pina’s service/duty rifle was loaded with SPEER 15 223 REM”
             ammunition. [SJ1771]

                   i. The specific ammunition used was Speer LE Gold Dot Duty Ammunition
                      .223 REM, which has a bullet weight of 75 grains and a muzzle velocity of
                      approximately 2775 feet per second.
                      [https://www.speer.com/ammunition/gold_dot/rifle/gold_dot_rifle_pers
                      onal_protection/19-24469.html]

          d. After the OIS the firearm was determined to be loaded with one cartridge in the
             chamber and 28 cartridges in the magazine. [Notes Laundrie (2).pdf, pp.1]

          e. Examination of the rifle by SCCCL determined that it functioned properly, the
             safety was operational, and the trigger pull was measured to be approximately 7¼
             pounds. No damage, modifications or excessive wear was noted. [SJ1771]




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PROFESSIONAL OPINIONS

A firearms-related evaluation was completed based upon review of the provided documentation
of the incident. The recovered physical evidence, photographs, interviews, videos provided of
the incident, documentation of Dominguez’s GSW by the Deputy Medical Examiner at autopsy,
the laboratory/examination findings of the SCCCL, and statements made by the officers were all
considered.

The following professional opinions were established:

1. Due to the lack of soot and stippling around the GSW, as well as statements made by the
   involved officers, the locations of the recovered discharged cartridge cases and the video
   recordings during and directly after the incident, Dominguez’s GSW is consistent with having
   been fired from a distance.

       a. Based upon the statements of Officer Pina and the measurements and diagrams
          produced by SCCCL, this distance is approximately 10 – 12 feet.

2. Based upon the statements of the involved officers, the location of Dominguez in the front,
   left (driver’s) seat of the Kia Sportage, the video recordings of the incident, the diagrams and
   measurements of the scene by SCCCL, and the trajectory of Dominguez’s GSW, Officer Pina
   was located north to northeast of Dominguez and fired in south to southwest direction.

3. Although the SCCCL could not definitively determine whether the copper jacket recovered
   from the right, backside of Dominguez’s neck during autopsy (E/I #20) and the bullet core
   recovered from bullet hole C adjacent the “B” pillar of the Kia Sportage (E/I #29) were from
   the same projectile/missile (based upon bullet weight alone), it is most likely that each piece
   of evidence is from two separate and distinct shots. This is based upon the following:

       a. Analysis of the video recordings of the scene by SCCCL determined that the two shots
          were fired approximately 0.535 seconds apart.

       b. The characteristics of the bullet hole “A” in the interior “B” pillar of the right side of
          the Kia Sportage was consistent with a bullet hole made by a bullet in stable flight that
          had not begun to yaw due to striking an intermediary object (i.e., tempered glass
          vehicle window, etc.) prior to creating the hole.

               i. Bullet holes “A,” “B,” and “C” are consistent with the bullet path of a single
                  shot.

       c. No other bullet holes and/or impacts were located within the Kia Sportage and all
          other windows had been rolled up and remained intact after the OIS.



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        d. No other bullet holes were located within the entirety of the OIS scene.

4. The copper jacketing recovered from Domínguez’s right rear neck at autopsy (E/I #20) was
   likely the result of the first of Officer Pina’s two shots. The second shot fired (“B” pillar) did
   not strike the tempered glass of the driver’s side window nor did it strike Dominguez or his
   sweatshirt. This is based upon the following:

        a. The analysis performed by the SCCCL that determined that the copper jacketing (E/I
           #20) contained both glass fragments and textile fibers.

        b. The speed at which tempered glass fractures is between 4,000 – 5,000 feet per
           second1 (approximately 2700 to 3,400 miles per hour). The time between shots fired
           was approximately 0.535 seconds. There was sufficient time between the two shots
           for the tempered glass to have fractured. Subsequently, analysis of the of the bullet
           core recovered adjacent the “B” pillar of the interior right side of the Kia Sportage (E/I
           #29) determined that glass and fiber particles were not present. The trace evidence
           documented by the SCCCL during examination on the recovered core (E/I #29) from
           the “B” pillar disclosed the presence of polymers (plastic).

        c. The characteristics of the bullet hole “A” in the “B” pillar of the interior right side of
           the Kia Sportage are consistent with the passing of a bullet in stable gyroscopic flight.

5. Based upon these same set of facts and the analysis of the bullet-related defects in the left
   sleeve of Dominguez’s sweatshirt by SCCCL, it is likely that Dominguez’s left arm was in a
   position adjacent the left side of his face nearly simultaneously to having received the GSW
   to the left side of his mouth. Neither Dominguez’s overall movement nor the specific
   movement of his left arm prior to and directly after the shot fired can be determined as the
   forensic evidence does not reveal the position of Dominguez’s body and/or left arm prior to
   the first gunshot (resulting in Dominguez’s GSW).

6. Based upon the trajectory of Dominguez’s GSW (starting at the left corner of his mouth and
   terminating lower in the right cervical region of his neck – back to front, left to right and
   downward), the measurements and diagrams produced by SCCCL and the statements of
   Officer Pina, Dominguez’s face was likely turned some degree counterclockwise from his
   shoulders and towards Officer’s Pina’s direction at the time of being shot.




1
 F. Barstow, H. Edgerton, 1939; Glass-Fracture Velocity, Journal of the American Ceramic Society, Volume 22, Issue
1-12

https://ceramics.org/ceramic-tech-today/ceramic-video/video-speed-of-cracks-in-glass

https://www.wired.com/story/use-a-slo-mo-video-to-calculate-how-fast-glass-shatters/


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7. During his deposition, Officer Pina stated the following:


                                          Atkinson Baker, a Veritext Company
                                                    www.depo.com


                 1        A.    I was trying to track where he was going and as he
                 2   was coming back up, so his only target area was shoulders up.
                 3        Q.    So you pulled the trigger when he started coming
                 4   back up?
                 5        A.    I remember finding my sight while he was leaning
                 6   forward, and as he was coming back looking at me, looking
                 7   kind of back movement is when I started firing. I can't say
                 8   for sure exactly what he was doing as he was coming up
                 9   because I remember he's now -- I'm now looking at him solely
                10   through the aim point of my rifle.
                11        Q.    When did you release the safety?
                12        A.    Just right before I shot.
                13        Q.    And when you pulled the trigger, was he back up in
                14   an erect position or partially erect? Can you describe that
                15   for us?
                16        A.    After I shot him?
                17        Q.    No, before.
                18        A.    Before I pulled the trigger, he was -- he had
                19   already been leaning low and then coming -- like I could just
                20   turn my chair, so if you're me over there, he's now coming up
                21   in this direction.
                22        Q.    Okay. So at that point, could you see where --
                23   what his hands were doing?
                24        A.    No.



                                Sgt. Michael Pina.pdf, pp. 97


       a. The firearm-related evidence is not inconsistent with Officer Pina’s statements
          regarding his actions during the OIS.




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                                                       Graphic 5 (left) is a visual representation of the
                                                       approximate       counterclockwise      turn    of
                                                       Dominguez’s head during the OIS and meant
                                                       merely to assist the reader in better visualizing
                                                       the trajectory of the GSW as documented by the
                                                       Deputy Medical Examiner during autopsy. The
                                                       angle cannot be determined exactly.

                           Sumprdc S




6 'PE Pi h ° c 6
 Graphic 6 (above) is a visual representation of the OIS and meant merely to assist the reader in better
 visualizing the locations of firearm-related items within the scene (including E/I #1 and E/I #4 –
 discharged cartridge cases). The graphic is proportional and utilizes both a Google Earth and SCCCL
 diagram underlay.



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E'ff P Lec                7
Graphic 7 (above) is a visual representation of the OIS and meant merely to assist the reader in better
visualizing the locations of items within the scene including the involved vehicles, Officer Pina,
Dominguez and the bullet holes in/adjacent to the Kia Sportage’s right “B” pillar. The graphic is
proportional and utilizes both a Google Earth and SCCCL diagram underlay. The approximate
trajectory (red) is meant to provide a visual approximation of both shots fired by Officer Pina and is
based upon the measurements and diagrams produced by SCCCL.




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Graphic 8 (above) is a visual representation of the OIS and meant merely to assist the reader in better
visualizing the locations of items within the scene including the involved vehicles, Officer Pina and
Dominguez. The graphic is proportional and utilizes both a Google Earth and SCCCL diagram
underlay. This southward looking view is meant only to provide a visual approximation of the scene
looking from the north to the south.




      These opinions are subject to change if additional facts are received at a future date.




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Curriculum
Curriculum Vitae  Rocky Edwards
            Vitae Rocky Edwards
Forensic
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EXPERT QUALIFICATION
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                     STATEMENT

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                                                                                                                             United
States    Army Criminal
 States Army      CriminalInvestigation
                               InvestigationDivision
                                                 Division(CID)
                                                            (CID) in in 1984   and served
                                                                        1984 and     served asasaaSpecial
                                                                                                    Special Agent
                                                                                                             Agent forfor ten
                                                                                                                           ten(10)
                                                                                                                                (10)
years
years until
        untilmymyretirement
                    retirementinin1994.
                                      1994.As Asaa Federal
                                                    Federal Agent,
                                                                 Agent, II processed,      diagrammed, and
                                                                             processed, diagrammed,          and reconstructed
                                                                                                                   reconstructed
crime    scenes as
 crime scenes      as part
                       partofofthethe  normal
                                     normal       course
                                               course   of of   investigation.InIn1989,
                                                             investigation.           1989,I Itrained
                                                                                               trainedand
                                                                                                        andstudied
                                                                                                              studiedatatthe theUS
                                                                                                                                 US
Army
ArmyCrime
        CrimeLaboratory
                 Laboratoryfor  fortwo
                                     two(2)
                                         (2)years
                                               yearsininthe     field of
                                                          the field    of Forensic
                                                                           ForensicFirearm
                                                                                       Firearmand andToolnnark
                                                                                                       ToolmarkExamination.
                                                                                                                     Examination.
My     training included
 My training       includedmicroscopic
                                 microscopic       analysis,
                                                     analysis,     thethe study
                                                                           study of  of ammunition
                                                                                           ammunition and    andammunition
                                                                                                                      ammunition
components,        gunpowder         production      and       manufacturing       techniques,
 components, gunpowder production and manufacturing techniques, reloading of ammunition,           reloading    of   ammunition,
toolmark
toolnnarkexamination,
             examination,gunshotgunshotwound
                                          woundanalysis,
                                                    analysis,processing
                                                                   processingof  of clothing
                                                                                     clothing for    gunshot residues,
                                                                                                 for gunshot    residues, bullet
                                                                                                                              bullet
path    interpretation, firearm
 path interpretation,        firearm functionality,
                                        functionality, and   andshooting
                                                                    shooting reconstruction.
                                                                                reconstruction. II havehave been
                                                                                                              beena aForensic
                                                                                                                           Forensic
Firearm    Examiner for
 Firearm Examiner       for twenty-seven
                             twenty-seven(30)  (30)years.
                                                     years.I have
                                                               I have   worked
                                                                      worked   as as a Forensic
                                                                                  a Forensic       Firearm
                                                                                                Firearm      Examiner
                                                                                                         Examiner        in ASCLD
                                                                                                                      in ASCLD
Accredited
Accredited Laboratories
               Laboratories in  in the  US Army
                                    the US   Army andand thethe LosLos Angeles
                                                                        Angeles Police
                                                                                   Police Department.
                                                                                            Department.I Ihavehavethirty-seven
                                                                                                                      thirty-seven
(37)
 (37) years
      years of    crime scene
              of crime    scene processing
                                   processing as  as both
                                                      bothaaSpecial
                                                                  Special Agent
                                                                           Agent (detective)
                                                                                    (detective) andandasasa aForensic
                                                                                                               ForensicFirearm
                                                                                                                            Firearm
Examiner.
 Examiner. Throughout
              Throughout my    my career
                                    career II have
                                               haveutilized
                                                       utilizedvarious
                                                                   variousscientific
                                                                            scientific methods
                                                                                        methods and and techniques
                                                                                                         techniquestotocollect,
                                                                                                                            collect,
preserve
 preserve and      analyze physical
             and analyze       physicalevidence
                                           evidenceat     at crime
                                                              crime scenes.
                                                                        scenes. II have
                                                                                     have investigated
                                                                                             investigated all all categories
                                                                                                                    categories of of
crimes,
 crimes, e.g.    homicides, assaults,
           e.g. homicides,                  and officer
                                assaults, and      officer involved
                                                              involved shootings
                                                                           shootings (OIS),
                                                                                        (01S), and     have conducted
                                                                                                 and have      conducted war/  war/
combat     shooting reconstructions
 combat shooting        reconstructions from fromincidents
                                                      incidentsininSomalia
                                                                         Somaliaand and   Yugoslavia.
                                                                                       Yugoslavia.

II am  qualified as
   am qualified       an expert
                  as an  expertininCalifornia
                                     California Superior
                                                Superior Court
                                                           Court in
                                                                  in the
                                                                      theareas
                                                                          areasofofForensic
                                                                                    ForensicFirearm
                                                                                             Firearmand andToolnnark
                                                                                                             Toolmark
Examination
 Examinationas   as well
                    well as
                          as Shooting
                             Shooting Reconstruction.
                                        Reconstruction. II am
                                                            am qualified
                                                                qualified inin the  US Federal
                                                                               the US   Federal Court
                                                                                                  Court system
                                                                                                        system as as an
                                                                                                                      an
expert
 expert in   Forensic Firearm
         in Forensic     Firearm and
                                   and Toolnnark
                                          Toolmark Identification.
                                                     Identification. II have
                                                                          have qualified
                                                                                 qualified as
                                                                                            as a aForensic
                                                                                                    ForensicFirearm
                                                                                                               Firearm
Examiner
 Examiner inin all
                all branches
                     branchesofofthe
                                   themilitary
                                       militaryand
                                                 andNATO
                                                     NATOCountries
                                                             Countries(Britain
                                                                         (Britain and
                                                                                  andCanada).
                                                                                      Canada).II amamqualified
                                                                                                       qualifiedasasan
                                                                                                                     an
expert  in the
 expert in     statesof
           the states   ofNew
                           New Mexico
                                 Mexico and
                                          and Arizona.
                                               Arizona. IIhave
                                                          have worked
                                                               worked bothboth for
                                                                               for defense  and prosecution
                                                                                   defense and    prosecutionatatboth
                                                                                                                   both
the  stateand
the state  andfederal
                federallevels.
                         levels.
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II have been trained
   have been    trained inin firearm-related  injuries and
                             firearm-related injuries   and have
                                                             have studied
                                                                  studied at
                                                                           at the
                                                                               the Letterman
                                                                                   LettermanArmyArmyMedical
                                                                                                        MedicalCenter,
                                                                                                                Center,Preside
                                                                                                                         Preside of
                                                                                                                                 of
San
 SanFrancisco,
      Francisco,andandthetheArmed
                              ArmedForces
                                     ForcesInstitute
                                             Instituteof
                                                       ofPathology
                                                          Pathologyin
                                                                    inWashington,
                                                                       Washington, D.C.
                                                                                      D.C.I Ihave
                                                                                              haveattended
                                                                                                    attendedautopsies
                                                                                                             autopsiesthroughout
                                                                                                                        throughout
my
 my career.
     career. II also
                also attended
                      attended advanced
                                  advanced training   at the
                                            training at  the Southwestern
                                                             Southwesterninstitute
                                                                             instituteofofForensic
                                                                                           ForensicSciences,
                                                                                                     Sciences,Parkland
                                                                                                               Parkland Memorial
                                                                                                                         Memorial
Hospital,
 Hospital, Dallas
           Dallas Texas,
                     Texas,in  inmicroscopic
                                 microscopic examination,
                                              examination, wound     ballistics and
                                                              wound ballistics  and the
                                                                                     the analysis
                                                                                           analysis and
                                                                                                    and study
                                                                                                         study of
                                                                                                               ofricochet
                                                                                                                  ricochetbullets.
                                                                                                                            bullets.
See
 Seebelow
      below for
             for further    details.
                  further details.

CRONOLOGICAL
CRONOLOGICAL SUMMARY OFEXPERIENCE
             SUMMARY OF EXPERIENCE

Shooting Reconstruction,Bullet
Shooting Reconstruction, BulletPath
                                PathAnalysis,
                                     Analysis,Wound
                                              WoundBallistics,
                                                    Ballistics,Forensic
                                                                ForensicFirearm
                                                                         Firearm&&Toolmark
                                                                                   ToolmarkExaminer
                                                                                            Examiner

 Responsiblefor
Responsible     for the
                     the forensic
                         forensic examination
                                  examination of  of firearms,  ammunition and
                                                     firearms, ammunition      and ammunition
                                                                                   ammunitioncomponents;
                                                                                                   components;the  themicroscopic
                                                                                                                        microscopic
examination
examination of     questioned bullets,
               of questioned     bullets, cartridge
                                          cartridge cases
                                                       cases and
                                                              and toolmarks;
                                                                   toolnnarks; the
                                                                                the restoration
                                                                                    restoration ofof obliterated
                                                                                                      obliterated serial
                                                                                                                    serial numbers;
                                                                                                                            numbers;
distance
distance determinations       (both gunshot
           determinations (both     gunshot residue
                                               residue and
                                                         and shotgun
                                                              shotgun pattern
                                                                        patternanalysis);
                                                                                 analysis); fracture
                                                                                             fracture or
                                                                                                      orphysical
                                                                                                          physical matches;
                                                                                                                    matches; bullet
                                                                                                                               bullet
path
 path analysis,
      analysis, trajectory   analysis and
                 trajectory analysis  and the
                                           the examination
                                                examination of of security
                                                                  securitydevices;
                                                                            devices; crime
                                                                                     crimescene
                                                                                             scene Investigation;
                                                                                                    Investigation;responsible
                                                                                                                     responsiblefor
                                                                                                                                  for
the
the diagramming,
     diagramming, preparation
                       preparation of  writtenreports
                                    of written   reportsregarding
                                                           regarding findings
                                                                      findings and
                                                                               and the
                                                                                    the presentation
                                                                                         presentation of ofthose
                                                                                                            thosefindings
                                                                                                                   findingsininState
                                                                                                                               State
and
and Federal
      Federal Jurisdictions;
               Jurisdictions; court
                                court qualified   in 3D
                                       qualified in   3D topographical
                                                          topographical comparative
                                                                          comparative analysis
                                                                                         analysis of
                                                                                                   of fired
                                                                                                       fired bullets;
                                                                                                              bullets;advises
                                                                                                                       advises local
                                                                                                                                local
jurisdictions on
jurisdictions on policies
                   policies regarding
                            regarding forensic
                                        forensic firearm
                                                  firearmexaminations
                                                            examinations

II possess additional expertise
   possessadditional  expertise in the processing
                                in the processing of
                                                  of gunshot
                                                     gunshot residues
                                                              residues (GSR)
                                                                       (GSR) and
                                                                             and bullet
                                                                                 bullet impacts on clothing.
                                                                                        impacts on clothing.

POSITIONS HELD &&RESPONSIBLITES
POSITIONS HELD   RESPONSIBLITES

Firearm
Firearm and
        and Tool-mark
            Tool-mark Examiner
                      Examiner&&Consultant,
                                 Consultant, Stockton
                                             Stockton Police Department
                                                      Police Department                                        2013
                                                                                                               2013 to 2019
                                                                                                                    to 2019

Responsiblefor
Responsible   for the
                   the forensic
                       forensic examination
                                examination of of firearms, ammunition and
                                                  firearms, ammunition   and ammunition
                                                                              ammunitioncomponents;
                                                                                             components;thethemicroscopic
                                                                                                                microscopic
examination
examination of   questioned bullets,
             of questioned     bullets, cartridge
                                        cartridge cases
                                                    cases and
                                                          and toolmarks;
                                                              toolnnarks; the
                                                                           the restoration  of obliterated
                                                                               restoration of  obliterated serial
                                                                                                            serial numbers;
                                                                                                                    numbers;
distance
distance determinations     (bothgunshot
         determinations (both    gunshotresidue
                                           residue and
                                                     and shotgun
                                                         shotgun pattern
                                                                 patternanalysis);
                                                                         analysis); fracture
                                                                                     fractureor
                                                                                              orphysical
                                                                                                 physicalmatches;
                                                                                                          matches;andand the
                                                                                                                          the
examination  of security
examination of  security devices.
                           devices.

Responsiblefor
Responsible    forthe
                   thepreparation
                        preparation of
                                    of written  reports regarding
                                       written reports   regarding findings,
                                                                   findings, the
                                                                             the presentation
                                                                                  presentationofoffindings
                                                                                                   findingsininjudicial
                                                                                                                judicialor
                                                                                                                         ornon-
                                                                                                                            non-
judicial  proceedings   and  gunshot wound    analysis;  provides training and  lectures to officers  and  detectives;
judicial proceedings and gunshot wound analysis; provides training and lectures to officers and detectives; Creates     Creates
and
and implements     policy regarding
     implements policy     regarding forensic
                                     forensic firearm
                                               firearm examinations
                                                        examinations and
                                                                       and procedures;
                                                                            procedures; evaluates
                                                                                         evaluates firearm
                                                                                                     firearmsecurity-related
                                                                                                               security-related
policies
policies and
           and procedures;
               procedures; completes
                               completes crime    scene investigations,
                                          crime scene     investigations, shooting
                                                                          shooting reconstruction,     diagramming of
                                                                                    reconstruction, diagramming        of crime
                                                                                                                           crime
scenes   related to firearm   evidence and  trajectory  analysis.
scenes related to firearm evidence and trajectory analysis.

Firearm and
Firearm     Tool-mark
        and Tool mark Examiner,
                    - Examiner,Santa
                                Santa Ana
                                      AnaPolice
                                          Police Department
                                                 Department                                                    1996
                                                                                                               1996 to
                                                                                                                    to 2016
                                                                                                                       2016

Responsiblefor
Responsible    for the  examination of
                    the examination        firearms, ammunition
                                       of firearms,   ammunition andand ammunition
                                                                          ammunition components;
                                                                                         components; the themicroscopic
                                                                                                              microscopic
examination
examination of   questioned bullets,
             of questioned   bullets, cartridge
                                      cartridge cases
                                                 cases and
                                                        and toolmarks;
                                                            toolnnarks; the
                                                                         the restoration  of obliterated
                                                                             restoration of  obliterated serial
                                                                                                          serial numbers;
                                                                                                                  numbers;
distance
distance determinations   (bothgunshot
         determinations (both   gunshotresidue
                                          residue and
                                                  and shotgun
                                                       shotgun pattern
                                                               patternanalysis);
                                                                       analysis); fracture
                                                                                   fractureor
                                                                                            orphysical
                                                                                               physicalmatches;
                                                                                                        matches;andand the
                                                                                                                        the
examination  of security
examination of  security devices.
                         devices.

Responsiblefor
Responsible    forthe
                   thepreparation
                        preparation of
                                    of written  reports regarding
                                       written reports   regarding findings,
                                                                   findings, the
                                                                             the presentation
                                                                                  presentationof offindings
                                                                                                    findingsininjudicial
                                                                                                                 judicialor
                                                                                                                          ornon-
                                                                                                                             non-
judicial proceedings and
judicial proceedings    and gunshot
                             gunshot wound
                                     wound analysis;
                                              analysis; provides
                                                        provides training
                                                                  trainingand
                                                                           andlectures
                                                                                lecturestotoofficers
                                                                                             officersand
                                                                                                       anddetectives;
                                                                                                            detectives;Creates
                                                                                                                          Creates
and
and implements     policy regarding
     implements policy     regarding forensic
                                     forensic firearm
                                               firearm examinations
                                                        examinations and
                                                                       and procedures;
                                                                            procedures; evaluates
                                                                                          evaluates firearm
                                                                                                      firearmsecurity-related
                                                                                                                security-related
policies
policies and
          and procedures;
               procedures; completes
                              completes crime     scene investigations,
                                          crime scene     investigations, shooting
                                                                          shooting reconstruction,      diagramming of
                                                                                    reconstruction, diagramming          of crime
                                                                                                                            crime
scenes
scenes related
         related to  firearm evidence
                 to firearm   evidence and
                                        and trajectory
                                             trajectoryanalysis;
                                                         analysis;provides
                                                                   providesforensic
                                                                             forensicanalysis
                                                                                      analysis ononassigned
                                                                                                     assigned Officer
                                                                                                                Officer Involved
                                                                                                                         Involved
Shootings.
Shootings.
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 Firearm
 Firearm and
         and Tool-mark
             Tool-mark Examiner,
                       Examiner, Consultant,
                                 Consultant, Los
                                             Los Angeles
                                                 Angeles Police Department
                                                         Police Department                                          1993
                                                                                                                    1993 to
                                                                                                                         to 1996
                                                                                                                            1996

Responsiblefor
Responsible    for the  examination of
                    the examination        firearms, ammunition
                                       of firearms,   ammunition andand ammunition
                                                                          ammunition components;
                                                                                         components; the themicroscopic
                                                                                                              microscopic
examination
examination of   questioned bullets,
             of questioned   bullets, cartridge
                                      cartridge cases
                                                 cases and
                                                        and toolmarks;
                                                            toolnnarks; the
                                                                         the restoration
                                                                             restoration of  obliterated serial
                                                                                          of obliterated  serial numbers;
                                                                                                                  numbers;
distance
distance determinations   (bothgunshot
         determinations (both  gunshotresidue
                                          residue and
                                                  and shotgun
                                                       shotgun pattern
                                                               patternanalysis);
                                                                       analysis); fracture
                                                                                   fractureor
                                                                                            orphysical
                                                                                               physicalmatches;
                                                                                                        matches;andand the
                                                                                                                        the
examination  of security devices.
examination of security devices.

Responsiblefor
Responsible    forthe
                   thepreparation
                        preparation of
                                    of written  reports regarding
                                       written reports   regarding findings,
                                                                   findings, the
                                                                             the presentation
                                                                                  presentationof offindings
                                                                                                    findingsininjudicial
                                                                                                                 judicialor
                                                                                                                          ornon-
                                                                                                                             non-
judicial proceedings and
judicial proceedings    and gunshot
                             gunshot wound
                                     wound analysis;
                                              analysis; provides
                                                        provides training
                                                                  trainingand
                                                                           andlectures
                                                                                lecturestotoofficers
                                                                                             officersand
                                                                                                       anddetectives;
                                                                                                            detectives;Creates
                                                                                                                          Creates
and
and implements     policy regarding
     implements policy     regarding forensic
                                     forensic firearm
                                               firearm examinations
                                                        examinations and
                                                                       and procedures;
                                                                            procedures; evaluates
                                                                                          evaluates firearm
                                                                                                      firearmsecurity-related
                                                                                                                security-related
policies
policies and
          and procedures;
               procedures; completes
                              completes crime     scene investigations,
                                          crime scene     investigations, shooting
                                                                          shooting reconstruction,      diagramming of
                                                                                    reconstruction, diagramming          of crime
                                                                                                                            crime
scenes
scenes related
         related to  firearm evidence
                 to firearm   evidence and
                                        and trajectory
                                             trajectoryanalysis;
                                                         analysis;provides
                                                                   providesforensic
                                                                             forensicanalysis
                                                                                      analysis ononassigned
                                                                                                     assigned Officer
                                                                                                                Officer Involved
                                                                                                                         Involved
Shootings.
Shootings.

 Firearm
 Firearm and
          and Tool-mark
              Tool-mark Examiner,
                           Examiner, United  StatesArmy
                                      United States ArmyCriminal
                                                         Criminal Investigation
                                                                  InvestigationLaboratory
                                                                                 LaboratoryFt.
                                                                                            Ft.
 Gillem, Georgia and
 Gillem, Georgia andFrankfurt
                      Frankfurt Germany-
                                   Germany-Casework
                                            Caseworkwith
                                                      withUS
                                                           USArmy,
                                                              Army,USUSNavy,
                                                                         Navy,USUSAir
                                                                                   AirForce
                                                                                      Force&&USUS
 Marines  NATO Forces
 Marines NATO    Forces -- Britain
                           Britain &
                                   & Canada
                                     Canada                                                                         1989
                                                                                                                    1989 to
                                                                                                                         to 1993
                                                                                                                            1993

Responsiblefor
Responsible    for the  examination of
                    the examination       firearms, ammunition
                                      of firearms,   ammunition andand ammunition
                                                                        ammunition components;
                                                                                        components; thethemicroscopic
                                                                                                            microscopic
examination  of  questioned  bullets, cartridge cases  and toolmarks; the restoration    of obliterated serial numbers;
examination of questioned bullets, cartridge cases and toolnnarks; the restoration of obliterated serial numbers;
distance
distance determinations   (bothgunshot
         determinations (both   gunshotresidue
                                         residue and
                                                 and shotgun
                                                      shotgun pattern
                                                              patternanalysis);
                                                                      analysis); fracture
                                                                                  fractureor
                                                                                           orphysical
                                                                                              physicalmatches;
                                                                                                      matches;and
                                                                                                                and the
                                                                                                                     the
examination  of security
examination of  security devices.
                         devices.

Responsiblefor
Responsible     forthe
                    thepreparation
                         preparation of
                                      of written  reports regarding
                                         written reports   regarding findings,
                                                                       findings, the
                                                                                 the presentation
                                                                                      presentationof offindings
                                                                                                        findingsininjudicial
                                                                                                                     judicialor
                                                                                                                              ornon-
                                                                                                                                 non-
judicial proceedings and
judicial proceedings     and gunshot
                              gunshot wound
                                       wound analysis;
                                                analysis; provides
                                                          provides training
                                                                      trainingand
                                                                               andlectures
                                                                                    lecturestotoofficers
                                                                                                 officersand
                                                                                                           anddetectives;
                                                                                                                detectives;Creates
                                                                                                                             Creates
and
and implements      policy regarding
     implements policy      regarding forensic
                                       forensic firearm
                                                 firearm examinations
                                                          examinations and and procedures;
                                                                                procedures; evaluates
                                                                                              evaluates firearm
                                                                                                          firearmsecurity-related
                                                                                                                    security-related
policies
policies and
           and procedures;
               procedures; completes
                                completes crime     scene investigations,
                                            crime scene     investigations, shooting
                                                                             shooting reconstruction,       diagramming of
                                                                                        reconstruction, diagramming         of crime
                                                                                                                                crime
scenes
scenes related
          related to  firearm evidence
                   to firearm    evidence and
                                           and trajectory
                                                trajectoryanalysis;
                                                              analysis;provided
                                                                         providedforensic
                                                                                   forensicfirearm-related
                                                                                             firearm-relatedEuropean
                                                                                                                 EuropeanTheater
                                                                                                                             Theater
coverage
coverage andand assisted
                  assisted inin crime scene reconstruction
                                crime scene   reconstruction on on incidents
                                                                    incidents which
                                                                               whichoccurred
                                                                                       occurredininDesert
                                                                                                      DesertStorm,
                                                                                                               Storm,Somalia
                                                                                                                       Somaliaand and
Yugoslavia.
Yugoslavia.

 Special Agent, United
 Special Agent,  UnitedStates
                         StatesArmy
                                ArmyCriminal
                                      Criminal Investigation
                                                 InvestigationCommand
                                                               Command(CID)
                                                                          (CID)
 3rd
 3rd Region Ft Polk
     Region Ft  Polk Field
                     Field Office,
                           Office, Leesville,
                                   Leesville,La
                                              La &
                                                 & 6th
                                                   6th Region,
                                                       Region,Ft
                                                               FtBliss
                                                                 BlissField
                                                                       FieldOffice,
                                                                             Office,ElElPaso,
                                                                                        Paso,TX
                                                                                              TX                    1983
                                                                                                                    1983 to
                                                                                                                         to 1989
                                                                                                                            1989

Special Agent/Team
Special  Agent/Team Chief
                        Chief investigating
                               investigating and   supervising Special
                                              and supervising   Special Agents
                                                                          Agents inin the investigation of
                                                                                      the investigation   offelony
                                                                                                             felonycrimes,
                                                                                                                     crimes,e.g.
                                                                                                                              e.g.
homicides,
homicides, firearm-related     incidents, sex
              firearm-related incidents,   sex crimes,
                                               crimes, drug-related
                                                        drug-related offenses
                                                                        offenses and
                                                                                  and economic
                                                                                       economic crimes
                                                                                                   crimes in
                                                                                                           in the
                                                                                                               theUnited
                                                                                                                   UnitedStates
                                                                                                                           States
Army;   processed, photographed,
Army; processed,      photographed, collected
                                        collected evidence,
                                                   evidence, diagrammed,
                                                               diagrammed, reconstructed
                                                                                reconstructed andand analyzed
                                                                                                       analyzed crime
                                                                                                                  crimescenes;
                                                                                                                          scenes;
collected  and preserved
collected and      preserved physical
                               physical and
                                          and testimonial
                                                testimonial evidence;
                                                              evidence; supervised
                                                                           supervised andand trained
                                                                                              trainedprobationary
                                                                                                         probationaryCriminal
                                                                                                                         Criminal
Investigators/Special   Agents; provided
Investigators/Special Agents;               writtenreports
                                 provided written    reportsand
                                                             andtestified
                                                                 testifiedininCCCourt
                                                                                 Courtproceedings;
                                                                                       proceedings;managed
                                                                                                      managedinformants
                                                                                                                 informantsandand
conducted    threatassessments
conducted threat     assessments ofof key
                                      key and
                                          and suspected
                                               suspected targets
                                                          targets (personnel
                                                                   (personneland and key
                                                                                     key area
                                                                                          area targets);
                                                                                               targets);assigned
                                                                                                          assigned to
                                                                                                                    to Protective
                                                                                                                       Protective
Services
Services of
          of dignitaries.
             dignitaries.
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 Military
 Military Police
          Police Investigator  (MPI), 2nd
                 Investigator (MPI),  2nd Region,
                                          Region,Frankfurt
                                                  Frankfurt Germany
                                                            Germany                                         1980
                                                                                                            1980 to
                                                                                                                 to 1983
                                                                                                                    1983

Military Police Investigator
Military Police              responsible for
                Investigator responsible    for the
                                                 theinvestigation
                                                     investigationofofmisdemeanor
                                                                      misdemeanorcrimes,
                                                                                    crimes,e.g.
                                                                                            e.g.burglary,
                                                                                                burglary,theft,
                                                                                                           theft,vandalism,
                                                                                                                  vandalism,
minor
minor drug-related   offenses, etc.;
       drug-related offenses,  etc.; interviewed
                                     interviewedwitnesses,
                                                    witnesses,completed
                                                                completedsuspect
                                                                           suspectinterrogations;
                                                                                   interrogations;crime
                                                                                                   crimescene
                                                                                                          sceneprocessing,
                                                                                                                 processing,
diagramming;
diagramming; andand other
                    otherduties
                          dutiesasasassigned.
                                      assigned.

 Military
 Military Police
          Police (MP),
                 (MP), 230th MP Company,
                       230th MP Company,Rhine
                                         RhineOrdinance
                                              OrdinanceBarracks,
                                                        Barracks,Kaiserslautern,
                                                                 Kaiserslautern,
 Germany
 Germany                                                                                                    1978
                                                                                                            1978 to
                                                                                                                 to 1980
                                                                                                                    1980

Military  Police Officer
Military Police   Officer responsible
                           responsible for
                                        forpatrol
                                            patrolofofKaiserslautern,
                                                       Kaiserslautern,Germany;
                                                                       Germany;detained
                                                                                 detainedand
                                                                                           andapprehended
                                                                                                apprehendedsuspects;
                                                                                                              suspects;
interviewed   witnesses; conducted
interviewed witnesses;      conducted traffic  and crowd
                                       traffic and  crowd control;
                                                           control; completed
                                                                     completedaccident
                                                                               accidentinvestigation;
                                                                                        investigation;provided
                                                                                                       providedconvoy
                                                                                                                convoy
escort;
escort; trained  in combat
        trained in  combat MPMP duties
                                dutiesand
                                        andfield
                                             fieldexercises.
                                                   exercises.

 Military
 Military Police
          Police (MP),
                 (MP), 164th
                       164th Military
                             Military Police
                                      Police Company, Miesau, Germany
                                             Company, Miesau, Germany                                       1977
                                                                                                            1977 to
                                                                                                                 to 1978
                                                                                                                    1978


Military Police Officer
Military Police           responsible for
                 Officer responsible      security and
                                      for security and convoy
                                                       convoy transport
                                                              transport of
                                                                        of nuclear
                                                                            nuclear devices;
                                                                                    devices; monitored
                                                                                             monitoredoperations
                                                                                                       operationsand
                                                                                                                  and
security
security of
         of military/civilian  personnelservicing
            military/civilian personnel  servicingand
                                                   andworking
                                                       workingon
                                                               onnuclear
                                                                  nucleardevices.
                                                                           devices.
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TECHNICAL/SPECIALIZED
TECHNICAL/SPECIALIZED TRAINING
                      TRAINING

   ••   Forensic Shooting
        Forensic   Shooting Incident       ReconstructionCourse,
                                 Incident Reconstruction       Course,Forensic
                                                                         ForensicScience
                                                                                     ScienceConsultants,
                                                                                                Consultants,SanSanDiego
                                                                                                                    DiegoCounty
                                                                                                                             CountySheriff's
                                                                                                                                      Sheriff’s
        Office,  San Diego,
        Office, San  Diego,CA   CA
   ••   US
        USArmy
            ArmyCriminal
                    CriminalInvestigation
                                  Investigation Laboratory      Firearm &
                                                  Laboratory Firearm       & Tool-mark
                                                                              Tool-mark (Firearm,
                                                                                            (Firearm, Microscopic
                                                                                                        MicroscopicComparisons,
                                                                                                                        Comparisons,Tool- Tool-
        Mark
        Mark Examiner,
               Examiner, Wound          Ballistics, Shooting
                              Wound Ballistics,                 Reconstruction,Clothing
                                                    Shooting Reconstruction,        ClothingAnalysis)
                                                                                                 Analysis)Training
                                                                                                            TrainingCourse,
                                                                                                                      Course,22years
                                                                                                                                   years
   ••   Wound     Ballistic Training
        Wound Ballistic      Training Course,
                                         Course, Letterman
                                                  Letterman ArmyArmy Medical
                                                                        Medical Center,
                                                                                   Center,Presidio
                                                                                             PresidioofofSan
                                                                                                           SanFrancisco,
                                                                                                                Francisco,CA  CA
   ••   Wound     Ballistic Training
        Wound Ballistic       TrainingCourse
                                          Course ofof Study
                                                      Study at at the  US Armed
                                                                  the US    Armed Forces
                                                                                     Forces Institute
                                                                                               InstituteofofPathology,
                                                                                                              Pathology,Washington,
                                                                                                                            Washington,DC   DC
        Wound     Ballistic Study
        Wound Ballistic      Study at   Medical Examiner's
                                     at Medical    Examiner’sOffice,
                                                                 Office,Boston,
                                                                           Boston,MA MA
   ••   Advanced
        Advanced Training
                     Training in       Comparative Analysis
                                   in Comparative       Analysis and     Ricochet Analysis,
                                                                    and Ricochet      Analysis, Southwestern
                                                                                                   Southwestern Institute
                                                                                                                     InstituteofofForensics
                                                                                                                                     Forensics
        Services,  Dallas,Tx
        Services, Dallas,     Tx
   ••   US
        US Army
            ArmyCriminal
                    CriminalInvestigation
                                  Investigation Academy,
                                                  Academy, Ft. Ft. McClellan,
                                                                    McClellan, Alabama,
                                                                                 Alabama, Sixteen
                                                                                               Sixteen (16)
                                                                                                        (16) weeks     trainingas
                                                                                                               weeks training     asaaSpecial
                                                                                                                                        Special
        Agent
        Agent ininArmy
                   ArmyCID.CID.
   ••   US
        USArmy
            ArmyMilitary
                    MilitaryPolice
                                PoliceAcademy,
                                        Academy, Vilseck
                                                     VilseckGermany.
                                                              Germany. Eight
                                                                           Eight (8)
                                                                                  (8) weeks
                                                                                       weeks training    as aaMilitary
                                                                                               training as    MilitaryPolice
                                                                                                                         PoliceInvestigator.
                                                                                                                                 Investigator.
   ••   Street  SurvivalTraining,
        Street Survival    Training,Dallas,
                                        Dallas,TXTX
   ••   Glock
        Glock Police
                Police Armorers
                        Arnnorers Course       (Pistol),Smyrna,
                                      Course (Pistol),    Smyrna,GA  GA
   ••   Smith
        Smith & & Wesson        Armorer’s Course
                   Wesson Armorer's           Course (Pistol/Revolver),
                                                       (Pistol/Revolver), Smith
                                                                              Smith andandWesson
                                                                                              WessonFactory,
                                                                                                        Factory,Springfield,
                                                                                                                   Springfield,MA  MA Sturm,
                                                                                                                                        Sturm,
        Ruger
        Ruger & & Co.
                   Co.Armorers
                        ArnnorersCourse
                                      Course (Pistol,
                                               (Pistol, Revolver,
                                                         Revolver, Rifle
                                                                     Rifle and
                                                                           and Shotgun)      Ruger Factory,
                                                                                Shotgun) Ruger       Factory,Newport,
                                                                                                               Newport,NH   NHSig
                                                                                                                                SigSauer
                                                                                                                                     SauerInc,
                                                                                                                                           Inc,
        Armors    Course,Ilion,
        Armors Course,       Ilion,NYNY
   ••   Beretta   and M-16
        Beretta and    M-16 Armors
                                Armors Training
                                          Training Course,
                                                     Course, Aberdeen
                                                               Aberdeen Providing
                                                                            Providing Grounds,
                                                                                         Grounds,Aberdeen,
                                                                                                      Aberdeen,MD  MD
   ••   Opposing    ForcesWeapons
        Opposing Forces        Weapons     Center,
                                        Center,      (WARSAW
                                                 (WARSAW           PACT
                                                                PACT       WEAPONS),
                                                                        WEAPONS),       ie.ie. AK47,
                                                                                            AK47,     AKM,AKMS,
                                                                                                    AKM,      AKMS,FPK,FPK,RPK
                                                                                                                             RPK and
                                                                                                                                  andDUSKA
                                                                                                                                        DUSKA
        Machine    Gun.
        Machine Gun.
   ••   Remington
        Remington ArmsArms Inc,Inc, Armorer’s    Course,Remington
                                    Armorer's Course,       RemingtonFactory,
                                                                          Factory,Ilion,
                                                                                     Ilion,NYNY
   ••   Charter   Arms Inc.
        Charter Arms      Inc. Factory
                                Factory Tour
                                          Tour and
                                                 and Manufacturing       Techniques,Shelton,
                                                      Manufacturing Techniques,           Shelton,Connecticut
                                                                                                     Connecticut
   ••   Dan
        Dan Wesson,      Factory Tour
              Wesson, Factory        Tour and    ManufacturingTechniques,
                                           and Manufacturing         Techniques,Monson,
                                                                                    Monson,Massachusetts
                                                                                                  MassachusettsH&K H&KArnnorers
                                                                                                                           Armorers Course,
                                                                                                                                       Course,
        San  Antonio,TX
        San Antonio,     TX
   ••   Winchester
        Winchester ArmsArms Company,
                                Company, Manufacturing
                                             Manufacturing Techniques
                                                                 Techniques and andFactory
                                                                                      FactoryTour,Tour,New
                                                                                                        NewHaven,
                                                                                                               Haven,CT  CT Marlin
                                                                                                                             Marlin Firearms
                                                                                                                                      Firearms
        Company,
        Company, Manufacturing
                       ManufacturingTechniques
                                             Techniquesand    and Factory      tour, North
                                                                    Factory tour,       North Haven,
                                                                                                  Haven, CTCT Savage
                                                                                                                 SavageArms ArmsCompany,
                                                                                                                                    Company,
        Manufacturing
        Manufacturing and  andFactory
                                  FactoryTraining
                                           TrainingTour,
                                                      Tour,West
                                                              WestSpringfield,
                                                                     Springfield,MA MA Colt
                                                                                         Colt firearms    ManufacturingPlant,
                                                                                                firearms Manufacturing       Plant,Hartford,
                                                                                                                                     Hartford,
        CT
        CT
   ••   Colt
        Colt firearms
              firearms Manufacturing
                         Manufacturing Plant Plant(Factory
                                                    (Factory2), 2),West
                                                                    WestHartford,
                                                                           Hartford,CT  CT
   ••   TECHNICAL/SPECIALIZED
        TECHNICAL/SPECIALIZEDTRAINING     TRAINING(Continued)
                                                        (Continued)
   ••   Winchester     Ammunition Manufacturing
        Winchester Ammunition            ManufacturingPlant PlantTraining
                                                                   TrainingTour,
                                                                              Tour,Olin,
                                                                                      Olin, IL
                                                                                             IL Remington
                                                                                                 Remington Ammunition
                                                                                                              Ammunition Manufacturing
                                                                                                                               Manufacturing
        Plant  Training Tour,
        Plant Training    Tour,Lonoke,
                                   Lonoke,AR AR
   ••   Surreptitious    Entry/TechnicalSurveillance
        Surreptitious Entry/Technical          SurveillanceCourse,
                                                               Course,Atlanta,
                                                                         Atlanta,GA GAFoley-Belsaw
                                                                                         Foley-BelsawBasicBasicand
                                                                                                                 andAdvanced
                                                                                                                       AdvancedLocksmith
                                                                                                                                    Locksmith
        Course,   Atlanta,GA
        Course, Atlanta,      GA
   ••   Medeco
        Medeco HighHigh Security
                         Security Locksmith
                                      Locksmith Course,      MedecoFactory,
                                                   Course, Medeco       Factory,Salem,
                                                                                   Salem,VA  VA
   ••   Serial
        Serial Number      RestorationCourse,
                Number Restoration         Course,California
                                                     CaliforniaCrinninalistics
                                                                  CriminalisticsInstitute
                                                                                   Institute(CCI),
                                                                                               (CCI),Santa
                                                                                                      SantaAna,
                                                                                                              Ana,CA
                                                                                                                   CA Firearms
                                                                                                                        FirearmsCollection,
                                                                                                                                    Collection,
        Smithsonian     Institute,Washington,
        Smithsonian Institute,        Washington,DC   DC
   ••   Firearms    Collection, National
        Firearms Collection,                      Rifle Association,
                                      National Rifle       Association, Washington,
                                                                            Washington, DC     DC Radford
                                                                                                    Radford ArmyArmy Ammunition
                                                                                                                         Ammunition Plant Plant
        (propellant),   Radford,VA
        (propellant), Radford,       VA
   ••   Thompson
        Thompson CenterCenter Arms,Arms, Manufacturing
                                           Manufacturing Tour   Tour andand Plant,
                                                                              Plant, Rochester,
                                                                                        Rochester,NH   NHBeretta
                                                                                                             BerettaUSA USAInc.,
                                                                                                                               Inc.,Firearms
                                                                                                                                      Firearms
        Manufacturing
        Manufacturing Plant,Plant,Accokeek,
                                     Accokeek,MD  MD
   ••   West   Point Firearms
        West Point    Firearms Collection,
                                    Collection, West
                                                 West Point
                                                         Point Museum,
                                                                Museum,StatesStatesMilitary
                                                                                     MilitaryAcademy,
                                                                                                 Academy,West WestPoint,
                                                                                                                    Point,NY NY
   ••   American
        American LockLock Company,
                              Company, Manufacturing
                                            Manufacturing Tour  Tour and     Plant, Crete,
                                                                       and Plant,     Crete,IL IL Stanley
                                                                                                   Stanley Tools,
                                                                                                             Tools, Manufacturing
                                                                                                                      ManufacturingPlant,Plant,
        Cheraw,
        Cheraw, SC SC
   ••   Cooper
        Cooper Tools,
                  Tools, Manufacturing
                           Manufacturing Plant,Plant,Sumter,
                                                      Sumter,SC  SC
   ••   Wilson
        Wilson Arms
                 Arms Company,
                         Company, Manufacturing            Plant,Bradford,
                                        Manufacturing Plant,       Bradford,CT CT

                                                                                                        Expert@Expertinfo.com
                                                                                                        Expert@Expertinfo.corn
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   ••   H.K.
        H.K. Porter
             Porter Tool Manufacturing Plant,
                    Tool Manufacturing   Plant, Statesboro,
                                                Statesboro, GAGA Schrade
                                                                  Schrade Knife
                                                                            Knife Manufacturing
                                                                                  ManufacturingPlant,
                                                                                                   Plant,Ellenville,
                                                                                                          Ellenville,NY
                                                                                                                      NY
        Camilius
        Camillus Knife
                 Knife Manufacturing Plant, Camillus,
                       Manufacturing Plant,  Camilius, NY
                                                       NY Utica
                                                          Utica Knife
                                                                Knife Manufacturing   Plant,Utica,
                                                                       Manufacturing Plant, Utica,NYNY
   ••   Marksman
        Marksman and
                   and Beeman
                       Beeman BB
                               BB && Air
                                     Air Rifle
                                         Rifle Manufacturing   Plant, Huntington
                                               Manufacturing Plant,   HuntingtonBeach,
                                                                                  Beach,CA
                                                                                         CA

   ••   Drug
        Drug Enforcement      Cover/Surveillance Course,
              Enforcement Cover/Surveillance        Course, Drug    Enforcement Administration
                                                             Drug Enforcement       Administration (DEA),
                                                                                                     (DEA), Anniston,
                                                                                                             Anniston, AL
                                                                                                                        AL
        Protective
        Protective services
                   services Course,
                             Course, Military  Police School,
                                      Military Police School, Department
                                                               Department of of the
                                                                                 theArmy,
                                                                                     Army,Fort
                                                                                            FortMcClellan,
                                                                                                 McClellan,ALALAdvanced
                                                                                                                Advanced
        Fraud
        Fraud Investigations
               Investigations Course
                              Course (White    Collar/Economic Crimes),
                                      (White Collar/Economic     Crimes), Ft.
                                                                          Ft. Mc
                                                                              McClellan,
                                                                                   Clellan,AL
                                                                                           AL Philippines
                                                                                              PhilippinesNational
                                                                                                           NationalPolice
                                                                                                                    Police
        Crime
        Crime Laboratory
               Laboratory International  Tour, Manila,
                           International Tour,  Manila, Philippines
                                                        Philippines


MEMBERSHIPS
MEMBERSHIPS

   ••   Distinguished Member,Association
        Distinguished Member, AssociationofofFirearm
                                              Firearmand
                                                      andToolnnark
                                                          ToolmarkExaminers
                                                                   Examiners(AFTE)
                                                                             (AFTE)

PROFESSIONAL
PROFESSIONALTRAINING
             TRAINING COURSES/SEMINARS
                      COURSES/SEMINARS


Annual
Annual Training
       TrainingConference,
                Conference, Association ofFirearm
                            Association of Firearm and
                                                   and Toolmark
                                                       Toolmark Examiners,
                                                                Examiners, Omaha,
                                                                           Omaha, NB
                                                                                  NB                               1990
                                                                                                                   1990
Annual
Annual Training
       Training Conferences, AssociationofofFirearm
                Conferences, Association     Firearmand
                                                     andToolmark
                                                         ToolmarkExaminers;
                                                                  Examiners;Houston,
                                                                             Houston,TX
                                                                                      TX                           1991
                                                                                                                   1991
Annual
Annual Training
       Training Conference, AssociationofofFirearm
                Conference, Association     Firearmand
                                                    andToolmark
                                                        ToolmarkExaminers,
                                                                 Examiners,Miami,
                                                                           Miami,FL
                                                                                  FL                               1992
                                                                                                                   1992
Training
Training
_        Conference, International
         Conference,                AssociationofofForensic
                     International Association      ForensicSciences,
                                                            Sciences, Dusseldorf,
                                                                      Dusseldorf, Germany
                                                                                  Germany                          1993
                                                                                                                   1993
Annual Training Conference,
Annual Training Conference, Association
                            Associationof
                                        ofFirearm
                                          Firearmand
                                                  andToolnnark
                                                      ToolmarkExaminers,
                                                               Examiners, Indianapolis,
                                                                           Indianapolis,IN
                                                                                         IN                        1995
                                                                                                                   1995
Annual
Annual Training
       TrainingConference,
                Conference, Association ofFirearm
                            Association of Firearm and
                                                   and Toolmark
                                                       Toolmark Examiners,
                                                                Examiners, Annapolis,
                                                                           Annapolis, Ma
                                                                                      Ma                           1997
                                                                                                                   1997
Annual
Annual Training
       Training Conference, AssociationofofFirearm
                Conference, Association     Firearmand
                                                    andToolmark
                                                        ToolmarkExaminers,
                                                                 Examiners,St.
                                                                            St.Louis,
                                                                                Louis,MO
                                                                                      MO                           2000
                                                                                                                   2000
Annual
Annual Training
       Training Conference, AssociationofofFirearm
                Conference, Association     Firearmand
                                                    andToolmark
                                                        ToolmarkExaminers,
                                                                 Examiners,San
                                                                            SanAntonio,
                                                                                Antonio,TX
                                                                                         TX                        2002
                                                                                                                   2002
Annual
Annual
_      Training Conference,
       Training Conference,Association
                            AssociationofofFirearm
                                            Firearmand
                                                    andToolnnark
                                                        ToolmarkExaminers,
                                                                 Examiners,San
                                                                            SanFrancisco,
                                                                                Francisco,CA
                                                                                          CA                       2007
                                                                                                                   2007
Annual Training Conference,
Annual Training Conference,AFTE
                            AFTE Henderson, NV
                                 Henderson, NV                                                                     2010
                                                                                                                   2010
Annual
Annual Training
       Training Conference, AssociationofofFirearm
                Conference, Association     Firearmand
                                                    andToolmark
                                                        ToolmarkExaminers,
                                                                 Examiners,Chicago,
                                                                            Chicago,IL
                                                                                     IL                            2011
                                                                                                                   2011
Annual
Annual Training
       TrainingConference
                Conference Association of Firearm
                           Association of Firearm and
                                                  and Toolmark
                                                      Toolmark Examiners
                                                               Examiners Seattle,
                                                                         Seattle,WA
                                                                                  WA                               2013
                                                                                                                   2013
Annual
Annual Training
       Training Conference AssociationofofFirearm
                Conference Association     Firearmand
                                                   andToolmark
                                                       ToolmarkExaminers,
                                                                Examiners,San
                                                                           SanDiego,
                                                                               Diego,CA
                                                                                      CA                           2014
                                                                                                                   2014
Annual Training Conference
Annual Training ConferenceAssociation
                           AssociationofofFirearm
                                           Firearmand
                                                   andToolnnark
                                                       ToolmarkExaminers,
                                                                Examiners,Dallas,
                                                                           Dallas,TX
                                                                                   TX                              2016
                                                                                                                   2016
Annual
Annual Training
       Training Conference AssociationofofFirearm
                Conference Association     Firearmand
                                                   andToolmark
                                                       ToolmarkExaminers,
                                                                Examiners,New
                                                                           NewOrleans,
                                                                               Orleans,LA
                                                                                        LA                         2016
                                                                                                                   2016
Homicide
Homicide Investigators Conference,New
         Investigators Conference, NewOrleans,
                                      Orleans,LA
                                               LA                                                                  2016
                                                                                                                   2016
Annual
Annual Training
       TrainingConference,
                Conference, Association ofFirearm
                            Association of Firearm and Toolmark
                                                   and Tool ma rk Examiners,
                                                                  Examiners, Denver, CO
                                                                             Denver, CO                            2017
                                                                                                                   2017

Annual
Annual Training
       TrainingConference,
                Conference, Association ofFirearm
                            Association of Firearm and
                                                   andToolmark
                                                       ToolmarkExaminers,
                                                               Examiners,Charleston,
                                                                          Charleston,Virgina
                                                                                      Virgina                      2018
                                                                                                                   2018
Annual Training Conference,
Annual Training Conference,Association
                            AssociationofofFirearm
                                            Firearmand
                                                    andToolnnark
                                                        ToolmarkExaminers,
                                                                 Examiners,Chicago,
                                                                            Chicago,ILIL                           2019
                                                                                                                   2019

NE
NE Regional
   Regional Training
            Training Conference,
                     Conference, AFTE,
                                 AFTE, FBI
                                       FBIAcademy
                                           Academy Quantico, Virgina
                                                   Quantico, Virgina                                               2019
                                                                                                                   2019
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FORENSIC
FORENSIC SCIENCE
         SCIENCE PRESENTATIONS
                 PRESENTATIONS

    ••   "The Advance
         "The  AdvanceCombat
                        Combat Rifles"
                                  Rifles"(Combat
                                          (Combatrifles
                                                     riflestested
                                                            tested by
                                                                    by the  United States
                                                                        the United  States Army
                                                                                            Army for
                                                                                                   for the
                                                                                                       the future),
                                                                                                            future),presented
                                                                                                                     presented
         before  members of
         before members    of the
                               the22nd
                                   22ndAnnual
                                          AnnualMeeting
                                                   Meetingfor forthe
                                                                   theAssociation
                                                                       AssociationofofFirearm
                                                                                         Firearmand
                                                                                                  andTool
                                                                                                        ToolMark
                                                                                                              MarkExaminers,
                                                                                                                    Examiners,
         (AFTE),
         (AFTE),Houston,
                  Houston, Texas,
                           Texas, 1991
                                  1991
    ••   Tracking
         Tracking Firearm  RelatedIncidents,
                  Firearm Related  Incidents,(AFTE
                                              (AFTETraining
                                                      TrainingSeminar)
                                                                 Seminar)Dallas,
                                                                            Dallas,TX
                                                                                    TX
    ••   Tracking
         Tracking Firearm
                  Firearm Related
                           Related Incidents, Interpol Forensic
                                   Incidents, Interpol   Forensic Firearm
                                                                    Firearm Seminar,
                                                                             Seminar,Pretoria,
                                                                                        Pretoria,South
                                                                                                  SouthAfrica
                                                                                                         Africa
    ••   3D
         3D Topographical
            Topographical Examinations    using the
                            Examinations using  theIBIS
                                                     IBIS Bulletrax
                                                           BulletraxSystem,
                                                                      System, Interpol
                                                                               Interpol Forensic
                                                                                        Forensic Firearm   Seminar,Montreal,
                                                                                                  Firearm Seminar,   Montreal,
         Canada
         Canada
    ••   3D
         3D Topographical   ExaminationsUsing
            Topographical Examinations     Using IBIS
                                                  IBIS Bulletrax
                                                       Bulletrax System,
                                                                   System, Cancun,   Mexico
                                                                            Cancun, Mexico

AGENCY
AGENCY ASSISTS
       ASSISTS
   •• Federal Bureau of
      Federal Bureau   ofInvestigations
                          Investigations(FBI)
                                            (FBI)
   •• Alcohol Tobacco &
      Alcohol Tobacco    & Firearms
                           Firearms(ATF)
                                      (ATF)
   •• Hawthorne    Police Department
      Hawthorne Police    Department(HPD) (HPD)
   •• Anaheim   Police Department
      Anaheim Police    Department(APD)
                                      (APD)
   •• Inglewood   Police Department
      Inglewood Police   Department(IPD) (IPD)
   •• Simi
      Simi Valley
           Valley Police
                   Police Department     (SVPD)
                          Department (SVPD)
   •• Oxnard
      Oxnard Police
              Police Department     (OPD)
                     Department (OPD)
   •• Tustin Police Department
      Tustin Police Department(TPD)
                                  (TPD)
   •• Fullerton Police Department
      Fullerton Police                 (FPD)
                        Department (FPD)
   •• El
      ElCajon
         Cajon Police
               Police Department     (ECPD)
                       Department (ECPD)
   •• Canadian
      Canadian Military
                Military (Quebec    Canada)
                          (Quebec Canada)

FORENSIC
FORENSIC SCIENCE
         SCIENCE PUBLICATIONS
                 PUBLICATIONS

    ••   Rocky L.
         Rocky L.Edwards,
                  Edwards,“Circumferential    Fractures",AFTE
                           "Circumferential Fractures",    AFTE Journal
                                                                 Journal 1991
                                                                          1991
    ••   Rocky
         Rocky L.
               L.Edwards
                  Edwards &
                          & Michael  I. Kelley,
                            Michael I.   Kelley, "Straight-Line Knives"',AFTE
                                                 "Straight-Line Knives",  AFTE Journal
                                                                                Journal1992
                                                                                        1992
    ••   Rocky
         Rocky L.
               L.Edwards
                  Edwards &
                          & Michael
                            Michael I.I. Kelley,
                                         Kelley, "FPK
                                                 "FPK Sniper  Rifle: AFTE
                                                       Sniper Rifle: AFTE Journal
                                                                           Journal 1993
                                                                                   1993
    ••   Rocky
         Rocky L.
               L.Edwards
                  Edwards&  James Moss,
                          &James   Moss,"MFS“MFS Ammunition".,
                                                   Ammunition".,AFTEAFTE Journal
                                                                         Journal 1993
                                                                                  1993
    ••   Rocky
         Rocky L.
               L.Edwards
                  Edwards"Fighting
                          "Fighting Gang
                                    Gang Violence
                                            Violence through   NIBIN" Forensic
                                                      through NIBIN"             Technology Inc.
                                                                       Forensic Technology   Inc. Website
                                                                                                  Website

GUEST
GUEST SPEAKER
      SPEAKER APPEARENCES
              APPEARENCES

    ••   Association
         Association ofof Firearm
                          Firearmand
                                   andToolnnark
                                       Toolmark Examiners
                                                  Examiners(AFTE)
                                                               (AFTE) Training
                                                                        Training Seminar,
                                                                                 Seminar, San
                                                                                          San Francisco, 2006
                                                                                              Francisco, 2006
    ••   13
         13 Critical
            CriticalTasks
                      TasksWorkshop
                             Workshop presented    toDistrict
                                        presented to  DistrictAttorney's,
                                                               Attorney's,ATFATF and
                                                                                 andLaw
                                                                                     Law Enforcement,
                                                                                          Enforcement,Indiana
                                                                                                        Indiana2008
                                                                                                                 2008
    ••   International  ForensicScience
         International Forensic   ScienceSymposium,
                                           Symposium,South
                                                         SouthAfrica
                                                                 Africa2006
                                                                        2006
    ••   International  Forensic Science
         International Forensic   Science Symposium,
                                           Symposium, Mexico
                                                         Mexico 2008
                                                                  2008
    ••   European    Networkof
         European Network      ofForensic
                                  ForensicScience
                                            ScienceInstitutes
                                                    Institutes(ENFSI),
                                                                (ENFSI), Cyprus
                                                                         Cyprus 2010
                                                                                  2010
    ••   International  Forensic Firearms
         International Forensic   Firearms Symposium,
                                             Symposium,Interpol,
                                                           Interpol,Lyon,
                                                                      Lyon, France
                                                                            France 2011
                                                                                    2011
    ••   Association
         Association ofofFirearms
                          Firearms&&Toolnnark
                                      ToolmarkExaminers
                                                 Examiners(AFTE)
                                                              (AFTE) Training
                                                                      Training Seminar,
                                                                               Seminar,"3D
                                                                                         “3DAnalysis
                                                                                             Analysisof
                                                                                                      ofFired
                                                                                                         FiredBullets
                                                                                                               Bullets
         Through   ObliteratedBarrels,"
         Through Obliterated     Barrels,”Chicago,
                                           Chicago,ILL,
                                                    ILL, 2011
                                                         2011
    ••   International  Forensic Science
         International Forensic   Science Symposium,
                                           Symposium, Montreal
                                                         Montreal Canada,
                                                                     Canada, 2013
                                                                              2013
    ••   Association
         Association ofofFirearm
                          Firearm&&Toolnnark
                                     ToolmarkExaminers
                                                Examiners(AFTE)
                                                             (AFTE) Training
                                                                     Training Seminar
                                                                              SeminarDallas,
                                                                                       Dallas,TX
                                                                                              TX 2014
                                                                                                 2014
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CERTIFICATIONS
CERTIFICATIONS

   •• Certified byby
        Certified  thethe  United
                        United     StatesDepartment
                                 States   Departmentofofthe
                                                          the ArmytotoConduct
                                                            Army       ConductForensic
                                                                               ForensicExaminations
                                                                                        Examinations for
                                                                                                     for Department
                                                                                                         Department
        of Defense as
        of Defense   as aa Firearm
                           Firearm && Toolnnark
                                      Toolmark Examiner.
                                                Examiner.
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TESTIMONY
TESTIMONY

2014
2014 – Present:Trial
     —Present:  Trialand
                      andDeposition
                          DepositionTestimony
                                     Testimony (Note:
                                                (Note: Testimony
                                                       Testimony from 1990 to
                                                                 from 1990 to 2013
                                                                              2013 not
                                                                                   notlisted)
                                                                                       listed)

              Case
              Case Name
                   Name                           Case
                                                  Case Number
                                                       Number                            Type
                                                                                         Type of
                                                                                              of Testimony
                                                                                                 Testimony

 People
 People v. Foshay
        v. Foshay                      CR-20124578
                                       CR-20124578                          Deposition Jury Trial
                                                                            Deposition Jury Trial
 United States v.
 United States v. Perez
                  Perez                Unk
                                       Unk                                  Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Andrade
           Andrade                     106812
                                       106812                               Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Miller et al.
           Miller et al.               105785
                                       105785                               Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Quiruz
           Quiruz                      103586
                                       103586                               Jury
                                                                            Jury Trial
                                                                                 Trial

 People v. Ruiz
 People v. Ruiz                        108254
                                       108254                               Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. McDonald et al.
           McDonald et al.             117008
                                       117008                               Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. McKenzie
           McKenzie                    115377
                                       115377                               Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Corrales et al.
           Corrales et al.             116547
                                       116547                               Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Edwards
           Edwards et al.
                   et al.              119923
                                       119923                               Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Richardson
           Richardson                  120882
                                       120882                               Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Torn et al.
           Torn et al.                 121959
                                       121959                               Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v. Farley
        v. Farley                      121923
                                       121923                               Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Queen
           Queen                       122965
                                       122965                               Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Gomez
           Gomez                       10CF3362
                                       10CF3362                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People v. Brannbila
 People v. Brambila                    10VF3025
                                       10VF3025                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v. Castro
        v. Castro                      09CF1139
                                       09CF1139                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People v. Tlannasico
 People v. Tlamasico                   10CF1258
                                       10CF1258                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Rodriquez
           Rodriquez                   12CF0355
                                       12CF0355                             Preliminary Hearing
                                                                            Preliminary Hearing

 People
 People v.
        v. Romero
           Romero                      10CF2439
                                       10CF2439                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Carter
           Carter                      12CF0863
                                       12CF0863                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Gomez
           Gomez                       12CF1430
                                       12CF1430                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Figueroa
           Figueroa                    10CF0530
                                       10CF0530                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Mendoza
           Mendoza                     11CF3286
                                       11CF3286                             Preliminary Hearing
                                                                            Preliminary Hearing

 People
 People v.
        v. Uriate et al.
           Uriate et al.               11CF0192
                                       11CF0192                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People v. Carranza
 People v. Carranza                    11CF2429
                                       11CF2429                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v. Flores
        v. Flores                      11CF2519
                                       11CF2519                             Preliminary Hearing
                                                                            Preliminary Hearing

 Juvenile
 Juvenile Matter
          Matter                       J149878
                                       J149878                              Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Gonzalez
           Gonzalez                    09CF1140
                                       09CF1140                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Nhem
           Nhenn et al.
                 et al.                10CF0102
                                       10CF0102                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People v. Cabezas
 People v. Cabezas et al.
                   et al.              11CF0862
                                       11CF0862                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Orozco
           Orozco et al.
                  et al.               12NF3903
                                       12NF3903                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Estudilla et al.
           Estudilla et al.            12NF3769
                                       12NF3769                             Jury
                                                                            Jury Trial
                                                                                 Trial

 People
 People v.
        v. Velasquez et al.
           Velasquez et al.            13CF2197
                                       13CF2197                             Jury
                                                                            Jury Trial
                                                                                 Trial
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People
People v.
       v. Balanzar
          Balanzar                 13CF0451
                                   13CF0451                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Marquez
          Marquez                  13CF2128
                                   13CF2128                Preliminary Hearing
                                                           Preliminary Hearing

People
People v.
       v. Quirino
          Quirino                  14CF1858
                                   14CF1858                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Lopez
          Lopez                    10CF3188
                                   10CF3188                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Merida et al.
          Merida et al.            10CF1982
                                   10CF1982                Jury
                                                           Jury Trial
                                                                Trial

People v. Cerda
People v. Cerda                    12CF3286
                                   12CF3286                Jury
                                                           Jury Trial
                                                                Trial

People
People v. Sanchez et
       v. Sanchez    al.
                  et al.           12HF1198
                                   12HF1198                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Montes
          Montes                   12CF2292
                                   12CF2292                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Alcala
          Alcala                   12CF3455
                                   12CF3455                Jury
                                                           Jury Trial
                                                                Trial

People v. Vega
People v. Vega                     07CF2786
                                   07CF2786                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Burciaga
          Burciaga                 10CF2410
                                   10CF2410                Jury
                                                           Jury Trial
                                                                Trial

People v. Salinas
People v. Salinas                  12CF3719
                                   12CF3719                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Ayala
          Ayala                    12CF0772
                                   12CF0772                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Lopez
          Lopez                    14CF2507
                                   14CF2507                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Medina
          Medina                   13CF1715
                                   13CF1715                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Dannelley
          Dannelley                14CF2336
                                   14CF2336                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Wojtal
          Wojtal                   14CF0232
                                   14CF0232                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Daniels
          Daniels                  14CF0866
                                   14CF0866                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Tellez
          Tellez                   13CF2980
                                   13CF2980                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Quezada et al.
          Quezada et al.           14CF2240
                                   14CF2240                Grand Jury
                                                           Grand Jury

People v. Sanchez
People v. Sanchez                  08CF1227
                                   08CF1227                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. McDonald
          McDonald                 14CF2681
                                   14CF2681                Grand Jury Jury
                                                           Grand Jury Jury Trial
                                                                           Trial
People
People v.
       v. Mendez et al.
          Mendez et al.            15CF0568
                                   15CF0568                Jury
                                                           Jury Trial
                                                                Trial

People
People v.
       v. Sotelo et al.
          Sotelo et al.            12C1604
                                   12C1604                 Jury
                                                           Jury Trial
                                                                Trial

People
People v. Ochoa
       v. Ochoa                    13CF3311
                                   13CF3311                Preliminary Hearing
                                                           Preliminary Hearing

Escobedo
Escobedo v.
         v. City
            City of Los Angeles
                 of Los Angeles    CV15-04911-DSF(RAO)
                                   CV15-04911-DSF(RAO)     Designated,
                                                           Designated, Settled
                                                                       Settled

DeLeon
DeLeon v.
       v. City of Los
          City of Los Angeles
                      Angeles      CV16-03721FMO  (RAO)
                                   CV16-03721FM0 (RAO)     Report
                                                           Report written, Pending trial
                                                                  written, Pending trial

Sarasith
Sarasith v. City of
         v. City of Los
                    Los Angeles
                        Angeles    CV16-02548 JAK (MRWx)
                                   CV16-02548 JAK (MRWx)   Deposition, Settled
                                                           Deposition, Settled

Curry
Curry v.
      v. City of Los
         City of Los Angeles
                     Angeles       CV16-04125DSF (PJW)
                                   CV16-04125D5F (PJW)     Deposition, Testified, Settled
                                                           Deposition, Testified, Settled

Watkins v. City
Watkins v. City of
                ofLos
                   Los Angeles
                       Angeles     CV17-00485 JFW (FFMx)
                                   CV17-00485 JFW (FFMx)   Report,
                                                           Report, Testified,Defense Verdict
                                                                   Testified,Defense Verdict

Nicholson v. City
Nicholson v. City of
                  of Los
                     Los Angeles
                         Angeles   CV15-07594DDP (RAO)
                                   CV15-07594DDP (RAO)     Deposition, Summary Judgement
                                                           Deposition, Summary Judgement
Jimmy Truong v.
Jimmy Truong v. State
                State of
                      ofCA
                         CA        DA
                                   DA Case
                                      Case No:
                                           No: 16F01554
                                               16F01554    Testified
                                                           Testified

Mendez v. City
Mendez v. City of
               of Los
                  Los Angeles
                      Angeles      CV18-1230
                                   CV18-1230               Federal
                                                           Federal Complaint
                                                                   Complaint withdrawn
                                                                             withdrawn

Sanchez
Sanchez v.
        v. City
           City of Los Angeles
                of Los Angeles                             Federal
                                                           Federal Complaint
                                                                   Complaint withdrawn
                                                                             withdrawn
                                   CV18-1230
                                   CV 18-1230
Dominquez v. City
Dominguez v. City of
                  of Los
                     Los Angeles
                         Angeles                           Designated,
                                                           Designated, Deposition, trial, Defense
                                                                       Deposition, trial, Defense
                                   CV17-04557 DMG
                                   CV17-04557 DMG          Verdict
                                                           Verdict
M.A.C.
M.A.C. v.
       v. City of Los
          City of Los Angeles
                      Angeles      CV16-04477 DMG
                                   CV16-04477 DMG          Designated,
                                                           Designated, Deposition, Defense
                                                                       Deposition, Defense
                                                           Verdict
                                                           Verdict
McCullum
McCullunn v.
          v. City of Los
             City of Los Angeles
                         Angeles   CV14-03262 DMG
                                   CV14-03262 DMG          Designated,
                                                           Designated, Deposition Completed
                                                                       Deposition Completed
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Barron
Barron vs
       vs State
          State of
                of California
                   California             30-2017-00911997CUCRCJC
                                          30-2017-00911997CUCROC
                                                                                    Designated,
                                                                                    Designated, Deposed,Testified
                                                                                                Deposed,Testified
Barragan vs City
Barragan vs City of
                 of Los
                    Los Angeles
                        Angeles           2:17cv-04364-R-AGR
                                          2:17cv-04364-R-AGR                        Report
                                                                                    Report Rendered,
                                                                                           Rendered, Settled
                                                                                                     Settled
Risher
Risher Vs
       Vs City
          City of Los Angeles
               of Los Angeles             CV17-00995
                                          CV17-00995                                Designated, Deposed
                                                                                    Designated, Deposed
Vaughn vs City
Vaughn vs City of
               of Los
                  Los Angeles
                      Angeles             F067-15
                                          F067-15                                   Report, Deposed-
                                                                                    Report,          Testified
                                                                                            Deposed- Testified
Santibanez vs City
Santibanez vs      of Los
              City of Los Angeles
                          Angeles         CV17-04189 ODW
                                          CV17-04189 ODW                            Report,  Deposed
                                                                                    Report, Deposed
 Villanueva
 Villanueva vsvs State
                 State of  California
                        of California     8:17-CV-01302-JLS-KES
                                           8:17-CV-01302-JLS-KES                    Report, Trial—
                                                                                    Report, Trial – State
                                                                                                    State Prevailed
                                                                                                          Prevailed
Gonzales
 Gonzales vsvs City  of Los
               City of  Los Angeles
                            Angeles       CV17-06432
                                          CV17-06432 RR(SSX)
                                                         (SSX)                      Report,
                                                                                    Report, Defense
                                                                                            Defense Verdict
                                                                                                      Verdict
SJCDA
 SJCDAJuryJuryTrial
               Trial 06937  DA# CR-201
                     06937 DA#   CR-201   Jury
                                          Jury Testimony   ref:CR#
                                                Testimony ref:  CR# 5P16-2
                                                                    SP16-2
77 -- 35081
      35081                               6227/26-06937
                                          6227/26-06937
                                                                                    Report,
                                                                                    Report, Testimony,
                                                                                            Testimony, Guilty Verdict
                                                                                                       Guilty Verdict

SJCDA
SJCDATrial
      TrialAaron
            AaronMoore
                 Moore Trial (17-
                       Trial (17-         Aaron
                                          Aaron Moore   Trial (17-22579,
                                                 Moore Trial   (17-22579, 17-
                                                                          17-
                                                                                    Report,
                                                                                    Report, Two
                                                                                            Two plaintiffs plead guilty,
                                                                                                plaintiffs plead guilty,
 22579,
 22579, 17-23512, and 17-24492)
        17-23512, and 17-24492)           23512,
                                          23512, and
                                                 and 17-24492)
                                                     17-24492)                      3rd
                                                                                    3rd Defendant  guilty all
                                                                                        Defendant guilty      counts
                                                                                                          all counts
DeAndrew   Jordan vs
DeAndrew Jordan   vs State of
                     State of
California
California                                17-47789
                                          17-47789                                  Plead
                                                                                    Plead Guilty
                                                                                          Guilty

                                          (Minnesota) MPDCAPRS
                                          (Minnesota) MPD   CAPRS 8-
                                                                   8-               Appeal
                                                                                    Appeal —– Defense  Case -- Case
                                                                                               Defense Case    Case
Jerrell
Jerrell Brown
        Brown
                                          268508
                                          268508                                    Transfered
                                                                                    Transfered -- Case
                                                                                                  Case transfered
                                                                                                       transfered
MJLH
MJLH et.al  vs City
      et.al vs  City of
                      of Pasadena
                         Pasadena         Case
                                          CaseNo:
                                               No: 2:18-03249
                                                   2:18-03249                       Report  – Settled
                                                                                    Report —Settled
Mora
Mora vv City
        City of
              of Garden
                 Garden Grove
                           Grove          Case
                                          Case No: 8:19-cv-00418-JLS-JDE
                                               No: 8:19-cv-00418-JLS-JDE            Settled
                                                                                    Settled
Nelson
Nelson vv City
          City of
                of Los
                    Los Angeles
                        Angeles           Case
                                          CaseNo:
                                               No: 08-07-20581
                                                   08-07-20581                      Rule
                                                                                    Rule 26
                                                                                          26 Completed
                                                                                             Completed -- Deposed
                                                                                                          Deposed
Ewnetu
Ewnetu et.   al. v.
         et. al. v. County
                     CountyofofLos
                                Los
Angeles
Angeles                                   Case
                                          Case No:
                                               No: BC702015
                                                   BC702015
                                                                                    Working- Report prepared
                                                                                    Working- Report prepared
                                                                                    Rule
                                                                                    Rule 26
                                                                                         26 Report
                                                                                            Report Submitted,
                                                                                                   Submitted,
Morgan v. City
Morgan v. City of
               of LA
                  LA                      Case
                                          Case No:
                                               No: CV17-06693 (JEMx)
                                                   CV17-06693 (JEMx)                Deposed-Feb  3, 2020.
                                                                                    Deposed-Feb 3,  2020.
Barrillas-Flores
Barrillas-Flores vv City
                    City of
                         ofLA
                            LA            Case
                                          Case No.
                                               No. F076-17
                                                   F076-17                          Designated -Deposed
                                                                                    Designated -Deposed

Hernandez
Hernandez vv City
             City of
                  of LA
                     LA                    Case
                                           CaseNo.
                                                No. 009-18
                                                    009-18                          Designated
                                                                                    Designated -- Working
                                                                                                  Working


Sandoval
Sandoval v
         v City of LA
           City of LA                      Case No.
                                           Case No. F082-17
                                                    F082-17                         Designated
                                                                                    Designated -- Working
                                                                                                  Working

 Magana v City
 Magana v City of
               of LA
                  LA                       Case
                                           Case No.
                                                No. F036-18
                                                    F036-18                         Designated
                                                                                    Designated -- Deposed-Working
                                                                                                  Deposed-Working

. Starks
  Starks vv County of Los
            County of Los Angeles
                          Angeles          Case
                                           Case No.
                                                No. 19STCV38462
                                                    195TCV38462                      Designated
                                                                                     Designated -- Deposed -Sum Judgement
                                                                                                   Deposed -Sum Judgement

 Cooke
 Cooke vs
       vs State
          State of
                of California
                   California              Case
                                           Case No.
                                                No. F016-17
                                                    F016-17                          Designated
                                                                                     Designated -- State
                                                                                                   State Court-Working
                                                                                                         Court-Working


  Dominguez v. City
  Dominguez v. City of
                    ofSan
                       SanJose
                           Jose             Case
                                            Case No.
                                                 No. 18-cv-04826
                                                     18-cv-04826                     Designated
                                                                                     Designated -- Working
                                                                                                   Working

  Speer
  Speer vv City
           City of San Bernandino
                of San Bernandino              5:20-cv-00044-JGB  (SPx)
                                               5:20-cv-00044-JGB (SPx)          .    Rule
                                                                                     Rule 26
                                                                                          26 Report
                                                                                             Report,, Depo
                                                                                                      Depo Pending
                                                                                                           Pending
. Guardado
   Guardado vsvs State
                 State of
                       of California
                          California                                                 Working
                                                                                     Working




            38 Civil Cases
            38 Civil Cases
            Career  Estimate on
            Career Estimate on
            depositions  around 25
            depositions around  25
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Additional
Additional Testimonial Experience
           Testimonial Experience

••   Provided
     Provided testimony
                testimony for    both Prosecution
                             for both   Prosecution and
                                                    and Defense
                                                         Defense inin the
                                                                      the following   courts: United
                                                                          following courts:   United States
                                                                                                     States Military Court
                                                                                                            Military Court
     (United  States and
     (United States    and Germany)
                            Germany)
••   United
     United States
             States Military   Article32
                      Military Article  32Hearings
                                            Hearings (United
                                                     (UnitedStates
                                                              States and
                                                                     and Germany)
                                                                          Germany)
••   Canadian
     Canadian Military     Court(Canada
                 Military Court   (Canada && Germany)
                                              Germany)
••   Superior  Court Los
     Superior Court    Los Angeles
                            Angeles
••   Superior
     Superior Court    Kern County
               Court Kern              Superior Court
                             County Superior    Court
••   Ventura  County Court
     Ventura County      Court
••   San
     San Bernardino
          Bernardino County      Superior Court
                        County Superior     Court
••   San
     San Diego
          Diego County
                 County
••   Superior  Court Orange
     Superior Court    Orange County
                                County
••   Superior  Court Riverside
     Superior Court    Riverside County
                                   County
••   Superior  Court San
     Superior Court    San Joaquin
                            Joaquin County
                                      County
••   Federal
     Federal Court,
              Court, Duong     Trial, FBI,
                       Duong Trial,   FBI, AUSA,
                                           AUSA, San
                                                  San Jose,
                                                       Jose,CA
                                                            CA(Federal
                                                                (FederalTrial)
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          Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 247 of 274

                                                 Rocky
                                                 Rocky Edwards
                                                       Edwards
                                              Firearms Consultant
                                              Firearms Consultant

                                                 (323-216-1584)
                                                 (323-216-1584)
                                          rockforensics@gmail.com
                                          rockforensics@gmailcom


EFFECTIVE:
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   Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 248 of 274




                Curriculum Vitae (as of February 1, 2021):
   Daniel L. Sudakin, MD, MPH, FACMT, FACOEM, FAACT, FASAM


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(503) 477-6622
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sudakind@medicaltox.com

Practicing Addiction Medicine at Aspire PDX
www.aspirepdx.com


        EDUCATION, BOARD CERTIFICATIONS, PROFESSIONAL HONORS

2015:        Fellow, American Academy of Clinical Toxicology
2015:        Fellow, American Society of Addiction Medicine
2014:        Board certified in Addiction Medicine (American Board of Addiction Medicine)
             • Certified by the American Board of Preventive Medicine in 2021
2014-7:      Member, American Board of Emergency Medicine, Medical Toxicology Sub-
             board
2004:        Fellow, American College of Medical Toxicology
2004:        Fellow, American College of Occupational and Environmental Medicine
2000:        Board certified in the subspecialty of Medical Toxicology (American Board of
             Preventive Medicine).
             • Recertified in 2009, 2020.
2000:        Board certified in the specialty of Public Health and General Preventive
             Medicine (American Board of Preventive Medicine).
             • Recertified in 2010, 2020.
1998-2000:   Medical Toxicology Fellowship, Veterans Administration Medical Center,
             Portland, Oregon
1999:        Master of Public Health (Biostatistics and Epidemiology), Oregon Health and
             Science University, Portland, Oregon
1996-8:      Residency, Public Health and General Preventive Medicine (Occupational and
             Environmental Medicine track), Oregon Health Sciences University, Portland,
             Oregon
1995-6:      Clinical Anesthesiology, Year One, Stanford University Health Services, Palo
             Alto, California
1994-5:      Internal Medicine Internship, Legacy Hospitals, Portland, Oregon
1994:        Doctor of Medicine, Wayne State University School of Medicine, Detroit,
             Michigan
1993:        Alpha Omega Alpha, National Medical Honor Society
1990:        Bachelor of Science (Biopsychology), University of Michigan, Ann Arbor
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   Case 5:18-cv-04826-BLF Document 89 Filed 07/14/22 Page 249 of 274




        EMPLOYMENT INFORMATION, AND ACADEMIC APPOINTMENTS

2017-present:          Private Practice, Addiction Medicine, at Aspire PDX

2016:                  Addiction Medicine Physician at Ascension Medical Group

2014-2016:             Director of Addiction Medicine, Pathways Northwest

2014-2016:             Affiliate Faculty, Oregon State University Department of Environmental
                       and Molecular Toxicology

2006-2014:             Associate Professor (with indefinite tenure), Oregon State University
                       Department of Environmental and Molecular Toxicology

2000-2006:             Assistant Professor, Oregon State University Department of
                       Environmental and Molecular Toxicology

2008-present:          Affiliate Associate Professor, Oregon Health and Science University,
                       Department of Emergency Medicine

1999-present:          Consulting and expert witness services (Daniel L. Sudakin, MD, MPH,
                       LLC, Medicaltox Consulting)


                               PART-TIME EMPLOYMENT

2015-2016:      Medical Director, ACME Counseling (Corvallis, Oregon)
2004-2008:      Veritox, Inc., Medical Toxicologist
1997-2000:      Oregon Medical Assistance Programs, Drug Utilization Review Council
                Member
1998-1999:      Adjunct Faculty, Occupational Health Clinics, Oregon Health and Science
                University
1996-1998:      Urgent Care Provider, Kaiser Permanente, Northwest Region Clinics


         PUBLICATIONS, PRESENTATIONS, AND TECHNICAL REPORTS

Journal Articles

Sudakin D. Naltrexone: Not Just for Opioids Anymore. Journal of Medical Toxicology,
2016;12(1)71-5.

Rohlman Diana, Syron Laura, Hobbie Kevin, Anderson Kim A., Scaffidi Christopher, Sudakin
Daniel, Peterson Elena S., Waters Katrina M., Haynes Erin, Arkin Lisa, Feezel Paul, and Kincl
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134.

Madeen E, Corley RA, Crowell S, Turteltaub K, Ognibene T, Malfatti T, McQuistan TJ,
Garrard M, Sudakin D, Williams DE. Human in vivo pharmacokinetics of
[14C]dibenzo[def,p]chrysene by accelerator mass spectrometry following oral microdosing.
Chemical Research in Toxicology, 2014; December 10.

Motorykin O, Schrlau J, Jia Y, Harper B, Harris S, Harding A, Stone D, Kile M, Sudakin D,
Massey Simonich SI. Determination of parent and hydroxyl PAHs in personal PM2.5 and
urine samples collected during Native American fish smoking activities. Accepted for
publication and in press in Science of the Total Environment, 2015;505:694-73.

Kile L Molly, Coker S Eric, Smit Ellen, Sudakin Daniel, Molitor John, Harding K Anna. A
cross-sectional study of the association between ventilation of gas stoves and chronic
respiratory illness in U.S. children enrolled in NHANESIII. Environmental Health 2014,
13:71.

Sudakin DL, Cardenas A, Smit E, Harding A. Naphthalene biomarkers and relationship with
hemoglobin and hematocrit in white, black, and Hispanic adults: Results from the 2003-4 National
Health and Nutrition Examination Survey. Journal of Medical Toxicology (2013).9(2):133-8.

Keith DJ, Butler JA, Berner B, Dixon B, Johnson S, Garrard M, Sudakin DL, Christensen JM, Hagen
TM. Age and gender dependent bioavailability of R- and R,S-alpha lipoic acid: a pilot
study. Pharmacol Res (2012). 66(3):199-206.

Sudakin DL, Stone D. Dialkyl phosphates as biomarkers of organophosphates: The current divide
between epidemiology and clinical toxicology. Clinical Toxicology (2011).49(9):771-81.

Sudakin DL, Stone D, Power L. Naphthalene mothballs: Emerging and recurring issues and their
relevance to environmental health. Current Topics in Toxicology. 2011, Volume 7. Pages 13-19.

Caleb J. Banta-Green, Jennifer A. Field, et al. (2009). "The spatial epidemiology of cocaine,
methamphetamine and 3,4-methylenedioxymethamphetamine (MDMA) use: a demonstration using a
population measure of community drug load derived from municipal wastewater." Addiction 2009.
104(11):1874-80.

Stone DL, Sudakin DL, Jenkins JJ. “Longitudinal trends in organophosphate incidents
reported to the National Pesticide Information Center, 1995-2007.” Environ Health 2009;8:18.

Sudakin DL, Power LE. “Regional and Temporal Variation in Methamphetamine-related
Incidents: Applications of Geographic Information Systems and Spatial Scan Statistics.”
Clinical Toxicology (2009), 47(3):243-7.



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Sudakin Daniel L; Power Laura E Regional variation in the severity of pesticide exposure
outcomes: applications of geographic information systems and spatial scan statistics. Clinical
Toxicology (Philadelphia, Pa.) (2009), 47(3), 248-52.

Sudakin DL, Fallah P. “Toxigenic Fungi and Mycotoxins in Outdoor, Recreational
Environments. Clinical Toxicology. 2008;46(8):738-44.

Sudakin DL. “Fatality After a Single Dermal Application of Lindane Lotion.” Arch Environ
Occup Health. 2007;62(4):201-3.

Power LE, Sudakin DL. “Pyrethrin and pyrethroid exposures in the United States: a
longitudinal analysis of incidents reported to poison centers. J Med Toxicol.
2007;3(3):94-9.

Sudakin DL. “Informational Sources on Pesticides and Health (Appendix)” Invited publication
in Journal of Agromedicine, 2007;12(1):77-82.

Sudakin DL, Power, LE. “Longitudinal Trends in the Incidence of Organophosphate
Exposures in the United States.” Journal of Toxicology and Environmental Health, Part A.
2007;70(2):141-7.

Sudakin DL. “Pyrethroid Insecticides: Advances and Challenges in Biomonitoring. Clinical
Toxicology 2006;44(1):31-7.

Sudakin DL. “Pesticide Exposures: Web-Based Resources for Health Care Providers” Journal
of Agromedicine 2005;10(1):43-9.

Sudakin DL. “Occupational Exposure to Phosphine Gas? A Suspected Case Report and
Review of the Literature” Human and Experimental Toxicology 2005;24:27-33.

Sudakin DL. “Biopesticides” Toxicological Reviews 2003:22(2):83-90.

Sudakin DL, Trevathan W. “DEET: A Review and Update of Safety and Risk in the General
Population” Journal of Toxicology--Clinical Toxicology 2003;41(6):831-9.

Sudakin DL. “Trichothecenes in the Environment: Relevance to Human Health” Toxicology
Letters 2003;143(2):97-107.

Sudakin DL. “Dietary Aflatoxins and Chemoprevention of Cancer: A Clinical Review.”
Journal of Toxicology--Clinical Toxicology 2003;41(2):195-204.

Sudakin DL, Horowitz BZ, Giffin S. “Regional Variation in the Incidence of
Symptomatic Pesticide Exposures: Applications of Geographic Information
Systems.” Journal of Toxicology--Clinical Toxicology 2002;40(6):767-773.


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Sudakin DL. “Stachybotrys chartarum: Current Knowledge of its Role in Disease.” Medscape
General Medicine, February 29, 2000.

Sudakin DL, Mullins ME, Horowitz BZ, Abshier V, Letzig L. “Intermediate Syndrome After
Malathion Ingestion Despite Continuous Infusion of Pralidoxime.” Journal of Toxicology--
Clinical Toxicology, 2000;38(1):47-50.

Sudakin DL. “Toxigenic Fungi in a Water-Damaged Building: An Intervention Study.”
American Journal of Industrial Medicine 1999:34(2)183-90.

Book Chapters

Sudakin DL. “Rodenticides.” Hamilton & Hardy’s Industrial Toxicology, 6th Edition (2015).

Sudakin DL. “Cholinesterase Inhibitors: Organophosphates and Carbamates” in Advanced
Hazmat Life Support, 4th Edition (2014)

Sudakin DL. “DEET” in Hayes’ Handbook of Pesticide Toxicology, Third Edition (2010).

Sudakin DL. “Fungicides” in Critical Care Toxicology: Diagnosis and Management of the
Critically Poisoned Patient (2005).

Sudakin DL. “Mycotoxins and Toxigenic Fungi” in Medical Toxicology, Third Edition (2004).

Invited, Peer-Selected Presentations at Regional and National Scientific Meetings

Invited Speaker, Northwest Institute of Addiction Studies. Portland, Oregon. July 11, 2019.
Lecture title: “Medication Assisted Treatment: Challenges and Opportunities.”

Continuing Medical Education Lecture, American College of Medical Toxicology Addiction
Medicine Academy. Clearwater Beach, Florida. March 26, 2015. Lecture title: “Naltrexone:
Not Just for Opioids Anymore.”

Continuing Medical Education lecture, Good Samaritan Regional Medical Center. Corvallis,
Oregon. July 25, 2014. Lecture title: “Opioid Use Disorders: Treatment Options in the
Outpatient Setting.

Continuing Medical Education lecture, American Occupational Health Conference. Orlando,
Florida. April 29, 2013. Lecture title: “Pesticides and Biomonitoring: The Growing Divide
Between Epidemiology and Clinical Toxicology.”

Continuing Medical Education webinar, Centers for Disease Control and Prevention. August
29, 2012. Presentation title: “Pesticide Residues in the Indoor Environment: Assessment and
Health Effects.”


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Invited Speaker, Platform Session (Epidemiology), North American Congress of Clinical
Toxicology. Toronto, Ontario, Canada. September 15, 2008. Presentation title: “Regional
Variation in Methamphetamine-related Incidents: Applications of GIS and Spatial Scan
Statistics.”

Invited Speaker and Session Organizer, American Occupational Health Conference. New
Orleans, LA. May 9, 2007. Lecture title: “Perchlorate and Other Environmental Chemicals:
Clinical and Epidemiological Studies of Effects on Thyroid Function.”

Invited Speaker, American College of Medical Toxicology Spring Meeting. Miami, FL.
March 17, 2007. Lecture titles: “Pesticides and Food Poisoning,” and “Organophosphates:
Biomarkers of Exposure, Effect, and Genetic Susceptibility.”

Invited Speaker, American Occupational Health Conference. Millennium Series: Emerging
Issues in Toxicology. Los Angeles, CA. May 9, 2006. Lecture title: “Challenges in
Interpreting Biomonitoring Studies: Insecticides as Example.”

Invited Speaker, Pesticide Regulatory Education Program. University of California, Davis.
August 8, 2005. Lecture title: “Pesticides: Real Risks, Perceived Risks, and Informational
Resources.”

Invited Speaker, Northwest Association of Occupational and Environmental Medicine Annual
Meeting. Mt. Hood, Oregon. February 26, 2005. Lecture title: “Interpreting Data from
Biomonitoring Studies: The CDC Third Report of Human Exposure to Environmental
Chemicals.”

Invited Speaker, American Industrial Hygiene Association Tele-Web Conference:
Toxicological and Occupational Medicine Perspectives on Molds and Mycotoxins. February
16, 2005. Lecture title: “Clinical Toxicology of Mycotoxins.”

Invited Speaker, Environmental Protection Agency Regional Emergency Response Meeting.
Las Vegas, Nevada. February 8, 2005. Lecture title: “Inhalation Risks from Phosphide
Fumigants, Methyl Bromide, and other Restricted Chemicals.”

Invited Speaker, Western Migrant Stream Forum. San Diego, California. January 29, 2005.
Lecture title: “Pesticide Toxicology: Electronic Resources for Clinicians and Public Health
Providers.”

Invited Speaker, Agency for Toxic Substances and Disease Registry / American College of
Medical Toxicology Chemical Weapons of Convenience/Opportunity Course. Oregon Health
and Science University, Portland, OR. December 11, 2004. Lecture title: “Hazards of
Fumigants and Cyanide.”




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Invited Speaker, American College of Occupational and Environmental Medicine, State of the
Art Conference. San Antonio, TX. November 6, 2004. Lecture title: “Methylmercury and
other Environmental Neurotoxins.”

Invited Speaker, Oregon Department of Health Services, Public Health Grand Rounds.
Portland, OR. Portland, OR. August 25, 2004. Lecture title: “Pesticide Exposures: Internet
Resources for Clinicians and Public Health Providers.”

Invited speaker, American Industrial Hygiene Association Conference and Exposition.
Atlanta, GA. May 12, 2004. Lecture title: “Human Mycotoxicoses and Biomarkers of
Exposure to Mycotoxins.”

Invited speaker, American Occupational Health Conference, Millenium Lecture Series
(Agricultural Toxicology). Kansas City, MO. May 2, 2004. Lecture title: “Pesticides and
Electronic Resources for Clinicians.”

Invited speaker, Agency for Toxic Substances and Diseases Registry Partners in Public Health
Meeting, Atlanta, Georgia. March 30, 2004. Lecture title: “The NPMMP: An Informational
Resource in the Clinical Toxicology of Pesticides.”

Invited speaker, Northwest Occupational and Environmental Medicine Winter Meeting, Mt.
Hood, Oregon. February 22, 2004. Lecture title: “Phosphine Gas Poisoning: Epidemiology
and Clinical Toxicology.”

Invited speaker, Pesticide Safety, Health, and Medicine Course (Pacific Northwest Agricultural
Safety and Health Center), Yakima, Washington. February 19, 2004. Lecture: “Acute
Toxicity of Pesticides.”

Invited speaker, Recognition, Management and Prevention of Asthma and Pesticide Illnesses:
A Course for Health Care Professionals, Environmental Professionals, Emergency Responders,
School Leaders, and Nez Perce Community Members. Lapwai, Idaho, July 30, 2003. Lecture:
“Pesticide Surveillance Tracking Systems, and Interaction with the National Pesticide
Information Center”

Invited speaker, 2003 Northwest Association of Occupational and Environmental Medicine
Winter Meeting (Mt. Hood, Oregon). March 1, 2003. Lecture: “Mycotoxins: Exposure
Sources, Pathways, and Clinical Toxicology”

Invited speaker, American College of Occupational and Environmental Medicine, State of the
Art Conference. Baltimore, Maryland October 27, 2002. Lecture: “Fungicides and Fumigants”

Symposium organizer and presenter, American Academy of Clinical Toxicology, Occupational
and Environmental Toxicology Symposium. North American Congress of Clinical
Toxicology. Palm Springs, California. September 27, 2002. Symposium title: “Mycotoxins in


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the Indoor and Outdoor Environment.” Lecture: “Mycotoxins: Exposure Sources, Pathways,
and Clinical Toxicology”

Invited speaker, Agriculture Safety and Health Mini-Symposium, Center for Research in
Occupational and Environmental Toxicology, Oregon Health and Science University. March
18, 2002, Portland, Oregon. Lecture: “Organophosphates in Agriculture: In and Out of the
Field”

Invited speaker, American College of Medical Toxicology Symposium Presentation for
Fellows-in-Training. Lecture: “The Medical Toxicologist as Epidemiologist” North American
Congress of Clinical Toxicology, Montreal, Quebec. October 6, 2001

Invited speaker, Council of State and Territorial Epidemiologists Annual meeting.
Lecture: “Case Finding Through Collaboration With Poison Control Centers and Other
National Telecommunication Services.” June 12, 2001. Portland, Oregon.

Other Peer-Reviewed Presentations:

Environmental Medicine Presentation Package, a 1-hour audiovisual Powerpoint presentation
prepared with contract funding from the Association of Occupational and Environmental
Clinics. Title: “Recognizing, Treating and Preventing Health Risks from Agricultural
Pesticides.” Completed August, 2007.

Published abstracts and Poster Presentations (peer reviewed):

Madeen EP, Corley R, Turtletaub K, Olgnibene T, Malfatti M, Garrard M, Sudakin D,
McQuistan T, Williams DE. In vivo human pharmacokinetics of dibenzo (def,p) chrysene
following microdosing: Bridging the gap between high dose animal data and environmentally
relevant human exposures. (October, 2012). Presented at the 25th Annual Superfund Research
Program meeting, Research Triangle Park, North Carolina.

Cardenas A, Sudakin D, Smit E, Harding A. Naphthalene exposure and relationship
withhemoglobin and hematocrit in White, Black, and Hispanic adults: Results from the 2003-4
National Health andNutrition Examination Survey. (October, 2012). Presented at the American
Public Health Association Meeting, San Francisco, CA.

Stone DL and Sudakin DL. “Longitudinal Trends in Organophosphate Incidents Reported to
NPIC: Role of Regulation.” Presented as a Poster at the North American Congress of Clinical
Toxicology meeting. September 22, 2009. San Antonio, TX. Published in Clinical
Toxicology.

Sudakin DL, Power, LE. “Regional Variation in Methamphetamine-related Incidents:
Applications of GIS and Spatial Scan Statistics.” Presented as a Platform Presentation at the
North American Congress of Clinical Toxicology meeting. September 15, 2008. Toronto,
Canada. Published in Clinical Toxicology 2008;46(7).

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Chiaia, Aurea C.; Sudakin, Daniel L.; Banta-Green, Caleb; Field, Jennifer A. Determination
of illicit drugs and biomarkers in raw municipal wastewater influent as a tool for drug
epidemiology. Abstracts of Papers, 234th ACS National Meeting, Boston, MA, United
States, August 19-23, 2007.

Sudakin DL. “Fatality After a Single Dermal Application of Lindane Lotion.” Presented at the
European Association of Poison Centers and Clinical Toxicologists meeting. May 4, 2007.
Athens, Greece. Published in Clinical Toxicology 2007;45(4).

Power LE, Sudakin DL. “Non-Specific Reporting of “Other” Pesticide Classifications in
Annual Poison Control Center Reports.” Presented at the European Association of Poison
Centers and Clinical Toxicologists meeting. May 4, 2007. Athens, Greece. Published in
Clinical Toxicology 2007;45(4).

Sudakin DL. “Longitudinal Trends in the Incidence of Organophosphate Exposures Reported
to Poison Centers in the United States. Presented at the European Association of Poison
Centers and Clinical Toxicologists meeting. April 21, 2006. Published in Clinical Toxicology
2006;44.

Sudakin DL. “Pyrethroid Insecticides: Advances and Limitations in Biomonitoring”.
Accepted for presentation at the North American Congress of Clinical Toxicology. September
13, 2004. Seattle, WA. Published in Journal of Toxicology—Clinical Toxicology
2004;42(5):788.

Sudakin DL, Horowitz BZ, Giffin S. “Regional variation in the incidence of symptomatic
pesticide exposures: applications of GIS”. Presented at the International Society for Exposure
Assessment / International Society for Environmental Epidemiology Meeting. August 11,
2002. Vancouver, British Columbia. Published in Epidemiology 2002;13(4): page S208

Thomsen C, Horowitz BZ, Sudakin DL. “Improving reporting by a poison center to a pesticide
poisoning surveillance system.” Presented at the International Society for Exposure
Assessment / International Society for Environmental Epidemiology Meeting. August 11,
2002. Vancouver, British Columbia. Published in Epidemiology 2002;13(4): page S211

Sudakin DL. “Toxigenic Fungi and Mycotoxins in the Indoor Environment.” Mycological
Society of North America. June 22, 2002. Corvallis, OR.

Sudakin DL, Wagner SL. “Human Pesticide Exposures, Trends and Informational Needs.”
North American Congress of Clinical Toxicology. October, 2001. Montreal, Quebec.
Abstract published in Journal of Toxicology--Clinical Toxicology 2001;39(5):528.

Sudakin DL, Horowitz BZ, Giffin S. “Regional Variation in the Incidence of Intentional
Exposures.” North American Congress of Clinical Toxicology, Tucson, Arizona, September,
2000. Abstract published in Journal of Toxicology--Clinical Toxicology 2000;38(5).

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Mirkin D, Sudakin DL, Horowitz BZ, Parker S. “Plumbism in Pregnancy Treated with
DMSA.” North American Congress of Clinical Toxicology, Tucson, Arizona, September,
2000. Abstract published in Journal of Toxicology--Clinical Toxicology 2000;38(5).

Mirkin D, Sudakin DL. “Lead Chelation in the Neonate.” North American Congress of
Clinical Toxicology, Tucson, Arizona, September, 2000. Abstract published in Journal of
Toxicology--Clinical Toxicology 2000;38(5).

Sudakin DL, Horowitz BZ. “Geographic Information Systems and Poison Center
Management.” North American Congress of Clinical Toxicology. La Jolla, California.
September, 1999. Abstract published in Journal of Toxicology--Clinical Toxicology,
1999;37(5).

Sudakin DL, Horowitz BZ. “Geographic Distribution of Hospitals and their Influence on
Poison Center Penetrance.” North American Congress of Clinical Toxicology. La Jolla,
California. September, 1999. Abstract published in Journal of Toxicology--Clinical
Toxicology, 1999;37(5).

Sudakin DL, Mullins ME, Horowitz BZ, Abshier V. “Intermediate Syndrome After Malathion
Ingestion Despite Continuous Infusion of 2-PAM.” North American Congress of Clinical
Toxicology La Jolla, California, September, 1999. Abstract published in Journal of
Toxicology--Clinical Toxicology, 1999;37(5).

Non-credit Seminars (Continuing Education Lectures for Faculty, Fellows, Residents and
Medical Students at Oregon Health and Science University, and Portland State
University)

•   Invited Lecture, Portland State University Counseling 507: Addiction Pharmacology.
    Lecture Title: Treatment of Opioid, Alcohol, and Stimulant Use Disorders in the Outpatient
    Setting. October 25, 2017.
•   Invited Lecture, Portland State University Counseling 507: Addiction Pharmacology: Title:
    Medication Assisted Treatment Options in the Outpatient Setting. April 8, 2016.
•   Invited Lecture, Western Regional Toxicology Fellowship Meeting, Oregon Health and
    Science University
        o Biomarkers of pesticide poisoning, April 24, 2014
•   Invited Lecture, Oregon Health and Science University Medical Toxicology Fellowship
    Program
        o Dram Shop Cases and Widmark Calculations. October 3, 2018.
        o THC and per se DUI limits. August 17, 2018.
        o Addiction medicine update: 2016. August 15, 2016.
        o Kratom and other remedies in opioid withdrawal syndrome, June 11, 2015
        o Naltrexone in clinical practice, February 19, 2015
        o Buprenorphine in clinical practice and overdose, February 28, 2014
        o Methamphetamine death while in police custody, August 5, 2013
                                                                                           10
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           o Postmortem redistribution of THC, May 13, 2013
           o Biomarkers of Exposure to Pesticides, February 26, 2013
   •   Invited Speaker, Oregon Health Sciences University Preventive Medicine Resident Lecture
       Series, Portland, Oregon:
           o “Biotechnology and Food Safety,” February 3, 2005
           o “Pesticide Toxicology: Electronic Resources for Health Care Providers,”
               December 9, 2005
           o “Dietary Aflatoxins and Chemoprevention of Cancer,” April 24, 2003
           o “Regulatory and Clinical Toxicology of Dietary Supplements” May 22, 2003
           o "Mold in the Indoor Environment: Role of Mycotoxins in Building-Related Illness"
               June 6, 2002
           o “Pesticide Exposures: Clinical and Regulatory Issues,” January 10, 2002.
   •   Invited Speaker, Oregon Health and Science University Medical Toxicology Fellowship
           Lecture Series, Portland, Oregon.
           o “Antidotes in the Treatment of Aflatoxin-associated Liver Disease” June 6, 2002

   Technical Reports (peer-reviewed)

   Co-author (Thomas Kurt, MD), with the ACMT Clinical Practice Committee. American
   College of Medical Toxicology Comment: Institute of Medicine Report on Damp Indoor
   Spaces and Health. June, 2006.

   Expert writer, Centers for Disease Control and Prevention (CDC), Third National Report on
          Human Exposure to Environmental Chemicals. Published July 21, 2005.
          Sections authored and updated include:
          Pyrethroid Pesticides
          Herbicides
          Organophosphate Insecticides: Specific Metabolites
          Organophosphate Insecticides: Dialkyl Phosphate Metabolites
          Organochlorine insecticides
          Other Pesticides (including DEET)

Acknowledged Contributions to Peer-Reviewed Publications and Reports:
Pesticide Poisoning from Synthetic Pyrethroids, Oregon Department of Health Services
   Communicable Disease (CD) Summary 2004;53(6).
Acute Idiopathic Pulmonary Hemorrhage in Infants: Recommendations from the Working Group
   for Investigation and Surveillance, Morbidity and Mortality World Report, Centers for Disease
   Control and Prevention. March 12, 2004;53(RR02)1-12.
Poisoning by an Illegally Imported Chinese Rodenticide Containing
   Tetramethylenedisulfotetramine: New York City, 2002. Morbidity and Mortality World
   Report, Centers for Disease Control and Prevention. March 14, 2003;52(10):199-201.
Agency for Toxic Substances and Disease Registry (ATSDR) Case Studies in Environmental
   Medicine. Radiation Exposure from Iodine-131. November, 2002.
   http://www.atsdr.cdc.gov/HEC/CSEM/iodine/iodine131.pdf


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   Letters to the Editor:
   Sudakin DL. “Bioaerosol Lung Damage in a Worker with Repeated Exposure to Fungi in a Water-
      damaged Building” Environmental Health Perspectives 2001;109(11):516.
   Sudakin DL, Mullins ME, Horowitz BZ. “Poison Control Centers and Occupational Exposures.”
      Journal of Occupational and Environmental Medicine, 2000;42(1):1-2.
   Sudakin DL. “Mycotoxins and Pulmonary Hemorrhage.” Archives of Pediatrics and Adolescent
      Medicine, 1999;153:205.
   Sudakin DL. “Integrating Preventive Medicine in a Medical Resident Practice.” Archives of
      Internal Medicine 1998;158(15):1719.
   Sudakin DL. “Effects of Mycotoxins in Health and Disease.” Journal of the American Medical
      Association. 1997:278(13):1063.

   Non-refereed Publications (outreach, research and related activities featured in):
   BBC News, “DEET Bug Repellent, Toxic Worry.” August 5, 2009.
   Oregon’s Agricultural Progress, Winter, 2008: “New Method Pinpoints Meth Hotspots.”
   Oregon State University News and Communication Services, September 15, 2008. “OSU Study
       Uses New Method to Identify Meth Hot Spots in Oregon.”
   Oregon’s Agricultural Progress, Fall, 2005. “Profile: Dr. Dan Sudakin Spans the Worlds of
       Public Health, Medicine, and Toxicology.”
   Forbes, April 11, 2005, Daniel Fisher, “Dr. Mold”
   Los Angeles Times, July 5, 2004, Kelly Young, “Repellent Works, but Fears Linger”
   Wall Street Journal, June 26, 2004, Tara Pope-Parker, “Backyard Dilemna: Which is Worse
               DEET or Possibility of West Nile Virus?”
   Pesticide and Toxic Chemical News, June 21, 2004, “Mysterious Poisoning Death Attributed to
       Pesticide”
   Jacksonville Daily News, June 13, 2004, Roselee Papandrea, “Odd Poison Killed Child”
   American College of Medical Toxicology Newsletter, Spring, 2004, “Toxicologists in the News”
   Ag Connections (National Institute of Occupational Safety and Health, Agricultural Research
       Centers), Spring, 2003, “Logging In: Valuable Resources”
   Science, April 14, 2000, Michael Hagmann, “A Toxic Mold’s Legacy Revisited”

                                   TEACHING AND ADVISING

Course Development and Instruction at Oregon State University:

Instructor, Oregon State University, Toxicology 429/529: Toxic Substances in Food.
Instructor, Oregon State University, Toxicology 512: Target Organ Toxicology (Neurotoxicology
lecture sequence).
Guest Lecturer, Oregon State University, Public Health 540 (Environmental Health). April 20, 2010.
Lecture: “Pesticide Residues in Food: Toxicology and Risk Assessment.”
Guest Lecturer, Oregon State University, Biology/Toxicology 430/430H/530 (Baccalaureate Core),
Biotechnologies: Agriculture, Food, and Resource Issues. 2004-2010. Lectures: Tacogate (Starlink
Corn and Plant-Incorporated Protectants), and Dietary Supplements
Guest Lecturer and Moderator, Oregon State University, Public Health 591 (Environmental Policy).
October 14, 2009.

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   Guest Lecturer, Oregon State University, Toxicology 360 (Baccalaureate Core). Lecture: Your Body
   Fighting the Toxin. October 13, 2009.
   Guest Lecturer, Oregon State University, Toxicology 360 (Baccalaureate Core). Lecture: Your Body
   Fighting the Toxin. October 12, 2008.
   Guest Lecturer, Oregon State University, Public Health 512: Occupational and Environmental
   Health. Lecture: Regulation and Clinical Toxicology of Pesticides. October 13, 2005.
   Guest Lecturer, Oregon State University, Public Health 512: Occupational and Environmental Health.
   Lecture: Pesticide Toxicology. May 11, 2005.
   Guest Lecturer, Oregon State University, Food, Science, & Technology 102: Maraschino Cherry.
   Lecture: Food Toxicology and the Maraschino Cherry. February 9, 2005.
   Guest Lecturer, Oregon State University, Animal Science 490: Toxicants and Poisonous Plants.
   November 22, 2004. Lecture: Dietary Exposure to Aflatoxins in Food and Animal Feed.
   Guest Lecturer, Oregon State University, Public Health 448/548: Public Health Toxicology and Risk
   Assessment. October 29, 2004. Lecture: Arsenic Toxicology and Epidemiology
   Guest Lecturer, Oregon State University, Public Health 542: Environmental and Occupational Health.
   Lecture: Pesticide Toxicology and Informational Resources. April 21, 2004.
   Guest Lecturer, Oregon State University, Food, Science, & Technology 102: Maraschino Cherry.
   Lecture: Food Toxicology and the Maraschino Cherry. February 11, 2004.
   Guest Lecturer, Oregon State University, Public Health 411: Environmental Health Policy and
   Regulations. Lecture: Regulation and Toxicology of Dietary Supplements. November 24, 2003.
   Guest Lecturer, Oregon State University, Public Health 542: Environmental and Occupational Health.
   Lecture: Pesticide Toxicology and Informational Resources. May 28, 2003.
   Guest Lecturer, Oregon State University, Public Health 591: Issues and Research in Addictive
   Behaviors. Lecture: Marijuana Addiction. February 27, 2003.
   Guest Lecturer, Oregon State University, Toxicology 507 Seminar. Toxicoepidemiology:
   Applications of GIS. November 12, 2001.

                    GRANTS, COOPERATIVE AGREEMENTS, CONTRACTS

Co-Investigator: Dietary HDAC Inhibitors (funded by NIH R01 CA 122959-01A2), 2012-2014

Co-Investigator: Pharmacokinetics of Phenanthrene and I3C in Post-Menopausal Women (funded by NIH
(funded by NIH P01 CA090890), 2010-2014

Co-Investigator: Lipoic Acid Bioavailability in Young and Elderly Adults- Phase II (funded by USANA),
2009-2014

National Pesticide Medical Monitoring Program (U.S. EPA Cooperative Agreement)
Principal Investigator (2001-2010).

National Pesticide Information Center (U.S. EPA Cooperative Agreement)
Co-Principal Investigator (2001-2015).

Integrative Health Science Facility Core (IHSFC), Environmental Health Science Center (funded by
National Institute of Environmental Health Sciences). Co-Director of Clinical Research Center (2006-
2014).
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Superfund Research Program (SRP), funded by the National Institute of Environmental Health Sciences.
Director, Research Translation Core (RTC), 2009-2014

Principal Investigator, Memorandum of Understanding, Oregon Department of Agriculture. Consultation
activities to the State of Oregon Pesticide Analytical and Response Center. 2001-2014

Contract, Environmental Medicine Presentation Package (Pesticide Residues in the Indoor Environment:
Clinical Toxicology and Health Effects). Contract awarded by the American College of Medical
Toxicology. August, 2010.

Contract, Environmental Medicine Presentation Module (Recognizing, Diagnostic, and Preventing
Pesticide Illness in Agricultural Workers). Contract awarded by the Association of Occupational and
Environmental Clinics. July 2006-June 2007.

Principal Investigator, Oregon Health and Science University Medical Research Foundation Grant.
Grant title: Monitoring Community Drug Abuse: Methamphetamine in Municipal Wastewater and its
Spatial Correlation with Poisoning Incidents in Oregon. Project period 8/1/06-8/1/08.

                                              SERVICE

   Service to the Profession

   Member, US EPA National Advisory Committee to Develop Acute Exposure Guideline Levels
   for Hazardous Substances (NAC/AEGL, 2006-2010)

   Member and Fellow, American College of Occupational and Environmental Medicine
        Occupational and Clinical Toxicology Committee
               Committee chair (2005-2008)
               House of Delegates (2004-5)

   Member and Fellow, American College of Medical Toxicology
        Ethics Task Force
        Grants and Contracts Committee

   Review Panel, Medical Toxicology of Natural Substances: Foods, Fungi, Medicinal Herbs, by Donald
         Barceloux (2008).

   National Review Board, Pesticide Information Gateway project of the National Strategies for
          Health Care Providers: Pesticides Initiative. National Environmental Education and
          Training Foundation, Inc.. December, 2002.
                 Peer-reviewer of technical documents: “National Pesticide Competency Guidelines for
                 Medical and Nursing Education” and “National Pesticide Practice Skills Guidelines for
                 Medical and Nursing Practice”


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Member, Roster of Experts in Biological Sciences. Food and Agriculture Organization of the
     United Nations/World Health Organization Joint Expert Committee on Food Additives
     (2002)

Invited member of Peer Review Panels:

       Scientific Review Panel, National Institute of Environmental Health Sciences (NIEHS),
       Environmental Health Science Centers. August, 2010.

       EPA Region 10 Project Proposal: “An Evaluation of the Human Health Effects of TCE
       Contamination at the View-Master Toy Factory in Beaverton, OR.” August 26, 2005

       NIEHS RFA ES-03-004: “Centers for Children’s Environmental Health and Disease
       Prevention Research.” August 4, 2003

       EPA 2002 STAR "Biomarkers for the Assessment of Exposure & Toxicity in Children"
       Washington, D.C., August 23, 2002

Member, Editorial Board
     Journal of Medical Toxicology (2005-2014)
             Section Editor (Occupational and Environmental Toxicology)

Peer Reviewer for scientific journals:
       American Journal of Emergency Medicine
       Pharmacodepidemiology and Drug Safety
       Toxicology Letters
       Archives of Environmental and Occupational Health
       Journal of Toxicology--Clinical Toxicology
       Journal of Medical Toxicology
       Medscape General Medicine
       Pediatrics
       Perceptual and Motor Skills (Psychological Reports)
       Pesticide Biochemistry and Physiology

Abstract Review Committee, North American Congress of Clinical Toxicology, 2000-2001, 2007,
2008, 2009.

Reviewer of Technical Documents and Extension Publications:

       Purdue Pesticide Programs, Cooperative Extension Service. Farm Family Exposure to
       Pesticides: A Conversation with Farm Women.

       Agency for Toxic Substances and Diseases Registry (ATSDR) Chemical and Technical
       Summary Document for DEET. May, 2004


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       Western Wood Products Association Technical Report: Mold, Housing, and Wood. 2001.

Expert Panel Member, Centers for Disease Control and Prevention Environmental/Laboratory
       Investigation Panel for Acute Idiopathic Pulmonary Hemorrhage, July 2000.

Research Advisory Committee for NIEHS grant R01 ES98707, “Reducing Pesticide Exposure in
Minority Families” 2001-2004

Research Advisory Committee for EPA Cooperative Agreement, “Saving Lives by Changing
       Practice” 2005-present

Invited speaker, Sacred Heart Medical Center Weekly Physician Conference. Eugene, OR. June 14,
2005. Lecture: “Pediatric Toxicology: Heavy Metals and Dietary Supplements.”

Invited speaker, OHSU School of Dentistry Continuing Education Lecture Series. Portland, OR.
February 10, 2005. Lecture: “Toxicology of Dental Amalgams”

Invited speaker, Advanced Hazmat Life Support, Provider Course (Lecture Topics: Toxic Inhalations
and Antidotes in Detail). September 25, 2004. Eugene, Oregon

Invited speaker, Good Samaritan Regional Medical Center, Corvallis, OR. April 23, 2004.
Lecture: “Chemical Exposures in the Workplace.”

Invited speaker, Advanced Hazmat Life Support, Provider Course (Lecture Topics: Toxic Inhalations
and Antidotes in Detail). September 27, 2003. Brooks, Oregon

Invited speaker, Continuing Medical Education lecture, Good Samaritan Hospital. Lecture: “Pesticide
Exposure in the Home.” May 12, 2001, Corvallis, Oregon

Invited speaker, Northwest Association of Occupational and Environmental Medicine monthly
meeting. Lecture: "Mold: Indoor Air and the Occupational Physician" May, 2000

Service to the Public (Professionally Related)

Appointee, Governor’s Cannabis Research Task Force (Oregon), 2015-6

Invited Speaker, OSU Extension Non-Crop Vegetation Management Conference, Corvallis, OR.
January 28, 2010. Title: “Health Effects of Herbicides”

Testimony in support of Oregon House Bill 3450 (Carbon Monoxide Poisoning), to Oregon Human
Services Committee. Salem, OR. April 6, 2009.

Invited Speaker, Corvallis, Oregon. Public Outreach Session of the Pacific Northwest Association of
Toxicologists Annual Meeting. September 20, 2008. Presentation: “Methamphetamine: Health Risks
in the Lab and in the Community.”

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Invited Speaker, Eugene, Oregon. Pesticide Applicator Training Course: Policy and Practice.
February 7, 2006. Presentation: “Longitudinal Trends in Organophosphate Incidents in the United
States.”

Invited Speaker, Oregon Vegetation Management Association Course. Seaside, Oregon. November
14, 2005. Presentation: “Reliable Resources in Pesticide Toxicology”

Invited Speaker, OSU Extension Service Non-Crop Vegetation Management Course. Corvallis,
Oregon. February 2, 2005. Presentation: “Case Studies of Pesticide Poisoning and Lessons Learned
for Pesticide Applicators.”

Invited Speaker, Benton County Environmental Health Advisory Committee Public Meeting.
Corvallis, Oregon. September 28, 2004. Presentation: “Children’s Health and the Environment.”

Invited Speaker, Corvallis Senior Center. Corvallis, Oregon. August 20, 2004. Lecture:
“Medications and Dietary Supplements: A Physician’s Perspective”

Invited Speaker, Central Oregon Pest Management Course. Bend, Oregon. February 18, 2004.
Lecture: “Pesticides and Effects in Humans”

Invited Speaker, OSU Extension Service Non-Crop Vegetation Management Course. Corvallis,
Oregon. February 11, 2004. Lecture: “Pesticide Poisoning: Signs and Symptoms

Invited Speaker, Oregon State University Extension Service: Pesticide Chemistry, Toxicology, and
Policy Short Course. Ontario, Oregon. February 10, 2004. Lecture: “Pesticides and Effects in
Humans

Invited Speaker, Willamette Dietetic Association, Corvallis, Oregon. January 26, 2004 Lecture:
“Dietary Supplements: Regulation and Toxicity”

Invited Speaker, American Society of Safety Engineers Chapter meeting, Salem Oregon. August 5,
2003. Lecture: “Chemical Incidents: Responding to Disasters and Avoiding the Pitfalls”

Oregon State University, EHSC SMILE Program High School Challenge Event in IAQ,
Environmental Physician Expert session, Oregon State University, April 25, 2003.

Invited Speaker, North American Truffling Society, Corvallis, Oregon, April 8, 2003. Presentation:
“Mycotoxins: Human Health Hazards from Above-ground Fungi”

Invited Speaker, 2003 Southern Oregon Pesticide Recertification Short Course. January 22, 2003,
Medford, Oregon. Presentations: “Pesticide Poisoning: What the Pesticide Applicator Should Know”
and “Pesticide Poisonings in Oregon and the Pacific Northwest”



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Invited speaker, 2003 Chemical Applicator Short Course, January 15, 2003, Portland, Oregon.
Lecture: “Pesticide Poisoning: Signs, Symptoms, and First Aid”

Invited Presenter, Oregon Private Pesticide Applicator CORE Training Video. “Pesticide Exposures:
What the Pesticide Applicator Should Know,” November 8, 2002

Invited Speaker, EHSC Summer Institute for Pilot School teachers. “The Role of the Public Health
Physician.” June 18, 2002. Corvallis, Oregon.

Invited Speaker, Wilbur-Ellis Company Private Pesticide Applicators- Core Credit Meeting, Albany,
Oregon, March 6, 2002. Presentation: “Pesticide Exposures in Oregon”

Invited Speaker, Pacific Northwest Agricultural Chemistry, Toxicology, and Policy Short Course,
Eugene, Oregon, February 20, 2002. Lectures: “Pesticides and Effects on Humans” and “Pesticide
Exposures in Oregon and the Pacific Northwest”

Invited Speaker, Chemical Applicators Short Course, Portland, Oregon. January 10, 2002. “Pesticide
Exposures in Oregon, What the Pesticide Applicator Should Know”


                                               AWARDS

      2006: Winner, American Academy of Clinical Toxicology, Lampe-Kunkle Award for
            Research in Natural Products of Toxicology.

      1998: Winner, Resident Paper Competition, Oregon Health and Science University Sommer
            Memorial Lecture. Paper: “Stachybotrys chartarum: Current Knowledge of Its Role in
            Disease.”




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            Trial and Deposition Testimony of Daniel L. Sudakin, MD, MPH


1.       Fazli v. Action Management
         Deposition testimony, February 16, 2021

2.       Olmos v. ABM Industries, Inc.
         Deposition testimony, February 2, 2021

3.       Zacharias v. Velqui-I, LLC, et al.
         Deposition testimony, November 23, 2020

4.       Rose v. Holt
         Deposition testimony, July 30, 2020

5.       Serrano v. Premo
         Deposition testimony, March 20, 2020

6.       Glisson v. Lee
         Deposition testimony, March 3, 2020

7.       Bruner v. H & H Roofing
         Deposition testimony, October 11, 2019

8.       Marchese v. Farbenbloom
         Deposition testimony, September 25, 2019

9.       State of Washington v. Heng
         Trial testimony, September 18, 2019

10.      Vakoff v Arapahoe House
         Trial testimony, March 7, 2019

11.      Revel v. Fromm
         Deposition testimony, January 14, 2019

12.      Maria Vega Gonzalez v. SAIF
         Deposition testimony, January 4, 2019

13.      Deyo-Bundy v. SAIF
         Hearing testimony, August 23, 2018

14.      State of Washington v. Donald Siegler
         Hearing testimony, July 18, 2018

15.      Rapp v. Boone Hospital Center
         Deposition testimony, March 19, 2018

16.      Williams v. Stoltz
         Deposition testimony, March 6, 2018

17.      Graves v. Bonyo
         Deposition testimony, February 23, 2018

18.      Oregon v. Logan
         Trial testimony, February 2, 2018
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19.      Longmire v. 1022 10th St HOA
         Deposition testimony, June 16, 2017
         Trial testimony, November 3, 2017

20.      Keene v. Mitchell
         Superior Court of State of California, County of Los Angeles
         Deposition testimony, April 19, 2017
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   Daniel L. Sudakin, MD, MPH, FAACT, FACMT, FACOEM
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May 5, 2021


Maren J. Clouse
Chief Deputy City Attorney
Office of the City Attorney, City of San Jose
200 E. Santa Clara St., 16th Floor
San Jose, CA 95113


Re: Jessica Dominguez vs. City of San Jose, et al.. United States District Court,
Northern District of California. Case No.: 5:18-CV-04826.


Dear Ms. Clouse,


       This report has been prepared in reference to the above-captioned matter. I
have been asked to review the records in this matter, and provide opinions in relation
to the drugs that were found in Mr. Jacob Arturo Dominguez’ blood, and how the level
of drugs might have influenced his behavior.

       The report begins with a summary of my qualifications and experience. The
report includes a list of materials that I have reviewed in this matter. The report
concludes with the opinions I have derived, based on my knowledge, training,
experience, and review of materials.

Qualifications and Experience:

       I am a medical doctor, with board certification in medical toxicology, addiction
medicine, and preventive medicine. I am licensed to practice medicine in the State of
Oregon and devote greater than 50% of my professional time to the active clinical
practice of medicine. I specialize in addiction medicine, and provide patient care at a
private practice located in Portland, Oregon. My clinical practice integrates addiction
medicine, medical toxicology, and preventive medicine.
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       I have extensive experience in the diagnosis and treatment of substance use
disorders (addiction). My clinical experience in addiction medicine includes the
recognition of substance use disorders involving alcohol as well as illicit stimulant
drugs, such as methamphetamine and phencyclidine (PCP). My training and
experience include the evaluation of acute intoxication from drugs including PCP and
methamphetamine, as well as the effects of these types of drugs on human behavior.

        I also specialize in medical toxicology, which is a field of clinical medicine that
focuses on the recognition and clinical management of intoxication and overdoses
from illicit drugs, including methamphetamine and PCP. As a medical toxicologist, I
have training and experience in the interpretation of laboratory tests for illicit drugs in
postmortem blood samples. I also specialize in preventive medicine, which is a field of
medicine that focuses on epidemiology, biostatistics, and human health behaviors.

      I am a Fellow of the American Society of Addiction Medicine. I am a Fellow of
the American College of Medical Toxicology. I am also a Fellow of the American
Academy of Clinical Toxicology. My status as Fellow in these professional
organizations represents peer recognition of my contributions to these respective
areas of medicine.

       A complete list of my background, qualifications, and publications in the past
ten years is attached as an Appendix to this report. My hourly rate for consulting or
testimony is $650 per hour. I have spent approximately 7.5 hours in the process of
reviewing materials and preparing this report. I have attached a complete list of
testimony I have provided for the past four years.

Materials Reviewed:

   1.   Santa Clara County Medical Examiner, Report of Investigation;
   2.   County of Santa Clara Crime Laboratory, Controlled Substance Report;
   3.   Deposition of Jessica Dominguez;
   4.   Deposition of Officer Alvaro Lopez;
   5.   Deposition of Officer Kristoffer Ferguson;
   6.   Deposition of Sergeant Michael Pina.

Opinions:

   1. Mr. Dominguez had an alcohol use disorder (addiction) and used illicit
      drugs, specifically phencyclidine and methamphetamine.

Mr. Dominguez’ spouse (Jessica Dominguez) testified that between June of 2016 and
May of 2017, Mr. Dominguez was not living with his family. Mr. Dominguez was living
at Homes of a Loving Father, which is a sober living house for people seeking
recovery from drug or alcohol abuse. Mrs. Dominguez testified that her husband
entered that program because he felt like he needed help and he did not want to drink
alcohol anymore. Mrs. Dominguez testified that she agreed that it made sense for him



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to go into a sober living program so that he could have the tools that he needed to not
drink.

In August of 2017, Mr. Dominguez left the sober living house and did not complete the
program. Mrs. Dominguez has testified that she thinks her husband was asked to
leave the program by the person in charge because her husband had left the house
one evening when he was not supposed to. Mrs. Dominguez testified that after leaving
the sober living program, her husband was drinking, and that he did not return home
to live with his family. She also testified that she thought her husband might have been
using illegal drugs during the time period after he left the sober living home. Mrs.
Dominguez said the reason she thought he might have been using illegal drugs was
that was the only reason why he did not come home to live with his family. He had
never been away from his family for that long, and Mrs. Dominguez was trying to find
programs and resources to help her husband.

When a person is not able to abstain from drinking alcohol, and they continue to drink
even when it has had a significant and negative impact on their relationships with
family, that means the person has a diagnosis of alcohol use disorder (alcohol
addiction). The testimony indicates that when Mr. Dominguez left the sober living
house, he was not receiving treatment for his addiction. People who suffer from
untreated alcoholism are at high risk of abusing drugs, including illicit drugs.

A blood sample obtained from Mr. Dominguez at the time of his autopsy was analyzed
for alcohol and other drugs. The results of the toxicology analysis demonstrated
methamphetamine at a concentration of 1400 nanograms per milliliter (ng/mL). The
metabolite (breakdown product) of methamphetamine, amphetamine, was also
detected at 170 ng/mL. In addition, the drug phencyclidine was detected at a
concentration of 150 ng/mL. No alcohol or other drugs were detected.

The results of the toxicology testing confirm the presence of methamphetamine and
PCP in Mr. Dominguez’ blood at the time of his death, which indicates that he had
used both of these drugs at some time prior to his death. A baggie containing a large
amount of methamphetamine (8.55 g) was found in his vehicle.

   2. Phencyclidine use can cause significant and unpredictable effects on
      behavior.

Phencyclidine (PCP) is a powerful hallucinogenic drug, known by its street name of
“angel dust.” It is an illicit drug that is usually abused by smoking, but sometimes by
ingesting, snorting, or intravenous injection. People who abuse PCP have described
desired effects like euphoria, reduced inhibitions, a sense of strength and power, and
an altered sense of time and space. Many adverse effects can occur with illicit PCP
use including intense paranoia, panic reactions, hallucinations, and delirium (clouding
of consciousness).




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PCP intoxication can cause profound and unpredictable effects on a person’s
behavior. In a series of 1,000 people with PCP intoxication, some of the most
commonly observed behaviors included violence, agitation, and bizarre actions. When
a person is under the influence of PCP, they may experience delusions (false beliefs)
that they have superpowers. Most cases of serious injury or fatalities from illicit PCP
use occur from accidental and self-inflicted trauma from the behavioral effects of the
drug, and the inability to perceive imminent danger.1

Most of the effects of PCP on behavior resolve within 24 hours after the drug is taken
into the body. With high doses or chronic (repeated) abuse of PCP, some users can
develop an acute psychosis that resembles schizophrenia resulting in delusions,
hallucinations, and disorganized thought patterns. This can result in persistent violent,
aggressive, or disorganized behavior that can last for several days.

In frequent users of PCP, and after overdoses, the drug can be detected in blood
samples for several days after it is last used. The detection of PCP in blood confirms
recent use of the drug, but the level of PCP in a blood sample does not have a strong
correlation to behavioral abnormalities. A wide range of blood concentrations, from 5-
300 ng/mL, have been reported among people showing abnormal behavioral effects
after using PCP.

The interpretation of PCP levels in blood obtained after death is complicated by
postmortem redistribution, which means that the level of the drug in the body can
change after the time of death. PCP is a drug that can undergo postmortem
redistribution. The amount of postmortem redistribution depends, in part, on the
amount of time that has elapsed between death and the collection of the blood
specimen. When postmortem redistribution occurs, this usually results in a measured
level of PCP in the blood sample that is artificially higher than it was at the time of
death.

In this matter, the postmortem blood specimen was collected from Mr. Dominguez
approximately 62 hours (2.5 days) after he died. This is a long interval of time during
which postmortem redistribution of PCP in the blood is likely to have occurred. For this
reason, the PCP level measured in Mr. Dominguez’ postmortem blood (150 ng/mL) is
probably higher than it was at the time he died.

As postmortem redistribution is a complicated and poorly studied phenomenon in
toxicology, there is no scientific method that can be used to estimate or extrapolate
back to determine what the PCP concentration was in Mr. Dominguez’ blood at the
time of death. It is unknown when Mr. Dominguez last used PCP in relation to the time
he died on September 15, 2017.



1
 Barceleaux D. Chapter 34: Phencyclidine and Phencyclidine Analogues. In Barceleaux D (editor):
Medical Toxicology of Drug Abuse: Synthesized Chemicals and Psychoactive Plants, First Edition. John
Wiley and Sons, 2012. Pages 608-632.


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    3. Methamphetamine abuse causes behavioral abnormalities including
       impulsivity and impaired judgment.

Methamphetamine is a powerful and addictive brain stimulant that can result in
profound and long-lasting effects on human behavior. It is an illicit drug that can be
abused by snorting, smoking, or by intravenous injection. Methamphetamine doses of
40 mg or higher typically result in subjective effects including a sense of euphoria,
wakefulness, strength and power, and difficulty concentrating. The euphoric effects of
methamphetamine use usually diminish within six to 12 hours.

Over time, methamphetamine users develop tolerance to the effect of the drug,
resulting in having to take a higher dose to get the desired effect. Methamphetamine
abusers will often use the drug in binges, taking it multiple times over the course of a
day. Long term users of methamphetamine frequently experience significant adverse
effects including symptoms of anxiety, confusion, insomnia, mood disturbances, and
violent behavior.2 Heavy methamphetamine users can develop a psychosis similar to
schizophrenia that can result in unpredictable and violent behavior. These psychotic
symptoms can persist for months after person has stopped using methamphetamine.

Methamphetamine abuse results in significant impairment in the user’s executive
function. Executive function refers to a person’s ability to think, plan, reason, and use
good judgment. Clinical research has consistently shown that people who abuse
methamphetamine demonstrate impulsive behaviors as a result of their impaired
executive function. Impulsivity is a tendency of a person to act without thinking about
the potential negative consequences of their action. The inability of a person to control
their impulsive behaviors can result in an ongoing cycle of methamphetamine abuse.
These impulsive behaviors often lead to significant medical, psychological, and social
consequences to the methamphetamine user.

Although the acute stimulant effects of methamphetamine typically diminish and
resolve within 12-24 hours, research has shown that the impairment of executive
function, and more specifically, impulsive behaviors can persist for weeks to months
after the person stops using the drug.2,3

Methamphetamine has a half-life of about 12 hours in the body, and in frequent users
it can be detected in the blood for up to 2-3 days after it is last used. The detection of
methamphetamine and its breakdown product, amphetamine, in a blood sample
confirms use of the drug. In one study of methamphetamine abusers demonstrating
signs of irrational behavior and violence, the blood methamphetamine concentrations
ranged from 0.15 – 0.56 mg/L. In another study of blood samples from individuals

2
 NIDA. 2021, April 13. What are the long-term effects of methamphetamine misuse?. Retrieved from
https://www.drugabuse.gov/publications/research-reports/methamphetamine/what-are-long-term-
effects-methamphetamine-misuse on 2021, May 5
3
 Liu WL, et al.. Impulse Inhibition Ability with Methamphetamine Dependents Varies at Different
Abstinence Stages. Frontiers in Psychiatry. Volume 12 (2021): 1-6.


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involved in criminal activity, the average methamphetamine concentrations was 0.308
mg/L. In this matter, the level of methamphetamine that was detected in the
postmortem blood from Mr. Dominguez was 1.4 mg/L (equivalent to 1400 ng/mL).

There are limited data on the interpretation of methamphetamine in postmortem blood.
Similar to PCP, methamphetamine is a drug that can undergo postmortem
redistribution. In this matter, the blood specimen was collected from Mr. Dominguez
approximately 62 hours (2.5 days) after he died. This is a long interval of time during
which postmortem redistribution of methamphetamine and amphetamine in the blood
is likely to have occurred. For this reason, the level of methamphetamine and
amphetamine in Mr. Dominguez’ postmortem blood is probably artificially higher than it
was at the time he died. There is no scientific method that can be used to estimate or
extrapolate back to determine what the methamphetamine concentration was in Mr.
Dominguez’ blood at the time of death. It is unknown when Mr. Dominguez last used
methamphetamine in relation to the time he died on September 15, 2017.

   4. The effects of these drugs increased the risk of impulsive behavior in Mr.
      Dominguez.

When police officers attempted to apprehend Mr. Dominguez on September 15, 2017,
Mr. Dominguez initially complied with the officers’ commands to put his hands up. The
officers testified that after a few seconds, Mr. Dominguez then brought both his hands
down at the same time and leaned forward. He was then shot by one of the police
officers.

The failure to comply with the commands of the apprehending police officers could be
interpreted as an impulsive behavior. The risk of such an impulsive behavior would
have been significantly increased by his use of methamphetamine. Any use of PCP on
the date of the incident would have added to the risk of impulsive behavior.

The opinions in this report are all expressed with a reasonable degree of medical
probability. If additional information becomes available, I reserve the right to add to or
modify these opinions.

Sincerely,


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Daniel L. Sudakin, MD, MPH, FACMT, FAACT, FASAM




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16   John Kevin Crowley                               Attorneys Plaintiff, Jessica Dominguez
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                  Firm
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     125 South Market Street, Suite 1200
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             Number: (408)  288-8100
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     Fax Number:   (408) 288-9409
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